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                             NIST Special Publication 1018-3
                                                Sixth Edition

                          Fire Dynamics Simulator
                         Technical Reference Guide
                              Volume 3: Validation
                                                                Kevin McGrattan
                                                                  Simo Hostikka
                                                                     Jason Floyd
                                                              Randall McDermott
                                                                 Marcos Vanella
                                                                    Eric Mueller




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                                                            EXHIBIT 1 - GORBETT
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                                                                               Eric Mueller
                    Fire Research Division, Engineering Laboratory, Gaithersburg, Maryland
                                                                                     Simo Hostikka
                                                                   Aalto University, Espoo, Finland
                                                                                 Jason Floyd
                  Fire Safety Research Institute, UL Research Institutes, Columbia, Maryland

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                                                                           U.S. Department of Commerce
                                                                            Gina M. Raimondo, Secretary

                                                           National Institute of Standards and Technology
          Laurie E. Locascio, NIST Director and Undersecretary of Commerce for Standards and Technology
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FDS Developers

The Fire Dynamics Simulator and Smokeview are the products of an international collaborative effort led by
the National Institute of Standards and Technology (NIST) and Fire Safety Research Institute, UL Research
Institutes. Its developers and contributors are listed below.



Principal Developers of FDS

Kevin McGrattan, NIST, Gaithersburg, Maryland
Simo Hostikka, Aalto University, Espoo, Finland
Jason Floyd, Fire Safety Research Institute, UL Research Institutes, Columbia, Maryland
Randall McDermott, NIST, Gaithersburg, Maryland
Marcos Vanella, NIST, Gaithersburg, Maryland
Eric Mueller, NIST, Gaithersburg, Maryland


Principal Developer of Smokeview

Glenn Forney, NIST, Gaithersburg, Maryland


Collaborators and Contributors

Anthony Hamins, NIST, Gaithersburg, Maryland
Jonathan Hodges, Jensen Hughes, Blacksburg, Virginia
Emanuele Gissi, Corpo Nazionale dei Vigili del Fuoco, Italy
William Mell, U.S. Forest Service, Seattle, Washington
Julio Cesar Silva, Rio on Fire, Orlando, Florida
Craig Weinschenk, Fire Safety Research Institute, UL Research Institutes, Columbia, Maryland




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About the Developers

Kevin McGrattan is a mathematician in the Fire Research Division of NIST. He received a bachelor of
   science degree from the School of Engineering and Applied Science of Columbia University in 1987
   and a doctorate at the Courant Institute of New York University in 1991. He joined the NIST staff
   in 1992 and has since worked on the development of fire models, most notably the Fire Dynamics
   Simulator.

Simo Hostikka is an associate professor of fire safety engineering at Aalto University School of Engineer-
   ing, since January 2014. Before joining Aalto, he worked as a Principal Scientist and Team Leader at
   VTT Technical Research Centre of Finland. He received a master of science (technology) degree in 1997
   and a doctorate in 2008 from the Department of Engineering Physics and Mathematics of the Helsinki
   University of Technology. He is the principal developer of the radiation and solid phase sub-models
   within FDS.

Jason Floyd is a Lead Research Engineer at the Underwriters Laboratories Fire Safety Research Institute
    in Columbia, Maryland. He received a B.S. (1993), M.S (1995), and a Ph.D. (2000) from the Nuclear
    Engineering Program of the University of Maryland. After graduating, he was awarded a National
    Research Council Post-Doctoral Fellowship at the Building and Fire Research Laboratory of NIST.
    He is a principal developer of the combustion, control logic, aerosol, droplet evaporation, and HVAC
    sub-models within FDS.

Randall McDermott joined the Fire Research Division at NIST in 2008. He received a B.S. from the
   University of Tulsa in Chemical Engineering in 1994 and a Ph.D. from the University of Utah in 2005.
   His research interests include subgrid-scale models and numerical methods for large-eddy simulation,
   turbulent combustion, immersed boundary methods, and Lagrangian particle methods.

Marcos Vanella joined the Fire Research Division at NIST in 2019. He received diplomas in Mechani-
  cal and Aeronautical Engineering from the National University of Cordoba, Argentina, and M.S. and
  Ph.D. degrees in Mechanical Engineering from the University of Maryland, College Park. His research
  interests include computer simulation and scientific software development applied to engineering sys-
  tems, mainly in the areas of fluid flow and multiphysics interaction problems.

Glenn Forney is a computer scientist in the Fire Research Division of NIST. He received a bachelor of
   science degree in mathematics from Salisbury State College and a master of science and a doctorate in
   mathematics from Clemson University. He joined NIST in 1986 (then the National Bureau of Standards)
   and has since worked on developing tools that provide a better understanding of fire phenomena, most
   notably Smokeview, an advanced scientific software tool for visualizing Fire Dynamics Simulation data.

Eric Mueller joined the Fire Research Division at NIST in 2021. He recieved a B.S. in Engineering Physics
    from Tufts University (2010), an M.S. from Worcester Polytechnic Institute (2012), and a Ph.D. from
    the University of Edinburgh (2017), both in fire safety engineering. His research interests include the

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    development of sub-models relevant to heat and mass transfer in wildland and wildland-urban interface
    fires.

Emanuele Gissi is a professional fire chief of the Italian Fire and Rescue Service (CNVVF) since 2002.
  He received a Ph.D. in Engineering Physics from the University of Ancona, Italy, in 2000. In addition
  to managing fire brigades, his main interest is bridging the gap between fire research and fire safety
  engineering practice. He develops open source tools for FDS.

Anthony Hamins joined the Fire Research Division at NIST in 1989. He received his B.S. from the Uni-
   versity of California, Berkeley, in Physics and is Ph.D. from U.C. San Diego in Engineering Physics in
   1985. His research interests include fire model validation, fire dynamics, heat and mass transfer pro-
   cesses in fires of multiple scales, fire suppression, flame structure, wildland-urban interface fires, and
   micro-gravity combustion.

Jonathan Hodges is a Lead Engineer in the Research, Development, Testing, and Evaluation Division at
   Jensen Hughes in Blacksburg, Virginia. He received a B.S. (2012) and M.S. (2014) from Clemson
   University and Ph.D. (2018) from Virginia Tech in Mechanical Engineering. His research interests
   include compartment fire dynamics, heat transfer from fires to surfaces, predicting fire growth, wildland-
   urban interface fires, and the intersection of physics modeling and artificial intelligence.

William (Ruddy) Mell is an applied mathematician currently at the U.S. Forest Service in Seattle, Wash-
   ington. He holds a B.S. degree from the University of Minnesota (1981) and doctorate from the Uni-
   versity of Washington (1994). His research interests include the development of large-eddy simula-
   tion methods and sub-models applicable to the physics of large fires in buildings, vegetation, and the
   wildland-urban interface.

Julio Cesar Silva is a Lead Researcher at Rio on Fire. He worked in the Fire Research Division of NIST
    as a Guest Researcher from National Council for Scientific and Technological Development, Brazil. He
    received a M.Sc. in 2010 and a doctorate in 2014 from Federal University of Rio de Janeiro in Civil
    Engineering. His research interests include fire-structure interaction and he develops coupling strategies
    between FDS and finite-element codes.

Craig Weinschenk is a Lead Research Engineer at the Underwriters Laboratories Fire Safety Research
   Institute, in Columbia, Maryland. He worked in the Fire Research Division at NIST as a National
   Research Council Postdoctoral Research Associate in 2011. He received a B.S. from Rowan University
   in 2006 in Mechanical Engineering. He received an M.S. in 2007 and a doctorate in 2011 from The
   University of Texas at Austin in Mechanical Engineering. His research interests include numerical
   combustion, fire-structure interaction, and human factors research of fire-fighting tactics.




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Preface

This is Volume 3 of the FDS Technical Reference Guide. Volume 1 describes the mathematical model and
numerical method. Volume 2 documents past and present model verification work. Instructions for using
FDS are contained in a separate User’s Guide [1].
     The FDS Technical Reference Guide is based in part on the “Standard Guide for Evaluating the Predic-
tive Capability of Deterministic Fire Models,” ASTM E 1355 [2]. ASTM E 1355 defines model evaluation
as “the process of quantifying the accuracy of chosen results from a model when applied for a specific use.”
The model evaluation process consists of two main components: verification and validation. Verification is
a process to check the correctness of the solution of the governing equations. Verification does not imply
that the governing equations are appropriate; only that the equations are being solved correctly. Validation
is a process to determine the appropriateness of the governing equations as a mathematical model of the
physical phenomena of interest. Typically, validation involves comparing model results with experimental
measurement. Differences that cannot be explained in terms of numerical errors in the model or uncertainty
in the measurements are attributed to the assumptions and simplifications of the physical model.
     Evaluation is critical to establishing both the acceptable uses and limitations of a model. Throughout
its development, FDS has undergone various forms of evaluation, both at NIST and beyond. This volume
provides a survey of validation work conducted to date to evaluate FDS.




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Disclaimer

The US Department of Commerce makes no warranty, expressed or implied, to users of the Fire Dynamics
Simulator (FDS), and accepts no responsibility for its use. Users of FDS assume sole responsibility under
Federal law for determining the appropriateness of its use in any particular application; for any conclusions
drawn from the results of its use; and for any actions taken or not taken as a result of analysis performed
using these tools.
     Users are warned that FDS is intended for use only by those competent in the fields of fluid dynamics,
thermodynamics, heat transfer, combustion, and fire science, and is intended only to supplement the in-
formed judgment of the qualified user. The software package is a computer model that may or may not have
predictive capability when applied to a specific set of factual circumstances. Lack of accurate predictions
by the model could lead to erroneous conclusions with regard to fire safety. All results should be evaluated
by an informed user.
     Throughout this document, the mention of computer hardware or commercial software does not con-
stitute endorsement by NIST, nor does it indicate that the products are necessarily those best suited for the
intended purpose.




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Acknowledgments

The following individuals and organizations played a role in the validation process of FDS.

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   preparation of the FDS manuals, and the development of various sub-models that are of importance in
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 • Anthony Hamins of NIST directed the NIST/NRC and WTC experiments, conducted smaller methane
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 • Anthony Putorti and Scott Bareham of NIST contributed temperature measurements from plate ther-
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 • David Sheppard, currently of the Bureau of Alcohol, Tobacco and Firearms (ATF), conducted the exper-
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  Laboratory contributed experimental data for the “HAI/NRL Wall Fire” series. Thanks also to Craig
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  NRC-sponsored experiments referred to in this document as the “FM/SNL Test Series” (Factory Mutual
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  that were designed to evaluate the feasibility of using plate thermometer measurements as boundary
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  of the Pipeline and Hazardous Materials Safety Administration of the U.S. Department of Transporta-
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• Rahul Kallada Janardhan, a doctoral student at Aalto University, Finland, prepared the BST/FRS wood
  crib fire spread simulations.

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• Aleksi Rinta-Paavola, a doctoral student at Aalto University, Finland, carried out tests and prepared the
  simulations of Aalto Wood Experiments.




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List of Acronyms

ALOFT           A Large Outdoor Fire plume Trajectory model
AST             Adiabatic Surface Temperature
ASTM            American Society for Testing and Materials
ATF             Bureau of Alcohol, Tobacco, Firearms, and Explosives
BRE             British Research Establishment
CAROLFIRE       Cable Response to Live Fire Test Program
CFAST           Consolidated Model of Fire Growth and Smoke Transport
CFT             Critical Flame Temperature
DNS             Direct Numerical Simulation
FAA             Federal Aviation Administration
FDS             Fire Dynamics Simulator
FLAME           Fire Laboratory for Accreditation of Models by Experimentation
FM              Factory Mutual Global
FSE             Full-Scale Enclosure
HAI             Hughes Associates, Inc.
HDPE            high density polyethylene
HGL             Hot Gas Layer
HIPS            high-impact polystyrene
HRR             Heat Release Rate
ISO             International Standards Organization
LEMTA           Laboratoire d’Energétique et de Méchanique Théorique et Appliquée
LES             Large Eddy Simulation
LLNL            Lawrence Livermore National Laboratory
LNG             Liquified Natural Gas
MEC             Minimum Extinguishing Concentration
NBS             National Bureau of Standards (former name of NIST)
NFPRF           National Fire Protection Research Foundation
NIST            National Institute of Standards and Technology
NRC             Nuclear Regulatory Commission
NRCC            National Research Council of Canada
NRL             Naval Research Laboratory
PDPA            Phase Doppler Particle Analyzer
PIV             Particle Image Velocimetry
PMMA            poly(methyl methacrylate)
PRISME          Propagation d’un incendie pour des scénarios multi-locaux élémentaires
PVC             Polyvinyl chloride
RANS            Reynolds Averaged Navier-Stokes

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RSE             Reduced-Scale Enclosure
SBI             Single Burning Item
SNL             Sandia National Laboratory
SP              Statens Provningsanstalt (Technical Research Institute of Sweden)
TGA             Thermal Gravimetric Analysis
THIEF           Thermally-Induced Electrical Failure
UL              Underwriters Laboratories
USN             United States Navy
VTFRL           Virginia Tech Fire Research Laboratory
VTT             Valtion Teknillinen Tutkimuskeskus (Technical Research Centre of Finland)
WTC             World Trade Center




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Chapter 1

What is Model Validation?

Although there are various definitions of model validation, for example the one contained in ASTM E
1355 [2], most define it as the process of determining how well the mathematical model predicts the actual
physical phenomena of interest. Validation typically involves (1) comparing model predictions with experi-
mental measurements, (2) quantifying the differences in light of uncertainties in both the measurements and
the model inputs, and (3) deciding if the model is appropriate for the given application. This guide only
does (1) and (2). Number (3) is the responsibility of the end user. To say that FDS is “validated” means that
the end user has quantified the model uncertainty for a given application and decided that the model is ap-
propriate. Although the FDS developers spend a considerable amount of time comparing model predictions
with experimental measurements, it is ultimately the end user who decides if the model is adequate for the
job at hand.
     This Guide is merely a collection of calculation results. As FDS develops, it will expand to include
new experimental measurements of newly modeled physical phenomena. With each minor release of FDS
(version 5.2 to 5.3, for example), the plots and graphs are all regenerated to ensure that changes to the model
have not decreased the accuracy of a previous version.
     The following sections discuss key issues that must be considered when deciding whether or not FDS is
appropriate for a given application. It depends on (a) the scenarios of interest, (b) the predicted quantities,
and (c) the desired level of accuracy. FDS can be used to model most any fire scenario and predict almost
any quantity of interest, but the prediction may not be accurate because of limitations in the description of
the fire physics, and also because of limited information about the fuels, geometry, and so on.


1.1    Blind, Specified, and Open Validation Experiments
ASTM E 1355 [2] describes three basic types of validation calculations – Blind, Specified, and Open.

Blind Calculation: The model user is provided with a basic description of the scenario to be modeled.
    For this application, the problem description is not exact; the model user is responsible for developing
    appropriate model inputs from the problem description, including additional details of the geometry,
    material properties, and fire description, as appropriate. Additional details necessary to simulate the
    scenario with a specific model are left to the judgment of the model user. In addition to illustrating
    the comparability of models in actual end-use conditions, this will test the ability of those who use the
    model to develop appropriate input data for the models.

Specified Calculation: The model user is provided with a complete detailed description of model inputs,
   including geometry, material properties, and fire description. As a follow-on to the blind calculation, this


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      test provides a more careful comparison of the underlying physics in the models with a more completely
      specified scenario.

Open Calculation: The model user is provided with the most complete information about the scenario,
   including geometry, material properties, fire description, and the results of experimental tests or bench-
   mark model runs which were used in the evaluation of the blind or specified calculations of the scenario.
   Deficiencies in available input (used for the blind calculation) should become most apparent with com-
   parison of the open and blind calculation.

The calculations presented in this Guide all fall into the Open category. There are several reasons for this,
the first being the most practical:

  • All of the calculations presented in this Guide are re-run with each minor release of FDS (i.e., 5.3 to
    5.4). The fact that the experiments have already been performed and the results are known qualify these
    calculations as Open.

  • Some of the calculations described in this Guide did originally fall into the Specified category because
    they were first performed before the experiments were conducted. However, in almost every case, the
    experiment was not conducted exactly as specified, and the pre-calculated results were not particularly
    useful in determining the accuracy of the model.

  • None of the calculations were truly Blind, even those performed prior to the experiments. The purpose
    of a Blind calculation is to assess the degree to which the choice of input parameters affects the outcome.
    However, in such cases it is impossible to discern the uncertainty associated from the choice of input
    parameters from that associated with the model itself. The primary purpose of this Guide is to quantify
    the uncertainty of the model itself, in which case Blind calculations are of little value.


1.2      How to Use this Guide
When considering whether to use FDS for a given application, do the following:

 1. Survey Chapter 2 to learn about past efforts by others to validate the model for similar applications.
    Keep in mind that most of the referenced validation exercises have been performed with older versions
    of FDS, and you may want to obtain the experimental data and the old FDS input files and redo the
    simulations with the version of FDS that you plan to use.

 2. Identify in Chapter 3 the experimental data sets appropriate for your application. In particular, the sum-
    mary of the experiments found in Sec. 3.107 contains a table listing various non-dimensional quantities
    that characterize the parameters of the experiments. For example, the equivalence ratio of a compart-
    ment fire experiment indicates the degree to which the fire was over or under-ventilated. To say that the
    results of a given experiment are relevant to your scenario, you need to demonstrate that its parameters
    “fit” within the parameter space outlined in Table 3.48.

 3. Search the Table of Contents to find comparisons of FDS simulations with the relevant experiments.
    For a given experiment, there may be numerous measurements of quantities like the gas temperature,
    heat flux, and so on. It is a challenge to sort out all the plots and graphs of all the different quantities
    and come to some general conclusion. For this reason, this Guide is organized by output quantity, not
    by individual experiment or fire scenario. In this way, it is possible to assess, over a range of different
    experiments and scenarios, the performance of the model in predicting a given quantity. Overall trends
    and biases become much more clear when the data is organized this way.

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 4. Determine the accuracy of the model for given output quantities of interest listed in Table 16.1. An
    explanation of the accuracy metrics is given in Chapter 4.

The experimental data sets and FDS input/output files described in this Guide are all managed via the project
repository. You might want to re-run examples of interest to better understand how the calculations were
designed, and how changes in the various parameters might affect the results. This is known as a sensitivity
study, and it is difficult to document all the parameter variations of the calculations described in this report.
Thus, it is a good idea to determine which of the input parameters are particularly important.




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Chapter 2

Survey of Past Validation Work

In this chapter, a survey of FDS validation work is presented. Some of the work has been performed at NIST,
some by its grantees and some by engineering firms using the model. Because each organization has its own
reasons for validating the model, the referenced papers and reports do not follow any particular guidelines.
Some of the works only provide a qualitative assessment of the model, concluding that the model agreement
with a particular experiment is “good” or “reasonable.” Sometimes, the conclusion is that the model works
well in certain cases, not as well in others. These studies are included in the survey because the references
are useful to other model users who may have a similar application and are interested in even qualitative
assessment. It is important to note that some of the papers point out flaws in early releases of FDS that have
been corrected or improved in more recent releases. Some of the issues raised, however, are still subjects of
active research. The research agenda for FDS is greatly influenced by the feedback provided by users, often
through publication of validation efforts.
     It is useful to divide the various validation exercises described in this chapter into two classes – those
for which the heat release rate (HRR) of the fire is specified as an input to the model and those for which
the HRR is predicted by the model. The former is often the case for a design application, the latter for a
forensic reconstruction.
     Design applications typically involve an existing building or a building under design. A so-called “de-
sign fire” is specified either by a regulatory authority or by the engineers performing the analysis. Because
the fire’s heat release rate is specified, the role of the model is to predict the transport of heat and combustion
products throughout the room or rooms of interest. Ventilation equipment is often included in the simula-
tion, like fans, blowers, exhaust hoods, HVAC ducts, smoke management systems, etc. Sprinkler and heat
and smoke detector activation are also of interest. The effect of the sprinkler spray on the fire is usually less
of interest since the heat release rate of the fire is specified rather than predicted. Detailed descriptions of
the contents of the building are usually not necessary because these items are assumed to not contribute to
the fire, and even if they are, the burning rate will be specified, not predicted. Sometimes, it is necessary to
predict the heat flux from the fire to a nearby “target,” and even though the target may heat up to some spec-
ified ignition temperature, the subsequent spread of the fire usually goes beyond the scope of the analysis
because of the uncertainty inherent in object to object fire spread.
     Forensic reconstructions require the model to simulate an actual fire based on information that is col-
lected after the event, such as eye witness accounts, unburned materials, burn signatures, etc. The purpose
of the simulation is to connect a sequence of discrete observations with a continuous description of the fire
dynamics. Usually, reconstructions involve more gas/solid phase interaction because virtually all objects in
a given room are potentially ignitable, especially when flashover occurs. Thus, there is much more empha-
sis on such phenomena as heat transfer to surfaces, pyrolysis, flame spread, and suppression. In general,
forensic reconstructions are more challenging simulations to perform because they require more detailed


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information about the room contents, and there is much greater uncertainty in the total heat release rate as
the fire spreads from object to object.
     Validation studies of FDS to date have focused more on design applications than reconstructions. The
reason is that design applications usually involve specified fires and demand a minimum of thermo-physical
properties of real materials. Transport of smoke and heat is the primary focus, and measurements can be
limited to well-placed thermocouples, a few heat flux gauges, gas samplers, etc. Phenomena of importance
in forensic reconstructions, like second item ignition, flame spread, vitiation effects and extinction, are more
difficult to model and more difficult to study with well-controlled experiments. Uncertainties in material
properties and measurements, as well as simplifying assumptions in the model, often force the comparison
between model and measurement to be qualitative at best. Nevertheless, current validation efforts are moving
in the direction of these more difficult issues.


2.1    Validation Work with Pre-Release Versions of FDS
FDS was officially released in 2000. However, for two decades various CFD codes using the basic FDS
hydrodynamic framework were developed at NIST for different applications and for research. In the mid
1990s, many of these different codes were consolidated into what eventually became FDS. Before FDS, the
various models were referred to as LES, NIST-LES, LES3D, IFS (Industrial Fire Simulator), and ALOFT
(A Large Outdoor Fire Plume Trajectory).
     The NIST LES model describes the transport of smoke and hot gases during a fire in an enclosure using
the Boussinesq approximation, where it is assumed that the density and temperature variations in the flow
are relatively small [3, 4, 5, 6]. Such an approximation can be applied to a fire plume away from the fire
itself. Much of the early work with this form of the model was devoted to the formulation of the low Mach
number form of the Navier-Stokes equations and the development of the basic numerical algorithm. Early
validation efforts compared the model with salt water experiments [7, 8, 9], and fire plumes [10, 11, 12, 13].
Clement validated the hydrodynamic model in FDS by measuring salt water flows using Laser Induced dye
Fluorescence (LIF) [14]. An interesting finding of this work was that the transition from a laminar to a
turbulent plume is very difficult to predict with any technique other than DNS.
     Eventually, the Boussinesq approximation was dropped and simulations began to include more fire-
specific phenomena. Simulations of enclosure fires were compared to experiments performed by Steck-
ler [15]. Mell et al. [16] studied small helium plumes, with particular attention to the relative roles of
baroclinic torque and buoyancy as sources of vorticity. Cleary et al. [17] used the LES model to simulate
the environment seen by multi-sensor fire detectors and performed some simple validation work to check
the model before using it. Large fire experiments were performed by NIST at the FRI test facility in Japan,
and at US Naval aircraft hangars in Hawaii and Iceland [18]. Room airflow applications were considered by
Emmerich and McGrattan [19, 20].
     These early validation efforts were encouraging, but highlighted the need to improve the hydrodynamic
model by introducing the Smagorinsky form of large eddy simulation. This addition improved the stability of
the model because of the relatively simple relation between the local strain rate and the turbulent viscosity.
There is both a physical and numerical benefit to the Smagorinsky model. Physically, the viscous term
used in the model has the right functional form to describe sub-grid mixing processes. Numerically, local
oscillations in the computed flow quantities are damped if they become large enough to threaten the stability
of the entire calculation.




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2.2     Validation of FDS since 2000
There is an on-going effort at NIST and elsewhere to evaluate FDS as new capabilities are added. To date,
most of this work has focused on the model’s ability to predict the transport of heat and exhaust products
from a fire through an enclosure. In these studies, the heat release rate is usually prescribed, along with the
production rates of various products of combustion. More recently, validation efforts have moved beyond
just transport issues to consider fire growth, flame spread, suppression, sprinkler/detector activation, and
other fire-specific phenomena.
     The validation work discussed below can be organized into several categories: Comparisons with full-
scale tests conducted especially for the chosen evaluation, comparisons with previously published full-scale
test data, comparisons with standard tests, comparisons with documented fire experience, and comparisons
with engineering correlations. There is no single method by which the predictions and measurements are
compared. Formal, rigorous validation exercises are time-consuming and expensive. Most validation exer-
cises are done simply to assess if the model can be used for a very specific purpose. While not comprehensive
on their own, these studies collectively constitute a valuable assessment of the model.

2.2.1   Fire Plumes
There are several examples of fire flows that have been extensively studied, so much so that a set of engi-
neering correlations combining the results of many experiments have been developed. These correlations
are useful to modelers because of their simplicity. The most studied phenomena include fire plumes, ceiling
jets, and flame heights.
     Although much of the early validation work before FDS was released involved fire plumes, it remains
an active area of interest. One study by Chow and Yin [21] surveys the performance of various models in
predicting plume temperatures and entrainment for a 470 kW fire with a diameter of 1 m and an unbounded
ceiling. They compare the FDS results with various correlations and a RANS (Reynolds-Averaged Navier-
Stokes) model.
     Battaglia et al. [22] used FDS to simulate fire whirls. First, the model was shown to reproduce the
McCaffrey correlation of a fire plume, then it was shown to reproduce qualitatively certain features of fire
whirls. At the time, FDS used Lagrangian elements to introduce heat from the fire (no longer used), and this
combustion model could not replicate the extreme stretching of the core of the flame zone.
     Quintiere and Ma [23, 24] compared predicted flame heights and plume centerline temperatures to
empirical correlations. For plume temperature, the Heskestad correlation [25] was chosen. Favorable agree-
ment was found in the plume region, but the results near the flame region were found to be grid-dependent,
especially for low Q∗ fires. At this same time, researchers at NIST were reaching similar conclusions, and
it was noticed by both teams that a critical parameter for the model is D∗ /δ x, where D∗ is the characteristic
fire diameter and δ x is the grid cell size. If this parameter is sufficiently large, the fire can be considered
well-resolved and agreement with various flame height correlations was found. If the parameter is not large
enough, the fire is not well-resolved and adjustments must be made to the combustion routine to account for
it.
     Gutiérrez-Montes et al. [26] simulated 1.3 MW and 2.3 MW fires in a 20 m cubic atrium using FDS
version 4. Similar experiments were conducted at VTT, Finland, in a 19 m tall test hall with similar sized
fires. These results are included in Sec. 6.1.11.
     Hurley and Munguia [27, 28] compared FDS (version 4) simulations with plume and ceiling jet measure-
ments from a series of full-scale tests conducted by Underwriters Laboratories. The tests were conducted
in a 36.6 m by 36.6 m compartment with ceiling heights ranging from 3 m to 12.2 m. Heat release rates
followed a modified t-squared growth profile. Thermocouples attached to brass disks were used to simulate
thermal detectors.


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2.2.2   Pool Fires
Xin et al. [29] used FDS to model a 1 m diameter methane pool fire. The computational domain was 2 m
by 2 m by 4 m with a uniform grid size of 2.5 cm. The predicted results were compared to experimental
data and found to qualitatively and quantitatively reproduce the velocity field. The same authors performed
a similar study of a 7.1 cm methane burner [30] and a helium plume [31].
     The 7.1 cm diameter buoyant diffusion flame has been extensively studied both experimentally and
computationally. Zhou and Gore [32] reported radial profiles of mixture fraction and vertical velocity for
estimation of thermal expansion for natural gas buoyant diffusion flames stabilized on a 7.1 cm diameter
diffuser burner. Xin et al. [33] used a Lagrangian thermal element based combustion model to simulate this
flame. The authors noted that the simulations were sensitive to the burnout time utilized by the combustion
model. To gain further insight into the species distribution inside the fire, Xin et al. [30] performed fire
dynamics simulations using a mixture fraction based combustion model. Xin and Gore [34] used laser-
induced incandescence to determine soot distributions in vertical and horizontal planes for methane and
ethane turbulent buoyant flames. Biswas et al. [35] utilized a novel time series model to simulate the scalar
concentrations and temperature fields for these flames.
     Hostikka et al. [36] modeled small pool fires of methane, natural gas and methanol to test the FDS
radiation solver for low-sooting fires. They conclude that the predicted radiative fluxes are higher than
measured values, especially at small heat release rates, due to an over-prediction of the gas temperature.
These tests are also included in the Heat Flux section of this report.
     Hietaniemi, Hostikka and Vaari [37] considered heptane pool fires of various diameters. Predictions
of the burning rate as a function of diameter follow the trend observed in a number of experimental stud-
ies. Their results show an improvement in the model over the earlier work with methanol fires, due to
improvements in the radiation routine and the fact that heptane is more sooty than methanol, simplifying
the treatment of radiation. The authors point out that reliable predictions of the burning rate of liquid fuels
require roughly twice as fine a grid spanning the burner than would be necessary to predict plume velocities
and temperatures. The reason for this is the prediction of the heat feedback to the burning surface necessary
to predict rather than to specify the burning rate.

2.2.3   Air and Gas Movement in the Absence of Fire
The low Mach number assumption in FDS is appropriate not only to fire, but to most building ventilation
scenarios. An example of how the model can be used to assess indoor air quality is presented by Musser
et al. [38]. The test compartment was a displacement ventilation test room that contained computers, furni-
ture, and lighting fixtures as well as heated rectangular boxes intended to represent occupants. A detailed
description of the test configuration is given by Yuan et al. [39]. The room is ventilated with cool supply
air introduced via a diffuser that is mounted on a side wall near the floor. The air rises as it is warmed by
heat sources and exits through a return duct located in the upper portion of the room. The flow pattern is in-
tended to remove contaminants by sweeping them upward at the source and removing them from the room.
Sulphur hexafluoride, SF6 , was introduced into the compartment during the experiment as a tracer gas near
the breathing zone of the occupants. Temperature, tracer concentration, and velocity were measured during
the experiments.
     In another study, Musser and Tan [40] used FDS to assess the design of ventilation systems for facilities
in which train locomotives operate. Although there is only a limited amount of validation, the study is useful
in demonstrating a practical use of FDS for a non-fire scenario.
     Mniszewski [41] used FDS to model the release of flammable gases in simple enclosures and open areas.
In this work, the gases were not ignited.
     Kerber and Walton [42] provided a comparison between FDS version 1 and experiments on positive


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pressure ventilation in a full-scale enclosure without a fire.

2.2.4   Wind Engineering
Most applications of FDS involve fires within buildings. However, it can be used to model thermal plumes
in the open and wind impinging on the exterior of a building. Rehm, McGrattan, Baum and Simiu [43] used
the LES solver to estimate surface pressures on simple rectangular blocks in a crosswind, and compared
these estimates to experimental measurements. In a subsequent paper [44], they considered the qualitative
effects of multiple buildings and trees on a wind field.
     A different approach to wind was taken by Wang and Joulain [45]. They considered a small fire in a
wind tunnel 0.4 m wide and 0.7 m tall with flow speeds of 0.5 m/s to 2.5 m/s. Much of the comparison
with experiment is qualitative, including flame shape, lean, length. They also use the model to determine the
predominant modes of heat transfer for different operating conditions. To assess the combustion, they imple-
mented an “eddy break-up” combustion model [46] and compared it to the mixture fraction approach used
by FDS. The two models performed better or worse, depending on the operating conditions. Some of the
weaknesses of the mixture fraction model as implemented in FDS version 2 were addressed in subsequent
versions.
     Chang and Meroney [47] compared the results of FDS with the commercial CFD package FLUENT in
simulating the transport of pollutants from steady point sources in an idealized urban environment. FLUENT
employs a variety of RANS (Reynolds Averaged Navier-Stokes) closure methods, whereas FDS employs
large eddy simulation (LES). The results of the numerical models were compared with wind tunnel mea-
surements within a 1:50 scale physical model of an urban street “canyon.”
     FDS has recently been applied to urban canopy modeling [48] and wind engineering. Le et al. [49]
modeled flow over a backward facing step using DNS with a Reynolds number of 5,100. To verify the
results, Jovic and Driver [50] supplemented the DNS simulation with an identically proportioned wind
tunnel experiment. Together, the data sets from these two studies have provided the baseline for analysis of
recent simulations of flow over a backward facing step that are documented in this guide.
     Sarwar et al. [51] used FDS to compare SGS eddy viscosity models. The constant Smagorinsky model
performed the best, although the dynamic Smagorinsky and Deardorff models, nearly equivalent in accuracy,
were found to perform better than the Vreman model. To avoid explicit specification of inlet turbulence
conditions, the authors created an extremely long inlet section to allow turbulence to develop.

2.2.5   Atmospheric Dispersion
During the 1980s and 1990s, the Building and Fire Research Laboratory at NIST studied the burning of
crude oil under the sponsorship of the US Minerals Management Service. The aim of the work was to
assess the feasibility of using burning as a means to remove spilled oil from the sea surface. As part of the
effort, Rehm and Baum developed a special application of the LES model called ALOFT. The model was
a spin-off of the two-dimensional LES enclosure model, in which a three-dimensional steady-state plume
was computed as a two-dimensional evolution of the lateral wind field generated by a large fire blown in
a steady wind. The ALOFT model is based on large eddy simulation in that it attempts to resolve the
relevant scales of a large, bent-over plume. Validation work was performed by simulating the plumes from
several large experimental burns of crude oil in which aerial and ground sampling of smoke particulate was
performed [52]. Yamada [53] performed a validation of the ALOFT model for 10 m oil tank fire. The results
indicate that the prediction of the plume cross section 500 m from the fire agree well with the experimental
observations.
    Mouilleau and Champassith [54] performed a validation study to assess the ability of FDS (version 4) to
model atmospheric dispersion. They concluded that the best results were obtained for simulations done with


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explicitly-modeled wind fluctuations. Specific atmospheric flow characteristics were evaluated for passive
releases in open and flat fields.

2.2.6   Growing Fires
Floyd [55, 56] compared FDS predictions with measurements from fire tests at the Heiss-Dampf Reaktor
(HDR) facility in Germany. The structure was originally the containment building for a nuclear power
reactor. The cylindrical structure was 20 m in diameter and 50 m in height topped by a hemispherical
dome 10 m in radius. The building was divided into eight levels. The total volume of the building was
approximately 11,000 m3 . From 1984 to 1991, four fire test series were performed within the HDR facility.
The T51 test series consisted of eleven propane gas tests and three wood crib tests.
    FDS predictions of fire growth and smoke movement in large spaces were performed by Kashef [57].
The experiments were conducted at the National Research Council Canada. The tests were performed in a
compartment with dimensions of 9 m by 6 m by 5.5 m with 32 exhaust inlets and a single supply fan. A
burner generated fires ranging in size from 15 kW to 1000 kW.

2.2.7   Flame Spread
Although FDS simulations have been compared to actual and experimental large-scale fires, it is difficult
to quantify the accuracy because of the uncertainty associated with material properties. Most quantified
validation work associated with flame spread have been for small, laminar flames with length scales ranging
from millimeters to a few centimeters.
     For example, FDS (or its core algorithms) have been used at a grid resolution of roughly 1 mm to
look at flames spreading over paper in a micro-gravity environment [58, 59, 60, 61, 62, 63], as well as “g-
jitter” effects aboard spacecraft [64]. Simulations have been compared to experiments performed aboard
the Space Shuttle. The flames are laminar and relatively simple in structure, and the materials are relatively
well-characterized.
     FDS flame spread predictions were compared to experiments over a 5 m slab of PMMA performed by
Factory Mutual Research Corporation (FMRC) [23, 24].
     A charring model was implemented in FDS by Hostikka and McGrattan [65]. The model was a sim-
plification of work done at NIST by Ritchie et al. [66]. The charring model was first used to predict the
burning rate of a small wooden sample in the cone calorimeter. Full-scale room tests with wood paneling
were modeled, but the results were grid-dependent. This was likely a consequence of the gas phase spatial
resolution, rather than the solid phase.
     Kwon et al. [67] performed three simulations to evaluate the capability of FDS, version 4, in predicting
upward flame spread. The FDS predictions were compared with empirical correlations and experimental
data for upward flame spread on a 5 m PMMA panel. A simplified flame spread model was also applied to
assess the simulation results.
     An extensive amount of flame spread validation work with FDS version 4 has been performed by Hi-
etaniemi, Hostikka, and Vaari at VTT, Finland [37]. The case studies are comprised of fire experiments
ranging in scale from the cone calorimeter (ISO 5660-1, 2002) to full-scale fire tests such as the room cor-
ner test (ISO 9705, 1993). Comparisons are also made between FDS 4 results and data obtained in the SBI
(Single Burning Item) Euro-classification test apparatus (EN 13823, 2002) as well as data obtained in two
ad hoc experimental configurations: one is similar to the room corner test but has only partial linings and
the other is a space to study fires in building cavities. In the study of upholstered furniture, the experimental
configurations are the cone and furniture calorimeters, and the ISO room. For liquid pool fires, compari-
son is made to data obtained by numerous researchers. The burning materials include spruce timber, MDF
(Medium Density Fiber) board, PVC wall carpet, upholstered furniture, cables with plastic sheathing, and


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heptane. The scope of the VTT work is considerable. Assessing the accuracy of the model must be done on
a case by case basis. In some cases, predictions of the burning rate of the material were based solely on its
fundamental properties, as in the heptane pool fire simulations. In other cases, some properties of the ma-
terial are unknown, as in the spruce timber simulations. Thus, some of the simulations are true predictions,
some are calibrations. The intent of the authors was to provide guidance to engineers using the model as to
appropriate grid sizes and material properties. In many cases, the numerical grid was made fairly coarse to
account for the fact that in practice, FDS is used to model large spaces of which the fuel may only comprise
a small fraction.
     Mangs and Hostikka [68] carried out experiments and simulations (FDS 5.4.3) of the vertical flame
spread on the surface of thin birch wood cylinders at different ambient temperatures. The parameters for
the pyrolysis model were estimated from TGA and cone calorimeter experiments. The gas phase flow was
calculated in the DNS mode with 1.0 mm grid cells in axi-symmetric geometry. The simulation model
was able to predict the flame spread rates within the uncertainties associated with the experiments and
postsimulation analysis of the spread rate.
     Moinuddin et al. [69] conducted numerical simulations of coupled solid-phase reactions (pyrolysis)
and gas-phase reaction (combustion). FDS was used for simulating the PMMA (non-charring), pine (char-
ring), wool (charring) and cotton (charring) flaming fire experiments conducted with a cone calorimeter at
50 kW/m2 and 30 kW/m2 . The inputs of chemical kinetics and the heat of reaction were obtained from
sample mass change and enthalpy data in TGA and differential scanning calorimetry (DSC) tests and the
flammability parameters were obtained from cone calorimeter experiments.

2.2.8   Compartment Fires
As part of the NIST investigation of the World Trade Center fires and collapse, a series of large scale fire
experiments were performed specifically to validate FDS [70]. The tests were performed in a rectangular
compartment 7.2 m long by 3.6 m wide by 3.8 m tall. The fires were fueled by heptane for some tests and a
heptane/toluene mixture for the others. The results of the experiments and simulations are included in detail
in this Guide.
     A second set of experiments to validate FDS for use in the World Trade Center investigation is docu-
mented in Ref. [71]. The experiments are not described as part of this Guide. The intent of these tests was
to evaluate the ability of the model to simulate the growth of a fire burning three office workstations within a
compartment of dimensions 11 m by 7 m by 4 m, open at one end to mimic the ventilation of windows simi-
lar to those in the WTC towers. Six tests were performed with various initial conditions exploring the effect
of jet fuel spray and ceiling tiles covering the surface of the desks and carpet. Measurements were made of
the heat release rate and compartment gas temperatures at four locations using vertical thermocouple arrays.
Six different material samples were tested in the NIST cone calorimeter: desk, chair, paper, computer case,
privacy panel, and carpet. Data for the carpet, desk and privacy panel were input directly into FDS, with
the other three materials lumped together to form an idealized fuel type. Open burns of single workstations
were used to calibrate the simplified fuel package. Details of the modeling are contained in Ref. [72].
     Moinuddin et al. [73] conducted experiments to measure the temperature rise of protected and unpro-
tected structural steel during a fire within a small enclosure (an ISO 9705 room). The fuel (wood crib) was
placed at two locations (front and back) within the room. The temperature of six steel columns and two steel
beams was measured. Predictions by FDS were compared with the measurements.
     The BRE Centre for Fire Safety Engineering at the University of Edinburgh conducted a series of large-
scale fire tests in a real high rise building in Dalmarnock, Glasgow, Scotland [74, 75]. The experiments took
place in July, 2006, with the close collaboration of the Strathclyde Fire Brigade and other partners. These
experiments attempted to create realistic scenario in which a wide range of modern fire safety engineering
tools could be put to a test. Jahn, Rein and Torero assessed the sensitivity of FDS when applied to these

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experiments [76]. Fire size and location, convection, radiation and combustion parameters were varied in
order to determine the associated degree of sensitivity. Emphasis was put in the prediction of secondary
ignition and time to flashover. In this context and while keeping the HRR constant, simulations of fire
growth were significantly sensitive to location of the heat release rate, fire area, flame radiative fraction, and
material thermal and ignition properties.
     Students at Stord/Haugesund University College in Norway simulated full-scale experiments of temper-
ature and smoke spread in a realistic multi-room setting using both CFAST and FDS [77]. Data from the
top 0.5 m of the compartments was compared with measurements. The simulations were found to provide
satisfying results in CFAST, as an alternative to FDS.
     Drean et al. [78] measured the fire exposure to an exterior facade of a two-level test facility operated
by the engineering firm Efectis in Saint-Aubin, France. The objective was to evaluate the ability of FDS,
version 6, to predict the gas temperatures and heat fluxes at the exterior wall.
     Chaudhari et al. [79] simulated controlled fire experiments using a gas burner conducted in a purpose-
built, two-story, moderately air-tight residential structure. Temperatures, gas concentrations (oxygen, water
vapor, carbon dioxide), and differential pressures were monitored throughout the structure. HVAC status
and stairwell door openings to the fire room were varied for the experiments.
     Moinuddin et al. [80] used FDS to simulate fires in a deep enclosure with a depth of 4 m, width of 2 m,
and opening heights of 0.6 m, 0.8 m, and 1.0 m. The results were compared to various empirical methods.

2.2.9   Sprinklers, Mist System, and Suppression by Water
Vettori [81] modeled sprinkler activation patterns in a room with an obstructed ceiling. In a follow-up
report, Vettori [82] extended his study to include sloped ceilings, with and without obstructions. Both of
these experimental series are included within the current validation guide and are referred to the Vettori Flat
and Sloped Ceiling Experiments.
     A significant validation effort for sprinkler activation and suppression was a project entitled the Interna-
tional Fire Sprinkler, Smoke and Heat Vent, Draft Curtain Fire Test Project organized by the National Fire
Protection Research Foundation [83]. Thirty-nine large scale fire tests were conducted at Underwriters Lab-
oratories in Northbrook, IL. The tests were aimed at evaluating the performance of various fire protection
systems in large buildings with flat ceilings, like warehouses and “big box” retail stores. All the tests were
conducted under a 30 m by 30 m adjustable-height platform in a 37 m by 37 m by 15 m high test bay. At
the time, FDS had not been publicly released and was referred to as the Industrial Fire Simulator (IFS), but
it was essentially the same as FDS version 1. The first and second series of heptane spray burner fires are
included in this guide under the heading “UL/NFPRF Sprinkler, Vent, and Draft Curtain Study.” Most of the
full-scale experiments performed during the project used a heptane spray burner to generate controlled fires
of 1 MW to 10 MW. However, five experiments were performed with 6 m high racks containing the Factory
Mutual Standard Plastic Commodity, or Group A Plastic. To model these fires, bench scale experiments
were performed to characterize the burning behavior of the commodity, and larger test fires provided vali-
dation data with which to test the model predictions of the burning rate and flame spread behavior [84, 85].
Two to four tier configurations were evaluated.
     High rack storage fires of pool chemicals were modeled by Olenick et al. [86] to determine the validity
of sprinkler activation predictions of FDS. The model was compared to full-scale fires conducted in January,
2000 at Southwest Research Institute in San Antonio, Texas.
     FDS has been used to study the behavior of a fire undergoing suppression by a water mist system. Kim
and Ryou [87, 88] compared FDS predictions to results of compartment fire tests with and without the
application of a water mist. The cooling and oxygen dilution were predicted to within about 10 % of the
measurements, but the simulations failed to predict the complete extinguishment of a hexane pool fire. The
authors suggest that this is a result of the combustion model rather than the spray or droplet model.

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     Another study of water mist suppression using FDS was conducted by Hume at the University of Can-
terbury, Christchurch, New Zealand [89]. Full-scale experiments were performed in which a fine water mist
was combined with a displacement ventilation system to protect occupants and electrical equipment in the
event of a fire. Simulations of these experiments with FDS showed qualitative agreement, but the version of
the model used in the study (version 3) was not able to predict accurately the decrease in heat release rate of
the fire.
     Hostikka and McGrattan [90] evaluated the absorption of thermal radiation by water sprays. They
considered two sets of experimental data and concluded that FDS has the ability to predict the attenuation of
thermal radiation “when the hydrodynamic interaction between the droplets is weak.” However, modeling
interacting sprays would require a more costly coalescence model. They also note that the results of the
model were sensitive to grid size, angular discretization, and droplet sampling.
     O’Grady and Novozhilov [91] compared the predictions of FDS version 4 against full-scale fire tests
performed at SP Sweden involving a 1.5 MW steady-state fire with two different sprinkler flow rates [92].
The authors reported results for gas temperatures and the tangential flow velocity in the ceiling jet. Sen-
sitivity of the model to a range of input parameters was investigated. The model demonstrated moderate
sensitivity to the spray parameters, such as spray cone configuration, initial droplet velocities, and droplet
sizes. On the other hand, the sensitivity to other parameters such as sprinkler atomization length and rms of
droplet size distribution was low.
     Xiao [93] compared FDS simulations with real scale compartment measurements for unsprinklered and
sprinklered experiments. Numerical results for doorway mass flow rate and temperature are compared with
the experimental data for three fire sizes.
     Zhao and Zhang [94, 95] have simulated the effect of water sprays on vertical flame spread.
     Mahmud et al. [96] conducted a study on the characterization of water mists, in terms of distribution
of flux density of sprays, produced by a single and a multi-orifice high-pressure jet nozzle. Full-scale
experiments were conducted and the distributions of volume flux density of sprays were measured. The
sprays were also modeled using FDS to investigate the capability of the model in predicting the distribution
behaviour of the spray.

2.2.10   Airflows in Fire Compartments
Friday and Mowrer [97] studied the use of FDS in large scale mechanically ventilated spaces. The ventilated
enclosure was provided with air injection rates of 1 to 12 air changes per hour and a fire with heat release
rates ranging from 0.5 MW to 2 MW. The test measurements and model output were compared to assess the
accuracy of FDS. These simulations have been repeated with the latest version of FDS and reported in this
guide under the heading “FM/SNL Test Series.”
     Zhang et al. [98] utilized the FDS model to predict turbulence characteristics of the flow and temperature
fields due to fire in a compartment. The experimental data was acquired through tests that replicated a half-
scale ISO Room Fire Test. Two cases were explored – the heat source in the center of the room and the heat
source adjacent to a wall. In both cases, the heat source was a heating element with an output of 12 kW/m2 .

2.2.11   Tunnel Fires
Cochard [99] used FDS to study the ventilation within a tunnel. He compared the model results with a
full-scale tunnel fire experiment conducted as part of the Massachusetts Highway Department Memorial
Tunnel Fire Ventilation Test Program. The test consisted of a single point supply of fresh air through a
28 m2 opening in a 135 m tunnel.
     McGrattan and Hamins [100] also applied FDS to simulate two of the Memorial Tunnel Fire Tests
as validation for the use of the model in studying an actual fire in the Howard Street Tunnel, Baltimore,


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Maryland, July 2001. The experiments chosen for the comparison were unventilated. One experiment was
a 20 MW fire; the other a 50 MW fire.
     Piergoirgio et al. [101] provided a qualitative analysis of FDS applied to a truck fire within a tunnel.
The goal of their analysis was to describe the spread of the toxic gases within the tunnels, to determine the
places not involved in the spreading of combustion products and to quantify the oxygen, carbon monoxide
and hydrochloric acid concentrations during the fire.
     Edwards et al. [102, 103] used FDS to determine the critical air velocity for smoke reversal in a tunnel
as a function of the fire intensity, and his results compared favorably with experimental results. In a further
study, Edwards and Hwang [104] applied FDS to study fire spread along combustibles in a ventilated mine
entry. Analyses such as these are intended for planning and implementation of ventilation changes during
mine fire fighting and rescue operations.
     Bilson et al. [105] used FDS to evaluate the interaction of a deluge system with a tunnel ventilation and
smoke exhaust system.
     Harris [106] used FDS to determine the heat flux from a tunnel fire under varying water application rates.
These results were qualitatively consistent with experimental results of Arvidson [107], who conducted burn
tests for shielded and unshielded standard plastic commodities under a variety of spray conditions.
     Trelles and Mawhinney [108, 109] simulated with FDS 4 a series of full-scale fire suppression experi-
ments conducted at the San Pedro de Anes test tunnel near Gijon, Asturias, Spain in February, 2006. The
fuel consisted of wooden and polyethylene pallets, and the suppression system consisted of different con-
figurations of water mist nozzles.

2.2.12   Smoke Detection
The ability of version 1 of FDS to accurately predict smoke detector activation was studied by D’Souza [110].
The smoke transport model within FDS was tested and compared with UL 217 test data. The second step
in this research was to further validate the model with full-scale multi-compartment fire tests. The results
indicated that FDS is capable of predicting smoke detector activation when used with smoke detector lag
correlations that correct for the time delay associated with smoke having to penetrate the detector housing.
A follow-up report by Roby et al. [111] and paper by Zhang et al. [112] describes the implementation and
validation of the smoke detector algorithm currently incorporated in FDS.
     Another study of smoke detector activation was carried out by Brammer at the University of Canterbury,
New Zealand [113]. Two fire tests from a series performed in a two-story residence were simulated, and
smoke detector activation times were predicted using three different methods. The methods consisted of
either a temperature correlation, a time-lagged function of the optical density, or a thermal device much like
a heat detector. The purpose was to identify ways to reliably predict smoke detector activation using typical
model output like temperature and smoke concentration. It was remarked that simulating the early stage of
the fire is critical to reliable prediction.
     Cleary [114] also provided a comparison between FDS computed gas velocity, temperature and concen-
trations at various detector locations. The research concluded that multi-room fire simulations with the FDS
model can accurately predict the conditions that a sensor might experience during a real fire event.

2.2.13   Combustion Model
A few studies have been performed comparing direct numerical simulations (DNS) of a simple burner flame
to laboratory experiments [115]. Another study compared DNS calculations of a counterflow diffusion
flames to experimental measurements and the results of a one-dimensional multi-step kinetics model [116].
    Bundy, Dillon and Hamins [117, 118] studied the use of FDS in providing data and correlations for fire
investigators to support their investigations. A paraffin wax candle was placed within a small plexi-glass


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enclosure. The heat flux from the candle flame was modeled with FDS.
     Floyd et al. [119, 56] compared the radiation model of FDS version 2 with full-scale data from the Vir-
ginia Tech Fire Research Laboratory (VTFRL). The test compartment was outfitted with equipment capable
of taking temperature, air velocity, gas concentrations, unburned hydrocarbon and heat flux measurements.
The test facility consisted of a single compartment geometrically similar to the ISO 9705 standard compart-
ment with dimensions of 1.2 m by 1.8 m by 1.2 m in height. The ceiling and walls were constructed of
fiberboard over a steel shell with a floor of concrete. Three baseline experiments were completed with fires
ranging in size from 90 kW to 440 kW.
     Xin and Gore [120] compared FDS predictions and measurements of the spectral radiation intensities of
small fires. The fuel flow rates for methane and ethylene burners were selected so that the Froude numbers
matched that of liquid toluene pool fires. The heat release rate was 4.2 kW for the methane flame and
3.4 kW for the ethylene flame. Line of sight spectral radiation intensities were measured at six downstream
locations. The spectral radiation intensity calculations were performed by post-processing the transient
scalar distributions provided by FDS.
     Zhang et al. [121] compared the experimental results of a circular methane gas burner to predictions
computed by FDS. The compartment was 2.8 m by 2.8 m by 2.2 m high with natural ventilation from a
standard door.

2.2.14   Soot Deposition
Several studies have been conducted that indicate soot deposition is an important factor in compartment
fires for the accurate prediction of smoke concentrations, smoke detector activations, and visibility. Gottuk
et al. [122] reported that smoke concentrations predicted by FDS near smoke alarms in a corridor were two
to five times greater than measured smoke concentrations. Hamins et al. [123] conducted full-scale com-
partment fire experiments for use in validation studies of various fire models, including FDS. The results
indicated that smoke concentrations predicted by FDS were up to five times greater than measured smoke
concentrations. Floyd and McDermott [124] implemented thermophoretic and turbulent diffusion soot depo-
sition mechanisms in FDS and compared predicted soot densities and concentrations to measurements from
small- and large-scale experiments. Riahi [125] conducted bench-scale experiments to measure soot densi-
ties and soot deposition patterns on walls for various fuels. Riahi identified thermophoretic deposition as an
important soot deposition mechanism in the hot gas layer. Cohan [126] used FDS to simulate select cases
from the Gottuk [122] corridor tests, Hamins et al. [123] NRC experiments, and Riahi [125] hood experi-
ments with thermophoretic and turbulent diffusion soot deposition mechanisms. Overholt and Ezekoye [127]
implemented gravitational settling of soot in the gas-phase in FDS and quantified the effects of gravitational
settling/deposition compared to thermophoretic and turbulent diffusion deposition for small- and large-scale
validation cases.

2.2.15   Wildfires
Work began in the early 2000’s to adapt FDS to wildland fire spread. Mell et al. [128, 129] simulated fire
spread over grassland and the burning of Douglas fire trees. Perez-Ramirez et al. [130] simulated small-scale
fire spread experiments under a laboratory calorimeter. All of these studies used a variant of FDS referrred
to as Wildland-FDS or WFDS. Since that time, these studies have been redone and the results are included
in this guide under the headings “CSIRO Grassland Fires,” “NIST Douglas Firs,” and “USFS Corsica.”
     Wadhwani et al. [131, 132] conducted experiments using a device that produces controlled and repeat-
able sets of firebrands, and validated FDS for firebrand transport against this set of experiments.




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2.3    Reconstructions of Actual Fires
ASTM E 1355 states that a model may be evaluated by comparing it with “Documented Fire Experience”
which includes:
  • eyewitness accounts of real fires,
  • known behavior of materials in fires (for example, melting temperatures of materials), and
  • observed post-fire conditions, such as the extent of fire spread.
Often the term “reconstruction” is applied to this type of simulation, because the model is used to reconstruct
events based on evidence collected during and after the fire. Some of the more notable studies performed at
NIST include:
  • McGrattan, Bouldin, and Forney simulated the fires within the World Trade Center towers and Building
    7 on September 11, 2001 [72].
  • Grosshandler et al. investigated the fire that occurred at the Station Nightclub in Rhode Island in Febru-
    ary, 2003 [133].
  • Madrzykowski and Vettori examined a fire in a townhouse in Washington, D.C., where two fire fighters
    were killed and one severely injured in 1999 [134].
  • Vettori, Madrzykowski, and Walton simulated a fire in a Houston restaurant that killed two fire fighters
    in 2000 [135].
  • Madrzykowski, Forney and Walton simulated a fire that killed three children and three fire fighters in a
    two story duplex house in Iowa in 1999 [136].
  • Madrzykowski and Walton investigated the fire in the Cook County (Chicago) Administration Building
    in October, 2003, that killed six people trapped in a stairwell [137].
  • Bryner et al. simulated a fire in a large furniture store that occurred in June, 2007, killing nine fire
    fighters [138].
Outside of NIST, FDS has been used to investigate many actual fires, but very few of these studies are
documented in the literature. Exceptions include:
  • A large fire in a “cash & carry” warehouse in the UK was studied by Camp and Townsend using both
    hand calculations and FDS (version 1) [139].
  • A study by Rein et al. [140] looked at several fire events using an analytical fire growth model, the NIST
    zone model CFAST, and FDS.
  • A similar study was performed several years earlier by Spearpoint et al. [141] as a class exercise at the
    University of Maryland.
  • During the SFPE Professional Development Week in the fall of 2001, a workshop was held in which
    several engineers related their experiences using FDS as a forensic tool [142].
  • The role of carbon monoxide in the deaths of three fire fighters was studied by Christensen and Icove [143].
     Icove and May [144] discuss the benefits of computer fire models in forensic fire investigations, histor-
ical and pending legal case law, and methods to use modeling results within expert reports and testimony.
Particular issues reviewed are the use of animations versus simulations, evidentiary guidelines, and authen-
tication using verification and validation studies.

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Chapter 3

Description of Experiments

This chapter contains a brief description of the experiments that were used for model validation. Only
enough detail is included here to provide a general understanding of the model simulations. Anyone wish-
ing to use the experimental measurements for validation ought to consult the cited test reports or other
publications for a comprehensive description.


3.1    Aalto Woods Experiments
Rinta-Paavola et al. developed a material model for Norway spruce and Scots pine woods to predict char
front progress and heat release in burning timber [145]. The material models are calibrated using tempera-
ture, mass loss rate and heat release rate measurements of wood specimens in a cone calorimeter. The model
is intended for a number of different fire scenarios, such as fully developed fire with only little oxygen in the
compartment, or the decay period after flaming with exposed char still smoldering. Cone calorimeter mea-
surements were conducted under flaming, inert, and and smoldering conditions to replicate these scenarios.
The estimated material models are able to predict the experiments in the scale of cone calorimeter.
     The material model for spruce developed using cone calorimeter measurements is tested in prediction
of heat release rates in two previously existing experiments: an ISO 9705 room corner test [146] (test code
M12 in the original source) and a modified room corner test originally reported in Finnish in [147]. English
description of the modified test is available in [37].
     In a room corner test, the walls and the ceiling of a 2.4 m by 3.6 m by 2.4 m (width, length, height) test
compartment are lined with the tested material. The 2.4 m wide front wall has a 0.8 m wide, 2.0 m high door
opening in the middle, and the back corner adjacent to the wall opposite to the door has a gas burner with an
output of 100 kW for the first ten minutes of the test. If flashover does not occur during this time, the burner
heat release is increased to 300 kW for another ten minutes. The test is terminated after 20 minutes or when
flashover occurs.
     In the test M12 [146] the walls and the ceiling are lined with 10 mm thick spruce timber, whereas in the
modified test [147] the walls and ceiling only in the proximity of the gas burner was lined with 22 mm thick
spruce timber, elsewhere being exposed concrete. In both of the studied tests the flashover occured within
the first ten minutes, so the burner heat release was 100 kW over the entire duration of the test.

Modeling Notes
In the simulations of flaming cone calorimeter experiments, the computational domain is 20 cm in length
and width and 30 cm in height, with a grid resolution of 1 cm. For the inert and smoldering experiments the
domain is 30 cm by 30 cm by 30 cm with the resolution of 10 cm, as the gaseous phase was not directly


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modelled. In the simulations of room corner tests, the computational domain continued for 1.5 m outside
after the 20 cm thick front wall. In the corner where the burner was located, the grid resolution was 2 cm
over a volume that extends for 0.5 m from the corner at x-, and y directions, and spans the entire height from
floor to the ceiling. Elsewhere, a resolution of 10 cm was used.
     Neither [146] nor [147] reported the initial moisture content of the timbers, so a moisture mass fraction
of 0.09 similar to the cone calorimeter specimens in [145], was assumed in the beginning of room corner
tests. This is a relevant moisture content for timber in normal room air.
     The parameters in the original research of Rinta-Paavola et al. [145] were estimated for FDS 6.7.7, but
in FDS 6.7.8 and later the reaction rate equation for solid pyrolysis is different, possibly requiring scaling
of the pre-exponential factor when parameters are carried from a FDS version with the old reaction rate
definition to a newer one. See [145] for greater detail. Table 14.14 presents appropriately scaled parameters
that yield results consistent to the original simulations in [145] when initial moisture mass fraction is 0.09.
If a different initial moisture content is used, re-scaling of the frequency factor would be necessary to gain
most accurate possible agreement with the model presented in [145].


3.2    ArupFire Tunnel Fire Experiments
Gabriele Vigne and Jimmy Jönsson of ArupFire conducted a series of fire experiments within a tunnel with
a 50 m2 cross section. The tunnel is located in La Ribera del Folgoso, Spain. It is approximately 6.5 m
high, 8 m wide and 300 m long. Five replicate tests were conducted using a 1 m by 2 m steel pan filled
with heptane on water. Near-ceiling temperatures were measured 2 m, 4 m, 6 m and 8 m from the plume
centerline. The peak heat release rate was approximately 5.3 MW.


3.3    ATF Corridors Experiments
A series of eighteen experiments were conducted in a two-story structure with long hallways and a con-
necting stairway in the large burn room of the ATF Fire Research Laboratory in Ammendale, Maryland, in
2008 [148]. The test enclosure consisted of two 17.0 m long hallways connected by a stairway consisting of
two staircases and an intermediary landing. There was a door at the opposite end of the first floor hallway,
which was closed during all tests. The end of the second floor hallway was open with a soffit near the ceiling.
     The walls and ceilings of the test structure were constructed of 1.2 cm gypsum wallboard. The flooring
throughout the structure, including the stairwell landing floor, consisted of one layer of 1.3 cm thick cement
board on one layer of 1.9 cm thick plywood supported by wood joists. The first set of stairs, which had eight
risers, led from the first floor up to the landing area. The second set of stairs, which had nine risers, led from
the landing area up to the second floor. The stairs were constructed of 2.5 cm thick clear pine lumber. The
two set of stairs were separated by an approximately 0.42 m wide gap in the middle of the stairwell. This
gap was separated from the stairs by a 0.91 m tall barrier constructed of a single piece of gypsum board.
The flue space was open to the first floor. The flue space was separated from the second floor by a 0.9 m tall
barrier constructed of gypsum board. There was a metal exterior type door at the end of the first floor near
the burner. The door was closed during all experiments.
     The fire source was a natural gas diffusion burner. The burner surface was horizontal, square and 0.45 m
on each side, its surface was 0.37 m above the floor, and it was filled with gravel. The burner was located
near the end of the first floor away from the stairs. A diagram of the test structure is displayed in Figure 3.1.




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                   m
                                                           Ceiling and foreground walls removed




                  75
                1.
                                                     The second level is open below the soffit.
                                                     The first level is closed.

       9m
0 .3




                                                                     m
                                                                  .1
                                                                17
            m
         5
       1.




                       Natural Gas Burner                                        5m                                                    m
                                                                          2 .3                                                  5 .0
                       45 cm by 45 cm
                       37 cm above floor
                       Centered in corridor                                                       1 .1
                                                                                                         6m

                                                                                                                     m          7m
                                                                                      1 .0                    3 .0       2 .3
                                                                                             0m
                                    All stairs are
                                    1.15 m wide
                                                                     m




                                                                                                         m
                                                                                 m
                                                                 3




                                                                                                    1
                                                                1.




                                                                          1 .2
                                                                                                  6.
                                                            m
                                                            7
                                                          2.




                          Figure 3.1: Geometry of the ATF Corridors Experiments.




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3.4    Atmospheric Dispersion Correlations
A common exercise in atmospheric dispersion modeling is predicting the plume rise height of stack emis-
sions. Stull [149] presents an empirical correlation for plume rise height from a smoke stack in a stable
atmospheric boundary layer. Details of the correlation and simulation are found in Sec. 15.3.


3.5    Backward Facing Step
A common validation experiment for CFD codes involves flow through a channel with a backward facing
step. These experiments are designed to test the influence of grid resolution, inlet turbulence, wall boundary
treatments, and eddy viscosity models. One set of experiments has been conducted by Jovic and Driver [50].
A schematic view of the experiment is shown in Fig. 3.2. The dimensions of the channel are based on step
height h = 0.0098 m. The length of the channel is 24 h. The width of the channel is 4 h. The height of the
inlet section is 5 h, and the height of the channel downstream of the step is 6 h. The expansion ratio is thus
1.2. The inlet is split into three sub-inlets to permit localized variation of inlet turbulence. The Reynolds
number of the flow is 5100, based on the free-stream velocity (7.2 m/s) and the step height.




                        Figure 3.2: Geometry of the Backward Facing Step experiments.



3.6    Beyler Hood Experiments
Craig Beyler performed small-scale fire experiments where a variety of circular gas burners were centered
at various heights underneath a closed, cylindrical hood, 100 cm in diameter and 48 cm in height [150]. The
hood consisted of two concentric cylinders separated by an air gap, as shown in Fig. 3.3. The inner cylinder

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was shorter than the outer and this allowed combustion products to be removed uniformly from the hood
perimeter. The exhaust gases were then analyzed to determine species concentrations. The burner could be
raised and lowered with respect to the bottom edge of the hood. The reported relative standard uncertainty
of the measured gas species mass fractions was 6 %. The fuels consisted of acetone, ethanol, isopropanol,
methanol, propane, propylene, and toluene. Hood equivalence ratios varied from 0.2 to 1.7. A subset of
47 of the original 148 experiments spanning the equivalence ratio range for each fuel were simulated for
validation, see Table 3.1.



                                                       100 cm




    48 cm

                        30 cm
                                                                      Burner




                                Figure 3.3: Sketch of Beyler Hood cross section.



Modeling Notes
Simulations of the Beyler Hood experiments are performed at 3 cm resolution within a fairly simple facsim-
ile of the actual hood. The boundary conditions are set to adiabatic to allow for a relatively quick ramp up
to steady-state conditions.
     The two-step simple chemistry combustion scheme is applied, where an infinitely fast reaction converts
the fuel to CO, soot, and water vapor, followed sequentially by a second fast reaction that converts the soot
and CO to CO2 . Some of the soot and CO does not convert to CO2 , based on post-flame yields listed by
Tewarson [151].
     A minimum auto-ignition temperature is specified for each fuel [152] to prevent the fuel vapor from
igniting at the layer interface. This restriction is relaxed in the grid cells just above the burner surface to
allow for ignition without a secondary heat source. In addition, a critical flame temperature of 500 ◦ C is
applied in all cases to account for local flame extinction. The grid is too coarse to support the actual values,
and the chosen value is a placeholder until a better flame extinction model is developed.




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Table 3.1: Summary of simulated Beyler Hood experiments. A negative value of Separation Distance
indicates the burner top is below the lower rim of the hood.

  Exp.        Fuel       HRR     Burner      Sep.         Exp.      Fuel      HRR     Burner      Sep.
  No.         Gas        (kW)     (cm)     Dist. (cm)     No.       Gas       (kW)     (cm)     Dist. (cm)
  117       Acetone       18.0    22.6        -12         232     Propane      13.5    19.5         -5
  119       Acetone       16.4    22.6         -1         257     Propane      8.2     19.5        -15
  122       Acetone       16.4    22.6          4         287     Propane      7.9     19.5          5
  142       Acetone       12.1    22.6          4         303     Propane      18.3    19.5          5
  145       Acetone       12.7    22.6          4         307     Propane      21.4    19.5          5
  106       Ethanol       17.3    22.6         -9         318     Propane      18.3    19.5        -20
  107       Ethanol       21.3    22.6         -4         322     Propane      21.4    19.5        -20
  108       Ethanol       17.3    22.6          4         334     Propane      21.4    19.5        -15
  110       Ethanol       13.5    22.6          4         355     Propane      18.3    19.5          0
  115       Ethanol       13.5    22.6          4         359     Propane      21.4    19.5          0
  130     Isopropanol     12.4    22.6          4         371     Propane      21.4    19.5         -5
  132     Isopropanol     12.4    22.6          4         389     Propane      18.3    19.5          0
  133     Isopropanol     12.4    22.6          4         429     Propane      28.1    19.5        -10
  136     Isopropanol     12.4    22.6         -1         433     Propane      31.5    19.5        -10
  141     Isopropanol     12.4    22.6          4         445     Propane      31.5    19.5        -15
  942      Methanol       11.0    22.6          0         780    Propylene     7.5     19.5        -10
  943      Methanol       11.0    22.6          0         805    Propylene     7.5     19.5        -10
  945      Methanol       11.0    22.6         -5         859    Propylene     31.4    19.5        -10
  947      Methanol       11.0    22.6          0         870    Propylene     19.0    19.5         -2
  951      Methanol       9.8     22.6          0         882    Propylene     19.1    19.5        -10
  160       Toluene       11.5    22.6         -6         886    Propylene     19.1    19.5         -5
  162       Toluene       11.5    22.6         -1         910    Propylene     31.4    19.5        -11
  165       Toluene       11.5    22.6          4
  166       Toluene       11.5    22.6          5
  170       Toluene       11.5    22.6          4



3.7      BGC/GRI LNG Fire Experiments
In 1982 and 1983, P.A. Croce and K.S. Mudan of Arthur D. Little, Inc., and J. Moorhouse of the British Gas
Corporation (BGC) supervised 13 liquified natural gas (LNG) trench fire experiments conducted by BGC
on behalf of the Gas Research Institute (GRI) [153]. Thirteen experiments were performed with nominal
trench sizes ranging from 0.8 m by 4.4 m to 3.9 m by 52 m and aspect ratios ranging from approximately
5 to 30. Wind speeds varied from approximately 1 m/s to almost 10 m/s. Measurements made during
the tests included flame geometry, radiative heat flux, emissive power, burning rate, LNG liquid and vapor
compositions, and meteorological data. The fires were observed to exhibit substantial flame drag and flame
breakup, unlike low aspect ratio pools. Steady burning was achieved in all tests.
     The key parameters for each experiment are listed in Table 3.2. The Flame Tilt angle is the measured
deflection of the flame from the vertical. The Flame Drag Ratio is the distance that the flame drags along the
ground outside of the trench added to the trench width, and then divided by the trench width. The Avg. Flame
Length denotes the time-averaged flame length, while the Max. Flame Length refers to the time-averaged
extent of the fluctuating flame tips.

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                              Table 3.2: BGC/GRI LNG Fires test parameters.

  Test    Trench   Trench    Aspect    Wind       Burning     Flame    Flame    Avg. Flame     Max. Flame
  No.     Length   Width     Ratio     Speed       Rate        Tilt    Drag       Length        Length
           (m)      (m)                (m/s)     (kg/m2 /s)   (deg)    Ratio       (m)            (m)
    1     23.53     1.81       13.00     3.8       0.064       56.3     2.57       4.4            8.9
    2     15.52     1.81       8.57      1.5       0.069       56.1     2.30       3.8            7.3
    3      9.23     1.83       5.04      1.0       0.098       45.2     1.21       7.1           11.4
    4     23.50     1.83       12.84    8.36       0.054       56.8     2.96       3.4            7.3
    5      9.05     1.82       4.97     9.31       0.060       60.5     2.96       4.2            8.2
    6     23.45     3.94       5.95     4.98       0.082       59.6     2.62       6.9           16.8
    7     23.45     0.82       28.60    3.80       0.049       48.3     3.98       2.0            4.3
    8     11.82     0.82       14.41    2.05       0.058       49.8     3.77       2.1            4.6
    9      9.10     0.82       11.10    5.40       0.051       47.0     3.68       1.5            3.7
   10     52.05     3.89       l3.38    7.05       0.060       61.3     2.83       7.9           20.3
   11      4.37     0.81       5.40     5.90       0.052       49.9     4.16       1.8            3.6
   12     52.15     1.82       28.65    8.60       0.046       61.3     3.70       3.3            8.1
   13     23.10     0.77       30.00    3.69       0.043       55.7     4.23       2.1            5.3


Modeling Notes
The experiments are simulated using the specified fuel burning rate. The fuel is assumed to be methane. The
atmosphere is assumed to be neutral with a large Obukhov length, L = 1000000, and the ground surface is
flat with an assumed aerodynamic roughness, z0 = 0.1 m. The relative humidity, ambient temperature and
pressure, and wind speed at 9 m are specified in the report. The radiative fraction is assumed to 0.25 and the
radiative path length is assumed to be 50 m; that is, the effective absorption coefficients of the various gas
mixtures are evaluated over a distance of 50 m. The radiation source term is taken directly as 25 % of the
combustion energy release rate. The soot yield is assumed to be 0.005.

Flame Height Results: Sec. 6.2.3

Flame Tilt Results: Sec. 6.3

Heat Flux Results: Sec. 12.2.3


3.8      Bittern Sprinkler Experiments
In 2004, a set of 22 fire experiments was conducted at the University of Canterbury, New Zealand, by Adam
Bittern [154, 155]. In each experiment, a single chair was burned within an enclosure with two sprinklers
installed. The sprinklers were not charged with flowing water during the experiments, but pressure gauges
were installed immediately upstream of each sprinkler to indicate activation. The sprinkler actuation time,
chair mass loss rate, and gas temperature profile were measured. The HRR was estimated from the measured
mass loss rate and heat of combustion of the fuel.
    The experiments incorporated four different types of sprinklers, two fire locations (the center and corner
of the enclosure), and two ventilation conditions (open or closed door). The enclosure was timber-framed
and lined with 10 mm thick gypsum plasterboard. The door was made of plywood and was 0.8 m wide
by 2.1 high. The compartment layout, dimensions and experimental arrangement are shown in Figure 3.4.


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The chair used as fuel for each experiment was made of flexible polyurethane foam slabs, where each slab
measured approximately 0.5 m by 0.4 m by 0.1 m. The seat was ignited using a solid petroleum lighter.
   Table 3.3 reports the sprinkler actuation times of each sprinkler.


        Corner
         Chair                                                                                      0.8 m

                     2.0 m                                                   2.0 m


                                  Sprinkler 1                                            Sprinkler 2
                                                                   4.0 m
           2.0 m                                                                            2.0 m
                                                    Center
                                                     Chair




                                                    8.0 m



                           Figure 3.4: Plan view of the Bittern Sprinkler Experiments.



Modeling Notes
The assumptions given in this section were used in the original analysis of the experiments [154].
     The gypsum board had a thickness of 1 cm, density of 731 kg/m3 , specific heat of 0.90 kJ/(kg·K),
conductivity of 0.17 W/(m·K), and emissivity of 0.88. The concrete floor was assumed to have a thickness
of 10 cm, density of 2300 kg/m3 , specific heat of 0.88 kJ/(kg·K), conductivity of 1.2 W/(m·K), and emissivity
of 0.5.
     The properties of the sprinklers are shown in Table 3.4. These properties are based on the manufacturer’s
specification where available or otherwise estimated based on measured values of comparable sprinklers.
For modeling purposes, the sprinkler offset, 2 cm, was selected based on an approximate 2 cm glass bulb
length, and the C-factor selected was based on a sensitivity analyses undertaken in the original study.
     The average heat of combustion of the upholstery was measured in a cone calorimeter to be 21.9 MJ/kg
(Exp. 1-10) and 20.4 MJ/kg (Exp. 12-22). Since the primary fuel used in the experiments was flexible
polyurethane foam, the radiant loss fraction assumed in the fire model was 0.46. Other combustion pa-
rameters were as for polyurethane foam, and all parameters selected are consistent with those used in the
original BRANZFIRE study [155]. For the “simple chemistry” combustion model, inputs for stoichiomet-
ric yields have been selected from literature based on GM23 foam, with an effective molecular formula of
CH1.8 O0.35 N0.06 . The soot yield was assumed to be 0.227 kg/kg. The area of the fire was taken to be 0.4 m
by 0.5 m. The height of the fire was assumed to be 0.65 m above the floor.


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Table 3.3: Summary of results, Bittern experiments. Note that Exp. 11 has been excluded because of a failed
mass loss measurement.

             Exp.   Spr. 1   Time (s)    Spr. 2   Time (s)   T0 (◦ C)    Door      Fire Position
              1     Res A      210       Res A      250       23.7      Open          Center
              2     Res A      225       Res A      211       25.5      Open          Center
              3     Res B      192       Res B      192       25.5      Open          Center
              4     SS68       226       SS68       226       25.7      Open          Center
              5     SS68       266       SS68       272       27.5      Open          Center
              6     SS68       216       SS68       211       27.7      Open          Center
              7     Res A      182       Res A      186       28.2      Open          Center
              8     Res B      182       Res B      187       27.9      Open          Center
              9     Res B      233       Res B      230       28.9      Open          Center
              10    Res A      183       Res B      184       29.4      Open          Center
              12    SS68       246       Res B      228       24.0      Closed        Center
              13    SS68       204       Res B      194       24.5      Closed        Center
              14    SS68       203       Res B      187       24.2      Closed        Center
              15    SS68       270       Res B      253       23.7      Closed        Center
              16    Res B      178       Res A      224       20.6      Closed        Corner
              17    Res B      181       Res A      228       23.8      Closed        Corner
              18    SS68       187       Res A      221       25.0      Closed        Corner
              19    SS68       189       Res A      223       26.4      Closed        Corner
              20    SS68       205       Res A     DNA        25.3      Closed        Corner
              21    SS93       216       SS93       330       25.2      Closed        Corner
              22    SS93       205       SS93       263       25.2      Closed        Corner

                      Table 3.4: Properties of sprinklers used in Bittern Experiments.

           Short    Description                                RTI      C-Factor     Act. Temp.
           Name                                              (m·s)1/2   (m/s)1/2         ◦C

           Res A    Residential, 3 mm glass bulb                36        0.4            68
           Res B    Residential, 3 mm glass bulb                36        0.4            68
           SS68     Standard Response, 5 mm glass bulb          95        0.4            68
           SS93     Standard Response, 5 mm glass bulb          95        0.4            93


    For experiments 11 to 22, the door to the compartment was closed. The estimated leakage area was
assumed based on data for loose-fitting internal walls. An area of 0.053 m2 was evenly distributed across
the door.


3.9    Bouchair Solar Chimney
To evaluate solar-induced ventilation systems in desert climates, Bouchair [156] constructed a simple test
apparatus shown in Fig. 3.5. A compartment with interior dimensions of approximately 1.6 m long, 1.8 m,
and 2.0 m high had a window on one side and an air inlet slot on the other, leading into a 1.5 m wide cavity
with two heating panels spanning the long dimension. The panels were heated to 10 ◦ C, 20 ◦ C, 30 ◦ C, or
40 ◦ C above ambient, drawing air through the compartment and into the thermal cavity. The mass flow rate


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of air through the cavity was measured. The inlet slot was either 0.1 m or 0.4 m high, and 1.4 m wide. The
thermal cavity was 1.5 m wide, and the hot panels were separated by 0.1 m, 0.2 m, 0.3 m, 0.5 m, or 1.0 m.
In all, there were 40 different sets of test parameters.
    In addition to the results presented in this guide, simulations of this experiment were performed by Shi
and Zhang [157]. The objective of the simulations is to predict the mass flow rate by accurately modeling
the convective heat transfer between the air and hot panels.

 Hot Cavity Width
 0.1, 0.2, 0.3, 0.5, or 1.0 m wide                                                Hot Panels
                                                                                  10, 20, 30, or 40 °C above ambient
                                        m
                                      3
                                   0.




                                                            m
                                                        5
                                                       1.
                                      m
                                   .9
                                  1




                                                                   m
                                                                   6
                                                                 1.


                                                                                             Inlet Slot
                                                                                             1.4 m wide
                 m   0.6                                                                     0.1 m or 0.4 m high
           2.0             m




                                                                   0. 1
                                          0. 5                            m
                                                 m

                                                                                Front wall removed for clarity




                           Figure 3.5: Geometry of the Bouchair Solar Chimney experiment.



3.10     BRE Spray Test for Radiation Attenuation
Murrel et al. [158] measured the attenuation of thermal radiation passing through a water spray using a heat
flux gauge. The radiation was produced by a heat panel, one meter square, at 900 ◦ C. The horizontal distance
from the radiation panel to the spray nozzle was 2 m and to the measurement point 4 m. The nozzles were
positioned at a height 0.24 m above the panel upper edge. The heat flux gauge was positioned at the line
passing through the center of the panel. The attenuation of radiation was defined as (q0 − qs )/q0 , where q0
is the initial radiative heat flux, measured without a spray, and qs is the heat flux measured during the spray
operation.


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     Experimental results are used from three full-cone type nozzles, labeled A, B and D. The opening angles
of the nozzles were between 90 and 108 degrees. The purpose of the simulation is to compare the measured
and simulated attenuation of radiation at different flow conditions. The nozzles were specified in terms of
median droplet size and mean vertical velocity using PDPA measurement in a single position, 0.7 m below
the nozzle. The droplet boundary conditions were determined by assuming dm ∝ p−1/3 and v ∝ p1/2 type of
dependencies between the droplet size, speed and pressure.


3.11     Bryant Doorway Velocity Measurements
Rodney Bryant of the Fire Research Division at NIST performed a series of velocity measurements of the
gas velocity within the doorway of a standard ISO 9705 compartment for fires ranging from 34 kW to
511 kW [159, 160, 161]. A doorway served as the only vent for the enclosure. It included a jamb of 37 cm
extending outward to facilitate the laser measurements. The entire compartment was elevated 0.3 m off the
floor of the laboratory (see Fig. 3.6). The measurements were made using both bi-directional probes and
PIV (Particle Image Velocimetry). The PIV measurements only cover the lower two-thirds of the doorway
because of difficulties in seeding the hot outflow gases. The bi-directional probe measurements span the
entire height of the doorway, but Bryant reports that these measurements were up to 20 % greater than the
PIV measurements in certain regions of the flow. Consequently, only the PIV data was used for comparison
to the model.




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       Note: All values refer to inner dimension.




                                                                                            m
                                                                                          40
                                                                                        2.
                                                   m
                                              60
                                           3.
                                                  7m                                                        0m
                                           0 .3                                                      2 .4




                                                                               0m
                  1 .9                                                  0 .3
                         6m




                                                                                     Natural Gas Burner
                                                                                     31 cm by 31 cm
                                                                                     Centered in compartment
                                 m
                                79
                              0.




                                                                      Viewport for Laser Sheet



                                     Figure 3.6: Geometry of Bryant’s compartment.


3.12      BST/FRS Wood Crib Fire Experiments
In 1993, British Steel Technical, Swinden Laboratories, in collaboration with the Building Research Estab-
lishment (BRE), Fire Research Station, conducted nine fire experiments inside the BRE ex-airship hangar
testing facility at Cardington, Bedfordshire, England [162]. The objective of the experiments was to examine
the influence of combustible loading and ventilation on fire severity.
     The roof of the test compartment was made of 20 cm thick reinforced aerated concrete slabs with a
density of 450 kg/m3 . The walls were made of 215 mm thick lightweight concrete blocks with a density of
1375 kg/m3 . The floor was covered with a 125 mm deep layer of sand with a density of 1750 kg/m3 . Both
the roof and walls were lined with two 25 mm thick layers of standard grade ceramic fiber blanket with a
density of 128 kg/m3 . Taking into account the lining materials, the compartment was 22.9 m long, 5.6 m
deep, and 2.8 m high.
     Ventilation was provided at one end of the compartment through a full-width, variable height opening.
Lightweight concrete blocks were used to construct temporary walls to reduce the ventilation from fully
open to an eighth of the available area.
     The combustibles consisted of 33 1 m square wood cribs in 11 rows. Each crib was constructed of
1 m long and 5 cm square cross section sticks of Western Hemlock softwood (density 400 kg/m3 ), dried
to 10 % moisture content. The sticks were stacked with 5 cm gaps. Table 3.5 lists the fire load densities


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and ventilation areas. The rear-most three cribs at the back of the compartment were ignited simultaneously.
Temperatures were measured along crib lines 2 (back), 6 (middle) and 10 (front), using 3 mm thermocouples
placed 300 mm below the ceiling. The average of three thermocouples at the same longitudial position is
used for model validation.
       Table 3.5: Fire load densities and relative ventilation areas in the BST/FRS experiments [162].

                       Test number                    1      2     3     4      5     6
                       Combustible load (kg/m2 )     40     20    20    40     20    20
                       Relative Ventilation Area     1/1    1/1   1/2   1/2    1/4   1/8




Modeling Notes
The fire spread on wood cribs is modeled as a combination of simple and complex pyrolysis models. The
unresolved surface area of the wood cribs is compensated using an area multiplicator input parameter. Mod-
eling is reported in [163].


3.13     Cable Response to Live Fire – CAROLFIRE
CAROLFIRE was a project sponsored by the U.S. Nuclear Regulatory Commission to study the thermal
response and functional behavior of electrical cables [164]. The primary objective of CAROLFIRE was
to characterize the various modes of electrical failure (e.g., hot shorts, shorts to ground) within bundles
of power, control and instrument cables. A secondary objective of the project was to develop a simple
model to predict thermally-induced electrical failure (THIEF). The measurements used for these purposes
were conducted at Sandia National Laboratories and are described in Volume II of the CAROLFIRE test
report. In brief, there were two series of experiments. The first were conducted within a heated cylindrical
enclosure. Single and bundled cables were exposed to various heat fluxes and the electrical failure modes
recorded. The second series of experiments involved cables within trays in a semi-enclosed space under
which a gas-fueled burner created a hot layer to force cable failure. Only results from the first series are
used here.
     Petra Andersson and Patrick Van Hees of the Swedish National Testing and Research Institute (SP) pro-
posed that a cable’s thermally-induced electrical failure can be predicted via a one-dimensional heat transfer
calculation, under the assumption that the cable can be treated as a homogenous cylinder [165]. Their results
for PVC cables were encouraging and suggested that the simplification of the analysis is reasonable and that
it should extend to other types of cables. The assumptions underlying the THIEF model are as follows:
 1. The heat penetration into a cable of circular cross section is primarily in the radial direction.
 2. The cable is homogeneous in composition. In reality, a cable is constructed of several different types of
    polymeric materials, cellulosic fillers, and a conducting metal, most often copper.
 3. The thermal conductivity, specific heat, and density of the assumed homogeneous cable are independent
    of temperature. In reality, both the thermal conductivity and specific heat of polymers are temperature-
    dependent, but this information is not easily obtained from manufacturers.
 4. It is assumed that no decomposition reactions occur within the cable during its heating, and ignition
    and burning are not considered in the model. In fact, thermoplastic cables melt, thermosets form a char
    layer, and both release volatile gases up to and beyond the point of electrical failure.

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 5. Electrical failure occurs when the temperature just inside the cable jacket reaches an experimentally
    determined value.


3.14       Crown Fires
The term “crown fire” refers to a wildfire that spreads from the ground surface into the tree canopy. Alexan-
der and Cruz [166] compiled a data set of 57 crown fires that occurred in the U.S. and Canada between
1965 and 2003. For each fire, the relative humidity, ambient temperature, and dominant vegetation type
are reported, along with estimated values for the vegetation moisture content, canopy1 bulk density, and
open 10 m wind speed. The vegetation consists mainly of coniferous trees, like pines and spruces, and dry
undergrowth and ground cover, i.e. scrub brush and dry pine needles. The reported relative humidity ranges
between 5 % and 50 %, the estimated moisture content ranges between 5 % and 10 %, the estimated canopy
bulk density ranges between 0.1 kg/m3 and 0.2 kg/m3 , the estimated wind speed ranges between 10 km/h
and 50 km/h, and the observed rate of spread ranges between 10 m/min and 110 m/min.

Modeling Notes
It is not possible to compare directly the model simulations with the observed fires because of lack of
information about the number, spacing, and height of the trees; and the depth, mass, and composition of the
ground cover. Instead, Ziegler et al. [167, 168, 169, 170] developed tree maps based on various forests found
in the western region of the U.S. The maps contain the location and rough dimensions of each tree in a 4 ha
area. Eight maps were developed based on four specific locations and pre- or post-treated conditions. In
addition, Ziegler et al. suggest that the moisture content of the trees is approximately 100 %, and the ground
cover 5 %. The crown bulk density for all simulations is 1.2 kg/m3 , and the surface density is 0.72 kg/m2
with a depth of 6 cm. The simulated fires are ignited along a strip, and the rate of spread is calculated based
on the position of peak temperature.
     The simulations are performed with a numerical grid that has a resolution of 1 m by 1 m by 0.5 m near
the ground, and the vertical dimension increases gradually with height. Because of this relatively coarse
resolution, the burning rate of the vegetation is limited to ensure that any given patch of surface vegetation
or volume of canopy vegetation cannot burn completely in less than 30 s.


3.15       CSIRO Grassland Fires
In July and August of 1986, the Commonwealth Scientific and Industrial Research Organisation (CSIRO)
of Australia conducted controlled grassland fire experiments near Darwin, Northern Territory [171]. July
and August are in the middle of the dry season when the grasses are fully cured (dried) and the weather is
warm and dry. The experiments were conducted on flat plots measuring 100 m by 100 m, 200 m by 200 m,
or 200 m by 300 m. Two cases have been simulated. Case C064 was conducted on a 100 m by 100 m plot
of kerosene grass (Eriachne burkittii); Case F19 was conducted on a 200 m by 200 m plot of kangaroo grass
(Themeda australis).

Modeling Notes
Two of these experiments were originally simulated with FDS by Mell et al. [128]. These simulations
modeled the grass as a collection of cylindrical Lagrangian particles. The pyrolysis model assigned to the
    1 Note the difference between canopy bulk density and crown bulk density, both of which are abbreviated CBD. The former is

the bulk density over the entire forested area, whereas the latter refers to the bulk density within the crown of an individual tree.


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particles is described in the FDS User’s Guide [1], chapter “Wildland Fire Spread,” Sec. 17.1, “Thermal
Degradation Model for Vegetation.”
    Now these two experiments are also simulated using the Boundary Fuel Model (BFM) [130] and the
Rothermel-Albini fire spread algorithm [172, 173]. For the experiment labelled Case C064, fuel index 1
(Short Grass) is used, with a modified moisture fraction of 0.063. For F19, fuel index 3 (Tall Grass) is used,
with a modified moisture fraction of 0.058.
    Measured properties for the specific types of grasses burned in the two experiments are listed in Ta-
ble 3.6. Properties that were not measured are listed in Table 3.7. These assumed properties are typically for
wood or cellulosic fuels. The moisture is modeled as water. The grass is assumed to be composed primarily
of cellulose.
    Snapshots of the Lagrangian particle simulation of Case F19 is shown in Fig. 3.7. The computational
domain in this case is 240 m by 240 m by 20 m. The grid cells are 0.5 m cubes. The domain is subdivided
into 36 individual meshes and run in parallel. The grass is represented 1 simulated blade per grid cell. The
radius of the cylinder is derived from the measured surface area to volume ratio. Each simulated blade of
grass represents many more actual blades of grass. The weighting factor is determined from the measured
bulk mass per unit area. The fires in the experiments were ignited by two men carrying drip torches walking
in opposite directions along the upwind boundary of the plot (the red strip in Fig. 3.7). In FDS, this action
was modeled using a specified spread rate along the strip.

                Table 3.6: Measured properties for the CSIRO Grassland Fire cases [171].

                     Property                          Units    Case F19     Case C064
                     Wind Speed                         m/s       4.8           4.6
                     Ambient Temperature                ◦C         34            32
                     Surface Area to Volume Ratio       m−1      12240         9770
                     Grass Height                        m        0.51          0.21
                     Bulk Mass per Unit Area           kg/m2     0.313         0.283
                     Moisture Fraction                   %        5.8           6.3




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Figure 3.7: Snapshots of the simulation of CSIRO Grassland Fire F19 compared to photographs of the fire.




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                  Table 3.7: Assumed properties for various types of dried grass and soil.

                Property                              Units       Value        Reference
                Chemical Composition                    –        C6 H10 O5    Assumption
                Heat of Combustion                    kJ/kg       15600           [174]
                Soot Yield                            kg/kg       0.015           [151]
                Char Yield                            kg/kg         0.2           [174]
                Specific Heat                       kJ/(kg·K)       1.5      Various sources
                Conductivity                        W/(m·K)         0.1       Assumption
                Density                              kg/m3          512           [172]
                Heat of Pyrolysis                     kJ/kg         418           [175]
                Obukhov Length                          m          -500       Assumption
                Aerodynamic Roughness Length            m          0.03       Assumption
                Drag Coefficient                        –           2.8           [176]
                Soil Specific Heat                  kJ/(kg·K)       2.0           [177]
                Soil Conductivity                   W/(m·K)        0.25           [177]
                Soil Density                         kg/m3         1300           [177]



3.16     CSTB Tunnel Experiments
Between 2005 and 2008, the French building research laboratory, Centre Scientifique et Technique du Bâ-
timent (CSTB) cooperated with the French Tunnel Study Center (CETU), the French National Centre for
Scientific Research (CNRS, Institut PPRIME) and the French Directorate for Civil Security (DSC) to con-
duct fire experiments in a tunnel, some of which involved a water mist system [178, 179]. The first aim was
to improve the understanding of the interaction between water mist and a tunnel fire. The second was to de-
velop a database for model validation. A one-third scale was selected with the objective of studying realistic
fire phenomena in an affordable way. Twenty-eight experiments were conducted (20 with and 8 without
water mist) with varying fuels (heptane pool, wood crib, and wood pallet) and longitudinal velocities (with
and without back layering).
     The tunnel was 43 m long, with a semi-circular cross section whose area was approximately 4 m2 . The
walls were covered by a fire resistant mortar cement with well known thermal properties. The floor was
made of concrete. A fan was mounted at the downstream side of the tunnel. Measurements were made of
the following: fuel mass, gas temperature, air velocity, radiative heat flux and gas concentration (CO, CO2
and O2 ). Sensors were located at 11 longitudinal positions.
     Tests 2 and 27 have been selected because neither exhibited back layering. The longitudinal velocity in
Test 2 was approximately 2.2 m/s and in Test 27 it was 3.1 m/s. Both experiments involved a 0.5 m2 area
heptane pool. In Test 2, the HRR was deduced from the fuel mass loss rate only. In Test 27, the HRR was
deduced from both the mass loss rate and from oxygen consumption calorimetry.
     In Test 27, a water mist system was manually activated 300 s after ignition. The water mist system
was composed of six nozzles along the centerline of the tunnel, from 4 m upstream to 3.5 m downstream
of the fire, 1.5 m apart. The operating pressure was approximately 90 bar. The water flow rate injected at
each nozzle was close to 5.5 L/min, corresponding to a total mist discharge rate of approximately 33 L/min.
Test 27 is interesting because it involved a very low water injection rate. The main consequence is that
the HRR actually increased slightly after the nozzles were activated, and the fire did not extinguish. The
experiment stopped when the fuel was exhausted. This allowed for an assessment of the model’s ability to
predict the gas cooling and radiation attenuation.

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Modeling Notes
The simulations of these experiments are performed using 12 meshes. To prevent numerical instability due
to oscillations in pressure, a common problem for tunnel fire simulations, the VELOCITY_TOLERANCE and
PRESSURE_TOLERANCE are reduced to 0.01 m/s and 400 s−2 , respectively, and the MAX_PRESSURE_ITERATIONS
is increased to 50. The multi-port mist nozzles are each modeled as a collection of single nozzles with vary-
ing orientations.


3.17     Cup Burner Experiments
The cup-burner is a widely used experimental apparatus for studying the effectiveness of flame extinguish-
ing agents. Typically, these experiments feature a steady fuel-air co-flow diffusion flame that is established
above the cup. The extinguishing agent is gradually introduced into the air stream to determine the minimum
concentration of the agent that leads to lift off. One hundred and ten experimental data sets are examined.
The data sets include sixteen fuels: acetone, acetylene, benzene, butane, dodecane, ethanol, ethylene, hep-
tane, hexane, hydrogen, methane, methanol, octane, propanol, and toluene, and five inert gases: argon
(Ar), carbon dioxide (CO2 ), helium (He), and nitrogen (N2 ), and sulfur hexaflouride (SF6 ). A STANJAN2
calculation has been performed to determine the equilibrium temperature using the measured minimum
extinguishing concentration for each experiment. The calculation assumes constant pressure and enthalpy
using a stoichiometric mixture of fuel and air plus agent. For combinations of fuel and agent with multiple
experiments, the average extinguishing concentration and the average flame temperature is taken, resulting
in forty-six unique combinations of fuel and agent listed in Table 3.8.

Modeling Notes
Cup burner dimensions, fuel inlet velocity, and co-flow inlet velocity vary slightly amongst the researchers;
however, extinguishing concentrations have been shown to be fairly insensitive over the range of typical
values. The cup burner model was implemented as a 2D, cylindrical geometry with a 1 cm radius for the
burner and a 4 cm radius for the tube. A 1 mm grid resolution was used. For gaseous fuels a 1 cm/s inlet
velocity was used for the burner. Liquid fuels used burning rates from the SFPE Handbook; fuels without
published burning rates scaled the burning rate of a chemically similar fuel (e.g. alcohol, alkane) using
the heat of vaporization for the fuel. The fuel temperature boundary condition was ambient for gaseous
fuels and one-half of the boiling point for liquid fuels. The co-flow was set to 12 cm/s. The agent mass
fraction was ramped from approximately 10 % below to 10 % above the values shown in Table 3.8. The
CRITICAL_FLAME_TEMPERATURE was set to the values in Table 3.8.




  2 STANJAN is a program for chemical equilibrium calculations.



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                               Table 3.8: Summary of Cup Burner Data

 Fuel        Agent   MEC    CFT                               References
 Acetone      Ar     34.0   1729                              [180, 181]
 Acetone     CO2     19.0   1678                                 [182]
 Acetone      N2     28.0   1670                              [180, 182]
 Acetylene   CO2     45.0   1338                                 [182]
 Acetylene    N2     58.0   1312                                 [182]
 Benzene     CO2     20.1   1691                              [182, 183]
 Benzene      N2     30.3   1683                            [180, 182, 183]
 Butane       N2     31.0   1594                                 [182]
 Butane      CO2     19.0   1639                                 [182]
 Dodecane     N2     33.0   1577                                 [180]
 Ethanol      Ar     36.5   1654                              [180, 181]
 Ethanol     CO2     23.7   1542                              [182, 183]
 Ethanol      N2     34.6   1529                            [180, 182, 183]
 Ethylene    CO2     32.0   1471                                 [182]
 Ethylene     N2     45.0   1441                                 [182]
 Heptane      Ar     39.5   1643             [180, 184, 181, 185, 186, 187, 188, 189, 190]
 Heptane      N2     31.2   1617   [180, 184, 191, 181, 192, 185, 186, 187, 182, 183, 188, 189, 190]
 Heptane     CO2     21.4   1617                  [181, 192, 185, 186, 187, 182, 183]
 Heptane      He     31.5   1763                              [185, 186]
 Heptane      SF6    11.0   1531                                 [185]
 Hexane       Ar     33.0   1740                                 [181]
 Hexane      CO2     20.0   1647                                 [182]
 Hexane       N2     29.0   1646                              [180, 182]
 Hydrogen    CO2     60.0    913                                 [182]
 Hydrogen     N2     72.0    870                                 [182]
 Methane      Ar     33.8   1659                            [180, 193, 181]
 Methane      N2     24.2   1663                            [193, 182, 194]
 Methane     CO2     14.4   1694                              [182, 183]
 Methane      He     26.7   1746                                 [193]
 Methanol     Ar     45.0   1494                              [180, 181]
 Methanol    CO2     29.2   1410                              [182, 183]
 Methanol     N2     40.8   1395                            [180, 182, 183]
 Octane       Ar     27.0   1790                                 [181]
 Octane      CO2     24.0   1542                                 [182]
 Octane       N2     33.0   1564                              [180, 182]
 Propane      Ar     37.5   1652                              [180, 181]
 Propane     CO2     21.0   1600                                 [182]
 Propane      N2     32.3   1573                            [191, 182, 194]
 Propanol     Ar     28.0   1781                                 [181]
 Propanol    CO2     22.0   1584                                 [182]
 Propanol     He     30.0   1755                                 [185]
 Propanol     N2     30.0   1608                              [182, 185]
 Propanol     SF6    11.0   1515                                 [185]
 Toluene      Ar     27.0   1854                                 [181]
 Toluene     CO2     17.0   1744                              [182, 183]
 Toluene      N2     24.4   1755                              [182, 183]

MEC Minimum Extinguishing Concentration (mol/mol)
CFT Critical Flame Temperature (◦ C)


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3.18      DelCo Trainer Experiments
The NIST Fire Fighting Technology Group conducted a series of experiments in two structures of similar
design located at the Delaware County (“DelCo”) Emergency Services Training Center in Sharon Hill, Penn-
sylvania [195]. Three propane burners were used to provide the fire source for all experiments, and various
sensors were used to collect gas temperature, gas velocity, heat flux, and gas concentration measurements
throughout the structure.
     The single level structure was instrumented with five bare-bead thermocouple arrays and two gas sample
inlet pipes at the locations shown in Fig. 3.8. Both floors of the two level structure were instrumented with
three bare-bead thermocouple arrays and one gas sample inlet pipe at the locations shown in Fig. 3.9.

                                                          12.2 m


                                                  9.1 m
                                     5.5 m

                       0.6 m                                                                     N
                                                                                           A4
                               A2                              A10

                                                          A3
                                                                                                        A8
                                                          Roof Vent
          A7       1.8 m
  7.3 m
                                5.5 m
                                                                                                        A9
                                                                             4.8 m
                                        4.6 m                                    4.4 m
               3.0 m
                                                                                           A5
                                                                                                3.5 m
                               A1
                                                                                                     2.6 m
                  1.6 m
                       1.5 m 1.3 m                                                   1.6 m 1.5 m




Figure 3.8: Instrumentation of the single level DelCo training structure. The thermocouple arrays are denoted by
crossed circles and the gas sampling measurement locations are denoted by hexagons at locations A1 and A4. The
burner is denoted by three cross-hatched squares.




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                                                                11.2 m


                                                                                                          N
                                                  7.8 m
                              A7                                                    A8


                     2.3 m                                                                                      A13

6.4 m
                                                                                                                A14
                                                                                               4.6 m
     A11                                          5.8 m                             A9                  3.5 m
                             A16                                                                              2.6 m
             1.6 m                                                        0.5 m
                                                               A10                1.5 m

                                                               0.3 m   A17


                                                                      11.9 m




                           0.6 m                                                                                N



                                                                                                                      A5
                                          5.2 m           A2                              A3
7.0 m
                                                                                                                    A6
                                  3.6 m                                2.9 m
                                                                                                         3.4 m
                                                   7.1 m
                                                                                                                 2.4 m
                          0.4 m



                     A1
            0.4 m         0.6 m


Figure 3.9: Instrumentation of the second floor (top) and first floor (bottom) of the two level DelCo training structure.
The thermocouple arrays are denoted by crossed circles and the gas sampling measurement locations are denoted by
hexagons at locations A1 and A10. The burner is denoted by three cross-hatched squares.




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3.19     DoJ/HAI Pool Fire Experiments
The U.S. Department of Justice sponsored a series of liquid pool fire experiments performed by Hughes
Associates, Inc. [196]. Hundreds of experiments were performed, involving six different liquid fuels, eight
different substrates, a variety of pan sizes and pool depths. Of these, 44 experiments were chosen from
the “Diked Fire Test Series,” where gasoline or kerosene was burned within 0.3 m, 0.6 m, or 1.2 m square
pans with liquid depths ranging from 1 mm to 20 mm. The substrate was either coated concrete or vinyl,
each of which was designed to avoid liquid absorption. The vinyl flooring material had a nominal thickness
of 1.2 mm applied to a 14.7 mm plywood using a vinyl adhesive. Table 14.15 provides a summary of the
experimental parameters.

Modeling Notes
The test report for the experiments does not explicitly list the components of the gasoline or kerosene.
Rather, distillation curves are provided showing that the initial and final boiling points for gasoline are
45 ◦ C and 212 ◦ C, and for kerosene 170 ◦ C and 257 ◦ C. The density of the gasoline is 742 kg/m3 and the
kerosene 798 kg/m3 . From various industry documents, it is postulated that the gasoline is a mixture of n-
hexane (0.521 by mass), n-heptane (0.054), n-octane (0.063), n-decane (0.023), benzene (0.20), and toluene
(0.139). The kerosene is assumed to be a mixture of iso-octane (0.04), n-nonane (0.19), iso-nonane (0.12),
n-decane (0.15), iso-decane (0.11), n-undecane (0.09), and cis-decalin (0.30). The relavant properties of
these liquids are listed in Table 3.32.
     A few additional assumptions are made concerning the mixtures. First, that the absorption coefficient of
all components is set to 150 m−1 , a value that is typical of heavy hydrocarbon liquids. Seconds, the thermal
conductivity of the components is set to an artificially low value of 0.02 W/m/K to roughly account for the
buoyancy that drives heated liquid upwards towards the surface. Third, all liquid components are assumed to
evaporate into a single gas phase species, n-hexane. If this were not assumed, additional transport equations
and combustion reactions would be needed for all liquid components.
     Finally, to simulate the ignition of the liquid pools, an external flux is imposed at the surface for 10 s in
the case of gasoline and 25 s for kerosene.

                             Table 3.9: Gasoline and kerosene components [197].

               Fuel            Chemical        W          ρ            cp           hv       Tb
               Component       Formula      (g/mol)    (kg/m3 )   (kJ/(kg·K))    (kJ/kg)     ◦C

               Benzene           C6 H6        78.1       879          1.72         393      80.1
               cis-Decalin      C10 H18      138.3       897          1.68         297      195.8
               iso-Decane       C10 H22      142.3       728          2.20         269      167.0
               n-Decane         C10 H22      142.3       730          2.21         278      174.1
               n-Heptane        C7 H16       100.2       684          2.24         317      98.4
               n-Hexane         C6 H14        86.2       659          2.27         335      68.7
               iso-Nonane       C9 H20       128.3       708          2.34         350      143.0
               n-Nonane         C9 H20       128.3       718          2.22         290      150.8
               iso-Octane       C8 H18       114.2       692          2.09         270      99.2
               n-Octane         C8 H18       114.2       702          2.23         301      125.6
               Toluene           C7 H8        92.1       867          1.67         360      110.6
               n-Undecane       C11 H24      156.3       740          2.21         268      195.9



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3.20     Droplet Evaporation
Five sets of experiments have been selected for validation of the evaporation of liquid droplets.

Fujita, Kurose, and Komori Experiments
Fujita, Kurose, and Komori performed a series of experiments that suspended a water drop in a heated,
vertical wind tunnel [198]. Four experiments were modeled with relative humidity values of 0 % and 30 %
and droplet Reynolds numbers of 60 and 150 (approximately 0.8 m/s and 2.0 m/s). Droplet size and surface
temperature were recorded as functions of time.

Gavin Experiments
Gavin performed two experiments of a single water drop falling in dry air [199]. The test apparatus was
a vertical wind tunnel. A drop was injected into the wind tunnel and the vertical air stream velocity was
changed over time to maintain the drop at a constant elevation in the wind tunnel. The first droplet was
769 µm with an initial temperature of 23.0 ◦ C. The second droplet was 557 µm with an initial temperature
of 24.3 ◦ C.

Kolaitis and Founti Experiments
Kolaitis and Founti measured the diameter and temperature of suspended liquid fuel droplets in a heated
air stream [200]. Four experiments were chosen: a 1.26 mm droplet of ethanol at an initial temperature of
34.2 ◦ C in 94 ◦ C quiescent air, a 1.13 mm droplet of decane at an initial temperature of 73.8 ◦ C in 94 ◦ C
quiescent air, a 1.15 mm droplet of heptane at an initial temperature of 49.0 ◦ C in 94 ◦ C quiescent air, and a
1.42 mm droplet of heptane at an initial temperature of 15.5 ◦ C in 94 ◦ C air at 0.146 m/s.

Maqua, Castanet, and Lemoine Experiments
Maqua, Castanet, and Lemoine measured the temperature of falling droplets of ethanol and acetone mixtures
in a heated plume [201]. Because the temperature and velocity of the plume was not well-characterized, only
the experiments involving a droplet falling in quiescent air were modeled. As FDS does not currently have
a sub-model for the evaporation of a multi-component fuel, only the experiments for a pure ethanol droplet
(140 µm) and a pure acetone droplet (140 µm) were modeled. The initial droplet temperature in both
experiments was 45 ◦ C in 20 ◦ C air.

Taflin Experiments
Taflin measured the diameter of suspended water droplets in dry air [202]. One droplet was initially 43.9 µm
and the other was 56.6 µm.


3.21     Edinburgh Vegetation Drag
Mueller et al. [203] characterized the pressure drop through beds of randomly oriented pine needles and
used the results to parameterize a drag model following the form of the Forchheimer equation. They then
measured the development of velocity profiles within and above these pine needle beds, using a hotwire
anemometer, and compared the results to FDS predictions using the parameterized model. Fuel beds with




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bulk densities of 20 kg/m3 , 40 kg/m3 , and 60 kg/m3 were tested, with inlet velocities in the range of 0.5-
2.0 m/s. A condensed version of the comparison is reproduced in this guide, which serves to test the ability
of the model to represent the general features of flow in sparse multiphase media.

Modeling Notes
In the experiment, the test section extended 400 mm beyond the vegetation layer. This extent of the domain
is reproduced in the simulations in order to avoid possible influence of the downstream boundary condition.
The upstream boundary condition is set using the measurements located at x = −75 mm, which allows for
the reproduction of a slight non-uniformity in the flowfield. Due to difficulties in compacting the high bulk
density case, the fuel layer is set to extend to 55 mm in the 60 kg/m3 simulations.



                                                                                        150 mm
                                            375 mm




                 100 mm


               flow
               direction
                                                                         225 mm
                                             25 mm 125 mm
                                         -25 mm
                               x = -75 mm

Figure 3.10: Geometry of the wind tunnel test section for the Edinburgh Vegetation Drag experiments. Vegetation
filled the lower half of the 150 mm x 100 mm test section, starting from x = 0 mm. Circles indicate the locations of
velocity measurements, with the filled circles corresponding to those used for comparison in this guide.



3.22     FAA Cargo Compartments
The U.S. Federal Aviation Administration (FAA) has sponsored experiments and modeling of smoke trans-
port within aircraft storage compartments [204, 205]. Two types of compartments were used; one from a
Boeing 707 and one from a McDonnell Douglas DC-10. The 707 compartment was 6.7 m in length, 3.2 m
in width, and 1.4 m in height. The DC-10 compartment was 14 m in length, 4.4 m in width, and 1.7 m in
height. The fire for all experiments was fueled by a 0.1 m by 0.1 m tray of plastic resin producing a peak
HRR of 5 kW [206]. The long walls of the compartments were barrel-shaped to conform to the shape of the
aircraft fuselage. The fire was placed in different locations, and measurements of gas and ceiling tempera-
ture, heat flux, gas concentration, and smoke obscuration were made at a variety of locations, mostly near
the ceiling.




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3.23     FAA Polymers
As part of their efforts to characterize the burning behavior of commonly used plastics, the U.S. Federal
Aviation Administration (FAA) conducted measurements of the thermal properties of charring and non-
charring polymers with the specific purpose of providing input data for numerical pyrolysis models [207,
208]. The study aimed to determine whether a one-dimensional conduction/reaction model could be used as
a practical tool for prediction and/or extrapolation of the results of fire calorimetry tests. The non-charring
polymers included poly(methyl methacrylate) (PMMA), high-impact polystyrene (HIPS), and high density
polyethylene (HDPE). The charring polymers included polycarbonate (PC) and polyvinyl chloride (PVC).


3.24     Fleury Heat Flux Measurements
Rob Fleury, a master’s degree student at the University of Canterbury in Christchurch, New Zealand, mea-
sured the heat flux from a variety of propane fires [209]. The objective of the work was to evaluate a variety
of empirical heat flux calculation methods. For the measurements, heat flux gauges were mounted on move-
able dollies that were placed in front of, and to the side of, burners with dimensions of 0.3 m by 0.3 m (1:1
burner), 0.6 m by 0.3 m (2:1 burner), and 0.9 m by 0.3 m (3:1 burner). The heat release rates were set to
100 kW, 150 kW, 200 kW, 250 kW, and 300 kW. The gauges were mounted at heights of 0 m, 0.5 m, 1.0 m,
and 1.5 m relative to the top edge of the burner.


3.25     FM Burner Experiments
A series of gas burner experiments was conducted by Zeng and Wang at FM Global in which the co-flow air
stream was gradually diluted with nitrogen until flame extinction was achieved [210]. Numerical simulations
were subsequently performed by Ren et al. [211]. In the experiments, a cylindrical, water-cooled steel burner
(15.2 cm O.D., 13.7 cm I.D.) was placed near the floor of a 1.22 m by 1.22 m by 1.83 m tall compartment.
Four fuels were used: ethylene (C2 H4 ), methane (CH4 ), propane (C3 H8 ), and propylene (C3 H6 ). The heat
release rate in each experiment was 10 kW with a 1 kW ring of premixed ethylene pilot burners to stabilize
the flame. At the start of each experiment, air was pumped through the floor at a rate sufficient to supply the
fire with approximately 10 times the stoichiometric requirement. Subsequently, nitrogen was slowly added
to the air stream until the fire was extinguished.
     In the same enclosure and using the same burner, Ren et al. [212] made high-frequency mean and rms
temperature measurements along six radial profiles above a 15 kW ethylene fire. Soot measurements were
made at similar locations. The co-flow air stream at the floor was set to 20.9 %, 16.8 %, and 15.2 % oxygen
volume fraction. Additional experiments were performed at 19 %, 17 %, and 15 % oxygen in which global
radiation measurements were made, including total radiative fraction and the vertical distribution of radiative
emission.

Modeling Notes
The FDS simulations of the 10 kW ethylene, methane, propane and propylene fires are run for 65 s, in which
time the oxygen concentration in the co-flow stream is ramped down linearly from 21 % to 8 %. The volume
flow of the co-flow stream has been increased tenfold compared to the experiments to prevent a downwash
of ambient air into the sealed compartment. The 15 kW ethylene fire simulations at the various fixed oxygen
levels are performed for 20 s. For these simulations, the oxygen volume fraction is specified directly, as is
the co-flow stream.



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     The 10 kW variable fuel cases examining combustion efficiency and extinction are modeled using a
two-step reaction scheme. In the first step, fuel is converted to CO, soot, and water vapor, and in the second
step, the CO and Soot are oxidized to form CO2 . Both reactions are fast, but the oxidation step follows the
first reaction in serial. That is, in a given time step, all available oxygen first converts fuel to CO and Soot,
assumed to be C0.9 H0.1 . Any leftover oxygen is then used to oxidize existing CO and Soot. There are two
assumptions: (i) the ratio of fuel C that is converted to CO in the first reaction step (the remainder goes to
Soot) and (ii) the post-flame yields of CO and Soot. For the first assumption (the intermediate step), we
assume that 95 % of the carbon goes to CO for a clean fuel like methane, we assume 85 % goes to CO for
propane, and that 60 % goes to CO for both ethylene and propylene. The post flame yields for each fuel are
taken from Tewarson’s measurements reported in the SFPE Handbook [151].
     Under the assumption that Air contains 383 ppm CO2 and water vapor corresponding to 40 % humidity,
the full two-step reaction scheme for ethylene is written in terms of “lumped” species as follows:

       (C2 H4 ) + 7.60 (0.208 O2 + 0.783 N2 + 0.0004 CO2 + 0.009 H2 O) −→
       | {z }          |                     {z                      }
         Fuel                                    Air
                              10.07 (0.119 CO + 0.201 H2 O + 0.088 Soot + 0.591 N2 + 0.0003 CO2 ) (3.1)
                                    |                            {z                            }
                                                                   Products 1

   (Products 1) + 0.63 (Air) −→ 1.49 (0.0009 CO + 0.0077 Soot + 0.126 CO2 + 0.141 H2 O + 0.724 N2 )
                                     |                             {z                            }
                                                                       Products 2
                                                                                                           (3.2)
     The pilot ring is modeled with a “pilot fuel model”. We use 36 particles arranged in a uniform ring
around the burner. The mass flow rate of ethylene from each particle is set to achieve the total 1 kW from
the pilot ring. In the pilot fuel model, the fuel stream from the pilot particles sees an auto-ignition tempera-
ture (AIT) of 0 K. That is, fuel emanating from the pilot particles is not subject to an ignition temperature
threshold. Further, this fuel undergoes simple 1-step, fast chemistry. The fuel emanating from the main
burner (for each different fuel type, including ethylene) undergoes 2-step, fast chemistry as discussed above
and is subject to an ignition temperature threshold with the AIT for each fuel taken from Beyler’s chapter
in the SFPE Handbook [152]. Likewise, the critical flame temperatures for each fuel are taken from [152].
While there are now 3 chemical reactions for each case (a pilot fuel reaction plus the two main fuel reac-
tions), each with its own “fuel”, the CFT for the extinction model is based on the fuel for the main burner
first step reaction, either methane, ethylene, propylene, or propane.
     The burner surface temperature was modeled by specifying a 2.54 cm thick surface made of sand. The
back side temperature was held constant at 25 ◦ C to match the water cooled burner in the experiment.
     The radiative fraction has been predicted rather than specified in all simulations.


3.26     FM/FPRF Data Center Experiments
The Fire Protection Research Foundation funded a series of large-scale experiments involving smoke de-
tection in high airflow data centers as part of a research project on behalf of the NFPA 75 and NFPA 76
Technical Committees [213]. The test enclosure consisted of a data center mockup that was 4.9 m high,
4.8 m wide, and 7.3 m deep (Fig. 3.11). The mockup was divided into a 0.9 m tall subfloor with air supplied
via a natural vent opening on one short wall, a 0.9 m tall ceiling plenum with air removed via a mechanical
vent opening on one short wall, two 2 m tall by 0.6 m wide by 5.3 m long enclosed cold aisles located along
the outer walls, and a 3.1 m tall hot aisle. Flow from the subfloor to the cold aisles occurred through grated
floor tiles, flow from the cold aisles to the hot aisle was through two rows of empty equipment cabinets


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                               3   m
                            4.8
                                                                    7.3
                                                                        3    m
       0.6
           1    m




                                                                                                      4.90 m
       4.93 m




                                                                     9   m
                                                                 0.8


                                       1 .8
                                           0m


                                                                    0m
                                                                2 .4
                                         0.
                                           60
                                                m




                                                                                     0m
                                                                                 4 .8




                               Figure 3.11: Sketch of the FM/FPRF enclosure.


with perforated metal doors, and flow from the hot aisle to the ceiling plenum was through perforated metal
ceiling tiles.
     Two sets of experiments were performed. The first made use of a sonic anemometer to map the flow
field resulting from 78 air changes per hour (ACH) and 265 ACH. Additional measurements were made
of the pressure drops through the floor and ceiling tiles. The second set of experiments measured smoke
detection response to a variety of detectors from a range of typical smoke sources plus propylene (used for
its ease of characterization and repeatability).

Modeling Notes
The FDS model of the facility makes use of the particle screen drag model to create the pressure losses
through the various metal meshes and grates. The FDS model also uses the specified leakage location model
to model leakage through the seams of floor and ceiling tiles. The actual leakage area was not measured.

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Instead the area was estimated using the measured pressure drop compared to the manufacturer’s reported
pressure drop. A description of the process used to create the FDS model and the test uncertainties can be
found in a companion report documenting modeling of the tests with FDS 6.0.0 [214].


3.27    FM Parallel Panel Experiments
Patricia Beaulieu of Worcester Polytechnic Institute made heat flux measurements within a set of vertical
parallel panels as part of a cooperative research program between Worcester Polytechnic Institute and FM
Global (Factory Mutual) [215]. The experimental apparatus consisted of two vertical parallel panels, 2.4 m
high and 0.6 m wide, with a sand burner at the base. The objective of the project was to measure the flame
spread rate over various composite wall lining materials, but there were also experiments conducted with
inert walls for the purpose of measuring the heat flux from fires fueled by propane and propylene at heat
release rates of 30 kW, 60 kW, and 100 kW. A sketch of the apparatus is shown in Fig. 3.12.


                                                                                 1/8 in to 1/4 in sample
                                                                                 1 in marinite board
                                                                                 1/2 in plywood
                                                                 i   n
                                                              24

                                                    12
                                                         in




                                                       i   n
                                                    96




                                   Gravel Burner
                Nominally 24 in by 12 in by 12 in




                               Figure 3.12: Sketch of the FM parallel panel apparatus.




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3.28     FM/SNL Experiments
The Factory Mutual and Sandia National Laboratories (FM/SNL) test series consists of 25 compartment
fire experiments conducted in 1985 for the U.S. Nuclear Regulatory Commission (NRC) by Factory Mutual
Research Corporation (FMRC), under the direction of Sandia National Laboratories (SNL) [216, 217]. The
primary purpose of these experiments was to provide data with which to validate computer models for
various types of compartments typical of nuclear power plants. The experiments were conducted in an
enclosure measuring approximately 18 m long by 12 m wide by 6 m high, constructed at the FMRC fire
test facility in Rhode Island. A drawing is included in Fig. 3.13. All of the experiments included forced
ventilation to simulate typical power plant conditions. Six of the experiments were conducted with a full-
scale control room mock-up in place. Parameters varied during the experiments included fire intensity,
enclosure ventilation rate, and fire location. Only data from nineteen experiments (Tests 1-17, 21, and 22) is
used in the current study. In these experiments, the fires were fueled by a propylene gas burner, and heptane
and methanol liquid pools. In the experiments not selected, the heat release was not reported and could not
be estimated with confidence. Table 3.10 lists the test parameters.
     The following information was provided by the test director, Steve Nowlen of Sandia National Labora-
tory. In particular, Tests 4, 5, and 21 were given extra attention.

Heat Release Rate: The HRR was determined using oxygen consumption calorimetry in the exhaust stack
   with a correction applied for the carbon dioxide in the upper layer of the compartment. The uncertainty
   of the fuel mass flow was not documented. Several tests selected for this study had the same target peak
   heat release rate of 516 kW following a 4 min “t-squared” growth profile. The test report contains time
   histories of the measured HRR, for which the average, sustained HRR following the ramp up for Tests
   4, 5, and 21 have been estimated as 510 kW, 480 kW, and 470 kW, respectively. Once reached, the peak
   HRR was maintained essentially constant during a steady-burn period of 6 min in Tests 4 and 5, and
   16 min in Test 21. Note that in Test 21, Nowlen reports a “significant” loss of effluent from the exhaust
   hood that could lead to an under-estimate of the HRR towards the end of the experiment.

Radiative Fraction: The radiative fraction was not measured during the experiment, but in this study it
   is assumed to equal 0.35, which is typical for a smoky hydrocarbons. It was further assumed that the
   radiative fraction was about the same in Test 21 as the other tests, as fuel burning must have occurred
   outside of the electrical cabinet in which the burner was placed.

Measurements: Four types of measurements were conducted during the FM/SNL test series that are used
   in the current model evaluation study, including the HGL temperature and depth, and the ceiling jet
   and plume temperatures. Aspirated thermocouples (TCs) were used to make all of the temperature
   measurements. Generally, aspirated TC measurements are preferable to bare-bead TC measurements,
   as systematic radiative exchange measurement error is reduced.

HGL Depth and Temperature: Data from all of the vertical TC trees were used when reducing the HGL
  height and temperature. For the majority of the tests, Sectors 1, 2, and 3 were used, all weighted evenly.
  For Tests 21 and 22, Sectors 1 and 3 were used, evenly weighted. Sector 2 was partially within the fire
  plume.




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                                            Exhaust Vent




                                                                                                   m
                                                                                            6 .1
                                 m
                              .3
                            18




                                                                               m
                                                                            .2
                                                                          12
Supply Vent (6 total) extending 1.2 m
 below the ceiling and capped with a
                 four-way air diffuser                                  Burner (3 locations)
                                                                          0.3 m above floor
                        0.80 m
                   0.20 m                         9.13 m   12.19 m             17.78 m


                                       0.60 m

                                                                                         8.84 m
                                 0.60 m
          7.00 m                                n0.91 m
                                                                                         6.10 m
          5.20 m                     Plan View

        Exhaust                                                                          2.75 m
           Vent




                           2.75 m                8.84 m              14.93 m




                           Figure 3.13: Geometry of the FM/SNL Experiments.



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          Table 3.10: Summary of FM/SNL Experiments. ACH stands for Air Changes per Hour.


           Test         Fuel           Nominal Peak         Fire     Ventilation       Room
           No.          Type            HRR (kW)          Position   Rate (ACH)     Configuration
             1    Propylene Burner        516              Center        10            Empty
             2    Propylene Burner        516              Center        10            Empty
             3    Propylene Burner        2000             Center        10            Empty
             4    Propylene Burner        516              Center         1            Empty
             5    Propylene Burner        516              Center        10            Empty
             6      Heptane Pool          500               Wall          1            Empty
             7    Propylene Burner        516              Center         1            Empty
             8    Propylene Burner        1000             Center         1            Empty
             9    Propylene Burner        1000             Center         8            Empty
            10      Heptane Pool          1000              Wall         4.4           Empty
            11     Methanol Pool          500               Wall         4.4           Empty
            12      Heptane Pool          2000              Wall         4.4           Empty
            13      Heptane Pool          2000              Wall          8            Empty
            14     Methanol Pool          500               Wall          1            Empty
            15      Heptane Pool          1000              Wall          1            Empty
            16      Heptane Pool          500             Corner          1            Empty
            17      Heptane Pool          500             Corner         10            Empty
            21    Propylene Burner        500             Cabinet         1          Furnished
            22    Propylene Burner        1000            Cabinet         1          Furnished



3.29     FM Vertical Wall Flame Experiments
A series of experiments was conducted by FM Global [218] in which turbulent flames were generated by
flowing various gases through a vertical, water-cooled burner, 1.32 m tall and 0.38 m wide, with 0.152 m
side walls. Measurements of soot depth, temperature, radiative heat flux, and radiance were made at various
heights.


3.30     FPL Materials
The Forest Products Laboratory (FPL) of the United States Department of Agriculture maintains a public
domain repository of data from cone calorimeter experiments conducted at FPL [219]. The data contains
primarily wood and wood-based products tested in a variety of thicknesses tested at multiple heat fluxes.
Data from eight materials tested at multiple heat fluxes are used in validation of the scaling-based pyrolysis
model.

Modeling Notes
This database does not provide thermal properties of the materials. Thermal conductivity, specific heat
capacity, and ignition temperature for these materials are specified based on data available in the litera-
ture [151].



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3.31     Frankman Vegetation Experiments
Experiments were performed by Frankman et al. [220] at Brigham Young University in 2010 in which
small wood shavings and pine needles were exposed to various levels of heat flux from a ceramic burner.
Small thermocouples recorded the steady state temperatures. The fuel elements were positioned 15 cm,
25 cm, 35 cm, and 45 cm from the 23 cm by 15 cm rectangular ceramic burner with a radiative heat flux of
approximately 37 kW/m2 . The fuel elements were suspended by a wire with a horizontal orientation. The
hydraulic diameters of the small excelsior, large excelsior and Ponderosa pine samples were reported to be
0.44 mm, 1.29 mm, and 0.70 mm, respectively.

Modeling Notes
These calculations are performed with a relatively crude grid because typical wildland fire simulations can-
not employ fine grids. A free convection correlation for horizontal cylinders is employed for the convective
heat transfer coefficient of the fuel samples. Cylindrical Lagrangian particles are used to represent the fu-
els with diameters equal to the reported hydraulic diameters. The burner is modeled as a hot plate with a
radiative heat flux of 37 kW/m2 . Nominal values of 0.1 W/m/K, 1 kJ/kg/K, and 450 kg/m3 are assumed
for the thermal conductivity, specific heat, and density of the vegetation. The emissivity is assumed to be
1. The results are relatively insensitive to the thermal properties because the final temperatures are largely
determined via the balance of radiation heat flux on to and convective heat flux off of the fuel samples. The
temperature rise of all samples does not exceed 100 ◦ C.


3.32     FSRI/NIJ Materials
The National Institute of Justice (NIJ) sponsored a series of experiments to develop a database of material
and reaction properties [221]. The research focused on systematically quantifying the physical conditions of
each material prior to the fire, how the material will respond to the exposure of heat, and how it will perform
once it has ignited [222]. The database includes 134 materials with data from cone calorimeter, Fourier
transform infrared spectrometer (FTIR), Heat Flow Meter (HFM), Micro-scale Combustion Calorimeter
(MCC), and Simultaneous Thermal Analyzer (STA). Technical details on each experimental method can be
found in [223]. Note that not all materials in the database have data for each experiment. Cone calorimeter
data at multiple heat fluxes is included for 54 materials. These data are used in validation of the scaling-
based pyrolysis model.


3.33     Hamins Gas Burner Experiments
Anthony Hamins of NIST measured the heat flux at various points around gas burner fires [36]. Three
different sized circular burners were used, with diameters of 0.10 m, 0.38 m, and 1.0 m. Three different
gases were used, acetylene, methane, and propane. The heat release rates ranged from 2 kW to 200 kW, and
values of Q̇∗ ranged from 0.04 to 10.6.


3.34     Harrison Spill Plumes
Roger Harrison, a student at the University of Canterbury, New Zealand, performed a series of one-tenth
scale experiments to characterize thermal spill plume entrainment [224, 225, 226, 227]. The dimensions of
the fire compartment were 1 m by 1 m by 0.5 m high. The height of the compartment opening was equal to
the height of the compartment. The width of the opening was varied from 0.2 m to 1 m. A 0.3 m balcony

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was attached to the top of the compartment opening. The balcony extended 0.5 m beyond each side of the
fire compartment. The heat release rate of the fire varied from 5 kW to 15 kW. The plume entrainment rate
was measured at different heights by varying the exhaust rate of gases from a hood above the compartment.
Two different test configurations were used to model both detached and adhered spill plumes. A diagram of
the test structure is displayed in Figure 3.14.




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                                  Exhaust Duct




                                  m
                               0
                             2.
                              m
                              0
                            2.




                                                                                                    m
                                                                                             2 .5
                        m
                    3
                   0.




                                                                           Adjustable Hood




Burner
                                                               Balcony




        m
 0 .5
              m




                                         m
              0




                                        0
            1.




                                      1.




                  Figure 3.14: Geometry of the Harrison Spill Plumes Experiments.




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3.35     Heskestad Flame Height Correlation
A widely used experimental correlation for flame height is given by the expression [228, 25]:

                            Lf                                                Q̇
                               = 3.7 (Q̇∗ )2/5 − 1.02   ;    Q̇∗ =             √                            (3.3)
                            D                                        ρ∞ c p T∞ g D5/2

where ρ∞ , c p , and T∞ are the ambient density, specific heat, and temperature. Q̇∗ is a non-dimensional
quantity that relates the fire’s heat release rate, Q̇, with the diameter of its base, D. The greater the value of
Q∗ , the higher the flame height relative to its base diameter.


3.36     Insulation Material Fire Resistance Tests
Paudel et al. [229] studied small-scale fire resistance tests for 30 different types of stone wool insulation
varying in density, thickness, and organic content. During each test, a 60 cm square sample of insulation
covered by a 1 mm thick steel plate was mounted to the opening of a small combustion chamber. Thus, one
side of the sample was exposed to ambient (T∞ ) conditions, and the other side was attached to the steel plate
whose temperature followed the ISO 834 standard fire curve,

                                        Th (t) = T∞ + 345 log10 (8t + 1)                                    (3.4)

with time, t, in minutes and exposure temperature, Th , in ◦ C. The temperature measurements were made
using K-type thermocouples covered with 30 mm square inorganic insulating pads. The pads were attached
to the back side of the sample using heat-resistant glue or pins.

Modeling Notes
The numerical simulation is explained in Ref. [229]. Because detailed kinetic properties of the material are
currently not available, the chemical decomposition parameters (A, Ea and n) were optimized based on the
cold-side measured temperatures. Unlike in Ref. [229], the optimized values in the simulation are constant,
A = 0.0028 s−1 , Ea = 21700 J/mol, and n = 0.71. The optimization used a Monte Carlo method of 1000
Latin hypercube samples, where the sampling range was 0.001 to 1000 s−1 for A, 1 × 104 to 1 × 105 J/mol
for Ea , and 0.1 to 1 for n.


3.37     JH/FRA Rail Car Experiments
The Federal Railroad Administration (FRA) in the U.S. sponsored a series of small to large-scale enclosure
experiments to evaluate the impact of modern materials on HRRs in fully-developed railcar fires.
    Luo, Kraft, DiDomizio, McKinnon, Hodges, Yazdani, and Lattimer [230] aggregated existing data from
standard tests on historic railcar materials. Based on an analysis of the results, the authors identified a set of
new materials representative of modern materials in use in railcars which had not been extensively tested.
A set of 7 materials were identified for bench-scale and full-scale testing. Each material was tested in a
TGA in nitrogen and air environments, a cone calorimeter at three heat fluxes in accordance with ASTM
E1354, radiant panel testing in accordance with ASTM E162, and room-corner testing in accordance with
NFPA 286. The 7 materials included in this test series are summarized in Table 3.11. Optimized material
properties for modeling these materials were subsequently presented by Yang, Hodges, Rippe, Kraft, and
Lattimer in [231]. Data from cone calorimeter and NFPA 286 experiments from these materials are used in


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                       Table 3.11: Summary of JH/FRA Rail Car Experiments. [230]


  Sample         Identifying Name       Description and End-Use
 Sample 1           PVC Blend           Opaque thermoplastic material, nominally 3.81 mm thick, used
                                        for seat backs, wall panels, window masks, partitions, and ceiling
                                        panels.
 Sample 2      Plywood Composite        Composite material consisting of a layer of plywood sandwiched
                                        between layers of aluminum, nominally 12.7 mm thick, used for
                                        wall panels, ceiling panels, and closets.
 Sample 3        Balsa Composite        Composite material consisting of a layer of balsa wood sand-
                                        wiched between layers of aluminum, nominally 15.9 mm thick,
                                        used for wall panels, ceiling panels, and closets.
 Sample 4             Acrylic           Translucent thermoplastic material 4.5 mm thick, used for light
                                        fixtures.
 Sample 5            PC Blend           Opaque thermoplastic material, nominally 4.75 mm thick, used
                                        for seat backs, wall panels, window masks, partitions, and ceiling
                                        panels.
 Sample 6     Vinyl Ester Resin FRP     Fiberglass material, nominally 7.0 mm thick, used for wall lining,
                                        window masks, and seat components.
 Sample 7      Phenolic Resin FRP       Fiberglass material, nominally 3.27 mm thick, used for wall lining.



validating the scaling-based pyrolysis model. Note that two of the NFPA 286 experiments are not included
in the validation (samples 1 and 5) due to significant material deformation and detachment occuring during
testing.
     In a follow-up study, Hodges, DiDomizio, Lattimer, and Kapahi [232] conducted a series of seventeen
scaled compartment fire tests consisting of fourteen unique configurations and three repeated tests. Tests
were conducted at three scales including full-scale, half-scale, and quarter-scale. The baseline full-scale
compartment design was based on a standard size National Fire Protection Association (NFPA) 286 fire
room, which is 2.44 m wide, 2.44 m tall, and 3.66 m deep with a single door opening which is 0.9 m wide,
and 2.0 m tall. The initiating fire was a propane burner in the back-left corner of the compartment except
in tests 5 and 10 which used a kerosene-type jet fuel, JP-5. The reduced-scale compartment designs were
geometrically scaled except for the ventilation, which was non-linearly scaled to maintain the equivalence
ratio of the compartment. The lining material thickness was kept the same at each scale to preserve the
burning duration.
     Six tests used combustible lining with either plywood (note, bare plywood rather than the composite
used in the prior study) or the vinyl ester resin FRP from the prior study (note, 3.5 mm thickness used
instead of 7.0 mm). A reduced fraction of the surfaces were covered in the combustible lining cases to
control the peak HRR from the testing. The first lining configuration covered a 2.44 m x 2.44 m section on
the back wall, left wall, and ceiling closest to the fire. This configuration was used for all FRP experiments,
and for one plywood experiment at the quarter scale. The second lining configuration covered a 1.22 m wide
x 2.44 m tall section on the left and back walls nearest the burner, and a 1.22 m x 1.22 m section on the
ceiling above the burner. This configuration was used in quarter, half, and full-scale plywood experiments.
The two lining configurations are shown in Figure 3.15. Note the lining coverage numbers are provided for
the full-scale and were geometrically scalled down in the half and quarter scales.
     Table 3.12 provides a summary of the experiments. Each HRR listed for cases with non-combustible


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lining (NC) corresponded to a separate 5-minute exposure level (i.e., test 2 had 3 stages each 5 minutes
long starting at 20 kW, then increasing the burner to 45 kW, then a final 5-minute stage at 50 kW). The
instrumentation plan from the test series is shown in Figure 3.15 and Figure 3.16.
     Data from these experiments are used in validating the thermal environment (HGL Temperature and
Depth, heat flux to the surface), velocity through the ventilation, and fire growth (HRR). The tests with FRP
lining are omitted from validation due to a lack of bench-scale data at the thickness used in the testing (data
is available of the vinyl ester resin FRP at a 7.0 mm thickness but a 3.5 mm thickness was used in this study).

                       Table 3.12: Summary of JH/FRA Rail Car Experiments. [232]


        Test    Scale        Lining         Initiating        Peak         Ventilation      Fuel Type
        No.    Config.      Material       HRR (kW)        HRR (kW)
          1    Quarter        NC              20/40           20/40          Door            Propane
          2    Quarter        NC            20/45/50        20/45/50    Door + Window        Propane
          3    Quarter      Plywood             40             113           Door            Propane
        3A     Quarter    Plywood Full          40             246           Door            Propane
          4    Quarter        FRP               40              87           Door            Propane
          5    Quarter        NC                 -              60           Door              JP-5
          6     Half          NC             80/160          80/160          Door            Propane
          7     Half          NC           80/160/200      80/160/200   Door + Window        Propane
          8     Half        Plywood            160             466           Door            Propane
          9     Half          FRP              160             400           Door            Propane
         10     Half          NC                 -             110           Door              JP-5
         11     Full          NC            720/1,430       720/1,430        Door            Propane
         12     Full          NC            720/1,610       720/1,610   Door + Window        Propane
         13     Full        Plywood           1,430           5,500          Door            Propane
         14     Full          FRP             1,430           4,500          Door            Propane




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Figure 3.15: Combustible lining configuration in scaled compartment fire experiments (left) lining configuration 1
(right) lining configuration 2. Dimensions are in meters and correspond to the full-scale compartment.




Figure 3.16: Instrumentation plan from compartment fire experiments, front view. Dimensions are in meters and
correspond to the full-scale compartment.


Modeling Notes
The simulations are performed with a spatial resolution of 2 cm for the quarter-scale, 4 cm for the half scale,
and 8 cm for the fullscale.
    The combustion reaction is assumed to be propane using the simple chemistry single-step combustion
model. Extinction is modeled using the “Extinction 2” algorithm in which the reactions are assumed to
occur if (1) the local gas temperature exceeds the AUTO_IGNITION_TEMPERATURE of 450 ◦ C, and (2) the
local oxygen concentration exceeds a temperature-dependent lower limit. The value of 450 ◦ C is reported


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for propane in Beyler’s chapter of the SFPE Handbook [152].
    The combustible lining experiments in this study are used to evaluate a scaling-based simplified pyrol-
ysis model. The model input parameters used in simulating these experiments are summarized in Section
14.8.5. Additional detail on these properties can be found in previous test reports [230, 233].
    Note that the full-scale test with plywood lining is included in the validation but there is uncertainty in
the material thickness used. The test plan and report indicate a 6.35 mm thickness of plywood, but the total
energy consumed during the test and the duration of the peak indicates a 12.7 mm thickness of plywood was
more plausible. The full-scale plywood is modeled with a 12.7 mm thickness.


3.38       JH/NIJ Materials
The National Institute of Justice (NIJ) sponsored a series of experiments to develop a systematic approach
to quantify material and reaction property inputs for accurate computer fire models [233]. The research
focused on identifying the optimal experiments to use in determining these properties to minimize the vari-
ability in the determination through optimization. TGA experiments at three heating rates, cone calorimeter
experiments at three thermal exposures in accordance with ASTM E1354, and MCC experiments with four
oxygen concentrations in accordance with ASTM D7309-13 were conducted on seven diverse materials.
The materials studied in this work included black poly(methyl methacrylate) (PMMA), fiberglass reinforced
plastic (FRP), medium-density fibreboard (MDF), white pine, white spruce, cardboard, and oriented strand
board (OSB). The cone calorimeter experiments from this study are used in validation of the scaling-based
pyrolysis model.


3.39       Lattimer Tilted Wall
Lattimer with Fire Science Solutions measured the heat flux and gas temperatures from a propane fire against
to a tilted wall. The experiments were sponsored by Fire Science Solutions, LLC. and were conducted at
Virginia Tech in Blacksburg, VA. The wall was 1.5 m high and 0.60 m wide, with the sand burner centered
on the wall. All experiments used a square sand burner with a side length of 0.30 m. The fires ranged in
size from 20 kW to 75 kW. Heat fluxes and gas temperatures were measured every 0.15 m along the vertical
centerline of the wall. The wall was tilted through a linear actuator attached the the back of the mounting
frame. The majority of tests moved the wall during exposure to evaluate the impacts on flame separation. A
picture of the apparatus is provided in Figure 3.17. A summary of the experiments conducted in this study
is provided in Table 3.13.

                        Table 3.13: Summary of Lattimer Tilted Wall Experiments.


    Test    HRR     Angles       Delay Before      Movement Time             Delay at       Test Duration
    No.     (kW)   (degrees)     Movement (s)     Between Angles (s)      Each Angle (s)         (s)
     1       35       0-67            75                 24                     0                155
     2       50       0-67            75                 23                     0                130
     3       75       0-67            75                 23                     0                145
     4       50    0, 11, 23,        255                  4                    296              1800
                   35, 49, 67
     5       20    0, 10, 20



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                                   Figure 3.17: Lattimer tilted wall apparatus.



Modeling Notes
The main case from this study used at this time is case 4 since the wall was held at each angle for close to
5 minutes. Each of these tilt angles are simulated neglecting the time history before arriving at the angle.
The other cases are simulated at the start and end angles since the wall was held at that point for at least 30
seconds.


3.40     LEMTA Spray Test for Radiation Attenuation
Lechene et al. [234] measured the attenuation of thermal radiation passing through a water spray using a
heat flux gauge. The radiation was produced by a 30 cm by 35 cm heat panel whose emission was close to a
black body at 500 ◦ C. The horizontal distance from the radiation panel to the spray nozzle was 1.5 m and to
the measurement point 3 m. The heat flux gauge was positioned at the line passing through the center of the
panel. Seven nozzles were arranged in a row, 10 cm apart. They were positioned 1.5 m high. The heat panel
was translated vertically during the experiment, the distance between the panel upper edge and the nozzle
row varying between 20 cm and 100 cm. The attenuation of radiation is defined as previously described
for the BRE Spray experiments. The purpose of the simulations is to compare the measured and simulated
attenuation of radiation at different heights. The water mist nozzle has been characterized by Lechene by
measuring the spray angles and the water flow rate. The droplet size is set by using a PDPA measurement
in a single position, 20 cm below the injection point.




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3.41      LEMTA Spray Cooling
A series of experiments was conducted at the Laboratoire Énergies and Mécanique Théorique et Appliquée
(LEMTA) to measure the temperature of a hot steel plate cooled by a water spray [235]. The 1 m by 1 m by
2 mm thick steel plate, in either a horizonal or vertical configuration, was heated by a radiant panel either
20 cm below or to the side. The 50 cm by 50 cm heater delivered a total power of approximately 50 kW
with a radiative component estimated to be 25 kW, producing a radiative heat flux near 100 kW/m2 . After
the plate reached a steady temperature, the radiant panel was switched off and a water spray nozzle 50 cm
above or to the side of the plate was activated. Three different nozzle designs were tested: (1) a single
Protectospray D3 (PSD3) conical nozzle from Tyco flowing at 34.5 L/min, (2) a single SU42 conical jet
nozzle from Spraying Systems flowing at 4.6 L/min, and (3) four TPU400067 flat jet nozzles from Spraying
Systems flowing for a total of 1.6 L/min.
    Each experiment was performed in a horizontal and vertical orientation. The steel plate temperature was
measured at the center on top and bottom in order to assess the heat transfer across the plate.

Modeling Notes
For the simulations, the heat flux from the radiant panel is adjusted so as to approximately match the mea-
sured steady-state plate temperature at the time of spray activation. Droplet and spray parameters are taken
from Ref. [235]. It is estimated that the droplets move laterally over the plate at 2 m/s. The heat conduction
in the steel plate is performed in 3-D, with extra cells added in the normal direction to capture the thermal
gradient in depth.


3.42      LEMTA/UGent Pool Fires
Beji et al. [236] conducted pool fire experiments using methanol and heptane in square pans measuring
5.5 cm, 8.0 cm, 10.5 cm, and 15.0 cm. The depth of the liquid in each experiment was approximately
4.6 cm, and thermocouples were positioned at 9 vertical locations near the pan center, ranging from 5 mm
to 45 mm above the pan floor and spaced 5 mm apart.

Modeling Notes
Properties of the liquid fuels are listed in Table 3.14. The thermal conductivity has been increased by a
factor of 12 for heptane and 4.5 for methanol to account for the fact that FDS does not model the convection
of the liquid within the pan. Details are found in Ref. [236]. Also note that the mass transfer coefficient
is fixed and not calculated based on local conditions. For heptane, its value is 1.5 mm/s and for methanol,
10 mm/s.
Table 3.14: Liquid properties used in the LEMTA/UGent Pool Fires simulations [237]. “Eff. Cond.” is an
effective value of the thermal conductivity that accounts for liquid convection.


                 Liquid      Eff.        Spec.      Heat of   Heat of    Boiling   Soot      CO      Rad.
   Fuel         Density     Cond.        Heat        Vap.     Comb.      Temp.     Yield    Yield    Frac.
                (kg/m3 )   (W/m/K)     (kJ/kg/K)    (kJ/kg)   (kJ/kg)     (◦ C)     (–)      (–)      (–)
   Heptane        675        1.68         2.24        317     43610       98.5     0.037    0.01     0.29
   Methanol       796        0.90         2.48       1099     21060       64.8     0.001    0.001    0.16



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3.43     LLNL Enclosure Experiments
Sixty-four compartment experiments were conducted at Lawrence Livermore National Laboratory (LLNL)
in 1986 to study the effects of ventilation on enclosure fires [238]. These experiments are the basis of the
Foote, Pagni, Alvares compartment temperature correlation [239].
    The test enclosure was 6 m long, 4 m wide, and 4.5 m high (Fig. 3.18) with a methane rock burner in
the center of the space positioned at various elevations. For most of the experiments the burner was placed
on the floor. The fires varied in size, Q̇, from 50 kW to 400 kW. The burner was 0.57 m in diameter and
0.23 m height. A single door was closed and sealed for most experiments, and air was pulled through the
compartment at rates, ṁ, varying from 100 g/s to 500 g/s. In some tests the enclosure included a plenum
space, where make-up air could be injected from above or below. The test matrix is listed in Table 3.15.

Modeling Notes
The LLNL Enclosure is modeled using a single mesh spanning the interior of the test compartment. The
heat release rate of the methane burner and the thermal properties of the walls, ceiling and floor are specified
based on information provided in the test report.
     The test report of the LLNL Enclosure experiments lists the mass flow rate, ṁ, through the exhaust duct
during the experiment. This mass flow rate is specified explicitly in the model. The make-up air into the
compartment is supplied by an inlet duct and compartment leakage, both of which are modeled. The inlet
duct is modeled as a 7 m long, 30 cm diameter circular duct with a loss coefficient of 25.6. The leakage area
is then calculated based on the reported compartment under or over-pressures, ∆p, during the experiment.
The leak area is computed based on the following formulae:
                                      s
                                                                    |∆p| n−0.5
                                                                           
                              ṁ         2 |∆p|
                                 = AL             ; AL = AL,ref                                            (3.5)
                              ρ             ρ                      |∆pref |

The reference leakage area, AL,ref , is estimated to be 0.0033 m2 , n = 0.6311, ∆pref = 50 Pa.
    In some of the experiments, the fire was reported to have self-extinguished, in which case the model
employs the relatively simple Mowrer extinction model along with the one-step fast chemistry model of
combustion. The Mowrer model predicts local flame extinction when the oxygen concentration within a
grid cell is less than that required to raise the cell temperature to the critical flame temperature, which is
1507 ◦ C for methane [152].




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                      Table 3.15: Summary of LLNL Enclosure Experiments.


Test   Room      h0    Q̇    ṁ     T∞     tend        Test   Room      h0     Q̇     ṁ     T∞      tend
No.    Config.   m    kW    g/s     ◦C       s         No.    Config.   m     kW      g/s    ◦C        s
 1      TL       0    200    0      23     560          33      PH       0    100    200     23     5100
 2      TL       0    200    0      27     545          34      PH       0    100    300     34     4280
 3      TL       0    400    0      27     300          35      PH       0    100    400     22     4110
 4      TL       0    300    0      24     385          36      PH       0    100    500     29     4060
 5      TL       0     50    0      28    2770          37      PH       0    200    100     20      520
 6      TL       0    100    0      29    1295          38      PH       0    200    300     29     4100
 7      TL       0    100    0      35    1240          39      PH       0    250    100     18      430
 8      TL       0    200    0      35     555          40      PH       0    200    400     28     4290
 9      TL       0    200   500     33    4220          41      PH       0    150    100     20      970
 10     TL       0    200   100     28    6050          42     PHE       2    200    180     30     5120
 11     TL       0    200   200     18    4780          43     PHE       2    200      0     32      570
 12     TL       0    200   300     21    5440          44     PHE       1    200    180     19     2670
 13     TL       0    200   400     28    5150          45     PHE       1    200      0     30      810
 14     TL       0    200   400     28    5090          46     PHE      0.6   200    180     19      960
 15     TL       0    100   300     24    4070          47     PHE      0.6   200      0     19      730
 16     TL       0    200   300     21   6560+          48     PHE      0.3   200      0     21      520
 17     PL       0    200   500     26    3980          49     PHE      0.3   200    180     26      970
 18     PL       0    200   400     21    4840          50     PHE       1    200    180     21     4730
 19     PL       0    200   300     18    5110          51     PNE       1    200    NAT     33     3360
 20     PL       0    200   200     16    6570          52      PN       0    200    NAT     23     4680
 21     PL       0    200   100     23    6570          53    PHGS       0    200    185     33     1540
 22     PH       0    200   190     30     950          54    PHGS       0    200    215     21     4180
 23     PH       0    200   215     28    4260          55      PN       0    100    NAT     31     4120
 24     PH       0    200   205     26    1480          56    PHGW       0    200    190     20     1240
 25     PH       0    200   205     25    2050          57    PHGW       0    200    215     29     5390
 26     PH       0    200   500     24    4100          58     PHX       0    200    190     18     4090
 27     PH       0    200   100     23     540          59    PHXE       1    200    190     24     4090
 28     PH       0    150   150     31    1870          60      PN       0    400    NAT     22     2680
 29     PH       0    250   250     28    1520          61      TN       0    200    NAT     31     2730
 30     PH       0    250   300     34    4080          62      TN       0    400    NAT     22     2660
 31     PH       0    250   500     36    4160          63      TN       0    50     NAT     28     3240
 32     PH       0    100   100     33    4110          64      TN       0    100    NAT     17     3570

       T     full compartment                N          natural ventilation (door open)
       P     plenum configuration            X          3 ft extension on inlet opening
       L     low inlet duct                  GS         grate on inlet, north/south configuration
       H     high inlet duct                 GW         grate on inlet, east/west configuration
       E     elevated fire, h0




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                                                                 Ceiling intentionally removed.
    Upper Plenum                                                 All values refer to inner dimension.


                                       m
                                 1.5




                                                                                  m
                                                                               0
                                                                             6.
                                                                                                   7m
                                                                                            0 .5
                Inlet Ducts                                                5m
                (Exact locations not specified)                     0 .6                                       m
                                                                                                        4 .5
                                                                             5m
                                                                      0 .6
                                                   0 .7
                                       0.7                5m
                                           6   m


                                                                     Powered
                                       2 .0                       Exhaust Duct
                                              6m




               Natural Gas Burner                                                       m
                                                                                        0
                                                                                      4.


                0.57 m in diameter;
     centered on compartment floor




                   Figure 3.18: Geometry of the LLNL Enclosure Experiments.




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3.44     LNG Dispersion Experiments
In 2006, the Fire Protection Research Foundation (FPRF) undertook a research project for the National
Fire Protection Association (NFPA) Liquefied Natural Gas (LNG) Technical Committee to develop tools for
evaluating LNG dispersion models. The work was carried out by the Health and Safety Laboratory (HSL),
a directorate of the UK Health and Safety Executive (HSE). HSL developed the LNG Model Evaluation
Protocol (MEP), which contained a structure for complete evaluation of LNG dispersion models [240]. The
experiments are described in Ref. [241].

Modeling Notes
The simulations of liquefied natural gas (LNG) dispersion experiments that are described in this report were
originally designed by Jeffrey Engerer and Anay Luketa of Sandia National Laboratories on behalf of the
Pipeline and Hazardous Materials Safety Administration of the U.S. Department of Transportation.
      Parameters for the LNG dispersion experiments are given in Table 3.16. In some cases, values of the
Monin-Obukhov parameters are taken directly from the test reports. However, for some of the experiments,
these parameters were not derived using the same similarity functions as those presented above, in which
case the parameters have been recomputed to best fit the measured velocity and temperature profiles. In
the table, u∗ is the friction velocity, κ = 0.41 is the Von Kármán constant, z0 is the aerodynamic roughness
length, θ∗ is the scaling potential temperature, θ0 is the ground level potential temperature, L is the Monin-
Obukhov length, and the similarity functions are those proposed by Dyer [242] and discussed in the report
of the Falcon field experiments [243].
      In the experiments, a fixed mass, m, of LNG was spilled onto water, forming a pool of increasing radius.
For modeling purposes, it is assumed that the mass flux of natural gas from the circular pool is fixed at
ṁ′′max = 0.167 kg/(m2 ·s), and the temperature of the gas is −162 ◦ C, as suggested in the testing protocols.
The diameter of the pool, D, is calculated using the assumed mass flux per unit area, the reported mass of
LNG, m, and the spill duration, ∆t.                   s
                                                           4m
                                                D=                                                       (3.6)
                                                        π ṁ′′max ∆t
The values of D are given in Table 3.16.




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                                                                          Table 3.16: Summary of LNG Dispersion Experiments.
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                          Series                                  Burro                           Coyote                        Falcon                     Maplin Sands
                          Number                     3        7           8        9        3         5         6         1       3       4        27          34         35
                                                                                    Parameters supplied by test reports
                          Fuel Mass, m (kg)        14712    17289    12453       10730    6532     12676 10139 28074            21435    18984    3714        2094        3658
                          Spill Duration, ∆t (s)    167      174      107          79       65       98        82        131     154      301     160          95         135
                          p0 (mbar)                 948      940      941         940      936      939       942       908.9   900.8    906.3     —           —           —
                          T0 (◦ C)
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                                                    34.5     33.8     32.9        35.4     39.6     29.3      24.1      32.2     35.0     30.8    14.9        15.2        16.1
                          RH (%)                     5.2     7.4      4.5         14.4     11.3     22.1      22.8       —       4.0      12.0     53          90          77




                                                                                                                                                                                 62
                                                                                         Computed parameters
                          L (m)                     -9.49    -111     16.2        -142    -8.56    -33.2      82.5      4.96     -422    69.4      -14.4       -75.5     -81.2
                          u∗ (m/s)                 0.255     0.372   0.074       0.252    0.310    0.480     0.210      0.061    0.305   0.369    0.190       0.280     0.315
                          z0 (m)                   0.0002   0.0002   0.0002      0.0002  0.0002 0.0002 0.0002 0.008              0.008   0.008   0.0003‡     0.0003‡   0.0003‡
                          θ∗ (K)                   -0.532   -0.097   0.026       -0.035  -0.890 -0.520 0.039            0.058   -0.018   0.152    -0.180      -0.075    -0.088
                          q̇′′ (W/m2 )              -154      -41       2          -10    -314      -284        9         4        -5     58        -39         -24       -32
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                          D (m)                     25.9     27.5     29.9        32.2     27.7     31.4      30.6      19.5†    16.0†   10.8†      13.3       12.8      14.4
                         ‡ The roughness length was changed to 0.00002 m to better match the measured velocity and temperature profiles
                         † The Falcon experiments involved 4 separated spills
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3.45     Loughborough Jet Fire Experiments
Researchers at Loughborough University, UK, conducted a series of six large-scale, high pressure jet fire
experiments using natural gas and natural gas/hydrogen mixtures at the GL Noble Denton Spadeadam Test
Site in Cumbria, UK [244]. For each fuel, the gas was released horizontally at high pressure (approximately
60 bar) through 20 mm, 35 mm and 50 mm diameter holes at the end of a 15 cm diameter pipe. The
jet fires engulfed a 0.9 m diameter, 16 m long pipe section perpendicular to the flow direction. Heat flux
measurements were made at various locations on the pipe and further afield. A typical jet fire experiment at
the facility is shown in Fig. 3.19.




                   Figure 3.19: Photograph of a jet fire experiment at the Spadeadam Test Site.

    Table 3.17 lists the key parameters for the natural gas experiments which have been chosen for this
study. Note that the direction of the jet was nominally to the east, parallel to the prevailing wind. The wind
deviated slightly in each experiment, as indicated in the table.

Modeling Notes
FDS is a low Mach number code and cannot model directly the supersonic flow at the pipe orifice. Instead,
cold (-160 ◦ C) droplets with a median volumetric diameter of 1000 µm are injected wtih an initial velocity of
1000 m/s and spray angle of 10◦ . These droplets evaporate readily to form methane gas. No attempt is made
to model the stand-off distance because there is no mechanism in FDS to account for flame suppression due
to high shear.

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                     Table 3.17: Summary of the Loughborough Jet Fire Experiments.

 Test     Fuel      Hole       Dist.    Wind     Wind         Mass      Heat Rel.     Flame      Stand-Off   Rad.
 No.      Type      Diam.     to Pipe   Dir.     Speed        Flow        Rate        Length     Distance    Frac.
                    (mm)        (m)      (◦ )    (m/s)        (kg/s)     (MW)          (m)          (m)      (%)
   1    Nat. Gas     20        9.45     271       6.3           2.9       140          19.8         6.0      13.7
   2    Nat. Gas     35        15.45    297       6.2           9.6       462          37.8         7.5      17.9
   3    Nat. Gas     50        21.61    267       3.6          19.5       939          49.9         8.7      20.2




    The grid resolution is 20 cm; thus, the circular pipe is modeled as a collection of 20 cm square rods with
a cross section that is 0.8 m by 0.8 m, but with the corners removed. The velocity boundary condition is
assumed to be free-slip because otherwise the polygonally-shaped obstruction would exert a fictitiously high
drag force on the flow. The empirical heat transfer coefficient for the pipe is calculated using parameters
appropriate for a cylindrical rather than a flat plate. The Nusselt number is taken as

                                                                  ρD∥ut ∥
                         Nu = 0.027 Re0.805 Pr1/3    ;    Re =                ;     Pr = 0.7                   (3.7)
                                                                    µ
This correlation is appropriate for 40, 000 < Re < 400, 000 [245].
    The values of radiative fraction in the model are based on the measured values reported in Table 3.17.
To resolve the radiation field at the far-field radiometers, 600 angles are used in solving the radiation trans-
port equation rather than the default 100. The radiation absorption coefficients are calculated by RadCal
assuming a path length of 100 m rather than the default value of 0.1 m.
    The wind profile is based on measurements made 10.85 m above the relatively flat terrain. The aero-
dynamic roughness length, z0 , is set to 0.03 m, appropriate for relatively flat grasslands, prairies, farms,
etc. The Obukhov length, L, is set to 100,000 m, typical of a neutral atmosphere. Synthetic turbulence is
generated at the upstream boundary of the computational domain, with a characteristic eddy length scale of
1 m and root-mean-square velocity fluctuation of 0.1 m/s.

Flame Length Results: Sec. 6.2.3

Heat Flux Results: Sec. 12.2.4


3.46     McCaffrey Plume Experiments
In 1979, at the National Bureau of Standards (now NIST), Bernard McCaffrey measured centerline tem-
perature and velocity profiles above a porous, refractory burner. There were five distinct heat release rates,
ranging from 14 kW to 57 kW. The fuel was natural gas (35 kJ/L [45 MJ/kg assuming 19 kg/kgmol as mole
weight for natural gas]). The burner was square, 0.3 m on each side. The results of the experiments are
reported in Reference [246]. Along the centerline of the burner, velocity and temperature were measured
using bi-directional probes and thermocouples, respectively. The centerline data collapses when scaled by
the Froude number as shown in Fig. 3.20. Radiant fraction measurements for natural gas were made in
[247]. For convenience, we have extracted the data from that report for the heat release rates reported in
[246]. See Table 3.18. The burner surface temperatures are extrapolated to the surface location from a least
squares fit of of the temperature data below z/Q2/5 = 0.05 m kW−2/5 . The extrapolations for each power
are shown in Fig. 3.21.

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                                                                           3
            3     McCaffrey Centerline Temperature Correlation
       10                                                                2.5       McCaffrey Centerline Velocity Correlation

                                                                           2

                                                                         1.5


                                                                           1




       10 2                                                              0.5
                10 -2                   10 -1                    10 0      10 -2                        10 -1                  10 0



Figure 3.20: McCaffrey Plume Centerline Temperature and Velocity Correlations (dashed lines) and raw data (sym-
bols).




                             Table 3.18: Summary of McCaffrey Plume Experiments, 1979.


                          Q (kW)         Q∗        D∗ (m)        HRRPUA (kW/m2 )           χr       Tsurf (◦ C)
                           14.4         0.270      0.178              160                 0.17         750
                           21.7         0.407      0.209              241                 0.21         716
                           33.0         0.618      0.248              367                 0.25         630
                           44.9         0.841      0.280              499                 0.27         608
                           57.5         1.07       0.309              639                 0.27         534




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       3        McCaffrey Centerline Temperature Data, 14.4 kW                  3        McCaffrey Centerline Temperature Data, 21.7 kW
  10                                                                       10




  10 2                                                                     10 2
           10 -2                     10 -1                       10 0               10 -2                     10 -1                       10 0




  10 3          McCaffrey Centerline Temperature Data, 33.0 kW             10 3          McCaffrey Centerline Temperature Data, 44.9 kW




  10 2                                                                     10 2
                -2                        -1                          0                  -2                        -1                          0
           10                        10                          10                 10                        10                          10




  10 3          McCaffrey Centerline Temperature Data, 57.5 kW




  10 2
           10 -2                     10 -1                       10 0



                                Figure 3.21: McCaffrey Plume Burner Surface Temperatures.




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3.47     Memorial Tunnel Experiments
Between 1993 and 1995, 98 fire ventilation experiments were conducted in a decommissioned road tun-
nel near Charlestown, West Virginia [248]. The experiments were intended to support the design of the
ventilation system for the Central Artery Tunnel Project in Boston, Massachusetts.
     The Memorial Tunnel is approximately 854 m long, 8.8 m wide, and 7.9 m tall at the peak of its semi-
circular ceiling, with a 3.2 % grade uphill from its south to north portal. At each portal, a fan room 4.3 m
above the roadway extends 21.3 m into the tunnel. There is also a walkway along the west tunnel wall.
     The fuel used in the experiments is described in the report as a “low sulfur No. 2 fuel oil.” The fuel
was pumped into pans sized to produce nominally 50 MW, 20 MW, 10 MW, and 30 MW fires. Using a
combination of pans, fires of 10 MW, 20 MW, 50 MW or 100 MW were produced.
     Eighty-one experiments employed transverse ventilation; that is, a ceiling was mounted 4.4 m above
the roadway and fans at both ends of the tunnel supplied or exhausted air from the tunnel via vents in the
ceiling or along the west wall near the roadway. The other seventeen experiments employed longitudinal
ventilation in which the ceiling was removed and jet fans were installed in sets of three at various positions
along the length of the tunnel. Tables 3.19 and 3.20 list the nominal parameters of each experiment.
     The experiments employing longitudinal ventilation, listed in Table 3.20, are identified in the test report
as Sequence 15 (natural ventilation), Sequence 17 (15 fans installed uphill of the fuel pans), and Sequence 18
(9 additional fans installed downhill of the fuel pans). A sketch of the tunnel cross-section is shown in
Fig. 3.22. The fans were installed in sets of three, with each fan centerline a distance of 2.3 m from the
curved ceiling and 2.4 m apart. Each fan had an inner diameter of 1.26 m and a volume flow of 42.9 m3 /s
(91 000 cfm). Varying numbers of fans were operated during each experiment to determine the “critical
velocity” required to prevent smoke “backlayering;” that is, the spread of smoke in the uphill direction
against the flow of air in the downhill direction.




                                          Jet Fan                        R4.4 m


                                                                         2.4 m



                                                       R2.1 m




                           Floor of fan rooms that
                           extend 21.3 m from the
                           north and south portals
                                                     4.3 m
                                                                 3.5 m
                                                                                  0.8 m


                                                                                  0.9 m



                            Figure 3.22: Sketch of the Memorial Tunnel cross section.


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Table 3.19: Summary of Memorial Tunnel Experiments. Note that the “Sequence” refers to a set of experi-
ments with a similar ventilation configuration.


                 Test    Sequence    Heat Release          Test   Sequence   Heat Release
              Number     Number      Rate (MW)           Number   Number     Rate (MW)
               101CR        1             10               239       6           100
                 102        1             20              244B       5            20
               102R1        1             20              245B       6            20
                102R        1             20              246B       6            20
                 103        1             20              247B       3            20
                 104        1             20              248B       3            20
                 105        1             20              249B       3            20
                 106        1             20              250B       6            20
                 107        1             20              251B       6            20
                 108        1             20              252B       3            20
                 109        1             20              301A       8            20
                 110        1             50              302A       8            20
                 111        1             50              303A       8            20
                112A        1             20              305A       8            20
                113A        1             50              306A       8            20
                115A        1             50              309A       8            50
                126B        1             20              312A       8            50
              126BR1        1             20              313A       8            50
                128B        1             20               314       9            10
                 202        3             20              315A      101           10
                 203        3             20               316       9            20
                 205        3             20              317A      102           10
                207A        3             20              318A      101           10
                208A        3             20              319A      102           10
                 210        3             20              320A      102           10
                 212        3             20              321A       9            50
                214A        3             50              338B       8            20
                215A        3             50              339B       8            20
                216A        3             50              340B       8            20
                217A        3             50              341B       8            20
                218B        3             20              342B       8            20
                 223        4             20              343B       8            20
                 226        5             20              344B       8            20
                227A        5             20              345B       8            20
                 229        6             20              346B       8            20
                 230        6             20              401A       13           50
                 231        6             20              403A       13           20
                 233        6             20              404A       14           20
                 235        6             50              407B       13           20
                 236        6             50              408B       13           20
                238A        6             50

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                          Table 3.20: Summary of Memorial Tunnel Experiments.


                         Test     Sequence     Heat Release    Number       Fan Start
                       Number     Number       Rate (MW)       of Fans     Time (min)
                         501         15             20            0           N/A
                         502         15             50            0           N/A
                         605         17             10          1-15           0
                        606A         17             10           0-3           5
                         607         17             20           2-3           0
                         608         17             20           0-4           2
                         610         17             50           4-6           0
                         611         17             50           0-6           2
                        612B         17             50          0-10           5
                        615B         17            100           0-6           2
                        617A         17             10           1-5           0
                        618A         17             20           0-4           2
                        621A         17            100           2-8           0
                        622B         17             50          0-10           0
                        623B         18             20           1-6           0
                        624B         18             50           0-7           2
                        625B         18            100           3-7           0




Modeling Notes
The simulations of the Memorial Tunnel experiments are performed with a 0.28 m uniform grid. This grid
size is chosen so that the exit area of the jet fans can be approximated by a four by four array of cells. The
jet fans are modeled as rectangular ducts with a specified volume flow of 42.9 m3 /s (91 000 cfm). The fan
speed is ramped up or down in approximately 10 s.
     The 854 m tunnel is divided into 84 equal lengths. Rectangular obstructions approximate the semi-
circular tunnel ceiling, vehicle silhouettes, and instrumentation packages.
     The fuel is assumed to be n-heptane with a soot yield of 3.7 % and CO yield of 1.0 % [151]. The heat
release rates of the fires are specified as functions of time following the measured curves found in the test
report.
     The results of the simulations are found in Sec. 7.4.2.


3.48     Montoir LNG Fires
In 1987, British Gas, British Petroleum, Shell, Elf Aquitaine, Total CFP, and Gaz de France conducted 35 m
diameter LNG pool fire experiments [249]. The construction of the test facility was carried out by Gaz de
France near the Montoir de Bretagne methane terminal. Three fire experiments were performed under differ-
ent wind conditions. The Montoir site was selected because the ground is level and obstruction free. Wide
angle radiation measurements were made at various locations around the fires, extending outwards approx-
imately 300 m. A bund constructed of lightweight concrete and sand, approximately 1 m tall, surrounded
the 35 m pool.


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    A summary of the key test parameters is given in Table 3.21. Note that results were compiled for specific
time intervals during each experiment.

                       Table 3.21: Summary of the Montoir LNG Fire Experiments.

                      Time       Burning      Wind         9 m Wind    Amb.      Rel.     Atm.
              Test   Interval     Rate       Direction       Speed     Temp.     Hum.     Pres.
                        (s)     (kg/m2 /s)    (deg)          (m/s)      (◦ C)     (%)    (mbar)
                     60-100       0.12          59            2.5
               1                                                         25       53      1022
                     130-170      0.13          70            4.8
                      35-50       0.14         268            6.8
                      65-85       0.15         263            9.8
               2                                                         21       54      1015
                     100-130      0.16         260            10.3
                     165-185      0.15         257            9.1
                      57-70       0.11          87            1.9
               3     90-120       0.13          79            3.5        14       85      1009
                     130-160      0.13          82            4.2


Modeling Notes
The experiments are simulated using the specified fuel burning rates for the several time periods during
each experiment. The fuel is assumed to be methane. The atmosphere is assumed to be unstable with
an Obukhov length, L = −350, and the ground surface is roughly open with an assumed aerodynamic
roughness, z0 = 0.1 m. The relative humidity, ambient temperature and pressure, and wind speed at 9 m are
specified in Table 3.21.
    The radiative fraction is assumed to 0.14 based on field estimates and the radiative path length is assumed
to be 300 m; that is, the effective absorption coefficients of the various gas mixtures are evaluated over a
distance of 300 m. 600 solid angles, rather than the default 100, are used to solve the radiative transport
equation. The soot yield is assumed to be 0.01.

Flame Height Results: Sec. 6.2.3

Flame Tilt Results: Sec. 6.3

Heat Flux Results: Sec. 12.2.5


3.49     NBS Multi-Room Experiments
The National Bureau of Standards (NBS, which is now called the National Institute of Standards and Tech-
nology, NIST) Multi-Room Experiments consisted of 45 fire tests representing 9 different sets of conditions
were conducted in a three-room suite (see Fig. 3.23). The experiments were conducted in 1985 and are de-
scribed in detail in Ref. [250]. The suite consisted of two relatively small rooms, connected via a relatively
long corridor. The fire source, a gas burner, was located against the rear wall of one of the small compart-
ments. Fire tests of 100 kW, 300 kW and 500 kW were conducted. For the current study, only three 100 kW
fire experiments have been used, including Test 100A from Set 1, Test 100O from Set 2, and Test 100Z from
Set 4. These tests were selected because they had been used in prior validation studies, and because these
tests had the steadiest values of measured heat release rate during the steady-burn period.

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    Following is additional information provided by the test director, Richard Peacock of NIST:

Heat Release Rate: In the two tests for which the door was open, the HRR during the steady-burn period
   measured via oxygen consumption calorimetry was 110 kW with an uncertainty of about 15 %, consis-
   tent with the replicate measurements made during the experimental series and the uncertainty typical of
   oxygen consumption calorimetry. It was assumed that the closed door test (Test 100O) had the same
   HRR as the open door tests.

Radiative Fraction: Natural gas was used as the fuel in Test 100A. In Tests 100O and 100Z, acetylene was
   added to the natural gas to increase the smoke yield, and as a consequence, the radiative fraction in-
   creased. The radiative fraction of natural gas has been studied previously, whereas the radiative fraction
   of the acetylene/natural gas mixture has not been studied. The radiative fraction for the natural gas fire
   was assigned a value of 0.20, whereas a value of 0.30 was assigned for the natural gas/acetylene fires.

Measurements: Only two types of measurements conducted during the NBS test series were used in the
   evaluation considered here, because there was less confidence in the other measurements. The mea-
   surements considered here were the HGL temperature and depth, in which bare bead TCs were used to
   make these measurements. Single point measurements of temperature within the burn room were not
   used in the evaluation of plume or ceiling jet algorithms. This is because the geometry was not consis-
   tent in either case with the assumptions used in the model algorithms of plumes or jets. Specifically, the
   burner was mounted against a wall, and the room width-to-height ratio was less than that assumed by
   the various ceiling jet correlations.




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                                                                                      m
                                                                                      4
                                                                                    2.




                                                                                                         m
                                                                                                       3
                                                                                                     2.
                                                m
                                           .2
                                          12
                                                                                                                    m
                                                                                                             2 .2




                                                                     m
                                                                  2
                                                                2.
                                      m
                               2 .6




                                                                                                     m
                                                                                                  3
                                                                                                2.
                                                                                m
                                               2 .0                      2 .4
        m                                             m
  2.4

                           2 .0
            0 .8                  m
                   m
                                                                 m
                                                                 2
                                                               2.




                                          0.9 m                                                        1.0 m

                       0.8 m                                                        1.0 m




                                                                                                         0.3 m



                                                                                             0.3 m
                                                          Natural Gas Burner
                                                           0.5 m above floor




                          Figure 3.23: Geometry of the NBS Multi-Room Experiments.



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3.50     NIST Composite Beam Experiments
A set of experiments was conducted in the Large Fire Laboratory at NIST to study the behavior of long-
span steel-concrete composite floor beams designed and constructed following U.S. building codes and
standards [251]. The composite beam consisted of a 12.8 m long W18×35 steel beam and an 16 cm thick
lightweight concrete slab cast on top of 7.6 cm deep ribbed steel decking. Drawings of the compartment are
shown in Figs. 3.24 through 3.26.
     Simultaneous mechanical and fire loading was applied to the specimens. The measurements focused on
evaluation of the characteristics of the fire loading, temperatures, and structural responses of the specimens
to fires.

Modeling Notes
The simulations of the NIST Composite Beam experiments are performed with 5 cm grid cells and 32
meshes. The calculations are sped up by a factor of 10 using TIME_SHRINK_FACTOR=10, whereby a
60 min experiment is simulated in 6 min of real time because the heat release rate is held steady for most
of the experiment. The specific heats of all solid materials are reduced by a factor of 10 automatically to
account for the change in time scale.
    Because these experiments involve a global equivalence ratio of approximately 1, the two-step simple
chemistry model is used, where soot and CO are produced when the fire becomes under-ventilated.




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Figure 3.24: Elevation view of NIST Composite Beam experiments.




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                                                                       Figure 3.25: Plan view of NIST Composite Beam experiments.




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Figure 3.26: Side view of NIST Composite Beam experiments.




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3.51     NIST E119 Compartment Experiments
In December 2018, three fire experiments were conducted in a compartment approximately 10.8 m wide,
7.0 m deep and 3.8 m high, constructed in the Large Fire Laboratory of NIST [252]. The experiments were
designed to test different types of floor assemblies. Two experiments, designed as replicates, lasted 15 min,
and the third lasted 75 min. Four natural gas burners generated a peak heat release rate of approximately
10 MW in the 75 min experiments. The measured average upper layer gas temperature was comparable with
that prescribed in the ASTM E119 standard [253]. Drawings of the compartment are shown in Figs. 3.27
through 3.29.




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Figure 3.27: Plan view of NIST E119 Compartment experiment.




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                                                                       Figure 3.28: Elevation view of NIST E119 Compartment experiment.




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Figure 3.29: Elevation view of NIST E119 Compartment experiment.




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3.52     NIST Douglas Firs
In 2009, Mell et al. measured the burning rate and heat fluxes from individual Douglas fir trees of various
sizes and moisture contents [129]. Nine of the trees were approximately 2 m tall, and three were approxi-
mately 5 m tall. The results were presented as averages: the three 5 m trees had an average moisture content
of 26 %, three of the 2 m trees had an average moisture content of 49 %, and the remaining six 2 m trees
had a moisture content of 14 %. The 2 m trees were ignited with a natural gas ring burner with a diameter
of 80 cm and a heat release rate of 30 kW. The trees with a moisture content of 14 % were exposed to the
burner for 10 s and the 49 % trees were exposed for 30 s. The 5 m trees were exposed to a hexagonal burner
with a span of 122 cm and HRR of 130 kW for 30 s.

Modeling Notes
The trees are modeled as a collection of cylindrical Lagrangian particles. Mell et al. [129] group the particles
into three size classes. The pyrolysis model applied to the particles is described in the FDS User’s Guide [1],
chapter “Wildland Fire Spread,” Sec. 17.1, “Thermal Degradation Model for Vegetation.”
     Measured properties of the trees are listed in Table 3.22, and assumed properties are listed in Table 3.23.
These assumed properties are typically for wood or cellulosic fuels. The moisture is modeled as water. The
vegetation is assumed to be composed primarily of cellulose. Reference [129] provides an estimate of the
distribution of mass for the foliage, roundwood less than 3 mm in diameter, roundwood 3 mm to 6 mm, and
roundwood 6 mm to 10 mm. For the 2 m trees, the distribution is approximately 64 %, 11 %, 10 %, and
15 %, respectively. For the 5 m trees, it is 60 %, 17 %, 12 %, and 11 %, respectively.

               Table 3.22: Measured properties for the NIST Douglas Fir Experiments [129].

                Property                                   Units    Case 1    Case 2    Case 3
                Replicate Experiments                        –         6         3         3
                Avg. Crown Height                            m        1.9       1.9       4.2
                Avg. Base Height                             m       0.15      0.15       0.3
                Avg. Base Width                              m        1.7       1.7       2.9
                Foliage Surface Area to Volume Ratio        m−1      3940      3940      3940
                Avg. Initial Mass                           kg        9.7      13.5      57.9
                Avg. Moisture Fraction                       %        14        49        26
                Assumed Bulk Mass per Unit Volume          kg/m3      3.2       4.6       2.7




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                 Table 3.23: Assumed properties for the NIST Douglas Fir Experiments.

                   Property                    Units          Value         Reference
                   Chemical Composition          –        C3.4 H6.2 O2.5       [66]
                   Heat of Combustion          kJ/kg         17700            [174]
                   Soot Yield                  kg/kg           0.02           [129]
                   Char Yield                  kg/kg           0.26           [174]
                   Specific Heat             kJ/(kg·K)   1.1 + 0.0037 T       [254]
                   Conductivity              W/(m·K)            0.2        Assumption
                   Density                    kg/m3            514            [172]
                   Heat of Pyrolysis           kJ/kg           416            [175]




3.53     NIST Enclosure Experiments
A variety of reduced-scale and full-scale compartment fire experiments have been performed at NIST over
the past few decades. The main objective of each series is to measure the concentrations of oxygen, carbon
dioxide, carbon monoxide, soot, and unburned hydrocarbons in an under-ventilated compartment. These
data sets also provide extreme temperature and heat flux measurements.

3.53.1   NIST Reduced Scale Enclosure Experiments, 1994
The NIST Reduced Scale Enclosure (RSE) was a 40 % scale version of the ISO 9705 compartment [255].
It measured 0.98 m wide by 1.46 m deep by 0.98 m tall. A door, centered on the smaller wall, was 0.48 m
wide by 0.81 m tall. A 15 cm diameter natural gas burner was positioned in the center of the compartment.
The burner was on a stand so that its top was 15 cm above the floor. The fires ranged from 50 kW to 600 kW.
Species measurements, including CO concentration, were made near the ceiling in the front and back of the
compartment.

3.53.2   NIST Reduced Scale Enclosure Experiments, 2007
Another set of reduced-scale compartment experiments was conducted in 2007 at NIST [256]. The com-
partment was similar in dimension: 0.95 m wide by 1.42 m deep by 0.98 m tall with the exact same door
dimensions. Four different burner types were used: a 13 cm square sand burner, a 25 cm square liquid fuel
burner, a spray nozzle into 0.4 m diameter circular pan, and a 60 cm diameter circular pan. Six different
fuels were used: natural gas; heptane, methanol, ethanol and toluene liquids; and solid polystyrene beads.
The fires ranged from 15 kW to 425 kW, but only fires greater than 190 kW were used for comparison
because the smaller fires produced no significant CO. Measurements of O2 , CO2 , CO, soot, and unburned
hydrocarbon concentration were made near the ceiling in the front and back of the compartment.

3.53.3   NIST Full-Scale Enclosure Experiments, 2008
The NIST FSE (2008) Experiments were conducted in an ISO 9705 compartment [257]. The compartment
was 2.4 m wide by 3.6 m long by 2.4 m high with a 2 m high door at one end (Fig. 3.30). The door width
varied between 0.1 m and 0.8 m. The experiments were designed to study the effects of fuel type, fuel
distribution, and vent size on under-ventilated compartment fires. Twenty-seven of the thirty experiments



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                           Table 3.24: Summary of NIST Reduced-Scale Experiments, 2007.


                    Test         Fuel            Fuel         Peak            Burner          Doorway
                    No.          Type          Formula      HRR (kW)         Size (m2 )      Opening (cm)
                      1       Natural Gas        CH4          190              0.017             48
                      2       Natural Gas        CH4          395              0.017             48
                      3       Natural Gas        CH4          410              0.017             48
                      4        Heptane          C7 H16        375              0.063             48
                      5        Heptane          C7 H16        220              0.063             24
                      6       Natural Gas        CH4          420              0.063             24
                      7        Heptane          C7 H16        340              0.063             48
                     10        Toluene          C7 H8         340              0.063             48
                     11        Ethanol         C2 H6 O        335              0.126             48
                     12        Methanol         CH4 O         305              0.126             48
                     15        Heptane          C7 H16        375              0.126             48
                     16       Polystyrene       C8 H8         360              0.283             48




were simulated, which included 7 different fuels, 3 fuel sources, and 4 ventilation openings. The three
experiments not simulated had several malfunctions of equipment such that the data could not be trusted.
     Peak heat release rates ranged from approximately 100 kW to 2.5 MW. Table 3.25 provides a summary
of the experiments. Species concentrations and temperature measurements were made at the front and rear
of the compartment.

3.53.4     Modeling Notes
In the simulations of all of the NIST enclosure experiments, it is assumed that the combustion can be
simplified to two fast reactions, the first converting fuel to CO and soot, and the second converting CO and
soot to CO2 . By default, 2/3 of the carbon in the fuel is converted to CO in the first step, the remaining
1/3 to soot. The heats of combustion for the reactions are calculated directly from the heats of formation
of the individual molecules. For cases where the fuel molecule is not pre-defined in FDS (e.g., styrene),
the fuel’s enthalpy of formation is specified. For cases where the fuel’s enthalpy of formation is not known
(e.g. nylon), the heat of combustion that is reported for complete combustion is specified in a single reaction
test case, from which an effective enthalpy of formation is reported3 and then used in the actual two-step
reaction scheme.
     In the experiments, the heat release rate was measured via oxygen consumption calorimetry. In the
simulations, the mass loss rate of fuel was specified by taking the measured HRR and dividing by the heats
of combustion listed in Ref. [151].
     In all simulations, the model geometry included the compartment interior plus a comparable volume at
the exterior to allow for a natural flow into and out of the compartment.
     Also, in all simulations, the fire suppression algorithm has been turned off (SUPPRESSION=.FALSE.).
The reason for this is that the suppression algorithm is not able to distinguish viability of a fire that is close
   3 The FDS diagnostic output (.out) file contains detailed information about the reaction stoichiometry, heats of combustion, and

enthalpies of formation.



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                                 Insulation (2 layers, each 2.5 cm thick)

                                                                   20 gauge steel studs
                                                                 20 gauge steel sheet (0.89 mm thick)




                  Interior Dimensions:
                  3.6 m by 2.4 m by 2.4 m




                                     Burner




 The burner is either geometrically centered
 or against the back wall, or both. Burners are square                             Compartment floor is
 with sides of 50 cm, 71 cm, or 100 cm (shown here).                               35 cm above the lab floor
 All burners are 10 cm deep.                                                    Concrete floor

 The door is 2 m tall, with widths of 80 cm (shown), 40 cm,
 20 cm, or 10 cm.


       Figure 3.30: Geometry of the compartment used in the NIST Full-Scale Enclosure (FSE) experiments.


to the point of extinction. Research continues in this area.




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              Table 3.25: Summary of NIST FSE Experiments selected for model validation.


     Test               Fuel              Fuel        Fuel       No. of     Burner       Doorway
     Name               Type           Formula      Mass (kg)    Burners   Size (m2 )   Opening (cm)
     ISONG3             Natural Gas       CH4                      1          1.0           80
     ISOHept4           Heptane         C7 H16      Pool Fed       1          1.0           80
     ISOHept5           Heptane         C7 H16      Pool Fed       1          1.0           40
     ISOHept8           Heptane         C7 H16        10           1          0.5           20
     ISOHept9           Heptane         C7 H16        20           1          0.5           20
     ISONylon10         Nylon          C6 H11 NO      10           1          0.5           20
     ISOPP11            Propylene        C3 H6        10           1          0.5           20
     ISOHeptD12         Heptane         C7 H16        20           2         0.25           20
     ISOHeptD13         Heptane         C7 H16        20           2         0.25           20
     ISOPropD14         Propanol        C3 H8 O       24           2         0.25           20
     ISOProp15          Propanol        C3 H8 O       24           1          0.5           20
     ISOStyrene16       Styrene          C8 H8        10           1          0.5           20
     ISOStyrene17       Styrene          C8 H8        30           1          1.0           20
     ISOPP18            Propylene        C3 H6        20           2          0.5           20
     ISOHept19          Heptane         C7 H16        20           1          0.5           20
     ISOToluene20       Toluene          C7 H8        17           1          0.5           20
     ISOStyrene21       Styrene          C8 H8        15           1          0.5           20
     ISOHept22          Heptane         C7 H16       Spray         1          0.5           20
     ISOHept23          Heptane         C7 H16       Spray         1          0.5           10
     ISOHept24          Heptane         C7 H16       Spray         1          0.5           10
     ISOHept25          Heptane         C7 H16       Spray         1          0.5           40
     ISOHept26          Heptane         C7 H16       Spray         1          0.5           40
     ISOHept27          Heptane         C7 H16       Spray         1          0.5           10
     ISOHept28          Heptane         C7 H16       Spray         1          0.5           20
     ISOToluene29       Toluene          C7 H8       Spray         1          0.5           20
     ISOPropanol30      Propanol        C3 H8 O      Spray         1          0.5           20
     ISONG32            Natural Gas       CH4                      1         0.28           20



3.54     NIST Helium Experiments
Eighteen experiments were conducted at NIST in which helium was released over a lengthy time period
inside of a 1.5 m by 1.5 m by 0.75 m plexiglass box with one or two small leakage holes [258]. The
experiments were intended to represent the release of hydrogen from passenger vehicle fuel cell inside of
a residential garage. Test parameters included the release rate and length, the location of the release, and
the size and location of the leakage. Measurements were made of the helium concentration in a rake at
seven locations over the height of the compartment during the release and for a period of up to 11 hours
post-release.
    Test variables included all permutations of the leak rate and time (14.8 L/min over 3600 s or 3.71 L/min
over 14400 s), leak location (on the floor at the center of the compartment, on the floor at the center of
the rear wall, and 2.5 cm below the ceiling at the center of the compartment), and the leak area (2.4 cm
by 2.4 cm at the center of the front wall, 3.05 cm by 3.05 cm at the center of the front wall, and a pair of

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2.15 cm by 2.15 cm centered on the front wall 2.5 cm from the floor and ceiling).
     Leakage areas were square holes under 10 cm2 in area. Attempting to resolve flows through these holes
would have required very small grid cells in the vicinity of the holes. Instead, the FDS HVAC model was
used. For each leakage hole a pair of HVAC ducts was defined over a height of two grid cells (one grid cell
height for each vent). Each duct was assigned one-half the leakage area and the experimentally determined
orifice flow coefficient. This approach enabled bi-directional flow to occur at the leakage vent as occurred
during each test following the termination of the helium release.


3.55     NIST/NRC Compartment Experiments
These experiments, sponsored by the US NRC and conducted at NIST, consisted of 15 large-scale ex-
periments performed in June 2003. All 15 tests were included in the validation study. The experiments are
documented in Ref. [123]. The fire sizes ranged from 350 kW to 2.2 MW in a compartment with dimensions
21.7 m by 7.1 m by 3.8 m high, designed to represent a compartment in a nuclear power plant containing
power and control cables. A diagram of the test structure is displayed in Figure 3.31.
     The walls and ceiling were covered with two layers of marinate boards, each layer 0.0125 m thick. The
floor was covered with one layer of gypsum board on top of a layer of plywood. Thermo-physical and optical
properties of the marinate and other materials used in the compartment are given in Ref. [123]. The room
had one door and a mechanical air injection and extraction system. Ventilation conditions, the fire size, and
fire location were varied. Numerous measurements (approximately 350 per test) were made including gas
and surface temperatures, heat fluxes and gas velocities.
     Following are some notes provided by Anthony Hamins, who conducted the experiments:

Natural Ventilation: The compartment had a 2 m by 2 m door in the middle of the west wall. Some of
   the tests had a closed door and no mechanical ventilation (Tests 2, 7, 8, 13, and 17), and in those tests
   the measured compartment leakage was an important consideration. The test report lists leakage areas
   based on measurements performed prior to Tests 1, 2, 7, 8, and 13. For the closed door tests, the leakage
   area used in the simulations was based on the last available measurement. The chronological order of
   the tests differed from the numerical order. For Test 4, the leakage area measured before Test 2 was
   used. For Tests 10 and 16, the leakage area measured before Test 7 was used.

Mechanical Ventilation: The mechanical ventilation and exhaust was used during Tests 4, 5, 10, and 16,
   providing about 5 air changes per hour. The door was closed during Test 4 and open during Tests 5, 10,
   and 16. The supply duct was positioned on the south wall, about 2 m off the floor. An exhaust duct of
   equal area to the supply duct was positioned on the opposite wall at a comparable location. The flow
   rates through the supply and exhaust ducts were measured in detail during breaks in the testing, in the
   absence of a fire. During the tests, the flows were monitored with single bi-directional probes during
   the tests themselves.

Heat Release Rate: A single nozzle was used to spray liquid hydrocarbon fuels onto a 1 m by 2 m fire
   pan that was about 0.1 m deep. The test plan originally called for the use of two nozzles to provide the
   fuel spray. Experimental observation suggested that the fire was less unsteady with the use of a single
   nozzle. In addition, it was observed that the actual extent of the liquid pool was well-approximated by a
   1 m circle in the center of the pan. For safety reasons, the fuel flow was terminated when the lower-layer
   oxygen concentration dropped to approximately 15 % by volume. The fuel used in 14 of the tests was
   heptane, while toluene was used for one test. The HRR was determined using oxygen consumption
   calorimetry. The recommended uncertainty values were 17 % for all of the tests.


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             m
            04
         7.
                                                                                        Supply Duct




                                                                    m
                                                                                        Same dimensions and




                                                                 6
                                                               .6
                                                             21
                                                                                        position as Exhaust Duct




                                                               m
                                                              00
Vertical Cable Tray




                                                            2.
                                      2 .0
                                             5m
     Exhaust Duct                                                                                                            2m
                                                                                                                      3 .8
    0.7 m by 0.7 m
         Centered
                                                                                                               m
                        Fuel Pan                                                               m        2 .0
                 Centered in each                                                       2 .0
                        direction
                                                                                    m
                                                                             2 .5
                                                                                                             Doorway




                                                                             Cable D (in tray)
                                                                   Cable C                                         3.21 m
                      Vertical Tray
                      with Cable G                                                  Cable B
                                                                                                                   2.70 m
                                                                                               Cable A & F
                                                                                                                   2.20 m




                                                              Fuel
                                                              Pan
0.10 m

                                                  3.01 m     4.03 m          5.12 m     6.44 m
                  Doorway
                                                                        4.84 m   5.69 m      6.54 m




                          Figure 3.31: Geometry of the NIST/NRC Experiments.



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Radiative Fraction: The values of radiative fraction and its uncertainty were reported as 0.44(7) and
   0.40(9) for heptane and toluene, respectively.

Soot Yield: The values of the soot yield and its uncertainty were reported as 0.0149(33) kg/kg and 0.195(52) kg/kg
   for heptane and toluene, respectively.


3.56     NIST/NRC Corner, Wall, and Cabinet Experiments
In the summer of 2017, experiments were conducted in a large compartment in the NIST large fire laboratory
on behalf of the U.S. Nuclear Regulatory Commission. There were two sets of experiments. In the first set,
conducted in July, 2017, a natural gas burner was positioned either in a corner or against a wall, and gradually
moved outward. In the second set of experiments, conducted in September, 2017, a natural gas burner was
placed inside one of two steel cabinets meant to represent typical industrial-scale electrical enclosures.
     The compartment for all experiments was 11 m long, 7 m wide, and 3.8 m high. The long dimension of
the compartment ran east-west. A 1.8 m wide, 2.4 m high door was centered on the east (short) wall.
     All of the fires were fueled by one or more 30.5 cm (1 ft) square natural gas burners. Each burner was
essentially a steel box, 30.5 cm square in plan and 15 cm deep, fueled from below. The lip of the burner was
2.5 cm (1 in) wide. A 2.5 cm thick piece of Kaowool insulation was placed under a steel mesh to form the
surface of the burner.

3.56.1    Wall and Corner Effects
Six large compartment experiments [259] were conducted in July, 2017, where four natural gas burners were
positioned (1) in a corner and (2) against a wall, and then moved outward in stages until the corner or wall
effect became negligible. The quad burner was 60 cm by 60 cm and the burner surface was 54 cm above
the floor. The corner fire was located in the southwest corner of the large compartment. The wall fire was
centered on the south (long) wall.
     The experiments began with the quad burner in the corner or against the wall for the first 30 min. At
30 min, the burner was moved so that its edge(s) was 10 cm away from the wall(s). It remained for 15 min,
after which it was moved to 20 cm, 30 cm, 50 cm, 100 cm, and 160 cm, each time remaining 15 min for a
total experiment time of 2 h.
     A three-dimensional array of thermocouples was positioned on a track mounted to the ceiling above
the burner. The purpose of this array was to measure maximum plume temperatures at heights of 2.1 m,
2.7 m, and 3.4 m above the floor. As the burner moved, the thermocouple array moved with it. For the
corner fire experiments, when the burner was at the 0 cm, 10 cm, and 20 cm positions, the thermocouple
array overhead remained at its original location in the corner. As the burner moved beyond 20 cm, the
thermocouple array was moved the same amount so that the burner was always below the array in the same
position. In other words, for the corner fire experiments, after the center point of the burner reached the
point directly below the position 18 on the diagram below, the burner and array moved together, maintaining
their relative position.
     The experimental data consists primarily of thermocouple measurements. The key to the column names
are as follows:

  • TC-AG-01 through TC-AG-29 are the thermocouples at the top of the cage, 46 cm below the ceiling
    (see pattern below).

  • TC-BG-01 through TC-BG-29 are the thermocouples at the mid-level of the cage, 107 cm below the
    ceiling (see pattern below).


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• TC-CG-01 through TC-CG-29 are the thermocouples at the bottom of the cage, 168 cm below the ceiling
  (see pattern below).

• TC-WT-01 through TC-WT-13 are the thermocouples of the vertical array called the West Tree. The
  array was 2.75 m from the west (short) wall and 3.5 m from the south (long) wall. TC-WT-01 was
  located 2 cm below the ceiling, and the rest were spaced 30 cm apart.

• TC-ET-01 through TC-ET-13 are the thermocouples of the East Tree. The array was 2.75 m from the
  east (short) wall and 3.5 m from the south (long) wall. TC-ET-01 was located 2 cm below the ceiling,
  and the rest were spaced 30 cm apart.

• TC-C-01 through TC-C-11 are the thermocouples 2 cm from the corner above the corner fire. TC-C-01
  was located 2 cm below the ceiling, and the rest were spaced 30 cm apart.

• TC-W-01 through TC-W-11 are the thermocouples 2 cm from the wall above the wall fire. TC-W-01
  was located 2 cm below the ceiling, and the rest were spaced 30 cm apart.

• HRR (cal) is the heat release rate of the fire as measured using oxygen consumption calorimetry. HRR
  (NG) is the heat release rate determined from the mass flow rate of natural gas.



       25                 26               27              28               29


                                                                    24


       19                 20               21              22               23


                                                    18

                                                                                        0.91 m (36 in)
       13                 14               15              16               17


                                  12


       7                  8                9               10               11


                 6


       1                  2                3               4                5

                                       South Wall

            Figure 3.32: Diagram of thermocouple layout for NIST/NRC Corner Effects experiments.



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     The East and West Tree thermocouples were used to estimate the height of the hot gas layer (HGL), and
the average temperatures of the upper and lower layers. Also, the three horizontal arrays of thermocouples
above the burner were processed by first taking a 2 min running average of each TC, and then choosing
the maximum value for each of the three elevations above the fire. These were taken as approximate cen-
terline plume temperatures at each height. These experimental files are labelled with “HGL” and “Plume”,
respectively.

3.56.2   Cabinet Effects
In this second series of experiments, conducted in September, 2017, two different mock steel cabinets were
used. Each cabinet was constructed of 12 gauge (2.8 mm or 7/64 in) steel plate with openings as shown in
Figs. 3.33 and 3.34. The large cabinet was nominally 0.9 m by 0.9 m by 2.1 m and the medium size cabinet
was 0.6 m by 0.6 m by 2.1 m. The openings near the top of each cabinet were sometimes covered with a
steel grill, shown in Fig. 3.35.
     For the first set of experiments (1-6), the large cabinet was positioned with its front opening facing
eastward towards the opening of the test compartment. Its left side was 1.8 m from the south wall and its
front side was 5.8 m from the east wall. Two 0.3 m by 0.3 m natural gas burners were placed side by side
in the cabinet from the perspective of the cabinet front opening. The top of the burner was 50 cm above
the floor of the cabinet. For Tests 1-4, the front door of the cabinet was closed, and the heat release rate
was initially set to 50 kW for 30 min, then it was increased to 100 kW for 15 min, 200 kW for 15 min, and
400 kW for 15 min. For Tests 5-6, the front door was opened, and the heat release rate was set to 200 kW,
400 kW, and 700 kW for 15 min each, and then 1000 kW for 5 min, a total of 50 min.
     In the second set of experiments (7-10), the medium-sized cabinet was positioned so that its front was
the same distance from the east wall as the large cabinet, and its left side was 2.0 m (6.5 ft) from the south
wall. A single 30 cm by 30 cm gas burner was centered within. For the closed door tests, the heat release
rate was 25 kW, 50 kW, 100 kW, and 200 kW, each for 15 min. For the open door tests, the heat release rate
was 40 kW, 80 kW, 200 kW, and 325 kW, each for 15 min.
     In the third set of experiments (11-12), the cabinet was removed, and two 30 cm by 30 cm burners were
spaced 0.9 m (3 ft) apart, side to side. One of the burners was centered under the array of thermocouples.
Both burners were 2.0 m from the south wall. These experiments used the same heat release rate sequence
as the open and closed door large cabinet experiments.
     The data files for these experiments are labelled, NIST_NRC_Cabinet_Test_n.csv. These files con-
tain the same measurement positions as the corner and wall experiments, with the following additional
measurements:
  • PT-1 through PT-8 are plate thermometers positioned 0.6 m (2 ft) from each side of the cabinet at heights
    of 0.8 m (2.5 ft) and 1.4 m (4.5 ft). PT-1 is the upper plate on the left side. PT-2 is lower left. PT-3 is
    upper back. PT-4 is lower back. PT-5 is upper front. PT-6 is lower front. PT-7 is upper right. PT-8 is
    lower right.

  • STC-1 through STC-6 are sheathed thermocouples within the cabinet, 15 cm (6 in) from the left side,
    centered. STC-1 is 6 cm (2.5 in) from the top. STC-2 through STC-6 are 30 cm, 60 cm, 90 cm, 120 cm,
    and 150 cm from the top, respectively.

  • TC-Cab is a single 24 gauge Type K thermocouple welded to the center of the back side on the outside
    of the cabinet. For Test 11, this TC was placed just under the Kaowool surface of the burner, and for
    Test 12, it was placed just above the surface.

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                                                                                                                                     ]
                                                                                                                                  in
                                                                                                                                  5
                                                                                                                         6     .2
0 .1




                                                                                                                      [3
                                                              ]
                                                           in
    0m




                                                                                                                  m
                                                    25




                                                                                                           92
                                                  6.
            [4.




                                                                                                         0.
                                               [3
                   00




                                           m
                      i   n]



                                        92
                                      0.
                                                                                                                      i   n]
                                                                                                                   00
                                                                                                               [4 .
                                                                                                 0m
                                                                                              0.1



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                                                                                                          4 . 00
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                                                                                         0.1
                                                                                 0.1
                                                                                     0   m
                                                                                             [4.
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1 .5                                                                                                    i n]
    3m                                                                                                                                                        i n]
         [60                              0.7                                                                                                           .25
               .2 5                          2   m                                                                                                   [84
                      in]                               [28                                                                                  4   m
                                                               .25                                                                       2.1
                                                                     i n]

                                                                                 9 holes in the top
                                                                                 are 10 cm by 10 cm
                                                                                 (4 in by 4 in) and
                                                                                 spaced 10 cm apart
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                                           0m
                                                 [4 .
                                                        00
                                                           i   n]


0 .1
       0m
            [4 .
                   00
                      i   n]




                                         0.1
                                            0m
                                                    [4.
                                                          00
                                                             i      n]



                               Figure 3.33: Large cabinet drawing, NIST/NRC Corner Effects Experiments.



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                                                                                                                      ]
                                                                                                                   in
                                                                                                              25
                                                                  ]
                                                               in




                                                                                                            4.
                                                             5




                                                                                                          [2
                                                          .2




                                                                                                     m
                                                           4
                                                        [2




                                                                                            62
                                                    m




                                                                                          0.
                                                  62
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  0.1
      0   m
              [4 .
                     00
                        in]



                                                                             0.1
                                                                                 0    m
                                                                                          [4.
                                                                                             0    0i
                                                                                                    n]




                                                                           0 .1
                                                                                  0m
                     1.5                                                               [4 .
                         3   m                                                                00                                          i n]
                                 [60                                                             i   n]                             .25
                                       .25                                                                                       [84
                                             i n]                                                                      4   m
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                                                                                      [16
                                                                                            .25
                                                                                                  i n]




  0.1
      0   m
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                        n]

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                                       00
                                          i    n]


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                                                                                                                   [4.
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                                                                                                                            i   n]




               Figure 3.34: Medium-sized cabinet drawing, NIST/NRC Corner Effects Experiments.



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               11 2 in      1 in                                   6 in
                                                                                                          1
                                                                                                              4 in
                                                                                                13 8 in              1
                                                                                                                         2 in
    6 in
                                                                                                                                13 8 in




                                                   30 in



                                                                          7 in


                           6 in                                                               Note: Machining is based
                                                                                              on the given dimensions

                                       11 2 in     1 in                          11 2 in


                                                           18 in


                           Figure 3.35: Cabinet grill, NIST/NRC Corner Effects Experiments.



The three dimensional array of thermocouples used in the wall and corner experiments was positioned over
the front of the cabinet, such that TC positions 1, 7, 13, 19, and 25 in Fig. 3.32 were just above the upper
front edge of the cabinet.
    The test matrix is as follows:
                            Table 3.26: Summary of NIST/NRC Cabinet Experiments.


  Test     Cabinet       Front Door    Top Vents      Upper Side Vents                           HRR (kW)
    1       Large          Closed       Closed        Grill                                      50, 100, 200, 400
    2       Large          Closed       All open      Grill                                      50, 100, 200, 400
    3       Large          Closed       Closed        Front open, all others closed              50, 100, 200, 400
    4       Large          Closed       Closed        Front and back open, others closed         50, 100, 200, 400
    5       Large           Open        Closed        Front and back open, others closed         200, 400, 700, 1000
    6       Large           Open         Open         All open                                   200, 400, 700, 1000
    7      Medium          Closed       Closed        Grill                                      25, 50, 100, 200
    8      Medium          Closed       Closed        Open                                       25, 50, 100, 200
    9      Medium           Open        Closed        Open                                       40, 80, 200, 325
   10      Medium           Open        Closed        Closed                                     40, 80, 200, 325
   11       None            N/A           N/A         N/A                                        200, 400, 700, 1000
   12       None            N/A           N/A         N/A                                        50, 100, 200, 400




3.57       NIST/NRC OLIVE-Fire Experiments
In March, 2022, experiments were conducted at NIST to determine the maximum heat release rate that a fire
can reach within steel electrical enclosures [260]. OLIVE is an acronym for Oxygen-Limited Fires Inside

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Under-Ventilated Enclosures. Photographs of the enclosures are shown in Fig. 3.36. The enclosures were
pressure-tested before and after the experiments to determine the leakage and vent opening areas. These
opening areas are a key parameter in the numerical modeling.
    Thirty-two experiments were conducted; twenty-one of which were fueled by a natural gas burner. The
others involved a variety of plastics and electrical cables. Eighteen of the natural gas experiments were
chosen for simulation. The natural gas cases not chosen had unexpectedly large gaps between the steel
panels open up during the experiment. The leakage throught these gaps could not be measured.

Modeling Notes
The simulations are performed with a spatial resolution of 4 cm. The enclosures are modeled simply as
rectangular steel boxes with no internal partitions included. Both leakage and vents are modeled in the same
way by using the “localized leakage” methodology in FDS where the volume flow rate, V̇ , through a vent or
a crack is a function of the pressure difference, ∆p:
                                                          0.5            0.1
                                                     2∆p             ∆p
                                      V̇ = C A                                                           (3.8)
                                                      ρ0            ∆pref

The discharge coefficient, C = 0.61, is recommended by the manufacturer of the calibrated fan used for
determining the leakage area, A. The extra pressure term in the expression represents a weak relationship
between the discharge coefficient and the pressure rise. The pressure exponent of 0.6 best fits the leakage
data. The reference pressure, ∆pref , is taken as 1 Pa to maintain unit consistency. The measured leakage
is applied using four “patches,” two above the neutral plane and two below. Because there is no way to
determine the exact distribution of the leakage, the specification of the leakage area to the upper and lower
patches is based on roughly matching the gas concentrations early in the simulation when the enclosure is
well-ventilated. There is still considerable uncertainty in the leakge distribution and the amount of leakage
because during the experiments the gaps and seams of the enclosures tended to open up as the gases within
heated.
     The combustion of natural gas (assumed to be methane) within the enclosures is modeled using the
two-step simple chemistry algorithm. That is, the first reaction converts methane to CO, soot, and water
vapor, and the second step converts the CO and soot to CO2 , assuming enough oxygen is present following
the first reaction. By default, two-thirds of the carbon atoms in the fuel molecule are converted to CO in the
first step; the rest to soot.
     Extinction is modeled using the “Extinction 1” algorithm in which the reactions are assumed to occur
if (1) the local gas temperature exceeds the AUTO_IGNITION_TEMPERATURE of 540 ◦ C, and (2) the local
oxygen concentration exceeds a temperature-dependent lower limit. The value of 540 ◦ C is reported in
Beyler’s chapter of the SFPE Handbook [152].




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Figure 3.36: Photographs of the eight electrical enclosures used for the NIST/NRC OLIVE-Fire experiments. The
enclosures are numbered 1 through 8 in sequence. Enclosure #1 and #2 (top row) have the same exterior design.




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3.58     NIST/NRC Parallel Panel Experiments
As part of a Nuclear Regulatory Commission (NRC) research project to assess fire behavior in electrical
enclosures, rate of spread and heat release rate measurements were made on various plastics lining a parallel
panel apparatus. The panels were 0.6 m (2 ft) wide, 2.4 m (8 ft) tall, and separated by 0.3 m (1 ft). A 60 kW
propane sand burner was positioned at the base of the two panels. Plastics tested to date include PMMA,
PVC, and PBT, cut into 6.4 mm (0.25 in) thick panels. A sketch of the apparatus, originally developed by
Factory Mutual, is shown in Fig. 3.12.
     The Parallel Panel experiment involving black PMMA is part of the suite of cases contributed to the
MaCFP (Measurements and Computation of Fire Phenomena) working group of the IAFSS. Its properties
are listed in Section 14.2.


3.59     NIST/NRC Transient Combustibles Experiments
In December, 2019 and February, 2020, 40 calorimetry experiments were conducted at the National Fire
Research Laboratory at NIST on behalf of the U.S. Nuclear Regulatory Commission. The experiments were
conducted under a 6.1 m (20 ft) by 6.1 m hood with a nominal capacity of 3 MW. The full report on the
experiments can be found in Ref. [261].
     The items burned are described briefly in Fig. 3.37. These consist of commercially available materials
constructed mainly of wood and paper. Each item was weighed before and after the experiment on a load
cell accurate to 10 g.
     The fires were all ignited using one or more 7.5 cm (3 in) segments of approximately 1 cm (0.5 in)
diameter cotton rope soaked in approximately 10 mL of acetone. For some items like the wood cribs and
pallets, a small amount of shredded craft or “crinkle” paper was used to sustain the ignition until steady
burning was achieved.
     The floor beneath the burning item was protected with a single layer of gypsum board covered by a
single layer of concrete board.
     The heats of combustion and product yields of the various items burned are given in Table 3.27. These
values are derived from the measured initial and final mass, and an assumed value of 13.61 MJ/kg for the
energy released per unit mass of oxygen consumed.

                   Table 3.27: Average heat and product yields of the various test items.

         Item     ∆H (MJ/kg)        CO Yield       CO2 Yield         Soot Yield      Residue Yield
        Box #1     14.8 ± 0.5     0.039 ± 0.001    1.48 ± 0.05    0.0014 ± 0.0003    0.031 ± 0.016
        Pallet     17.2 ± 0.5     0.031 ± 0.001    1.66 ± 0.06    0.0033 ± 0.0006    0.059 ± 0.024
         Crib      16.7 ± 0.5     0.023 ± 0.001    1.63 ± 0.06    0.0020 ± 0.0003    0.053 ± 0.034


Modeling Notes
The combustible items are modeled as collections of Lagrangian particles that undergo a three-step decom-
position process consisting of moisture evaporation, pyrolysis, and char oxidation. The moisture content,
M, of the conditioned materials was less than the 0.05 lower limit of the moisture meter, and this value is
used in the calculations.



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 Box #1: Single-wall corrugated box with
 nominal dimensions 61 cm by 61 cm by
 46 cm (24 in by 24 in by 18 in) filled with
 “crinkle paper,” a common packing mate-
 rial made by shredding craft paper. The
 box alone had a mass of approximately
 1.6 kg (3.5 lb), and the box and paper com-
 bined had a mass of 8.0 kg (18 lb). The box
 top flaps were closed, end over end, but not
 sealed with tape.


 Pallet: Pine wood pallet with dimensions
 122 cm by 102 cm by 12 cm (48 in by 40 in
 by 4.75 in). Its mass was approximately
 16.0 kg (35 lb). Its moisture content was
 less than 5 %. Shown at right are two pal-
 lets, which were ignited with 1 kg (2.2 lb)
 of crinkle paper distributed evenly through-
 out the lower pallet.



 Crib: Pine wood crib with dimensions
 56 cm by 56 cm by 46 cm (22 in by 22 in
 by 18 in) constructed of slats with a cross-
 section 3.8 cm (1.5 in) square. Its mass
 was approximately 39 kg (86 lb). Its mois-
 ture content was less than 5 %. It was ig-
 nited with 0.75 kg (1.7 lb) of crinkle paper
 stuffed in the space below the first row of
 slats.


                                    Figure 3.37: Description of test items.


    In the model, all of the wood and paper materials are assumed to be made up of cellulose, C6 H10 O5 ,
with a net heat of combustion of 16.12 MJ/kg [262]. It is also assumed that the materials have a char yield
of 20 %, meaning that 20 % of the dry mass is converted into char that undergoes an exothermic oxidation
reaction generating 32.12 MJ/kg of char consumed. The decomposition reactions are as follows:

1. Endothermic moisture evaporation
                                                                                             M
              Wet Vegetation → νH2 O H2 O + (1 − νH2 O ) Dry Vegetation       ;   νH2 O =             (3.9)
                                                                                            1+M
2. Endothermic pyrolysis of dry vegetation

                                Dry Vegetation → 0.2 Char + 0.8 C3.3 H10 O5                         (3.10)

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3. Exothermic char oxidation
                                     Char + 1.65 O2 → 2.4 CO2 + 0.25 Ash                                     (3.11)
Note that the fuel gas is taken as cellulose with 20 % of its molecular mass decreased to account for the
residual char, which is assumed to be pure carbon. The heat of combustion of this modified fuel gas is
12120 MJ/kg. The yield of residual Ash is based on the measured residual mass.
     The crinkle paper is assumed to consist of 3 cm long, 4 mm wide strips with a surface area to volume
ratio of 10000 m−1 (approximately 0.2 mm thick). The length and width are important only in defining the
mass and volume of each particle. The thermal and kinetic properties of the paper are assumed to be similar
to those of corrugated cardboard given in Table 14.12. The cardboard that makes up the box that holds the
crinkle paper has a mass of 0.62 kg/m2 and the box itself has a mass of 1.6 kg. The corrugated paper has an
assumed dry density of 350 kg/m3 , yielding an effective thickness of 1.8 mm. In the model, the box does
not undergo char oxidation but rather “burns away” to expose the crinkle paper inside.
     The wood crib is made up of 104 56 cm (22 in) long, 3.8 cm (1.5 in) square interlacing pine wood strips.
The particles used to model the crib are assumed to be cylindrical in shape but with a surface area to volume
ratio of 69 m−1 based on a direct measurement of the actual crib geometry. The dry density of the wood has
been measured to be 463 kg/m3 , its peak pyrolysis temperature is taken to be 320 ◦ C [263], its char yield
assumed to be 20 %, and its heat of reaction is taken to be 418 kJ/kg [264]. Other property values are based
on the default vegetation pyrolysis model described in the FDS User’s Guide.
     The pine wood pallets are constructed of 1.6 cm (5/8 in) thick planks and modeled as a collection of flat
particles with a thickness of 8 mm and the same thermal and kinetic properties as the cribs, except that the
wood making up the pallets has a dry density of 414 kg/m3 .
     The drag per unit volume exerted by the particles is given by
                                              ρ
                                         f=     Cd κ u|u| ;    κ = Cs σ β                                    (3.12)
                                              2
where ρ is the gas density, Cd is a drag coefficient, u is the local velocity vector, Cs is a shape factor, σ is the
surface area to volume ratio, and β is the packing ratio; that is the ratio of particle volume to cell volume.
The shape factor is taken as 0.25 for all particle types. The packing ratio is determined by the measured
mass of the item and the volume it occupies. The drag coefficient for the wood crib is 65, a value obtained
by simulating a finely-resolved wood crib in a wind tunnel and calibrating the drag of the equivalent “crib
particles” accordingly. The drag coefficient of the crinkle paper is taken as 1, and that of the pallet is taken
as 3. These are only order of magnitude estimates and have not been verified.


3.60     NIST Polymers
Researchers at NIST have conducted measurements on various polymers as part of the MaCFP (Measure-
ments and Computation of Fire Phenomena). The Condensed Phase Subgroup has focussed initially on
PMMA. Measurements include TGA (Thermo-Gravimetric Analysis), DSC (Differential Scanning Calorime-
try, MCC (Micro-Combustion Calorimeter), the NIST Gasification Apparatus, and the Cone Calorimeter.


3.61     NIST Pool Fire Experiments
The NIST Pool Fire Experiments include temperature, species concentration, velocity, and heat flux mea-
surements of 30 cm and 100 cm diameter circular liquid fuel fires, and 37 cm gaseous burner fires.
    The 30 cm burner is 15 cm deep and has a wall thickness of 1.6 mm. The burner is fitted with legs
such that the burner rim is positioned 30 cm above the floor. The bottom of the burner is maintained at a
constant temperature by flowing tap water (nominally 20 ◦ C) through a 3 cm section on the bottom of the

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fuel pan. The dimensions of the circular burner are similar to Weckman’s methanol experiment described in
Sec. 3.104.
     The 100 cm burner is also 15 cm deep, has a wall thickness of 1.6 mm, and is water-cooled.
     The 37 cm burner is actually 38 cm in diameter with an effective diameter of 37 cm. It is water cooled,
and the surface temperature is maintained at approximately 40 ◦ C. The measured fuel flow rate for the
methane fire was 0.69 g/s and its estimated HRR was 34.5 kW. The heat release rates of the two propane
fires were 20 kW and 34 kW.
     Details and references with regard to the plume temperature measurements are given in Sec. 6.1.5.
Details on the heat flux measurements are given in Sec. 12.2.8. Details on the gas species measurements is
given in Sec. 9.5.6. Details on the velocity measuremnts is given in Sec. 8.8.

Modeling Notes
The 30 cm pool fires are modeled at three different grid resolutions—2 cm, 1 cm, and 0.5 cm. The 100 cm
pool fires are modeled at 4 cm, 2 cm, and 1 cm resolution. The mass loss rate of the fuel is specified.
     A two-step reaction mechanism is implemented. In the first reaction, fuel is converted to CO, soot, H2 ,
and H2 O. In the second reaction, the CO, soot, and H2 are converted to CO2 and H2 O. Both reactions employ
fast kinetics, but proceed in series, not in parallel. The relative amounts of CO, soot, and H2 produced in
the first step are still subjects of study, and for the moment have been estimated based on measured results.
The fractions of carbon atoms converted to CO in the first step are as follows—0.85 for acetone; 0.95 for
ethanol; 0.97 for methane; 1.0 for methanol; 0.85 for propane. For all fuels, one half of the hydrogen atoms
are converted to H2 in the first step.
     The radiative fractions are specified based on measured values—0.31 for acetone; 0.26 for ethanol; 0.15
for methane; 0.21 for 1 m methanol; 0.22 for 30 cm methanol; 0.22 for propane.


3.62       NIST Smoke Alarm Experiments
A series of experiments was conducted by NIST to measure the activation time of ionization and photoelec-
tric smoke alarms in a residential setting [265]. Tests were conducted in actual homes with representative
sizes and floor plans, utilized actual furnishings and household items for fire sources, and tested actual smoke
alarms sold in retail stores at that time. Thirty-six tests were conducted in two homes; 27 in a single-story
manufactured home, and 8 in a two-story home. Eight experiments that were conducted in the single-story
manufactured home were selected for model validation. Only tests that used a flaming ignition source with
a couch or mattress fuel package were considered; the cooking oil fires and tests that used a smoldering
ignition source were not considered. The flaming ignition tests used a moderate flame source to quickly
ignite the fuel package.
     The primary partitioning of the single-story floor plan consisted of three bedrooms, one full bathroom,
one kitchen/dining area, one living room, and two hallways (see Fig. 3.38). For testing, the doors to Bed-
room 3 and the bathroom were always closed. The ceiling was peaked on the long axis, reaching a height of
2.4 m. The outside walls were approximately 2.1 m in height. The slope of the ceiling was approximately
8.4◦ . Groups of smoke alarms were located in the room of fire origin, at least one bedroom, and in a central
location. Five stations (Station A through Station E) containing smoke alarm4 arrays were mounted parallel
to the ceiling.
     Although a load cell was used in the experiments to measure the mass loss rate of the fuel package,
the mass loss data were not reliable enough to reconstruct the HRR curves for each test. Instead, the HRR
   4 Note that, in the FDS Guides, smoke detectors and smoke alarms are collectively referred to as smoke detectors because the

same smoke detection algorithm is used to predict activation of either type of device.


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curves were determined by approximating the fire growth using a t-squared ramp, as in Eq. (3.13). The
parameters for the t-squared ramp were calibrated in FDS by using the temperature measured at the highest
thermocouple in the tree (2 cm below the ceiling) in the fire room.
                                                           t 2
                                               Q̇ = Q̇0                                              (3.13)
                                                           τ
A time offset was used to align the predicted ceiling thermocouple temperatures with the measured tem-
peratures. This offset is reported as the time at which the t-squared ramp begins. The t-squared calibration
parameters and time offsets for the HRR ramps are shown in Table 3.28. Additionally, the ignition source
had a small effect on the measured ceiling thermocouple temperatures. Therefore, the size of the ignition
source was approximated as either 3 kW or 7 kW, and the time offset of the ignition source was also cali-
brated by using the measured ceiling thermocouple temperatures. The resulting HRR curve was input into
FDS as a fire ramp. A summary of the eight tests selected for model validation is shown in Table 3.28.

         Table 3.28: Summary of NIST Smoke Alarm Experiments selected for model validation.


               Test No.   Fire Source    Fire Location         Q̇0 (kW)   τ (s)   Time Offset (s)
               SDC02         Chair       Living Room              150     180          20
               SDC05       Mattress        Bedroom                200     180          20
               SDC07       Mattress        Bedroom                350     180          50
               SDC10         Chair       Living Room              150     180          40
               SDC33         Chair       Living Room              100     180          10
               SDC35         Chair       Living Room              100     180          10
               SDC38       Mattress        Bedroom                120     180          25
               SDC39       Mattress        Bedroom                200     180          25




                                                    100
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                                                                                                             m



                                                  m
                                                                                                      2 .1


                                                 2
                                              .9
                                             19




                                                                                              m
                                                                                            96
                                                                                          3.
                                                                                0m
                                                                         2 .4
     Notes:
     1. All dimension values refer to interior dimension.
     2. The letters A-E refer to detector locations.
     3. All walls are 10 cm thick.
     4. All exterior doors and windows were closed during testing.
     5. Doors to Bath and Bedroom #3 closed during testing.



                                                                            Bedroom #3
                                                                                 Bedroom #1
                                                                          16.85 m
                                         C              E
           0.38 m        3.86 m                              12.63 m           17.71 m
3.35 m
2.61 m                                                                                              B
                                         Kitchen/Dining/                                          2.39 m
2.23 m                                   Living Area
                                                                                                  1.60 m
1.63 m
                                                                                                  0.82 m
                                                                                                  0.53 m
 A
                       3.38 m                                 13.01 m         17.23 m             D
  Bedroom #2                    5.54 m               Bath               15.45 m




         Figure 3.38: Geometry of the manufactured home from the NIST Smoke Alarm Experiments.



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3.63     NIST Soot Deposition Gauge
A series of tests were performed as part of an effort to develop a gauge capable of making real time mea-
surements of soot deposition [266]. The test apparatus consisted of a hot plate and cold plate measuring 8
cm wide by 41 cm long and separated by 1 cm. The hot plate was electrically heated and the cold plate
was water cooled. A laminar diffusion flame burner using propene as the fuel was used to generate soot.
A portion of the effluent from the burner was sent through the test apparatus. In addition to tests using the
new gauge, a series of gravimetric tests were performed using 47 mm diameter pieces of aluminum foil
attached to the cold plate in four locations. Tests with the aluminum foil used nominal flowrates of 2.5, 5.0,
and 10.0 SLPM and nominal temperature differences of 100 ◦ C and 200 ◦ C. The test channel was mounted
vertically to avoid gravitational settling and with the laminar flow speeds the device essentially creates only
thermophoretic deposition. Four replicate tests were performed for the 2.5 and 5.0 SLPM flowrates and
three for the 10.0 SLPM flowrate. A summary of the 22 tests modeled is given in the table below.

            Table 3.29: Experiment Details for Gravimetric Measurements of Soot Deposition


                              Test no.    Flow Speed    ∆T     Inlet Soot Conc.
                                            (SLPM)      (K)        (mg/m3 )
                                 1            2.5        94           67.6
                                 2            2.5        94           69.2
                                 3            2.5        96           64.2
                                 4            2.5        96           64.2
                                 5            5.0        96           65.5
                                 6            5.0        95           62.7
                                 7            5.0        92           61.9
                                 8            5.0        94           68.4
                                 9            10.0       97           25.9
                                 10           10.0       98           27.4
                                 11           10.0       99           25.5
                                 12           2.5       187           60.2
                                 13           2.5       190           61.5
                                 14           2.5       189           64.2
                                 15           2.5       187           59.1
                                 16           5.0       188           59.7
                                 17           5.0       186           58.5
                                 18           5.0       187           60.7
                                 19           5.0       187           55.5
                                 20           10.0      191           23.5
                                 22           10.0      188           24.4
                                 21           10.0      189           22.6




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3.64     NIST Structure Separation Experiments
Maranghides et al. [267, 268] have developed a series of tests designed to understand safe structure separa-
tion distances for sheds, fences, and other combustible materials, with and without wind, in the wildland-
urban interface (WUI).

Verification Tests
Prior to modeling heat fluxes to surfaces with attached flames or modeling ignition of siding material, a
relatively simple test was carried out to record heat fluxes from a known fire source to targets in the proximity
to the flame. The 8 MW NFRL calibration burner [269] (see Fig. 3.39) is positioned on a raised platform
under the medium scale hood in NFRL. Three heat flux gauge towers are positioned 1, 2, and 3 m from the
burner edge (or 2, 3, and 4 m from the burner center). Figure 3.40 shows a photograph from [268] (courtesy
Matt Hoehler).

                          8           7           6             5                 4                    3                            2                                      1




              D                                                                                                                                                                                D




              C                                                                                                                                                                                C




                                          47.00
              B                                                                       63.50                                                                                                    B
                                                                     7.50

                                                                                                           4.00
                                                              2.50                              7.50
                                                                                      12.00




                  36.00
                      28.50
                              26.00
                                                                                                              DRAWN
                                                                                                              Luis Serrano Torres   6/22/2018
                                                                                                              CHECKED

              A                                                                                               QA
                                                                                                                                                TITLE
                                                                                                                                                                                               A
                                                                                                              MFG                               Small Burner Assembly
                                                      Floor                                                   APPROVED
                                                                                                                                                 SIZE       DWG NO                       REV

                                                                                                                                                 D          Small_burner_assem_drawing
                                                                                                                                                  Varies
                                                                                                                                                SCALE
                                                                                                                                                                        SHEET   1 OF 1
                          8           7           6             5                 4                    3                            2                                      1




Figure 3.39: NFRL 8 MW calibration burner assembly drawing produced by NIST SURF student Louis Serrano
Torres. Units in inches.



Modeling Notes
The burner is roughly 1 m × 1.5 m with 802 fuel ports 1/8th inch in diameter (see Fig. 3.39). The FDS
model of the burner is built from particles (see Fig. 3.41). Each particle has a radius set to give a spherical
area equivalent to a 1/8th inch diameter fuel port. The time ramp in the FDS simulation is compressed by a
factor of 10. The “gauge heat flux” is recorded in an orientation pointing toward the burner (+x direction).
The burner flow baffle plates are made from thin OBST. Fictitious manifolds are made from thickened OBST.
The number of radiation angles in increased to 400. The radiation path length is set to 2 m. Ambient
conditions are taken from historical weather data for the day of the experiment. The natural gas composition
is taken from NFRL records on the day. A radiant fraction of 0.25 is prescribed, which is both consistent
with a methane flame with additional ethane and the heat flux data farthest from the fire source under the

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   Figure 3.40: Structure Separation Verification setup showing natural gas burner and heat flux gauge positions.



assumption of a point source model. The burner has a D∗ of approximately 2.2. As a baseline, a grid
resolution of 5 cm provides a D∗ /∆x = 44. Reasonably high resolution may be necessary if near-flame heat
flux values are of interest. However, we also provide FDS results for 10 cm resolution.




                    Figure 3.41: Image of the FDS particle model for the 8 MW NFRL burner.



3.65     NIST Vent Study
A series of 15 reduced-scale enclosure experiments were conducted during the summer of 2017 by Summer
Undergraduate Research Fellows (SURF) Fateema Farzana and Cory Schovanec. There is no test report or
paper describing these experiments; only what is included here.




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Enclosure Geometry
A drawing of the enclosure is given in Fig. 3.42. The enclosure consisted of two compartments stacked one
on top of the other. The interior lateral dimensions of each compartment were 119 cm by 121 cm. The
height of the lower compartment was 59 cm, and the upper was 61 cm. The enclosure was located within a
vented laboratory space that was approximately 3 m by 3 m by 2.8 m high. The floor of this space was tiled,
but a single sheet of gypsum board served as the lower floor of the test enclosure.
    The front door was open in all experiments. For some portion of some of the experiments, the second
floor was completely sealed. The leakage area was approximately 18 cm2 , measured at an over-pressure of
25 Pa.

Material Properties
The walls, ceiling and floor of each compartment was 1.6 cm (5/8 in) Type X gypsum board. Wood studs
formed the exterior frame. Thermo-physical properties of the gypsum board were taken from in Ref. [270]
and manufacturer literature. It was assumed that the specific heat was 1.089 kJ/(kg · K), thermal conductivity
0.15 W/m/K, and density 673 kg/m3 . Additionally, a layer of kaowool, shown in Fig. 3.42 was used to seal
the gap between the removable roof and the second story walls. Aluminum tape was used to seal all other
seams.

Burner
For all experiments, a 10 cm square propane burner fueled at a rate of 1.65 L/min generated a 2.5 kW fire
according to the following calculation:

                            L   1 min     1 m3        kg           kJ
                    1.65      ×       ×        × 1.967 3 × 46, 300    = 2.50 kW                        (3.14)
                           min 60 s     1000 L        m            kg
Note that the mass flow controller (Sierra Instruments SmartTrak 50) assumed standard conditions to be
0 ◦ C and 101325 Pa. For Tests 13-15, a Dwyer flow meter was used in place of the mass flow controller.
The flow meter had a flow range of 4 L/min air.

Thermocouples
Eight Type-K thermocouples were inserted at each level to measure the vertical temperature profile. The
thermocouples formed a vertical array at 84 cm from the left wall of the enclosure, and 17 cm from the front
wall. TC-1 was defined as the uppermost thermocouple, with heights defined as the vertical distance from
the compartment specific floor.

          Table 3.30: Heights of the thermocouples above the floor of each level of the enclosure


                 Floor 2 TC’s     1       2       3          4      5      6      7       8
                 Height (cm)     56.5    50.8    45.5      41.0   36.0    29.8   19.8    10.5
                 Floor 1 TC’s     9       10      11        12     13      14     15      16
                 Height (cm)     51.8    47.0   40.64      35.6   30.48   25.7   16.5    7.0




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                                                                                       DETAIL A      wood stud
                                                                                       SCALE 1/3
                                                                                                     5
                               PLAN VIEW                                                                 8 in gypsum board

                                                      Right Ceiling Vent
                           Left Ceiling Vent          (dimensions vary)
                                                                                                     1
                                                                                                         2 in kaowool




                           10 cm

           30 cm           10 cm


                       84 cm
                                                                       121 cm


                           10 cm                    87 cm                                                          A




                           10 cm

           30 cm
                               30 cm
                       84 cm                          17 cm



                                   119 cm

Indicates position of both burner                                                  thermocouples
    and 2nd floor ceiling vent




                              FRONT VIEW                                                                   RIGHT VIEW        Indicates position of
                                                                                                                               identical windows
                                                                                                                                 on either side




                   10 cm                                                                           79 cm

                                            20 cm                                                                                                    61 cm


                                                       30 cm                                                            30 cm
                   59 cm




                   59 cm
                                                                                                                                                     59 cm

                                    20 cm               30 cm



                                             2 cm
                                                      Note that door sill begins
                                                      above height of floor due
                                                       to external wood stud




                               Figure 3.42: Geometry of the compartment from the NIST Vent Study




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Test Procedure
Each experiment lasted 100 min with a 5 min cool down period. Table 3.31 indicates the times when vents
and windows were opened after the start of each experiment. For Test No. 1-4, two trials were performed.
In each case, the difference in temperature remained within 3 percent, a difference of less than 1 ◦ C. For this
reason, no further replicates were conducted.

                            Table 3.31: Vent State by Experiment: Time Opened


   Test    Front        Left      Right       Left     Right       Left         Right      Right      Roof
   No.    Window      Window     Window       Vent      Vent    Vent Area     Vent Area     Vent      Vent
           (min)       (min)      (min)      (min)     (min)      (cm2 )        (cm2 )     Shape     (min)
   1         0           0          0        Closed      0          0            100       Square    Closed
   2         0           0          0        Closed      20         0            100       Square    Closed
   3        60           40      Closed      Closed      20         0            100       Square    Closed
   4         0           0          0        Closed      0          0            400       Square    Closed
   5         0           0          0        Closed      20         0            400       Square    Closed
   6        60           40      Closed      Closed      20         0            400       Square    Closed
   7         0           0          0           0        0         100           400       Square    Closed
   8         0           0          0          20        40        100           400       Square    Closed
   9        80           60      Closed        20        40        100           400       Square    Closed
   10        0           0          0        Closed      0          0            100       Circle    Closed
   11        0           0          0        Closed      20         0            100       Circle    Closed
   12       60           40      Closed      Closed      20         0            100       Circle    Closed
   13        0           0          0           0        0         100           400       Square      0
   14        0           0          0          20        40        100           400       Square      60
   15     Closed      Closed     Closed        20        40        100           400       Square      60




3.66      NRCC Facade Heat Flux Measurements
A series of experiments was conducted by the Fire Research Section of the Institute for Research in Con-
struction, National Research Council of Canada (NRCC), to measure the heat flux to a mock exterior build-
ing facade due to a fire within a compartment [271, 272]. The experiments selected for model validation
were conducted using a series of propane line burners within a compartment whose interior dimensions were
5.95 m wide, 4.4 m deep, and 2.75 m high (see Fig. 3.43). There were five different door/window sizes:

 1. 0.94 m by 2.00 m high

 2. 0.94 m by 2.70 m high (door)

 3. 2.60 m by 1.37 m high (shown in Fig. 3.43)

 4. 2.60 m by 2.00 m high

 5. 2.60 m by 2.70 m high (door)


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There were four fire sizes: 5.5 MW, 6.9 MW, 8.6 MW, and 10.3 MW. In all, 19 experiments were conducted,
with the exception of the 10.3 MW fire with Window 1. In each experiment, heat flux measurements were
made 0.5 m, 1.5 m, 2.5 m, and 3.5 m above the top of the door/window.




                                             m
                                            8
                                         4.




                                                                          m
                                                                          4
                                                                        6.
                                  1 .0
                                         m
                                                                                                m
                                                                                           .5
                                                                                      10
                                  1 .0
                                         m

                                  1 .0
                                         m
                                  0 .5
                                         m




                                                          2 .7
                                                                 m


                 Variable Opening Size




                            Figure 3.43: Geometry of the NRCC Facade Experiments.



3.67     NRCC Smoke Tower Experiments
In 2006 and 2007, the National Research Council of Canada (NRCC) conducted 10 fire experiments in a
10 story experimental facility in Almonte, Ontario to study smoke movement through the stair shaft to the
upper floors of the building. Four of these experiments utilized actual commodities as fuel, and six utilized a
propane burner. Four of the six propane fires were intended to reproduce the heat release of the commodity
fires, and these experiments (BK-R, CMP-R, CLC-I-R, and CLC-II-R) have been chosen for this guide.

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Details of the experiments are included in a master’s thesis and paper by Yan Wang [273, 274]. A description
of FDS simulations of the propane experiments not included in this guide is given by Hadjisophocleous and
Jia [275]. The analysis of the propane burner experiments discussed in this guide are based on the work of
Paul Tyson at Ulster University as part of his master’s thesis [276].
     The tower was designed as a test bed for the center core of a high-rise building. It includes a compart-
ment and corridor on each floor, a stair shaft, elevator shaft and service shafts [277]. Figure 3.44 displays the
geometry of the building as modeled in FDS. All walls and floor slabs are taken to be 0.2 m thick. The first
two floors are 3.4 m high, slab to slab. The upper eight floors are 2.4 m, slab to slab. The propane burner was
located on the second floor and the smoke flowed through open doors to the stair vestibule and stair shaft
itself. In the four experiments considered in this guide, the stair shaft was open on the fourth, sixth, eighth,
and tenth floors. The other floors were closed off to the stair shaft. The ventilation system was turned off.
A single door was opened on the first floor, and there were no other openings to the outside save natural
building leakage. The referenced documents do not explicitly include estimates of leakage areas, but for the
sake of modeling, the leakage for each floor was concentrated at a single 1.5 m by 1.5 m exterior window.
The leakage area was specified based on an estimate of a “loose” building exterior in NFPA 92 [278]. This
is a very important consideration in modeling because it determines the extent to which the smoke rising up
the stair shaft encounters an opposing downward flow.
     Thermocouples and gas analyzers were placed at various locations to measure temperature and O2 , CO2
and CO concentrations. A vertical array of TCs was located in the fire compartment and the doorway leading
into the stair shaft on the second floor. TCs were also placed at each floor in the stair shaft. The gas analyzers
were located in the stair shaft at the second floor, just outside the door to the fire compartment.




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  1. Building Supply Shaft
  2. Building Return/Exhaust Shaft
  3. Smoke Shaft                                         1    7        8    9
  4. Elevator/Stair Vestibule Supply Shaft                                         Burn
  5. Stair Supply Shaft                                                            Area
  6. Stair Exhaust Shaft                     5,6                           4 3
                                                         2
  7. Service Shaft
  8. Elevator Shaft
  9. Elevator Vestibule
                                                     Stair Vestibule

                                                                  SECTION F-F
                 9.3 m
                      C
                                                                                           2.4 m




28.0 m




                                             F                                                F
                                                                                   3.4 m




                       C
                                                                  SECTION C-C


                   Figure 3.44: Geometry of the NRCC Smoke Tower Experiments.



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3.68     NRL/HAI Wall Heat Flux Measurements
Back, Beyler, DiNenno and Tatem [279] measured the heat flux from 9 different sized propane fires set
up against a wall composed of gypsum board. The experiments were sponsored by the Naval Research
Laboratory and conducted by Hughes Associates, Inc., of Baltimore, Maryland. The square sand burner
ranged in size from 0.28 m to 0.70 m, and the fires ranged in size from 50 kW to 520 kW.


3.69     Phoenix LNG Fires
In 2009, Sandia National Laboratories conducted two large-scale LNG pool fire experiments in a 120 m
diameter pond in its Area III test complex in Albuquerque, New Mexico [280]. The fires were approximately
21 m and 83 m in diameter. Measurements of flame height, smoke production, burn rate, and heat flux were
performed. A photograph of Test 2 is shown in Fig. 3.45.

Modeling Notes
The simulation of Test 1 uses 1 m grid cells, while Test 2 uses 2 m cells. The computational domain for both
simulations forms the shape of a cross that includes the fire and the radiometers to the north, south, east and
west. Methane is the specified fuel, with a soot yield of 0.01 and radiative fraction of 0.25. Both values are
estimates.
    There are 1200 solid angles, rather than the default 100, used in the radiative transport equation to
uniformly distribute the fire’s radiative energy outward approximately 250 m. The value of 1200 is based
on an assessment of the contours of the integrated radiative intensity. Also, both wide and narrow-angle
radiometer measurements were made at distances ranging from 100 m to 250 m from the pool center, with
various inclination angles. For the narrow-angle measurements, FDS chooses the nearest discrete radiation
angle to represent the narrow-angle heat flux. At such large distances, it is difficult to “find” an angle that
emanates from the fire to the location of the device.

Flame Height Results: Sec. 6.2.3

Flame Tilt Results: Sec. 6.3

Heat Flux Results: Sec. 12.2.10




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                Figure 3.45: Photograph of Phoenix LNG Fire Test 2 [280].


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3.70     Pool Fires
The “Pool Fires” cases include a variety of flammable and non-flammable liquid evaporation experiments:

 1. A variety of pure liquid pool fires compiled by Gottuk and White [281] based on earlier compilations
    such as that by Mudan [282]. The liquids are listed in Table 3.32.

 2. A single experiment involving the evaporation of water under a 50 kW/m2 heat flux in the ASTM E2058
    fire propagration apparatus, reported in Ref. [151].

 3. Two heptane pool fire experiments described in Ref. [237].

Modeling Notes
Because there are few details concerning the burning rates cited by Gottuk and White [281], the pans for
the fuels listed in Table 3.32, with the exception of water, are assumed to be 1 m square with a fuel depth of
10 cm.
     The simulations of the VTT heptane pool fires are performed in a 4 m by 4 m by 6 m domain with open
boundaries, and a circular pool with steel (one cell high and thick) lip. The pool surface is 1 m above the
floor.
     The burning rate of liquid hydrocarbon fuels has been found to correlate well with the ratio of the heat
of combustion, ∆hc , and the heat of gasification, ∆hg :
                                                                        Z Tb
                                               ∆hc
                                ṁ′′ = 0.001         ;    ∆hg = ∆hv +          c p dT                     (3.15)
                                               ∆hg                       T0

where ∆hv is the latent heat of vaporization, T0 is the initial temperature, Tb is the boiling temperature, and
c p is the specific heat of the liquid fuel. The heat of gasification is the amount of energy required to raise
the fuel from its initial temperature to its boiling temperature and evaporate it.
     Table 3.32 lists the liquid fuel properties used in the simulations. Note that the heats of vaporization are
evaluated at the liquid boiling temperature. The thermal conductivities, k, are found in Ref. [283], except
for butane, which is found in Ref. [284]. The heats of combustion, ∆hc , are computed in FDS based on the
heats of formation of the reactants and products listed in Ref. [285]. The heats of combustion account for
the presence of products of incomplete combustion, like CO and soot.
     The effective absorption coefficients. κ, for benzene and ethanol are based on curve fits to experimen-
tal data as explained in Appendix K of the FDS Technical Reference Guide. The absorption coefficient
for methanol presented in Appendix K is calculated with the assumption that the incoming radiation is
approximately blackbody radiation. The absorption coefficient for ethanol is calculated based on experi-
mentally determined spectrum of an ethanol flame. Since both methanol and ethanol flames are low sooting,
the blackbody radiation assumption is not correct. Instead it is assumed that the absorption coefficient for
methanol should be of similar magnitude as that for ethanol. For heptane, butane and acetone the absorption
coefficients are simple order of magnitude estimates.




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                                     Table 3.32: Liquid fuel properties.

                 ρ          cp           k        ∆hv        ∆hc       χr      yCO       ys      Tb        κ
 Fuel         kg/m3     kJ/(kg K)    W/(m K)     kJ/kg      kJ/kg              g/g      g/g      ◦C      m−1
               [286]      [287]       [283]      [284]     See text   [151]   [151]    [151]   [288]    See text
 Acetone        791        2.13        0.20       501       28555      0.27   0.003    0.014   56.15      100
 Benzene        874        1.74        0.14       393       33823      0.60   0.067    0.181   80.15      123
 Butane         573        2.28        0.12       385       44680      0.31   0.007    0.029     0        100
 Ethanol        794        2.44        0.17       837       27474      0.25   0.001    0.008   78.35    1534.3
 Heptane        675        2.24        0.14       317       43580      0.33   0.010    0.037   98.35     187.5
 Methanol       796        2.48        0.20      1099       20934      0.16   0.001    0.001   64.65     1500
 Water         1000        4.18        0.60      2260        N/A       N/A     N/A      N/A    100.0      140



3.71     PRISME Project
PRISME is the name of a fire test program conducted under the auspices of the Organization for Economic
Cooperation and Development, Nuclear Energy Agency (OECD/NEA). The experiments were conducted
at the French Institut de radioprotection et de sûreté nucléaire (IRSN) at Cadarache. A variety of experi-
ments were conducted to study ventilation effects, electrical cable failure, and leakage. The test reports are
not publicly available, but an entire edition of Fire Safety Journal documented various experimental and
modeling studies [289].
     The PRISME DOOR series consisted of six experiments, five of which involving two compartments
connected by an open door (Tests 1-5) and one involving a third compartment (Test 6). The compartments
were 5 m by 6 m by 4 m high. A well-instrumented ventilation system supplied air and exhausted combus-
tion products at specified rates, but the thermal expansion of the gases caused these rates to change, a phe-
nomenon that was intended to test the ventilation capabilities of the models. Wahlqvist and van Hees [290]
modeled these experiments using FDS and contributed the input files for the cases documented in this guide.
     The PRISME LEAK series consisted of experiments where smoke and heat flowed through various
types of leaks between the test compartments. Instrumented cables were placed at various locations, and gas
and solid phase temperatures were measured. FDS was used to simulate the heating up of the cables using
the measured gas temperature several centimeters from the cables [291].
     While not technically a part of the PRISME project, one of a series of experiments [292] conducted
within the same facility was analyzed by Beji and Prétrel [293]. In this experiment, two water spray nozzles
were activated during a fire in a sealed, mechanically-ventilated compartment. The change in pressure and
ventilation flow rates induced by the water spray can be used to assess the amount of energy extracted by
the water droplets.


3.72     Purdue Flames
A turbulent buoyant diffusion flame is established on a diffuser burner with an exit diameter of 7.1 cm.
The diverging angle of the burner is 7◦ such that the gaseous fuel (methane) is decelerated and forms a
uniform velocity distribution at the burner exit [30]. The methane (CH4) mass flow rate (84.3 mg/s) The
buoyant diffusion flame burns in a quiescent atmospheric pressure environment. The flame is surrounded by
a screened enclosure to minimize flame disturbance. The Froude number of the flame is 0.109 and matches
that of a 7.1 cm diameter liquid toluene pool fire [30, 32]. The total heat release rate of the methane flame
is 4.2 kW under the assumption of complete combustion, and the visible flame height is approximately

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36 cm [30]. Measured and computed vertical and horizontal velocity, mixture fraction, and temperature
values for this flame have been reported by Xin et al. [30, 294] and Zhou et al. [32, 295]. The mean
temperatures have been inferred from the measured species concentrations [30] by assuming an adiabatic
flame. The interdependencies between species concentrations, temperature and specific heat have been
ignored for determining the mean temperature.


3.73     Ranz Marshall Droplet Experiments
In 1952, Ranz and Marshall performed a set of droplet evaporation experiments that ultimately led to the
development of Nusselt and Schmidt number correlations for droplets [296]. The experiments documented
in Figure 8 and Tables 1-4 in the paper have been modeled with FDS. For Figure 8 of the paper, a 1043 µm
water droplet was suspended in still dry air at an ambient temperature and pressure of 24.9 ◦ C and 98792 Pa,
and its diameter was measured over time. For the experiments in Tables 1-4 in the paper, droplets were
suspended in a dry air stream. Experimental parameters include the fluid type (water or benzene), initial
droplet diameter, ambient temperature, and velocity of the air stream. The evaporation rate in the simulations
is calculated based the time required for the droplet to decrease in size to 350 µm, the minimum reported
diameter. Table 3.33 summarizes the experiments.

               Table 3.33: Summary of Ranz and Marshall droplet evaporation experiments.

               Table   Test     Fluid     Diameter    Air Temperature     Pressure    Velocity
                No.    No.                 (µm)             (◦ C)           (Pa)       (m/s)
                 1      1       Water       954             19.9           99059        2.46
                 1      2       Water       954             24.6           98659        2.1
                 1      3       Water       954             24.9           98659       1.723
                 1      4       Water       954             25.3           98659       1.532
                 1      5       Water       954             25.4           98659       1.197
                 1      6       Water       954             24.3           98392       0.952
                 1      7       Water       954             24.4           98392       0.762
                 1      8       Water       954             24.5           98392       0.571
                 1      9       Water       954             24.5           98392       0.571
                 1      10      Water       954             24.6           98392       0.285
                 1      11      Water       954             24.7           98392      0.1513
                 1      12      Water       954             24.8           98392      0.1718
                 1      13      Water       954             24.9           98392      0.0841
                 1      14      Water       954             25.0           98392      0.0337
                 1      15      Water       954             23.2           98392        2.86
                 1      16      Water       954             23.6           99459        2.67
                 1      17      Water       954             23.7           99459        2.28
                 1      18      Water       954             24.0           99459        3.06
                 1      19      Water       954             24.9           98792         0
                 2      1       Water       950             90.0           98792        2.3
                 2      2       Water       950             77.5           98792        1.1
                 2      3       Water       950             78.7           98792        1.1
                 2      4       Water       950             78.7           98792        1.1
                 2      5       Water       950             84.0           98792        1.83
                 2      6       Water       950             82.5           98792        1.14


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                                          Table 3.33: Continued

              Table    Test     Fluid     Diameter    Air Temperature     Pressure   Velocity
               No.     No.                 (µm)             (◦ C)           (Pa)      (m/s)
                2       7      Water        950             83.0           98792       1.14
                2       8      Water        950             66.4           98792       0.55
                2       9      Water        950             71.4           98792      0.176
                3       1      Water        850            115.0           98792       1.84
                3       2      Water        710            115.0           98792       1.84
                3       3      Water        560             85.0           98792      0.188
                3       4      Water        460             85.0           98792      0.188
                3       5      Water        960            221.0           98792       1.84
                3       6      Water        580            221.0           98792       1.84
                3       7      Water        880            193.0           98792       0.77
                3       8      Water        600            193.0           98792       0.77
                3       9      Water       1010            125.0           98792       0.21
                4       1     Benzene      1100             24.4           97592      0.051
                4       2     Benzene      1100             26.4           97592      0.153
                4       3     Benzene      1100             27.1           98125      0.289
                4       4     Benzene      1100             17.9           98525      0.748
                4       5     Benzene      1100             17.5           98525      1.124
                4       6     Benzene      1100             17.7           97725       1.5
                4       7     Benzene      1100             20.7           97725      0.188
                4       8     Benzene      1100             20.4           97725      0.283
                4       9     Benzene      1100             19.9           97725      0.755
                4       10    Benzene      1100             20.0           97725       1.13
                4       11    Benzene      1100             20.2           97725      1.516
                4       12    Benzene      1100             20.2           97725       1.9
                4       13    Benzene      1100             20.4           97725       2.88


3.74     Restivo Compartment Air Flow Experiment
Velocity measurements for forced airflow within a 9 m by 3 m by 3 m high compartment (Fig. 3.46) were
made by Restivo [297]. These measurements have been widely used to validate CFD models designed
for indoor air quality applications. It was also used to assess early versions of FDS [19, 20, 38]. In the
experiment, air was forced into the compartment through a 16.8 cm vertical slot along the ceiling running
the width of the compartment with a velocity of 0.455 m/s. A passive exhaust was located near the floor on
the opposite wall, with conditions specified such that there was no buildup of pressure in the enclosure. The
component of velocity in the lengthwise direction was measured in four arrays: two vertical arrays located
3 m and 6 m from the inlet along the centerline of the room, and two horizontal arrays located 8.4 cm above
the floor and below the ceiling, respectively. These measurements were taken using hot-wire anemometers.
While data on the specific instrumentation used are not readily available, hot-wire systems tend to have
limitations at low velocities, with typical thresholds of approximately 0.1 m/s.




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                                    m
                               68
                        0 .1




                                                                           m
                                                                           0
                                                                        9.
                                                                                                       m
                                                                                                3 .0




                                                                                8m
                                                                          0.4




                                                                                            m
                                                                                            0
                                                                                          3.
                                        Figure 3.46: Geometry of Restivo’s compartment.



3.75     Sandia Methane Burner
A series of 3 m diameter methane gas burner experiments were conducted in the Fire Laboratory for Ac-
creditation of Models and Experiments (FLAME) facility in the Thermal Test Complex at Sandia National
Laboratories [280]. The test chamber (Fig. 3.47) is cylindrical with an inner diameter of 18.3 m and a
height of 13.1 m at the perimeter. The ceiling slopes upwards to a height of 15.2 m at the center. The
perimeter walls are made of steel channel sections that are water-cooled. The gas burner is surrounded by a
12.7 m diameter steel spill plate. Beyond the spill plate is steel grating through which air can flow from the
basement.

Modeling Notes
The simulations of the 3 m methane fires are done with 10 cm grid resolution in an open domain. That is,
the walls of the cylindrical test cell are not modeled.
     The radiative fraction is specified at 0.35 rather than the default 0.20 for methane because the large fire
is far more sooty and luminous than a small methane flame. 600 solid angles are used to solve the radiative
transport equation rather than the default 100 so as to resolve the radiative flux 9 m from the fire.

Flame Height Results: Sec. 6.2.3
Heat Flux Results: Sec. 12.2.11


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                           Figure 3.47: Cutaway view of the Sandia FLAME test cell.


3.76     Sandia Plume Experiments
The Fire Laboratory for Accreditation of Models by Experimentation (FLAME) facility [298, 299] at Sandia
National Laboratories in Albuquerque, New Mexico, is designed specifically for validating models of buoy-
ant fire plumes. The plume source is 1 m in diameter surrounded by a 0.5 m steel ‘ground plane’. O’Hern
et al. [298] studied a turbulent buoyant helium plume in the FLAME facility. PIV/PLIF techniques are used
to obtain instantaneous joint scalar and velocity fields and thus obtain Favre averaged velocity fields. Ear-
lier work to model this experiment has been performed by DesJardin et al. [300]. Tieszen et al. [301, 302]
studied methane and hydrogen pool fires.

Modeling Notes
The data in the experimental repository for the helium plume is Favre averaged. The “helium” was actually
a mixture of 96.4 vol % (0.7075 mass fraction) helium, 1.7 vol % (0.1809 mass fraction) acetone, and 1.9 vol
% (0.1116 mass fraction) oxygen; this mixture is referred to as the “plume fluid” [298]. The data for “mass
fraction” in the experimental repository is for Favre averaged plume fluid mass fraction. To account for any
effect of differential diffusion, we separately transport helium, acetone, and oxygen in the simulations. Then
the plume fluid mass fraction is obtained using the conversion Yplume fluid = Yacetone /0.1809.
    Note that the velocity fields in the methane and hydrogen fire plumes were obtained directly from PIV
and are therefore ensemble averaged [301, 302].




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3.77     Scaling Pyrolysis
FDS has a scaling-based pyrolysis model which dynamically scales a reference heat release rate per unit area
curve based on the energy absorbed on the surface. These cases include cone calorimeter experiments con-
ducted at multiple heat transfer levels. The robustness of the approach is evaluated using cone calorimeter
data for 166 materials available in public datasets. These materials include:

 1. Fifteen materials from studies conducted by Jensen Hughes, Inc. (JH) located in Baltimore, MD, USA
    [230, 233].

 2. Eight materials from the U.S. Federal Aviation Administration (FAA) Polymers experiments [207, 303].

 3. Two materials from the Aalto Wood experiments conducted at Aalto University in Finland [145].

 4. Seventy-one materials from the material testing database provided by the Fire Safety Research Institute
    (FSRI) at the UL Research Institutes [221].

 5. Eight materials from the Forest Products Laboratory (FPL) of the U.S. Department of Agriculture
    database [219].

 6. Sixty-one materials from the Research Insitutes of Sweden (RISE) database [304].

Table 3.34 summarizes the materials by source and composition category. The polymers category includes
pure polymers, polymer blends, polymers with coating (e.g., scratch resistance), and polymers with non-
fibrous additives. The wood material category includes natural wood species and wood-based products such
as plywood, hardboard, and particleboard (with and without fire resistant treatment). The mixtures category
includes polymers with fibrous additives, multi-layered materials, and assemblies. The other material cate-
gory includes other natural and synthetic materials such as asphalt shingles, cardboard, rubbers, felts, and
gypsum wallboards. Approximately half of the materials are polymers, with the remaining half split across
the other three material categories.

                                    Table 3.34: Summary of Materials

            Dataset            Mixtures     Others         Polymers    Wood-         Total
                                                                       Based
            Aalto Woods        0            0              0           2             2
            FAA Polymers       0            0              8           0             8
            FPL Materials      0            0              0           8             8
            FSRI Materials     0            26             30          15            71
            JH Materials       5            1              4           5             15
            RISE Materials     37           3              16          5             61
            Total              42           30             58          35            165


Modeling Notes
Each case is modeled using the solid phase only solver in FDS. An empirical model is used to acccount for
the thermal exposure after ignition based on the estimated flame heat flux. The empirical model requires
soot yield, Ys , data. Materials which Ys was measured to be zero or less than zero were set to a minimum
value of 0.001 g/g. Materials for which data was not available in the original studies used a Ys of 0.05 g/g.

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    Note that the RISE and FPL databases did not provide ignition properties or information on specific
material conditioning or modifications to test procedures. For these materials, a thermal conductivity of 0.4
W/(m · K), specific heat capacity of 1.0 kJ/(kg · K), and an emissivity of unity was assumed. The ignition
temperature of each material was calculated based on measured time to ignitions across all tests using either
properties provided by the authors or these assumed properties. The ignition temperature is provided for
reference; however, in the models the time to ignition in each case is fixed based on experimental data (i.e.,
the validation focuses on what happens after ignition).


3.78     SETCOM Wall Condensation Experiments
The Separate Effect Test for Condensation Modeling (SETCOM) facility is located in Jülich, Germany
[305]. The facility is a recirculating duct containing a flow conditioning section for establishing tempera-
ture and humidity and a test section for performing condensation experiments. The condensation section
contains a 4 m or 5 m long, water-cooled, aluminum plate for its floor with the remaining walls adiabatic.
The condensation section can be tilted from horizontal to vertical to investigate the effects of orientation
on condensation. A set of five experiments were performed using the 4 m test section that measured the
condensation heat flux from hot, high humidity air. Temperature, humidity, and flow rate were varied.

Modeling Notes
Prior to running the validation cases, a set of five scoping simulations were run with no condensation. These
simulations used a short length of the test section with PERIODIC boundary conditions. These cases were
used to determine the rms velocity as a function of the mean velocity.
    The condensation simulations included a 4 m portion of duct upstream to allow for flow development,
and a 1 m portion of duct downstream to avoid boundary effects on the test section. The upstream boundary
condition was set with the conditions shown in the table below along with synthetic eddy method inputs
using the rms velocity determine from the scoping simulations. The outlet was defined as an OPEN boundary.
The experiments measured temperature 1.5 cm into the aluminum plate along the plate centerline. The test
measured condensation heat transfer was used with the inside plate temperature to derive the plate surface
temperature. The condensation plate TMP_FRONT was set to derived temperature as a function of length
along the plate.

       Table 3.35: Summary of SETCOM condensation experiments selected for model validation.


                               Test    Air Speed    Temperature     Humidity
                               No.       (m/s)         (◦ C)          (%)
                                1         0.8           86             69
                                2         1.8           84             57
                                3         3.7           79             59
                                4         4.2           78             71
                                5         5.2           75             71




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3.79     Shell LNG Fireball Experiments
Shell Research Ltd. commissioned four large-scale BLEVE (Boiling Liquid Expanding Vapor Explosion)
experiments using LNG (Liquified Natural Gas) at the DNV (Det Norske Veritas) GL test facility at Spadeadam,
UK [306]. For Experiments 2-4, the cylindrical containment vessel (Fig. 3.48) was constructed of 6 mm
stainless steel plates and had a length of approximately 6.5 m and diameter of approximately 1 m, with a
total volume of 5.055 m3 . The mass of LNG for Experiments 2-4 was approximately 681 kg, 1306 kg, and
1251 kg, respectively. The LNG consisted of 96.7 % methane, 3.0 % ethane, 0.2 % nitrogen, and 0.1 %
propane, by volume. The reservoir pressure for Experiments 2-4 was maintained at 13.01 bar, 6.07 bar, and
13.62 bar; and the temperatures were −115 ◦ C, −131 ◦ C, and −115 ◦ C, respectively.




Figure 3.48: (Top) Pressure vessel used in the Shell LNG Fireball experiments. (Bottom) Photographs of Tests 2, 3,
and 4, respectively [306].

     The rupture of the vessels was initiated by an explosive cutting charge designed to rip open the vessel
from end to end. Commercial fireworks were ignited just prior to the explosive charge to ensure ignition of
the released gas.

                                                       121
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    Radiometers and pressure transducers were positioned at various distances from the vessel. Only a
fraction of the data has been made public, including radiometer measurements at distances of 40 m, 70 m,
and 100 m.

Modeling Notes
The FDS simulations of the three BLEVE experiments are performed with 1 m resolution spanning a volume
that is 200 m long, 120 m wide, and 200 m high. The specified mass of LNG is injected uniformly for 0.2 s
at the ground over an area 4 m long and 4 m wide. An inert obstruction that is 1 m long by 1 m wide and 1 m
tall is suspended 1 m above the spill region to represent the remains of the containment vessel. No attempt
is made to model the destuction of the vessel or the subsequent spill of LNG.
     Approximately 600 angles are used in the radiative transport solver rather than the default 100. A
radiative fraction of 30 % is used, rather than the default of 20 % for methane.

Heat Flux Results: Sec. 12.2.12


3.80     Sippola Aerosol Deposition Experiments
Mark Sippola, a doctoral student at the University of California, Berkeley, measured aerosol deposition
velocities for various sizes of monodisperse fluorescent particles and various air velocities in a duct [307,
308]. The experimental facility consisted of a duct loop with a section for injecting fluorescent aerosol
particles. The loop contained four measurement sections with two sections located after a long segment of
straight duct such that fully-developed flow profiles existed. The experiments considered here include tests
with measurements in the fully-developed flow test sections. Tests included 16 test for straight smooth steel
duct and 15 tests in a straight duct lined with insulation. Based upon pressure drop measurements made in
the duct, the roughness of the insulated duct was estimated as 1.5 mm. Both ducts had dimensions of 15 cm
by 15 cm. The particle diameters were nominally 1 µm, 3 µm, 5 µm, 9 µm, and 16 µm. The air velocities
in the duct were nominally 2.2 m/s, 5.3 m/s, and 9.0 m/s. In each test section, a total of twelve panels (20 cm
by 10 cm) were cut from the duct section to measure the amount of particles deposited to the duct surfaces;
four panels each from the duct ceiling, wall, and floor surfaces. Fluorescent measurement techniques and
aerosol concentration measurements were used to calculate the deposition velocities of the particles to duct
surfaces (ceiling, wall, and floor) in each of the two straight duct sections where the turbulent flow profile
was fully developed. The experiments are summarized in Table 3.36.

Modeling Notes
FDS treats smoke particulate and aerosols in a similar way to other gaseous combustion products, basically
a tracer gas whose production rate is a fixed fraction of the fuel consumption rate. However, there is an
option in the model to allow smoke or aerosols to deposit on solid surfaces, thus reducing its concentration
in the product stream. The particle deposition velocity, udep , is calculated by

                                                    J1 + J2 + J3 + J4
                                           udep =                                                       (3.16)
                                                         4 Cavg

where J1 through J4 are the deposition fluxes (kg/(m2 s)) for duct panels 1 through 4 given by
                                                          md
                                                    J=                                                  (3.17)
                                                         Ad ∆t

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where md is the mass of particles on the duct panel (kg), Ad is the area of the duct panel (m2 ), and ∆t is the
duration over which the aerosol deposits onto the panel (s). Cavg is the average aerosol concentration in the
duct test section (kg/m3 ) and is given by
                                                 Cupstream +Cdownstream
                                        Cavg =                                                          (3.18)
                                                            2




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  Table 3.36: Summary of Sippola aerosol deposition experiments selected for model validation.


                    Test   Air Speed   Particle Diameter   Particle Density
                    No.      (m/s)           (µm)              (kg/m3 )
                     1        2.2              1.0               1350
                     2        2.2              2.8               1170
                     3        2.1              5.2               1210
                     4        2.2              9.1               1030
                     5        2.2              16                950
                     6        5.3              1.0               1350
                     7        5.2              1.0               1350
                     8        5.2              3.1               1170
                     9        5.4              5.2               1210
                     10       5.3              9.8               1030
                     11       5.3              16                950
                     12       9.0              1.0               1350
                     13       9.0              3.1               1170
                     14       8.8              5.4               1210
                     15       9.2              8.7               1030
                     16       9.1              15                950
                     17       2.2              1.0               1350
                     18       2.2              3.0               1170
                     19       2.2              5.3               1190
                     20       2.2              8.4               1090
                     21       2.2              13                960
                     22       5.3              1.0               1350
                     23       5.2              2.9               1170
                     24       5.2              4.9               1190
                     25       5.3              8.2               1090
                     26       5.3              13                960
                     27       8.9              1.0               1350
                     28       8.7              2.8               1170
                     29       8.8              5.0               1190
                     30       8.9              8.4               1090
                     31       8.9              13                960




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3.81     Smyth Slot Burner Experiment
Kermit Smyth et al. conducted diffusion flame experiments at NIST using a methane/air Wolfhard-Parker
slot burner. The experiments are described in detail in Refs. [309, 310]. The Wolfhard-Parker slot burner
consists of an 8 mm wide central slot flowing fuel surrounded by two 16 mm wide slots flowing dry air with
1 mm separations between the slots. The slots are 41 mm in length. Measurements were made of all major
species and a number of minor species along with temperature and velocity. Experimental uncertainties
have been reported as 5 % for temperature and 10 % to 20 % for the major species.

Modeling Notes
A two-step combustion scheme (a modified version of the mechanism by Andersen et al. [311]) is used to
simulate the Smyth Slot Burner Experiment. A 2D DNS calculation is run at two different grid resolutions:
0.250 mm and 0.125 mm. In the modified mechanism, the hydrocarbon/oxygen reaction to CO is assumed
to be infinitely fast (mixed is burnt) to avoid complications of modeling ignition. The reversible CO to
CO2 reaction is modeled with Arrhenius kinetics. As discussed by Westbrook and Dryer [312], the kinetic
constants for the reduced CO mechanism may be model dependent. Here, the Arrhenius constant for the
forward CO to CO2 reaction is tuned to match the Smyth experimental data.
    A second set of simulations is run at the same two spatial resolutions, but in these cases both the first
and second reactions are infinitely fast. However, the first reaction, where fuel is converted to CO and
H2 O, proceeds before the second, where the CO is converted to CO2 . That is, the reactions are run serially
rather than in parallel to illustrate that while both reactions are relatively fast compared to the mixing time
scale, the first reaction is faster than the second. This assumption breaks down when the mixing time scale
drops below approximately 3 × 10−4 s, which is on the order of δ /sL , the flame thickness divided by the
laminar flame speed. For this reason, a lower limit on the time-scale (TAU_CHEM=3E-4) is imposed. This
same modeling strategy is used in the large eddy simulations of the NIST Reduced Scale Enclosure (RSE)
experiments of 1994 (Sec. 3.53.1), RSE 2007 (Sec. 3.53.2), Full-Scale Enclosure (FSE) 2008 (Sec. 3.53.3),
UMD Line Burner experiments 3.93, and Waterloo Methanol Experiments (Sec. 3.104). Note that in these
LES simulations, the parameter TAU_CHEM is irrelevant—it is only needed when the grid resolution is on
the order of 0.1 mm or less.
    Comparisons of the simulations with measurements can be found in Sec. 9.5.1.


3.82     RISE Materials
The Research Insitutes of Sweden (RISE) maintains a database of public measurement data from fire tests
in various method and areas as well as from specific research projects [304]. The database contains cone
calorimeter experiments from 156 combinations of materials and different thicknesses. A total of 74 ma-
terials tested at multiple heat fluxes with with sufficient information on the materials tested are included in
validation of the scaling-based pyrolysis model.

Modeling Notes
This database does not provide thermal properties of the materials. Thermal conductivity, specific heat
capacity, and ignition temperature for these materials are specified based on data available in the litera-
ture [151].




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3.83     SP Adiabatic Surface Temperature Experiments
In 2008, three compartment experiments were performed at SP Technical Research Institute of Sweden un-
der the sponsorship of Brandforsk, the Swedish Fire Research Board [313]. The objective of the experiments
was to demonstrate how plate thermometer measurements in the vicinity of a simple steel beam can be used
to supply the boundary conditions for a multi-dimensional heat conduction calculation for the beam. The
adiabatic surface temperature was derived from the plate temperatures.
     The experiments were performed inside a standard compartment designed for corner fire testing (ISO
9705). The compartment is 3.6 m deep, 2.4 m wide and 2.4 m high and includes a door opening 0.8 m by
2.0 m (Fig. 3.49). The room was constructed of 20 cm thick light weight concrete blocks with a density of
600 kg/m3 ± 100 kg/m3 . The heat source was a gas burner run at a constant power of 450 kW. The top of
the burner, with a square opening 30 cm by 30 cm, was placed 65 cm above the floor, 2.5 cm from the walls.
A single steel beam was suspended 20 cm below the ceiling along the centerline of the compartment. There
were three measurement stations along the beam at lengths of 0.9 m (Position A), 1.8 m (Position B), and
2.7 m (Position C) from the far wall where the fire was either positioned in the corner (Tests 1 and 2), or the
center (Test 3). The beam in Test 1 was a rectangular steel tube filled with an insulation material. The beam
in Tests 2 and 3 was an I-beam. A diagram of the room used in Test 2 is displayed in Figure 3.49.
     A second series of experiments involving plate thermometers was carried out in 2011 [314]. A 6 m long,
20 cm diameter vertical steel column was positioned in the center of 1.1 m and 1.9 m diesel fuel and 1.1 m
heptane pool fires. Gas, plate thermometer, and surface temperatures were measured at heights of 1 m, 2 m,
3 m, 4 m, and 5 m above the pool surface. These experiments are notable because the column is partially
engulfed in flames.
     A third series of experiments involving plate thermometers was conducted in 2015 [315]. A simple
compartment with a single door was constructed and instrumented primarily with plate thermometers. The
compartment was 2.7 m long, 1.8 m wide, and 1.8 m tall, with a 0.6 m by 1.5 m door centered on one
of the short walls. The PTs were affixed to the walls. The 12 experiments were conducted with four
different wall linings. In Series A, the compartment was lined with a 10 cm thick light concrete block. In
Series B, the compartment was lined with a 5 cm thick layer of insulation backed by a 3 mm thick plate
of steel. In Series C, the compartment was lined with an uninsulated 3 mm thick steel plate. In Series D,
the compartment was lined with a 3 mm thick steel plate backed by a 5 cm thick layer of insulation (the
opposite of Series B). The fires were fueled by a 0.3 m by 0.3 m propane burner located in the center of
the room except for Test A3, where it was centered on the back wall. For most of the experiments, the heat
release rate was 1000 kW, except for A2 and C1, which were 500 kW, and A4 and C3, which employed
linear ramp-ups to 1250 kW.




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               Ceiling removed




                                                                                            m
                                                                                           40
                                                                                        2.
                                                                    0 .2
                                                                           0m




                                       m
                                      60
                                   3.
                                       I-Beam
                              Web: 9 mm thick
                           Flange: 15 mm thick


                                                                                                             0m
                                                                                                      2 .4
                                                                                Gas Burner



                                                          m
                           0 .8                                                 30 cm by 30 cm

                                                         20
                                  0m
                                                       0.                       65 cm above floor
                                                                                2.5 cm from corner




                                           2 .0
                                                  0m



                                                                                       Note: Door and I-beam
                                                                                       are centered in the
                                                                                       compartment




                         Figure 3.49: Geometry of the SP/AST compartment for Test 2.


3.84     SP Wood Crib Experiments
Hansen and Ingason burned piles of reduced-scale wood pallets in a reduced-scale wind tunnel to develop a
simple model that predicts the heat release rate of multiple objects separated by varying distances [316, 317].
The tunnel was 10 m long with a rectangular cross section 0.6 m wide by 0.4 m tall. Four piles of 1:4 scale
pallets were placed at various positions in the tunnel. Each pile of 5 pallets was 0.3 m long, 0.2 m wide and
0.18 m tall. The fire was ignited on the windward side of the upwind pile with a 3 cm by 3 cm by 2.4 cm
block of fiberboard soaked in 9 mL of heptane. The HRR was measured, along with temperature, heat flux,
and oxygen concentration at various locations.

Modeling Notes
The FDS simulations of these experiments were originally performed by Janardhan and Hostikka [318, 163]
using a variety of pyrolysis models in which the pallets are partially resolved. Here, however, the piles
of pallets are modeled as an array of Lagrangian particles in lieu of solid obstructions so that a relatively
coarse grid of 4 cm can be used. The modeling strategy is very similar to that used for vegetation in wildfire

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simulations. The wood planks are characterized as a homogenous collection of flat disks with a surface area
to volume ratio σ = 460 m−1 and a packing ratio β = 0.42. The packing ratio is the bulk crib mass per unit
volume divided by the density of the wood, m′′′ /ρwood . The average mass of a pile of pallets is 1.7 kg.
    The radiation absorption coefficient is taken as κ = Cs σ β , where the shape factor, or ratio of plate
surface area to projected area, is Cs = 0.25. The absorption coefficient, κ, also appears in the formula
for wind drag, where the pressure drop, ∆p, over a distance, L, is given by ∆p/L = 0.5ρCd κu2 . The drag
coefficient, Cd = 2.8, was measured by Falkenstein-Smith et al. [176] in a study of vegetation. Its application
to wood cribs has not been validated.
    The wood is assumed to pyrolyze, forming C3.4 H6.2 O2.5 [66] with a heat of combustion of 18.1 MJ/kg [316],
according to the following reaction scheme [163]:
                                                      M          1
                               Wet Wood →                H2 O +     Dry Wood                             (3.19)
                                                     1+M        1+M
                               Dry Wood → νchar Char + (1 − νchar ) Fuel Gas                             (3.20)

                                                                                                         (3.21)

The reaction rates are given by [163]:
                                                          3.31                    
                                                 ρs,H2 O                       EH2 O
                                rH2 O =                            AH2 O exp −                           (3.22)
                                                  ρs,0                          RT
                                                          1.69                    
                                                 ρs,wood                       Ewood
                               rwood =                             Awood exp −                           (3.23)
                                                  ρs,0                          RT

The equation governing the temperature of the solid is

                             ∂T
                      ρs c      = −ρs,0 (∆hH2 O rH2 O + ∆hwood rwood ) + ∇ · q̇′′c + ∇ · q̇′′r           (3.24)
                             ∂t
The parameters for the pyrolysis model are listed in Table 3.37.




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                           Table 3.37: Parameters for SP Wood Cribs simulations [163].


                                    Property       Units                Value
                                    M              kg/kg                0.016
                                    ρH2 O          kg/m3                1000
                                    cH2 O         kJ/kg/K                4.18
                                    kH2 O         W/m/K                  0.1
                                    AH2 O                            9.57 × 1022
                                    EH2 O          J/mol               136000
                                    ∆hH2 O         kJ/kg                2500
                                    ρwood          kg/m3                 393
                                    cwood         kJ/kg/K      0.85 + 0.00241(T − 20)
                                    kwood         W/m/K        0.07 + 0.00038(T − 20)
                                    εwood                                0.95
                                    Awood                              141000
                                    Ewood          J/mol                89700
                                    ∆hwood         kJ/kg                 250
                                    ρchar          kg/m3                 135
                                    cchar         kJ/kg/K          (see Ref. [163])
                                    kchar         W/m/K        0.11 + 0.00031(T − 20)
                                    εchar                                1.0
                                    νchar           g/g                 0.195




3.85      Steckler Compartment Experiments
Steckler, Quintiere and Rinkinen performed a set of 55 compartment fire tests at NBS in 1979. The com-
partment was 2.8 m by 2.8 m by 2.13 m high5 , with a single door of various widths, or alternatively a single
window with various heights. A 30 cm diameter methane burner was used to generate fires with heat re-
lease rates of 31.6 kW, 62.9 kW, 105.3 kW and 158 kW. Vertical profiles of velocity and temperature were
measured in the doorway, along with a single vertical profile of temperature within the compartment. A
full description and results are reported in Reference [319]. The basic test matrix is listed in Table 3.38.
Note that the test report does not include a detailed description of the compartment. However, an internal
report6 by the test sponsor, Armstrong Cork Company, reports that the compartment floor was composed of
19 mm calcium silicate board on top of 12.7 mm plywood on wood joists. The walls and ceiling consisted of
12.7 mm ceramic fiber insulation board over 0.66 mm aluminum sheet attached to wood studs. A diagram
of the compartment is displayed in Fig. 3.50.




   5 The test report gives the height of the compartment as 2.18 m. This is a misprint. The compartment was 2.13 m high.
   6 Technical Research Report, Fire Induced Flows Through Room Openings - Flow Coefficients, Project 203005-003, Armstrong

Cork Company, Lancaster, Pennsylvania, May, 1981.


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                 Table 3.38: Summary of Steckler compartment experiments.


       Door    Door     HRR       Burner               Door    Door     HRR         Burner
Test   Width   Height     Q̇     Location       Test   Width   Height     Q̇       Location
        (m)     (m)     (kW)                            (m)     (m)     (kW)
 10    0.24     1.83     62.9     Center        224    0.74     0.92     62.9     Back Corner
 11    0.36     1.83     62.9     Center        324    0.74     0.92     62.9     Back Corner
 12    0.49     1.83     62.9     Center        220    0.74     1.83     31.6     Back Corner
 612   0.49     1.83     62.9     Center        221    0.74     1.83    105.3     Back Corner
 13    0.62     1.83     62.9     Center        514    0.24     1.83     62.9      Back Wall
 14    0.74     1.83     62.9     Center        544    0.36     1.83     62.9      Back Wall
 18    0.74     1.83     62.9     Center        512    0.49     1.83     62.9      Back Wall
 710   0.74     1.83     62.9     Center        542    0.62     1.83     62.9      Back Wall
 810   0.74     1.83     62.9     Center        610    0.74     1.83     62.9      Back Wall
 16    0.86     1.83     62.9     Center        510    0.74     1.83     62.9      Back Wall
 17    0.99     1.83     62.9     Center        540    0.86     1.83     62.9      Back Wall
 22    0.74     1.38     62.9     Center        517    0.99     1.83     62.9      Back Wall
 23    0.74     0.92     62.9     Center        622    0.74     1.38     62.9      Back Wall
 30    0.74     0.92     62.9     Center        522    0.74     1.38     62.9      Back Wall
 41    0.74     0.46     62.9     Center        524    0.74     0.92     62.9      Back Wall
 19    0.74     1.83     31.6     Center        541    0.74     0.46     62.9      Back Wall
 20    0.74     1.83    105.3     Center        520    0.74     1.83     31.6      Back Wall
 21    0.74     1.83    158.0     Center        521    0.74     1.83    105.3      Back Wall
 114   0.24     1.83     62.9   Back Corner     513    0.74     1.83    158.0      Back Wall
 144   0.36     1.83     62.9   Back Corner     160    0.74     1.83     62.9        Center∗
 212   0.49     1.83     62.9   Back Corner     163    0.74     1.83     62.9     Back Corner∗
 242   0.62     1.83     62.9   Back Corner     164    0.74     1.83     62.9      Back Wall∗
 410   0.74     1.83     62.9   Back Corner     165    0.74     1.83     62.9      Left Wall∗
 210   0.74     1.83     62.9   Back Corner     162    0.74     1.83     62.9      Right Wall∗
 310   0.74     1.83     62.9   Back Corner     167    0.74     1.83     62.9     Front Center∗
 240   0.86     1.83     62.9   Back Corner     161    0.74     1.83     62.9       Doorway∗
 116   0.99     1.83     62.9   Back Corner     166    0.74     1.83     62.9     Front Corner∗
 122   0.74     1.38     62.9   Back Corner                                     ∗ Raised burner




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                          2 .8
                                 0m                                      2 .8
                                                                                0m




                                                                                         2 .1
                                                                                                3m

                                       D




      Door/window of                      G
   various dimensions




                2.57 m           B                    C
                                                             Burner
                                                             Positions

                                                                                      n0.30 m


                1.41 m           D                    A                  E



                0.81 m                                F

                0.46 m                H
                0.22 m                                G


                          0.21 m           0.47 m   1.41 m           2.60 m




                 Figure 3.50: Geometry of the Steckler Compartment Experiments.



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3.86     SWJTU Tunnel Experiments
Fires fueled by methanol and propane ranging from 5.6 kW to 16.8 kW were conducted in a 1:20 reduced-
scale tunnel at Southwest Jiaotong University, Chengdu, China [320]. The tunnel was 0.45 m wide, 0.23 m
high and 20.8 m long. The burner was located at the center of the tunnel and both ends were open. Tempera-
tures and gas concentrations (i.e., O2 , CO and CO2 ) were measured. The results showed that both methanol
and propane fires self-extinguished in the 20.8 m long tunnel within approximately 10 min, except for the
5.6 kW methanol fire. The larger the heat release rate, the faster the self-extinction of the fire. The oxygen
concentrations in the 20.8 m long tunnel decreased to approximately 12 % except for the 5.6 kW methanol
fire, which remained well above the limiting oxygen concentration. Self-extinction was not observed for
fires of the same heat release rates in a 10 m long tunnel of the same cross section. The oxygen concentra-
tions in the 10 m long tunnel decreased to approximately 17 %. In the long tunnel with large fire sizes, the
smoke layer descended to the floor, inhibiting the supply of fresh air reaching the fire.


3.87     Theobald Hose Stream Experiments
Fire hose nozzle jets with nominal diameters of 1.3 cm up to 2.5 cm were studied over a range of operating
pressures and jet orientation angles. The maximum throw distance was recorded as well as the max height
of the ballistic arc and the distance to the max height. Details of the experiments are presented in [321].
In the paper, the primary breakup length is correlated as a function of Weber number (We) and Reynolds
number (Re) of the water jet.

Modeling Notes
FDS models liquid water by means of Lagrangian particles. This is the same model used to describe sprinkler
droplets. A key difference between sprinklers and hose streams, however, is that sprinkler nozzles purposely
atomize the water jet immediately as the water is introduced into the computational domain. To model
hose streams, FDS introduces two new parameters to the PART class: PRIMARY_BREAKUP_LENGTH and
PRIMARY_BREAKUP_DRAG_REDUCTION_FACTOR. The particles enter the domain and for the time period
before the particle has traveled the distance PRIMARY_BREAKUP_LENGTH, the particle drag coefficient is
multiplied by the specified PRIMARY_BREAKUP_DRAG_REDUCTION_FACTOR, which may be zero. In this
way, FDS can mimic the jet core, which experiences little to no drag before the jet goes unstable.
    To calibrate the FDS results (this case is a calibration exercise more than a validation), the PRIMARY_
BREAKUP_LENGTH was set to twice the value of Z (the value of 50 % jet breakup) in the paper and the
PRIMARY_BREAKUP_DRAG_REDUCTION_FACTOR was set to zero.


3.88     UL/NIST Vent Experiments
In 2012, the Fire Fighting Technology Group at NIST conducted experiments at Underwriters Laboratories
(UL) in Northbrook, Illinois, to assess the change in compartment temperature due to the opening of one
or two 1.2 m square ceiling vents [322]. Four experiments were conducted using a natural gas burner
in a 6.1 m by 4.3 m by 2.4 m compartment with a single door opening. The fires ranged in size from
500 kW to 2 MW, and the vents were opened and closed such that during the four experiments there were
31 discrete time intervals in which model predictions could be compared to quasi-steady conditions. The
compartment contained two vertical arrays of thermocouples, and the door and vents were instrumented
with thermocouples and bi-directional velocity probes. Only the thermocouple data has been used in the



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validation study. A diagram of the compartment is displayed in Figure 3.51. The major test parameters are
listed in Table 3.39.




                Note: Vent covers
                removed




                                                                                                                 m
                                                                                                                3
                                                                                                              4.
                                                                                       m
                                                                   m




                                                                                       3
                                                                   3
                                            m




                                                                                     1.
                                                                 1.
                                            1
                                          6.


                                                                                                  5m
                                                                                           0 .5




                                                                          m
                                                                          3
                                                                       1.
                                                                                                                                  m
                                                                                                                           2 .4




                                                                                 m
                                                                                 5
                                            m




                                                                              1.
                                           7
                                         1.




                                                            4m
                                                     0 .6
                                                                                                          m
                                                                                                  2 .1
         m
       76
     0.




                          0 .3
            m




                                 9m
         76
      0.




                                                                                                          m
                                                                                                   0 .9        0 .9
                                                                                                                      m
      Natural Gas Burner




                                      Figure 3.51: Geometry of the UL/NIST Experiments.




                                                                  133
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Table 3.39: Summary of UL/NIST Vent experiments. Note that the 31 “experiments” are actually discrete
time intervals during the course of four separate fires.


                 Exp.    End Time HRR          No. of    Exp.    End Time HRR          No. of
                 No.        (s)       (kW)     Vents     No.        (s)       (kW)     Vents
                                Fire 1                                  Fire 3
                    1      1215        430        0         14     453         476        0
                    2      1840        430        1         15     816         476        1
                    3      2168        430        2         16     1153        476        2
                    4      2474        430        0         17     1640       1002        0
                    5      2955       1011        0         18     1936       1002        1
                    6      3170       1011        1         19     2233       1002        2
                    7      3604       1011        2                     Fire 4
                    8      3840       1011        0         20     519        1011        0
                    9      4153       2188        0         21     967        1011        1
                   10      4284       2188        1         22     1325       1011        2
                                Fire 2                      23     1559        470        2
                   11      565        2144        0         24     1653        470        1
                   12      833        2144        1         25     2013        470        0
                   13      931        2144        2         26     2411        470        1
                                                            27     2910        470        2
                                                            28     3399       2188        2
                                                            29     3586       2188        0
                                                            30     3803       2188        1
                                                            31     4035       2188        2




3.89     UL/NFPRF Sprinkler, Vent, and Draft Curtain Study
In 1997, thirty-four heptane spray burner and five racked commodity experiments were conducted at the
Large Scale Fire Test Facility at Underwriters Laboratories (UL) in Northbrook, Illinois [323, 83]. The spray
burner experiments were divided into two test series. Series I consisted of 22 4.4 MW experiments. Series II
consisted of 12 10 MW experiments. The objective of the spray burner experiments was to characterize the
temperature and flow field for fire scenarios with a controlled heat release rate in the presence of sprinklers,
draft curtains, and smoke & heat vents.
     The Large Scale Fire Test Facility at UL contains a 37 m by 37 m (120 ft by 120 ft) main fire test
cell, equipped with a 30.5 m by 30.5 m (100 ft by 100 ft) adjustable height ceiling. The UL/NFPRF test
results (Series I) are summarized in Table 3.40. The UL/NFPRF test results (Series II) are summarized in
Table 3.41. The layout of the experiments is shown in Figs. 3.52, 3.53, and 3.54.

Ceiling: The ceiling was raised to a height of 7.6 m and instrumented with thermocouples and other mea-
    surement devices. The ceiling was constructed of 0.6 m by 1.2 m by 1.6 cm UL fire-rated Armstrong


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                                                       North Wall


                                                Adjustable Height Ceiling



                           26′


               20′ 11′′                                         67′ 1′′                                      12′
                                                         Draft Curtains

                                         104    97      90            65        61        57          53


                                                                           70        B         71                       120′
                                         103    96      89            64        60        56          52
                                                                                                               43
                                                                                                               44
                                                                           69        A         C               45
                                                                                                               46
                                                                                                                     100′
                                                                                                               47
                                         102    95      88            63        59        55          51       48
                                                                                                               49

                                                                           68        67        66

                                         101    94      87            62        58        54          50

                          71′ 2′′
                                                                  D
                                         100    93      86            83        80        77          74




                                         99     92      85            82        79        76          73
                                                                                               10′
                                                                                                           2′ 11′′
                                         98     91      84            81        78        75          72




                                    2′ 10′′                  2′




Figure 3.52: Plan view of the UL/NFPRF heptane spray experiments, Series I. The sprinklers are indicated by the solid
circles and are spaced exactly 10 ft apart. The number beside each sprinkler location indicates the channel number
of the nearest thermocouple. The vent dimensions are 4 ft by 8 ft. The boxed letters A, B, C and D indicate burner
positions. Corresponding to each burner position is a vertical array of thermocouples. Thermocouples 1–9 hang 7,
22, 36, 50, 64, 78, 92, 106 and 120 in from the ceiling, respectively, above Position A. Thermocouples 10 and 11 are
positioned above and below the ceiling tile directly above Position B, followed by 12–20 that hang at the same levels
below the ceiling as 1–9. The same pattern is followed at Positions C and D, with thermocouples 21–31 at C and
32–42 at D.




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                                                    North Wall




                                      F
                                                B


                                                A                                                               120′


                                                         C                                                  100′
                                      E
                                                                   D




                                                    South Wall


Figure 3.53: Plan view of the UL/NFPRF heptane spray experiments, Series II. The boxed letters A, B, C, D, E and
F indicate burner positions. The sprinklers are indicated by the solid circles and are spaced exactly 10 ft apart. The
vents are 4 ft by 8 ft.




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                                                      North Wall




                                                      South Wall


Figure 3.54: Plan view of the UL Large Scale Fire Test Facility with the layout of plastic commodity Test P-3. Tests
P-1 and P-2 did not include the draft curtains (dashed lines). The sprinklers (dots) were separated by exactly 10 ft. The
racks were located 30 ft south and 20 ft east of the position shown in Tests P-1, P-4, and P-5. The racks were located
10 ft south of the position shown in Test P-2. Each pallet load of boxed plastic commodity is represented by a square
subdivided into four smaller squares to depict the individual boxes. Pallets containing empty boxes are represented by
empty squares. Roof vents are represented by rectangles.




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                                    Heptane Spray Burner Test Series I
    Test    Burner            Vent             First       Total       Draft           Heat Release Rate
    No.      Pos.          Operation       Actuation (s) Actuations Curtains               MW @ s
     I-1      B             Closed              65           11        Yes                 4.4 @ 50
     I-2      B         Manual (0:40)           66           12        Yes                 4.4 @ 50
     I-3      B         Manual (1:30)           64           12        Yes                 4.4 @ 50
     I-4      C             Closed              60           10        Yes                 4.4 @ 50
     I-5      C         Manual (0:40)           72           9         Yes                 4.4 @ 50
     I-6      C         Manual (1:30)           62           8         Yes                 4.4 @ 50
     I-7      C        74◦ C link (DNO)         70           10        Yes                 4.4 @ 50
     I-8      B           ◦
                       74 C link (9:26)         60           11        Yes                 4.4 @ 50
     I-9      D        74◦ C link (DNO)         70           12        Yes                 4.4 @ 50
    I-10      D         Manual (0:40)           72           13        Yes                 4.4 @ 50
    I-11      D        74◦ C link (4:48)       N/A          N/A        Yes                 4.4 @ 50
    I-12      A             Closed              68           14        Yes                 4.4 @ 50
    I-13      A        74◦ C link (1:04)        69           5         Yes                 6.0 @ 60
    I-14      A         Manual (0:40)           74           7         Yes                 5.8 @ 60
    I-15      A         Manual (1:30)           64           5         Yes                 5.8 @ 60
    I-16      A           ◦
                       74 C link (1:46)        106           4         Yes                5.0 @ 110
    I-17      B           ◦
                      100 C link (DNO)          58           4          No                 4.6 @ 50
    I-18      C       100◦ C link (DNO)         58           4          No                 3.7 @ 50
    I-19      A           ◦
                      100 C link (10:00)        56           10         No                 4.6 @ 50
    I-20      A        74◦ C link (1:20)        54           4          No                 4.2 @ 50
    I-21      C           ◦
                       74 C link (7:00)         58           10         No                 4.6 @ 50
    I-22      D       100◦ C link (DNO)         60           6          No                 4.6 @ 50


Table 3.40: Results of Series I of the UL/NFPRF heptane spray experiments. Note that DNO means “Did
Not Open”. Also note, the fires grew at a rate proportional to the square of the time until a certain flow rate
of fuel was achieved at which time the flow rate was held steady. Thus, the “Heat Release Rate” was the
size of the fire at the time when the fuel supply was leveled off.


    Ceramaguard (Item 602B) ceiling tiles. The manufacturer reported the thermal properties of the material
    to be: specific heat 753 J/(kg·K), thermal conductivity 0.0611 W/(m·K), and density 313 kg/m3 .

Draft Curtains: Sheet metal, 1.2 mm thick and 1.8 m deep, was suspended from the ceiling for 16 of the
   22 Series I tests, enclosing an area of about 450 m2 and 49 sprinklers. The curtains were in place for all
   of the Series II tests.

Sprinklers: Central ELO-231 (Extra Large Orifice) uprights were used for all the tests. The orifice diameter
   of this sprinkler is reported by the manufacturer to be nominally 1.6 cm (0.64 in), the reference actuation
   temperature is reported by the manufacturer to be 74◦ C (165◦ F). The RTI (Response Time Index) and
                                                                         1               1
   C-factor (Conductivity factor) were reported by UL to be 148 (m·s) 2 and 0.7 (m/s) 2 , respectively [323].
   When installed, the sprinkler deflector was located 8 cm below the ceiling. The thermal element of the
   sprinkler was located 11 cm below the ceiling. The sprinklers were installed with nominal 3 m by 3 m
   (exact 10 ft by 10 ft) spacing in a system designed to deliver a constant 0.34 L/(s·m2 ) (0.50 gpm/ft2 )
   discharge density when supplied by a 131 kPa (19 psi) discharge pressure

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                           Heptane Spray Burner Test Series II (10 MW Fires)
      Test    Burner             Vent       Sprinklers    First      Last                Avg. Peak Temp.
      No.     Position        Operation      Opened    Activation Activation              ◦C        ◦F

      II-1       D        74◦ C link (DNO)      27        1:15       6:13                129.4    264.9
      II-2       D        All Open at Start     28        1:05       5:53                128.8    263.8
      II-3       A           ◦
                          74 C link (1:15)      12        1:08       4:00                101.8    215.2
      II-4       B        74◦ C link (1:48)     16        1:03       5:54                108.8    227.8
      II-5       D        74◦ C link (DNO)      28        1:10       7:07                130.0    266.0
      II-6       D        All Open at Start     27        1:10       5:21                127.5    261.5
      II-7       A             Closed           18        1:09       4:11                117.2    243.0
      II-8       B           ◦
                          74 C link (1:12)      13        1:10       3:34                107.7    225.9
      II-9       E        74◦ C link (DNO)      23        1:07       3:28                115.8    240.4
     II-10       F           ◦
                          74 C link (3:20)      19        1:14       3:01                108.4    227.1
     II-11       C        74◦ C link (DNO)      23        1:02       3:56                123.4    254.1
     II-12       C        All Open at Start     23        0:58       4:55                119.0    246.2


Table 3.41: Results of the UL/NFPRF heptane spray experiments, Series II. Note that all fires were ramped
up to 10 MW in 75 s following a t-squared curve.


Vent: UL-listed double leaf fire vents with steel covers and steel curb were installed in the adjustable
   height ceiling in the position shown in Figs. 3.52 and 3.53. The vent is designed to open manually or
   automatically. The vent doors were recessed into the ceiling about 0.3 m (1 ft).

Heptane Spray Burner: The heptane spray burner consisted of a 1 m by 1 m square of 1.3 cm pipe sup-
   ported by four cement blocks 0.6 m off the floor. Four atomizing spray nozzles were used to provide a
   free spray of heptane that was then ignited. For all but one of the Series I tests, the total heat release rate
   from the fire was manually ramped up following a “t-squared” curve to a steady-state in 75 s (150 s was
   used in Test I-16). The fire was ramped to 10 MW in 75 s for the Series II tests. The fire growth curve
   was followed until a specified fire size was reached or the first sprinkler activated. After either of these
   events, the fire size was maintained at that level until conditions reached roughly a steady state, i.e.,
   the temperatures recorded near the ceilings remained steady and no more sprinkler activations occurred.
   The heat release rate from the burner was confirmed by placing it under the large product calorimeter
   at UL, ramping up the flow of heptane in the same manner as in the tests, and measuring the total and
   convective heat release rates. It was found that the convective heat release rate was 0.65 ± 0.02 of the
   total.

Plastic Commodity: The Factory Mutual Research Corporation (FMRC) standard “Group A Plastic” test
    commodity served as the fuel for the rack storage experiments [324]. The cartoned plastic commodity
    consists of rigid crystalline polystyrene cups packaged in compartmented, single-wall, corrugated paper
    cartons. Each carton is a cube 0.53 m (21 in) on a side. Eight boxes comprise a pallet load. Two-way,
    slatted deck hardwood pallets support the loads. A pallet load weighs approximately 80 kg (170 lb),
    of which about 36 % is plastic, 35 % is wood, and 29 % is corrugated paper [324]. Each storage array
    consisted of a main (ignition) double-row rack at the center, flanked on two sides by single row target
    racks. The rows were separated by 8 ft wide aisles. Each of the two rows of the main array consisted of
    four 2.4 m (8 ft) long bays; a 0.15 m (6 in) flue separated the rows. Longitudinal flues of 0.2 m (7.5 in)
    were used to separate the pallets within a row. The overall loaded area of the double-row rack measured
    approximately 2.3 m (7.5 ft) wide by 10 m (33 ft) long. The racks were divided vertically into 4 tiers;

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    the overall loaded height was 5.8 m (19 ft). The fire was ignited with 2 standard igniters which consisted
    of 8 cm (3 in) long by 8 cm diameter cylinders of rolled cotton material, each soaked in 120 mL (4 oz)
    of gasoline and enclosed in a polyethylene bag. The rolls were placed against the carton surfaces in the
    first tier, just above the pallet. The igniters were lit with a flaming propane torch at the start of each test.

Instrumentation: The instrumentation for the tests consisted of thermocouples, gas analysis equipment,
    and pressure transducers. The locations of the instrumentation are referenced in the plan view of the
    facility (Fig. 3.52). Temperature measurements were recorded at 104 locations. Type K 0.0625 in
    diameter Inconel sheathed thermocouples were positioned to measure (i) temperatures near the ceiling,
    (ii) temperatures of the ceiling jet, and (iii) temperatures near the vent.


3.90     UL/NIJ House Experiments
The Firefighter Safety Research Institute (FSRI) of Underwriters Laboratory (UL), with support from the
National Institute of Justice (NIJ), conducted fire experiments in a one-story ranch-style house and a two-
story colonial-style house in the large fire facility at Northbrook, Illinois, in 2016 and 2017 [325]. In
addition to this validation guide, modeling of the experiments is also reported in [326]. The goal of the
experiments was to determine the effect of ventilation on fire patterns in fully-furnished homes. As part
of the project, a natural gas burner was positioned within the unfurnished structures to evaluate changes in
flow patterns as various doors and windows were opened and closed. The test structures were instrumented
with thermocouple trees, pressure transducers, and bi-directional probes. The floor plan for the single story
ranch-style house is included in Fig. 3.55, and plans for the two story colonial-style house in Fig. 3.56. The
ceiling was 2.4 m above the floor in the ranch-style house. The colonial-style house featured an atrium with
a 5.6 m ceiling height. The first story ceiling in the colonial-style house was 2.5 m above the floor, and the
second story ceiling was 2.8 m above the floor.
     The leakage area in the single story structure was measured to be 0.08 m2 at 10 Pa. The leakage area in
the two story structure was measured to be 0.18 m2 at 10 Pa.
     The natural gas burner in each set of experiments had dimensions of 0.6 m by 0.6 m, and the surface of
the burner was approximately 0.6 m above the floor. The heat release rate for the single story ranch house
was 250 kW, and 500 kW for the two story colonial. The locations of the burner in each house are indicated
in the floor plans. The labels for the measurement devices in the one and two story houses are listed in
Tables 3.42 and 3.43, respectively. Three experiments with unique sequences of events (e.g. opening doors
and windows) were conducted in each style of house. All experiments began with all exterior doors and
windows closed and the times at which each door and window was opened are listed Table 3.44 and 3.45.




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         0.38 m      1.78 m              2.32 m           0.85 m 1.07 m   0.79 m 0.86 m 1.07 m                                                  0.94 m 0.86 m 0.94 m


                                                           A                         B    0.30 m                                                    0.30 m C
                     Back




                                                                                                                         Instrumentation
                               1.83 m              1.83 m                  Bedroom 3                                                                  Bedroom 2
                                        Kitchen

3.58 m                                                                      1.37 m                                                                                      3.92 m
                    2.13 m                                     2.13 m                                                                                          1.45 m

                  0.10 m                                                   0.41 m
                                                                                          1.42 m
                  0.76 m                                                    1.26 m                                                                             1.30 m
                                                                                          1.75 m                             0.47 m



            0.30 m     1.98 m                                           1.98 m                                                                                          1.37 m




                                                                                                       Instrumentation
                                                                                                                                 0.84 m                 Bedroom 1
3.96 m
                               1.35 m                                                2.74 m                                                                         D   0.86 m

                                                                  Living Room
                  Dining Room
                                                                                                                                                    1.78 m
                                                                                                                                                                        1.40 m
                           G                      Front                      F           0.30 m
                                                                                                                                                        E


         0.47 m       1.78 m        0.47 m        0.89 m 1.01 m            2.67 m             0.84 m                                       1.49 m     0.85 m   1.45 m




                                                          Icon Instrumentation
                                                               Thermocouple Array
                                                               Gas Velocity
                                                               Pressure Tap

                     Figure 3.55: Layout of the one story ranch-style house in the UL/NIJ experiments.




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      0.21 m 0.85 m           3.11 m                    1.78 m            1.77 m            0.91 m      1.77 m      0.62 m 1.08 m 0.85 m 1.09 m


 0.20 m
                A                                    Back 0.51 m               B                          C                                D
 0.85 m                                                               0.30 m
            H                                                                                                    0.30 m      0.30 m
                    Kitchen        2.39 m                                      2.03 m                                                           2.39 m
                                                                                                     Family Room


                                                                                                                                                          4.85 m
                                                                                                        3.05 m
 3.80 m                                                                                                                                         1.52 m
                    2.44 m

                                                                                                                                                Den
                0.30 m




                                                             5.84 m
                                                                                              0.76 m
                                                                                                                               Living Room
                                            Dining Room                   Foyer
                                         1.60 m
                                                                                   0.46 m                                                                 5.13 m

                Laundry Room
             1.42 m                                                                                                       1.85 m

 2.39 m                                                                  1.83 m
                                                           2.18 m
                                                                                   0.30 m                           0.30 m                 1.73 m
            1.22 m
                         G                          F                     Front                                                       E


            1.01 m 0.85 m 1.00 m 0.65 m           1.77 m                  0.88 m        0.60 m                      0.81 m       1.77 m          1.18 m


                              1.07 m        1.77 m         1.09 m                                                             1.08 m 0.85 m 1.09 m


                                              I                                                                                            J
                                                                                                                                           Bedroom 2
                                       Master Bedroom                                Open To Below
                                                                                                                             3.05 m


                                                                                                                                                          4.57 m


                                                                                                                                               1.75 m
                                 1.91 m
                                                                                                                             1.06 m        0.30 m



10.13 m                           2.62 m

                               0.30 m                                                                  3.33 m
                                             1.83 m          0.75 m Hallway                                                        Instrumentation
                                                                               0.84 m                      1.07 m    0.46 m

                                        0.30 m
                                                           0.84 m
                                                                                                                     0.30 m
                                                                               Open To
                                          1.65 m                                Below
                                                                                                                                      1.75 m

                                                                              3.33 m                                                                      3.02 m
                                             Bedroom 4
                                                                                                                      1.19 m              Bedroom 3
                         M                          L                                                                                 K


            1.00 m 0.85 m 1.00 m 0.66 m           1.77 m     0.60 m                         4.05 m                  0.81 m      1.77 m           1.18 m



                                        Figure 3.56: Geometry of UL NIJ Colonial-style House
                                                                         142

                                                           Icon Instrumentation
                                                                Thermocouple Array
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           Temp.    Location          Pressure    Location          Velocity   Location
            1TC     Bedroom 1           1PT       Bedroom 1          1BDP      Window E
            2TC     Bedroom 2           2PT       Bedroom 2          2BDP      Window D
            3TC     Bedroom 3           3PT       Bedroom 3          3BDP      Window B
            4TC     Hallway             4PT       Living Room        4BDP      Hallway
            5TC     Living Room         5PT       Kitchen            5BDP      Window F
            6TC     Dining Room         6PT       Dining Room        6BDP      Front Door
            7TC     Kitchen (East)                                   7BDP      Window A
            8TC     Kitchen (West)


           Table 3.42: Locations of measurement devices in the UL/NIJ ranch-style house.

  Temp.     Location                       Pressure       Location           Velocity   Location
   1TC      Master Bedroom                   1PT          Master Bedroom      1BDP      Front Door
   2TC      Bedroom 2                        2PT          Bedroom 2           2BDP      Window J
   3TC      Bedroom 3                        3PT          Bedroom 3           3BDP      Window K
   4TC      Bedroom 4                        4PT          Bedroom 4           4BDP      Window L
   5TC      2nd Floor Hallway (East)         5PT          Front Corridor      5BDP      Window E
   6TC      2nd Floor Hallway (Middle)       6PT          Living Room         6BDP      Window A
   7TC      Family Room (West Corner)        8PT          Den
   8TC      Family Room (Center)             9PT          Family Room
   9TC      Den                             10PT          Kitchen
  10TC      Living Room
  11TC      Under 2nd Floor Hallway
  12TC      Foyer
  13TC      Dining Room
  14TC      Laundry Room
  15TC      Kitchen


          Table 3.43: Locations of measurement devices in the UL/NIJ colonial-style house.

                                Event            Test 1    Test 2   Test 5
                           Front Door Open       300 s     1200 s   1290 s
                           Back Door Open        1275 s    1860 s   300 s
                           Window A Open         1260 s    1845 s     -
                           Window B Open         1245 s    1830 s     -
                           Window C Open         1230 s    900 s      -
                           Window D Open         1215 s      -      600 s
                           Window E Open         600 s     600 s      -
                           Window F Open         1200 s    1815 s   1200 s
                           Window G Open         1300 s    1875 s     -
                              Burner Off         900 s     1500 s   900 s


  Table 3.44: Sequence of events for the one story ranch-style house in the UL/NIJ experiments.


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                               Event          Test 1   Test 4    Test 6
                          Front Door Open     600 s     600 s    1200 s
                          Back Door Open        -         -        -
                          Window A Open         -         -      900 s
                          Window B Open         -       900 s      -
                          Window C Open         -         -        -
                          Window D Open         -         -        -
                          Window E Open         -         -        -
                          Window F Open         -         -        -
                          Window G Open         -         -        -
                          Window H Open         -         -        -
                          Window I Open         -         -        -
                          Window J Open         -         -        -
                          Window K Open       900 s    1260 s    600 s
                          Window L Open       1200 s   1320 s      -
                          Window M Open         -         -        -
                             Burner Off       1500 s   1200 s    1500 s


 Table 3.45: Sequence of events for the two story colonial-style house in the UL/NIJ experiments.




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3.91     Ulster SBI Corner Heat Flux Measurements
Zhang et al. [327] measured the heat flux and flame heights from fires in the single burning item (SBI)
enclosure at the University of Ulster, Northern Ireland. Thin steel plate probes were used to measure the
surface heat flux, and flame heights were determined by analyzing the instantaneous images extracted from
the videos of the experiments by a CCD camera. Three heat release rates were used – 30 kW, 45 kW, and
60 kW.


3.92     UMD Polymers
Stoliarov et al. conducted measurements of the thermal properties of charring and non-charring polymers
with the specific purpose of providing input data for numerical pyrolysis models [328, 329, 330, 331]. The
study aimed to determine whether a one-dimensional conduction/reaction model could be used as a practi-
cal tool for prediction and/or extrapolation of the results of fire calorimetry tests. The non-charring poly-
mers included poly(methyl methacrylate) (PMMA), high-impact polystyrene (HIPS), and polyoxymethy-
lene (POM). The charring polymers included acrylonitrile butadiene styrene (ABS), polyethylene tereph-
thalate (PET), Kydex, and polyethylenimine (PEI).


3.93     UMD Line Burner
James P. White, University of Maryland, College Park

The University of Maryland (UMD) Line Burner experimental facility provides for the study of a low-strain,
buoyancy-driven, fully-turbulent diffusion flame in a canonical line-fire configuration. This facility provides
well-controlled inlet and boundary conditions while introducing the complicating effects of buoyancy and
turbulence characteristic of large-scale accidental fires. A variety of non-intrusive diagnostics are employed
to measure local and integral flame characteristics. The facility comprises a slot burner centrally located
within a surrounding, uniform co-flowing oxidizer. Controlled suppression of the flame is achieved via the
introduction of either excess nitrogen gas or a fine water mist into the oxidizer stream. A detailed description
of this facility is presented in White et al. [332].
     An illustration of the burner and oxidizer assembly is presented in Fig. 3.57. The burner features a
sand-filled, stainless-steel fuel port, measuring 5 cm wide by 50 cm long, with 1.5 mm thick side walls.
Methane gas (99.5 % purity) or propane gas (99.5 % purity) are the primary burner fuels. A methane flow
rate of 1.00 ±0.02 g/s (nominal 5.4 cm/s) or a propane flow rate of 1.08 ±0.02 g/s (nominal 2.1 cm/s) is
utilized, measured using a mass flow controller. Assuming complete combustion, the total heat-release rate
is roughly 50 kW for either fuel.
     The burner is centrally located at the mouth of a surrounding oxidizer port, measuring 50 cm wide by
75 cm long, with 10 cm thick side walls. Flow conditioning elements ensure that the oxidizer is well-mixed
and exits the oxidizer port with a uniform, flat velocity profile. The co-flowing oxidizer is provided at a
fixed flow rate of 75±5 g/s (total, including variable suppressant flow, nominal 22 cm/s), measured using a
calibrated pitot-static probe.
     Sitting on top of the oxidizer port and surrounding the fuel port is a thin, 5 mm tall, 5 cm wide annulus
of ceramic fiberboard, positioned so the top of the board is 10 mm below the lip of the fuel port (and 5 mm
above the oxidizer port). This board serves as a flow blockage to reduce the oxidizer velocity near the flame
base, forcing the onset of buoyancy-generated turbulence upstream toward the fuel port and reducing the
tendency to form laminar structures at the base of the flame.



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     For nitrogen-dilution suppression experiments, the flame is suppressed via the introduction of a variable
flow of gaseous nitrogen into the oxidizer. Suppression potential is characterized by the oxygen mole-
fraction in the oxidizer, XO2 . This quantity is measured using a paramagnetic oxygen analyzer via a probe
located in the oxidizer port. The analyzer provides a measurement accuracy of ±0.125 in the volume per-
centage of O2 and a response time of 5 s. An additional transport delay of approximately 20 s is compensated
to provide synchronous data collection with other measurements.
     Visible flame height is measured using a video camera, defined based on a 50 % intermittent flame height
[332]. These image-based measurements rely on visible flame emissions, including the incandescence of
soot particles, and do not strictly locate the stoichiometric flame sheet. The uncertainty in each flame height
measurement is less than ±1.5 cm.
     Infrared radiative emissions are measured using a water-cooled Schmidt-Boelter heat-flux transducer.
The sensor is positioned 100 cm radially outward from the burner centroid, 18 cm above the fuel port,
facing perpendicular to the long axis of the burner. This device has a hemispherical absorptance of 0.94 for
a spectral range between 0.6-15.0 µm, a maximum viewing angle of 90◦ , and a response time of 0.25 s.
Measurement accuracy is ±3 %. The convective portion of the measured heat flux is neglected and sans-
flame measurements are applied to correct for background irradiation.
     Heat flux data are converted to radiative loss fraction, χr , using a weighted multi-point radiation source
model, whereby the measured heat flux is assumed to be received from an array of isotropic point sources
uniformly distributed over a two-dimensional plane oriented across the visible flame surface. The uncer-
tainty in each χr measurement is less than ±4.5 %.
     Mean and RMS (root mean square) temperature data are recorded using an array of R-Type thermocou-
ple probes positioned at selected locations along the centerline of the flame. These probes are constructed
using 50 um diameter wires with exposed, bead-welded junctions. Combustion products are collected in
an exhaust evacuation system, wherein a gas sampling system provides measurement of the molar concen-
trations of oxygen (±0.25 mol % O2 ), carbon dioxide (±1000 ppm CO2 ), carbon monoxide (±100 ppm
CO), water vapor (±3 % RH), and total hydrocarbons (±10 ppm THC) in the exhaust stream. From these
measurements, integral heat release rate and combustion efficiency measurements are derived using species-
based calorimetry techniques.

Modeling Notes
The simulations of the UMD Line Burner experiments are performed for a duration of 80 s. The first
10 s allow the flame to stabilize at ambient conditions. At 10 s, nitrogen is introduced in the co-flow air
stream and linearly increased so that the oxygen concentration decreases to 10 % at 80 s. When the oxygen
concentration drops to 18 %, the nitrogen ramp up is delayed for 10 s in order to collect steady-state profiles
of oxygen and temperature at heights of 12.5 cm and 25 cm above the burner.
    The calculations are performed at three grid resolutions: 12.5 mm, 6.25 mm, and 3.125 mm, using 24,
164, and 204 meshes respectively.
    The combustion and extinction are modeled using a two-step reaction scheme. In the first step, fuel is
converted to CO, soot, and water vapor, and in the second step, the CO and soot are oxidized to form CO2 .
Both reactions are fast, but the oxidation step follows the first reaction. That is, in a given time step, all
available oxygen first forms CO and soot. Any leftover oxygen is then used to oxidize existing CO and soot.
The methane reaction is written in terms of “lumped” species as follows:

  (CH4 ) + 1.333 (O2 + (0.79/0.21) N2 ) −→ (2/3 CO + 2 H2 O + 1/3 C + 1.333(0.79/0.21) N2 )              (3.25)
  | {z }         |         {z        }     |                     {z                      }
    Fuel                      Air                                      Products 1




                                                      146
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                     cm
                   70




                                          cm
                           cm




                                                                                                cm
                                                                                   cm
                                      15
                          50




                                                                                            5
                                                                               75



                                                                                            9
                                                                      cm




                                                                                   cm
                                                                   0




                                                                                   0
                                                                  5




                                                                               6
                               cm
                               5

         Oxidizer Port
  (Honeycomb, 15 mm
     below burner lip)

    Ceramic Fiberboard
        (10 mm below
            burner lip)                   Fuel Port
                                                                                                      m
                                                                                                 0c
                                                                                            10




                 Figure 3.57: UMD Line Burner isometric view of burner and oxidizer assembly.


                     (Products 1) + 0.667 (Air) −→ (CO2 + 2 H2 O + 2(0.79/0.21) N2 )                        (3.26)
                                                   |              {z              }
                                                                      Products 2

The propane reaction is:

  (C3 H8 ) + 2.2065 (O2 + (0.79/0.21) N2 ) −→ (0.413 CO + 4 H2 O + 2.587 C + 2.2065(0.79/0.21) N2 )
  | {z }            |         {z        }     |                        {z                        }
    Fuel                            Air                                        Products 1
                                                                                                            (3.27)
                   (Products 1) + 2.7935 (Air) −→ (3 CO2 + 4 H2 O + 5(0.79/0.21) N2 )                       (3.28)
                                                  |               {z               }
                                                                      Products 2

The stoichiometry is dictated by the composition of the fuel molecule except for the stoichiometric coeffi-
cients of CO and soot in the first step. By default, 2/3 of the carbon in the fuel molecule is converted to CO,
and 1/3 to soot. No better strategy has yet emerged for determining this. For both methane and propane,
soot is generated in the first step, and as the co-flow is diluted with nitrogen, the flame color changes from
yellow to blue as the in-flame soot volume fraction decreases. The simple two-step reaction scheme cannot
predict the distribution of soot and CO in the first step; thus, the stoichiometric coefficients for CO and soot

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(C) in Eq. (3.25) are chosen somewhat arbitrarily. The choice does affect the predicted radiative fraction of
the fire and the heat flux to the radiometer.
     Extinction of the fire is achieved using the critical flame temperature concept, which is the default
extinction model in FDS. The CFT is 1507 ◦ C for methane and 1447 ◦ C for propane [152]. In addition,
combustion is suppressed below the auto-ignition temperatures of 540 ◦ C and 450 ◦ C for methane and
propane, respectively, except in a small volume just above the burner where the fuel is allowed to burn on
contact with oxygen. This is a simple way to simulate the effect of a spark igniter.


3.94     UMD SBI Experiment
Researchers at the University of Maryland measured the flame spread over two perpendicular panels of
black PMMA [333]. The experimental setup, shown in Fig. 3.58, was based on the Single Burning Item
(SBI) test [334], but with symmetric panels. Two 50 cm wide and 5.8 mm thick black cast poly (methyl
methacrylate) (PMMA) panels having a total height of 146 cm were mounted onto Marinite I calcium silicate
board (1.27 cm thick, 60 cm wide). The properties of both materials can be found in Ref. [333].
    The panels were ignited by a triangular propane sandbox burner (side length 25 cm; height 3.5 cm), that
was placed 4 cm away from both panels. The burner flame was sustained throughout the experiment, with a
heat release rate (HRR) of 30 kW.
    A set of seven experiments was performed. The flame was allowed to spread until the HRR reached
300 kW. Once the HRR exceeded this threshold value, the propane burner was turned off and the flame was
extinguished.




                         Figure 3.58: Schematic diagram of the UMD SBI experiment.




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3.95     USCG/HAI Water Mist Suppression Tests
The U.S. Coast Guard sponsored a series of experiments to assess the fire suppression capabilities of a
variety of water mist systems in a variety of ship board configurations. The experiments were conducted in
1999 by Hughes Associates, Inc., in a simulated machinery space aboard the test vessel State of Maine at
the USCG Fire and Safety Test Detachment, Mobile, Alabama [335]. The space had nominal dimensions of
7 m by 5 m by 3 m, containing two steel engine mock-ups each measuring 3 m by 1 m by 1.5 m. The space
was equipped with a door for natural ventilation and a forced ventilation system providing approximately
15 air changes per hour. Five commercially available water mist systems were evaluated. The obstructed
heptane spray fires ranged in size from approximately 250 kW to 1 MW.


3.96     USFS/Catchpole Experiments
The U.S. Forest Service and collaborators from the University of New South Wales, Australia, conducted
354 fire experiments in a wind tunnel with a cross section of 3 m by 3 m [336]. The tunnel is part of
the Intermountain Fire Sciences Laboratory in Missoula, Montana. The fires involved four different fuel
species, a range of fuel bed depths, packing ratios, moisture contents and wind speeds. The fuels were
regular and coarse excelsior (Populus tranulos), and pine needles and heartwood sticks (Pinus ponderosa).
The vegetation was placed in a 1 m wide and 8 m long tray. An approximately 5 cm wide tray of ethanol
liquid was positioned at one end, and the fire spread rate was measured using photocells and video analysis.

Modeling Notes
The vegetation is modeled as a collection of cylindrical Lagrangian particles. The pyrolysis model as-
signed to the particles is described in the FDS User’s Guide [1], chapter “Wildland Fire Spread,” Sec. 17.1,
“Thermal Degradation Model for Vegetation.” The parameters for each experiment are listed in a table in
Ref. [336].


3.97     USFS/Corsica Experiments
Perez-Ramirez et al. at the University of Corsica, France, and Mell at the U.S. Forest Service’s Pacific
Wildland Fire Science Laboratory in Seattle, Washington, simulated six bench-scale fires spreading over
a 1 m wide by 2 m long bed of pine needles [130]. The heat release rates from the spreading fires were
measured in a furniture calorimeter. The fuel beds were made up of Pinus pinaster needles, and three
different fuel loadings (0.6, 0.9 and 1.2 kg/m2 ) were tested under no-slope and up-slope conditions (20◦ ).

Modeling Notes
The pine needles are modeled as a collection of cylindrical Lagrangian particles. The pyrolysis model
assigned to the particles is described in the FDS User’s Guide [1], chapter “Wildland Fire Spread,” Sec. 17.1,
“Thermal Degradation Model for Vegetation.”
    The test parameters for these experiments are given in Table 3.46.




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           Exp.    Dry Fuel Loading      Slope    Dry Mass per Volume      Packing    Bed Depth
            No.        (kg/m2 )          (deg.)        (kg/m3 )             Ratio       (cm)
           1_0           0.6                0             17                0.033        3.5
           2_0           0.9                0             16                0.031        5.5
           3_0           1.2                0             18                0.035        6.5
           1_20          0.6               20             17                0.033        3.5
           2_20          0.9               20             16                0.031        5.5
           3_20          1.2               20             18                0.035        7.5


                        Table 3.46: Test matrix for the USFS/Corsica Experiments.


3.98     USN High Bay Hangar Experiments
The U.S. Navy sponsored a series of 33 tests within two hangars examining fire detection and sprinkler
activation in response to spill fires in large enclosures. Experiments were conducted using JP-5 and JP-8
fuels in two Navy high bay aircraft hangars located in Naval Air Stations in Barber’s Point, Hawaii and
Keflavik, Iceland [337].
     The Hawaii tests were conducted in a 15 m high hangar measuring 97.8 m in length and 73.8 m in width.
Of the 13 tests conducted in the facility 11 were conducted in pans ranging from .09 m2 to 4.9 m2 in area
with heat release rates varying from 100 kW to 7.7 MW. The burner was placed in the center of the room on
a scale that continuously recorded the pans weight. The facility was equipped with a number of detection
devices including thermocouples, electronic smoke and spot heat detectors, projected beam smoke detectors,
combination UV/IR optical flame detectors, line-type heat detectors, as well as sprinklers. Measurements
were recorded at a large number of locations allowing for a thorough profile of compartment behavior.
     It was suspected that fire plume behavior and response of detection devices in a cold building may not
have been well replicated by the experiments held in the warm hangar in Hawaii. The Iceland tests were
conducted under a 22 m barrel vaulted ceiling in a hangar measuring 45.7 m by 73.8 m. 22 tests in total
were conducted. The majority of these tests fires burned JP-5 fuel with the remainder burning JP-8. The
jet fuel fires ranged in size from .06 m2 to 20.9 m2 and in heat release rate from 100 kW to approximately
33 MW. The facility was equipped similarly to the Hawaii hangar.


3.99     UWO Wind Tunnel Experiments
Wind tunnel measurements were conducted at the University of Western Ontario (UWO) [338] on a 1:100
scale model of the Texas Tech Wind Engineering Field Research Laboratory (WERFL) building which has
approximate dimensions of 9.1 m by 13.7 m by 4 m and a slightly pitched roof. In the test report, this
experiment is referred to as Test 7. Pressure measurements were made for 22 wind directions for this scale
model.

Modeling Notes
The 1:100 scale model of the building is approximately 14 cm long, 9 cm wide, and 4 cm tall. The simula-
tions use 5.0 mm, 2.5 mm, and 1.25 mm cubic grid cells, uniformly spanning the computational domain of
dimensions 1.12 m × 0.56 m × 0.28 m. The 4 cm height of the scale model is spanned by 8, 16, and 32 grid
cells. The grid resolution was assessed by checking that the values of y+ , a non-dimensional distance, never



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exceed 150 for any mesh resolution. y+ values are dependent on turbulence model wall laws and a value of
150 means that the first grid point is well within the logarithmic region.
     Only two wind directions are chosen for validation, 180◦ and 270◦ , representing right angles formed
with the long and short sides of the building. For each angle, 3 lines of pressure measurements running up
the windward side, along the roof, and down the leeward side are used for comparison to the simulation.
One line of pressure measurements along the side of the scale model is also used.
     The incoming flow assigned at the inflow boundary is characterized by its mean wind speed profile
and turbulent fluctuations. For consistency with the UWO experiments, the mean wind speed profile was
modeled by the power law:                                 z p
                                           U(z) = 9.144                                              (3.29)
                                                           0.0396
where 9.144 m/s is the reference wind speed at the 0.0396 m roof height of the scale model and the power
law exponent p = 0.1173 was fit to the experimental data.
     Fluctuations at the inlet boundary are generated by the Synthetic Eddy Method (SEM) of Jarrin [339].
The desired value of N_EDDY (the number of eddies generated at the inlet) is the largest possible value
that does not slow down the simulation. This value is determined by running a number of simulations
for the same time while varying the N_EDDY input and recording the total run time. The other turbulence
parameters, L_EDDY (characteristic eddy length) and REYNOLDS_STRESS, are set based on the turbulence
intensity data from the UWO experiments. The Reynolds stresses are found by multiplying the turbulence
intensity in each direction by the wind velocity at roof height to determine the root mean square of the
velocity fluctuations, and then squaring the root mean square values.
     The side walls and roof of the wind tunnel are set to free-slip. The roughness length at the ground is
specified to be 0.0001 m, 1/100 the full-scale value of 0.01 m. The outlet of the wind tunnel is set to an
“open” boundary condition, where pressure is set to the ambient pressure.


3.100       Vettori Flat Ceiling Experiments
Vettori [81] analyzed a series of 45 experiments conducted at NIST that were intended to compare the effects
of different ceiling configurations on the activation times of quick response residential pendent sprinklers.
The two ceiling configurations used consisted of an obstructed ceiling, with parallel beams 0.038 m wide by
0.24 m deep placed 0.41 m on center, and a smooth ceiling configuration, in which the beams were covered
by a sheet of gypsum board. In addition to the two ceiling configurations, there were also three fire growth
rates and three burner locations used – a total of 18 test configurations. The fire growth rate was provided
by a computer controlled methane gas burner to mimic a standard t-squared7 fire growth rate with either a
slow, medium, or fast ramp up. The burner was placed in a corner of the room, then against an adjacent
wall, and then in a location removed from any wall. Measurements were taken to record sprinkler activation
time, temperatures at varying heights and locations within the room, and the ceiling jet velocities at several
other locations. A diagram of the test structure is displayed in Figure 3.59.




  7 The actual heat release rate are presented in Table 3.47.



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                                                                            m
            Ceiling removed




                                                                           6
                                                                         5.
                            m
                           2
                         9.
                                                                                                m
                                                                                         2 .6




                                                         Wood Joists
                                                         4 cm by 24 cm (2 in by 10 in)
                                                         41 cm (16 in) on center




    2.7 m

    2.0 m


    1.0 m



                         Corner      Wall                             Detached
             0.7 m       Burner    Burner       4.6 m     5.3 m       Burner   8.2 m




                Figure 3.59: Geometry of the Vettori Flat Ceiling compartment.



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            Table 3.47: Heat release rate profiles for the Vettori experiments.


                            Time    Slow     Medium      Fast
                             (s)    (kW)      (kW)      (kW)
                              0       0         0         0
                             10       9        20         75
                             20      16        34        127
                             30      23        51        173
                             40      30        67        196
                             50      35        83        271
                             60      42        104       379
                             70      52        125       515
                             80      62        143       673
                             90      68        162       852
                            100      78        174      1053
                            110      85        192
                            120      94        239
                            130      100       279
                            140      109       325
                            150      115       373
                            160      125       424
                            170      137       479
                            180      148       537
                            190      163       599
                            200      179       663
                            210      195
                            220      213
                            230      231
                            240      250
                            250      269
                            260      290
                            270      311
                            280      333
                            290      354
                            300      378
                            310      402
                            320      427
                            330      453
                            340      479
                            350      506
                            360      534
                            370      562




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3.101      Vettori Sloped Ceiling Experiments
Vettori [82] performed a series of 72 compartment experiments to measure the activation times of quick-
response residential pendent sprinklers mounted under a ceiling with an adjustable slope. There were 36
unique configurations (2 replicates of each) combining the following parameters:

  • Flat, 13◦ , or 24◦ Ceiling Slope

  • Smooth or Obstructed Ceiling Surface

  • Fast or Slow Growth Fire

  • Corner, Wall, or Detached Burner Location

Note that the Slow and Fast fire growth profiles were the same as those reported in Table 3.47.


3.102      VTT Large Hall Tests
The experiments are described in Ref. [340]. The series consisted of 8 experiments, but because of replicates
only three unique fire scenarios. The experiments were undertaken to study the movement of smoke in a
large hall with a sloped ceiling. The tests were conducted inside the VTT Fire Test Hall, with dimensions of
19 m high by 27 m long by 14 m wide. Each test involved a single heptane pool fire, ranging from 2 MW
to 4 MW. Four types of predicted output were used in the present evaluation – the HGL temperature and
depth, average flame height and the plume temperature. Three vertical arrays of thermocouples (TC), plus
two thermocouples in the plume, were compared to FDS predictions. The HGL temperature and height were
reduced from an average of the three TC arrays using the standard algorithm described in Chapter 5. The
ceiling jet temperature was not considered, because the ceiling in the test hall is not flat, and the standard
model algorithm is not appropriate for this geometry.
     The VTT test report lacks some information needed to model the experiments, which is why some
information was based on private communications with the principal investigator, Simo Hostikka.

Surface Materials: The walls and ceiling of the test hall consist of a 1 mm thick layer of sheet metal on
   top of a 5 cm layer of mineral wool. The floor was constructed of concrete. The report does not provide
   thermal properties of these materials.

Natural Ventilation: In Cases 1 and 2, all doors were closed, and ventilation was restricted to infiltration
   through the building envelope. Precise information on air infiltration during these tests is not available.
   The scientists who conducted the experiments recommend a leakage area of about 2 m2 , distributed
   uniformly throughout the enclosure. By contrast, in Case 3, the doors located in each end wall (Doors
   1 and 2, respectively) were open to the external ambient environment. These doors are each 0.8 m wide
   by 4 m high, and are located such that their centers are 9.3 m from the south wall.

Mechanical Ventilation: The test hall has a single mechanical exhaust duct, located in the roof space,
   running along the center of the building. This duct had a circular section with a diameter of 1 m, and
   opened horizontally to the hall at a distance of 12 m from the floor and 10.5 m from the west wall.
   Mechanical exhaust ventilation was operational for Case 3, with a constant volume flow rate of 11 m3 /s
   drawn through the exhaust duct.

Heat Release Rate: Each test used a single liquid fuel pan with its center located 16 m from the west
   wall and 7.4 m from the south wall. For all tests, the fuel was heptane in a circular steel pan that was
   partially filled with water. The pan had a diameter of 1.17 m for Case 1 and 1.6 m for Cases 2 and 3. In

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    each case, the fuel surface was 1 m above the floor. The trays were placed on load cells, and the HRR
    was calculated from the mass loss rate. For the three cases, the fuel mass loss rate was averaged from
    individual replicate tests. In the HRR estimation, the heat of combustion (taken as 44,600 kJ/kg) and
    the combustion efficiency for n-heptane was used. Hostikka suggests a value of 0.8 for the combustion
    efficiency. Tewarson reports a value of 0.93 for a 10 cm pool fire [151]. For the calculations reported
    in the current study, a combustion efficiency of 0.85 is assumed. In general, an uncertainty of 15 % has
    been assumed for the reported HRR of most of the large scale fire experiments used.

Radiative Fraction: The radiative fraction was assumed to be 0.35, similar to many smoky hydrocarbons.

A diagram of the test structure is displayed in Figure 3.60.




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                                                                                       m
                                                                                4 .0
                                                                                                  m
                                                                                           1 .9



                                                                                                                          m
                                                                                                                     .0
                                                                                                                19



                                                                                                            m
                                                                                                       .0
                                                                                                  12
                              South Wall


                                                                       m                m
                                                                0 .8             4 .0




                                                                                                                m
                                                                                                              1
                                                                                                            4.
                             27
                                .0
                                  m




                                                            Door 2
  Doors 1 and 2 are at the same
  relative location on opposite


                                                                           m
                                                                     9
                                                                  8.
  walls and only open in Case 3




                                              Obstruction
                                              10 m high

                                            16.0 m
                  1.2 m      6.2 m                     18.0 m                  25.0 m                  Obstruction
                                                                                                       4 m high
         12.5 m

          9.7 m
                                                              n1.6 m
          7.2 m
                                                              n1.2 m

                          Burner Position
                          1 m above floor




                     Figure 3.60: Geometry of the VTT Large Fire Test Hall.



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3.103      VTT Water Spray Experiments
The spray from a single water mist nozzle was measured at Tampere University of Technology using a
direct imaging technique [341]. The model number of the nozzle is LN-2, manufactured by the Spraying
Systems Company. It is a fine spray hydraulic atomizing nozzle of the standard spray, small capacity type.
Measurements were made 40 cm and 62 cm below the nozzle. Measured quantities include the average
droplet velocity, droplet flux, and median diameter.


3.104      Waterloo Methanol Pool Fire Experiment
Beth Weckman measured near-field temperatures and velocities of a 30.5 cm diameter methanol pool fire at
the University of Waterloo, Ontario, Canada [342]. The methanol fuel flow rate was maintained at 1.35 cm3 /s
to maintain a burner rim height of 1 cm. Assuming complete combustion, the heat release rate was approxi-
mately 24.6 kW.
     The burner was mounted on a traversing stand that allowed for radial and axial traverses of the fire flow
field. The vapor core, continuous flame zone and fluctuating regions of the fire plume were characterized
via profiles of axial and radial velocity and temperature taken at 2 cm intervals from the pool centerline to
16 cm from the centerline in the radial direction, and at heights from 2 cm to 20 cm above the fuel surface.
A final radial profile was taken at a height of 30 cm. Measurements were made by moving the burner while
the velocity and temperature transducers were held at a fixed point. To shield the fire from drafts, the entire
system was enclosed by panels of wire mesh that was covered with an aluminum window screen.
     Time resolved velocity measurements were performed using a two component laser doppler anemome-
ter. Time resolved temperature data was measured using 50 µm diameter, bare-wire thermocouples (Pt vs Pt-
10% Rh) with known bead diameters in the range of 75 µm to 100 µm.
     Additional measurements of a 30.5 cm diameter methanol pool fire were made by Hamins et al., in-
cluding the heat flux to the pool surface [343], centerline profiles of temperature and species concentra-
tions [344], and an additional radial profile of temperature 60 cm above the pool surface [344].

Modeling Notes
The methanol pool fire is modeled at three different grid resolutions—2 cm, 1 cm, and 0.5 cm. Two sets
of simulations are performed, one in which the mass loss rate of fuel is specified, and one in which it is
predicted. The gas phase measurements are compared with the simulations for which the burning rate is
specified.
    Because measurements of CO were made within the flame envelop, a two-step reaction mechanism is
implemented. In the first reaction, fuel is converted to CO and H2 O, and in the second reaction, CO is
converted to CO2 . Both reactions employ fast kinetics and performed serially. It is assumed that no soot is
formed in either reaction.
    Physical properties of methanol are taken from a data sheet published by the Methanol Institute [345]:
boiling temperature, 64.6 ◦ C, heat of vaporization at 64.6 ◦ C, 1098.3 kJ/kg, thermal conductivity, 0.2 W/(m·K),
specific heat at 25 ◦ C, 2.53 kJ/(kg·K), density at 20 ◦ C, 792 kg/m3 . The heat of combustion is given as
19.9 kJ/g, but this value is not input directly, but rather calculated based on the heats of formation of the
reactants and products of combustion.
    The radiative fraction is predicted by the model, not specified by the user, for all cases. The path length
used by RadCal to compute the table of effective radiative absorption coefficients for the gas mixture is set
to 10 cm, the default value. The absorption coefficient of the liquid methanol is given as 1140 m−1 .
    The modeled thermocouple has a bead diameter of 100 µm to match the experiments.


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    For the simulations where the burning rate is not specified, a liquid fuel evaporation model is used with
a boiling temperature of 64.6 ◦ C.


3.105      WTC Spray Burner Experiments
As part of its investigation of the World Trade Center disaster, the Building and Fire Research Laboratory
at NIST conducted several series of fire experiments to both gain insight into the observed fire behavior and
also to validate FDS for use in reconstructing the fires. The first series of experiments involved a relatively
simple compartment with a liquid spray burner and various structural elements with varying amounts of
sprayed fire-resistive materials (SFRM). A diagram of the compartment is shown in Fig. 3.61. A complete
description of the experiments can be found in the NIST WTC report NCSTAR 1-5B [70]. A complete
description of the SFRM can be found in the NIST WTC report NCSTAR 1-6A [346]. The overall enclosure
was rectangular, as were the vents and most of the obstructions. The compartment walls and ceiling were
made of 2.54 cm thick marinite. The manufacturer provided the thermal properties of the material used
in the calculation. The density was 737 kg/m3 , conductivity 0.12 W/m/K. The specific heat ranged from
1.17 kJ/kg/K at 93 ◦ C to 1.42 kJ/kg/K at 425 ◦ C. This value was assumed for higher temperatures. The steel
used to construct the column and truss flanges was 0.64 cm thick. The density of the steel was assumed to
be 7,860 kg/m3 ; its specific heat 0.45 kJ/kg/K.
     Two fuels were used in the tests. The properties of the fuels were obtained from measurements made
on a series of unconfined burns that are referenced in the test report. The first fuel was a blend of heptane
isomers, C7 H16 . Its soot yield was set at a constant 1.5 %. The second fuel was a mixture (40 % - 60 % by
mass) of toluene, C7 H8 , and heptane. Because FDS only considers the burning of a single hydrocarbon fuel,
the mixture was taken to be C7 H12 with a soot yield of 11.4 %. The radiative fraction for the heptane blend
was 0.44; for the heptane/toluene mixture it was 0.39. The heat release rate of the simulated burner was set
to that which was measured in the experiments. The spray burner was modeled using reported properties of
the nozzle and liquid fuel droplets.




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                                                             Ceiling and front wall removed




                             m
                           60
                         3.




                                                                           m
                                                                      02
                                                                    7.
                                       0m
                                0 .2



                 0m
          0 .7
                                                                                      0m                     2m
                                                                               0 .5                   3 .8


                                                                                              0m
                                                                                       0 .7
                  8m
           0 .2



    Note: Openings follow same                                            2m
                                                                   2 .1
    pattern on both sides of
    compartment




  Barrier Wall               Steel Column                                             Burner Pan




     2.82 m
                                                                                                                  2.66 m
     2.51 m
                                                                                                                  2.36 m
     2.22 m
     1.76 m
     1.58 m
     1.28 m
     1.10 m
     0.77 m



                            1.21 m       2.62 m 3.45 m           4.40 m                    5.81 m
                                  1.80 m     3.02 m                  4.62 m




                  Figure 3.61: Geometry of the compartment used for the WTC Experiments.


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3.106      Wu Bakar Tunnel Experiments
An important issue in road tunnel design with respect to fire safety is back-layering. In the event of a fire
in a tunnel, a common strategy is to blow the smoke in one direction to allow occupants to escape and first
responders to find the fire. The extent to which smoke from the fire spreads against imposed ventilation
is known as back-layering. Experiments to quantify back-layering have been conducted at both small and
full-scale. One important set of small-scale experiments was performed by Wu and Bakar [347]. The
experiments were conducted in 15 m long tunnels with 5 different cross sections. Tunnels A, B, C, and D
were rectangular in cross section with a height of 25 cm and widths of 13.6 cm, 25 cm, 50 cm, and 100 cm,
respectively. Tunnel E was 24.4 cm high, 27.4 cm wide at the base, with walls slanted inwards 7◦ from the
vertical leading to a circular arch ceiling.
     A 12 cm diameter circular propane burner was placed flush with the floor at a distance of approximately
6 m from the upstream opening. For a range of fire sizes, the air velocity through the tunnel was ramped
up until the back-layer length was reduced to zero; that is, the upstream extent of the smoke layer coincided
with the upstream edge of the burner. These results were then used to develop an empirical correlation
relating the critical velocity, tunnel cross section, and heat release rate.

Modeling Notes
Five simulations are conducted; one for each tunnel type. In each, the heat release rate is stepped over
from the lowest to highest reported value in 20 s increments. During each steady period, the near-ceiling
temperatures are recorded and used to infer the location of the back-layer; that is, the back-layer extent
coincides with a drop in the ceiling jet temperature to within 10 ◦ C of ambient. The surface roughness of
the tunnel walls is estimated to be 1 mm. The wall material is taken as generic steel.


3.107      Summary of Experiments
Table 3.48 presents a summary of all the experiments described in this chapter in terms of parameters
commonly used in fire protection engineering. This “parameter space” outlines the range of applicability
of the validation studies performed to date. In other words, if this guide is to be cited as justification for
using FDS to simulate a given fire scenario, that scenario must be similar to these experiments in the sense
of having comparable physical parameters. These parameters are explained below:

Heat Release Rate, Q̇, is the range of peak heat release rates of the fires in the test series.
                                                                                        p
Fire Diameter, D, is the equivalent diameter of the base of the fire, calculated D = 4A/π, where A is the
    area of the base.

Ceiling Height, H, is the distance from floor to ceiling.

Fire Froude Number, Q̇∗ , is a useful non-dimensional quantity for plume correlations and flame height
    estimates.
                                                         Q̇
                                          Q̇∗ =           √                                     (3.30)
                                                ρ∞ c p T∞ gDD2
    It is essentially the ratio of the fuel gas exit velocity and the buoyancy-induced plume velocity. Jet fires
    are characterized by large Froude numbers. Typical accidental fires have a Froude number near unity.

Flame Height relative to Ceiling Height, Lf /H, is a convenient way to express the physical size of the
   fire relative to the size of the room. The height of the visible flame, based on Heskestad’s correlation, is


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    estimated by:                                                   
                                          Lf = D 3.7 (Q̇∗ )2/5 − 1.02                                  (3.31)

Global Equivalence Ratio, φ , is the ratio of the mass flux of fuel to the mass flux of oxygen into the
   compartment, divided by the stoichiometric ratio.
                                                   1         √
           ṁf          Q̇ (kW)                      2 0.23 A0 H0 : Natural Ventilation
     φ=         ≡                       ; ṁO2 =                                                 (3.32)
         r ṁO2   13, 100 (kJ/kg) ṁO2                     0.23 ρ V̇ : Mechanical Ventilation

    Here, r is the stoichiometric ratio, A0 is the area of the compartment opening, H0 is the height of the
    opening, ρ is the density of air, and V̇ is the volume flow of air into the compartment. If φ < 1,
    the compartment is considered “well-ventilated” and if φ > 1, the compartment is considered “under-
    ventilated.”

Compartment Aspect Ratios, W /H and L/H, indicate if the compartment is shaped like a hallway, typi-
   cal room, or vertical shaft.

Relative Distance along the Ceiling, rcj /H, indicates the distance from the fire plume of a sprinkler, smoke
   detector, etc., relative to the compartment height, H.

Relative Distance from the Fire, rrad /D, indicates whether a “target” is near or far from the fire.




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                                           Table 3.48: Summary of important experimental parameters.

                                  Q̇            D             H
      Test Series                                                         Q̇∗        Lf /H          φ         W /H   L/H     rcj /H      rrad /D
                                (kW)           (m)           (m)
      Arup Tunnel               5344           1.6            7            1.5         0.8          0.0        1.1    43    0.0 – 1.1     N/A
      ATF Corridors           50 – 500         0.5           2.4        0.3 – 3.3   0.3 – 0.9    0.0 – 0.1     0.8    7.1   0.8 – 6.0     N/A
      Beyler Hood               8 – 30         0.2           0.5        0.5 – 1.1   0.7 – 1.3    0.2 – 1.7     2.0    2.0     N/A         N/A
      Bittern Sprinklers         150           0.5           2.4           0.8         0.5         0.04        1.7    3.3      0.8        N/A
      Bryant Doorway          34 – 511         0.3           2.4        0.5 – 6.9   0.2 – 1.0    0.0 – 0.2     1.0    2.1   0.6 – 0.8     N/A
      DelCo Trainers         440 – 1190     0.7 – 1.2        2.4        0.7 – 1.0   0.8 – 1.1    0.1 – 0.3     1.5    2.5   0.4 – 3.8     N/A
      FAA Cargo                   5            0.1           1.4           1.4         0.2          0.2        2.3    4.8   0.1 – 4.8     N/A
                                                                                                                                                    Case 2:23-cv-00118-KHR




      Fleury Heat Flux        100 – 300     0.3 – 0.6       Open        0.3 – 5.5     Open         Open       Open   Open     Open      1.7 – 3.3
      FM Panels               30 – 100         0.5          Open        0.2 – 0.5     Open         Open       Open   Open     Open          0
      FM/SNL                  470 – 516        0.9           6.1        0.6 – 2.4   0.3 – 0.6    0.0 – 0.2     2.0    3.0   0.2 – 0.3     N/A
      Hamins CH4              0.4 – 162     0.1 – 1.0       Open           0.1        Open         Open       Open   Open     N/A       0.1 – 12
      Harrison Plumes           5 – 15        0.16           0.5        0.5 – 1.4   0.5 – 1.0      Open       Open   Open     N/A         N/A
      Heskestad               102 − 107        1.1          Open       10−1 − 104     Open         Open       Open   Open     N/A         N/A




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      JH/FRA                 20 – 5,500    0.15 – 0.61   0.61 – 2.44    1.5 – 5.2   0.8 – 3.7   0.08 – 0.42     1     1.5     N/A         N/A
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      LLNL Enclosure          50 – 400         0.6           4.5        0.2 – 1.5   0.1 – 0.4    0.1 – 0.4     0.9    1.3   0.3 – 1.0     N/A
      McCaffrey Plume          14 – 57         0.3          Open        0.2 – 0.8     Open         Open       Open   Open     N/A         N/A
      NBS Multi-Room             110           0.3           2.4           1.5         0.5          0.0        1.0    5.1     N/A         N/A
      NIST Composite Beam       4000           1.4           3.7           0.5         0.7          0.6        0.5    3.5     N/A         N/A
      NIST FSE               100 – 2500     0.6 – 1.1        2.4        0.5 – 1.8   0.4 – 1.7    0.2 – 5.9     1.0    1.5   0.4 – 0.8     N/A
      NIST/NRC               350 – 2200        1.0           3.8        0.3 – 2.0   0.3 – 1.0    0.0 – 0.3     1.9    5.7   0.3 – 2.1   2.0 – 4.0
      NIST/NRC Cabinet        200 – 400     0.3 – 0.5        2.1        0.3 – 3.7   0.2 – 0.9    1.3 – 12      0.3    0.4     N/A       1.2 – 2.0
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      NIST/NRC Corner         200 – 400        0.7           3.8        0.4 – 0.9   0.3 – 0.5      <0.1        1.8    2.9   0.5 – 2.3     N/A
      NIST RSE                50 – 600        0.15           1.0        5.2 – 63    0.9 – 2.8    0.1 – 1.1     1.0    1.5     N/A         N/A
      NIST Smoke Alarms       100 – 350        1.0           2.4        0.2 – 0.3   0.2 – 0.5      N/A         1.7    8.3   1.3 – 8.3     N/A
      NIST Vent Study            2.5           0.1           0.6           0.7         0.4         0.05        2.0    2.0      1.0        N/A
      NRCC Facade           5000 – 10300       4.3           2.8        0.1 – 0.2   0.9 – 1.7    0.6 – 1.2     1.6    2.2     N/A           0
      NRCC Smoke Tower          3000           2.2           3.4           0.4         1.0          0.7        0.1    0.2      1.2        N/A
      NRL/HAI                 50 – 520      0.3 – 0.7       Open        1.1 – 1.2     Open         Open       Open   Open     N/A           0
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      PRISME                 480 – 1600     0.7 – 1.1        4.0           1.1      0.5 – 0.8       0.5        1.3    1.5   0.0 – 0.5   2.3 – 5.7
                               Table 3.48: Summary of important experimental parameters (continued).

                             Q̇           D           H
      Test Series                                                  Q̇∗        Lf /H         φ          W /H   L/H     rcj /H      rrad /D
                           (kW)          (m)         (m)
      Sandia Plume     1500 – 2250       1.0         Open       1.4 – 2.0      Open        Open        Open   Open     N/A         N/A
      SP AST                450          0.3          2.4          6.1          1.1         0.1         1.0    1.5     N/A         N/A
      Steckler          31.6 – 158       0.3          2.1       0.8 – 3.8    0.3 – 0.7   0.0 – 0.6      1.3    1.3     N/A         N/A
      UL/NFPRF         4400 – 10000      1.0          7.6       4.0 – 9.1    0.7 – 1.0     Open         4.9    4.9   0.6 – 3.9     N/A
      UL/NIST Vents     500 – 2000       0.9          2.4       0.7 – 2.6    0.8 – 1.6   0.2 – 0.6      1.8    2.5   1.0 – 2.3     N/A
      Ulster SBI          30 – 60        0.2         Open       1.5 – 3.0      Open        Open        Open   Open     N/A           0
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      USCG/HAI          250 – 1000       0.3          3.0       6.0 – 24     0.6 – 1.1   0.3 – 1.0      1.7    2.3     N/A         N/A
      USN Hawaii        100 – 7700    0.3 – 2.5       15        0.7 – 1.3    0.1 – 0.4     Open         4.9    6.5    0 – 1.2      N/A
      USN Iceland      100 – 15700    0.3 – 3.4       22        0.7 – 1.3    0.0 – 0.3     Open         2.1    3.4    0 – 1.0      N/A
      Vettori Flat         1055          0.7          2.6          2.5          1.1         0.3         2.1    3.5   0.8 – 2.9     N/A
      Vettori Sloped       1055          0.7          2.5          2.5          1.2         0.3         2.2    2.9     N/A         N/A
      VTT Large Hall   1860 – 3640    1.4 – 1.8       19           0.7          0.2          0          1.0    1.4    0 – 0.6      N/A
      WTC              1970 – 3240       1.6          3.8       0.6 – 0.9    0.8 – 1.1   0.3 – 0.5      0.9    1.8   0.0 – 0.8   0.3 – 1.3




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    Table 3.49 lists a few important parameters related to the numerical resolution of the calculation.

Characteristic Fire Diameter, D∗ , is a useful length scale that incorporates the heat release rate of the fire.
                                                                    2/5
                                               ∗             Q̇
                                             D =                √                                         (3.33)
                                                       ρ∞ c p T∞ g

Plume Resolution Index, D∗ /δ x, is the number of grid cells of length δ x that span the characteristic diam-
   eter of the fire. The greater its value, the more “resolved” are the fire dynamics.

Ceiling Height relative to Fire Diameter, H/D∗ , is the non-dimensional height of the smoke plume.

Note that the calculations performed for the various validation studies described in this Guide use a wide
range of values of the Plume Resolution Index, D∗ /δ x. There are several reasons for this. First, typical
applications of FDS often involve relatively small fires in relatively large spaces, and it is impractical to
use a very fine grid that captures the detailed fire dynamics. Second, for some applications the accuracy of
calculation is highly dependent on resolving the plume well, but for others, it is less important. For those
citing the validation studies in this Guide, it is important that both the physical and numerical parameters
are comparable to the given application.




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               Table 3.49: Summary of important numerical parameters.

             Test Series             D∗ (m)      D∗ /δ x       H/D∗

             Arup Tunnel               1.8           9           3.8
             ATF Corridors          0.3 – 0.7      3–7        3.4 – 8.5
             Beyler Hood            0.1 – 0.2      5–8        2.1 – 3.5
             Bryant Doorway         0.2 – 0.7     5 – 14      3.4 – 9.9
             DelCo Trainers         0.7 – 1.0    6.9 – 10     2.3 – 3.5
             FAA Cargo                 0.1          5.6          12
             Fleury Heat Flux       0.4 – 0.6     8 – 12        Open
             FM Panels              0.2 – 0.4    12 – 19        Open
             FM/SNL                    0.7           7        8.5 – 8.8
             Hamins Burner         0.04 – 0.5        6          Open
             Harrison Plumes        0.1 – 0.2      5–7        2.8 – 4.4
             Heskestad              0.4 – 44      5 – 20        Open
             JH/FRA                 0.2 – 1.2   8.8 – 15.6    2.0 – 3.5
             LLNL Enclosure         0.3 – 0.6      1–3       6.9 – 15.9
             McCaffrey Plume        0.2 – 0.3     5 – 20        Open
             NBS Multi-Room            0.4           4           6.2
             NIST FSE               0.4 – 1.4    3.8 – 14     1.7 – 6.3
             NIST/NRC               0.6 – 1.3     5 – 11      3.1 – 6.5
             NIST/NRC Cabinets      0.2 – 0.7    2.2 – 6.7    3.1 – 9.5
             NIST/NRC Corner        0.5 – 0.7    5.1 – 6.7    5.7 – 7.5
             NIST RSE               0.3 – 0.8    12 – 32      1.3 – 3.5
             NIST Smoke Alarms      0.4 – 0.6    3.8 – 6.3    3.8 – 6.3
             NIST Vent Study           0.1          3.5          6.8
             NRCC Facade            1.8 – 2.4    18 – 24      1.2 – 1.5
             NRCC Smoke Tower          1.5          15          18.6
             NRL/HAI                0.3 – 0.7     9 – 10        Open
             PRISME                 0.7 – 1.2     7 – 12      3.4 – 5.6
             Sandia Plume           1.2 – 1.8   20 – 118        Open
             SP AST                    0.7          14           3.5
             Steckler               0.2 – 0.4      5–9        4.8 – 9.1
             UL/NFPRF               1.7 – 2.4     8 – 12      3.2 – 4.5
             UL/NIST                0.7 – 1.2     7 – 12      1.9 – 3.4
             Ulster SBI             0.2 – 0.3    12 – 15        Open
             USCG/HAI               0.5 – 0.9      5–9        3.2 – 5.6
             USN Hawaii             0.4 – 2.1     2 – 11     7.1 – 40.3
             USN Iceland            0.4 – 2.8     2 – 14      7.8 – 59
             Vettori Flat              1.0          12           2.8
             Vettori Sloped            1.0          10           2.6
             VTT Large Hall         1.2 – 1.6      5–6       12.1 – 15.8
             WTC                    0.9 – 1.1     9 – 11      3.5 – 4.1




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Chapter 4

Quantifying Model Uncertainty

This chapter describes a method to estimate the model uncertainty using comparisons of model predictions
with experimental measurements whose uncertainty has been quantified. The method is ideal for complex
numerical models like FDS for which a systematic analysis of sub-components is impractical, but for which
there exists a relatively large amount of experimental data with which to evaluate the accuracy of the model
predictions. If the uncertainty in the experiments can be quantified, the uncertainty in the model can then be
expressed in the form of a normal distribution whose mean and standard deviation are estimated from the
relative difference between the predicted and measured values.
     This method only addresses model uncertainty. It does not account for the uncertainty associated with
the model input parameters. How the parameter uncertainty is treated depends greatly on the type of ap-
plication. Regardless of how the parameter uncertainty is calculated, the model uncertainty needs to be
addressed independently. In fact, it is incumbent on the model developers to express the uncertainty of the
model in as simple a form as possible to enable the end user to assess the impact of parameter uncertainty
and then combine the two forms of uncertainty into a final result.


4.1    Introduction
The most effective way of introducing the subject of uncertainty in fire modeling is by way of an example.
Suppose that a fire model is used to estimate the likelihood that an electrical control cable could be damaged
by a fire. It is assumed that the cable loses functionality when its surface temperature reaches 200 ◦ C, and
the model predicts that the cable temperature could reach as high as 175 ◦ C. Does this mean that there is no
chance of damage? The answer is no, because the input parameters, like the heat release rate of the fire, and
the model assumptions, like the way the cables are modeled, are uncertain. The combination of the two –
the parameter uncertainty and the model uncertainty – leave open the possibility that the cable temperature
could exceed 200 ◦ C.
     This chapter addresses model uncertainty only and suggests a simple method to quantify it. While pa-
rameter uncertainty is certainly an important consideration in fire modeling, its treatment varies considerably
depending on the particular application. For example, in what is often referred to as a “bounding analysis,”
the model input parameters are chosen so as to simulate a “maximum credible” or “worst case” fire. In other
cases, mean values of the input parameters constitute a “50th percentile” design scenario. Sometimes entire
statistical distributions, rather than individual values, of the input parameters are “propagated” through the
model in a variety of ways, leading to a statistical distribution of the model output. Notarianni and Parry
survey these techniques in the SFPE Handbook [348]. Regardless of the method that is chosen for assessing
the impact of the input parameters on the model prediction, there needs to be a way of quantifying the un-
certainty of the model itself. In other words, how good is the prediction for a given set of input parameters?


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     The issue of model uncertainty has been around as long as the models themselves. The scenario above,
for example, was considered by Siu and Apostolakis in the early 1980s [349] as part of their development of
risk models for nuclear power plants. The fire models at the time were relatively simple. In fact, many were
engineering correlations in the form of simple formulae. This made the methods for quantifying their uncer-
tainty reasonably tractable because each formula consisted of only a handful of physical parameters. Over
the past thirty years, however, both fire modeling and the corresponding methods of uncertainty analysis
have become far more complex. The current generation of computational fluid dynamics (CFD) based fire
models require such a large number of physical and numerical parameters that it is considered too cumber-
some to estimate model uncertainty by systematically assessing their combined effect on the final prediction.
The more practical approach is to compare model predictions with actual fire experiments in a validation
study, the conclusions of which typically come in the form of statements like: “The model generally over-
predicts the measured temperatures by about 10 %,” or “The model predictions are within about 20 % of
the measured heat fluxes.” This information is helpful, at the very least to demonstrate that the model is
appropriate for the given application. However, even the statement that the model over-predicts measured
temperatures by 10 % is useful not only to gain acceptance of the model but also to provide a better sense
of the model’s accuracy, and a greater level of assurance in answering the question posed above. Knowing
that the model not only predicted a temperature of 175 ◦ C, but also that the model tends to over-predict
temperatures by a certain amount, increases the confidence that the postulated fire would not cause the cable
to fail. The probability of cable failure could be quantified further via a statistical distribution like the one
shown in Fig. 4.1. The area indicated by the shaded region is the probability that the temperature will exceed
200 ◦ C, even though the model has predicted a peak temperature of only 175 ◦ C.




           Figure 4.1: Plot showing a possible way of expressing the uncertainty of the model prediction.

     This chapter describes a method for expressing model uncertainty by way of a distribution like the
one shown in Fig. 4.1. The procedure is not a dramatic departure from the current practice of fire model
validation in that it relies entirely on comparisons of model predictions and experimental measurements.
The advantage of the approach is that it does not demand advanced knowledge of statistics or details of
the numerical model. The parameters of the distribution shown in Fig. 4.1, namely the mean and standard
deviation, are not generated by the model user. Rather, they are reported as the results of the validation
study. The calculation of the probability of exceeding some critical threshold (i.e., the area under the curve)
is a simple table look-up or function call in data analysis software like Microsoft Excel®.

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4.2    Sources of Model Uncertainty
A deterministic fire model is based on fundamental conservation laws of mass, momentum and energy, ap-
plied either to entire compartments or smaller control volumes that make up the compartments. A CFD
model may use millions of control volumes to compute the solution of the Navier-Stokes equations. How-
ever, it does not actually solve the Navier-Stokes equations, but rather an approximate form of these equa-
tions. The approximation involves simplifying physical assumptions, like the various techniques for treating
subgrid-scale turbulence. One critical approximation is the discretization of the governing equations. For
example, the partial derivative of the density, ρ, with respect to the spatial coordinate, x, can be written in
approximate form as:
                                          ∂ρ     ρi+1 − ρi−1
                                              =              + O(δ x2 )                                    (4.1)
                                          ∂x         2δx
where ρi is the average value of the density in the ith grid cell and δ x is the spacing between cells. The
second term on the right represents all of the terms of order δ x2 and higher in the Taylor series expansion
and are known collectively as the discretization error. These extra terms are simply dropped from the
equation set, the argument being that they become smaller and smaller with decreasing grid cell size, δ x.
The effect of these neglected terms is captured, to some extent, by the subgrid-scale turbulence model, but
that is yet another approximation of the true physics. What effect do these approximations have on the
predicted results? It is very difficult to determine based on an analysis of the discretized equations. One
possibility for estimating the magnitude of the discretization error is to perform a detailed convergence
analysis, but this still does not answer a question like, “What is the uncertainty of the model prediction of
the gas temperature at a particular location in the room at a particular point in time?”
     To make matters worse, there are literally dozens of subroutines that make up a CFD-based fire model,
from its transport equations, radiation solver, solid phase heat transfer routines, pyrolysis model, empirical
mass, momentum and energy transfer routines at the wall, and so on. It has been suggested by some that
a means to quantify the model uncertainty is to combine the uncertainties of all the model components.
However, such an exercise is very difficult, especially for a CFD model, for a number of reasons. First, fire
involves a complicated interaction of gas and solid phase phenomena that are closely coupled. Second, grid
sensitivity in a CFD model or the error associated with a two-layer assumption in a zone model are dependent
on the particular fire scenario. Third, fire is an inherently transient phenomenon in which relatively small
changes in events, like a door opening or sprinkler actuation, can lead to significant changes in outcome.
     Rather than attempt to decompose the model into its constituent parts and assess the uncertainty of
each, the strategy adopted here is to compare model predictions to as many experiments as possible. This
has been the traditional approach for quantifying model uncertainty in fire protection engineering because
of the relative abundance of test data. Consider, for example, the plot shown in Fig. 4.2. This is the typical
outcome of a validation study, where in this case a series of heat flux measurements are compared with
model predictions. The diagonal line indicates where the prediction and measurement agree. But because
there is uncertainty associated with each, it cannot be said that the model is perfect if its predictions agree
exactly with measurements. There needs to be a way of quantifying the uncertainties of each before any
conclusions can be drawn. Such an exercise would result in the uncertainty bars1 shown in the figure. The
horizontal bar associated with each point represents the uncertainty in the measurement itself. For example,
the heat flux gauge is subject to uncertainty due to its design and fabrication. Because the horizontal bar
represents the experimental uncertainty, it is assumed that the vertical bar represents the model uncertainty.
This is only partially true. In fact the vertical bar represents the total uncertainty of the prediction, which
is a combination of the model and parameter uncertainties. The physical input parameters, like the heat
release rate and material properties, are based on measurements that are reported in the documentation of
  1 The data in Fig. 4.2 was extracted from Ref. [350]. The uncertainty bars are for demonstration only.




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the experiment. The total experimental uncertainty is represented by all of the horizontal bar and part of the
vertical. If the experimental uncertainty can be quantified, then the model uncertainty can be obtained as a
result.




        Figure 4.2: Example of a typical scatter plot of model predictions and experimental measurements.




4.3    Experimental Uncertainty
The difference between a model prediction and an experimental measurement is a combination of three
components: (1) uncertainty in the measurement of the predicted quantity, (2) uncertainty in the model in-
put parameters, and (3) uncertainty in the model physics and numerics. The first two components are related
to uncertainty in the measured input and output quantities. For example, consider the hot gas layer (HGL)
temperature. First, the thermocouple measurements used to calculate the HGL temperature have uncertainty.
Second, the measurement of the heat release rate of the fire has uncertainty, and this uncertainty affects the
predicted HGL temperature. Third, the model itself, including its physical assumptions and numerical ap-
proximations, has uncertainty. The objective of the validation study is to quantify this third component, the
model uncertainty. To do this, the first two components of uncertainty related to the experimental measure-
ments must be quantified. The combination of these two, the experimental uncertainty, is the objective of
this section.
     For many of the experiments considered in this guide, the uncertainty of the measurements was not
documented. Instead, estimates of measurement uncertainty are made based on those few experiments that
do include uncertainty estimates, and this information is supplemented by engineering judgment. In the
following two subsections, each component of the experimental uncertainty is considered separately. First,
the uncertainty in the measurement of the predicted quantity of interest, like the surface temperature of the
compartment. Second, the uncertainties of the most important input parameters are propagated through
simple models to quantify their effect on the predicted quantity. Then, the uncertainties are combined via
simple quadrature to estimate the total experimental uncertainty.
     Note that in this guide, all uncertainties are expressed in relative form, as a percentage. The uncertainty


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of a measurement is a combination of the systematic uncertainty associated with the various underlying mea-
surements and assumptions; and the random uncertainty associated with the conduct of the experiment. Fol-
lowing the recommended guidelines for evaluating and expressing the uncertainty of measurements [351],
the systematic and random uncertainty values are combined via quadrature resulting in a combined relative
standard uncertainty.

4.3.1     Uncertainty of Common Fire Measurements
Because most of the experiments described in this guide have little or no information about the uncertainty
of the measurements, much of this section is based on the uncertainty analysis contained in the test report
of the NIST/NRC Experiments2 . The types of measurements described in this report are the ones most
commonly used in large scale fire experiments. They include thermocouples for gas and surface temperature
measurements, heat flux gauges, smoke and gas analyzers, and pressure sensors.

Thermocouples
Thermocouples are used to measure both gas and surface temperatures. They come in a variety of sizes
and are constructed of different types of metals. Some are shielded or aspirated to limit the influence of
thermal radiation from remote sources. In Ref. [123], Hamins et al. estimate the uncertainty of the various
thermocouple measurements. Estimates of the combined relative standard uncertainty fall in a range between
2.5 % and 7.5 %. Because it is not possible to analyze the thousands of thermocouple measurements made
in the experiments, the relative standard uncertainty applied to all thermocouple measurements is 5 %.

Heat Flux Gauges
For the NIST/NRC experiments, four types of heat flux gauges were used, some of which measured the
total heat flux, and some of which measured only the radiation heat flux. The uncertainty associated with a
heat flux measurement depends on many factors, including gauge characteristics, the calibration conditions
and accuracy, as well as the incident flux modes (convective, radiative, conductive). Typically, the reported
relative standard uncertainty of heat flux gauges varies from about 2.5 % to 5 %, with the measurement un-
certainty dominated by uncertainty in the calibration and repeatability of the measurement. Repeatability of
the various heat flux measurements in the NIST/NRC experiments was determined by examining measure-
ments by the same instruments for different pairs of repeat tests. The difference between the measurements
was about 3.5 %, on average, for both the radiative flux measurements and the total flux measurements.
For all of the experiments described in this guide, a combined relative standard uncertainty of 5 % is sug-
gested based on the measurement repeatability and calibration uncertainties reported for the NIST/NRC
experiments.

Gas Analyzers
Gas concentrations were measured in two sets of experiments conducted at NIST, the NIST/NRC and the
WTC experiments. The volume fractions of the combustion products, carbon monoxide (CO) and carbon
dioxide (CO2 ), were measured using gas sampling in conjunction with non-dispersive infrared analyzers,
while the oxygen (O2 ) volume fraction was typically measured using a paramagnetic analyzer. Gases were
extracted through stainless steel or other types of lines and were pumped from the compartment and passed
    2 Note that the uncertainties in Ref. [123] are reported in the form of 95 % confidence intervals, or “2-sigma”. This is referred

to as the expanded uncertainty with a coverage factor of 2. To avoid confusion, in this report the uncertainty of all measurements
and model predictions shall be reported in terms of a relative standard uncertainty; that is, the estimated standard deviation of the
measured or predicted quantity.


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through the analyzers. For several reasons, water in the sample was typically filtered, so the reported results
are denoted as “dry”. Analyzers were calibrated through the use of standard gas mixtures, with low relative
uncertainties. Problems with the technique may involve instrument drift, analyzer response, incomplete and
partial drying of sample gases, or (in the case when drying is not used) undetermined amounts of water
vapor in the oxygen cell, which result in inaccurate readings.
     For the NIST/NRC experiments, the species were measured in both the upper and lower layers. The
relative standard uncertainty in the measured values was about 1.5 % for both the O2 depletion and the CO2
measurements. The largest contributors were the uncertainty in the composition of the calibration gas and
the possibility of an undetermined amount of water vapor in the sample. The difference between the repeat
measurements was about 1 %, on average, for both the O2 depletion and the CO2 measurements. Therefore,
the combined relative standard uncertainty is estimated to be 2 % for measurements of both the O2 decrease
and the CO2 increase.

Smoke Light Extinction Calculations
The smoke concentration was measured in the NIST/NRC experiments using laser transmission at 632.8 nm.
The reported mass concentration of smoke, m′′′
                                           s , was computed using the following expression:

                                                      ln(I0 /I)
                                               m′′′
                                                s =                                                       (4.2)
                                                        φs L
where L is the path length, I and I0 are the laser signal and reference signal, respectively, and φs is the
specific extinction coefficient, which has a nearly universal value of 8.7 m2 /g ± 5 % for hydrocarbons [352].
The systematic relative standard uncertainty of this measurement was reported to be 9 % in Ref. [123], with
the dominant contribution to the uncertainty coming from drift in the laser measurement. Repeatability of
the smoke measurement was investigated for the NIST/NRC experiments. The mean difference between
replicate measurements was about 11 %. Therefore, a combined relative standard uncertainty of 14 % is
suggested.

Pressure Gauges
The uncertainty in pressure measurements is typically small, but depends on the sensor type and calibration.
In the NIST/NRC experiments, the differential pressure gauge used was temperature compensated, highly
linear, and very stable. The estimated relative standard uncertainty is 0.5 %.

Bi-Directional Probes
Gas velocity is typically measured in fire experiments using bi-directional probes. These devices work like
pitot tubes but have much larger openings. Bryant [159] estimates that the standard relative uncertainty of
this measurement, assuming that the probe is aligned well with the flow, is approximately 7 %.

Oxygen Consumption Calorimeters
For all of the experiments described in this guide, the heat release rate (HRR) is determined either via
oxygen consumption calorimetry or via the mass loss rate multiplied by the fuel heat of combustion. The
accuracy of each method varies roughly between 2.5 %, where the fire is small and the fuel stoichiometry
is well understood, and 13 %, where the fire is large or the smoke is not completely captured or the fuel
stoichiometry is not well understood. In Ref. [123], the relative standard uncertainty of a 2 MW heptane
spray fire is estimated to be 7.5 %. It is assumed that the uncertainty of the HRR for the other experiments
is comparable.

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Device Activation or Failure Time
Fire models are often used to predict the time to activation of devices like sprinklers and smoke detectors,
and time to failure of critical equipment like electrical cables. Measuring activation or failure times in
experiments is fairly precise, and, thus, the uncertainty of such measurements is essentially zero. Almost all
of the uncertainty associated with these times is in the measurement or characterization of the mechanism
of activation or failure. For example, the activation of a sprinkler is based on its measured RTI (Response
Time Index) and activation temperature. Estimates of the uncertainty of these parameters are discussed in
the next section.

4.3.2   Propagation of Input Parameter Uncertainty
Empirical correlations for basic fire phenomena provide a convenient way to assess the propagation of the
uncertainty of the model input parameters. The more complex fire models may require dozens of physical
and numerical input parameters for a given fire scenario. However, only a few of these parameters, when
varied over their plausible range of values, significantly impact the results. For example, the thermal con-
ductivity of the compartment walls does not significantly affect a predicted cable surface temperature, but
the HRR of the fire does. The relatively simple empirical models identify the key parameters that impact the
predicted quantity, and they provide the means to quantify the functional relationship between model inputs
and outputs.

Gas and Surface Temperatures
According to the McCaffrey, Quintiere, and Harkleroad (MQH) correlation, the HGL temperature rise,
T − T0 , in compartment fire is proportional to the HRR, Q̇, raised to the two-thirds power:
                                                               2
                                                T − T0 = C Q̇ 3                                            (4.3)

The constant, C, involves a number of geometric and thermo-physical parameters that are unique to the
given fire scenario. By way of differentials, this empirical relationship can be expressed in the form:

                                                 ∆T     2 ∆Q̇
                                                      ≈                                                    (4.4)
                                                T − T0 3 Q̇

This is a simple formula with which one can readily estimate the relative change in the temperature rise due
to the relative change in the HRR. The uncertainty in the HRR of the validation experiments was estimated
to be 7.5 %. Equation (4.4) indicates that a 7.5 % increase in the HRR should lead to a 5 % increase in the
HGL temperature.

HGL Depth
Most of the experiments for which the HGL depth was predicted had at least one open door or window that
effectively determined the steady-state HGL depth. Unlike all of the other predicted quantities, the HGL
depth is relatively insensitive to the fire’s HRR. It is largely determined by the height of the opening, and for
this reason there is essentially no uncertainty associated with the model inputs that affect the layer depth.

Gas and Smoke Concentration
Most fire models assume that combustion product gases and soot, once beyond the flaming region of the
fire, are passively transported throughout the compartment. The major products of combustion, like CO2

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and water vapor, plus the major reactant, O2 , are generated, or consumed, in direct proportion to the burning
rate of the fuel, which is directly proportional to the HRR. The mass fraction of any species in the HGL is
directly proportional to the product of its yield and the HRR.
     For many of the experiments described in this guide, the yields of the major product gases like O2 and
CO2 from pure fuels like methane gas and heptane liquid are known from the basic stoichiometry to a high
level of accuracy. Thus, the relative uncertainty in the concentration of major products gases is the same
as that of the HRR, 7.5 %. The uncertainty in the smoke concentration, however, is a combination of the
uncertainty of the HRR and the soot yield. The relative standard uncertainty of the soot yield of heptane
reported in Ref. [123] is 11 %. The uncertainties for HRR and soot yield are combined via quadrature and
the resulting expanded relative uncertainty is 13 %.

Pressure
In a closed, ventilated compartment, the average pressure, p, is governed by the following equation:
                                    dp γ − 1             γp             
                                       =     Q̇ − Q̇loss +   V̇ − V̇leak                                      (4.5)
                                    dt   V                 V
where γ is the ratio of specific heats (about 1.4), V is the compartment volume, Q̇ is the HRR, Q̇loss is the
sum of all heat losses to the walls, V̇ is the net ventilation rate into the compartment, and V̇leak is the leakage
rate out of the compartment. The leakage rate is a function of the compartment over-pressure:
                                                            s
                                                              2(p − p∞ )
                                             V̇leak = Aleak                                                    (4.6)
                                                                 ρ∞

The maximum compartment pressure is achieved when the pressure rise term in Eq. (4.5) is set to zero.
Rearranging terms yields an estimate for the maximum pressure:
                                                                                !2
                                             ρ∞     (γ − 1) Q̇ − Q̇loss + γ p∞V̇
                              (p − p∞ )max ≈                                                                  (4.7)
                                              2              γ p∞ Aleak

The test report for the NIST/NRC experiments contains estimates of the uncertainty in the HRR, ventilation
rate and leakage area. To calculate the uncertainty in the maximum pressure rise resulting from the uncer-
tainty in these three parameters, the pressure rise estimate in Eq. (4.7) was calculated using 1000 randomly
selected sets of values of the HRR, ventilation rate, and leakage area. These parameters were assumed to be
randomly distributed with mean values of 1000 kW, 1 m3 /s, and 0.06 m2 and relative standard uncertainties
of 75 kW, 0.1 m3 /s, and 0.0021 m2 . The mean values of these parameters were typical of the NIST/NRC ex-
periments, and the uncertainties were reported in the test report. The resulting relative standard uncertainty
in the pressure of a closed compartment due to the uncertainty in the HRR, ventilation rate, and leakage area
is 21 %.
     For an open compartment, in which the ventilation rate and leakage area have much less influence, the
relative standard uncertainty in the pressure is twice that of the HRR, 15 %.

Velocity
Fire-induced velocities, as in a plume or ceiling jet, are roughtly proportional to the HRR to the 1/3
power [353]. Given that the relative standard uncertainty in the HRR is 7.5 %, the uncertainty in gas velocity
due to the propagated effect of the uncertainty in the HRR is 2.5 %.



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Heat Flux
The heat flux to a target or wall is a combination of direct thermal radiation from the fire and convective and
thermal radiation from the HGL. If the heat flux is predominantly due to the thermal radiation of the fire, it
can be approximated using the point source radiation model:

                                                          χr Q̇
                                                 q̇′′ =                                                   (4.8)
                                                          4πr2
where χr is the radiative fraction, Q̇ is the HRR, and r is the distance from the fire. The relative standard
uncertainty of the heat flux is a combination of the uncertainty in the radiative fraction and the HRR:

                                              δ q̇′′ δ Q̇ δ χr
                                                    ≈    +                                                (4.9)
                                               q̇′′   Q̇   χr

Reference [123] estimates the relative standard uncertainty of the radiative fraction of a heptane pool fire to
be 8 %. Combined with the 7.5 % uncertainty in the HRR (via quadrature) yields a 11 % relative standard
uncertainty in the heat flux directly from a fire.
    The heat flux to a cold surface due to the exposure to hot gases and not necessarily the fire itself is the
sum of radiative and convective components:

                                      q̇′′ = εσ Tgas
                                                   4
                                                     − T∞4 + h Tgas − T∞
                                                                        
                                                                                                        (4.10)

where ε is the surface emissivity, σ is the Stefan-Boltzmann constant, Tgas is the gas temperature, T∞ is
the ambient temperature, and h is the convective heat transfer coefficient. From the discussion above, the
relative standard uncertainty in the gas temperature rise above ambient is 5 % resulting from an estimated
uncertainty in the HRR of 7.5 %. There is also uncertainty in the convective heat transfer coefficient, but
this is attributed to the model, not the experimental measurements. Thus, the uncertainty in the heat flux
is largely a function of the uncertainty in the gas temperature which is largely a function of the HRR. As
was done for the pressure, 1000 randomly selected values of gas temperature with a mean of 300 ◦ C above
ambient and an relative uncertainty of 5 % resulted in a corresponding uncertainty of 9 % in the heat flux.
     In actual compartment fires, the heat flux to surfaces is a combination of direct thermal radiation from
the fire and indirect radiation and convection from the hot gases. Given that the calculation of the former
incurs a 11 % relative standard uncertainty and the latter 9 %, to simplify the analyses, a value of 10 % is
used for all heat flux predictions.

Sprinkler Activation Time
The uncertainty in the reported sprinkler activation times is due mainly to uncertainties in the measured
HRR, RTI (Response Time Index), and activation temperature. There is a negligible uncertainty in the
measured activation time itself, which is typically determined with a pressure transducer. To determine the
effect of the uncertainties in the HRR, RTI and activation temperature, consider the ordinary differential
equation governing the temperature, Tlink , of a conventional glass bulb of fusible link sprinkler:
                                                    √
                                         dTlink       u               
                                                 =       Tgas − Tlink                                (4.11)
                                            dt      RTI
Here, u and Tgas are the velocity and the temperature of the ceiling jet, respectively. According to Alpert’s
ceiling jet correlation [353], the ceiling jet temperature and velocity are proportional to the HRR raised to
the power of 2/3 and 1/3, respectively. Given the relative standard uncertainty in the HRR of 7.5 %, the
uncertainty in the ceiling jet temperature and velocity are, thus, 5 % and 2.5 %, respectively. As for the RTI

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and activation temperature, these values are measured experimentally and the uncertainties differ depending
on the test procedure. Vettori [81] reports that the RTI of the sprinklers used in his experiments is 56 (m·s)1/2
with a relative standard uncertainty of 11 %, and that the activation temperature is 68 ◦ C ± 2.4 ◦ C. This latter
uncertainty estimate is assumed to represent one standard deviation. Assuming an ambient temperature of
approximately 20 ◦ C, the relative standard uncertainty in the activation temperature is assumed to be 5 %.
     To determine how the uncertainties in the measured parameters affect the sprinkler activation time,
Eq. (4.11) was integrated 1000 times using random selections of the ceiling jet temperature and velocity,
RTI, and activation temperature. The mean ceiling jet temperature was increased linearly at rates varying
from 0.5 ◦ C/s to 2 ◦ C/s, consistent with the variety of growth rates measured by Vettori. The mean ceiling
jet velocity was assumed to be 1 m/s. This procedure yielded a relative standard uncertainty in the sprinkler
activation time of 6 %.
     The activation times recorded by Vettori include two or three replicates for each configuration. The
standard deviation of the 45 measured activation times, normalized by the mean of each set of replicates,
was 6 %, consistent with the result obtained above.

Number of Activated Sprinklers
Alpert’s ceiling jet correlation [353] predicts the temperature rise, T − T∞ (◦ C), as a function of the HRR, Q̇
(kW), and radial distance, r (m), from the plume centerline:

                                                 Q̇2/3 /H 5/3
                                 T − T∞ = 5.38                  ;    r/H > 0.18                            (4.12)
                                                  (r/H)2/3

For a given ceiling height, H, the radial extent of the sprinkler activation temperature is directly propor-
tional to Q̇. The number of activated sprinklers is roughly proportional to the square of this radial distance,
assuming the sprinklers are uniformly spaced on a rectangular grid. Thus, the uncertainty in the number of
activated sprinklers due to the uncertainty in the HRR is 15 %.

Electrical Cable Failure Time
The uncertainty in the reported cable failure times is due mainly to uncertainties in the measured exposing
temperature, cable diameter, and jacket thickness. The uncertainty in the measured mass per unit length
of the cable is assumed to be negligible. To determine the uncertainty in the cable failure time, the heat
conduction equation in the THIEF model was solved numerically using 10,000 random selections of the ex-
posing temperature, cable diameter, and jacket thickness. The cable diameter was varied from 16.25 mm to
16.35 mm, and the jacket thickness was varied from 1.45 mm to 1.55 mm. The uncertainty in the exposing
temperature of the cylindrical heater was assumed to be 2.5 %, the lower bound of the range of uncer-
tainty estimates for thermocouple measurements. The mass per unit length of the cable was assumed to be
0.529 kg/m, and the ambient temperature was assumed to be 20 ◦ C. This procedure yielded an estimated
relative standard uncertainty in the cable failure time of 12 %.

Smoke Detector Activation Time
There is a single set of experiments with which to evaluate model predictions of smoke detector activation
time, the NIST Home Smoke Alarm Experiments. The test report [265] does not include detailed informa-
tion about the alarm mechanism within the various smoke detectors used in the experiments. Thus, from
a modeling standpoint, these devices are “black boxes” and their activation can only be discerned from a
variety of empirical techniques, the most popular of which is to assume that the smoke detector behaves like
a sprinkler or heat detector whose activation is governed by Eq. (4.11) with a low activation temperature and

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RTI. Bukowski and Averill [354] suggest an activation temperature of 5 ◦ C to be typical of many residential
smoke alarms. The propagated uncertainty of this estimate is difficult to determine because temperature
rise is not particularly well-correlated with smoke concentration within the sensing chamber of the detector.
Nevertheless, the relative standard deviation of the normalized activation times for the NIST Home Smoke
Alarm Experiments is 34 %. Without more detailed information about the activation criteria, the models
cannot predict the activation times more accurately than this value.

4.3.3   Summary of Experimental Uncertainty Estimates
Table 4.1 summarizes the estimated uncertainties of the major output quantities. The right-most column in
the table represents the total experimental uncertainty, denoted as σeE , a combination of the uncertainty in
the measurement of the output quantity itself, along with the propagated uncertainties of the key measured
input quantities. This total experimental uncertainty is obtained by taking the square root of the sum of
the squares of the measurement and propagation uncertainties that have been estimated in the previous two
sections. It is assumed that the two forms of uncertainty are independent.

Table 4.1: Summary of uncertainty estimates. All values are expressed in the form of a standard relative
uncertainty.


           Output                             Measurement      Propagated Input       Combined
           Quantity                           Uncertainty        Uncertainty        Uncertainty, σeE
           Gas and Solid Temperatures            0.05               0.05                 0.07
           HGL Depth                             0.05               0.00                 0.05
           Gas Concentrations                    0.02               0.08                 0.08
           Smoke Concentration                   0.14               0.13                 0.19
           Pressure, Closed Compartment          0.01               0.21                 0.21
           Pressure, Open Compartment            0.01               0.15                 0.15
           Velocity                              0.07               0.03                 0.08
           Heat Flux                             0.05               0.10                 0.11
           No. Activated Sprinklers              0.00               0.15                 0.15
           Sprinkler Activation Time             0.00               0.06                 0.06
           Cable Failure Time                    0.00               0.12                 0.12
           Smoke Alarm Activation Time           0.00               0.34                 0.34




4.4     Calculating Model Uncertainty
This section describes a method for calculating the model uncertainty [355]. Specifically, this entails devel-
oping formulae for the mean and standard deviation of a statistical distribution like the one shown in Fig. 4.1.
These formulae are functions solely of the model predictions and the experimental measurements against
which the model is compared. The objective is to characterize the performance of the model in predicting
a given quantity of interest (e.g., the hot gas layer temperature) with two parameters; one that expresses the
tendency for the model to under or over-predict the true value of the quantity and one that expresses the
degree of scatter about the true value.


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    The predicted and measured values of the quantity of interest are obtained from one or more validation
studies. Figure 4.3 is a typical example of a comparison of model and measurement. Given that usually
dozens of such measurements are made during each experiment, and potentially dozens of experiments are
conducted as part of a test series, hundreds of such plots can be produced for any given quantity of interest.
Usually, the data is condensed into a more tractable form by way of a single metric with which to compare




     Figure 4.3: Example of a typical time history comparison of model prediction and experimental measurement.

the two curves, like the ones shown in Fig. 4.3. Peacock et al. [356] discuss various possible metrics.
The metric most often used in the FDS validation process is the difference between the peak values of the
time-averaged predicted and measured time histories. Thus, for each measurement point, i, there is a pair
of Experimental and Modeled values, (Ei , Mi ), where i ranges from 1 to n and both Ei and Mi are positive
numbers expressing the greatest rise in the value of the measured/predicted quantity above its ambient. Here,
n is the total number of measurement points of a particular quantity of interest from all the experiments.
     As mentioned above, measurements from full-scale fire experiments often lack uncertainty estimates. In
cases where the uncertainty is reported, it is usually expressed as either a standard deviation or confidence
interval about the measured value. In other words, there is rarely a reported systematic bias in the mea-
surement because if a bias can be quantified, the reported values are adjusted accordingly. For this reason,
assume that a given experimental measurement, Ei , is normally distributed about the “true” value, θi , and
there is no systematic bias:
                                              E | θ ∼ N(θ , σE2 )                                       (4.13)
The notation3 E | θ means that E is conditional on a particular value of θ . This is the usual way of defining a
likelihood function. It is convenient to use the so-called delta method4 to obtain the approximate distribution
                                                               σeE2
                                                                         
                                                                        2
                                         ln E | θ ∼ N ln θ −        , σE
                                                                      e                                   (4.14)
                                                                2
The purpose of applying the natural log to the random variable is so that its variance can be expressed in
                                   eE = σE /θ . This is the way that experimental uncertainties are reported.
terms of the relative uncertainty, σ
     3 Note that the subscript, i, has been dropped merely to reduce the notational clutter.
     4 Given the random variable X ∼ N(µ, σ 2 ), the delta method [357] provides a way to estimate the distribution of a function of

X:                                                                                         
                                              g(X) ∼ N g(µ) + g′′ (µ) σ 2 /2 , (g′ (µ) σ )2



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In addition, the results of past validation exercises, when plotted as shown in Fig. 4.2, form a wedge-shaped
pattern that suggests that the difference between predicted and measured values is roughly proportional to
the magnitude of the measured value.
    It cannot be assumed, as in the case of the experimental measurements, that the model predictions have
no systematic bias. Instead, it is assumed that the model predictions are normally distributed about the true
values multiplied by a bias factor, δ :
                                                                 2
                                                                   
                                              M | θ ∼ N δ θ , σM                                        (4.15)
The standard deviation, σM , and the bias factor, δ , represent the model uncertainty. Again, the delta method
renders a distribution for ln M whose parameters can be expressed in terms of a relative standard deviation:
                                                            2
                                                                   
                                                         σeM      2             σM
                            ln M | θ ∼ N ln δ + ln θ −        , σeM   ; σeM =                            (4.16)
                                                           2                    δθ

Combining Eq. (4.14) with Eq. (4.16) yields:
                                                                2   σeE2
                                                                                  
                                                              σ
                                                              eM            2    2
                             ln M − ln E = ln(M/E) ∼ N ln δ −     +      ,σ
                                                                          eM + σeE                                           (4.17)
                                                               2     2

To estimate the mean and standard deviation of the distribution5 , first define:

                                                                1 n
                                                 ln(M/E) =        ∑ ln(Mi /Ei )                                              (4.18)
                                                                n i=1

The least squares estimate of the standard deviation of the combined distribution is defined as:

                                       2              1 n h                        i2
                                     σeM  eE2 ≈
                                         +σ               ∑   ln(Mi /Ei ) − ln(M/E)                                          (4.19)
                                                    n − 1 i=1

Recall that σ
            eE is known and the expression on the right can be evaluated using the pairs of measured and
predicted values. Equation (4.19) imposes a constraint on the value of the experimental uncertainty, σeE . A
further constraint is that σeM cannot be less than σeE because it is not possible to demonstrate that the model
is more accurate than the measurements against which it is compared. Combining the two constraints leads
to:
                                               2   1               
                                            σE < Var ln(M/E)
                                            e                                                             (4.20)
                                                   2
An estimate of δ can be found using the mean of the distribution:
                                                                2     σeE2
                                                                          
                                                             σeM
                                       δ ≈ exp ln(M/E) +           −                                      (4.21)
                                                               2       2

Taking the assumed normal distribution of the model prediction, M, in Eq. (4.15) and using a Bayesian
argument6 with a non-informative prior for θ , the posterior distribution can be expressed:
                                                                2
                                                                  
                                         δ θ | M ∼ N M , σM                                    (4.22)
    5 The assumption that ln(M/E) is normally distributed has been tested for each quantity of interest discussed in the chapters

ahead. The results are shown in Sec. 16.2.
    6 The form of Bayes theorem used here states that the posterior distribution is the product of the prior distribution and the
                                                                             R
likelihood function, normalized by their integral: f (θ |M) = p(θ ) f (M|θ )/ p(θ ) f (M|θ ) dθ . A constant prior is also known as a
Jeffreys prior [358].



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The assumption of a non-informative prior implies that there is not sufficient information about the prior dis-
tribution (i.e., the true value) of θ to assume anything other than a uniform7 distribution. This is equivalent
to saying that the modeler has not biased the model input parameters to compensate for a known bias in the
model output. For example, if a particular model has been shown to over-predict compartment temperature,
and the modeler has reduced the specified heat release rate to better estimate the true temperature, then it
can no longer be assumed that the prior distribution of the true temperature is uniform. Still another way to
look at this is by analogy to target shooting. Suppose a particular rifle has a manufacturers defect such that,
on average, it shoots 10 cm to the left of the target. It must be assumed that any given shot by a marksman
without this knowledge is going to strike 10 cm to the left of the intended target. However, if the marksman
knows of the defect, he or she will probably aim 10 cm to the right of the intended target to compensate for
the defect. If that is the case, it can no longer be assumed that the intended target was 10 cm to the right of
the bullet hole.
     The final step in the derivation is to rewrite Eq. (4.22) as:
                                                                  2 !
                                                       M       2   M
                                          θ |M∼N           , σeM                                         (4.23)
                                                        δ          δ

This formula has been obtained8 by dividing by the bias factor, δ , in Eq. (4.22). To summarize, given a
model prediction, M, of a particular quantity of interest (e.g., a cable temperature), the true (but unknown)
value of this quantity is normally distributed. The mean value and variance of this normal distribution are
based solely on comparisons of model predictions with past experiments that are similar to the particular
fire scenario being analyzed. The performance of the model is quantified by the estimators of the param-
eters, δ and σeM , which have been corrected to account for uncertainties associated with the experimental
measurements.
     When computing the relative error between measured and predicted values, an additional step is per-
formed to ensure that the bias factor, δ , is not skewed by a large number of data points at any particular
region in the scatter plot. The approach used for this procedure is called a regressogram, i.e., a bin-smoothed
estimator function [359]. This approach accounts for cases in which small measured values are compared
to small predicted values, which can result in a large relative error. In these cases, the calculated bias factor
might not be representative of the overall model bias, especially for larger measured and predicted values.
Alternatively, a regressogram treats the average values throughout the scatter plot equally by subdividing
the scatter plot into bins and normalizing each bin by the number of local data points. The regressogram
estimator function is implemented as follows. For each scatter plot, the x-axis is subdivided into 10 equally
spaced bins. Each bin is assigned a weight that is inversely proportional to the number of points in the bin;
a bin with more points is assigned a smaller weight, and a bin with fewer points is assigned a larger weight.
Finally, when the relative error is calculated, each bin is multiplied by its respective bin weight.


4.5      Example
This section describes how to make use of Eq. (4.23). Referring to the sample problem given above, suppose
a fire model is being used to estimate the likelihood that electrical control cables could be damaged due to
a fire in a compartment. Damage is assumed to occur when the surface temperature of any cable reaches
200 ◦ C. What is the likelihood that the cables would be damaged if the model predicts that the maximum
surface temperature of the cables is 175 ◦ C. Assuming that the input parameters are not in question, the
following procedure is suggested:
   7 A uniform distribution means that for any two equally sized intervals of the real line, there is an equal likelihood that the

random variable takes a value in one of them.
   8 Note that if X ∼ N(µ, σ 2 ), then cX ∼ N(cµ, (cσ )2 ).



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 1. Assemble a collection of model predictions, Mi , and experimental measurements, Ei , from past exper-
    iments involving objects with similar thermal characteristics as the cables in question. How “similar”
    the experiment is to the hypothetical scenario under study can be quantified by way of various param-
    eters, like the thermal inertia of the object, the size of the fire, the size of the compartment, and so on.
    Obtain estimates of the experimental uncertainty from those who conducted the experiments or follow
    the procedure outlined by Hamins [350]. Express the experimental uncertainty in relative terms, σ     eE .
 2. Calculate the bias factor, δ , and relative standard deviation, σ̃M , from Eqs. (4.21) and (4.19), respec-
    tively.
Consider the distribution, Eq. (4.23), of the “true” temperature, θ , shown graphically in Fig. 4.1. The
vertical lines indicate the “critical” temperature at which damage is assumed to occur (Tc = 200 ◦ C), and
the temperature predicted by the model (175 ◦ C). Given an ambient temperature of 20 ◦ C, the predicted
temperature rise, M, is 155 ◦ C. The mean and standard deviation in Eq. (4.23) are calculated:
                           M          155                          M               155
               µ = 20 +        = 20 +      = 157 ◦ C ; σ = σ    eM     = 0.20 ×         = 27 ◦ C         (4.24)
                           δ          1.13                          δ             1.13
respectively. The shaded area beneath the bell curve is the probability that the “true” temperature can exceed
the critical value, Tc = 200 ◦ C, which can be expressed via the complimentary error function:
                                                                           
                                      1       Tc − µ      1       200 − 157
                         P(T > Tc ) = erfc       √     = erfc          √         ≈ 0.06                  (4.25)
                                      2        σ 2        2         27 2
This means that there is a 6 % chance that the cables could become damaged, assuming that the model’s
input parameters are not subject to uncertainty.


4.6    Additional Considerations
Keep in mind that for any fire experiment, FDS might predict a particular quantity accurately (within the
experimental uncertainty bounds, for example), but another quantity less accurately. For example, in the a
series of 15 full-scale fire experiments conducted at NIST in 2003, sponsored by the U.S. Nuclear Regulatory
Commission, the average hot gas layer (HGL) temperature predictions were nearly within the accuracy of the
measurements themselves, yet the smoke concentration predictions differed from the measurements by as
much as a factor of 3. Why? Consider the following issues associated with various types of measurements:
  • Is the measurement taken at a single point, or averaged over many points? In the example above, the
    HGL temperature is an average of many thermocouple measurements, whereas the smoke concentration
    is based on the extinction of laser light over a short length span. Model error tends to be reduced by
    the averaging process, plus most fire models, including FDS, are based on global mass and energy
    conservation laws that are expressed as spatial averages.
  • Is the measured quantity time-averaged or instantaneous? For example, a surface temperature prediction
    is less prone to error in comparison to a heat flux prediction because the former is, in some sense, a time-
    integral of the latter.
  • In the case of a point measurement, how close to the fire is it? The terms “near-field” and “far-field” are
    used throughout this Guide to describe the relative distance from the fire. In general, predictions of near-
    field phenomena are more prone to error than far-field. There are exceptions, however. For example, a
    prediction of the temperature directly within the flaming region may be more accurate than that made
    just a fire diameter away because of the fact that temperatures tend to stabilize at about 1000 ◦ C within
    the fire itself, but then rapidly decrease away from the flames. Less accurate predictions typically occur
    in regions of steep gradients (rapid changes, both in space and time).

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Chapter 5

HGL Temperature and Depth

FDS, like any CFD-based fire model, does not perform a direct calculation of the HGL temperature or
height. These are constructs unique to two-zone models. Nevertheless, FDS does make predictions of gas
temperature at the same locations as the thermocouples in the experiments, and these values can be reduced
in the same manner as the experimental measurements to produce an “average” HGL temperature and height.
Regardless of the validity of the reduction method, the FDS predictions of the HGL temperature and height
ought to be representative of the accuracy of its predictions of the individual thermocouple measurements
that are used in the HGL reduction. The temperature measurements from the experiments reported in this
chapter are used to compute an HGL temperature and height with which to compare to FDS. The same layer
reduction method, described in the next section, is used for all the data presented in this chapter.


5.1     HGL Reduction Method
Fire protection engineers often need to estimate the location of the interface between the hot, smoke-laden
upper layer and the cooler lower layer in a burning compartment. Relatively simple fire models, often re-
ferred to as two-zone models, compute this quantity directly, along with the average temperature of the upper
and lower layers. In a CFD-based fire model like FDS, there are not two distinct zones, but rather a con-
tinuous profile of temperature. Nevertheless, there are methods that have been developed to estimate layer
height and average temperatures from a continuous vertical profile of temperature. One such method [360]
is as follows: Consider a continuous function T (z) defining temperature T as a function of height above the
floor z, where z = 0 is the floor and z = H is the ceiling. Define Tu as the upper layer temperature, Tℓ as the
lower layer temperature, and zint as the interface height. Compute the quantities:
                                                              Z H
                                 (H − zint ) Tu + zint Tℓ =           T (z) dz = I1
                                                                0
                                                              Z H
                                             1         1                1
                               (H − zint )      + zint    =                 dz = I2
                                             Tu        Tℓ      0      T (z)
Solve for zint :
                                                      Tℓ (I1 I2 − H 2 )
                                             zint =                                                   (5.1)
                                                   I1 + I2 Tℓ2 − 2 Tℓ H
Let Tℓ be the temperature in the lowest mesh cell and, using Simpson’s Rule, perform the numerical integra-
tion of I1 and I2 . Tu is defined as the average upper layer temperature via
                                                              Z H
                                         (H − zint ) Tu =             T (z) dz                            (5.2)
                                                               zint
Further discussion of similar procedures can be found in Ref. [361].

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5.2                      ATF Corridors
The ATF Corridors experiments consisted of two corridors one on top of the other and connected by a
stairwell. HGL temperature and depth reductions were carried out using three arrays of thermocouples in
the lower corridor (Trees A, B, and C) and two arrays in the upper corridor (Trees G and H).
                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                         200                                                                                         2.5
                                   ATF Corridors, 50 kW, Level 1                                                               HGL Height, ATF Corridors, 50 kW, Level 1
                                                                                                                       2
                         150
      Temperature (°C)




                                                                                                                     1.5




                                                                                                        Height (m)
                         100
                                                                                                                       1

                          50
                                                                                                                     0.5
                                                                          Exp (T_upper)                                                                                 Exp (Height)
                                                                          FDS (T_upper)                                                                                 FDS (Height)
                           0                                                                                           0
                               0            5          10                15                  20                            0            5          10                15                  20
                                                   Time (min)                                                                                  Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                         200                                                                                         2.5
                                   ATF Corridors, 100 kW, Level 1                                                              HGL Height, ATF Corridors, 100 kW, Level 1
                                                                                                                       2
                         150
      Temperature (°C)




                                                                                                                     1.5
                                                                                                        Height (m)




                         100
                                                                                                                       1

                          50
                                                                                                                     0.5
                                                                          Exp (T_upper)                                                                                 Exp (Height)
                                                                          FDS (T_upper)                                                                                 FDS (Height)
                           0                                                                                           0
                               0            5          10                15                  20                            0            5          10                15                  20
                                                   Time (min)                                                                                  Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                         300                                                                                         2.5
                                   ATF Corridors, 240 kW, Level 1                                                              HGL Height, ATF Corridors, 240 kW, Level 1
                         250
                                                                                                                       2

                         200
      Temperature (°C)




                                                                                                                     1.5
                                                                                                        Height (m)




                         150
                                                                                                                       1
                         100

                                                                                                                     0.5
                          50                                              Exp (T_upper)                                                                                 Exp (Height)
                                                                          FDS (T_upper)                                                                                 FDS (Height)
                           0                                                                                           0
                               0            5          10                15                  20                            0            5          10                15                  20
                                                   Time (min)                                                                                  Time (min)



                               Figure 5.1: ATF Corridors, HGL temperature and height, first floor, 50 kW, 100 kW, 240 kW.




                                                                                                  184
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                               ATF Corridors, 250 kW, Level 1                                                              HGL Height, ATF Corridors, 250 kW, Level 1
                    250
                                                                                                                   2

                    200
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                 Exp (Height)
                                                                      FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                            0
                          0             5          10                15                  20                            0            5          10                15                  20
                                               Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                               ATF Corridors, 500 kW, Level 1                                                              HGL Height, ATF Corridors, 500 kW, Level 1
                                                                                                                   2
                    300
 Temperature (°C)




                                                                                                                 1.5




                                                                                                    Height (m)
                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                 Exp (Height)
                                                                      FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                            0
                          0             5          10                15                  20                            0            5          10                15                  20
                                               Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                               ATF Corridors, Pulsed HRR, Level 1                                                          HGL Height, ATF Corridors, Pulsed HRR, Level 1
                                                                                                                   2
                    300
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                 Exp (Height)
                                                                      FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                            0
                          0             5          10                15                  20                            0            5          10                15                  20
                                               Time (min)                                                                                  Time (min)



                              Figure 5.2: ATF Corridors, HGL temperature and height, first floor, 250 kW, 500 kW, mixed.




                                                                                              185
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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, 50 kW, Level 2                                                               HGL Height, ATF Corridors, 50 kW, Level 2
                                                                                                                  2
                    150
 Temperature (°C)



                                                                                                                1.5




                                                                                                   Height (m)
                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, 100 kW, Level 2                                                              HGL Height, ATF Corridors, 100 kW, Level 2
                                                                                                                  2
                    150
 Temperature (°C)




                                                                                                                1.5




                                                                                                   Height (m)
                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, 240 kW, Level 2                                                              HGL Height, ATF Corridors, 240 kW, Level 2
                                                                                                                  2
                    150
 Temperature (°C)




                                                                                                                1.5
                                                                                                   Height (m)




                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)



                          Figure 5.3: ATF Corridors, HGL temperature and height, second floor, 50 kW, 100 kW, 240 kW.




                                                                                             186
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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, 250 kW, Level 2                                                              HGL Height, ATF Corridors, 250 kW, Level 2
                                                                                                                  2
                    150
 Temperature (°C)



                                                                                                                1.5




                                                                                                   Height (m)
                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, 500 kW, Level 2                                                              HGL Height, ATF Corridors, 500 kW, Level 2
                                                                                                                  2
                    150
 Temperature (°C)




                                                                                                                1.5




                                                                                                   Height (m)
                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              ATF Corridors, Pulsed HRR, Level 2                                                          HGL Height, ATF Corridors, Pulsed HRR, Level 2
                                                                                                                  2
                    150
 Temperature (°C)




                                                                                                                1.5
                                                                                                   Height (m)




                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)



                          Figure 5.4: ATF Corridors, HGL temperature and height, second floor, 250 kW, 500 kW, mixed.




                                                                                             187
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5.3    CSTB Tunnel
The CSTB Tunnel experiments include thermocouple measurements at various locations in a small-scale
tunnel equipped with a water mist system. Two experiments (Tests 2 and 27) are simulated; the former with
no mist activation and the latter with activation after 5 min. The tunnel is approximately 43 m long and the
fire is located 17.5 m from the upstream opening.
     On the following pages, thermocouple measurements at downwind distances of 4 m, 8 m, 12 m, and
24 m are compared to the predicted values. For a given label, say T+2411, the T denotes Temperature, the
+24 means 24 m downwind of the fire, and the final two digits denote the particular thermocouple within an
array at that location. The chosen TCs are located along the vertical centerline.




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                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                               700
                                         Temperature, CSTB Tunnel Test 2
                               600

                               500




            Temperature (°C)
                                                                                                         Exp (T+0410)
                                                                                                         Exp (T+0412)
                               400
                                                                                                         Exp (T+0414)
                                                                                                         FDS (Tp0410)
                               300                                                                       FDS (Tp0412)
                                                                                                         FDS (Tp0414)
                               200

                               100

                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                               500
                                         Temperature, CSTB Tunnel Test 2
                               400
            Temperature (°C)




                                                                                                         Exp (T+0810)
                               300                                                                       Exp (T+0812)
                                                                                                         Exp (T+0814)
                                                                                                         FDS (Tp0810)
                               200                                                                       FDS (Tp0812)
                                                                                                         FDS (Tp0814)

                               100


                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                               400
                                         Temperature, CSTB Tunnel Test 2

                               300                                                                       Exp (T+1210)
                                                                                                         Exp (T+1212)
            Temperature (°C)




                                                                                                         Exp (T+1214)
                                                                                                         Exp (T+1216)
                               200                                                                       FDS (Tp1210)
                                                                                                         FDS (Tp1212)
                                                                                                         FDS (Tp1214)
                                                                                                         FDS (Tp1216)
                               100


                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                               300
                                         Temperature, CSTB Tunnel Test 2
                               250
                                                                                                         Exp (T+2410)
                               200                                                                       Exp (T+2412)
            Temperature (°C)




                                                                                                         Exp (T+2414)
                                                                                                         Exp (T+2416)
                               150                                                                       FDS (Tp2410)
                                                                                                         FDS (Tp2412)
                               100                                                                       FDS (Tp2414)
                                                                                                         FDS (Tp2416)

                                50

                                 0
                                     0        2        4         6            8             10
                                                           Time (s)


       Figure 5.5: CSTB Tunnel, Test 2, temperatures at 4, 8, 12 and 24 m downstream of fire.


                                                                            189
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                                                                      FDS-6.8.0-1328-g22c40bf-master
                               500
                                         Temperature, CSTB Tunnel Test 27
                               400




            Temperature (°C)
                                                                                                         Exp (T+0410)
                               300                                                                       Exp (T+0412)
                                                                                                         Exp (T+0414)
                                                                                                         FDS (Tp0410)
                               200                                                                       FDS (Tp0412)
                                                                                                         FDS (Tp0414)

                               100


                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1328-g22c40bf-master
                               400
                                         Temperature, CSTB Tunnel Test 27

                               300
            Temperature (°C)




                                                                                                         Exp (T+0811)
                                                                                                         Exp (T+0812)
                                                                                                         Exp (T+0814)
                               200                                                                       FDS (Tp0811)
                                                                                                         FDS (Tp0812)
                                                                                                         FDS (Tp0814)
                               100


                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1328-g22c40bf-master
                               300
                                         Temperature, CSTB Tunnel Test 27
                               250
                                                                                                         Exp (T+1210)
                               200                                                                       Exp (T+1212)
            Temperature (°C)




                                                                                                         Exp (T+1214)
                                                                                                         Exp (T+1216)
                               150                                                                       FDS (Tp1210)
                                                                                                         FDS (Tp1212)
                               100                                                                       FDS (Tp1214)
                                                                                                         FDS (Tp1216)

                                50

                                 0
                                     0        2        4         6            8             10
                                                           Time (s)

                                                                      FDS-6.8.0-1328-g22c40bf-master
                               200
                                         Temperature, CSTB Tunnel Test 27

                               150                                                                       Exp (T+2411)
                                                                                                         Exp (T+2413)
            Temperature (°C)




                                                                                                         Exp (T+2414)
                                                                                                         Exp (T+2416)
                               100                                                                       FDS (Tp2411)
                                                                                                         FDS (Tp2413)
                                                                                                         FDS (Tp2414)
                                                                                                         FDS (Tp2416)
                                50


                                 0
                                     0        2        4         6            8             10
                                                           Time (s)


      Figure 5.6: CSTB Tunnel, Test 27, temperatures at 4, 8, 12 and 24 m downstream of fire.


                                                                             190
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5.4    DelCo Trainers
The DelCo Trainer experiments were conducted in two different structures. Tests 2-6 were conducted in a
single level structure consisting of three rooms. Rooms 1 and 3 had two thermocouple trees and Room 2
had one. Tests 22-25 were conducted in a two level structure. Floors 1 and 2 each had three thermocouple
arrays. See Sec. 3.18 for their exact locations.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    700                                                                                          2.5
                              HGL Temperature, Test 2, Room 1                                                              HGL Height, Test 2, Room 1
                    600
                                                                                                                   2
                    500
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    400

                    300                                                                                            1
                    200
                                                                                                                 0.5
                    100                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          2.5
                              HGL Temperature, Test 2, Room 2                                                              HGL Height, Test 2, Room 2
                    400                                                                                            2
 Temperature (°C)




                    300                                                                                          1.5




                                                                                                    Height (m)
                    200                                                                                            1


                    100                                                                                          0.5
                                                                      Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                              HGL Temperature, Test 2, Room 3                                                              HGL Height, Test 2, Room 3
                    250
                                                                                                                   2

                    200
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)



                                           Figure 5.7: DelCo Trainers, HGL Temperature and Height, Test 2.




                                                                                              192
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    700                                                                                          2.5
                              HGL Temperature, Test 3, Room 1                                                              HGL Height, Test 3, Room 1
                    600
                                                                                                                   2
                    500
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    400

                    300                                                                                            1
                    200
                                                                                                                 0.5
                    100                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          2.5
                              HGL Temperature, Test 3, Room 2                                                              HGL Height, Test 3, Room 2
                    400                                                                                            2
 Temperature (°C)




                    300                                                                                          1.5




                                                                                                    Height (m)
                    200                                                                                            1


                    100                                                                                          0.5
                                                                      Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                              HGL Temperature, Test 3, Room 3                                                              HGL Height, Test 3, Room 3
                    250
                                                                                                                   2

                    200
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)



                                           Figure 5.8: DelCo Trainers, HGL Temperature and Height, Test 3.




                                                                                              193
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    700                                                                                          2.5
                              HGL Temperature, Test 4, Room 1                                                              HGL Height, Test 4, Room 1
                    600
                                                                                                                   2
                    500
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    400

                    300                                                                                            1
                    200
                                                                                                                 0.5
                    100                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          2.5
                              HGL Temperature, Test 4, Room 2                                                              HGL Height, Test 4, Room 2
                    400                                                                                            2
 Temperature (°C)




                    300                                                                                          1.5




                                                                                                    Height (m)
                    200                                                                                            1


                    100                                                                                          0.5
                                                                      Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                              HGL Temperature, Test 4, Room 3                                                              HGL Height, Test 4, Room 3
                    250
                                                                                                                   2

                    200
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)



                                           Figure 5.9: DelCo Trainers, HGL Temperature and Height, Test 4.




                                                                                              194
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    700                                                                                          2.5
                              HGL Temperature, Test 5, Room 1                                                              HGL Height, Test 5, Room 1
                    600
                                                                                                                   2
                    500
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    400

                    300                                                                                            1
                    200
                                                                                                                 0.5
                    100                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0       10      20       30         40            50           60                            0       10      20       30         40            50           60
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          2.5
                              HGL Temperature, Test 5, Room 2                                                              HGL Height, Test 5, Room 2
                    400                                                                                            2
 Temperature (°C)




                    300                                                                                          1.5




                                                                                                    Height (m)
                    200                                                                                            1


                    100                                                                                          0.5
                                                                      Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0       10      20       30         40            50           60                            0       10      20       30         40            50           60
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                              HGL Temperature, Test 5, Room 3                                                              HGL Height, Test 5, Room 3
                    250
                                                                                                                   2

                    200
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0       10      20       30         40            50           60                            0       10      20       30         40            50           60
                                               Time (min)                                                                                   Time (min)



                                          Figure 5.10: DelCo Trainers, HGL Temperature and Height, Test 5.




                                                                                              195
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    700                                                                                          2.5
                              HGL Temperature, Test 6, Room 1                                                              HGL Height, Test 6, Room 1
                    600
                                                                                                                   2
                    500
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    400

                    300                                                                                            1
                    200
                                                                                                                 0.5
                    100                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          2.5
                              HGL Temperature, Test 6, Room 2                                                              HGL Height, Test 6, Room 2
                    400                                                                                            2
 Temperature (°C)




                    300                                                                                          1.5




                                                                                                    Height (m)
                    200                                                                                            1


                    100                                                                                          0.5
                                                                      Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                          2.5
                              HGL Temperature, Test 6, Room 3                                                              HGL Height, Test 6, Room 3
                    250
                                                                                                                   2

                    200
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    150
                                                                                                                   1
                    100

                                                                                                                 0.5
                     50                                               Exp (T_upper)                                                                                  Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0        5      10       15         20            25           30                            0        5      10       15         20            25           30
                                               Time (min)                                                                                   Time (min)



                                          Figure 5.11: DelCo Trainers, HGL Temperature and Height, Test 6.




                                                                                              196
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                              HGL Temperature, Test 22, Floor 1                                                            HGL Height, Test 22, Floor 1
                                                                                                                   2
                    300
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          2.5
                              HGL Temperature, Test 22, Floor 2                                                            HGL Height, Test 22, Floor 2
                                                                                                                   2
                    150
 Temperature (°C)




                                                                                                                 1.5




                                                                                                    Height (m)
                    100
                                                                                                                   1

                     50
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                              HGL Temperature, Test 23, Floor 1                                                            HGL Height, Test 23, Floor 1
                                                                                                                   2
                    300
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          2.5
                              HGL Temperature, Test 23, Floor 2                                                            HGL Height, Test 23, Floor 2
                                                                                                                   2
                    150
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    100
                                                                                                                   1

                     50
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)



                                              Figure 5.12: DelCo Trainers, HGL Temperature, Tests 22-23.

                                                                                              197
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                              HGL Temperature, Test 24, Floor 1                                                            HGL Height, Test 24, Floor 1
                                                                                                                   2
                    300
 Temperature (°C)



                                                                                                                 1.5




                                                                                                    Height (m)
                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          2.5
                              HGL Temperature, Test 24, Floor 2                                                            HGL Height, Test 24, Floor 2
                                                                                                                   2
                    150
 Temperature (°C)




                                                                                                                 1.5




                                                                                                    Height (m)
                    100
                                                                                                                   1

                     50
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          2.5
                              HGL Temperature, Test 25, Floor 1                                                            HGL Height, Test 25, Floor 1
                                                                                                                   2
                    300
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    200
                                                                                                                   1

                    100
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          2.5
                              HGL Temperature, Test 25, Floor 2                                                            HGL Height, Test 25, Floor 2
                                                                                                                   2
                    150
 Temperature (°C)




                                                                                                                 1.5
                                                                                                    Height (m)




                    100
                                                                                                                   1

                     50
                                                                                                                 0.5
                                                                      Exp (T_upper)                                                                                   Exp (Height)
                                                                      FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                            0
                          0            5           10                15                  20                            0            5           10                 15                  20
                                               Time (min)                                                                                   Time (min)



                                              Figure 5.13: DelCo Trainers, HGL Temperature, Tests 24-25.

                                                                                              198
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5.5                      FM/SNL Test Series
Nineteen tests from the FM/SNL test series were selected for comparison. The HGL temperature and height
are calculated using the standard method. The thermocouple arrays that were located in Sectors 1, 2 and
3 are averaged (with an equal weighting for each) for all tests except Tests 21 and 22. For these tests,
only Sectors 1 and 3 are used, as Sector 2 falls within the smoke plume. Also, for all but the gas burner
experiments, the time history of the HRR is estimated. Only the peak HRR is reported.
                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                         200                                                                                           6
                                   HGL Temperature, FM/SNL Test 1                                                              HGL Height, FM/SNL Test 1
                                                                                                                       5
                         150
                                                                                                                       4
      Temperature (°C)




                                                                                                          Height (m)
                         100                                                                                           3

                                                                                                                       2
                          50
                                                                           Exp (T_Upper)
                                                                                                                       1                                               Exp (Height)
                                                                           FDS (T_Upper)                                                                               FDS (Height)
                           0                                                                                           0
                               0       5        10       15         20            25           30                          5         6        7          8               9              10
                                                     Time (min)                                                                               Time (min)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                         200                                                                                           6
                                   HGL Temperature, FM/SNL Test 2                                                              HGL Height, FM/SNL Test 2
                                                                                                                       5
                         150
                                                                                                                       4
      Temperature (°C)




                                                                                                          Height (m)




                         100                                                                                           3

                                                                                                                       2
                          50
                                                                           Exp (T_Upper)
                                                                                                                       1                                               Exp (Height)
                                                                           FDS (T_Upper)                                                                               FDS (Height)
                           0                                                                                           0
                               0       5        10       15         20            25           30                          5         6        7          8               9              10
                                                     Time (min)                                                                               Time (min)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                         200                                                                                           6
                                   HGL Temperature, FM/SNL Test 3                                                              HGL Height, FM/SNL Test 3
                                                                                                                       5
                         150
                                                                                                                       4
      Temperature (°C)




                                                                                                          Height (m)




                         100                                                                                           3

                                                                                                                       2
                          50
                                                                           Exp (T_Upper)
                                                                                                                       1                                               Exp (Height)
                                                                           FDS (T_Upper)                                                                               FDS (Height)
                           0                                                                                           0
                               0       5        10       15         20            25           30                          5         6        7          8               9              10
                                                     Time (min)                                                                               Time (min)



                                           Figure 5.14: FM/SNL experiments, HGL temperature and height, Tests 1, 2, 3.




                                                                                                    199
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 4                                                             HGL Height, FM/SNL Test 4
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                               Exp (Height)
                                                                     FDS (T_Upper)                                                                               FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                    15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 5                                                             HGL Height, FM/SNL Test 5
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                               Exp (Height)
                                                                     FDS (T_Upper)                                                                               FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                    15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 6                                                             HGL Height, FM/SNL Test 6
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                               Exp (Height)
                                                                     FDS (T_Upper)                                                                               FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                    15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 7                                                             HGL Height, FM/SNL Test 7
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                               Exp (Height)
                                                                     FDS (T_Upper)                                                                               FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                    15
                                               Time (min)                                                                               Time (min)



                                  Figure 5.15: FM/SNL experiments, HGL temperature and height, Tests 4, 5, 6, 7.

                                                                                              200
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 8                                                             HGL Height, FM/SNL Test 8
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 9                                                             HGL Height, FM/SNL Test 9
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 10                                                            HGL Height, FM/SNL Test 10
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 11                                                            HGL Height, FM/SNL Test 11
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)



                                 Figure 5.16: FM/SNL experiments, HGL temperature and height, Tests 8, 9, 10, 11.

                                                                                              201
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 12                                                            HGL Height, FM/SNL Test 12
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 13                                                            HGL Height, FM/SNL Test 13
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 14                                                            HGL Height, FM/SNL Test 14
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 15                                                            HGL Height, FM/SNL Test 15
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                Exp (Height)
                                                                     FDS (T_Upper)                                                                                FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                      10                                     15
                                               Time (min)                                                                               Time (min)



                               Figure 5.17: FM/SNL experiments, HGL temperature and height, Tests 12, 13, 14, 15.

                                                                                              202
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 16                                                            HGL Height, FM/SNL Test 16
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                 Exp (Height)
                                                                     FDS (T_Upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5                        10                                    15
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 17                                                            HGL Height, FM/SNL Test 17
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)
                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                 Exp (Height)
                                                                     FDS (T_Upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5               10                  15                         20
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 21                                                            HGL Height, FM/SNL Test 21
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                 Exp (Height)
                                                                     FDS (T_Upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5               10                  15                         20
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                          6
                              HGL Temperature, FM/SNL Test 22                                                            HGL Height, FM/SNL Test 22
                                                                                                                 5
                    150
                                                                                                                 4
 Temperature (°C)




                                                                                                    Height (m)




                    100                                                                                          3

                                                                                                                 2
                     50
                                                                     Exp (T_Upper)
                                                                                                                 1                                                 Exp (Height)
                                                                     FDS (T_Upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          5               10                  15                         20
                                               Time (min)                                                                                 Time (min)



                               Figure 5.18: FM/SNL experiments, HGL temperature and height, Tests 16, 17, 21, 22.

                                                                                              203
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5.6                    JH/FRA Experiments
Eight tests from the JH/FRA test series were selected for comparison. The HGL temperature and height are
calculated using the standard method. The thermocouple arrays that were located in the north east and south
east corners are averaged (with an equal weighting for each) for all tests.
                                                            FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                      1000                                                                                         0.6
                                 JH FRA 1:4 Door, Test 1                                                                     JH FRA 1:4 Door, Test 1
                                                                                                                   0.5
                       800

                                                                                                                   0.4
   Temperature (°C)




                       600




                                                                                                      Height (m)
                                                                                                                   0.3
                       400
                                                                                                                   0.2

                       200
                                                                      Exp (T_upper)
                                                                                                                   0.1                                               Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                         0                                                                                           0
                             0         2         4          6              8               10                            0         2         4          6               8               10
                                                 Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                      1000                                                                                         0.6
                                 JH FRA 1:4 Door & Window, Test 2                                                            JH FRA 1:4 Door & Window, Test 2
                                                                                                                   0.5
                       800

                                                                                                                   0.4
   Temperature (°C)




                       600
                                                                                                      Height (m)




                                                                                                                   0.3
                       400
                                                                                                                   0.2

                       200
                                                                      Exp (T_upper)
                                                                                                                   0.1                                               Exp (Height)
                                                                      FDS (T_upper)                                                                                  FDS (Height)
                         0                                                                                           0
                             0         2         4          6              8               10                            0         2         4          6               8               10
                                                 Time (min)                                                                                  Time (min)



                        Figure 5.19: JH/FRA experiments, HGL temperature and height, 1:4 scale inert lining configuration.




                                                                                                204
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                                                          FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                   1000                                                                                          0.6
                              JH FRA 1:4 Plywood Walls, Test 3                                                             JH FRA 1:4 Plywood Walls, Test 3
                                                                                                                 0.5
                    800

                                                                                                                 0.4
Temperature (°C)



                    600




                                                                                                    Height (m)
                                                                                                                 0.3
                    400
                                                                                                                 0.2

                    200
                                                                    Exp (T_upper)
                                                                                                                 0.1                                               Exp (Height)
                                                                    FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0         2         4          6               8               10                            0         2         4          6               8               10
                                              Time (min)                                                                                   Time (min)

                                                          FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                   1200                                                                                          0.6
                              JH FRA 1:4 Plywood Walls Full, Test 3A                                                       JH FRA 1:4 Plywood Walls Full, Test 3A
                   1000                                                                                          0.5

                    800                                                                                          0.4
Temperature (°C)




                                                                                                    Height (m)
                    600                                                                                          0.3

                    400                                                                                          0.2

                    200                                             Exp (T_upper)
                                                                                                                 0.1                                               Exp (Height)
                                                                    FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                            0
                          0         2         4          6               8               10                            0         2         4          6               8               10
                                              Time (min)                                                                                   Time (min)



     Figure 5.20: JH/FRA experiments, HGL temperature and height, 1:4 scale combustible lining configuration.




                                                                                              205
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                                                         FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                   1000                                                                                         1.2
                              JH FRA 1:2 Door, Test 6                                                                     JH FRA 1:2 Door, Test 6
                                                                                                                  1
                    800

                                                                                                                0.8
Temperature (°C)



                    600




                                                                                                   Height (m)
                                                                                                                0.6
                    400
                                                                                                                0.4

                    200
                                                                   Exp (T_upper)
                                                                                                                0.2                                               Exp (Height)
                                                                   FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0         2         4          6              8               10                            0         2         4          6               8               10
                                              Time (min)                                                                                  Time (min)

                                                         FDS-6.8.0-0-g886e009-release                                                                 FDS-6.8.0-0-g886e009-release
                   1000                                                                                         1.2
                              JH FRA 1:2 Door & Window, Test 7                                                            JH FRA 1:2 Door & Window, Test 7
                                                                                                                  1
                    800

                                                                                                                0.8
Temperature (°C)




                    600




                                                                                                   Height (m)
                                                                                                                0.6
                    400
                                                                                                                0.4

                    200
                                                                   Exp (T_upper)
                                                                                                                0.2                                               Exp (Height)
                                                                   FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0         2         4          6              8               10                            0         2         4          6               8               10
                                              Time (min)                                                                                  Time (min)



                     Figure 5.21: JH/FRA experiments, HGL temperature and height, 1:2 scale inert lining configuration.




                                                                                             206
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                                                         FDS-6.8.0-0-g886e009-release                                                                FDS-6.8.0-0-g886e009-release
                   1000                                                                                         1.2
                              JH FRA 1:2 Plywood Walls, Test 8                                                            JH FRA 1:2 Plywood Walls, Test 8
                                                                                                                  1
                    800

                                                                                                                0.8
Temperature (°C)



                    600




                                                                                                   Height (m)
                                                                                                                0.6
                    400
                                                                                                                0.4

                    200
                                                                   Exp (T_upper)
                                                                                                                0.2                                              Exp (Height)
                                                                   FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0         2         4          6              8               10                            0         2         4          6              8               10
                                              Time (min)                                                                                  Time (min)



     Figure 5.22: JH/FRA experiments, HGL temperature and height, 1:2 scale combustible lining configuration.




                                                                                             207
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                                                         FDS-6.8.0-0-g886e009-release                                                                FDS-6.8.0-0-g886e009-release
                   1000
                              JH FRA 1:1 Door, Test 11                                                                    JH FRA 1:1 Door, Test 11
                                                                                                                  2
                    800
Temperature (°C)



                    600                                                                                         1.5




                                                                                                   Height (m)
                    400                                                                                           1


                    200                                                                                         0.5
                                                                   Exp (T_upper)                                                                                 Exp (Height)
                                                                   FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0         2         4          6              8               10                            0         2         4          6              8               10
                                              Time (min)                                                                                  Time (min)

                                                         FDS-6.8.0-0-g886e009-release                                                                FDS-6.8.0-0-g886e009-release
                   1000
                              JH FRA 1:1 Door & Window, Test 12                                                           JH FRA 1:1 Door & Window, Test 12
                                                                                                                  2
                    800
Temperature (°C)




                    600                                                                                         1.5




                                                                                                   Height (m)
                    400                                                                                           1


                    200                                                                                         0.5
                                                                   Exp (T_upper)                                                                                 Exp (Height)
                                                                   FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0         2         4          6              8               10                            0         2         4          6              8               10
                                              Time (min)                                                                                  Time (min)



                     Figure 5.23: JH/FRA experiments, HGL temperature and height, 1:1 scale inert lining configuration.




                                                                                             208
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5.7    LLNL Enclosure Series
The figures on the following pages compare predicted and measured hot gas layer temperatures from the
LLNL Enclosure experiments. Fifteen thermocouples were evenly spaced from floor to ceiling on either
side of the burner. The measured temperatures were reported as averages of the lower, middle, and upper
five TCs. Some of the experiments were conducted with a separated plenum space in the top one-third of the
overall compartment (Tests 17-60). In these cases, the upper five TCs are a measure of the average plenum
temperature.
     In the figures, the black circles represent the average of the five upper-most TC measurements. The
red circles represent the average of the middle five TC measurements. The corresponding colored curves
represent the simulation. For the experiments involving an upper plenum, the middle five TCs are located
immediately beneath the plenum and their average temperature is typically greater than that of the upper-
most TCs in the plenum. Note that in a number of experiments, the fuel flow was stopped or the fire
self-extinguished. The simulations last only as long as the reported measurements.
     Details on the experiments and modeling can be found in Sec. 3.43.




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                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              HGL Temperature, Test 1                                                                                 HGL Temperature, Test 2
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)
                    150                                                                                                     150

                    100                                                                                                     100
                                                                             Exp (Upper)
                                                                             Exp (Middle)
                     50                                                      FDS (Upper)
                                                                                                                             50
                                                                             FDS (Middle)
                      0                                                                                                       0
                          0            2            4          6               8              10                                  0         2         4          6               8              10
                                                    Time (min)                                                                                        Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              HGL Temperature, Test 3                                                                                 HGL Temperature, Test 4
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)
                    150                                                                                                     150

                    100                                                                                                     100

                     50                                                                                                      50

                      0                                                                                                       0
                          0            2            4          6               8              10                                  0         2         4          6               8              10
                                                    Time (min)                                                                                        Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                                     150
                              HGL Temperature, Test 5                                                                                 HGL Temperature, Test 6


                    100                                                                                                     100
 Temperature (°C)




                                                                                                         Temperature (°C)




                     50                                                                                                      50




                      0                                                                                                       0
                          0       10           20       30         40            50           60                                  0             5         10                15                  20
                                                    Time (min)                                                                                        Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                     200
                              HGL Temperature, Test 7                                                                                 HGL Temperature, Test 8

                    150                                                                                                     150
 Temperature (°C)




                                                                                                         Temperature (°C)




                    100                                                                                                     100


                     50                                                                                                      50


                      0                                                                                                       0
                          0                5            10                15                  20                                  0         2         4          6               8              10
                                                    Time (min)                                                                                        Time (min)



                                           Figure 5.24: LLNL Enclosure experiments, HGL temperature, Tests 1-8.

                                                                                                   210
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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 9                                                                         HGL Temperature, Test 10
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    150                                                                                             150

                    100                                                                                             100
                                                                     Exp (Upper)
                                                                     Exp (Middle)
                     50                                              FDS (Upper)
                                                                                                                     50
                                                                     FDS (Middle)
                      0                                                                                               0
                          0         20        40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 11                                                                        HGL Temperature, Test 12
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    150                                                                                             150

                    100                                                                                             100

                     50                                                                                              50

                      0                                                                                               0
                          0         20        40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 13                                                                        HGL Temperature, Test 14
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    150                                                                                             150

                    100                                                                                             100

                     50                                                                                              50

                      0                                                                                               0
                          0         20        40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                             300
                              HGL Temperature, Test 15                                                                        HGL Temperature, Test 16
                                                                                                                    250
                    150
                                                                                                                    200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    100                                                                                             150

                                                                                                                    100
                     50
                                                                                                                     50

                      0                                                                                               0
                          0         20        40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)



                                         Figure 5.25: LLNL Enclosure experiments, HGL temperature, Tests 9-16.

                                                                                           211
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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 17                                                                        HGL Temperature, Test 18
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    150                                                                                             150

                    100                                                                                             100
                                                                     Exp (Upper)
                                                                     Exp (Middle)
                     50                                              FDS (Upper)
                                                                                                                     50
                                                                     FDS (Middle)
                      0                                                                                               0
                          0        20         40       60             80             100                                  0        20        40       60                 80            100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 19                                                                        HGL Temperature, Test 20
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    150                                                                                             150

                    100                                                                                             100

                     50                                                                                              50

                      0                                                                                               0
                          0        20         40       60             80             100                                  0        20        40       60                 80            100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                             250
                              HGL Temperature, Test 21                                                                        HGL Temperature, Test 22
                                                                                                                    200
                    300
 Temperature (°C)




                                                                                                 Temperature (°C)




                                                                                                                    150
                    200
                                                                                                                    100

                    100
                                                                                                                     50


                      0                                                                                               0
                          0        20         40       60             80             100                                  0         2         4          6               8              10
                                              Time (min)                                                                                      Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             250
                              HGL Temperature, Test 23                                                                        HGL Temperature, Test 24
                    250
                                                                                                                    200

                    200
 Temperature (°C)




                                                                                                 Temperature (°C)




                                                                                                                    150
                    150
                                                                                                                    100
                    100

                                                                                                                     50
                     50

                      0                                                                                               0
                          0        20         40       60             80             100                                  0             5         10                15                  20
                                              Time (min)                                                                                      Time (min)



                                        Figure 5.26: LLNL Enclosure experiments, HGL temperature, Tests 17-24.

                                                                                           212
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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                               250
                              HGL Temperature, Test 25                                                                          HGL Temperature, Test 26
                    250
                                                                                                                      200

                    200
 Temperature (°C)




                                                                                                   Temperature (°C)
                                                                                                                      150
                    150
                                                                                                                      100
                    100
                                                                                                                                                                         Exp (Upper)
                                                                                                                       50                                                Exp (Middle)
                     50                                                                                                                                                  FDS (Upper)
                                                                                                                                                                         FDS (Middle)
                      0                                                                                                 0
                          0             10        20                30                  40                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                               250
                              HGL Temperature, Test 27                                                                          HGL Temperature, Test 28
                    200                                                                                               200
 Temperature (°C)




                                                                                                   Temperature (°C)
                    150                                                                                               150


                    100                                                                                               100


                     50                                                                                                50


                      0                                                                                                 0
                          0         2         4          6               8              10                                  0             5         10                15                  20
                                              Time (min)                                                                                        Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    350                                                                                               350
                              HGL Temperature, Test 29                                                                          HGL Temperature, Test 30
                    300                                                                                               300

                    250                                                                                               250
 Temperature (°C)




                                                                                                   Temperature (°C)




                    200                                                                                               200

                    150                                                                                               150

                    100                                                                                               100

                     50                                                                                                50

                      0                                                                                                 0
                          0             5         10                15                  20                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                               300
                              HGL Temperature, Test 31                                                                          HGL Temperature, Test 32
                    250                                                                                               250

                    200                                                                                               200
 Temperature (°C)




                                                                                                   Temperature (°C)




                    150                                                                                               150

                    100                                                                                               100

                     50                                                                                                50

                      0                                                                                                 0
                          0        20         40       60                80            100                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)



                                        Figure 5.27: LLNL Enclosure experiments, HGL temperature, Tests 25-32.

                                                                                             213
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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                             200
                              HGL Temperature, Test 33                                                                        HGL Temperature, Test 34

                    150                                                                                             150
 Temperature (°C)




                                                                                                 Temperature (°C)
                    100                                                                                             100


                     50                                              Exp (Upper)                                     50
                                                                     Exp (Middle)
                                                                     FDS (Upper)
                                                                     FDS (Middle)
                      0                                                                                               0
                          0        20         40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                             200
                              HGL Temperature, Test 35                                                                        HGL Temperature, Test 36

                    150                                                                                             150
 Temperature (°C)




                                                                                                 Temperature (°C)
                    100                                                                                             100


                     50                                                                                              50


                      0                                                                                               0
                          0        20         40       60             80             100                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 37                                                                        HGL Temperature, Test 38
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    150                                                                                             150

                    100                                                                                             100

                     50                                                                                              50

                      0                                                                                               0
                          0         2         4          6             8              10                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                             300
                              HGL Temperature, Test 39                                                                        HGL Temperature, Test 40
                    250                                                                                             250

                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    150                                                                                             150

                    100                                                                                             100

                     50                                                                                              50

                      0                                                                                               0
                          0         2         4          6             8              10                                  0        20        40       60              80             100
                                              Time (min)                                                                                     Time (min)



                                        Figure 5.28: LLNL Enclosure experiments, HGL temperature, Tests 33-40.

                                                                                           214
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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                             300
                              HGL Temperature, Test 41                                                                        HGL Temperature, Test 42
                                                                                                                    250
                    150
                                                                                                                    200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    100                                                                                             150

                                                                                                                    100
                     50                                                                                                                                                Exp (Upper)
                                                                                                                                                                       Exp (Middle)
                                                                                                                     50                                                FDS (Upper)
                                                                                                                                                                       FDS (Middle)
                      0                                                                                               0
                          0         2         4          6             8              10                                  0        20        40       60                 80            100
                                              Time (min)                                                                                     Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                             300
                              HGL Temperature, Test 43                                                                        HGL Temperature, Test 44
                                                                                                                    250
                    200

                                                                                                                    200
 Temperature (°C)




                                                                                                 Temperature (°C)
                    150
                                                                                                                    150
                    100
                                                                                                                    100

                     50
                                                                                                                     50

                      0                                                                                               0
                          0         2         4          6             8              10                                  0             10        20                30                  40
                                              Time (min)                                                                                      Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                             250
                              HGL Temperature, Test 45                                                                        HGL Temperature, Test 46
                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    150                                                                                             150


                    100                                                                                             100


                     50                                                                                              50


                      0                                                                                               0
                          0         2         4          6             8              10                                  0         2         4          6               8              10
                                              Time (min)                                                                                      Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                             250
                              HGL Temperature, Test 47                                                                        HGL Temperature, Test 48
                    200                                                                                             200
 Temperature (°C)




                                                                                                 Temperature (°C)




                    150                                                                                             150


                    100                                                                                             100


                     50                                                                                              50


                      0                                                                                               0
                          0         2         4          6             8              10                                  0         2         4          6               8              10
                                              Time (min)                                                                                      Time (min)



                                        Figure 5.29: LLNL Enclosure experiments, HGL temperature, Tests 41-48.

                                                                                           215
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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                               300
                              HGL Temperature, Test 49                                                                          HGL Temperature, Test 50
                                                                                                                      250
                    200

                                                                                                                      200
 Temperature (°C)




                                                                                                   Temperature (°C)
                    150
                                                                                                                      150
                    100
                                                                                                                      100
                                                                                                                                                                         Exp (Upper)
                     50                                                                                                                                                  Exp (Middle)
                                                                                                                       50                                                FDS (Upper)
                                                                                                                                                                         FDS (Middle)
                      0                                                                                                 0
                          0         2         4          6               8              10                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                               300
                              HGL Temperature, Test 51                                                                          HGL Temperature, Test 52
                    250                                                                                               250

                    200                                                                                               200
 Temperature (°C)




                                                                                                   Temperature (°C)
                    150                                                                                               150

                    100                                                                                               100

                     50                                                                                                50

                      0                                                                                                 0
                          0        20         40       60                80            100                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                               300
                              HGL Temperature, Test 53                                                                          HGL Temperature, Test 54
                    250                                                                                               250

                    200                                                                                               200
 Temperature (°C)




                                                                                                   Temperature (°C)




                    150                                                                                               150

                    100                                                                                               100

                     50                                                                                                50

                      0                                                                                                 0
                          0             5         10                15                  20                                  0        20        40       60                 80            100
                                              Time (min)                                                                                       Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                               250
                              HGL Temperature, Test 55                                                                          HGL Temperature, Test 56
                                                                                                                      200
                    150
 Temperature (°C)




                                                                                                   Temperature (°C)




                                                                                                                      150
                    100
                                                                                                                      100

                     50
                                                                                                                       50


                      0                                                                                                 0
                          0             20        40                60                  80                                  0             5         10                15                  20
                                              Time (min)                                                                                        Time (min)



                                        Figure 5.30: LLNL Enclosure experiments, HGL temperature, Tests 49-56.

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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    350                                                                                                   350
                              HGL Temperature, Test 57                                                                              HGL Temperature, Test 58
                    300                                                                                                   300

                    250                                                                                                   250
 Temperature (°C)




                                                                                                       Temperature (°C)
                    200                                                                                                   200

                    150                                                                                                   150

                    100                                                    Exp (Upper)                                    100
                                                                           Exp (Middle)
                     50                                                    FDS (Upper)                                     50
                                                                           FDS (Middle)
                      0                                                                                                     0
                          0        20             40       60                80            100                                  0        20             40       60                80            100
                                                  Time (min)                                                                                            Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    350                                                                                                   350
                              HGL Temperature, Test 59                                                                              HGL Temperature, Test 60
                    300                                                                                                   300

                    250                                                                                                   250
 Temperature (°C)




                                                                                                       Temperature (°C)
                    200                                                                                                   200

                    150                                                                                                   150

                    100                                                                                                   100

                     50                                                                                                    50

                      0                                                                                                     0
                          0        20             40       60                80            100                                  0             10            20                30                  40
                                                  Time (min)                                                                                            Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                   300
                              HGL Temperature, Test 61                                                                              HGL Temperature, Test 62
                    250                                                                                                   250

                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)




                    150                                                                                                   150

                    100                                                                                                   100

                     50                                                                                                    50

                      0                                                                                                     0
                          0             10            20                30                  40                                  0             10            20                30                  40
                                                  Time (min)                                                                                            Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                                   150
                              HGL Temperature, Test 63                                                                              HGL Temperature, Test 64


                    100                                                                                                   100
 Temperature (°C)




                                                                                                       Temperature (°C)




                     50                                                                                                    50




                      0                                                                                                     0
                          0       10         20       30         40            50           60                                  0       10         20       30         40            50           60
                                                  Time (min)                                                                                            Time (min)



                                        Figure 5.31: LLNL Enclosure experiments, HGL temperature, Tests 57-64.

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5.8    NBS Multi-Room Test Series
This series of experiments was performed in two relatively small rooms connected by a long corridor. The
fire was located in one of the rooms. Eight vertical arrays of thermocouples were positioned throughout the
test space: Tree 1 in the burn room, Tree 2 in the doorway of the burn room, Trees 3, 4, and 5 in the corridor,
Tree 6 in the exit doorway to the outside at the far end of the corridor, Tree 7 in the doorway of the “target”
room, and Tree 8 inside the target room. Four trees have been selected for comparison with model prediction:
Tree 1 in the burn room, the trees in the corridor, and Tree 8 in the target room in Test 100Z. In Tests 100A
and 100O, the target room was closed. The test director reduced the layer information individually for the
eight thermocouple arrays using an alternative method. These results were included in the original data sets.
However, in this report the selected TC trees were reduced using the method described in Sec. 5.1.




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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        2.5
                              HGL Temperature, NBS Test 100A Tree 1                                                      HGL Height, NBS Test 100A Tree 1
                                                                                                                 2
                    300
 Temperature (°C)



                                                                                                               1.5




                                                                                                  Height (m)
                    200
                                                                                                                 1

                    100
                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 1)                                                                         FDS (Layer Height 1)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                        2.5
                              HGL Temperature, NBS Test 100A Tree 3                                                      HGL Height, NBS Test 100A Tree 3
                                                                                                                 2
                    150
 Temperature (°C)




                                                                                                               1.5




                                                                                                  Height (m)
                    100
                                                                                                                 1

                     50
                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 3)                                                                         FDS (Layer Height 3)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                        2.5
                              HGL Temperature, NBS Test 100A Tree 4                                                      HGL Height, NBS Test 100A Tree 4
                                                                                                                 2

                    100
 Temperature (°C)




                                                                                                               1.5
                                                                                                  Height (m)




                                                                                                                 1
                     50

                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 4)                                                                         FDS (Layer Height 4)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                        2.5
                              HGL Temperature, NBS Test 100A Tree 5                                                      HGL Height, NBS Test 100A Tree 5
                                                                                                                 2

                    100
 Temperature (°C)




                                                                                                               1.5
                                                                                                  Height (m)




                                                                                                                 1
                     50

                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 5)                                                                         FDS (Layer Height 5)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)



                               Figure 5.32: NBS Multi-Room experiments, HGL temperature and height, Test 100A.

                                                                                            219
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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        2.5
                              HGL Temperature, NBS Test 100O Tree 1                                                      HGL Height, NBS Test 100O Tree 1
                                                                                                                 2
                    300
 Temperature (°C)



                                                                                                               1.5




                                                                                                  Height (m)
                    200
                                                                                                                 1

                    100
                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 1)                                                                         FDS (Layer Height 1)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                        2.5
                              HGL Temperature, NBS Test 100O Tree 3                                                      HGL Height, NBS Test 100O Tree 3
                                                                                                                 2
                    150
 Temperature (°C)




                                                                                                               1.5




                                                                                                  Height (m)
                    100
                                                                                                                 1

                     50
                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 3)                                                                         FDS (Layer Height 3)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                        2.5
                              HGL Temperature, NBS Test 100O Tree 4                                                      HGL Height, NBS Test 100O Tree 4
                                                                                                                 2

                    100
 Temperature (°C)




                                                                                                               1.5
                                                                                                  Height (m)




                                                                                                                 1
                     50

                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 4)                                                                         FDS (Layer Height 4)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                        2.5
                              HGL Temperature, NBS Test 100O Tree 5                                                      HGL Height, NBS Test 100O Tree 5
                                                                                                                 2

                    100
 Temperature (°C)




                                                                                                               1.5
                                                                                                  Height (m)




                                                                                                                 1
                     50

                                                                                                               0.5
                                                            Exp (T_Upper)                                                                              Exp (Height)
                                                            FDS (Layer Temp 5)                                                                         FDS (Layer Height 5)
                      0                                                                                          0
                          0           5          10                15                  20                            0            5          10                15                  20
                                             Time (min)                                                                                  Time (min)



                               Figure 5.33: NBS Multi-Room experiments, HGL temperature and height, Test 100O.

                                                                                            220
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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         2.5
                              HGL Temperature, NBS Test 100Z Tree 1                                                       HGL Height, NBS Test 100Z Tree 1
                                                                                                                  2
                    300
 Temperature (°C)



                                                                                                                1.5




                                                                                                   Height (m)
                    200
                                                                                                                  1

                    100
                                                                                                                0.5
                                                             Exp (T_Upper)                                                                              Exp (Height)
                                                             FDS (Layer Temp 1)                                                                         FDS (Layer Height 1)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                         2.5
                              HGL Temperature, NBS Test 100Z Tree 3                                                       HGL Height, NBS Test 100Z Tree 3
                                                                                                                  2
                    150
 Temperature (°C)




                                                                                                                1.5




                                                                                                   Height (m)
                    100
                                                                                                                  1

                     50
                                                                                                                0.5
                                                             Exp (T_Upper)                                                                              Exp (Height)
                                                             FDS (Layer Temp 3)                                                                         FDS (Layer Height 3)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                         2.5
                              HGL Temperature, NBS Test 100Z Tree 5                                                       HGL Height, NBS Test 100Z Tree 5
                                                                                                                  2

                    100
 Temperature (°C)




                                                                                                                1.5
                                                                                                   Height (m)




                                                                                                                  1
                     50

                                                                                                                0.5
                                                             Exp (T_Upper)                                                                              Exp (Height)
                                                             FDS (Layer Temp 5)                                                                         FDS (Layer Height 5)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                         2.5
                              HGL Temperature, NBS Test 100Z Tree 8                                                       HGL Height, NBS Test 100Z Tree 8
                                                                                                                  2

                    100
 Temperature (°C)




                                                                                                                1.5
                                                                                                   Height (m)




                                                                                                                  1
                     50

                                                                                                                0.5
                                                             Exp (T_Upper)                                                                              Exp (Height)
                                                             FDS (Layer Temp 8)                                                                         FDS (Layer Height 8)
                      0                                                                                           0
                          0            5          10                15                  20                            0            5          10                15                  20
                                              Time (min)                                                                                  Time (min)



                                Figure 5.34: NBS Multi-Room experiments, HGL temperature and height, Test 100Z.

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5.9    NIST Composite Beam
A brief description of the experiments is given in Sec. 3.50. The compartment interior dimensions are 12.4 m
long, running east-west, 1.9 m wide, and 3.77 m high. Four experiments with fires were performed, labeled
as Tests 2-5. Test 1 did not include a fire.
    To measure the hot gas layer in the compartment, stainless steel sheathed thermocouples (Omega TJ36-
CAXL-14U-24 and TJ36-CAXL-38U-24) were mounted 0.8 m below the concrete slab, extending out of
the compartment walls. Results are shown in Figs. 5.35 and 5.36. TCC1 was mounted 30 cm from the west
wall and 46 cm from the north wall. TCC5 was mounted 30 cm from the east wall and 46 cm from the south
wall. TCC2, TCC3, and TCC4 were mounted 46 cm from the north wall, and at positions -4.3 m, 0 m, and
4.3 m relative to the line of east-west symmetry, respectively (east is the positive direction). TCC6, TCC7,
and TCC8 were mounted 46 cm from the south wall and 4.3 m, 0 m, and -4.3 m from the east-west line of
symmetry, respectively.
    Because of the symmetry of the experimental configuration, TCC1 and TCC5 are duplicates, TCC3 and
TCC7 are duplicates, and TCC2, TCC4, TCC6, and TCC8 are duplicates.




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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Center, Test 2                Exp (TCC3)                                    1200       HGL Temp., Center, Test 3
                                                                       Exp (TCC7)
                                                                       FDS (TCC3)
                   1000                                                FDS (TCC7)
                                                                                                                     1000
Temperature (°C)




                                                                                                  Temperature (°C)
                    800                                                                                               800

                    600                                                                                               600

                    400                                                                                               400

                    200                                                                                               200

                      0                                                                                                 0
                          0         20        40       60              80             100                                   0         20        40       60              80             100
                                              Time (min)                                                                                        Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Center, Test 4                                                              1200       HGL Temp., Center, Test 5
                   1000                                                                                              1000
Temperature (°C)




                                                                                                  Temperature (°C)
                    800                                                                                               800

                    600                                                                                               600

                    400                                                                                               400

                    200                                                                                               200

                      0                                                                                                 0
                          0         20        40       60              80             100                                   0         20        40       60              80             100
                                              Time (min)                                                                                        Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Off-Center, Test 2            Exp (TCC2)                                    1200       HGL Temp., Off-Center, Test 3
                                                                       Exp (TCC4)
                                                                       Exp (TCC6)
                   1000                                                Exp (TCC8)
                                                                                                                     1000
                                                                       FDS (TCC2)
Temperature (°C)




                                                                                                  Temperature (°C)




                    800                                                FDS (TCC4)                                     800
                                                                       FDS (TCC6)
                    600                                                FDS (TCC8)                                     600

                    400                                                                                               400

                    200                                                                                               200

                      0                                                                                                 0
                          0         20        40       60              80             100                                   0         20        40       60              80             100
                                              Time (min)                                                                                        Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Off-Center, Test 4                                                          1200       HGL Temp., Off-Center, Test 5
                   1000                                                                                              1000
Temperature (°C)




                                                                                                  Temperature (°C)




                    800                                                                                               800

                    600                                                                                               600

                    400                                                                                               400

                    200                                                                                               200

                      0                                                                                                 0
                          0         20        40       60              80             100                                   0         20        40       60              80             100
                                              Time (min)                                                                                        Time (min)



                                      Figure 5.35: NIST Composite Beam, mid-compartment HGL temperatures.

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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 2                Exp (TCC1)                                    1200       HGL Temp., Sides, Test 3
                                                                      Exp (TCC5)
                                                                      FDS (TCC1)
                   1000                                               FDS (TCC5)
                                                                                                                    1000
Temperature (°C)




                                                                                                 Temperature (°C)
                    800                                                                                              800

                    600                                                                                              600

                    400                                                                                              400

                    200                                                                                              200

                      0                                                                                                0
                          0         20        40       60             80             100                                   0         20        40       60             80             100
                                              Time (min)                                                                                       Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 4                                                              1200       HGL Temp., Sides, Test 5
                   1000                                                                                             1000
Temperature (°C)




                                                                                                 Temperature (°C)
                    800                                                                                              800

                    600                                                                                              600

                    400                                                                                              400

                    200                                                                                              200

                      0                                                                                                0
                          0         20        40       60             80             100                                   0         20        40       60             80             100
                                              Time (min)                                                                                       Time (min)



                                      Figure 5.36: NIST Composite Beam, end-compartment HGL temperatures.




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5.10     NIST E119 Compartment
A brief description of the experiments is given in Sec. 3.51. The compartment interior dimensions are 10.8 m
long, running east-west, 7.0 m wide, and 3.8 m high. Three fire experiments were performed, labeled as
Tests 1-3.
     To measure the upper layer gas temperatures in the compartment, twelve stainless steel sheathed ther-
mocouples (Omega TJ36-CAXL-14U-24) were mounted 0.305 m below the ceiling, extending out of the
ceiling slab. Results are shown in Figs. 5.37 through 5.39. Locations of TC1 through TC12 were shown in
Fig. 3.27. Because of the symmetry of the experimental configuration, TC1 and TC4 are duplicates, TC2
and TC3 are duplicates, TC9 and TC12 are duplicates, and TC10, TC11 are duplicates.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 1                                                                1200       HGL Temp., Sides, Test 1
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                          Exp (TC1)                                                                                          Exp (TC2)
                                                                          Exp (TC4)                                                                                          Exp (TC3)
                    200                                                   FDS (TC1)                                    200                                                   FDS (TC2)
                                                                          FDS (TC4)                                                                                          FDS (TC3)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 1                                                                1200       HGL Temp., Sides, Test 1
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC5)                                    200                                                   Exp (TC6)
                                                                          FDS (TC5)                                                                                          FDS (TC6)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 1                                                                1200       HGL Temp., Sides, Test 1
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC7)                                    200                                                   Exp (TC8)
                                                                          FDS (TC7)                                                                                          FDS (TC8)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 1                                                                1200       HGL Temp., Sides, Test 1
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                         Exp (TC9)                                                                                          Exp (TC10)
                                                                         Exp (TC12)                                                                                         Exp (TC11)
                    200                                                  FDS (TC9)                                     200                                                  FDS (TC10)
                                                                         FDS (TC12)                                                                                         FDS (TC11)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)



                                     Figure 5.37: NIST E119 Compartment Test 1, upper layer gas temperatures.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 2                                                                1200       HGL Temp., Sides, Test 2
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                          Exp (TC1)                                                                                          Exp (TC2)
                                                                          Exp (TC4)                                                                                          Exp (TC3)
                    200                                                   FDS (TC1)                                    200                                                   FDS (TC2)
                                                                          FDS (TC4)                                                                                          FDS (TC3)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 2                                                                1200       HGL Temp., Sides, Test 2

                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC5)                                    200                                                   Exp (TC6)
                                                                          FDS (TC5)                                                                                          FDS (TC6)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 2                                                                1200       HGL Temp., Sides, Test 2

                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC7)                                    200                                                   Exp (TC8)
                                                                          FDS (TC7)                                                                                          FDS (TC8)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 2                                                                1200       HGL Temp., Sides, Test 2
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                         Exp (TC9)                                                                                          Exp (TC10)
                                                                         Exp (TC12)                                                                                         Exp (TC11)
                    200                                                  FDS (TC9)                                     200                                                  FDS (TC10)
                                                                         FDS (TC12)                                                                                         FDS (TC11)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)



                                     Figure 5.38: NIST E119 Compartment Test 2, upper layer gas temperatures.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 3                                                                1200       HGL Temp., Sides, Test 3
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                          Exp (TC1)                                                                                          Exp (TC2)
                                                                          Exp (TC4)                                                                                          Exp (TC3)
                    200                                                   FDS (TC1)                                    200                                                   FDS (TC2)
                                                                          FDS (TC4)                                                                                          FDS (TC3)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 3                                                                1200       HGL Temp., Sides, Test 3

                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)
                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC5)                                    200                                                   Exp (TC6)
                                                                          FDS (TC5)                                                                                          FDS (TC6)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 3                                                                1200       HGL Temp., Sides, Test 3

                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400

                    200                                                   Exp (TC7)                                    200                                                   Exp (TC8)
                                                                          FDS (TC7)                                                                                          FDS (TC8)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master


                   1200       HGL Temp., Sides, Test 3                                                                1200       HGL Temp., Sides, Test 3
                   1000                                                                                               1000
Temperature (°C)




                                                                                                   Temperature (°C)




                    800                                                                                                800

                    600                                                                                                600

                    400                                                                                                400
                                                                         Exp (TC9)                                                                                          Exp (TC10)
                                                                         Exp (TC12)                                                                                         Exp (TC11)
                    200                                                  FDS (TC9)                                     200                                                  FDS (TC10)
                                                                         FDS (TC12)                                                                                         FDS (TC11)
                      0                                                                                                  0
                          0           20          40                60                  80                                   0           20          40                60                  80
                                              Time (min)                                                                                         Time (min)



                                     Figure 5.39: NIST E119 Compartment Test 3, upper layer gas temperatures.

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5.11    NIST Full-Scale Enclosure (FSE), 2008
Thermocouple arrays were suspended from the ceiling at two points along the centerline of the ISO 9705
compartment. The array in the front of the compartment was located 72 cm inside the door, and the array
in the rear was 72 cm from the back wall. Each array consisted of 11 TCs positioned at heights of 3 cm,
30 cm, 60 cm, 90 cm, 105 cm, 120 cm, 135 cm, 150 cm, 180 cm, 210 cm, and 2.38 cm. The height of the
compartment was 2.4 m. In the plots on the following the pages, the average HGL temperature and layer
height are shown for experiments 8 through 32. The thermocouple arrays were not installed for experiments
labeled ISONG3, ISOHept4, or ISOHept5.




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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                  3
                                                                                                                                                                              Exp (Height)
                              HGL Temperature, ISOHept8                                                                          HGL Height, ISOHept8                         FDS (Height)
                                                                                                                       2.5
                   1500
                                                                                                                         2
Temperature (°C)




                                                                                                          Height (m)
                   1000                                                                                                1.5

                                                                                                                         1
                    500
                                                    Exp (T_Upper)
                                                                                                                       0.5
                                                    FDS (T_upper)
                      0                                                                                                  0
                          0              2             4                 6                      8                            0              2             4                 6                      8
                                                  Time (min)                                                                                         Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                  3
                                                                                                                                                                              Exp (Height)
                              HGL Temperature, ISOHept9                                                                          HGL Height, ISOHept9                         FDS (Height)
                                                                                                                       2.5
                   1500
                                                                                                                         2
Temperature (°C)




                                                                                                          Height (m)
                   1000                                                                                                1.5

                                                                                                                         1
                    500
                                                    Exp (T_Upper)
                                                                                                                       0.5
                                                    FDS (T_upper)
                      0                                                                                                  0
                          0                  5                      10                      15                               0                  5                   10                         15
                                                  Time (min)                                                                                         Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                  3
                                                                                                                                                                              Exp (Height)
                              HGL Temperature, ISONylon10                                                                        HGL Height, ISONylon10                       FDS (Height)
                                                                                                                       2.5
                   1500
                                                                                                                         2
Temperature (°C)




                                                                                                          Height (m)




                   1000                                                                                                1.5

                                                                                                                         1
                    500
                                                    Exp (T_Upper)
                                                                                                                       0.5
                                                    FDS (T_upper)
                      0                                                                                                  0
                          0         5        10       15            20         25           30                               0         5        10       15         20            25           30
                                                  Time (min)                                                                                         Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                  3
                                                                                                                                                                              Exp (Height)
                              HGL Temperature, ISOPP11                                                                           HGL Height, ISOPP11                          FDS (Height)
                                                                                                                       2.5
                   1500
                                                                                                                         2
Temperature (°C)




                                                                                                          Height (m)




                   1000                                                                                                1.5

                                                                                                                         1
                    500
                                                    Exp (T_Upper)
                                                                                                                       0.5
                                                    FDS (T_upper)
                      0                                                                                                  0
                          0             10          20              30              40                                       0             10          20           30                 40
                                                  Time (min)                                                                                         Time (min)



                                             Figure 5.40: NIST FSE, HGL temperature and height, Tests 8-11.

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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOHeptD12                                                                   HGL Height, ISOHeptD12                     FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOHeptD13                                                                   HGL Height, ISOHeptD13                     FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOPropD14                                                                   HGL Height, ISOPropD14                     FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOProp15                                                                    HGL Height, ISOProp15                      FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)



                                           Figure 5.41: NIST FSE, HGL temperature and height, Tests 12-15.

                                                                                               231
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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOStyrene16                                                                 HGL Height, ISOStyrene16                   FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0            10           20                 30                 40                            0            10           20                30                  40
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOStyrene17                                                                 HGL Height, ISOStyrene17                   FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0            10           20                 30                 40                            0            10           20                30                  40
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOPP18                                                                      HGL Height, ISOPP18                        FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0            10           20                 30                 40                            0            10           20                30                  40
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOHept19                                                                    HGL Height, ISOHept19                      FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)



                                            Figure 5.42: NIST FSE, HGL temperature and height, Tests 16-19.

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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOToluene20                                                                 HGL Height, ISOToluene20                   FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0                 5                     10                      15                            0                 5                  10                         15
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOStyrene21                                                                 HGL Height, ISOStyrene21                   FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)
                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0            10           20                 30                 40                            0            10           20                30                  40
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOHept22                                                                    HGL Height, ISOHept22                      FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0           10          20              30             40                                     0           10          20           30                40
                                                Time (min)                                                                                    Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                             3
                                                                                                                                                                       Exp (Height)
                              HGL Temperature, ISOHept23                                                                    HGL Height, ISOHept23                      FDS (Height)
                                                                                                                  2.5
                   1500
                                                                                                                    2
Temperature (°C)




                                                                                                     Height (m)




                   1000                                                                                           1.5

                                                                                                                    1
                    500
                                                  Exp (T_Upper)
                                                                                                                  0.5
                                                  FDS (T_upper)
                      0                                                                                             0
                          0            10           20                 30                 40                            0            10           20                30                  40
                                                Time (min)                                                                                    Time (min)



                                            Figure 5.43: NIST FSE, HGL temperature and height, Tests 20-23.

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                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                3
                                                                                                                                                                             Exp (Height)
                              HGL Temperature, ISOHept24                                                                       HGL Height, ISOHept24                         FDS (Height)
                                                                                                                     2.5
                   1500
                                                                                                                       2
Temperature (°C)




                                                                                                        Height (m)
                   1000                                                                                              1.5

                                                                                                                       1
                    500
                                                     Exp (T_Upper)
                                                                                                                     0.5
                                                     FDS (T_upper)
                      0                                                                                                0
                          0          10            20       30                  40           50                            0          10            20       30                40             50
                                                   Time (min)                                                                                       Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                3
                                                                                                                                                                             Exp (Height)
                              HGL Temperature, ISOHept25                                                                       HGL Height, ISOHept25                         FDS (Height)
                                                                                                                     2.5
                   1500
                                                                                                                       2
Temperature (°C)




                                                                                                        Height (m)
                   1000                                                                                              1.5

                                                                                                                       1
                    500
                                                     Exp (T_Upper)
                                                                                                                     0.5
                                                     FDS (T_upper)
                      0                                                                                                0
                          0         5         10       15            20          25          30                            0         5         10       15         20            25           30
                                                   Time (min)                                                                                       Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                3
                                                                                                                                                                             Exp (Height)
                              HGL Temperature, ISOHept26                                                                       HGL Height, ISOHept26                         FDS (Height)
                                                                                                                     2.5
                   1500
                                                                                                                       2
Temperature (°C)




                                                                                                        Height (m)




                   1000                                                                                              1.5

                                                                                                                       1
                    500
                                                     Exp (T_Upper)
                                                                                                                     0.5
                                                     FDS (T_upper)
                      0                                                                                                0
                          0               5            10                  15                20                            0               5            10                15                  20
                                                   Time (min)                                                                                       Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                3
                                                                                                                                                                             Exp (Height)
                              HGL Temperature, ISOHept27                                                                       HGL Height, ISOHept27                         FDS (Height)
                                                                                                                     2.5
                   1500
                                                                                                                       2
Temperature (°C)




                                                                                                        Height (m)




                   1000                                                                                              1.5

                                                                                                                       1
                    500
                                                     Exp (T_Upper)
                                                                                                                     0.5
                                                     FDS (T_upper)
                      0                                                                                                0
                          0         10         20       30                40          50                                   0         10         20       30             40             50
                                                 Time (min)                                                                                       Time (min)



                                              Figure 5.44: NIST FSE, HGL temperature and height, Tests 24-27.

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                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                   3
                                                                                                                                                                                   Exp (Height)
                              HGL Temperature, ISOHept28                                                                          HGL Height, ISOHept28                            FDS (Height)
                                                                                                                        2.5
                   1500
                                                                                                                          2
Temperature (°C)




                                                                                                           Height (m)
                   1000                                                                                                 1.5

                                                                                                                          1
                    500
                                                        Exp (T_Upper)
                                                                                                                        0.5
                                                        FDS (T_upper)
                      0                                                                                                   0
                          0             5             10       15                 20            25                            0             5             10       15                20             25
                                                      Time (min)                                                                                          Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                   3
                                                                                                                                                                                   Exp (Height)
                              HGL Temperature, ISOToluene29                                                                       HGL Height, ISOToluene29                         FDS (Height)
                                                                                                                        2.5
                   1500
                                                                                                                          2
Temperature (°C)




                                                                                                           Height (m)
                   1000                                                                                                 1.5

                                                                                                                          1
                    500
                                                        Exp (T_Upper)
                                                                                                                        0.5
                                                        FDS (T_upper)
                      0                                                                                                   0
                          0                 10            20                 30                 40                            0                 10            20                30                  40
                                                      Time (min)                                                                                          Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                   3
                                                                                                                                                                                   Exp (Height)
                              HGL Temperature, ISOPropanol30                                                                      HGL Height, ISOPropanol30                        FDS (Height)
                                                                                                                        2.5
                   1500
                                                                                                                          2
Temperature (°C)




                                                                                                           Height (m)




                   1000                                                                                                 1.5

                                                                                                                          1
                    500
                                                        Exp (T_Upper)
                                                                                                                        0.5
                                                        FDS (T_upper)
                      0                                                                                                   0
                          0                 10            20                 30                 40                            0                 10            20                30                  40
                                                      Time (min)                                                                                          Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   2000                                                                                                   3
                                                                                                                                                                                   Exp (Height)
                              HGL Temperature, ISONG32                                                                            HGL Height, ISONG32                              FDS (Height)
                                                                                                                        2.5
                   1500
                                                                                                                          2
Temperature (°C)




                                                                                                           Height (m)




                   1000                                                                                                 1.5

                                                                                                                          1
                    500
                                                        Exp (T_Upper)
                                                                                                                        0.5
                                                        FDS (T_upper)
                      0                                                                                                   0
                          0         5            10       15            20         25           30                            0         5            10       15         20            25           30
                                                      Time (min)                                                                                          Time (min)



                                             Figure 5.45: NIST FSE, HGL temperature and height, Tests 28-30„ 32.

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5.12    NIST/NRC Test Series
The NIST/NRC series consisted of 15 heptane spray fire experiments with varying heat release rates, pan
locations, and ventilation conditions. Gas temperatures were measured using seven floor-to-ceiling thermo-
couple arrays (or “trees”) distributed throughout the compartment. The average hot gas layer temperature
and height are calculated using thermocouple Trees 1, 2, 3, 5, 6 and 7. Tree 4 was not used because one of
its thermocouples (TC 4-9) malfunctioned during most of the experiments. A few observations about the
simulations:

 • During Tests 4, 5, 10 and 16 a fan blew air into the compartment through a vent in the south wall. The
   measured velocity profile of the fan was not uniform, with the bulk of the air blowing from the lower
   third of the duct towards the ceiling at a roughly 45◦ angle. The exact flow pattern is difficult to replicate
   in the model, thus, the results for Tests 4, 5, 10 and 16 should be evaluated with this in mind. The effect
   of the fan on the hot gas layer is small, but it does have a some effect on target temperatures near the
   vent.

 • For all of the tests involving a fan, the predicted HGL height increased after the fire was extinguished,
   while the measured HGL decreased. This appears to be a curious artifact of the layer reduction algo-
   rithm. It is not included in the calculation of the relative difference.

 • In the closed door tests, the hot gas layer descended all the way to the floor. However, the reduction
   method, used on both the measured and predicted temperatures, does not account for the formation of a
   single layer, and therefore does not indicate that the layer drops all the way to the floor. This is neither
   a flaw in the measurements nor in FDS, but rather in the layer reduction method.

 • The HGL reduction method produces spurious results in the first few minutes of each test because no
   clear layer has yet formed. These early times are not included in the relative difference calculation.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 1                                                           HGL Height, NIST/NRC Test 1

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 7                                                           HGL Height, NIST/NRC Test 7

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 2                                                           HGL Height, NIST/NRC Test 2

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 8                                                           HGL Height, NIST/NRC Test 8

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)



                                 Figure 5.46: NIST/NRC experiments, HGL temperature and height, Tests 1-2, 7-8.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 4                                                           HGL Height, NIST/NRC Test 4

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 10                                                          HGL Height, NIST/NRC Test 10

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 13                                                          HGL Height, NIST/NRC Test 13

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 16                                                          HGL Height, NIST/NRC Test 16

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)



                               Figure 5.47: NIST/NRC experiments, HGL temperature and height, Tests 4, 10, 13, 16.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 17                                                          HGL Height, NIST/NRC Test 17

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)




                                                                         Open door tests to follow




                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 3                                                           HGL Height, NIST/NRC Test 3

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 9                                                           HGL Height, NIST/NRC Test 9

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)



                                 Figure 5.48: NIST/NRC experiments, HGL temperature and height, Tests 3, 9, 17.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 5                                                           HGL Height, NIST/NRC Test 5

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 14                                                          HGL Height, NIST/NRC Test 14

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)
                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 15                                                          HGL Height, NIST/NRC Test 15

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          4
                              HGL Temperature, NIST/NRC Test 18                                                          HGL Height, NIST/NRC Test 18

                    300                                                                                          3
 Temperature (°C)




                                                                                                    Height (m)




                                                                                                                                                                   Exp (Height)
                    200                                                                                          2                                                 FDS (Height)



                    100                                                                                          1
                                                                      Exp (T_Upper)
                                                                      FDS (T_upper)
                      0                                                                                          0
                          0       5       10       15         20            25           30                          0       5       10       15         20            25           30
                                               Time (min)                                                                                 Time (min)



                               Figure 5.49: NIST/NRC experiments, HGL temperature and height, Tests 5, 14, 15, 18.

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5.13     NIST/NRC Corner Effects Experiments
The plots on the following pages compare hot gas layer temperatures and heights in a large compartment
where corner, wall, and cabinet effects experiments were conducted. The corner and wall experiments
involved a 60 cm by 60 cm natural gas burner with heat release rates of 200 kW, 300 kW, and 400 kW. The
burner was either set in a corner or against a wall. The cabinet experiments involved gas burners set in one
of two mock steel cabinets, with a variety of heat release rates.
    In all experiments, two vertical thermocouple arrays were placed along the centerline of the room,
each one-third of the room length from each respective short wall. The arrays each had 13 bare-bead
thermocouples. The first was 2 cm below the ceiling, and the rest were spaced 30 cm apart.




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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Corner, 200 kW                                                        HGL Height, Corner, 200 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)
                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                              Exp (Height)
                                                                   FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80         100          120
                                              Time (min)                                                                             Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Corner, 300 kW                                                        HGL Height, Corner, 300 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)
                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                              Exp (Height)
                                                                   FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80         100          120
                                              Time (min)                                                                             Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Corner, 400 kW                                                        HGL Height, Corner, 400 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)




                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                              Exp (Height)
                                                                   FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80         100          120
                                              Time (min)                                                                             Time (min)



                Figure 5.50: NIST/NRC Corner Effects experiments, HGL temperature and height, corner experiments.




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                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Wall, 200 kW                                                          HGL Height, Wall, 200 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)
                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                            Exp (Height)
                                                                   FDS (T_upper)                                                                            FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80       100          120
                                              Time (min)                                                                             Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Wall, 300 kW                                                          HGL Height, Wall, 300 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)
                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                            Exp (Height)
                                                                   FDS (T_upper)                                                                            FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80       100          120
                                              Time (min)                                                                             Time (min)

                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                      4
                              HGL Temperature, Wall, 400 kW                                                          HGL Height, Wall, 400 kW
                    250
                                                                                                             3
                    200
 Temperature (°C)




                                                                                                Height (m)




                    150                                                                                      2

                    100
                                                                                                             1
                     50                                            Exp (T_Upper)                                                                            Exp (Height)
                                                                   FDS (T_upper)                                                                            FDS (Height)
                      0                                                                                      0
                          0      20      40     60       80       100          120                               0      20      40     60       80       100          120
                                              Time (min)                                                                             Time (min)



                    Figure 5.51: NIST/NRC Corner Effects experiments, HGL temperature and height, wall experiments.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        4
                              HGL Temperature, Cabinet Test 1                                                          HGL Height, Cabinet Test 1

                    300                                                                                        3
 Temperature (°C)




                                                                                                  Height (m)
                    200                                                                                        2


                    100                                                                                        1
                                                                     Exp (T_Upper)                                                                              Exp (Height)
                                                                     FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0          20         40           60                80                                  0          20         40           60                80
                                              Time (min)                                                                               Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        4
                              HGL Temperature, Cabinet Test 2                                                          HGL Height, Cabinet Test 2

                    300                                                                                        3
 Temperature (°C)




                                                                                                  Height (m)
                    200                                                                                        2


                    100                                                                                        1
                                                                     Exp (T_Upper)                                                                              Exp (Height)
                                                                     FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0          20         40           60                80                                  0          20         40           60                80
                                              Time (min)                                                                               Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        4
                              HGL Temperature, Cabinet Test 3                                                          HGL Height, Cabinet Test 3

                    300                                                                                        3
 Temperature (°C)




                                                                                                  Height (m)




                    200                                                                                        2


                    100                                                                                        1
                                                                     Exp (T_Upper)                                                                              Exp (Height)
                                                                     FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0          20         40           60                80                                  0          20         40           60                80
                                              Time (min)                                                                               Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                        4
                              HGL Temperature, Cabinet Test 4                                                          HGL Height, Cabinet Test 4

                    300                                                                                        3
 Temperature (°C)




                                                                                                  Height (m)




                    200                                                                                        2


                    100                                                                                        1
                                                                     Exp (T_Upper)                                                                              Exp (Height)
                                                                     FDS (T_upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0          20         40           60                80                                  0          20         40           60                80
                                              Time (min)                                                                               Time (min)



Figure 5.52: NIST/NRC Corner Effects experiments, HGL temperature and height, cabinet experiments 1-4.

                                                                                            244
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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                             4
                              HGL Temperature, Cabinet Test 5                                                               HGL Height, Cabinet Test 5

                    300                                                                                             3
 Temperature (°C)




                                                                                                       Height (m)
                    200                                                                                             2


                    100                                                                                             1
                                                                         Exp (T_Upper)                                                                                   Exp (Height)
                                                                         FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                             0
                          0       10         20       30         40            50           60                          0       10         20       30         40            50           60
                                                  Time (min)                                                                                    Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                             4
                              HGL Temperature, Cabinet Test 6                                                               HGL Height, Cabinet Test 6

                    300                                                                                             3
 Temperature (°C)




                                                                                                       Height (m)
                    200                                                                                             2


                    100                                                                                             1
                                                                         Exp (T_Upper)                                                                                   Exp (Height)
                                                                         FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                             0
                          0       10         20       30         40            50           60                          0       10         20       30         40            50           60
                                                  Time (min)                                                                                    Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                             4
                              HGL Temperature, Cabinet Test 7                                                               HGL Height, Cabinet Test 7
                    200
                                                                                                                    3
 Temperature (°C)




                    150
                                                                                                       Height (m)




                                                                                                                    2
                    100

                                                                                                                    1
                     50
                                                                         Exp (T_Upper)                                                                                   Exp (Height)
                                                                         FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                             0
                          0      10     20         30     40          50         60         70                          0      10     20         30     40          50         60         70
                                                  Time (min)                                                                                    Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                             4
                              HGL Temperature, Cabinet Test 8                                                               HGL Height, Cabinet Test 8
                    200
                                                                                                                    3
 Temperature (°C)




                    150
                                                                                                       Height (m)




                                                                                                                    2
                    100

                                                                                                                    1
                     50
                                                                         Exp (T_Upper)                                                                                   Exp (Height)
                                                                         FDS (T_upper)                                                                                   FDS (Height)
                      0                                                                                             0
                          0      10     20         30     40          50         60         70                          0      10     20         30     40          50         60         70
                                                  Time (min)                                                                                    Time (min)



Figure 5.53: NIST/NRC Corner Effects experiments, HGL temperature and height, cabinet experiments 5-8.

                                                                                                 245
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                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 4
                              HGL Temperature, Cabinet Test 9                                                                   HGL Height, Cabinet Test 9
                    200
                                                                                                                        3
 Temperature (°C)



                    150




                                                                                                           Height (m)
                                                                                                                        2
                    100

                                                                                                                        1
                     50
                                                                             Exp (T_Upper)                                                                                       Exp (Height)
                                                                             FDS (T_upper)                                                                                       FDS (Height)
                      0                                                                                                 0
                          0      10         20         30     40          50         60         70                          0      10         20         30     40          50         60         70
                                                      Time (min)                                                                                        Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 4
                              HGL Temperature, Cabinet Test 10                                                                  HGL Height, Cabinet Test 10
                    200
                                                                                                                        3
 Temperature (°C)




                    150




                                                                                                           Height (m)
                                                                                                                        2
                    100

                                                                                                                        1
                     50
                                                                             Exp (T_Upper)                                                                                       Exp (Height)
                                                                             FDS (T_upper)                                                                                       FDS (Height)
                      0                                                                                                 0
                          0      10         20         30     40          50         60         70                          0      10         20         30     40          50         60         70
                                                      Time (min)                                                                                        Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                                 4
                              HGL Temperature, Cabinet Test 11                                                                  HGL Height, Cabinet Test 11

                    300                                                                                                 3
 Temperature (°C)




                                                                                                           Height (m)




                    200                                                                                                 2


                    100                                                                                                 1
                                                                             Exp (T_Upper)                                                                                       Exp (Height)
                                                                             FDS (T_upper)                                                                                       FDS (Height)
                      0                                                                                                 0
                          0       10             20       30         40            50           60                          0       10             20       30         40            50           60
                                                      Time (min)                                                                                        Time (min)

                                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 4
                              HGL Temperature, Cabinet Test 12                                                                  HGL Height, Cabinet Test 12
                    200
                                                                                                                        3
 Temperature (°C)




                    150
                                                                                                           Height (m)




                                                                                                                        2
                    100

                                                                                                                        1
                     50
                                                                             Exp (T_Upper)                                                                                       Exp (Height)
                                                                             FDS (T_upper)                                                                                       FDS (Height)
                      0                                                                                                 0
                          0            20               40           60                 80                                  0            20               40           60                 80
                                                      Time (min)                                                                                        Time (min)



Figure 5.54: NIST/NRC Corner Effects experiments, HGL temperature and height, cabinet experiments 9-12.

                                                                                                     246
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5.14    NIST Vent Study
These experiments were performed in a small-scale two floor enclosure, with each floor connected by one
or two ceiling vents. Each floor contained a vertical array of eight sheathed thermocouples at distances
below the ceiling of 5, 10, 15, 20, 25, 30, 40, and 50 cm. Fifteen experiments were performed, but only
12 were modeled because three experiments involved a circular vent rather than square which could not be
distinguished in the FDS simulations. The results of these experiments were nearly identical.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 1, Floor 1                                                           HGL Height, Test 1, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 1, Floor 2                                                           HGL Height, Test 1, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 2, Floor 1                                                           HGL Height, Test 2, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 2, Floor 2                                                           HGL Height, Test 2, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)



                                        Figure 5.55: NIST Vent Study, HGL temperature and height, Tests 1 and 2.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 3, Floor 1                                                           HGL Height, Test 3, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 3, Floor 2                                                           HGL Height, Test 3, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 4, Floor 1                                                           HGL Height, Test 4, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 4, Floor 2                                                           HGL Height, Test 4, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)



                                        Figure 5.56: NIST Vent Study, HGL temperature and height, Tests 3 and 4.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 5, Floor 1                                                           HGL Height, Test 5, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 5, Floor 2                                                           HGL Height, Test 5, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 6, Floor 1                                                           HGL Height, Test 6, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 6, Floor 2                                                           HGL Height, Test 6, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)



                                        Figure 5.57: NIST Vent Study, HGL temperature and height, Tests 5 and 6.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 7, Floor 1                                                           HGL Height, Test 7, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 7, Floor 2                                                           HGL Height, Test 7, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 8, Floor 1                                                           HGL Height, Test 8, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                       Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 8, Floor 2                                                           HGL Height, Test 8, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                       Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60           80            100
                                              Time (min)                                                                                  Time (min)



                                        Figure 5.58: NIST Vent Study, HGL temperature and height, Tests 7 and 8.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                         0.7
                              HGL Temperature, Test 9, Floor 1                                                            HGL Height, Test 9, Floor 1
                    100                                                                                         0.6

                                                                                                                0.5
                     80
 Temperature (°C)




                                                                                                   Height (m)
                                                                                                                0.4
                     60
                                                                                                                0.3
                     40
                                                                                                                0.2
                     20                                     Exp (floor_1_T_Upper)                               0.1                                        Exp (floor_1_Height)
                                                            FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0        20        40       60           80            100                                  0        20        40       60            80            100
                                               Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                         0.7
                              HGL Temperature, Test 9, Floor 2                                                            HGL Height, Test 9, Floor 2
                    100                                                                                         0.6

                                                                                                                0.5
                     80
 Temperature (°C)




                                                                                                   Height (m)
                                                                                                                0.4
                     60
                                                                                                                0.3
                     40
                                                                                                                0.2
                     20                                     Exp (floor_2_T_Upper)                               0.1                                        Exp (floor_2_Height)
                                                            FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0        20        40       60           80            100                                  0        20        40       60            80            100
                                               Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                         0.7
                              HGL Temperature, Test 13, Floor 1                                                           HGL Height, Test 13, Floor 1
                    100                                                                                         0.6

                                                                                                                0.5
                     80
 Temperature (°C)




                                                                                                   Height (m)




                                                                                                                0.4
                     60
                                                                                                                0.3
                     40
                                                                                                                0.2
                     20                                     Exp (floor_1_T_Upper)                               0.1                                        Exp (floor_1_Height)
                                                            FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0        20        40       60           80            100                                  0        20        40       60            80            100
                                               Time (min)                                                                                  Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                         0.7
                              HGL Temperature, Test 13, Floor 2                                                           HGL Height, Test 13, Floor 2
                    100                                                                                         0.6

                                                                                                                0.5
                     80
 Temperature (°C)




                                                                                                   Height (m)




                                                                                                                0.4
                     60
                                                                                                                0.3
                     40
                                                                                                                0.2
                     20                                     Exp (floor_2_T_Upper)                               0.1                                        Exp (floor_2_Height)
                                                            FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                           0
                          0        20        40       60           80            100                                  0        20        40       60            80            100
                                               Time (min)                                                                                  Time (min)



                                        Figure 5.59: NIST Vent Study, HGL temperature and height, Tests 9 and 13.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 14, Floor 1                                                          HGL Height, Test 14, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                        Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60            80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 14, Floor 2                                                          HGL Height, Test 14, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)
                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                        Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60            80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 15, Floor 1                                                          HGL Height, Test 15, Floor 1
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_1_T_Upper)                               0.1                                        Exp (floor_1_Height)
                                                           FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60            80            100
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    120                                                                                        0.7
                              HGL Temperature, Test 15, Floor 2                                                          HGL Height, Test 15, Floor 2
                    100                                                                                        0.6

                                                                                                               0.5
                     80
 Temperature (°C)




                                                                                                  Height (m)




                                                                                                               0.4
                     60
                                                                                                               0.3
                     40
                                                                                                               0.2
                     20                                    Exp (floor_2_T_Upper)                               0.1                                        Exp (floor_2_Height)
                                                           FDS (T_upper)                                                                                  FDS (Height)
                      0                                                                                          0
                          0        20       40       60           80            100                                  0        20        40       60            80            100
                                              Time (min)                                                                                  Time (min)



                                     Figure 5.60: NIST Vent Study, HGL temperature and height, Tests 14 and 15.

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5.15     NRCC Smoke Tower
In the NRCC Smoke Tower experiments, there was a vertical array consisting of thirteen TCs that were
installed in the fire compartment on the second floor at the following heights: 0.62 m, 0.92 m, 1.22 m,
1.37 m, 1.52 m, 1.67 m, 1.82 m, 1.97 m, 2.12 m, 2.27 m, 2.42 m, 2.57 m and 2.95 m. Also, five TCs were
installed in the doorway between the stair vestibule and stair shaft on the second floor. Figure 5.61 shows
the predicted and measured HGL temperature for both vertical arrays.




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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                              1000
                              Fire Compartment HGL Temp., Test BK-R                                                             Stair Vestibule HGL Temp., Test BK-R
                    800                                                                                               800
Temperature (°C)




                                                                                                  Temperature (°C)
                    600                                                                                               600


                    400                                                                                               400


                    200                                                                                               200
                                                                    Exp (T_upper)                                                                                      Exp (T_upper)
                                                                    FDS (T_upper)                                                                                      FDS (T_upper)
                      0                                                                                                 0
                          0           10         20                30                  40                                   0           10          20                30                  40
                                             Time (min)                                                                                         Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                              1000
                              Fire Compartment HGL Temp., Test CMP-R                                                            Stair Vestibule HGL Temp., Test CMP-R
                    800                                                                                               800
Temperature (°C)




                                                                                                  Temperature (°C)
                    600                                                                                               600


                    400                                                                                               400


                    200                                                                                               200
                                                                    Exp (T_upper)                                                                                      Exp (T_upper)
                                                                    FDS (T_upper)                                                                                      FDS (T_upper)
                      0                                                                                                 0
                          0           10         20                30                  40                                   0           10          20                30                  40
                                             Time (min)                                                                                         Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                              1000
                              Fire Compartment HGL Temp., Test CLC-I-R                                                          Stair Vestibule HGL Temp., Test CLC-I-R
                    800                                                                                               800
Temperature (°C)




                                                                                                  Temperature (°C)




                    600                                                                                               600


                    400                                                                                               400


                    200                                                                                               200
                                                                    Exp (T_upper)                                                                                      Exp (T_upper)
                                                                    FDS (T_upper)                                                                                      FDS (T_upper)
                      0                                                                                                 0
                          0           10         20                30                  40                                   0           10          20                30                  40
                                             Time (min)                                                                                         Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                              1000
                              Fire Compartment HGL Temp., Test CLC-II-R                                                         Stair Vestibule HGL Temp., Test CLC-II-R
                    800                                                                                               800
Temperature (°C)




                                                                                                  Temperature (°C)




                    600                                                                                               600


                    400                                                                                               400


                    200                                                                                               200
                                                                    Exp (T_upper)                                                                                      Exp (T_upper)
                                                                    FDS (T_upper)                                                                                      FDS (T_upper)
                      0                                                                                                 0
                          0           10         20                30                  40                                   0           10          20                30                  40
                                             Time (min)                                                                                         Time (min)



                    Figure 5.61: NRCC Smoke Tower experiments, HGL temperature in the fire room and stair vestibule.

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5.16                     PRISME DOOR Experiments
The compartments in the PRISME DOOR experiments contained vertical arrays of thermocouples to mea-
sure the HGL temperature and depth. Each array contained 18 TCs and each compartment included three
arrays. The array above the fire was excluded from the calculation of the HGL temperature and depth.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                       400                                                                                          5
                                  DOOR Test 1, Room 1 HGL Temp.                                                             DOOR Test 1, Room 1 HGL Height
                                                                                                                    4
                       300
    Temperature (°C)




                                                                                                                    3




                                                                                                       Height (m)
                                                                         Exp (T_upper)                                                                               Exp (Height)
                       200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                    2

                       100
                                                                                                                    1


                         0                                                                                          0
                             0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                                  Time (min)                                                                                Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                       400                                                                                          5
                                  DOOR Test 2, Room 1 HGL Temp.                                                             DOOR Test 2, Room 1 HGL Height
                                                                                                                    4
                       300
    Temperature (°C)




                                                                                                                    3
                                                                                                       Height (m)




                                                                         Exp (T_upper)                                                                               Exp (Height)
                       200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                    2

                       100
                                                                                                                    1


                         0                                                                                          0
                             0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                                  Time (min)                                                                                Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                       400                                                                                          5
                                  DOOR Test 3, Room 1 HGL Temp.                                                             DOOR Test 3, Room 1 HGL Height
                                                                                                                    4
                       300
    Temperature (°C)




                                                                                                                    3
                                                                                                       Height (m)




                                                                         Exp (T_upper)                                                                               Exp (Height)
                       200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                    2

                       100
                                                                                                                    1


                         0                                                                                          0
                             0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                                  Time (min)                                                                                Time (min)



                                 Figure 5.62: PRISME DOOR experiments, HGL temperature and height, Room 1, Tests 1-3.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 4, Room 1 HGL Temp.                                                             DOOR Test 4, Room 1 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)



                                                                                                                 3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          5
                               DOOR Test 5, Room 1 HGL Temp.                                                             DOOR Test 5, Room 1 HGL Height
                    400                                                                                          4
 Temperature (°C)




                    300                                                                                          3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                                                                      FDS (T_upper)                                                                               FDS (Height)
                    200                                                                                          2


                    100                                                                                          1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                          5
                               DOOR Test 6, Room 1 HGL Temp.                                                             DOOR Test 6, Room 1 HGL Height
                    400                                                                                          4
 Temperature (°C)




                    300                                                                                          3
                                                                                                    Height (m)




                                                                      Exp (T_upper)                                                                               Exp (Height)
                                                                      FDS (T_upper)                                                                               FDS (Height)
                    200                                                                                          2


                    100                                                                                          1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)



                              Figure 5.63: PRISME DOOR experiments, HGL temperature and height, Room 1, Tests 4-6.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 1, Room 2 HGL Temp.                                                             DOOR Test 1, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)



                                                                                                                 3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 2, Room 2 HGL Temp.                                                             DOOR Test 2, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)




                                                                                                                 3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 3, Room 2 HGL Temp.                                                             DOOR Test 3, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)




                                                                                                                 3
                                                                                                    Height (m)




                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)



                              Figure 5.64: PRISME DOOR experiments, HGL temperature and height, Room 2, Tests 1-3.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 4, Room 2 HGL Temp.                                                             DOOR Test 4, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)



                                                                                                                 3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 5, Room 2 HGL Temp.                                                             DOOR Test 5, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)




                                                                                                                 3




                                                                                                    Height (m)
                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                          5
                               DOOR Test 6, Room 2 HGL Temp.                                                             DOOR Test 6, Room 2 HGL Height
                                                                                                                 4
                    300
 Temperature (°C)




                                                                                                                 3
                                                                                                    Height (m)




                                                                      Exp (T_upper)                                                                               Exp (Height)
                    200                                               FDS (T_upper)                                                                               FDS (Height)
                                                                                                                 2

                    100
                                                                                                                 1


                      0                                                                                          0
                          0        5      10       15         20            25           30                          0       5      10       15         20            25           30
                                               Time (min)                                                                                Time (min)



                              Figure 5.65: PRISME DOOR experiments, HGL temperature and height, Room 1, Tests 4-6.




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5.17    PRISME SOURCE Experiments
The PRISME SOURCE experiments were conducted in a single compartment connected to an HVAC net-
work. The compartment was 5 m by 6 m by 4 m high. The HGL temperature was computed from a single
vertical thermocouple array located in the northeast quadrant of the compartment. The array contained 18
TCs; the highest one 0.1 m below the ceiling.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 1, Room 1 HGL Temp.                                                           SOURCE Test 1, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)



                                                                                                                3




                                                                                                   Height (m)
                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 2, Room 1 HGL Temp.                                                           SOURCE Test 2, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3




                                                                                                   Height (m)
                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 3, Room 1 HGL Temp.                                                           SOURCE Test 3, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3
                                                                                                   Height (m)




                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0               5                  10                         15                          0               5                  10                         15
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 4, Room 1 HGL Temp.                                                           SOURCE Test 4, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3
                                                                                                   Height (m)




                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)



                          Figure 5.66: PRISME SOURCE experiments, HGL temperature and height, Room 2, Tests 1-4.

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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 5, Room 1 HGL Temp.                                                           SOURCE Test 5, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)



                                                                                                                3




                                                                                                   Height (m)
                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 5a, Room 1 HGL Temp.                                                          SOURCE Test 5a, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3




                                                                                                   Height (m)
                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 6, Room 1 HGL Temp.                                                           SOURCE Test 6, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3
                                                                                                   Height (m)




                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                         5
                              SOURCE Test 6a, Room 1 HGL Temp.                                                          SOURCE Test 6a, Room 2 HGL Height
                                                                                                                4
                    300
 Temperature (°C)




                                                                                                                3
                                                                                                   Height (m)




                                                                     Exp (T_upper)                                                                               Exp (Height)
                    200                                              FDS (T_upper)                                                                               FDS (Height)
                                                                                                                2

                    100
                                                                                                                1


                      0                                                                                         0
                          0      10      20       30         40            50           60                          0       10     20       30         40            50           60
                                              Time (min)                                                                                Time (min)



                          Figure 5.67: PRISME SOURCE experiments, HGL temperature and height, Room 2, Tests 5-6.

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5.18     Steckler Compartment Experiments
Steckler et al. [319] mapped the doorway/window flows in 55 compartment fire experiments. The test matrix
is presented in Table 3.38. Shown on the following pages are the temperature profiles inside the compartment
compared with model predictions. To quantify the difference between prediction and measurement, the
maximum temperatures were compared.




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                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2        Temperature Profile, Steckler Test 10                                                2       Temperature Profile, Steckler Test 11


              1.5                                                                                           1.5
 Height (m)




                                                                                               Height (m)
                1                                                                                             1


              0.5                                                                                           0.5
                                                               Exp (T_in)                                                                                   Exp (T_in)
                                                               FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                             0
                    0        50       100     150       200           250          300                            0       50       100     150       200           250          300
                                       Temperature (°C)                                                                             Temperature (°C)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2        Temperature Profile, Steckler Test 12                                                2       Temperature Profile, Steckler Test 612


              1.5                                                                                           1.5
 Height (m)




                                                                                               Height (m)
                1                                                                                             1


              0.5                                                                                           0.5
                                                               Exp (T_in)                                                                                   Exp (T_in)
                                                               FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                             0
                    0        50       100     150       200           250          300                            0       50       100     150       200           250          300
                                       Temperature (°C)                                                                             Temperature (°C)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2        Temperature Profile, Steckler Test 13                                                2       Temperature Profile, Steckler Test 14


              1.5                                                                                           1.5
 Height (m)




                                                                                               Height (m)




                1                                                                                             1


              0.5                                                                                           0.5
                                                               Exp (T_in)                                                                                   Exp (T_in)
                                                               FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                             0
                    0        50       100     150       200           250          300                            0       50       100     150       200           250          300
                                       Temperature (°C)                                                                             Temperature (°C)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2        Temperature Profile, Steckler Test 18                                                2       Temperature Profile, Steckler Test 710


              1.5                                                                                           1.5
 Height (m)




                                                                                               Height (m)




                1                                                                                             1


              0.5                                                                                           0.5
                                                               Exp (T_in)                                                                                   Exp (T_in)
                                                               FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                             0
                    0        50       100     150       200           250          300                            0       50       100     150       200           250          300
                                       Temperature (°C)                                                                             Temperature (°C)



                        Figure 5.68: Steckler experiments, HGL temperature, Tests 10, 11, 12, 13, 14, 18, 612, 710.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 810                                               2       Temperature Profile, Steckler Test 16


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 17                                                2       Temperature Profile, Steckler Test 22


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 23                                                2       Temperature Profile, Steckler Test 30


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 41                                                2       Temperature Profile, Steckler Test 19


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)



                        Figure 5.69: Steckler experiments, HGL temperature, Tests 16, 17, 19, 22, 23, 30, 41, 810.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 20                                                2       Temperature Profile, Steckler Test 21


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 114                                               2       Temperature Profile, Steckler Test 144


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 212                                               2       Temperature Profile, Steckler Test 242


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 410                                               2       Temperature Profile, Steckler Test 210


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)



                Figure 5.70: Steckler experiments, HGL temperature, Tests 20, 21, 114, 144, 210, 212, 242, 410.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 310                                               2       Temperature Profile, Steckler Test 240


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 116                                               2       Temperature Profile, Steckler Test 122


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 224                                               2       Temperature Profile, Steckler Test 324


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 220                                               2       Temperature Profile, Steckler Test 221


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)



               Figure 5.71: Steckler experiments, HGL temperature, Tests 116, 122, 220, 221, 224, 240,310, 324.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 514                                               2       Temperature Profile, Steckler Test 544


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 512                                               2       Temperature Profile, Steckler Test 542


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 610                                               2       Temperature Profile, Steckler Test 510


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 540                                               2       Temperature Profile, Steckler Test 517


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)



               Figure 5.72: Steckler experiments, HGL temperature, Tests 510, 512, 514, 517, 540, 542, 544, 610.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 622                                               2       Temperature Profile, Steckler Test 522


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 524                                               2       Temperature Profile, Steckler Test 541


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 520                                               2       Temperature Profile, Steckler Test 521


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 513                                               2       Temperature Profile, Steckler Test 160


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)



               Figure 5.73: Steckler experiments, HGL temperature, Tests 160, 513, 520, 521, 522, 524, 541, 622.

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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 163                                               2       Temperature Profile, Steckler Test 164


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 165                                               2       Temperature Profile, Steckler Test 162


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)
                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 167                                               2       Temperature Profile, Steckler Test 161


              1.5                                                                                          1.5
 Height (m)




                                                                                              Height (m)




                1                                                                                            1


              0.5                                                                                          0.5
                                                              Exp (T_in)                                                                                   Exp (T_in)
                                                              FDS (TC_Room)                                                                                FDS (TC_Room)
                0                                                                                            0
                    0       50       100     150       200           250          300                            0       50       100     150       200           250          300
                                      Temperature (°C)                                                                             Temperature (°C)

                                                      FDS-6.8.0-1116-gd8b2bf4-master


                2       Temperature Profile, Steckler Test 166


              1.5
 Height (m)




                1


              0.5
                                                              Exp (T_in)
                                                              FDS (TC_Room)
                0
                    0       50       100     150       200           250          300
                                      Temperature (°C)



                    Figure 5.74: Steckler experiments, HGL temperature, Tests 161, 162, 163, 164, 165, 166, 167.

                                                                                        270
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5.19     UL/NIST Vent Experiments
The HGL temperature and height for the four experiments was calculated from two vertical arrays of eight
thermocouples each. The arrays were centered on the long central axis of the compartment and 90 cm from
each short size wall. The 2.4 m by 1.2 m double vent was 90 cm from each array. The uppermost TC was
2.5 cm below the ceiling. The second TC was 30 cm (1 ft) below the ceiling, and the rest were spaced evenly
by 1 ft.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                         2.5
                              HGL Temperature, UL/NIST Vents Test 1                                                       HGL Height, UL/NIST Vents Test 1
                    800                                                                                           2
Temperature (°C)



                    600                                                                                         1.5




                                                                                                   Height (m)
                    400                                                                                           1


                    200                                                                                         0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0           20          40                60                  80                            0           20          40                60                  80
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                         2.5
                              HGL Temperature, UL/NIST Vents Test 2                                                       HGL Height, UL/NIST Vents Test 2
                    800                                                                                           2
Temperature (°C)




                    600                                                                                         1.5




                                                                                                   Height (m)
                    400                                                                                           1


                    200                                                                                         0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0           20          40                60                  80                            0           20          40                60                  80
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                         2.5
                              HGL Temperature, UL/NIST Vents Test 3                                                       HGL Height, UL/NIST Vents Test 3
                    800                                                                                           2
Temperature (°C)




                    600                                                                                         1.5
                                                                                                   Height (m)




                    400                                                                                           1


                    200                                                                                         0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0           20          40                60                  80                            0           20          40                60                  80
                                              Time (min)                                                                                  Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                         2.5
                              HGL Temperature, UL/NIST Vents Test 4                                                       HGL Height, UL/NIST Vents Test 4
                    800                                                                                           2
Temperature (°C)




                    600                                                                                         1.5
                                                                                                   Height (m)




                    400                                                                                           1


                    200                                                                                         0.5
                                                                     Exp (T_upper)                                                                                 Exp (Height)
                                                                     FDS (T_upper)                                                                                 FDS (Height)
                      0                                                                                           0
                          0           20          40                60                  80                            0           20          40                60                  80
                                              Time (min)                                                                                  Time (min)



                                     Figure 5.75: UL/NIST experiments, HGL temperature and height, Tests 1-4.

                                                                                             272
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5.20    UL/NIJ House Experiments
Details of the experiments can be found in Sec. 3.90
    The HGL temperature and height for three experiments conducted in the ranch-style house were calcu-
lated from two vertical arrays of eight thermocouples. The thermocouple arrays were located in the hallway
(4TC) and in the living room (5TC).
    The HGL temperature and height for three experiments conducted in the two-story colonial-style house
were calculated from a vertical array of thermocouples in the center of the family room (8TC). The upper-
most TC was 2.5 cm below the ceiling. The second TC was 30 cm (1 ft) below the ceiling, and the rest were
spaced evenly by 30 cm (1 ft).




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                     300                                                                                3
                               HGL Temperature, UL/NIJ Single Story House Test 1                                HGL Height, UL/NIJ Single Story House Test 1
                     250                                                                              2.5

                     200                                                                                2
  Temperature (°C)




                                                                                         Height (m)
                     150                                                                              1.5

                     100                                                                                1

                      50                          Exp (T_upper)
                                                                                                      0.5                                           Exp (Height)
                                                  FDS (T_upper)                                                                                     FDS (Height)
                       0                                                                                0
                           0        5      10       15            20     25   30                            0        5       10       15       20      25          30
                                                Time (min)                                                                        Time (min)


                     300                                                                                3
                               HGL Temperature, UL/NIJ Single Story House Test 2                                HGL Height, UL/NIJ Single Story House Test 2
                     250                                                                              2.5

                     200                                                                                2
  Temperature (°C)




                                                                                         Height (m)
                     150                                                                              1.5

                     100                                                                                1

                      50                          Exp (T_upper)
                                                                                                      0.5                                           Exp (Height)
                                                  FDS (T_upper)                                                                                     FDS (Height)
                       0                                                                                0
                           0        5      10       15            20     25   30                            0        5       10       15       20      25          30
                                                Time (min)                                                                        Time (min)


                     300                                                                                3
                               HGL Temperature, UL/NIJ Single Story House Test 5                                HGL Height, UL/NIJ Single Story House Test 5
                     250                                                                              2.5

                     200                                                                                2
  Temperature (°C)




                                                                                         Height (m)




                     150                                                                              1.5

                     100                                                                                1

                      50                          Exp (T_upper)
                                                                                                      0.5                                           Exp (Height)
                                                  FDS (T_upper)                                                                                     FDS (Height)
                       0                                                                                0
                           0        5      10       15            20     25   30                            0        5       10       15       20      25          30
                                                Time (min)                                                                        Time (min)



Figure 5.76: UL/NIJ Experiments, HGL temperature and height, single-story ranch-style House Tests 1, 2, and 5




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                     300                                                                              6
                               HGL Temperature, UL/NIJ Two Story House Test 1                                 HGL Height, UL/NIJ Two Story House Test 1
                     250                                                                              5

                     200                                                                              4
  Temperature (°C)




                                                                                         Height (m)
                     150                                                                              3

                     100                                                                              2

                      50                          Exp (T_upper)
                                                                                                      1                                          Exp (Height)
                                                  FDS (T_upper)                                                                                  FDS (Height)
                       0                                                                              0
                           0       5       10       15            20     25   30                          0        5      10       15       20      25          30
                                                Time (min)                                                                     Time (min)


                     300                                                                              6
                               HGL Temperature, UL/NIJ Two Story House Test 4                                 HGL Height, UL/NIJ Two Story House Test 4
                     250                                                                              5

                     200                                                                              4
  Temperature (°C)




                                                                                         Height (m)
                     150                                                                              3

                     100                                                                              2

                      50                          Exp (T_upper)
                                                                                                      1                                          Exp (Height)
                                                  FDS (T_upper)                                                                                  FDS (Height)
                       0                                                                              0
                           0       5       10       15            20     25   30                          0        5      10       15       20      25          30
                                                Time (min)                                                                     Time (min)


                     300                                                                              6
                               HGL Temperature, UL/NIJ Two Story House Test 6                                 HGL Height, UL/NIJ Two Story House Test 6
                     250                                                                              5

                     200                                                                              4
  Temperature (°C)




                                                                                         Height (m)




                     150                                                                              3

                     100                                                                              2

                      50                          Exp (T_upper)
                                                                                                      1                                          Exp (Height)
                                                  FDS (T_upper)                                                                                  FDS (Height)
                       0                                                                              0
                           0       5       10       15            20     25   30                          0        5      10       15       20      25          30
                                                Time (min)                                                                     Time (min)



Figure 5.77: UL/NIJ Experiments, HGL temperature and height, two-story colonial-style House Tests 1, 4, and 6




                                                                                   275
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5.21                     VTT Test Series
The HGL temperature and height are calculated from the (1 min) averaged gas temperatures from three
vertical thermocouple arrays using the standard reduction method. There are 10 thermocouples in each
vertical array, spaced 2 m apart in the lower two-thirds of the hall, and 1 m apart near the ceiling.
                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                       140
                                 HGL Temperature, VTT Case 1                                                             HGL Height, VTT Case 1
                       120
                                                                                                                15
                       100
    Temperature (°C)




                                                                                                   Height (m)
                        80
                                                                                                                10                                             Exp (Height)
                                                                                                                                                               FDS (Height)
                        60

                        40                                                                                       5
                        20                                          Exp (T_Upper)
                                                                    FDS (T_Upper)
                         0                                                                                       0
                             0         2        4          6             8              10                           0         2        4          6             8              10
                                                Time (min)                                                                              Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                       140
                                 HGL Temperature, VTT Case 2                                                             HGL Height, VTT Case 2
                       120
                                                                                                                15
                       100
    Temperature (°C)




                                                                                                   Height (m)




                        80
                                                                                                                10                                             Exp (Height)
                                                                                                                                                               FDS (Height)
                        60

                        40                                                                                       5
                        20                                          Exp (T_Upper)
                                                                    FDS (T_Upper)
                         0                                                                                       0
                             0         2        4          6             8              10                           0         2        4          6             8              10
                                                Time (min)                                                                              Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                       140
                                 HGL Temperature, VTT Case 3                                                             HGL Height, VTT Case 3
                       120
                                                                                                                15
                       100
    Temperature (°C)




                                                                                                   Height (m)




                        80
                                                                                                                10                                             Exp (Height)
                                                                                                                                                               FDS (Height)
                        60

                        40                                                                                       5
                        20                                          Exp (T_Upper)
                                                                    FDS (T_Upper)
                         0                                                                                       0
                             0         2        4          6             8              10                           0         2        4          6             8              10
                                                Time (min)                                                                              Time (min)



                                           Figure 5.78: VTT experiments, HGL temperature and height, Tests 1-3.




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5.22                     WTC Test Series
The HGL temperature and height for the WTC experiments were calculated from two TC trees, one that was
approximately 3 m to the west and one 2 m to the east of the fire pan (see Fig. 3.61). Each tree consisted of
15 thermocouples, the highest point being 5 cm below the ceiling.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                          4
                                 HGL Temperature, WTC Test 1                                                                HGL Height, WTC Test 1
                       800
                                                                                                                    3
   Temperature (°C)




                       600




                                                                                                       Height (m)
                                                                                                                    2
                       400

                                                                                                                    1
                       200
                                                                        Exp (T_Upper)                                                                                 Exp (Height)
                                                                        FDS (T_Upper)                                                                                 FDS (Height)
                         0                                                                                          0
                             0       10      20       30         40            50           60                          0       10      20       30         40            50           60
                                                  Time (min)                                                                                 Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                          4
                                 HGL Temperature, WTC Test 2                                                                HGL Height, WTC Test 2
                       800
                                                                                                                    3
   Temperature (°C)




                       600
                                                                                                       Height (m)




                                                                                                                    2
                       400

                                                                                                                    1
                       200
                                                                        Exp (T_Upper)                                                                                 Exp (Height)
                                                                        FDS (T_Upper)                                                                                 FDS (Height)
                         0                                                                                          0
                             0       10      20       30         40            50           60                          0       10      20       30         40            50           60
                                                  Time (min)                                                                                 Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                          4
                                 HGL Temperature, WTC Test 3                                                                HGL Height, WTC Test 3
                       800
                                                                                                                    3
   Temperature (°C)




                       600
                                                                                                       Height (m)




                                                                                                                    2
                       400

                                                                                                                    1
                       200
                                                                        Exp (T_Upper)                                                                                 Exp (Height)
                                                                        FDS (T_Upper)                                                                                 FDS (Height)
                         0                                                                                          0
                             0       10      20       30         40            50           60                          0       10      20       30         40            50           60
                                                  Time (min)                                                                                 Time (min)



                                          Figure 5.79: WTC experiments, HGL temperature and height, Tests 1-3.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                        4
                              HGL Temperature, WTC Test 4                                                              HGL Height, WTC Test 4
                    800
                                                                                                               3
Temperature (°C)



                    600




                                                                                                  Height (m)
                                                                                                               2
                    400

                                                                                                               1
                    200
                                                                    Exp (T_Upper)                                                                              Exp (Height)
                                                                    FDS (T_Upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0         20          40           60                80                                  0         20         40           60                80
                                              Time (min)                                                                              Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                        4
                              HGL Temperature, WTC Test 5                                                              HGL Height, WTC Test 5
                    800
                                                                                                               3
Temperature (°C)




                    600




                                                                                                  Height (m)
                                                                                                               2
                    400

                                                                                                               1
                    200
                                                                    Exp (T_Upper)                                                                              Exp (Height)
                                                                    FDS (T_Upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0         20          40           60                80                                  0         20         40           60                80
                                              Time (min)                                                                              Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                          FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                        4
                              HGL Temperature, WTC Test 6                                                              HGL Height, WTC Test 6
                    800
                                                                                                               3
Temperature (°C)




                    600
                                                                                                  Height (m)




                                                                                                               2
                    400

                                                                                                               1
                    200
                                                                    Exp (T_Upper)                                                                              Exp (Height)
                                                                    FDS (T_Upper)                                                                              FDS (Height)
                      0                                                                                        0
                          0         20          40           60                80                                  0         20         40           60                80
                                              Time (min)                                                                              Time (min)



                                         Figure 5.80: WTC experiments, HGL temperature and height, Tests 4-6.




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5.23                                 Summary of Hot Gas Layer Temperature and Height



                                                     HGL Temperature, Natural Ventilation
                                                     Exp. Rel. Std. Dev.: 0.07
                                         1000                                                                          ATF Corridors
                                                     Model Rel. Std. Dev.: 0.13
                                                     Model Bias Factor: 1.04                                           DelCo Trainers
                                                                                                                       JH FRA
                                                                                                                       LLNL Enclosure
       Predicted Temperature Rise (°C)




                                                                                                                       NBS Multiroom
                                                                                                                       NIST Composite Beam
                                                                                                                       NIST E119 Compartment
                                                                                                                       NIST FSE 2008
                                                                                                                       NIST Vent Study
                                                                                                                       NIST/NRC
                                          100
                                                                                                                       NIST/NRC Corner Effects
                                                                                                                       NRCC Smoke Tower
                                                                                                                       Steckler Compartment
                                                                                                                       UL/NIJ Houses
                                                                                                                       UL/NIST Vents
                                                                                                                       VTT
                                                                                                                       WTC


                                           10
                                                10                            100                     1000
                                                               Measured Temperature Rise (°C)




                                         1000
                                                     HGL Temperature, Forced Ventilation
                                                     Exp. Rel. Std. Dev.: 0.07
                                                     Model Rel. Std. Dev.: 0.17
                                                     Model Bias Factor: 1.17
       Predicted Temperature Rise (°C)




                                                                                                                       CSTB Tunnel
                                                                                                                       FM/SNL
                                                                                                                       LLNL Enclosure
                                          100
                                                                                                                       NIST/NRC
                                                                                                                       PRISME
                                                                                                                       VTT




                                           10
                                                10                                  100                       1000
                                                               Measured Temperature Rise (°C)



                                                         Figure 5.81: Summary, HGL temperature, natural and forced ventilation.


                                                                                                280
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                                                HGL Temperature, No Ventilation
                                                Exp. Rel. Std. Dev.: 0.06
                                                Model Rel. Std. Dev.: 0.06
                                                Model Bias Factor: 1.14
                                      100
   Predicted Temperature Rise (°C)




                                                                                                                 LLNL Enclosure
                                                                                                                 NBS Multiroom
                                                                                                                 NIST/NRC

                                       10




                                        1
                                            1                         10                   100
                                                          Measured Temperature Rise (°C)




                                                HGL Depth
                                                Exp. Rel. Std. Dev.: 0.05
                                       10
                                                Model Rel. Std. Dev.: 0.08
                                                Model Bias Factor: 1.05                                          ATF Corridors
                                                                                                                 DelCo Trainers
                                                                                                                 FM/SNL
                                                                                                                 JH FRA
          Predicted Layer Depth (m)




                                                                                                                 NBS Multiroom
                                                                                                                 NIST FSE 2008
                                                                                                                 NIST Vent Study
                                                                                                                 NIST/NRC
                                                                                                                 NIST/NRC Corner Effects
                                        1
                                                                                                                 PRISME
                                                                                                                 Steckler Compartment
                                                                                                                 UL/NIJ Houses
                                                                                                                 UL/NIST Vents
                                                                                                                 VTT
                                                                                                                 WTC




                                      0.1
                                         0.1                                 1                    10
                                                              Measured Layer Depth (m)



                                            Figure 5.82: Summary, HGL temperature, unventilated compartments; HGL depth.




                                                                                           281
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Chapter 6

Fire Plumes

6.1      Plume Temperatures
For fire plumes, a measure of how well the flow field is resolved is given by the non-dimensional expression
D∗ /δ x, where D∗ is a characteristic fire diameter
                                                                                25
                                                        ∗               Q̇
                                                      D =                  √                                                        (6.1)
                                                                  ρ∞ c p T∞ g

and δ x is the nominal size of a mesh cell1 . The quantity D∗ /δ x can be thought of as the number of compu-
tational cells spanning the characteristic (not necessarily the physical) diameter of the fire. The more cells
spanning the fire, the better the resolution of the calculation. It is better to assess the quality of the mesh in
terms of this non-dimensional parameter, rather than an absolute mesh cell size. For example, a cell size of
10 cm may be “adequate,” in some sense, for evaluating the spread of smoke and heat through a building
from a sizable fire, but may not be appropriate to study a very small, smoldering source. The resolution of
all the numerical simulations included in this chapter is given in Table 3.49.




   1 The characteristic fire diameter is related to the characteristic fire size via the relation Q∗ = (D∗ /D)5/2 , where D is the physical

diameter of the fire.


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6.1.1                  FM Burner Experiments
A summary of these experiments can be found in Sec. 3.25.
    Mean and rms temperature measurements were made above a 13.7 cm (inner) diameter, 15 kW ethylene
burner. The radial profiles are located at heights of 1.0, 1.5, 2.0, 2.5, 3.0, and 3.5 burner diameters, D.
Figure 6.3 displays the probability distributions (PDFs) at the six heights and radii of 0 cm, 1 cm, 2 cm,
3 cm, and 4 cm.
                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                     1400                                                                                                   600
                                Radial Mean Temperature Profile, 1.0 D                                                                Radial RMS Temperature Profile, 1.0 D
                     1200                                                                                                   500
                     1000
                                                                                                                            400
   Temperature (K)




                                                                                                          Temperature (K)
                      800
                                                                                                                            300
                      600
                                                                                                                            200
                      400          Exp                                                                                                   Exp
                                   FDS (2 cm)                                                                                            FDS (2 cm)
                      200          FDS (1 cm)
                                                                                                                            100          FDS (1 cm)
                                   FDS (5 mm)                                                                                            FDS (5 mm)
                        0                                                                                                     0
                            0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                    Radius (cm)                                                                                           Radius (cm)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                     1400                                                                                                   600
                                Radial Mean Temperature Profile, 1.5 D                                                                Radial RMS Temperature Profile, 1.5 D
                     1200                                                                                                   500
                     1000
                                                                                                                            400
   Temperature (K)




                                                                                                          Temperature (K)




                      800
                                                                                                                            300
                      600
                                                                                                                            200
                      400          Exp                                                                                                   Exp
                                   FDS (2 cm)                                                                                            FDS (2 cm)
                      200          FDS (1 cm)
                                                                                                                            100          FDS (1 cm)
                                   FDS (5 mm)                                                                                            FDS (5 mm)
                        0                                                                                                     0
                            0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                    Radius (cm)                                                                                           Radius (cm)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                     1400                                                                                                   600
                                Radial Mean Temperature Profile, 2.0 D                                                                Radial RMS Temperature Profile, 2.0 D
                     1200                                                                                                   500
                     1000
                                                                                                                            400
   Temperature (K)




                                                                                                          Temperature (K)




                      800
                                                                                                                            300
                      600
                                                                                                                            200
                      400          Exp                                                                                                   Exp
                                   FDS (2 cm)                                                                                            FDS (2 cm)
                      200          FDS (1 cm)
                                                                                                                            100          FDS (1 cm)
                                   FDS (5 mm)                                                                                            FDS (5 mm)
                        0                                                                                                     0
                            0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                    Radius (cm)                                                                                           Radius (cm)



  Figure 6.1: FM Burner experiments, plume mean and rms temperatures at heights of 1.0, 1.5, and 2.0 diameters.



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                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1400                                                                                                   600
                              Radial Mean Temperature Profile, 2.5 D                                                                Radial RMS Temperature Profile, 2.5 D
                   1200                                                                                                   500
                   1000
                                                                                                                          400
 Temperature (K)




                                                                                                        Temperature (K)
                    800
                                                                                                                          300
                    600
                                                                                                                          200
                    400          Exp                                                                                                   Exp
                                 FDS (2 cm)                                                                                            FDS (2 cm)
                    200          FDS (1 cm)
                                                                                                                          100          FDS (1 cm)
                                 FDS (5 mm)                                                                                            FDS (5 mm)
                      0                                                                                                     0
                          0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                  Radius (cm)                                                                                           Radius (cm)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1400                                                                                                   600
                              Radial Mean Temperature Profile, 3.0 D                                                                Radial RMS Temperature Profile, 3.0 D
                   1200                                                                                                   500
                   1000
                                                                                                                          400
 Temperature (K)




                                                                                                        Temperature (K)
                    800
                                                                                                                          300
                    600
                                                                                                                          200
                    400          Exp                                                                                                   Exp
                                 FDS (2 cm)                                                                                            FDS (2 cm)
                    200          FDS (1 cm)
                                                                                                                          100          FDS (1 cm)
                                 FDS (5 mm)                                                                                            FDS (5 mm)
                      0                                                                                                     0
                          0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                  Radius (cm)                                                                                           Radius (cm)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1400                                                                                                   600
                              Radial Mean Temperature Profile, 3.5 D                                                                Radial RMS Temperature Profile, 3.0 D
                   1200                                                                                                   500
                   1000
                                                                                                                          400
 Temperature (K)




                                                                                                        Temperature (K)




                    800
                                                                                                                          300
                    600
                                                                                                                          200
                    400          Exp                                                                                                   Exp
                                 FDS (2 cm)                                                                                            FDS (2 cm)
                    200          FDS (1 cm)
                                                                                                                          100          FDS (1 cm)
                                 FDS (5 mm)                                                                                            FDS (5 mm)
                      0                                                                                                     0
                          0        2          4         6           8           10           12                                 0        2          4         6           8           10           12
                                                  Radius (cm)                                                                                           Radius (cm)



Figure 6.2: FM Burner experiments, plume mean and rms temperatures at heights of 2.5, 3.0, and 2.5 diameters.




                                                                                                  285
                                                 10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=1.0 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=1.0 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=1.0 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=1.0 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=1.0 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
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                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
                                                      -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master
                                                 10                                                                                       10                                                                                       10                                                                                       10                                                                                       10
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=1.5 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=1.5 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=1.5 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=1.5 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=1.5 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
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                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
                                                      -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master
                                                 10                                                                                       10                                                                                       10                                                                                       10                                                                                       10
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=2.0 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=2.0 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=2.0 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=2.0 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=2.0 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
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                                                      -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master                                 -3                        FDS-6.8.0-1116-gd8b2bf4-master
                                                 10                                                                                       10                                                                                       10                                                                                       10                                                                                       10
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      286
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=2.5 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=2.5 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=2.5 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=2.5 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=2.5 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
                                                 10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=3.0 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=3.0 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=3.0 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=3.0 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=3.0 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
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                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
                                                 10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master                            10 -3                          FDS-6.8.0-1116-gd8b2bf4-master
                                             5                                                                                        5                                                                                        5                                                                                        5                                                                                        5
                                                                                             Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp                                                                                      Exp
                                                 Temperature; z=3.5 D; r=0 cm                FDS (2 cm)
                                                                                                                                          Temperature; z=3.5 D; r=1 cm                FDS (2 cm)
                                                                                                                                                                                                                                   Temperature; z=3.5 D; r=2 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                            Temperature; z=3.5 D; r=3 cm                FDS (2 cm)
                                                                                                                                                                                                                                                                                                                                                                                                                     Temperature; z=3.5 D; r=4 cm                FDS (2 cm)
                                             4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)                               4                                               FDS (1 cm)
                                                                                             FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)                                                                               FDS (5 mm)
                         Probability (1/K)




                                                                                                                  Probability (1/K)




                                                                                                                                                                                                           Probability (1/K)




                                                                                                                                                                                                                                                                                                    Probability (1/K)




                                                                                                                                                                                                                                                                                                                                                                                             Probability (1/K)
                                             3                                                                                        3                                                                                        3                                                                                        3                                                                                        3
                                             2                                                                                        2                                                                                        2                                                                                        2                                                                                        2
                                             1                                                                                        1                                                                                        1                                                                                        1                                                                                        1
                                             0                                                                                        0                                                                                        0                                                                                        0                                                                                        0
                                                   500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000                             500          1000          1500                         2000
                                                              Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)                                                                          Temperature (K)
                                                                                                                                                                                         Figure 6.3: FM Burner experiments, temperature PDFs.
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6.1.2                    FM/SNL Experiments
A summary of these experiments can be found in Sec. 3.28.
    The FM/SNL tests consisted of propylene gas burners, heptane pools, methanol pools, PMMA solids,
as well as qualified and unqualified cables, burned in a large room which, for the first 18 tests, was free of
obstructions. Plume Temperatures shown here were measured at approximately 6 m from the floor, or 0.98
times the total ceiling height. For Tests 1-5 and 7-9, the thermocouple station (Station 13) was centered
above the fire pan. Tests 6 and 10-15 used an alternate fire location, centered along the south wall. Station 9
was not centered above these fires, but fell within the plume. Tests 16 and 17 had fires located in the
south-west corner of the room, too remote from any stations to allow for plume measurements.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                        400                                                                                               400
                                  Plume Temperature, FM/SNL Test 1                                                                  Plume Temperature, FM/SNL Test 2

                        300                                                                                               300
     Temperature (°C)




                                                                                                       Temperature (°C)
                        200                                                                                               200


                        100                                                                                               100
                                                                             Exp (28)                                                                                          Exp (28)
                                                                             FDS (Ch28)                                                                                        FDS (Ch28)
                          0                                                                                                 0
                              0            5          10                15                  20                                  0            5          10                15                  20
                                                  Time (min)                                                                                        Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                        400                                                                                               400
                                  Plume Temperature, FM/SNL Test 3                                                                  Plume Temperature, FM/SNL Test 4

                        300                                                                                               300
     Temperature (°C)




                                                                                                       Temperature (°C)




                        200                                                                                               200


                        100                                                                                               100
                                                                             Exp (28)                                                                                          Exp (28)
                                                                             FDS (Ch28)                                                                                        FDS (Ch28)
                          0                                                                                                 0
                              0            5          10                15                  20                                  0            5          10                15                  20
                                                  Time (min)                                                                                        Time (min)



                                                Figure 6.4: FM/SNL experiments, plume temperature, Tests 1-4.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Plume Temperature, FM/SNL Test 5                                                                  Plume Temperature, FM/SNL Test 6

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)
                    200                                                                                               200


                    100                                                                                               100
                                                                         Exp (28)                                                                                          Exp (24)
                                                                         FDS (Ch28)                                                                                        FDS (Ch24)
                      0                                                                                                 0
                          0            5          10                15                  20                                  0            5          10                15                  20
                                              Time (min)                                                                                        Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Plume Temperature, FM/SNL Test 7                                                                  Plume Temperature, FM/SNL Test 8

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)
                    200                                                                                               200


                    100                                                                                               100
                                                                         Exp (28)                                                                                          Exp (28)
                                                                         FDS (Ch28)                                                                                        FDS (Ch28)
                      0                                                                                                 0
                          0            5          10                15                  20                                  0            5          10                15                  20
                                              Time (min)                                                                                        Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Plume Temperature, FM/SNL Test 9                                                                  Plume Temperature, FM/SNL Test 10

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)




                    200                                                                                               200


                    100                                                                                               100
                                                                         Exp (28)                                                                                          Exp (24)
                                                                         FDS (Ch28)                                                                                        FDS (Ch24)
                      0                                                                                                 0
                          0            5          10                15                  20                                  0            5          10                15                  20
                                              Time (min)                                                                                        Time (min)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               600
                              Plume Temperature, FM/SNL Test 11                                                                 Plume Temperature, FM/SNL Test 12
                                                                                                                      500
                    300
                                                                                                                      400
 Temperature (°C)




                                                                                                   Temperature (°C)




                    200                                                                                               300

                                                                                                                      200
                    100
                                                                         Exp (24)
                                                                                                                      100                                                  Exp (24)
                                                                         FDS (Ch24)                                                                                        FDS (Ch24)
                      0                                                                                                 0
                          0            5          10                15                  20                                  0            5          10                15                  20
                                              Time (min)                                                                                        Time (min)



                                           Figure 6.5: FM/SNL experiments, plume temperature, Tests 5-12.

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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                              400
                              Plume Temperature, FM/SNL Test 13                                                                Plume Temperature, FM/SNL Test 14
                    500
                                                                                                                     300
                    400
 Temperature (°C)




                                                                                                  Temperature (°C)
                    300                                                                                              200

                    200
                                                                                                                     100
                    100                                                 Exp (24)                                                                                         Exp (24)
                                                                        FDS (Ch24)                                                                                       FDS (Ch24)
                      0                                                                                                0
                          0           5          10                15                  20                                  0           5          10                15                  20
                                             Time (min)                                                                                       Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                              600
                              Plume Temperature, FM/SNL Test 15                                                                Plume Temperature, FM/SNL Test 16
                                                                                                                     500
                    300
                                                                                                                     400
 Temperature (°C)




                                                                                                  Temperature (°C)
                    200                                                                                              300

                                                                                                                     200
                    100
                                                                        Exp (24)
                                                                                                                     100                                                 Exp (24)
                                                                        FDS (Ch24)                                                                                       FDS (Ch24)
                      0                                                                                                0
                          0           5          10                15                  20                                  0           5          10                15                  20
                                             Time (min)                                                                                       Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                              400
                              Plume Temperature, FM/SNL Test 17                                                                Plume Temperature, FM/SNL Test 21
                    500
                                                                                                                     300
                    400
 Temperature (°C)




                                                                                                  Temperature (°C)




                    300                                                                                              200

                    200
                                                                                                                     100
                    100                                                 Exp (24)                                                                                         Exp (24)
                                                                        FDS (Ch24)                                                                                       FDS (Ch24)
                      0                                                                                                0
                          0           5          10                15                  20                                  0           5          10                15                  20
                                             Time (min)                                                                                       Time (min)

                                                          FDS-6.8.0-1116-gd8b2bf4-master
                    400
                              Plume Temperature, FM/SNL Test 22

                    300
 Temperature (°C)




                    200


                    100
                                                                        Exp (24)
                                                                        FDS (Ch24)
                      0
                          0           5          10                15                  20
                                             Time (min)



                                      Figure 6.6: FM/SNL experiments, plume temperature, Tests 13-17, 21-22.

                                                                                            289
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6.1.3          McCaffrey’s Plume Correlation
A summary of these experiments can be found in Sec. 3.46.
    The following plots show the results of simulations of McCaffrey’s five fires at three grid resolutions,
nominally D∗ /δ x = [3, 6, 12, 24] based on the D∗ of the 14.4 kW burner (respectively, crude, coarse, medium,
and fine resolution). Temperature measurements and reported simulation results are for thermocouple tem-
perature.
                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                     4
                                           McCaffrey Plume, 14 kW                                                 4                               McCaffrey Plume, 22 kW

                     3
                                                                                                                  3
                                                                 Exp (Temp 14 kW)                                                                            Exp (Temp 22 kW)
        Height (m)




                                                                                                     Height (m)
                                                                 FDS TC crude                                                                                FDS TC crude
                     2                                           FDS TC coarse                                                                               FDS TC coarse
                                                                 FDS TC medium                                    2                                          FDS TC medium
                                                                 FDS TC fine                                                                                 FDS TC fine

                     1                                                                                            1


                     0                                                                                            0
                         0   200     400        600                    800          1000                              0           200       400        600          800            1000
                                   Temperature (°C)                                                                                       Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                     5
                                           McCaffrey Plume, 33 kW                                                 5                               McCaffrey Plume, 45 kW
                     4
                                                                                                                  4
                                                                 Exp (Temp 33 kW)                                                                            Exp (Temp 45 kW)
                     3
        Height (m)




                                                                                                     Height (m)




                                                                 FDS TC crude                                     3                                          FDS TC crude
                                                                 FDS TC coarse                                                                               FDS TC coarse
                                                                 FDS TC medium                                                                               FDS TC medium
                     2                                           FDS TC fine                                                                                 FDS TC fine
                                                                                                                  2

                     1                                                                                            1

                     0                                                                                            0
                         0   200     400        600                    800          1000                              0           200       400        600          800            1000
                                   Temperature (°C)                                                                                       Temperature (°C)

                                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                             6
                                                                                                 McCaffrey Plume, 57 kW
                                                             5

                                                             4
                                                                                                                      Exp (Temp 57 kW)
                                                Height (m)




                                                                                                                      FDS TC crude
                                                             3                                                        FDS TC coarse
                                                                                                                      FDS TC medium
                                                                                                                      FDS TC fine
                                                             2

                                                             1

                                                             0
                                                                 0           200       400        600                       800          1000
                                                                                     Temperature (°C)



                                         Figure 6.7: McCaffrey experiments, plume temperature.




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     Below we plot the same results but arranged in a different way. The height dimension is scaled by the
fire Froude number and each plot represents nominally the same resolution level.
                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master

           3        McCaffrey Centerline Temperature, Crude                                        3        McCaffrey Centerline Temperature, Coarse
      10                                                                                      10

                            =0                                                                                      =0

                                           =-1                                                                                     =-1




                                                        =-5/3                                                                                    =-5/3
      10 2                                                                                    10 2
               10 -2                     10 -1                                 10 0                    10 -2                      10 -1                                 10 0


                                                   FDS-6.8.0-1116-gd8b2bf4-master                                                           FDS-6.8.0-1116-gd8b2bf4-master

           3        McCaffrey Centerline Temperature, Medium                                       3        McCaffrey Centerline Temperature, Fine
      10                                                                                      10

                            =0                                                                                      =0

                                           =-1                                                                                     =-1




                                                        =-5/3                                                                                    =-5/3
      10 2                                                                                    10 2
                    -2                        -1                                    0                       -2                         -1
               10                        10                                    10                      10                         10                                    10 0



                              Figure 6.8: McCaffrey experiments, plume temperature, Froude scaling.




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6.1.4   NIST/NRC Corner/Wall/Cabinet Effects Experiments
A summary of these experiments can be found in Sec. 3.56.
    This set of experiments involved a 60 cm by 60 cm natural gas burner with heat release rates of 200 kW,
300 kW, and 400 kW. The burner was initially positioned in a corner or against a wall and then gradually
moved away. A three-tiered array of thermocouples was positioned above the burner and moved along with
it. Each tier contained 29 bare-bead thermocouples at heights of 2.13 m, 2.74 m, and 3.35 m above the
floor. The plots below show the maximum temperature of the 29 thermocouples, time-averaged over 2 min,
at each level. Note that FDS does not allow its devices to move; thus the time over which the model and
measurement are compared is limited to that time period in the experiment when the center of the burner was
underneath the fixed TC array in the corner or against the wall. In short, the last 30 min of the experiments
are not considered.




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                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                           800
                                                           Exp (Top Grid Avg)                                                                            Exp (Top Grid Avg)
                              Corner Plume, 200 kW         Exp (Mid Grid Avg)
                                                                                                                            Wall Plume, 200 kW           Exp (Mid Grid Avg)
                   1000                                    Exp (Bot Grid Avg)                                                                            Exp (Bot Grid Avg)
                                                           FDS (Upper)                                            600                                    FDS (Upper)
                    800                                    FDS (Middle)                                                                                  FDS (Middle)
Temperature (°C)




                                                                                               Temperature (°C)
                                                           FDS (Lower)                                                                                   FDS (Lower)

                    600                                                                                           400

                    400
                                                                                                                  200
                    200

                      0                                                                                             0
                          0      20      40      60      80         100          120                                    0      20      40      60      80         100          120
                                              Time (min)                                                                                    Time (min)

                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                           800
                                                           Exp (Top Grid Avg)                                                                            Exp (Top Grid Avg)
                              Corner Plume, 300 kW         Exp (Mid Grid Avg)
                                                                                                                            Wall Plume, 300 kW           Exp (Mid Grid Avg)
                   1000                                    Exp (Bot Grid Avg)                                                                            Exp (Bot Grid Avg)
                                                           FDS (Upper)                                            600                                    FDS (Upper)
                    800                                    FDS (Middle)                                                                                  FDS (Middle)
Temperature (°C)




                                                                                               Temperature (°C)
                                                           FDS (Lower)                                                                                   FDS (Lower)

                    600                                                                                           400

                    400
                                                                                                                  200
                    200

                      0                                                                                             0
                          0      20      40      60      80         100          120                                    0      20      40      60      80         100          120
                                              Time (min)                                                                                    Time (min)

                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                           800
                                                           Exp (Top Grid Avg)                                                                            Exp (Top Grid Avg)
                              Corner Plume, 400 kW         Exp (Mid Grid Avg)
                                                                                                                            Wall Plume, 400 kW           Exp (Mid Grid Avg)
                   1000                                    Exp (Bot Grid Avg)                                                                            Exp (Bot Grid Avg)
                                                           FDS (Upper)                                            600                                    FDS (Upper)
                    800                                    FDS (Middle)                                                                                  FDS (Middle)
Temperature (°C)




                                                                                               Temperature (°C)




                                                           FDS (Lower)                                                                                   FDS (Lower)

                    600                                                                                           400

                    400
                                                                                                                  200
                    200

                      0                                                                                             0
                          0      20      40      60      80         100          120                                    0      20      40      60      80         100          120
                                              Time (min)                                                                                    Time (min)



                                       Figure 6.9: NIST/NRC Corner Effects experiments, plume temperature.




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6.1.5   NIST Pool Fires
Details of the NIST Pool Fires experiments and modeling are found in Sec. 3.61. On the following pages are
comparisons of predicted and measured temperatures at various locations in and around liquid and gaseous
pool fires.

 • Figures 6.10 and 6.11 display centerline profiles of mean and rms temperature for 30 cm diameter
   acetone, ethanol, and methanol liquid pool fires; and 37 cm methane and propane gaseous fires [362].

 • Figure 6.12 displays radial profiles of mean and rms temperature for a 30 cm methanol fire at heights of
   z = 3 cm (mean only), z = 30 cm (mean only), z = 41 cm, z = 51 cm, and z = 61 cm. The profiles at
   3 cm and 30 cm are from Ref. [344] and the others are from Ref. [363].

 • Figures 6.13 and 6.14 display centerline and radial profiles of mean and rms temperature for a 100 cm
   methanol fire. The radial profiles are located at heights of z = 20 cm, z = 60 cm, z = 100 cm, z = 140 cm,
   and z = 180 cm [364].




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                                FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
   120                                                                  120

   100                                                                  100

    80                                                                   80

    60                                                                   60

    40                                                                   40

    20                                                                   20

     0                                                                    0
         400     600     800    1000        1200           1400               0   100   200   300    400           500          600


                                FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
   120                                                                  120

   100                                                                  100

    80                                                                   80

    60                                                                   60

    40                                                                   40

    20                                                                   20

     0                                                                    0
         400     600     800    1000        1200           1400               0   100   200   300    400           500          600


                                FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
   120                                                                  120

   100                                                                  100

    80                                                                   80

    60                                                                   60

    40                                                                   40

    20                                                                   20

     0                                                                    0
         400     600     800    1000        1200           1400               0   100   200   300    400           500          600




Figure 6.10: NIST Pool Fires, centerline tempertaure profiles, 30 cm acetone, 30 cm ethanol, 37 cm methane.




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                              FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
  120                                                                 120

  100                                                                 100

   80                                                                  80

   60                                                                  60

   40                                                                  40

   20                                                                  20

    0                                                                   0
        400    600    800    1000         1200           1400               0   100   200   300    400           500          600


                              FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
  120                                                                 120

  100                                                                 100

   80                                                                  80

   60                                                                  60

   40                                                                  40

   20                                                                  20

    0                                                                   0
        400    600    800    1000         1200           1400               0   100   200   300    400           500          600


                              FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
  120                                                                 120

  100                                                                 100

   80                                                                  80

   60                                                                  60

   40                                                                  40

   20                                                                  20

    0                                                                   0
        400    600    800    1000         1200           1400               0   100   200   300    400           500          600




   Figure 6.11: NIST Pool Fires, centerline tempertaure profiles, 30 cm methanol and 37 cm propane.




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                                    FDS-6.8.0-1116-gd8b2bf4-master                                 FDS-6.8.0-1116-gd8b2bf4-master
 1600                                                                       1600

 1400                                                                       1400

 1200                                                                       1200

 1000                                                                       1000

  800                                                                        800

  600                                                                        600

  400                                                                        400

        -5         0       5       10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1116-gd8b2bf4-master                                 FDS-6.8.0-1116-gd8b2bf4-master
 1200                                                                        600

                                                                             500
 1000
                                                                             400
  800
                                                                             300

  600                                                                        200

                                                                             100
  400
                                                                               0
        -5         0       5       10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1116-gd8b2bf4-master                                 FDS-6.8.0-1116-gd8b2bf4-master
 1200                                                                        600

                                                                             500
 1000
                                                                             400
  800
                                                                             300

  600                                                                        200

                                                                             100
  400
                                                                               0
        -5         0       5       10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1116-gd8b2bf4-master                                 FDS-6.8.0-1116-gd8b2bf4-master
 1200                                                                        600

                                                                             500
 1000
                                                                             400
  800
                                                                             300

  600                                                                        200

                                                                             100
  400
                                                                               0
        -5         0       5       10            15              20                -5   0   5     10            15              20




             Figure 6.12: NIST Pool Fires, 30 cm methanol, radial profiles of mean and rms temperature.


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                                               FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
       250                                                                             250


       200                                                                             200


       150                                                                             150


       100                                                                             100


        50                                                                              50


         0                                                                               0
                   400       600        800    1000        1200           1400               0   100   200   300    400           500          600


                                               FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
      1600                                                                             600

      1400                                                                             500

      1200                                                                             400
      1000
                                                                                       300
       800
                                                                                       200
       600
                                                                                       100
       400
                                                                                         0
             -10         0         10     20     30            40           50           -10      0    10    20      30            40           50


                                               FDS-6.8.0-1116-gd8b2bf4-master                                      FDS-6.8.0-1116-gd8b2bf4-master
      1600                                                                             600

      1400                                                                             500

      1200                                                                             400
      1000
                                                                                       300
       800
                                                                                       200
       600
                                                                                       100
       400
                                                                                         0
             -10         0         10     20     30            40           50           -10      0    10    20      30            40           50




Figure 6.13: NIST Pool Fires, 100 cm methanol fire, centerline profiles of mean and rms temperature (top row), radial
profiles at z = 20 cm (middle row) and z = 60 cm (bottom row).




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                                    FDS-6.8.0-1116-gd8b2bf4-master                                  FDS-6.8.0-1116-gd8b2bf4-master
      1600                                                                  600

      1400                                                                  500

      1200                                                                  400
      1000
                                                                            300
       800
                                                                            200
       600
                                                                            100
       400
                                                                              0
             -10   0    10     20     30            40           50           -10   0   10     20     30            40           50


                                    FDS-6.8.0-1116-gd8b2bf4-master                                  FDS-6.8.0-1116-gd8b2bf4-master
      1600                                                                  600

      1400                                                                  500

      1200                                                                  400
      1000
                                                                            300
       800
                                                                            200
       600
                                                                            100
       400
                                                                              0
             -10   0    10     20     30            40           50           -10   0   10     20     30            40           50


                                    FDS-6.8.0-1116-gd8b2bf4-master                                  FDS-6.8.0-1116-gd8b2bf4-master
      1600                                                                  600

      1400                                                                  500

      1200                                                                  400
      1000
                                                                            300
       800
                                                                            200
       600
                                                                            100
       400
                                                                              0
             -10   0    10     20     30            40           50           -10   0   10     20     30            40           50




Figure 6.14: NIST Pool Fires, 100 cm methanol fire, radial profiles of mean and rms temperature at z = 100 cm (top
row), z = 140 cm (middle row), z = 180 cm (bottom row).




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6.1.6   NRCC Smoke Tower Experiments, Stairwell Plumes
A summary of these experiments can be found in Sec. 3.67.
    The NRCC Smoke Tower experiments include measurements of the temperature of smoke ascending a
10 story stairwell. This data is included here in the chapter on Fire Plumes because smoke movement in a
vertical shaft with stairs can be considered an obstructed plume. Shown in Fig. 6.15 are predictions of gas
temperature measurements made in the center of the stairwell approximately 1.8 m above the slab at floors
2-10. Note that the plot labels “Slot” refer to the data acquisition system in the experiments only and have
no meaning in the present context. It should be clear from the plot title how the various curves ought to be
interpreted.




                                                    300
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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  100
                              Temperature, Lower Stairwell, Test BK-R                                                              Temperature, Upper Stairwell, Test BK-R
                    400          Exp (Slot 4)                                                                             80
                                 Exp (Slot 52)                                                                                        Exp (Slot 92)
                                                                                                                                      Exp (Slot 84)
 Temperature (°C)




                                                                                                      Temperature (°C)
                                 Exp (Slot 44)
                    300          Exp (Slot 72)                                                                            60          Exp (Slot 112)
                                 Exp (Slot 64)                                                                                        Exp (Slot 104)
                                 FDS (Slot 4)                                                                                         FDS (Slot 92)
                    200          FDS (Slot 52)                                                                            40          FDS (Slot 84)
                                 FDS (Slot 44)                                                                                        FDS (Slot 112)
                                 FDS (Slot 72)                                                                                        FDS (Slot 104)
                    100          FDS (Slot 64)                                                                            20


                      0                                                                                                    0
                          0            10            20                30                  40                                  0            10             20                30                  40
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  100
                              Temperature, Lower Stairwell, Test CMP-R                                                             Temperature, Upper Stairwell, Test CMP-R
                    400                                                  Exp (Slot 4)                                     80
                                                                         Exp (Slot 52)                                                                                       Exp (Slot 92)
                                                                                                                                                                             Exp (Slot 84)
 Temperature (°C)




                                                                                                      Temperature (°C)
                                                                         Exp (Slot 44)
                    300                                                  Exp (Slot 72)                                    60                                                 Exp (Slot 112)
                                                                         Exp (Slot 64)                                                                                       Exp (Slot 104)
                                                                         FDS (Slot 4)                                                                                        FDS (Slot 92)
                    200                                                  FDS (Slot 52)                                    40                                                 FDS (Slot 84)
                                                                         FDS (Slot 44)                                                                                       FDS (Slot 112)
                                                                         FDS (Slot 72)                                                                                       FDS (Slot 104)
                    100                                                  FDS (Slot 64)                                    20


                      0                                                                                                    0
                          0            10            20                30                  40                                  0            10             20                30                  40
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  100
                              Temperature, Lower Stairwell, Test CLC-I-R                                                           Temperature, Upper Stairwell, Test CLC-I-R
                    400                                                  Exp (Slot 4)                                     80
                                                                         Exp (Slot 52)                                                                                       Exp (Slot 92)
                                                                                                                                                                             Exp (Slot 84)
 Temperature (°C)




                                                                                                      Temperature (°C)




                                                                         Exp (Slot 44)
                    300                                                  Exp (Slot 72)                                    60                                                 Exp (Slot 112)
                                                                         Exp (Slot 64)                                                                                       Exp (Slot 104)
                                                                         FDS (Slot 4)                                                                                        FDS (Slot 92)
                    200                                                  FDS (Slot 52)                                    40                                                 FDS (Slot 84)
                                                                         FDS (Slot 44)                                                                                       FDS (Slot 112)
                                                                         FDS (Slot 72)                                                                                       FDS (Slot 104)
                    100                                                  FDS (Slot 64)                                    20


                      0                                                                                                    0
                          0            10            20                30                  40                                  0            10             20                30                  40
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  100
                              Temperature, Lower Stairwell, Test CLC-II-R                                                          Temperature, Upper Stairwell, Test CLC-II-R
                    400                                                  Exp (Slot 4)                                     80
                                                                         Exp (Slot 52)                                                                                       Exp (Slot 92)
                                                                                                                                                                             Exp (Slot 84)
 Temperature (°C)




                                                                                                      Temperature (°C)




                                                                         Exp (Slot 44)
                    300                                                  Exp (Slot 72)                                    60                                                 Exp (Slot 112)
                                                                         Exp (Slot 64)                                                                                       Exp (Slot 104)
                                                                         FDS (Slot 4)                                                                                        FDS (Slot 92)
                    200                                                  FDS (Slot 52)                                    40                                                 FDS (Slot 84)
                                                                         FDS (Slot 44)                                                                                       FDS (Slot 112)
                                                                         FDS (Slot 72)                                                                                       FDS (Slot 104)
                    100                                                  FDS (Slot 64)                                    20


                      0                                                                                                    0
                          0            10            20                30                  40                                  0            10             20                30                  40
                                                 Time (min)                                                                                            Time (min)



                                                  Figure 6.15: NRCC Smoke Tower, stairwell temperatures.

                                                                                                301
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6.1.7                Sandia Methane Burner Experiments
A summary of these experiments can be found in Sec. 3.75.
     Figures 6.16 through 6.19 compare measured and predicted thermocouple temperatures along the verti-
cal centerline of 3 m methane gas burner fires.
                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                     10                                                                                        10
                                                                                 Exp                                                                                       Exp
                              Plume Temperature; Test 1                          FDS
                                                                                                                        Plume Temperature; Test 2                          FDS
                      8                                                                                         8


                      6                                                                                         6
        Height (m)




                                                                                                  Height (m)
                      4                                                                                         4


                      2                                                                                         2


                      0                                                                                         0
                          0      200      400     600       800        1000          1200                           0      200      400     600       800        1000          1200
                                           Temperature (°C)                                                                          Temperature (°C)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                            FDS-6.8.0-1116-gd8b2bf4-master
                     10                                                                                        10
                                                                                 Exp                                                                                       Exp
                              Plume Temperature; Test 3                          FDS
                                                                                                                        Plume Temperature; Test 4                          FDS
                      8                                                                                         8


                      6                                                                                         6
        Height (m)




                                                                                                  Height (m)




                      4                                                                                         4


                      2                                                                                         2


                      0                                                                                         0
                          0      200      400     600       800        1000          1200                           0      200      400     600       800        1000          1200
                                           Temperature (°C)                                                                          Temperature (°C)



                                   Figure 6.16: Sandia Methane Burner experiments, plume temperature, Tests 1-4.




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                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 5                           FDS
                                                                                                                  Plume Temperature; Test 6                           FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 7                           FDS
                                                                                                                  Plume Temperature; Test 8                           FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 9                           FDS
                                                                                                                  Plume Temperature; Test 10                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 11                          FDS
                                                                                                                  Plume Temperature; Test 12                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)



                           Figure 6.17: Sandia Methane Burner experiments, plume temperature, Tests 5-12.

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                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 13                          FDS
                                                                                                                  Plume Temperature; Test 14                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 15                          FDS
                                                                                                                  Plume Temperature; Test 16                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 17                          FDS
                                                                                                                  Plume Temperature; Test 18                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 19                          FDS
                                                                                                                  Plume Temperature; Test 20                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)



                          Figure 6.18: Sandia Methane Burner experiments, plume temperature, Tests 13-20.

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                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 21                          FDS
                                                                                                                  Plume Temperature; Test 22                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 23                          FDS
                                                                                                                  Plume Temperature; Test 24                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)
               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 25                          FDS
                                                                                                                  Plume Temperature; Test 26                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)

                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                             FDS-6.8.0-1116-gd8b2bf4-master
              10                                                                                         10
                                                                           Exp                                                                                        Exp
                       Plume Temperature; Test 27                          FDS
                                                                                                                  Plume Temperature; Test 28                          FDS
               8                                                                                          8


               6                                                                                          6
 Height (m)




                                                                                            Height (m)




               4                                                                                          4


               2                                                                                          2


               0                                                                                          0
                   0      200      400     600       800         1000          1200                           0      200      400     600       800         1000          1200
                                    Temperature (°C)                                                                           Temperature (°C)



                          Figure 6.19: Sandia Methane Burner experiments, plume temperature, Tests 21-28.

                                                                                      305
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6.1.8   SP Adiabatic Surface Temperature Experiments
A summary of these experiments can be found in Sec. 3.83.
     Three experiments were conducted at SP, Sweden, in 2011, in which a 6 m long, 20 cm diameter vertical
column was positioned in the middle of 1.1 m and 1.9 m diesel fuel and 1.1 m heptane pool fires [314]. Gas,
plate, and steel surface temperature measurements were made at heights of 1 m, 2 m, 3 m, 4 m, and 5 m
above the pool surface. Gas temperatures were measured with 0.25 mm and 0.50 mm bead thermocouples.
The results are very similar and only the 0.25 mm values are used. In the experiments, the fire was reported
to lean. The lean was significant for the 1.9 m diesel fuel fire. In that case, only data from 1 m and 2 m
above the pool are used. The average temperature between 10 min and 15 min is the basic of comparison.




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                                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                                           1000
                                        Plume Temperature, 1.1 m Diesel Fire, 1 m                                                                      Plume Temperature, 1.1 m Diesel Fire, 2 m
                   1000
                                                                                                                                             800

                              800
Temperature (°C)




                                                                                                               Temperature (°C)
                                                                                                                                             600
                              600
                                                                                                                                             400
                              400

                                                                                                                                             200
                              200                                 Exp (gas (0.25) 1m pos1)                                                                                       Exp (gas (0.25) 2m pos1)
                                                                  FDS (Gas-1)                                                                                                    FDS (Gas-2)
                                0                                                                                                              0
                                    0        5       10       15         20            25           30                                             0        5       10       15         20            25           30
                                                          Time (min)                                                                                                     Time (min)

                                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                              800                                                                                                            600
                                        Plume Temperature, 1.1 m Diesel Fire, 3 m                                                                      Plume Temperature, 1.1 m Diesel Fire, 4 m
                                                                                                                                             500
                              600
                                                                                                                                             400
           Temperature (°C)




                                                                                                                          Temperature (°C)
                              400                                                                                                            300

                                                                                                                                             200
                              200
                                                                  Exp (gas (0.25) 3m pos1)
                                                                                                                                             100                                 Exp (gas (0.25) 4m pos1)
                                                                  FDS (Gas-3)                                                                                                    FDS (Gas-4)
                                0                                                                                                              0
                                    0        5       10       15         20            25           30                                             0        5       10       15         20            25           30
                                                          Time (min)                                                                                                     Time (min)

                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                              400
                                        Plume Temperature, 1.1 m Diesel Fire, 5 m

                              300
           Temperature (°C)




                              200


                              100
                                                                  Exp (gas (0.25) 5m pos1)
                                                                  FDS (Gas-5)
                                0
                                    0        5       10       15         20            25           30
                                                          Time (min)



                                                  Figure 6.20: SP AST experiments, plume temperature, 1.1 m diesel fire.




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                                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                                            1200
                                         Plume Temperature, 1.9 m Diesel Fire, 1 m                                                                      Plume Temperature, 1.9 m Diesel Fire, 2 m
                   1000                                                                                                            1000

                              800                                                                                                             800
Temperature (°C)




                                                                                                                Temperature (°C)
                              600                                                                                                             600

                              400                                                                                                             400

                              200                                  Exp (gas (0.25) 1m pos1)
                                                                                                                                              200                                 Exp (gas (0.25) 2m pos1)
                                                                   FDS (Gas-1)                                                                                                    FDS (Gas-2)
                                0                                                                                                               0
                                    0         5       10       15         20            25           30                                             0        5       10       15         20            25           30
                                                           Time (min)                                                                                                     Time (min)

                                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                                            1000
                                         Plume Temperature, 1.1 m Heptane Fire, 1 m                                                                     Plume Temperature, 1.1 m Heptane Fire, 2 m
                   1000
                                                                                                                                              800

                              800
Temperature (°C)




                                                                                                                Temperature (°C)
                                                                                                                                              600
                              600
                                                                                                                                              400
                              400

                                                                                                                                              200
                              200                                  Exp (gas (0.25) 1m pos1)                                                                                       Exp (gas (0.25) 2m pos1)
                                                                   FDS (Gas-1)                                                                                                    FDS (Gas-2)
                                0                                                                                                               0
                                    0         5       10       15         20            25           30                                             0        5       10       15         20            25           30
                                                           Time (min)                                                                                                     Time (min)

                                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                              800                                                                                                             600
                                         Plume Temperature, 1.1 m Heptane Fire, 3 m                                                                     Plume Temperature, 1.1 m Heptane Fire, 4 m
                                                                                                                                              500
                              600
                                                                                                                                              400
           Temperature (°C)




                                                                                                                           Temperature (°C)




                              400                                                                                                             300

                                                                                                                                              200
                              200
                                                                   Exp (gas (0.25) 3m pos1)
                                                                                                                                              100                                 Exp (gas (0.25) 4m pos1)
                                                                   FDS (Gas-3)                                                                                                    FDS (Gas-4)
                                0                                                                                                               0
                                    0         5       10       15         20            25           30                                             0        5       10       15         20            25           30
                                                           Time (min)                                                                                                     Time (min)

                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                              400
                                         Plume Temperature, 1.1 m Heptane Fire, 5 m

                              300
           Temperature (°C)




                              200


                              100
                                                                   Exp (gas (0.25) 5m pos1)
                                                                   FDS (Gas-5)
                                0
                                    0         5       10       15         20            25           30
                                                           Time (min)



                                        Figure 6.21: SP AST experiments, plume temperature, 1.9 m diesel and 1.9 m heptane fires.

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6.1.9                      UMD Line Burner
A summary of these experiments can be found in Sec. 3.93.
     In this section, we present thermocouple temperature measurements and computational results for the
UMD Line Burner. Experimental details may be found in White et al. [332]. FDS simulations are performed
at three grid resolutions corresponding to W /δ x = 4, 8, 16, where W = 5 cm is the width of the fuel slot in
the line burner. Fig. 6.22 shows measured and computational results for mean thermocouple temperature
across the width of the burner at two heights, z, above the burner surface. Fig. 6.23 shows a slice of gas
temperature for the case with methane fuel and 18 vol. % O2 in the coflow stream (nitrogen dilution). The
purpose of the image is to provide a qualitative result for the flame.
                                                                    FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                         1200                                                                                                    1200
                                  18 %, z=12.5 cm                                                                                         18 %, z=25 cm
                         1000                                                                                                    1000
   TC Temperature (°C)




                                                                                                           TC Temperature (°C)
                          800                                                                                                     800
                                     Exp                                                                                                     Exp
                                     FDS 1.25 cm                                                                                             FDS 1.25 cm
                          600        FDS 0.625 cm
                                                                                                                                  600        FDS 0.625 cm
                                     FDS 0.3125 cm                                                                                           FDS 0.3125 cm
                          400                                                                                                     400

                          200                                                                                                     200

                            0                                                                                                       0
                                  -0.2       -0.1           0            0.1            0.2                                               -0.2       -0.1           0            0.1            0.2
                                                     Position (m)                                                                                            Position (m)



                                Figure 6.22: Measured and computed mean thermocouple temperature profiles at 18 vol % O2 .




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Figure 6.23: UMD Line Burner temperature contours, front (left) and side (right) views for the δ x = 0.625 cm case.
Fuel (natural gas in this case) enters through the red surface. The air with nitrogen dilution (to 18 vol. % O2 in this
case) enters through the blue surface. The white ceramic flame holder is seen surrounding the red burner surface. The
right side view corresponds to the profiles shown in Fig. 6.22 through the center of the burner at different heights z
from the red burner surface. Within the slice plane blue represents 20 ◦ C, red 1500 ◦ C.




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6.1.10                   USN High Bay Hangar Experiments
A summary of these experiments can be found in Sec. 3.98.
    A large number of plume temperature measurements are available from the US Navy experiments con-
ducted at Keflavik, Iceland, and Barber’s Point, Hawaii. The hangars were very large in size (22 m high in
Iceland and 15 m high in Hawaii) and the heat release rates varied from 100 kW to 33 MW. All experiments
made use of a fuel pan filled with either JP-5 or JP-8 jet fuel, positioned in the center of the hangar.
                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                        60                                                                                                 60
                                 Temperature, USN Hangars, Iceland, Test 1                                                          Temperature, USN Hangars, Iceland, Test 2
                        50                                                                                                 50

                        40                                                                                                 40
     Temperature (°C)




                                                                                                        Temperature (°C)
                        30                                                                                                 30

                        20                                                                                                 20

                        10                                                        Exp (C)
                                                                                                                           10                                                        Exp (C)
                                                                                  FDS (C)                                                                                            FDS (C)
                         0                                                                                                  0
                             0                 5                  10                         15                                 0                 5                  10                         15
                                                   Time (min)                                                                                         Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                        60                                                                                                 60
                                 Temperature, USN Hangars, Iceland, Test 3                                                          Temperature, USN Hangars, Iceland, Test 4
                        50                                                                                                 50

                        40                                                                                                 40
     Temperature (°C)




                                                                                                        Temperature (°C)




                        30                                                                                                 30

                        20                                                                                                 20

                        10                                                        Exp (C)
                                                                                                                           10                                                        Exp (C)
                                                                                  FDS (C)                                                                                            FDS (C)
                         0                                                                                                  0
                             0                 5                  10                         15                                 0                 5                  10                         15
                                                   Time (min)                                                                                         Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                        60                                                                                                 60
                                 Temperature, USN Hangars, Iceland, Test 5                                                          Temperature, USN Hangars, Iceland, Test 6
                        50                                                                                                 50

                        40                                                                                                 40
     Temperature (°C)




                                                                                                        Temperature (°C)




                        30                                                                                                 30

                        20                                                                                                 20

                        10                                                        Exp (C)
                                                                                                                           10                                                        Exp (C)
                                                                                  FDS (C)                                                                                            FDS (C)
                         0                                                                                                  0
                             0                 5                  10                         15                                 0                 5                  10                         15
                                                   Time (min)                                                                                         Time (min)



                                       Figure 6.24: USN Hangar experiments, Iceland, plume temperature, Tests 1-6.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    80                                                                                                 80
                             Temperature, USN Hangars, Iceland, Test 7                                                          Temperature, USN Hangars, Iceland, Test 9

                    60                                                                                                 60
 Temperature (°C)




                                                                                                    Temperature (°C)
                    40                                                                                                 40


                    20                                                                                                 20
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                     0                                                                                                  0
                         0                 5                  10                         15                                 0                 5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    80                                                                                                 80
                             Temperature, USN Hangars, Iceland, Test 10                                                         Temperature, USN Hangars, Iceland, Test 11

                    60                                                                                                 60
 Temperature (°C)




                                                                                                    Temperature (°C)
                    40                                                                                                 40


                    20                                                                                                 20
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                     0                                                                                                  0
                         0                 5                  10                         15                                 0                 5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    80                                                                                                 80
                             Temperature, USN Hangars, Iceland, Test 12                                                         Temperature, USN Hangars, Iceland, Test 13

                    60                                                                                                 60
 Temperature (°C)




                                                                                                    Temperature (°C)




                    40                                                                                                 40


                    20                                                                                                 20
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                     0                                                                                                  0
                         0                 5                  10                         15                                 0                 5                  10                         15
                                               Time (min)                                                                                         Time (min)



                                 Figure 6.25: USN Hangar experiments, Iceland, plume temperature, Tests 7, 9-13.




                                                                                              312
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Temperature, USN Hangars, Iceland, Test 14                                                         Temperature, USN Hangars, Iceland, Test 15
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100


                     50                                                                                                 50
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Temperature, USN Hangars, Iceland, Test 17                                                         Temperature, USN Hangars, Iceland, Test 18
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100


                     50                                                                                                 50
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Temperature, USN Hangars, Iceland, Test 19                                                         Temperature, USN Hangars, Iceland, Test 20
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150                                                                                                150


                    100                                                                                                100


                     50                                                                                                 50
                                                                              Exp (C)                                                                                            Exp (C)
                                                                              FDS (C)                                                                                            FDS (C)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)



                              Figure 6.26: USN Hangar experiments, Iceland, plume temperature, Tests 14-15, 17-20.




                                                                                              313
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Temperature, USN Hangars, Hawaii, Test 1                                                           Temperature, USN Hangars, Hawaii, Test 2

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                             Exp (C1)                                                                                           Exp (C1)
                                                                             FDS (C1)                                                                                           FDS (C1)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Temperature, USN Hangars, Hawaii, Test 3                                                           Temperature, USN Hangars, Hawaii, Test 4

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                             Exp (C1)                                                                                           Exp (C1)
                                                                             FDS (C1)                                                                                           FDS (C1)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Temperature, USN Hangars, Hawaii, Test 5                                                           Temperature, USN Hangars, Hawaii, Test 6

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50
                                                                             Exp (C1)                                                                                           Exp (C1)
                                                                             FDS (C1)                                                                                           FDS (C1)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Temperature, USN Hangars, Hawaii, Test 7                                                           Temperature, USN Hangars, Hawaii, Test 11

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50
                                                                             Exp (C1)                                                                                           Exp (C1)
                                                                             FDS (C1)                                                                                           FDS (C1)
                      0                                                                                                  0
                          0                5                  10                         15                                  0                5                  10                         15
                                               Time (min)                                                                                         Time (min)



                                  Figure 6.27: USN Hangar experiments, Hawaii, plume temperature, Tests 1-7, 11.

                                                                                              314
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6.1.11                       VTT Large Hall Experiments
A summary of these experiments can be found in Sec. 3.102.
    The VTT experiments consisted of liquid fuel pan fires positioned in the middle of a large fire test hall.
Plume temperatures were measured at two heights above the fire, 6 m (T G.1) and 12 m (T G.2). The flames
were observed to extend to about 4 m above the fire pan.
                                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                            FDS-6.8.0-1116-gd8b2bf4-master
                       400                                                                                                              400
                                 Plume Temperature, VTT Case 1                                                                                     Plume Temperature, VTT Case 2

                       300                                                                                                              300
    Temperature (°C)




                                                                                                                     Temperature (°C)
                       200                                                                                                              200


                       100                                                                Exp (T G.1)                                   100                                                         Exp (T G.1)
                                                                                          Exp (T G.2)                                                                                               Exp (T G.2)
                                                                                          FDS (TG.1)                                                                                                FDS (TG.1)
                                                                                          FDS (TG.2)                                                                                                FDS (TG.2)
                         0                                                                                                                 0
                             0         2         4          6                             8              10                                    0             2             4          6             8              10
                                                 Time (min)                                                                                                                Time (min)

                                                                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                                           400
                                                                                      Plume Temperature, VTT Case 3

                                                                           300
                                                        Temperature (°C)




                                                                           200


                                                                           100                                                                         Exp (T G.1)
                                                                                                                                                       Exp (T G.2)
                                                                                                                                                       FDS (TG.1)
                                                                                                                                                       FDS (TG.2)
                                                                              0
                                                                                  0             2             4          6                             8              10
                                                                                                              Time (min)



                                                      Figure 6.28: VTT experiments, plume temperature.




                                                                                                              315
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6.1.12   Waterloo Methanol Pool Fire Experiment
A summary of these experiments can be found in Sec. 3.104.
    Figure 6.29 displays the centerline profile of measured and predicted mean temperatures above a 30 cm
diameter methanol pool fire. These measurements were conducted by Hamins and Lock [344] at NIST,
along with radial profiles at 40 cm, 50 cm, and 60 cm. All of the other measurements on the following pages
were conducted by Weckman at the University of Waterloo [342].
    Figures 6.30 through 6.33 display radial profiles of measured and predicted mean (left hand plots) and
root mean square (right hand plots) temperatures. The root mean square of the temperature is given by
                                                       s
                                                1/2     ∑ni=1 (Ti − T )2
                                         T ′T ′      =                                                 (6.2)
                                                              n−1

where Ti is the instantaneous value of temperature and T is the average value over 50 s. The profile heights
range from 2 cm to 30 cm above the pool surface. Time resolved temperature data was measured using
50 µm diameter, bare-wire thermocouples (Pt vs Pt-10% Rh) with known bead diameters in the range of
75 µm to 100 µm.
    Figures 6.34 through 6.36 display radial profiles of measured and predicted estimates of temperature-
velocity covariances:

                                 ∑ni=1 (wi − w)(Ti − T )                    ∑ni=1 (ui − w)(Ti − T )
                      w′ T ′ =                              ;    u′ T ′ =                                          (6.3)
                                           n−1                                        n−1
where ui and wi are instantaneous values of the horizontal and vertical components of velocity and u and w
are 50 s time averages.
    The FDS results are shown at three grid resolutions, 0.5 cm, 1 cm, and 2 cm.
                                                                     FDS-6.8.0-1236-g3b16ca3-master


                                      60

                                      50

                                      40

                                      30

                                      20

                                      10

                                       0
                                           400    600      800    1000      1200         1400



     Figure 6.29: Waterloo Methanol, centerline profile of mean temperature, 2 cm to 60 cm above the burner.




                                                           316
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                                    FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                            500
      1400
                                                                            400
      1200

      1000                                                                  300

       800                                                                  200

       600
                                                                            100
       400
                                                                              0
             -5    0       5       10            15              20               -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                            500
      1400
                                                                            400
      1200

      1000                                                                  300

       800                                                                  200

       600
                                                                            100
       400
                                                                              0
             -5    0       5       10            15              20               -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                            500
      1400
                                                                            400
      1200

      1000                                                                  300

       800                                                                  200

       600
                                                                            100
       400
                                                                              0
             -5    0       5       10            15              20               -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                            500
      1400
                                                                            400
      1200

      1000                                                                  300

       800                                                                  200

       600
                                                                            100
       400
                                                                              0
             -5    0       5       10            15              20               -5   0   5     10            15              20




Figure 6.30: Waterloo Methanol, radial profiles of mean (left) and rms (right) temperature, 2 cm to 8 cm above the
burner.
                                                                      317
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                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20




Figure 6.31: Waterloo Methanol, radial profiles of mean (left) and rms (right) temperature, 10 cm to 16 cm above the
burner.
                                                                       318
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                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20




Figure 6.32: Waterloo Methanol, radial profiles of mean (left) and rms (right) temperature, 18 cm to 40 cm above the
burner. The measurement at 40 cm was performed by Hamins and Lock [344].
                                                                       319
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                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20


                                     FDS-6.8.0-1236-g3b16ca3-master                                FDS-6.8.0-1236-g3b16ca3-master
                                                                             500
      1400
                                                                             400
      1200

      1000                                                                   300

       800                                                                   200

       600
                                                                             100
       400
                                                                               0
             -5    0        5       10            15              20               -5   0   5     10            15              20




Figure 6.33: Waterloo Methanol, radial profiles of mean (left) and rms (right) temperature, 50 cm to 60 cm above the
burner. The measurements were performed by Hamins and Lock [344].




                                                                       320
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                                   FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
   300                                                                     200

   250                                                                     150

   200                                                                     100

   150                                                                       50

   100                                                                        0

    50                                                                      -50

      0                                                                    -100
          -5    0        5        10            15              20                -5   0   5     10            15              20


                                   FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
   300                                                                     200

   250                                                                     150

   200                                                                     100

   150                                                                       50

   100                                                                        0

    50                                                                      -50

      0                                                                    -100
          -5    0        5        10            15              20                -5   0   5     10            15              20


                                   FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
   300                                                                     200

   250                                                                     150

   200                                                                     100

   150                                                                       50

   100                                                                        0

    50                                                                      -50

      0                                                                    -100
          -5    0        5        10            15              20                -5   0   5     10            15              20


                                   FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
   300                                                                     200

   250                                                                     150

   200                                                                     100

   150                                                                       50

   100                                                                        0

    50                                                                      -50

      0                                                                    -100
          -5    0        5        10            15              20                -5   0   5     10            15              20




Figure 6.34: Waterloo Methanol, radial profiles of T ′ w′ (left) and T ′ u′ (right), 2 cm to 8 cm above the burner.

                                                                     321
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                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20




Figure 6.35: Waterloo Methanol, radial profiles of T ′ w′ (left) and T ′ u′ (right), 10 cm to 16 cm above the burner.

                                                                      322
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                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20


                                    FDS-6.8.0-1236-g3b16ca3-master                                 FDS-6.8.0-1236-g3b16ca3-master
    300                                                                     200

    250                                                                     150

    200                                                                     100

    150                                                                       50

    100                                                                        0

      50                                                                     -50

       0                                                                    -100
           -5    0        5        10            15              20                -5   0   5     10            15              20




Figure 6.36: Waterloo Methanol, radial profiles of T ′ w′ (left) and T ′ u′ (right), 18 cm to 30 cm above the burner.




                                                                      323
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6.1.13                                     Summary of Plume Temperature Predictions




                                                      Plume Temperature
                                           1000       Exp. Rel. Std. Dev.: 0.07
                                                      Model Rel. Std. Dev.: 0.23
                                                      Model Bias Factor: 1.05                                        FM Burner
                                                                                                                     FM/SNL
                                                                                                                     McCaffrey Plume
         Predicted Temperature Rise (°C)




                                                                                                                     NIST Pool Fires
                                            100                                                                      NIST/NRC Corner Effects
                                                                                                                     NRCC Smoke Tower
                                                                                                                     SP AST Column
                                                                                                                     Sandia Methane Burner
                                                                                                                     Smyth Slot Burner
                                                                                                                     UMD Line Burner
                                                                                                                     USN Hangars, Hawaii
                                             10                                                                      USN Hangars, Iceland
                                                                                                                     VTT
                                                                                                                     Waterloo Methanol




                                              1
                                                  1                    10              100             1000
                                                                Measured Temperature Rise (°C)




                                                                    Figure 6.37: Summary of plume temperature predictions.




                                                                                                 324
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6.2     Flame Height
In fire experiments, the flame height is typically defined as the height at which luminous flame can be seen
50 % of the time. For simulations, the “flame height” can be defined as the height at which most of the fire’s
energy has been released. “Most” is taken as some fraction, f , between 0.95 and 0.99. Mathematically, this
is found by considering the heat release rate per unit vertical length, z:
                                                      Z ∞Z ∞
                                          ′
                                         q̇ (z,t) =                q̇′′′ (x′ , y′ , z,t) dx′ dy′                      (6.4)
                                                      −∞ −∞

where q̇′′′ (x, y, z,t) is the instantaneous heat release rate per unit volume at a specific point in the domain.
The flame height of the simulated fire is given by zL (t)−z0 , where zL (t) is the height at which the cumulative
heat release rate reaches the fraction, f , of the total, Q̇(t).
                                                             Z zL (t)
                                                 f Q̇(t) =              q̇′ (z′ ,t) dz′                               (6.5)
                                                              z0

z0 is the height of the firebed or burner surface.

6.2.1   Heskestad’s Flame Height Correlation
Table 6.1 lists the parameters for FDS simulations of fires in a 1 m by 1 m square pan2 . Figure 6.38
shows a verification of the heat release rate for each case, and Fig. 6.39 compares the FDS predictions
with Heskestad’s empirical correlation. Note that the flame height for the FDS simulations is defined as
the distance above the pan, on average, at which 99 % of the fuel has been consumed. Note also that the
simulations were run at three different grid resolutions. A convenient length scale is given by

                                                       D∗ = (Q∗ )2/5 D                                                (6.6)

Given a grid cell size, δ x, the three resolutions can be characterized by the non-dimensional quantity, D∗ /δ x,
whose values in these cases are 5, 10 and 20.
     The flame height definition used in Fig. 6.39 (99 % fuel consumption) is admittedly arbitrary and is often
questioned when FDS predictions of flame height are compared with experimental values, which are usu-
ally based on luminosity (effectively measuring radiation emission from soot). Further, Heskestad’s flame
height correlation is one among many such correlations [25, 365, 366, 367, 368, 369, 370], and the reported
variation is significant, especially at low values of Q∗ where the details of the burner configuration (shape
of the burner, etc.) become important. To illustrate the uncertainty one can expect from FDS calculations
and to test the sensitivity of the reported FDS results to the flame height definition, Fig. 6.40 shows two
different FDS flame height predictions, one at 99 % fuel consumption (as in Fig. 6.39)—the red curve—and
one using 95 % fuel consumption—the blue curve. Three different grid resolutions were run for each flame
height definition. For 99 % fuel consumption, the red dashed line is the maximum flame height from the
three resolutions. For 95 % fuel consumption, the blue dashed line is the minimum flame height from the
three resolutions. We also overlay several different flame height correlations (colored solid lines).
     Figure 6.41 includes comparisons of the predicted HRR as a function of the height of the burner for
three different values of Q∗ . The experimental measurements were performed by Tamanini at Factory Mu-
tual [371]. Both the HRR and height above the burner have been non-dimensionalized by the total HRR and
the flame height, respectively. These results demonstrate that the predicted spatial distribution of the energy
release improves as the numerical grid is refined.

  2 The effective diameter, D, of a 1 m square pan is 1.13 m, obtained by equating the area of a square and circle.



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Table 6.1: Summary of parameters for the flame height predictions. The grid cell size, δ x10 , refers to the
case where D∗ /δ x=10.


                          Q∗                               Q̇ (kW)        D∗ (m)       δ x5 (m)         δ x10            δ x20
                          0.1                                151           0.45         0.090           0.045            0.022
                          0.2                                303           0.59         0.119           0.059            0.030
                          0.5                                756           0.86         0.171           0.086            0.043
                           1                                1513           1.13         0.226           0.113            0.057
                           2                                3025           1.49         0.298           0.149            0.075
                           5                                7564           2.15         0.430           0.215            0.108
                          10                                15127          2.84         0.568           0.284            0.142
                          20                                30255          3.75         0.749           0.375            0.187
                          50                                75636          5.40         1.081           0.540            0.270
                          100                              151273          7.13         1.426           0.713            0.356
                          200                              302545          9.41         1.882           0.941            0.470
                          500                              756363          13.6         2.715           1.357            0.679
                         1000                             1512725          17.9         3.582           1.791            0.895
                         2000                             3025450          23.6         4.726           2.363            1.182
                         5000                             7563625          34.1         6.819           3.409            1.705
                         10000                            15127250         45.0         8.997           4.499            2.249



                                                                                            FDS-6.8.0-1116-gd8b2bf4-master
                                                         10 8
                                                                Flame Height Heat Release Verification
                                Heat Release Rate (kW)




                                                         10 6




                                                         10 4
                                                                                                           D */ x =5
                                                                                                           D */ x =10
                                                                                                           D */ x =20
                                                                                                           correct
                                                         10 2
                                                                       10 0                10 2                         10 4
                                                                                      Q*



               Figure 6.38: Verification of the heat release rate for Heskestad Flame Height cases.




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                                                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                                                10 3


                                                10 2


                                                10 1


                                                10 0


                                                10 -1
                                                         10 -1        10 0          10 1          10 2           10 3          10 4




Figure 6.39: Comparison of FDS predictions of flame height from a 1 m square pan fire for Q∗ values ranging from
0.1 to 10000.


                                                                                    FDS-6.8.0-1116-gd8b2bf4-master


                                               Flame Height Variation
                             10 2
                                                                                                                                Steward
                                                                                                                                Becker & Liang
                                                                                                                                Cox & Chitty
                             10 1                                                                                               Heskestad
                     Lf /D




                                                                                                                                Hasemi & Tokunaga
                                                                                                                                Cetegen
                                                                                                                                Delichatsios
                                                                                                                                Max FDS 99%
                             10 0                                                                                               Min FDS 95%




                             10 -1
                                          -1             0            1             2             3              4
                                     10             10           10            10            10             10
                                                                          Q*



Figure 6.40: Flame height predictions from various correlations compared with FDS predictions using two different
flame height definitions. Uncertainty (maximum variation) at Q∗ > 1 is ±15 %. At Q∗ = 0.1, the uncertainty is ap-
proximately ±65 %. Correlation references: Steward [365], Becker and Liang [366], Cox and Chitty [367], Heskestad
[25], Hasemi and Tokunaga [368], Cetegen [369], Delichatsios [370].




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                                                             FDS-6.8.0-1116-gd8b2bf4-master


                               1

                             0.8

                             0.6

                             0.4

                             0.2

                               0
                                   0      0.2   0.4    0.6          0.8             1


                                                             FDS-6.8.0-1116-gd8b2bf4-master


                               1

                             0.8

                             0.6

                             0.4

                             0.2

                               0
                                   0      0.2   0.4    0.6          0.8             1


                                                             FDS-6.8.0-1116-gd8b2bf4-master


                               1

                             0.8

                             0.6

                             0.4

                             0.2

                               0
                                   0      0.2   0.4    0.6          0.8             1




    Figure 6.41: Predicted HRR as a function of height above the burner compared to measurements.




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6.2.2         UMD Line Burner
A summary of these experiments can be found in Sec. 3.93.
    FDS simulations are performed at three grid resolutions corresponding to W /δ x = 4, 8, 16, where W = 5
cm is the width of the fuel slot in the line burner. Fig. 6.42 shows measured and predicted flame heights of
the methane and propane fires as a function of oxygen concentration. For FDS, the flame height is taken as
the distance above the burner where 97 % of the fuel gas is consumed, on average.
                                            FDS-6.8.0-1116-gd8b2bf4-master                                                  FDS-6.8.0-1116-gd8b2bf4-master
               1                                                                               1
                                       Flame Height, Methane                                                           Flame Height, Propane
             0.8                                                                             0.8


             0.6                                                                             0.6
    Lf (m)




                                                                                    Lf (m)
             0.4                                                                             0.4

                                                    Exp                                                                             Exp
             0.2                                    FDS 1.25 cm                              0.2                                    FDS 1.25 cm
                                                    FDS 0.625 cm                                                                    FDS 0.625 cm
                                                    FDS 0.3125 cm                                                                   FDS 0.3125 cm
               0                                                                               0
               0.1   0.12   0.14    0.16     0.18          0.2         0.22                    0.1   0.12   0.14    0.16     0.18          0.2         0.22
                            O 2 Volume Fraction                                                             O 2 Volume Fraction



Figure 6.42: Measured and predicted mean flame heights for the methane and propane UMD Line Burner experiments.




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6.2.3   Flame Height Summary




                                              Flame Height
                                              Exp. Rel. Std. Dev.: 0.10
                                              Model Rel. Std. Dev.: 0.29
                                     100      Model Bias Factor: 1.12
        Predicted Flame Height (m)




                                                                                                             BGC/GRI LNG Fires
                                                                                                             Heskestad Flame Height
                                      10
                                                                                                             Loughborough Jet Fires
                                                                                                             Montoir LNG Fires
                                                                                                             Phoenix LNG Fires
                                                                                                             Sandia Methane Burner


                                       1




                                     0.1
                                        0.1                   1              10              100
                                                           Measured Flame Height (m)




                                                    Figure 6.43: Summary of measured and predicted mean flame heights.




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6.3    Flame Tilt
When assessing the hazards of a large, outdoor fire, not only is flame height a concern, but the flame tilt as
well. That is, a fire in the wind tends to tilt in the windward direction. The angle from the vertical is referred
to as “flame tilt.” Figure 6.44 presents the results of flame tilt predictions for some large, outdoor pool fire
experiments.



                                                Flame Tilt
                                                Exp. Rel. Std. Dev.: 0.10
                                                Model Rel. Std. Dev.: 0.68
                                                Model Bias Factor: 0.85
          Predicted Flame Tilt (deg)




                                                                                                              BGC/GRI LNG Fires
                                       10                                                                     Montoir LNG Fires
                                                                                                              Phoenix LNG Fires




                                        1
                                            1                                 10
                                                              Measured Flame Tilt (deg)




                                                     Figure 6.44: Summary of measured and predicted mean flame tilt angle.




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6.4    Harrison Spill Plumes/Entrainment Experiments
Details of these experiments can be found in Sec. 3.34.
     In each of these reduced-scale spill plume experiments, the entrained mass flow rate into the plume was
measured at a series of heights by varying the flow through an exhaust hood to maintain a constant smoke
layer depth. Figure 6.45 compares measured and predicted entrainment rates at five different elevations for
the fire scenarios labelled SE4 through SE21 in Ref. [224]. Two general configurations are considered – one
that is intended to mimic a balcony spill plume and one in which the plume adheres to a vertical wall above
the compartment opening.


                                            1
                                                    Entrainment
                                                    Exp. Rel. Std. Dev.: 0.06
                                                    Model Rel. Std. Dev.: 0.06
                                                    Model Bias Factor: 1.14
        Predicted Mass Flow Rate (kg/s)




                                                                                                            Harrison Spill Plumes, Adhered
                                           0.1
                                                                                                            Harrison Spill Plumes, Balcony




                                          0.01
                                             0.01                                0.1                 1
                                                              Measured Mass Flow Rate (kg/s)


Figure 6.45: A comparison of predicted and measured mass flow rates at various heights for the Harrison Spill Plume
experiments.




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6.5     Sandia Plume Experiments
Details of these experiments can be found in Sec. 3.76.
    The Fire Laboratory for Accreditation of Models by Experimentation (FLAME) facility [298, 299] at
Sandia National Laboratories in Albuquerque, New Mexico, is designed specifically for validating models
of buoyant fire plumes. The plume source is 1 m in diameter surrounded by a 0.5 m steel “ground plane”.
Particle Image Velocimetry (PIV) and Planar Laser-Induced Fluorescence (PLIF) techniques were used to
obtain instantaneous joint scalar and velocity fields.

6.5.1   Sandia 1 m Helium Plume
Calculations of the Sandia 1 m helium plume are run at three grid resolutions: 6 cm, 3 cm, and 1.5 cm.
To give the reader with a qualitative feel for the results, Fig. 6.46 provides a snapshot of density contours
from the simulation. The calculations are run in parallel on 16 processors; the outlined blocks indicate the
domain decomposition. Data for vertical velocity, radial velocity, and helium mass fraction are recorded at
three levels downstream from the base of the plume, z = [0.2, 0.4, 0.6] m, corresponding to the experimental
measurements of O’Hern et al. [298]. Results for the mean and root mean square (RMS) profiles are given
in Figs. 6.47 - 6.49. The means are taken between t = 10 and t = 20 seconds in the simulation.
     The domain is 3 m by 3 m by 4 m. The boundary conditions are open on all sides with a smooth
solid surface surrounding the 1 m diameter helium pool. The ambient and helium mixture temperature is
set to 12 ◦ C and the background pressure is set to 80900 Pa to correspond to the experimental conditions.
The helium/acetone/oxygen mixture molecular weight is set to 5.45 kg/kmol. The turbulent Schmidt and
Prandtl numbers are left at the FDS default value of 0.5. The helium mixture mass flux is specified as
0.0605 kg/s/m2 . This case was studied previously by DesJardin et al. [300].




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Figure 6.46: A snapshot of FDS results at 1.5 cm resolution for the Sandia 1 m helium plume showing density contours.
The rows of measurement devices are visible near the base. The calculations are run in parallel on 16 processors; the
outlined blocks indicate the domain decomposition.




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                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                             FDS-6.8.0-1116-gd8b2bf4-master
                                 5                                                                                                        2
                                     Sandia Helium Plume                      Exp                                                               Sandia Helium Plume                      Exp
                                     z = 0.6 m                                FDS 20 cm                                                1.75     z = 0.6 m                                FDS 20 cm




                                                                                                         RMS Vertical Velocity (m/s)
                                 4                                            FDS 10 cm                                                                                                  FDS 10 cm
                                                                                                                                        1.5
       Vertical Velocity (m/s)
                                                                              FDS 6 cm                                                                                                   FDS 6 cm
                                                                              FDS 3 cm                                                                                                   FDS 3 cm
                                 3                                            FDS 1.5 cm                                               1.25                                              FDS 1.5 cm

                                                                                                                                          1
                                 2                                                                                                     0.75
                                                                                                                                        0.5
                                 1
                                                                                                                                       0.25
                                 0                                                                                                        0
                                 -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                          -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                                 Radial Position (m)                                                                                        Radial Position (m)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                             FDS-6.8.0-1116-gd8b2bf4-master
                                 5                                                                                                        2
                                     Sandia Helium Plume                      Exp                                                               Sandia Helium Plume                      Exp
                                                                              FDS 20 cm                                                1.75                                              FDS 20 cm
                                     z = 0.4 m                                                                                                  z = 0.4 m




                                                                                                         RMS Vertical Velocity (m/s)
                                 4                                            FDS 10 cm                                                                                                  FDS 10 cm
                                                                                                                                        1.5
       Vertical Velocity (m/s)




                                                                              FDS 6 cm                                                                                                   FDS 6 cm
                                                                              FDS 3 cm                                                                                                   FDS 3 cm
                                 3                                            FDS 1.5 cm                                               1.25                                              FDS 1.5 cm

                                                                                                                                          1
                                 2                                                                                                     0.75
                                                                                                                                        0.5
                                 1
                                                                                                                                       0.25
                                 0                                                                                                        0
                                 -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                          -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                                 Radial Position (m)                                                                                        Radial Position (m)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                             FDS-6.8.0-1116-gd8b2bf4-master
                                 5                                                                                                        2
                                     Sandia Helium Plume                      Exp                                                               Sandia Helium Plume                      Exp
                                     z = 0.2 m                                FDS 20 cm                                                1.75     z = 0.2 m                                FDS 20 cm
                                                                                                         RMS Vertical Velocity (m/s)




                                 4                                            FDS 10 cm                                                                                                  FDS 10 cm
                                                                                                                                        1.5
       Vertical Velocity (m/s)




                                                                              FDS 6 cm                                                                                                   FDS 6 cm
                                                                              FDS 3 cm                                                                                                   FDS 3 cm
                                 3                                            FDS 1.5 cm                                               1.25                                              FDS 1.5 cm

                                                                                                                                          1
                                 2                                                                                                     0.75
                                                                                                                                        0.5
                                 1
                                                                                                                                       0.25
                                 0                                                                                                        0
                                 -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                          -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                                 Radial Position (m)                                                                                        Radial Position (m)


Figure 6.47: FDS predictions of mean and root mean square (RMS) vertical velocity profiles for the Sandia 1 m
helium plume experiment. Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. With z being the streamwise
coordinate, the bottom row is at z = 0.2 m, the middle row is at z = 0.4 m, and the top row is at z = 0.6 m.




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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                               1                                                                                                      1
                                   Sandia Helium Plume                      Exp                                                             Sandia Helium Plume                      Exp
                           0.75    z = 0.6 m                                FDS 20 cm
                                                                                                                                            z = 0.6 m                                FDS 20 cm




                                                                                                       RMS Radial Velocity (m/s)
                                                                            FDS 10 cm                                                                                                FDS 10 cm
                             0.5                                            FDS 6 cm                                               0.75                                              FDS 6 cm
   Radial Velocity (m/s)


                                                                            FDS 3 cm                                                                                                 FDS 3 cm
                           0.25                                             FDS 1.5 cm                                                                                               FDS 1.5 cm

                               0                                                                                                    0.5
                           -0.25
                            -0.5                                                                                                   0.25
                           -0.75
                              -1                                                                                                      0
                               -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                        -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                               Radial Position (m)                                                                                      Radial Position (m)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                               1                                                                                                      1
                                   Sandia Helium Plume                      Exp                                                             Sandia Helium Plume                      Exp
                           0.75                                             FDS 20 cm                                                                                                FDS 20 cm
                                   z = 0.4 m                                                                                                z = 0.4 m




                                                                                                       RMS Radial Velocity (m/s)
                                                                            FDS 10 cm                                                                                                FDS 10 cm
                             0.5                                            FDS 6 cm                                               0.75                                              FDS 6 cm
   Radial Velocity (m/s)




                                                                            FDS 3 cm                                                                                                 FDS 3 cm
                           0.25                                             FDS 1.5 cm                                                                                               FDS 1.5 cm

                               0                                                                                                    0.5
                           -0.25
                            -0.5                                                                                                   0.25
                           -0.75
                              -1                                                                                                      0
                               -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                        -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                               Radial Position (m)                                                                                      Radial Position (m)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                               1                                                                                                      1
                                   Sandia Helium Plume                      Exp                                                             Sandia Helium Plume                      Exp
                           0.75    z = 0.2 m                                FDS 20 cm
                                                                                                                                            z = 0.2 m                                FDS 20 cm
                                                                                                       RMS Radial Velocity (m/s)




                                                                            FDS 10 cm                                                                                                FDS 10 cm
                             0.5                                            FDS 6 cm                                               0.75                                              FDS 6 cm
   Radial Velocity (m/s)




                                                                            FDS 3 cm                                                                                                 FDS 3 cm
                           0.25                                             FDS 1.5 cm                                                                                               FDS 1.5 cm

                               0                                                                                                    0.5
                           -0.25
                            -0.5                                                                                                   0.25
                           -0.75
                              -1                                                                                                      0
                               -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                        -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                               Radial Position (m)                                                                                      Radial Position (m)


Figure 6.48: FDS predictions of mean and root mean square (RMS) radial velocity profiles for the Sandia 1 m helium
plume experiment. Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. With z being the streamwise
coordinate, the bottom row is at z = 0.2 m, the middle row is at z = 0.4 m, and the top row is at z = 0.6 m.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                              1                                                                                                  0.25
                                  Sandia Helium Plume                      Exp                                                            Sandia Helium Plume                      Exp
                                                                           FDS 20 cm                                                                                               FDS 20 cm
                                  z = 0.6 m                                                                                               z = 0.6 m




                                                                                                      RMS Helium Mass Fraction
                            0.8                                            FDS 10 cm                                              0.2                                              FDS 10 cm
     Helium Mass Fraction
                                                                           FDS 6 cm                                                                                                FDS 6 cm
                                                                           FDS 3 cm                                                                                                FDS 3 cm
                            0.6                                            FDS 1.5 cm                                            0.15                                              FDS 1.5 cm



                            0.4                                                                                                   0.1


                            0.2                                                                                                  0.05


                              0                                                                                                     0
                              -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                       -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                              Radial Position (m)                                                                                     Radial Position (m)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                              1                                                                                                  0.25
                                  Sandia Helium Plume                      Exp                                                            Sandia Helium Plume                      Exp
                                                                           FDS 20 cm                                                                                               FDS 20 cm
                                  z = 0.4 m                                                                                               z = 0.4 m




                                                                                                      RMS Helium Mass Fraction
                            0.8                                            FDS 10 cm                                              0.2                                              FDS 10 cm
     Helium Mass Fraction




                                                                           FDS 6 cm                                                                                                FDS 6 cm
                                                                           FDS 3 cm                                                                                                FDS 3 cm
                            0.6                                            FDS 1.5 cm                                            0.15                                              FDS 1.5 cm



                            0.4                                                                                                   0.1


                            0.2                                                                                                  0.05


                              0                                                                                                     0
                              -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                       -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                              Radial Position (m)                                                                                     Radial Position (m)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                              1                                                                                                  0.25
                                  Sandia Helium Plume                      Exp                                                            Sandia Helium Plume                      Exp
                                                                           FDS 20 cm                                                                                               FDS 20 cm
                                  z = 0.2 m                                                                                               z = 0.2 m
                                                                                                      RMS Helium Mass Fraction




                            0.8                                            FDS 10 cm                                              0.2                                              FDS 10 cm
     Helium Mass Fraction




                                                                           FDS 6 cm                                                                                                FDS 6 cm
                                                                           FDS 3 cm                                                                                                FDS 3 cm
                            0.6                                            FDS 1.5 cm                                            0.15                                              FDS 1.5 cm



                            0.4                                                                                                   0.1


                            0.2                                                                                                  0.05


                              0                                                                                                     0
                              -0.5 -0.4 -0.3 -0.2 -0.1   0   0.1    0.2   0.3 0.4         0.5                                       -0.5 -0.4 -0.3 -0.2 -0.1    0   0.1     0.2   0.3 0.4         0.5
                                              Radial Position (m)                                                                                     Radial Position (m)


Figure 6.49: FDS predictions of mean and root mean square (RMS) helium mass fraction profiles for the Sandia 1 m
helium plume experiment. Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. With z being the streamwise
coordinate, the bottom row shows data at z = 0.2 m, the middle row shows data at z = 0.4 m, and the top row shows
data at z = 0.6 m.




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6.5.2   Sandia 1 m Methane Pool Fire
The Sandia 1 m methane pool fire series provides data for three methane flow rates: Test 14 (low flow rate),
Test 24 (medium flow rate), and Test 17 (high flow rate) [301]. The experiments are simulated using three
grid resolutions: 6 cm, 3 cm, and 1.5 cm. Fig. 6.50 provides a snapshot of temperature contours from the
1.5 cm Test 17 simulation. The calculations are run in parallel on 16 processors—a similar computational
set up as the helium case (the experiments were run in the same facility at Sandia). Data for vertical velocity
and radial velocity are recorded at three levels downstream from the base of the plume, z = [0.3, 0.5, 0.9] m.
Results for the mean profiles (and turbulent kinetic energy for Test 24) are given in Figs. 6.51 - 6.54. The
means are taken between t = 10 and t = 20 seconds in the simulation.
     For Test 17, we recorded the vertical velocity as a time series in four locations in the plume—at two
positions along the centerline and at two positions on the edge. The time series from our 1.5 cm simulation at
x = 0 m and z = 0.5 m, corresponding to Fig. 6 in [302], is shown in Fig. 6.55 along with the power spectrum
from the average of the four time series locations. The FDS results compare well with the experimentally
obtained puffing frequency of 1.65 Hz [302].




Figure 6.50: A snapshot of FDS results at 1.5 cm resolution for the Sandia 1 m methane pool fire (Test 17 – high flow
rate) showing instantaneous contours of temperature. The rows of measurement devices (green) are visible near the
base.




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                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 14, z = 0.9 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 14, z = 0.9 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)
                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7                                                FDS 6 cm                                           0.6                                                 FDS 6 cm
                                     Test 14, z = 0.5 m                                                                                     Test 14, z = 0.5 m
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 14, z = 0.3 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 14, z = 0.3 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm
                                                                                                             Radial Velocity (m/s)




                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)


Figure 6.51: FDS predictions of mean velocity profiles for the Sandia 1 m methane pool fire experiment (Test 14 – low
flow rate). Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. The z coordinate represents height above
the methane pool; bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 24, z = 0.9 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 24, z = 0.9 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)
                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7                                                FDS 6 cm                                           0.6                                                 FDS 6 cm
                                     Test 24, z = 0.5 m                                                                                     Test 24, z = 0.5 m
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 24, z = 0.3 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 24, z = 0.3 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm
                                                                                                             Radial Velocity (m/s)




                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)


Figure 6.52: FDS predictions of mean velocity profiles for the Sandia 1 m methane pool fire experiment (Test 24 –
medium flow rate). Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. The z coordinate represents height
above the methane pool; bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                     5
                                                         Sandia Methane Pool Fire                     Exp
                                                                                                      FDS 6 cm
                                                         Test 24, z = 0.9 m
                                                     4                                                FDS 3 cm
                                                                                                      FDS 1.5 cm




                                   TKE (m 2 /s 2 )
                                                     3


                                                     2


                                                     1


                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1 0.2      0.3 0.4         0.5
                                                                      Radial Position (m)

                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                     5
                                                         Sandia Methane Pool Fire                     Exp
                                                                                                      FDS 6 cm
                                                         Test 24, z = 0.5 m
                                                     4                                                FDS 3 cm
                                                                                                      FDS 1.5 cm
                                   TKE (m 2 /s 2 )




                                                     3


                                                     2


                                                     1


                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1 0.2      0.3 0.4         0.5
                                                                      Radial Position (m)

                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                     5
                                                         Sandia Methane Pool Fire                     Exp
                                                                                                      FDS 6 cm
                                                         Test 24, z = 0.3 m
                                                     4                                                FDS 3 cm
                                                                                                      FDS 1.5 cm
                                   TKE (m 2 /s 2 )




                                                     3


                                                     2


                                                     1


                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1 0.2      0.3 0.4         0.5
                                                                      Radial Position (m)


Figure 6.53: FDS predictions of turbulent kinetic energy (TKE) profiles for the Sandia 1 m methane pool fire experi-
ment (Test 24 – medium flow rate). Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. The z coordinate
represents height above the methane pool; bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 17, z = 0.9 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 17, z = 0.9 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)
                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7                                                FDS 6 cm                                           0.6                                                 FDS 6 cm
                                     Test 17, z = 0.5 m                                                                                     Test 17, z = 0.5 m
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm




                                                                                                             Radial Velocity (m/s)
                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                   0.8
                                     Sandia Methane Pool Fire                     Exp                                                       Sandia Methane Pool Fire                     Exp
                                 7   Test 17, z = 0.3 m                           FDS 6 cm                                           0.6
                                                                                                                                            Test 17, z = 0.3 m                           FDS 6 cm
                                                                                  FDS 3 cm                                                                                               FDS 3 cm
                                 6                                                                                                   0.4
       Vertical Velocity (m/s)




                                                                                  FDS 1.5 cm                                                                                             FDS 1.5 cm
                                                                                                             Radial Velocity (m/s)




                                 5                                                                                                   0.2
                                 4                                                                                                      0
                                 3                                                                                                   -0.2
                                 2                                                                                                   -0.4
                                 1                                                                                                   -0.6
                                 0                                                                                                   -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1       0   0.1   0.2    0.3 0.4         0.5
                                                  Radial Position (m)                                                                                    Radial Position (m)


Figure 6.54: FDS predictions of mean velocity profiles for the Sandia 1 m methane pool fire experiment (Test 17).
Results are shown for 3 cm and 1.5 cm grid resolutions. The z coordinate represents height above the methane pool;
bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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                                                                                                                                 FDS-6.8.0-1116-gd8b2bf4-master
                                                                                          7
                                                                                                Sandia Methane Pool Fire, Test 17
                                                                                          6     x = 0.0 m, z = 0.5 m




                                                                Vertical Velocity (m/s)
                                                                                          5

                                                                                          4

                                                                                          3

                                                                                          2

                                                                                          1

                                                                                          0
                                                                                           10    11   12     13     14 15 16          17      18      19      20
                                                                                                                      Time (s)

                                                                                                                                 FDS-6.8.0-1116-gd8b2bf4-master


                                                                                                Sandia 1 m Methane Pool Fire, Test 17
                                                                                          0
                                                                10                              FDS W-Velocity, 1.5 cm Resolution
                                  Autospectral Density (m²/s)




                                                                                                                          -5/3
                                                                10 -2

                                                                                                measured
                                                                10 -4                           puffing
                                                                                                frequency


                                                                10 -6
                                                                      -1                                     0             1                  2                    3
                                                                   10                                   10              10               10                  10
                                                                                                                  Frequency (Hz)




Figure 6.55: FDS velocity signal and power spectrum for the Sandia 1 m methane pool fire experiment (Test 17). The
vertical velocity signal (top plot) is output from FDS on the centerline at z = 0.5 m downstream of the fuel source. The
power spectrum of vertical velocity is measured at four locations and averaged. Two of the measurement locations are
along the centerline, at z = [0.5, 2.0] m, and two are along the edge of the plume, x = 0.5 m and z = [0.5, 2.0] m. The
measured puffing frequency of the plume is 1.65 Hz [302]. The temporal Nyquist limit of the simulation (the highest
resolvable frequency due to the discrete time increment) is 1/(2δt) ≈ 1000 Hz (δt ≈ 0.0005).




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6.5.3   Sandia 1 m Hydrogen Pool Fire
Sandia Test 35 [301] is simulated at three grid resolutions: 6 cm, 3 cm, and 1.5 cm. The computational
set up is nearly identical to the methane cases. Results for mean vertical and radial velocity are given in
Figs. 6.57. Results for turbulent kinetic energy are presented in Fig. 6.58. Means are taken from a time
average between t = 10 and t = 20 seconds in the simulation.
    By examining movies of the simulation results we can see a qualitative difference between the methane
and hydrogen cases. The dynamics of the hydrogen case tend to dominated by near total consumption
events which create blowback on the pool followed by streaks of accelerating buoyant flow which increase
the mean vertical velocity. An example of the consumption event is seen near the end of the case shown
in Fig. 6.56. It is possible that we have not run the simulation long enough for accurate statistics and that
streaking events early in the time window (between 10-20 seconds) are biasing the mean vertical velocity to
be too high, as is clear from the top-left plot in Fig. 6.57.




Figure 6.56: A snapshot of FDS results at 1.5 cm resolution for the Sandia 1 m hydrogen pool fire (Test 35) showing
instantaneous contours of temperature. The rows of measurement devices (green) are visible near the base.




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                                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                    0.8
                                     Sandia Hyrdogen Pool Fire                     Exp                                                       Sandia Hydrogen Pool Fire                     Exp
                                 7   Test 35, z = 0.9 m                            FDS 6 cm                                           0.6
                                                                                                                                             Test 35, z = 0.9 m                            FDS 6 cm
                                                                                   FDS 3 cm                                                                                                FDS 3 cm
                                 6                                                                                                    0.4
       Vertical Velocity (m/s)
                                                                                   FDS 1.5 cm                                                                                              FDS 1.5 cm




                                                                                                              Radial Velocity (m/s)
                                 5                                                                                                    0.2
                                 4                                                                                                       0
                                 3                                                                                                    -0.2
                                 2                                                                                                    -0.4
                                 1                                                                                                    -0.6
                                 0                                                                                                    -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5
                                                 Radial Position (m)                                                                                     Radial Position (m)

                                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                    0.8
                                     Sandia Hyrdogen Pool Fire                     Exp                                                       Sandia Hydrogen Pool Fire                     Exp
                                 7                                                 FDS 6 cm                                           0.6                                                  FDS 6 cm
                                     Test 35, z = 0.5 m                                                                                      Test 35, z = 0.5 m
                                                                                   FDS 3 cm                                                                                                FDS 3 cm
                                 6                                                                                                    0.4
       Vertical Velocity (m/s)




                                                                                   FDS 1.5 cm                                                                                              FDS 1.5 cm




                                                                                                              Radial Velocity (m/s)
                                 5                                                                                                    0.2
                                 4                                                                                                       0
                                 3                                                                                                    -0.2
                                 2                                                                                                    -0.4
                                 1                                                                                                    -0.6
                                 0                                                                                                    -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5
                                                 Radial Position (m)                                                                                     Radial Position (m)

                                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                 8                                                                                                    0.8
                                     Sandia Hydrogen Pool Fire                     Exp                                                       Sandia Hydrogen Pool Fire                     Exp
                                 7   Test 35, z = 0.3 m                            FDS 6 cm                                           0.6
                                                                                                                                             Test 35, z = 0.3 m                            FDS 6 cm
                                                                                   FDS 3 cm                                                                                                FDS 3 cm
                                 6                                                                                                    0.4
       Vertical Velocity (m/s)




                                                                                   FDS 1.5 cm                                                                                              FDS 1.5 cm
                                                                                                              Radial Velocity (m/s)




                                 5                                                                                                    0.2
                                 4                                                                                                       0
                                 3                                                                                                    -0.2
                                 2                                                                                                    -0.4
                                 1                                                                                                    -0.6
                                 0                                                                                                    -0.8
                                 -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5                                    -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1   0.2    0.3 0.4         0.5
                                                 Radial Position (m)                                                                                     Radial Position (m)


Figure 6.57: FDS predictions of mean velocity profiles for the Sandia 1 m hydrogen pool fire experiment (Test 35).
Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. The z coordinate represents height above the pool;
bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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                                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                                     8
                                                         Sandia Hydrogen Pool Fire                     Exp
                                                     7   Test 35, z = 0.9 m                            FDS 6 cm
                                                                                                       FDS 3 cm
                                                     6                                                 FDS 1.5 cm




                                   TKE (m 2 /s 2 )
                                                     5
                                                     4
                                                     3
                                                     2
                                                     1
                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1 0.2      0.3 0.4         0.5
                                                                     Radial Position (m)

                                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                                     8
                                                         Sandia Hydrogen Pool Fire                     Exp
                                                     7                                                 FDS 6 cm
                                                         Test 35, z = 0.5 m
                                                                                                       FDS 3 cm
                                                     6                                                 FDS 1.5 cm
                                   TKE (m 2 /s 2 )




                                                     5
                                                     4
                                                     3
                                                     2
                                                     1
                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1 0.2      0.3 0.4         0.5
                                                                     Radial Position (m)

                                                                                          FDS-6.8.0-1116-gd8b2bf4-master
                                                     8
                                                         Sandia Hydrogen Pool Fire                     Exp
                                                     7   Test 35, z = 0.3 m                            FDS 6 cm
                                                                                                       FDS 3 cm
                                                     6                                                 FDS 1.5 cm
                                   TKE (m 2 /s 2 )




                                                     5
                                                     4
                                                     3
                                                     2
                                                     1
                                                     0
                                                     -0.5 -0.4 -0.3 -0.2 -0.1        0   0.1 0.2      0.3 0.4         0.5
                                                                     Radial Position (m)


Figure 6.58: FDS predictions of turbulent kinetic energy (TKE) profiles for the Sandia 1 m hydrogen pool fire exper-
iment (Test 35). Results are shown for 6 cm, 3 cm, and 1.5 cm grid resolutions. The z coordinate represents height
above the methane pool; bottom row: z = 0.3 m, middle row: z = 0.5 m, and top row: z = 0.9 m.




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6.6                      Purdue 7.1 cm Methane Flame
Details of these experiments can be found in Sec. 3.72.
     Figures 6.59-6.62 show results for the Purdue 7.1 cm methane flame [30]. Three sets of results are
presented: two coarse (4 mm) cases and one fine (2 mm) case. The fine mesh case is run with MPI on 16
meshes. The coarse cases are run two ways: a single mesh case (dashed lines) and a 16 mesh case (dotted
lines). As should be the case, the single- and multi-mesh cases yield the same results. This gives confidence
in the domain decomposition strategy for open plume flows with FDS.
     The discrepancy at the centerline for mixture fraction and vertical velocity may be attributed to our not
accounting for (1) the slight divergence of the flow at the burner exit (7◦ [30]) and (2) the asymmetries and
fluctuations in the burner exit and ambient environment. Examination of the FDS output shows the solution
remains very symmetric, preventing large gulps of air from penetrating the centerline of the plume, which
would tend to smooth out the profiles near the center reducing the bimodal vertical velocity profile and
centerline mixture fraction.
                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                           1                                                                                                  1
                                   z/D = 1.41                 Exp                                                                     z/D = .70                 Exp
                                                              FDS x = 4 mm 1 mesh                                                                               FDS x = 4 mm 1 mesh
                         0.8                                  FDS x = 4 mm 16 mesh                                          0.8                                 FDS x = 4 mm 16 mesh
                                                              FDS x = 2 mm 16 mesh                                                                              FDS x = 2 mm 16 mesh
      Mixture Fraction




                                                                                                         Mixture Fraction
                         0.6                                                                                                0.6


                         0.4                                                                                                0.4


                         0.2                                                                                                0.2


                           0                                                                                                  0
                               0        0.01          0.02    0.03          0.04            0.05                                  0        0.01         0.02    0.03          0.04            0.05
                                                 Radial Position (m)                                                                               Radial Position (m)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                           1                                                                                                  1
                                                z/D = .14     Exp                                                                                 z/D = .07     Exp
                                                              FDS x = 4 mm 1 mesh                                                                               FDS x = 4 mm 1 mesh
                         0.8                                  FDS x = 4 mm 16 mesh                                          0.8                                 FDS x = 4 mm 16 mesh
                                                              FDS x = 2 mm 16 mesh                                                                              FDS x = 2 mm 16 mesh
      Mixture Fraction




                                                                                                         Mixture Fraction




                         0.6                                                                                                0.6


                         0.4                                                                                                0.4


                         0.2                                                                                                0.2


                           0                                                                                                  0
                               0        0.01          0.02    0.03          0.04            0.05                                  0        0.01         0.02    0.03          0.04            0.05
                                                 Radial Position (m)                                                                               Radial Position (m)


Figure 6.59: Measured [32] and computed radial profiles of the mean mixture fraction at select heights above the
burner exit simulated using grids with different spatial resolutions.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                      3000                                                                                               3000
                                 z/D = 1.41                Exp                                                                      z/D = .70                Exp
                                                           FDS x = 4 mm 1 mesh                                                                               FDS x = 4 mm 1 mesh
                      2500                                 FDS x = 4 mm 16 mesh
                                                                                                                         2500                                FDS x = 4 mm 16 mesh
                                                           FDS x = 2 mm 16 mesh                                                                              FDS x = 2 mm 16 mesh
   Temperature (°C)




                                                                                                      Temperature (°C)
                      2000                                                                                               2000

                      1500                                                                                               1500

                      1000                                                                                               1000

                       500                                                                                                500

                         0                                                                                                  0
                             0        0.01       0.02      0.03          0.04            0.05                                   0        0.01      0.02      0.03          0.04            0.05
                                              Radial Position (m)                                                                               Radial Position (m)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                      3000                                                                                               3000
                                 z/D = .14                 Exp                                                                      z/D = .07                Exp
                                                           FDS x = 4 mm 1 mesh                                                                               FDS x = 4 mm 1 mesh
                      2500                                 FDS x = 4 mm 16 mesh
                                                                                                                         2500                                FDS x = 4 mm 16 mesh
                                                           FDS x = 2 mm 16 mesh                                                                              FDS x = 2 mm 16 mesh
   Temperature (°C)




                                                                                                      Temperature (°C)
                      2000                                                                                               2000

                      1500                                                                                               1500

                      1000                                                                                               1000

                       500                                                                                                500

                         0                                                                                                  0
                             0        0.01       0.02      0.03          0.04            0.05                                   0        0.01      0.02      0.03          0.04            0.05
                                              Radial Position (m)                                                                               Radial Position (m)


Figure 6.60: Inferred [30] and computed radial profiles of the mean temperature at select heights above the burner exit
simulated using grids with different spatial resolutions.




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                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                              FDS-6.8.0-1116-gd8b2bf4-master
                                 3                                                                                                       0.5
                                        z/D = 0.70                Exp                                                                               z/D = 0.70                Exp
                                                                  FDS x = 4 mm 1 mesh                                                                                         FDS x = 4 mm 1 mesh
                               2.5                                FDS x = 4 mm 16 mesh                                                                                        FDS x = 4 mm 16 mesh




                                                                                                             Horizontal Velocity (m/s)
     Vertical Velocity (m/s)
                                                                  FDS x = 2 mm 16 mesh                                                                                        FDS x = 2 mm 16 mesh
                                 2

                               1.5                                                                                                          0

                                 1

                               0.5

                                 0                                                                                                       -0.5
                                -0.05        -0.03      -0.01     0.01          0.03            0.05                                        -0.05        -0.03      -0.01     0.01          0.03            0.05
                                                     Radial Position (m)                                                                                         Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                              FDS-6.8.0-1116-gd8b2bf4-master
                                 3                                                                                                       0.5
                                        z/D = 0.56                Exp                                                                               z/D = 0.56                Exp
                                                                  FDS x = 4 mm 1 mesh                                                                                         FDS x = 4 mm 1 mesh
                               2.5                                FDS x = 4 mm 16 mesh                                                                                        FDS x = 4 mm 16 mesh




                                                                                                             Horizontal Velocity (m/s)
     Vertical Velocity (m/s)




                                                                  FDS x = 2 mm 16 mesh                                                                                        FDS x = 2 mm 16 mesh
                                 2

                               1.5                                                                                                          0

                                 1

                               0.5

                                 0                                                                                                       -0.5
                                -0.05        -0.03      -0.01     0.01          0.03            0.05                                        -0.05        -0.03      -0.01     0.01          0.03            0.05
                                                     Radial Position (m)                                                                                         Radial Position (m)

                                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                              FDS-6.8.0-1116-gd8b2bf4-master
                                 3                                                                                                       0.5
                                        z/D = 0.42                Exp                                                                               z/D = 0.42                Exp
                                                                  FDS x = 4 mm 1 mesh                                                                                         FDS x = 4 mm 1 mesh
                               2.5                                FDS x = 4 mm 16 mesh                                                                                        FDS x = 4 mm 16 mesh
                                                                                                             Horizontal Velocity (m/s)
     Vertical Velocity (m/s)




                                                                  FDS x = 2 mm 16 mesh                                                                                        FDS x = 2 mm 16 mesh
                                 2

                               1.5                                                                                                          0

                                 1

                               0.5

                                 0                                                                                                       -0.5
                                -0.05        -0.03      -0.01     0.01          0.03            0.05                                        -0.05        -0.03      -0.01     0.01          0.03            0.05
                                                     Radial Position (m)                                                                                         Radial Position (m)


Figure 6.61: Measured [32] and computed radial profiles of the mean vertical and horizontal velocities at select heights
above the burner exit simulated using grids with different spatial resolutions.




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                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                              FDS-6.8.0-1116-gd8b2bf4-master
                    1                                                                                           1
                            z/D = .5                 Exp                                                                z/D = .5                 Exp
                  0.9                                                                                         0.9
                                                     FDS x = 4 mm 1 mesh                                                                         FDS x = 4 mm 1 mesh
                  0.8                                FDS x = 4 mm 16 mesh                                     0.8                                FDS x = 4 mm 16 mesh
                                                     FDS x = 2 mm 16 mesh                                                                        FDS x = 2 mm 16 mesh
                  0.7                                                                                         0.7
    W rms (m/s)




                                                                                                U rms (m/s)
                  0.6                                                                                         0.6
                  0.5                                                                                         0.5
                  0.4                                                                                         0.4
                  0.3                                                                                         0.3
                  0.2                                                                                         0.2
                  0.1                                                                                         0.1
                    0                                                                                           0
                        0        0.01      0.02      0.03          0.04            0.05                             0        0.01      0.02      0.03          0.04            0.05
                                        Radial Position (m)                                                                         Radial Position (m)


Figure 6.62: Measured and computed profiles of rms vertical (left) and radial (right) velocity profiles at z/D = 0.5.




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6.7    FM Vertical Wall Flame Experiments
Details of these experiments can be found in Sec. 3.29.
    Figure 6.63 displays the measured and predicted thermocouple (i.e. uncorrected) temperatures as a
function of the normal distance, y, from the surface of a vertical, water-cooled burner. The measurements
were made 771 mm from the base of the burner for propylene mass flow rates of 8.75, 11.85, 12.68, 17.05,
22.37, and 22.49 g/m2 /s.
    Figure 6.64 displays the measured and predicted soot depth at heights of 365, 527, 771, 1022, and
1317 mm above the base of the burner for various fuel burning rates. The soot depth was measured by
inserting glass rods through the flame, normal to the burner surface, for 2 s. The soot depth is the length of
the blackened portion of the rod, taken to represent the average flame depth over the 2 s interval. For the
FDS simulations, the soot depth was taken to be the distance from the burner surface where the soot mass
fraction drops below 0.0025.




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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                      1500                                                                                             1500
                                 Temperature, FM Vertical Wall, Propylene                                                         Temperature, FM Vertical Wall, Propylene


                      1000                                                                                             1000
    Temperature (K)




                                                                                                     Temperature (K)
                       500                                                                                              500

                                                                       Exp (m=8.75)                                                                                   Exp (m=11.85)
                                                                       FDS (T-10)                                                                                     FDS (T-12)
                         0                                                                                                0
                             0       20       40       60      80           100          120                                  0       20       40       60      80           100          120
                                                    y (mm)                                                                                           y (mm)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                      1500                                                                                             1500
                                 Temperature, FM Vertical Wall, Propylene                                                         Temperature, FM Vertical Wall, Propylene


                      1000                                                                                             1000
    Temperature (K)




                                                                                                     Temperature (K)
                       500                                                                                              500

                                                                     Exp (m=12.68)                                                                                    Exp (m=17.05)
                                                                     FDS (T-14)                                                                                       FDS (T-18)
                         0                                                                                                0
                             0       20       40       60      80           100          120                                  0       20       40       60      80           100          120
                                                    y (mm)                                                                                           y (mm)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                      1500                                                                                             1500
                                 Temperature, FM Vertical Wall, Propylene                                                         Temperature, FM Vertical Wall, Propylene


                      1000                                                                                             1000
    Temperature (K)




                                                                                                     Temperature (K)




                       500                                                                                              500

                                                                     Exp (m=22.37)                                                                                    Exp (m=22.49)
                                                                     FDS (T-20)                                                                                       FDS (T-20)
                         0                                                                                                0
                             0       20       40       60      80           100          120                                  0       20       40       60      80           100          120
                                                    y (mm)                                                                                           y (mm)



Figure 6.63: Uncorrected horizontal temperature profiles normal to the burner surface for fuel flow rates of 8.75, 11.85,
12.68, 17.05, 22.37, and 22.49 g/m2 /s.




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                                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   120                                                                                                            120
                             Soot Depth, FM Vertical Wall, z=365 mm                                                                          Soot Depth, FM Vertical Wall, z=527 mm
                   100                                                                                                            100

                    80                                                                                                             80
 Soot Depth (mm)




                                                                                                                Soot Depth (mm)
                    60                                                                                                             60

                    40                                                                                                             40

                    20                                                            Exp (Z=365mm)
                                                                                                                                   20                                                Exp (Z=537mm)
                                                                                  FDS (365 mm)                                                                                       FDS (527 mm)
                     0                                                                                                               0
                         0           20           40                                60               80                                  0                20           40              60                  80
                                      Fuel Mass Flux (g/m²/s)                                                                                              Fuel Mass Flux (g/m²/s)

                                                                        FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   120                                                                                                            120
                             Soot Depth, FM Vertical Wall, z=771 mm                                                                          Soot Depth, FM Vertical Wall, z=1022 mm
                   100                                                                                                            100

                    80                                                                                                             80
 Soot Depth (mm)




                                                                                                                Soot Depth (mm)
                    60                                                                                                             60

                    40                                                                                                             40

                    20                                                            Exp (Z=771mm)
                                                                                                                                   20                                              Exp (Z=1022mm)
                                                                                  FDS (771 mm)                                                                                     FDS (1022 mm)
                     0                                                                                                               0
                         0           20           40                                60               80                                  0                20           40              60                  80
                                      Fuel Mass Flux (g/m²/s)                                                                                              Fuel Mass Flux (g/m²/s)

                                                                                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                                                                       120
                                                                                    Soot Depth, FM Vertical Wall, z=1317 mm
                                                                       100

                                                                        80
                                                     Soot Depth (mm)




                                                                        60

                                                                        40

                                                                        20                                                               Exp (Z=1317mm)
                                                                                                                                         FDS (1317 mm)
                                                                          0
                                                                              0                20           40                               60                 80
                                                                                                Fuel Mass Flux (g/m²/s)



                                      Figure 6.64: Soot depth at heights of 365, 527, 771, 1022, and 1317 mm.




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Chapter 7

Ceiling Jets and Device Activation

FDS is a CFD-based fire model and has no specific ceiling jet algorithm. Rather, temperatures throughout
the fire compartment are computed directly from the governing conservation equations. Nevertheless, tem-
perature measurements near the ceiling are useful in evaluating the model’s ability to predict the activation
times of sprinklers, smoke detectors, and other fire protection devices. The term “ceiling jet” is used loosely
here – it distinguishes a point temperature measurement near the ceiling from an average “hot gas layer”
(HGL) temperature.
     This chapter first presents comparisons of model predictions and temperature measurements near to the
ceiling. Next, predicted sprinkler activation times and the total number of activations are compared with
measurements. Finally, predicted smoke detector activation times are compared with measurements.


7.1    Ceiling Jet Temperatures
The ceiling jet temperature measurements presented in this section were made for a variety of reasons.
Most often, these measurements were simply the upper most thermocouple temperature in a vertical array.
Sometimes, these measurements were designed to detect the activation time of a sprinkler. In any case, these
measurements are used to evaluate the model’s ability to predict the gas temperature at a single point, as
opposed to the hot gas layer average.




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7.1.1   ATF Corridors Experiment
This series of experiments involved two fairly long corridors connected by a staircase. The fire, a natural gas
sand burner, was located on the first level at the end of the corridor away from the stairwell. The corridor
was closed at this end, and open at the same position on the second level. Two-way flow occurred on both
levels because make-up air flowed from the opening on the second level down the stairs to the first. The
only opening to the enclosure was the open end of the second-level corridor.
    Temperatures were measured with seven thermocouple trees. Tree A was located fairly close to the fire
on the first level. Tree B was located halfway down the first-level corridor. Tree C was close to the stairwell
entrance on the first level. Tree D was located in the doorway of the stairwell on the first level. Tree E was
located roughly along the vertical centerline of the stairwell. Tree F was located near the stairwell opening
on the second level. Tree G was located near the exit at the other end of the second-level corridor. The
graphs on the following pages show the top and bottom TC from each tree for the given fire sizes of 50 kW,
100 kW, 250 kW, 500 kW, and a mixed HRR “pulsed” fire.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Ceiling Jet, ATF Corridors, 50 kW, Tree A                                                          Ceiling Jet, ATF Corridors, 50 kW, Tree B

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                       Exp (TC_A10)                                                                                       Exp (TC_B10)
                                                                       FDS (A-10)                                                                                         FDS (B-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Ceiling Jet, ATF Corridors, 50 kW, Tree C                                                          Ceiling Jet, ATF Corridors, 50 kW, Tree D

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                       Exp (TC_C10)                                                                                      Exp (TC_D10)
                                                                       FDS (C-10)                                                                                        FDS (D-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    100                                                                                                100
                              Ceiling Jet, ATF Corridors, 50 kW, Tree E                                                          Ceiling Jet, ATF Corridors, 50 kW, Tree F
                     80                                                                                                 80
 Temperature (°C)




                                                                                                    Temperature (°C)




                     60                                                                                                 60


                     40                                                                                                 40


                     20                                                                                                 20
                                                                       Exp (TC_E08)                                                                                       Exp (TC_F10)
                                                                       FDS (E-08)                                                                                         FDS (F-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    100
                              Ceiling Jet, ATF Corridors, 50 kW, Tree G
                     80
 Temperature (°C)




                     60


                     40


                     20
                                                                      Exp (TC_G10)
                                                                      FDS (G-10)
                      0
                          0            5           10                15                  20
                                               Time (min)



                                                 Figure 7.1: ATF Corridors experiments, ceiling jet, 50 kW.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Ceiling Jet, ATF Corridors, 100 kW, Tree A                                                         Ceiling Jet, ATF Corridors, 100 kW, Tree B

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                       Exp (TC_A10)                                                                                       Exp (TC_B10)
                                                                       FDS (A-10)                                                                                         FDS (B-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Ceiling Jet, ATF Corridors, 100 kW, Tree C                                                         Ceiling Jet, ATF Corridors, 100 kW, Tree D

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50
                                                                       Exp (TC_C10)                                                                                      Exp (TC_D10)
                                                                       FDS (C-10)                                                                                        FDS (D-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    100                                                                                                100
                              Ceiling Jet, ATF Corridors, 100 kW, Tree E                                                         Ceiling Jet, ATF Corridors, 100 kW, Tree F
                     80                                                                                                 80
 Temperature (°C)




                                                                                                    Temperature (°C)




                     60                                                                                                 60


                     40                                                                                                 40


                     20                                                                                                 20
                                                                       Exp (TC_E08)                                                                                       Exp (TC_F10)
                                                                       FDS (E-08)                                                                                         FDS (F-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    100
                              Ceiling Jet, ATF Corridors, 100 kW, Tree G
                     80
 Temperature (°C)




                     60


                     40


                     20
                                                                      Exp (TC_G10)
                                                                      FDS (G-10)
                      0
                          0            5           10                15                  20
                                               Time (min)



                                                Figure 7.2: ATF Corridors experiments, ceiling jet, 100 kW.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                                400
                              Ceiling Jet, ATF Corridors, 250 kW, Tree A                                                         Ceiling Jet, ATF Corridors, 250 kW, Tree B

                    300                                                                                                300
 Temperature (°C)




                                                                                                    Temperature (°C)
                    200                                                                                                200


                    100                                                                                                100
                                                                       Exp (TC_A10)                                                                                       Exp (TC_B10)
                                                                       FDS (A-10)                                                                                         FDS (B-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                                400
                              Ceiling Jet, ATF Corridors, 250 kW, Tree C                                                         Ceiling Jet, ATF Corridors, 250 kW, Tree D

                    300                                                                                                300
 Temperature (°C)




                                                                                                    Temperature (°C)
                    200                                                                                                200


                    100                                                                                                100
                                                                       Exp (TC_C10)                                                                                      Exp (TC_D10)
                                                                       FDS (C-10)                                                                                        FDS (D-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              Ceiling Jet, ATF Corridors, 250 kW, Tree E                                                         Ceiling Jet, ATF Corridors, 250 kW, Tree F

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50
                                                                       Exp (TC_E08)                                                                                       Exp (TC_F10)
                                                                       FDS (E-08)                                                                                         FDS (F-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    200
                              Ceiling Jet, ATF Corridors, 250 kW, Tree G

                    150
 Temperature (°C)




                    100


                     50
                                                                      Exp (TC_G10)
                                                                      FDS (G-10)
                      0
                          0            5           10                15                  20
                                               Time (min)



                                                Figure 7.3: ATF Corridors experiments, ceiling jet, 250 kW.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                600
                              Ceiling Jet, ATF Corridors, 500 kW, Tree A                                                         Ceiling Jet, ATF Corridors, 500 kW, Tree B
                    500                                                                                                500

                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)
                    300                                                                                                300

                    200                                                                                                200

                    100                                                Exp (TC_A10)
                                                                                                                       100                                                Exp (TC_B10)
                                                                       FDS (A-10)                                                                                         FDS (B-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                600
                              Ceiling Jet, ATF Corridors, 500 kW, Tree C                                                         Ceiling Jet, ATF Corridors, 500 kW, Tree D
                    500                                                                                                500

                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)
                    300                                                                                                300

                    200                                                                                                200

                    100                                                Exp (TC_C10)
                                                                                                                       100                                               Exp (TC_D10)
                                                                       FDS (C-10)                                                                                        FDS (D-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                300
                              Ceiling Jet, ATF Corridors, 500 kW, Tree E                                                         Ceiling Jet, ATF Corridors, 500 kW, Tree F
                    250                                                                                                250

                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150                                                                                                150

                    100                                                                                                100

                     50                                                Exp (TC_E08)
                                                                                                                        50                                                Exp (TC_F10)
                                                                       FDS (E-08)                                                                                         FDS (F-10)
                      0                                                                                                  0
                          0            5           10                15                  20                                  0            5           10                15                  20
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    300
                              Ceiling Jet, ATF Corridors, 500 kW, Tree G
                    250

                    200
 Temperature (°C)




                    150

                    100

                     50                                               Exp (TC_G10)
                                                                      FDS (G-10)
                      0
                          0            5           10                15                  20
                                               Time (min)



                                                Figure 7.4: ATF Corridors experiments, ceiling jet, 500 kW.

                                                                                              360
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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 600
                              Ceiling Jet, ATF Corridors, Pulsed, Tree A                                                          Ceiling Jet, ATF Corridors, Pulsed, Tree B
                    500                                                                                                 500

                    400                                                                                                 400
 Temperature (°C)




                                                                                                     Temperature (°C)
                    300                                                                                                 300

                    200                                                                                                 200

                    100                                                 Exp (TC_A10)
                                                                                                                        100                                                 Exp (TC_B10)
                                                                        FDS (A-10)                                                                                          FDS (B-10)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 600
                              Ceiling Jet, ATF Corridors, Pulsed, Tree C                                                          Ceiling Jet, ATF Corridors, Pulsed, Tree D
                    500                                                                                                 500

                    400                                                                                                 400
 Temperature (°C)




                                                                                                     Temperature (°C)
                    300                                                                                                 300

                    200                                                                                                 200

                    100                                                 Exp (TC_C10)
                                                                                                                        100                                                Exp (TC_D10)
                                                                        FDS (C-10)                                                                                         FDS (D-10)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                 300
                              Ceiling Jet, ATF Corridors, Pulsed, Tree E                                                          Ceiling Jet, ATF Corridors, Pulsed, Tree F
                    250                                                                                                 250

                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    150                                                                                                 150

                    100                                                                                                 100

                     50                                                 Exp (TC_E08)
                                                                                                                         50                                                 Exp (TC_F10)
                                                                        FDS (E-08)                                                                                          FDS (F-10)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    300
                              Ceiling Jet, ATF Corridors, Pulsed, Tree G
                    250

                    200
 Temperature (°C)




                    150

                    100

                     50                                                Exp (TC_G10)
                                                                       FDS (G-10)
                      0
                          0             5           10                15                  20
                                                Time (min)



                                              Figure 7.5: ATF Corridors experiments, ceiling jet, mixed HRR.

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7.1.2                   Arup Tunnel Experiments
The plots below show the predicted and measured temperatures from a fire experiment conducted in a
tunnel. Near-ceiling temperatures were measured at distances of 2 m, 4 m, 6 m and 8 m from the fire along
the centerline of tunnel.
                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                       300                                                                                                    300
                                 Ceiling Jet at 2 m, Arup Tunnel                                                                        Ceiling Jet at 4 m, Arup Tunnel
                       250                                                                                                    250

                       200                                                                                                    200
    Temperature (°C)




                                                                                                           Temperature (°C)
                       150                                                                                                    150

                       100                                                                                                    100
                                                       Exp (Tl04)                                                                                             Exp (Tl03)
                                                       Exp (Tl06)                                                                                             Exp (Tl07)
                        50                             FDS (Tl04)
                                                                                                                               50                             FDS (Tl03)
                                                       FDS (Tl06)                                                                                             FDS (Tl07)
                         0                                                                                                      0
                             0             2            4                 6                      8                                  0             2            4                 6                      8
                                                   Time (min)                                                                                             Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                       300                                                                                                    300
                                 Ceiling Jet at 6 m, Arup Tunnel                                                                        Ceiling Jet at 8 m, Arup Tunnel
                       250                                                                                                    250

                       200                                                                                                    200
    Temperature (°C)




                                                                                                           Temperature (°C)




                       150                                                                                                    150

                       100                                                                                                    100
                                                       Exp (Tl02)                                                                                             Exp (Tl01)
                                                       Exp (Tl08)                                                                                             Exp (Tl09)
                        50                             FDS (Tl02)
                                                                                                                               50                             FDS (Tl01)
                                                       FDS (Tl08)                                                                                             FDS (Tl09)
                         0                                                                                                      0
                             0             2            4                 6                      8                                  0             2            4                 6                      8
                                                   Time (min)                                                                                             Time (min)



                                                          Figure 7.6: Arup Tunnel experiments, ceiling jet.




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7.1.3                   DelCo Trainers
The plots below and on the following pages display comparisons of ceiling jet temperatures for the DelCo
Trainer experiments. Tests 2-6 were conducted in a single level house mock-up with three rooms adjacent to
one another. Locations A1 and A2 were in the fire room, A3 was in an adjacent room, and A4 and A5 were
in a room next to the adjacent room. Tests 22-25 were conducted in a two level house mock-up. Locations
A1, A2, and A3 were 2 cm below the ceiling of the first level, and A7, A8, and A9 were 2 cm below the
ceiling of the second level. See Sec. 3.18 for their exact locations.
                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                       800                                                                                                  1000
                                 Ceiling Jet, DelCo Trainers, Test 2, A1, A3, A5                                                       Ceiling Jet, DelCo Trainers, Test 2, A2, A4
                                                                                                                             800
                       600
    Temperature (°C)




                                                                                                         Temperature (°C)
                                                                          Exp (TC_A1_1)
                                                                          Exp (TC_A3_1)                                      600                                                Exp (TC_A2_1)
                                                                          Exp (TC_A5_1)                                                                                         Exp (TC_A4_1)
                       400                                                FDS (TC_A1_1)                                                                                         FDS (TC_A2_1)
                                                                          FDS (TC_A3_1)                                      400                                                FDS (TC_A4_1)
                                                                          FDS (TC_A5_1)
                       200
                                                                                                                             200


                         0                                                                                                     0
                             0        5        10       15         20            25           30                                   0        5        10       15         20            25           30
                                                    Time (min)                                                                                            Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                       800                                                                                                  1000
                                 Ceiling Jet, DelCo Trainers, Test 3, A1, A3, A5                                                       Ceiling Jet, DelCo Trainers, Test 3, A2, A4
                                                                                                                             800
                       600
    Temperature (°C)




                                                                                                         Temperature (°C)




                                                                          Exp (TC_A1_1)
                                                                          Exp (TC_A3_1)                                      600                                                Exp (TC_A2_1)
                                                                          Exp (TC_A5_1)                                                                                         Exp (TC_A4_1)
                       400                                                FDS (TC_A1_1)                                                                                         FDS (TC_A2_1)
                                                                          FDS (TC_A3_1)                                      400                                                FDS (TC_A4_1)
                                                                          FDS (TC_A5_1)
                       200
                                                                                                                             200


                         0                                                                                                     0
                             0        5        10       15         20            25           30                                   0        5        10       15         20            25           30
                                                    Time (min)                                                                                            Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                       800                                                                                                  1000
                                 Ceiling Jet, DelCo Trainers, Test 4, A1, A3, A5                                                       Ceiling Jet, DelCo Trainers, Test 4, A2, A4
                                                                                                                             800
                       600
    Temperature (°C)




                                                                                                         Temperature (°C)




                                                                          Exp (TC_A1_1)
                                                                          Exp (TC_A3_1)                                      600                                                Exp (TC_A2_1)
                                                                          Exp (TC_A5_1)                                                                                         Exp (TC_A4_1)
                       400                                                FDS (TC_A1_1)                                                                                         FDS (TC_A2_1)
                                                                          FDS (TC_A3_1)                                      400                                                FDS (TC_A4_1)
                                                                          FDS (TC_A5_1)
                       200
                                                                                                                             200


                         0                                                                                                     0
                             0        5        10       15         20            25           30                                   0        5        10       15         20            25           30
                                                    Time (min)                                                                                            Time (min)



                                                    Figure 7.7: DelCo Trainers, ceiling jet temperature, Tests 2-4.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    800                                                                                                  1000
                              Ceiling Jet, DelCo Trainers, Test 5, A1, A3, A5                                                       Ceiling Jet, DelCo Trainers, Test 5, A2, A4
                                                                                                                          800
                    600
 Temperature (°C)




                                                                                                      Temperature (°C)
                                                                                                                          600
                    400
                                                                       Exp (TC_A1_1)                                      400
                                                                       Exp (TC_A3_1)
                    200                                                Exp (TC_A5_1)                                                                     Exp (TC_A2_1)
                                                                       FDS (TC_A1_1)                                      200                            Exp (TC_A4_1)
                                                                       FDS (TC_A3_1)                                                                     FDS (TC_A2_1)
                                                                       FDS (TC_A5_1)                                                                     FDS (TC_A4_1)
                      0                                                                                                     0
                          0       10        20       30         40            50           60                                   0       10        20       30         40            50           60
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    800                                                                                                  1000
                              Ceiling Jet, DelCo Trainers, Test 6, A1, A3, A5                                                       Ceiling Jet, DelCo Trainers, Test 6, A2, A4
                                                                                                                          800
                    600
 Temperature (°C)




                                                                                                      Temperature (°C)
                                                                                                                          600
                    400
                                                                       Exp (TC_A1_1)                                      400
                                                                       Exp (TC_A3_1)
                    200                                                Exp (TC_A5_1)                                                                     Exp (TC_A2_1)
                                                                       FDS (TC_A1_1)                                      200                            Exp (TC_A4_1)
                                                                       FDS (TC_A3_1)                                                                     FDS (TC_A2_1)
                                                                       FDS (TC_A5_1)                                                                     FDS (TC_A4_1)
                      0                                                                                                     0
                          0        5        10       15         20            25           30                                   0        5        10       15         20            25           30
                                                 Time (min)                                                                                            Time (min)



                                             Figure 7.8: DelCo Trainers, ceiling jet temperature, Tests 5 and 6.




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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 300
                              Ceiling Jet, DelCo Trainers, Test 22, A1, A2, A3                                                    Ceiling Jet, DelCo Trainers, Test 22, A7, A8, A9
                    500                                                                                                 250

                    400                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    300                                                                                                 150
                                                  Exp (TC_A1_1)                                                                                       Exp (TC_A7_1)
                    200                           Exp (TC_A2_1)                                                         100                           Exp (TC_A8_1)
                                                  Exp (TC_A3_1)                                                                                       Exp (TC_A9_1)
                                                  FDS (TC_A1_1)                                                                                       FDS (TC_A7_1)
                    100                           FDS (TC_A2_1)
                                                                                                                         50                           FDS (TC_A8_1)
                                                  FDS (TC_A3_1)                                                                                       FDS (TC_A9_1)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 300
                              Ceiling Jet, DelCo Trainers, Test 23, A1, A2, A3                                                    Ceiling Jet, DelCo Trainers, Test 23, A7, A8, A9
                    500                                                                                                 250

                    400                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    300                                                                                                 150
                                                  Exp (TC_A1_1)                                                                                       Exp (TC_A7_1)
                    200                           Exp (TC_A2_1)                                                         100                           Exp (TC_A8_1)
                                                  Exp (TC_A3_1)                                                                                       Exp (TC_A9_1)
                                                  FDS (TC_A1_1)                                                                                       FDS (TC_A7_1)
                    100                           FDS (TC_A2_1)
                                                                                                                         50                           FDS (TC_A8_1)
                                                  FDS (TC_A3_1)                                                                                       FDS (TC_A9_1)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 300
                              Ceiling Jet, DelCo Trainers, Test 24, A1, A2, A3                                                    Ceiling Jet, DelCo Trainers, Test 24, A7, A8, A9
                    500                                                                                                 250

                    400                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    300                                                                                                 150
                                                  Exp (TC_A1_1)                                                                                       Exp (TC_A7_1)
                    200                           Exp (TC_A2_1)                                                         100                           Exp (TC_A8_1)
                                                  Exp (TC_A3_1)                                                                                       Exp (TC_A9_1)
                                                  FDS (TC_A1_1)                                                                                       FDS (TC_A7_1)
                    100                           FDS (TC_A2_1)
                                                                                                                         50                           FDS (TC_A8_1)
                                                  FDS (TC_A3_1)                                                                                       FDS (TC_A9_1)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    600                                                                                                 300
                              Ceiling Jet, DelCo Trainers, Test 25, A1, A2, A3                                                    Ceiling Jet, DelCo Trainers, Test 25, A7, A8, A9
                    500                                                                                                 250

                    400                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    300                                                                                                 150
                                                  Exp (TC_A1_1)                                                                                       Exp (TC_A7_1)
                    200                           Exp (TC_A2_1)                                                         100                           Exp (TC_A8_1)
                                                  Exp (TC_A3_1)                                                                                       Exp (TC_A9_1)
                                                  FDS (TC_A1_1)                                                                                       FDS (TC_A7_1)
                    100                           FDS (TC_A2_1)
                                                                                                                         50                           FDS (TC_A8_1)
                                                  FDS (TC_A3_1)                                                                                       FDS (TC_A9_1)
                      0                                                                                                   0
                          0             5           10                15                  20                                  0             5           10                15                  20
                                                Time (min)                                                                                          Time (min)



                                              Figure 7.9: DelCo Trainers, ceiling jet temperature, Tests 22-25.

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7.1.4   FAA Cargo Compartments
Figure 7.10 displays the locations of the near-ceiling thermocouples in the Boeing 707 compartment. The
TCs were positioned approximately 4 cm below the ceiling. The small numbered squares indicate the fire
locations for Tests 1, 2 and 3.

                                36              37      38        39           40




                                31              32      33        34           35

                                                        B                           Aft Beam

                                                                                    Vertical Beams (3)
                                26              27      28        29           30




                                21              22      23        24           25
                                                        1
                                                          A



                                                                                    Mid-Compartment Beam
                                16              17      18        19           20




                                11              12      13        14           15
                                                              3
                                                                                    Forward Beam



                                6               7       8         9            10




                                                              2
                                1               2       3         4            5


Figure 7.10: Layout of the near-ceiling thermocouples and other instruments, FAA Cargo Compartment Experiments.




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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 1                                                      Ceiling Jet, FAA Cargo Compartments Test 1
                    25                                                                                              25
                                Exp (TC1)                                                                                       Exp (TC5)
                    20          Exp (TC2)                                                                           20          Exp (TC6)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC3)                                                                                       Exp (TC7)
                                Exp (TC4)                                                                                       Exp (TC8)
                    15          FDS (TC1)
                                                                                                                    15          FDS (TC5)
                                FDS (TC2)                                                                                       FDS (TC6)
                    10          FDS (TC3)                                                                           10          FDS (TC7)
                                FDS (TC4)                                                                                       FDS (TC8)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 1                                                      Ceiling Jet, FAA Cargo Compartments Test 1
                    25                                                                                              25
                                Exp (TC9)                                                                                       Exp (TC13)
                    20          Exp (TC10)                                                                          20          Exp (TC14)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC11)                                                                                      Exp (TC15)
                                Exp (TC12)                                                                                      Exp (TC16)
                    15          FDS (TC9)
                                                                                                                    15          FDS (TC13)
                                FDS (TC10)                                                                                      FDS (TC14)
                    10          FDS (TC11)                                                                          10          FDS (TC15)
                                FDS (TC12)                                                                                      FDS (TC16)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 1                                                      Ceiling Jet, FAA Cargo Compartments Test 1
                    25                                                                                              25
                                Exp (TC17)                                                                                      Exp (TC21)
                    20          Exp (TC18)                                                                          20          Exp (TC22)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC19)                                                                                      Exp (TC23)
                                Exp (TC20)                                                                                      Exp (TC24)
                    15          FDS (TC17)
                                                                                                                    15          FDS (TC21)
                                FDS (TC18)                                                                                      FDS (TC22)
                    10          FDS (TC19)                                                                          10          FDS (TC23)
                                FDS (TC20)                                                                                      FDS (TC24)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 1                                                      Ceiling Jet, FAA Cargo Compartments Test 1
                    25                                                                                              25
                                Exp (TC25)                                                                                      Exp (TC29)
                    20          Exp (TC26)                                                                          20          Exp (TC30)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC27)                                                                                      Exp (TC31)
                                Exp (TC28)                                                                                      Exp (TC32)
                    15          FDS (TC25)
                                                                                                                    15          FDS (TC29)
                                FDS (TC26)                                                                                      FDS (TC30)
                    10          FDS (TC27)                                                                          10          FDS (TC31)
                                FDS (TC28)                                                                                      FDS (TC32)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)



                                        Figure 7.11: FAA Cargo Compartment experiments, ceiling jet, Test 1.

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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 1                                                      Ceiling Jet, FAA Cargo Compartments Test 1
                    25                                                                                              25
                                Exp (TC33)                                                                                      Exp (TC37)
                    20          Exp (TC34)                                                                          20          Exp (TC38)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC35)                                                                                      Exp (TC39)
                                Exp (TC36)                                                                                      Exp (TC40)
                    15          FDS (TC33)
                                                                                                                    15          FDS (TC37)
                                FDS (TC34)                                                                                      FDS (TC38)
                    10          FDS (TC35)                                                                          10          FDS (TC39)
                                FDS (TC36)                                                                                      FDS (TC40)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 2                                                      Ceiling Jet, FAA Cargo Compartments Test 2
                    25                                                                                              25
                                Exp (TC1)                                                                                       Exp (TC5)
                    20          Exp (TC2)                                                                           20          Exp (TC6)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC3)                                                                                       Exp (TC7)
                                Exp (TC4)                                                                                       Exp (TC8)
                    15          FDS (TC1)
                                                                                                                    15          FDS (TC5)
                                FDS (TC2)                                                                                       FDS (TC6)
                    10          FDS (TC3)                                                                           10          FDS (TC7)
                                FDS (TC4)                                                                                       FDS (TC8)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 2                                                      Ceiling Jet, FAA Cargo Compartments Test 2
                    25                                                                                              25
                                Exp (TC9)                                                                                       Exp (TC13)
                    20          Exp (TC10)                                                                          20          Exp (TC14)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC11)                                                                                      Exp (TC15)
                                Exp (TC12)                                                                                      Exp (TC16)
                    15          FDS (TC9)
                                                                                                                    15          FDS (TC13)
                                FDS (TC10)                                                                                      FDS (TC14)
                    10          FDS (TC11)                                                                          10          FDS (TC15)
                                FDS (TC12)                                                                                      FDS (TC16)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 2                                                      Ceiling Jet, FAA Cargo Compartments Test 2
                    25                                                                                              25
                                Exp (TC17)                                                                                      Exp (TC21)
                    20          Exp (TC18)                                                                          20          Exp (TC22)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC19)                                                                                      Exp (TC23)
                                Exp (TC20)                                                                                      Exp (TC24)
                    15          FDS (TC17)
                                                                                                                    15          FDS (TC21)
                                FDS (TC18)                                                                                      FDS (TC22)
                    10          FDS (TC19)                                                                          10          FDS (TC23)
                                FDS (TC20)                                                                                      FDS (TC24)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)



                                    Figure 7.12: FAA Cargo Compartment experiments, ceiling jet, Test 1 and 2.

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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 2                                                      Ceiling Jet, FAA Cargo Compartments Test 2
                    25                                                                                              25
                                Exp (TC25)                                                                                      Exp (TC29)
                    20          Exp (TC26)                                                                          20          Exp (TC30)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC27)                                                                                      Exp (TC31)
                                Exp (TC28)                                                                                      Exp (TC32)
                    15          FDS (TC25)
                                                                                                                    15          FDS (TC29)
                                FDS (TC26)                                                                                      FDS (TC30)
                    10          FDS (TC27)                                                                          10          FDS (TC31)
                                FDS (TC28)                                                                                      FDS (TC32)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 2                                                      Ceiling Jet, FAA Cargo Compartments Test 2
                    25                                                                                              25
                                Exp (TC33)                                                                                      Exp (TC37)
                    20          Exp (TC34)                                                                          20          Exp (TC38)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC35)                                                                                      Exp (TC39)
                                Exp (TC36)                                                                                      Exp (TC40)
                    15          FDS (TC33)
                                                                                                                    15          FDS (TC37)
                                FDS (TC34)                                                                                      FDS (TC38)
                    10          FDS (TC35)                                                                          10          FDS (TC39)
                                FDS (TC36)                                                                                      FDS (TC40)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 3                                                      Ceiling Jet, FAA Cargo Compartments Test 3
                    25                                                                                              25
                                Exp (TC1)                                                                                       Exp (TC5)
                    20          Exp (TC2)                                                                           20          Exp (TC6)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC3)                                                                                       Exp (TC7)
                                Exp (TC4)                                                                                       Exp (TC8)
                    15          FDS (TC1)
                                                                                                                    15          FDS (TC5)
                                FDS (TC2)                                                                                       FDS (TC6)
                    10          FDS (TC3)                                                                           10          FDS (TC7)
                                FDS (TC4)                                                                                       FDS (TC8)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 3                                                      Ceiling Jet, FAA Cargo Compartments Test 3
                    25                                                                                              25
                                Exp (TC9)                                                                                       Exp (TC13)
                    20          Exp (TC10)                                                                          20          Exp (TC14)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC11)                                                                                      Exp (TC15)
                                Exp (TC12)                                                                                      Exp (TC16)
                    15          FDS (TC9)
                                                                                                                    15          FDS (TC13)
                                FDS (TC10)                                                                                      FDS (TC14)
                    10          FDS (TC11)                                                                          10          FDS (TC15)
                                FDS (TC12)                                                                                      FDS (TC16)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)



                                    Figure 7.13: FAA Cargo Compartment experiments, ceiling jet, Test 2 and 3.

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                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 3                                                      Ceiling Jet, FAA Cargo Compartments Test 3
                    25                                                                                              25
                                Exp (TC17)                                                                                      Exp (TC21)
                    20          Exp (TC18)                                                                          20          Exp (TC22)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC19)                                                                                      Exp (TC23)
                                Exp (TC20)                                                                                      Exp (TC24)
                    15          FDS (TC17)
                                                                                                                    15          FDS (TC21)
                                FDS (TC18)                                                                                      FDS (TC22)
                    10          FDS (TC19)                                                                          10          FDS (TC23)
                                FDS (TC20)                                                                                      FDS (TC24)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 3                                                      Ceiling Jet, FAA Cargo Compartments Test 3
                    25                                                                                              25
                                Exp (TC25)                                                                                      Exp (TC29)
                    20          Exp (TC26)                                                                          20          Exp (TC30)
 Temperature (°C)




                                                                                                 Temperature (°C)
                                Exp (TC27)                                                                                      Exp (TC31)
                                Exp (TC28)                                                                                      Exp (TC32)
                    15          FDS (TC25)
                                                                                                                    15          FDS (TC29)
                                FDS (TC26)                                                                                      FDS (TC30)
                    10          FDS (TC27)                                                                          10          FDS (TC31)
                                FDS (TC28)                                                                                      FDS (TC32)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                    30                                                                                              30
                             Ceiling Jet, FAA Cargo Compartments Test 3                                                      Ceiling Jet, FAA Cargo Compartments Test 3
                    25                                                                                              25
                                Exp (TC33)                                                                                      Exp (TC37)
                    20          Exp (TC34)                                                                          20          Exp (TC38)
 Temperature (°C)




                                                                                                 Temperature (°C)




                                Exp (TC35)                                                                                      Exp (TC39)
                                Exp (TC36)                                                                                      Exp (TC40)
                    15          FDS (TC33)
                                                                                                                    15          FDS (TC37)
                                FDS (TC34)                                                                                      FDS (TC38)
                    10          FDS (TC35)                                                                          10          FDS (TC39)
                                FDS (TC36)                                                                                      FDS (TC40)

                     5                                                                                               5

                     0                                                                                               0
                         0             50           100                  150                                             0             50           100                  150
                                               Time (s)                                                                                        Time (s)



                                        Figure 7.14: FAA Cargo Compartment experiments, ceiling jet, Test 3.




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7.1.5                   FM/SNL Experiments
The near-ceiling thermocouples in Sectors 1 and 3 have been chosen to evaluate the ceiling jet temperature
prediction.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       250                                                                                                250
                                 Ceiling Jet, FM/SNL Test 1                                                                         Ceiling Jet, FM/SNL Test 2
                       200                                                                                                200
    Temperature (°C)




                                                                                                       Temperature (°C)
                       150                                                                                                150


                       100                                                                                                100

                                                                 Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                        50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                                 FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                                 FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                         0                                                                                                  0
                             0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                                  Time (min)                                                                                         Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       250                                                                                                250
                                 Ceiling Jet, FM/SNL Test 3                                                                         Ceiling Jet, FM/SNL Test 4
                       200                                                                                                200
    Temperature (°C)




                                                                                                       Temperature (°C)


                       150                                                                                                150


                       100                                                                                                100

                                                                 Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                        50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                                 FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                                 FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                         0                                                                                                  0
                             0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                                  Time (min)                                                                                         Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       250                                                                                                250
                                 Ceiling Jet, FM/SNL Test 5                                                                         Ceiling Jet, FM/SNL Test 6
                       200                                                                                                200
    Temperature (°C)




                                                                                                       Temperature (°C)




                       150                                                                                                150


                       100                                                                                                100

                                                                 Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                        50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                                 FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                                 FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                         0                                                                                                  0
                             0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                                  Time (min)                                                                                         Time (min)



                                                    Figure 7.15: FM/SNL experiments, ceiling jet, Tests 1-6.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 7                                                                         Ceiling Jet, FM/SNL Test 8
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 9                                                                         Ceiling Jet, FM/SNL Test 10
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 11                                                                        Ceiling Jet, FM/SNL Test 12
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 13                                                                        Ceiling Jet, FM/SNL Test 14
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)



                                                 Figure 7.16: FM/SNL experiments, ceiling jet, Tests 7-14.

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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 15                                                                        Ceiling Jet, FM/SNL Test 16
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Ceiling Jet, FM/SNL Test 17                                                                        Ceiling Jet, FM/SNL Test 21
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150                                                                                                150


                    100                                                                                                100

                                                              Exp (1/(0.98 H))                                                                                   Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))                                         50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)                                                                                  FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)                                                                                 FDS (Sector3 Ch11)
                      0                                                                                                  0
                          0       5     10      15     20         25          30         35                                  0       5     10      15     20         25          30         35
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    250
                              Ceiling Jet, FM/SNL Test 22
                    200
 Temperature (°C)




                    150


                    100

                                                              Exp (1/(0.98 H))
                     50                                       Exp (11/(0.98 H))
                                                              FDS (Sector1 Ch1)
                                                              FDS (Sector3 Ch11)
                      0
                          0       5     10      15     20         25          30         35
                                               Time (min)



                                             Figure 7.17: FM/SNL experiments, ceiling jet, Tests 15-17, 21-22.




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7.1.6   NIST Composite Beam
A brief description of the experiments is given in Sec. 3.50. The compartment interior dimensions are 12.4 m
long, running east-west, 1.9 m wide, and 3.77 m high. Four experiments with fires were performed, labeled
as Tests 2-5. Test 1 did not include a fire.
    To measure the ceiling jet temperature in the compartment, stainless steel sheathed thermocouples
(Omega TJ36-CAXL-14U-24 and TJ36-CAXL-38U-24) were mounted 2.5 cm and 23 cm below the ceiling,
extending through four holes drilled down through the concrete. Two TCs were located at each of the four
positions. TCC9 and TCC10 were located 2.6 m west and 0.6 m north of the compartment center. TCC11
and TCC12 were located at the same location east of the center. TCC13 and TCC14 were located at the
same relative location, south and east of the center. TCC15 and TCC16 were located west and south of the
center.
    Because of the symmetry of the experimental configuration, TCC9, TCC11, TCC13, and TCC15, all
2.5 cm below the ceiling are duplicates; as are TCC10, TCC12, TCC14, and TCC16, located 23 cm below
the ceiling.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master


                   1200       Ceiling Jet Temperature, Test 2           Exp (TCC10)                                    1200       Ceiling Jet Temperature, Test 3
                                                                        Exp (TCC12)
                                                                        Exp (TCC14)
                   1000                                                 Exp (TCC16)
                                                                                                                       1000
                                                                        FDS (TCC10)
Temperature (°C)




                                                                                                    Temperature (°C)
                    800                                                 FDS (TCC12)                                     800
                                                                        FDS (TCC14)
                    600                                                 FDS (TCC16)                                     600

                    400                                                                                                 400

                    200                                                                                                 200

                      0                                                                                                   0
                          0         20         40       60               80             100                                   0         20         40       60               80             100
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master


                   1200       Ceiling Jet Temperature, Test 4                                                          1200       Ceiling Jet Temperature, Test 5
                   1000                                                                                                1000
Temperature (°C)




                                                                                                    Temperature (°C)
                    800                                                                                                 800

                    600                                                                                                 600

                    400                                                                                                 400

                    200                                                                                                 200

                      0                                                                                                   0
                          0         20         40       60               80             100                                   0         20         40       60               80             100
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master


                   1200       Ceiling Jet Temperature, Test 2                                                          1200       Ceiling Jet Temperature, Test 3
                   1000                                                                                                1000
Temperature (°C)




                                                                                                    Temperature (°C)




                    800                                                                                                 800
                                                                                                                                                       Exp (TCC9)
                    600                                                                                                 600                            Exp (TCC11)
                                                                                                                                                       Exp (TCC13)
                    400                                                                                                 400                            Exp (TCC15)
                                                                                                                                                       FDS (TCC9)
                                                                                                                                                       FDS (TCC11)
                    200                                                                                                 200                            FDS (TCC13)
                                                                                                                                                       FDS (TCC15)
                      0                                                                                                   0
                          0         20         40       60               80             100                                   0         20         40       60               80             100
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master


                   1200       Ceiling Jet Temperature, Test 4                                                          1200       Ceiling Jet Temperature, Test 5
                   1000                                                                                                1000
Temperature (°C)




                                                                                                    Temperature (°C)




                    800                                                                                                 800

                    600                                                                                                 600

                    400                                                                                                 400

                    200                                                                                                 200

                      0                                                                                                   0
                          0         20         40       60               80             100                                   0         20         40       60               80             100
                                               Time (min)                                                                                          Time (min)



                                               Figure 7.18: NIST Composite Beam, ceiling jet temperatures.

                                                                                              375
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7.1.7   NIST Smoke Alarm Experiments
The primary purpose of the NIST Smoke Alarm Experiments was to measure smoke detector activation
times in residential settings. In the single-story manufactured home tests that were selected for validation,
five smoke detector measurement stations (Station A through Station E) were located in different areas of
the manufactured home. Thermocouple trees were also located at each measurement station. The highest
thermocouple in the tree can be compared to ceiling jet temperature predictions. The plots on the following
page show the measured and predicted ceiling jet temperatures for the five measurement stations in each
test.




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                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                              200
                              Ceiling Jet, NIST Smoke Alarms, Test SDC02                                                       Ceiling Jet, NIST Smoke Alarms, Test SDC05
                                 Exp (TCA_1)                                                                                      Exp (TCA_1)
                    150          Exp (TCB_1)
                                                                                                                     150          Exp (TCB_1)
 Temperature (°C)




                                                                                                  Temperature (°C)
                                 Exp (TCC_1)                                                                                      Exp (TCC_1)
                                 Exp (TCD_1)                                                                                      Exp (TCD_1)
                                 Exp (TCE_1)                                                                                      Exp (TCE_1)
                    100          FDS (TCA_1)
                                                                                                                     100          FDS (TCA_1)
                                 FDS (TCB_1)                                                                                      FDS (TCB_1)
                                 FDS (TCC_1)                                                                                      FDS (TCC_1)
                                 FDS (TCD_1)                                                                                      FDS (TCD_1)
                     50                                                                                               50
                                 FDS (TCE_1)                                                                                      FDS (TCE_1)



                      0                                                                                                0
                          0             50           100                  150                                              0             50           100                  150
                                                Time (s)                                                                                         Time (s)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                              200
                              Ceiling Jet, NIST Smoke Alarms, Test SDC07                                                       Ceiling Jet, NIST Smoke Alarms, Test SDC10
                                 Exp (TCA_1)                                                                                      Exp (TCA_1)
                    150          Exp (TCB_1)
                                                                                                                     150          Exp (TCB_1)
 Temperature (°C)




                                                                                                  Temperature (°C)
                                 Exp (TCC_1)                                                                                      Exp (TCC_1)
                                 Exp (TCD_1)                                                                                      Exp (TCD_1)
                                 Exp (TCE_1)                                                                                      Exp (TCE_1)
                    100          FDS (TCA_1)
                                                                                                                     100          FDS (TCA_1)
                                 FDS (TCB_1)                                                                                      FDS (TCB_1)
                                 FDS (TCC_1)                                                                                      FDS (TCC_1)
                                 FDS (TCD_1)                                                                                      FDS (TCD_1)
                     50                                                                                               50
                                 FDS (TCE_1)                                                                                      FDS (TCE_1)



                      0                                                                                                0
                          0             50           100                  150                                              0             50           100                  150
                                                Time (s)                                                                                         Time (s)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                              200
                              Ceiling Jet, NIST Smoke Alarms, Test SDC33                                                       Ceiling Jet, NIST Smoke Alarms, Test SDC35
                                 Exp (TCA_1)                                                                                      Exp (TCA_1)
                    150          Exp (TCB_1)
                                                                                                                     150          Exp (TCB_1)
 Temperature (°C)




                                                                                                  Temperature (°C)




                                 Exp (TCC_1)                                                                                      Exp (TCC_1)
                                 Exp (TCD_1)                                                                                      Exp (TCD_1)
                                 Exp (TCE_1)                                                                                      Exp (TCE_1)
                    100          FDS (TCA_1)
                                                                                                                     100          FDS (TCA_1)
                                 FDS (TCB_1)                                                                                      FDS (TCB_1)
                                 FDS (TCC_1)                                                                                      FDS (TCC_1)
                                 FDS (TCD_1)                                                                                      FDS (TCD_1)
                     50                                                                                               50
                                 FDS (TCE_1)                                                                                      FDS (TCE_1)



                      0                                                                                                0
                          0             50           100                  150                                              0             50           100                  150
                                                Time (s)                                                                                         Time (s)

                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                              200
                              Ceiling Jet, NIST Smoke Alarms, Test SDC38                                                       Ceiling Jet, NIST Smoke Alarms, Test SDC39
                                 Exp (TCA_1)                                                                                      Exp (TCA_1)
                    150          Exp (TCB_1)
                                                                                                                     150          Exp (TCB_1)
 Temperature (°C)




                                                                                                  Temperature (°C)




                                 Exp (TCC_1)                                                                                      Exp (TCC_1)
                                 Exp (TCD_1)                                                                                      Exp (TCD_1)
                                 Exp (TCE_1)                                                                                      Exp (TCE_1)
                    100          FDS (TCA_1)
                                                                                                                     100          FDS (TCA_1)
                                 FDS (TCB_1)                                                                                      FDS (TCB_1)
                                 FDS (TCC_1)                                                                                      FDS (TCC_1)
                                 FDS (TCD_1)                                                                                      FDS (TCD_1)
                     50                                                                                               50
                                 FDS (TCE_1)                                                                                      FDS (TCE_1)



                      0                                                                                                0
                          0             50           100                  150                                              0             50           100                  150
                                                Time (s)                                                                                         Time (s)



                                                Figure 7.19: NIST Smoke Alarm experiments, ceiling jet.

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7.1.8   NIST/NRC Experiments
In the NIST/NRC experiments, seven vertical arrays of thermocouples were positioned throughout the com-
partment. The thermocouple nearest the ceiling in Tree 7, located towards the back of the compartment
away from the door, has been chosen to evaluate the ceiling jet temperature prediction.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  500
                              Ceiling Jet, NIST/NRC Test 1            Exp (Tree 1-10)                                              Ceiling Jet, NIST/NRC Test 7
                                                                      Exp (Tree 2-10)
                    400                                               Exp (Tree 3-10)                                    400
                                                                      Exp (Tree 4-10)
 Temperature (°C)




                                                                                                      Temperature (°C)
                                                                      Exp (Tree 5-10)
                    300                                               Exp (Tree 6-10)                                    300
                                                                      Exp (Tree 7-10)
                                                                      FDS (Tr 1-10)
                    200                                               FDS (Tr 2-10)                                      200
                                                                      FDS (Tr 3-10)
                                                                      FDS (Tr 4-10)
                    100                                               FDS (Tr 5-10)                                      100
                                                                      FDS (Tr 6-10)
                                                                      FDS (Tr 7-10)
                      0                                                                                                    0
                          0        5        10       15         20            25           30                                  0        5       10       15         20            25           30
                                                 Time (min)                                                                                          Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  500
                              Ceiling Jet, NIST/NRC Test 2                                                                         Ceiling Jet, NIST/NRC Test 8
                    400                                                                                                  400
 Temperature (°C)




                                                                                                      Temperature (°C)
                    300                                                                                                  300


                    200                                                                                                  200


                    100                                                                                                  100


                      0                                                                                                    0
                          0        5        10       15         20            25           30                                  0        5       10       15         20            25           30
                                                 Time (min)                                                                                          Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  500
                              Ceiling Jet, NIST/NRC Test 4                                                                         Ceiling Jet, NIST/NRC Test 10
                    400                                                                                                  400
 Temperature (°C)




                                                                                                      Temperature (°C)




                    300                                                                                                  300


                    200                                                                                                  200


                    100                                                                                                  100


                      0                                                                                                    0
                          0        5        10       15         20            25           30                                  0        5       10       15         20            25           30
                                                 Time (min)                                                                                          Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  500
                              Ceiling Jet, NIST/NRC Test 13                                                                        Ceiling Jet, NIST/NRC Test 16
                    400                                                                                                  400
 Temperature (°C)




                                                                                                      Temperature (°C)




                    300                                                                                                  300


                    200                                                                                                  200


                    100                                                                                                  100


                      0                                                                                                    0
                          0        5        10       15         20            25           30                                  0        5       10       15         20            25           30
                                                 Time (min)                                                                                          Time (min)



                                       Figure 7.20: NIST/NRC experiments, ceiling jet, Tests 1, 2, 4, 7, 8, 10, 13, 16.

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                                                             FDS-6.8.0-1116-gd8b2bf4-master
                    500
                              Ceiling Jet, NIST/NRC Test 17
                    400                                              Exp (Tree 1-10)
                                                                     Exp (Tree 2-10)
 Temperature (°C)


                                                                     Exp (Tree 3-10)
                    300                                              Exp (Tree 5-10)
                                                                     Exp (Tree 6-10)
                                                                     Exp (Tree 7-10)
                    200                                              FDS (Tr 1-10)
                                                                     FDS (Tr 2-10)
                                                                     FDS (Tr 3-10)
                    100                                              FDS (Tr 5-10)
                                                                     FDS (Tr 6-10)
                                                                     FDS (Tr 7-10)
                      0
                          0        5       10       15         20            25           30
                                                Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                 500
                              Ceiling Jet, NIST/NRC Test 3                                                                        Ceiling Jet, NIST/NRC Test 9
                    400                                                                                                 400
 Temperature (°C)




                                                                                                     Temperature (°C)
                    300                                                                                                 300


                    200                                                                                                 200


                    100                                                                                                 100


                      0                                                                                                   0
                          0        5       10       15         20            25           30                                  0        5       10       15         20            25           30
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                 500
                              Ceiling Jet, NIST/NRC Test 5                                                                        Ceiling Jet, NIST/NRC Test 14
                    400                                                                                                 400
 Temperature (°C)




                                                                                                     Temperature (°C)




                    300                                                                                                 300


                    200                                                                                                 200


                    100                                                                                                 100


                      0                                                                                                   0
                          0        5       10       15         20            25           30                                  0        5       10       15         20            25           30
                                                Time (min)                                                                                          Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                 500
                              Ceiling Jet, NIST/NRC Test 15                                                                       Ceiling Jet, NIST/NRC Test 18
                    400                                                                                                 400
 Temperature (°C)




                                                                                                     Temperature (°C)




                    300                                                                                                 300


                    200                                                                                                 200


                    100                                                                                                 100


                      0                                                                                                   0
                          0        5       10       15         20            25           30                                  0        5       10       15         20            25           30
                                                Time (min)                                                                                          Time (min)



                                       Figure 7.21: NIST/NRC experiments, ceiling jet, Tests 3, 5, 9, 14, 15, 17, 18.

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7.1.9   NIST/NRC Corner Effects Experiments
The plots on the following pages compare ceiling jet temperatures at two locations in a large compartment
where corner, wall, and cabinet effects experiments were conducted. The corner and wall experiments
involved a 60 cm by 60 cm natural gas burner with heat release rates of 200 kW, 300 kW, and 400 kW. The
burner was either set in a corner or against a wall. The cabinet experiments involved gas burners set in one
of two mock steel cabinets, with a variety of heat release rates.
    In all experiments, two vertical thermocouple arrays were placed along the centerline of the room,
each one-third of the room length from each respective short wall. The arrays each had 13 bare-bead
thermocouples. The first was 2 cm below the ceiling, used to measure the ceiling jet temperature.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Ceiling Jet, Corner, 200 kW                                                                       Ceiling Jet, Wall, 200 kW

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)
                    200                                                                                               200


                    100                          Exp (TC-WT-01)                                                       100                          Exp (TC-WT-01)
                                                 Exp (TC-ET-01)                                                                                    Exp (TC-ET-01)
                                                 FDS (TC-WT-01)                                                                                    FDS (TC-WT-01)
                                                 FDS (TC-ET-01)                                                                                    FDS (TC-ET-01)
                      0                                                                                                 0
                          0       20      40      60      80            100          120                                    0       20      40      60      80           100          120
                                               Time (min)                                                                                        Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Ceiling Jet, Corner, 300 kW                                                                       Ceiling Jet, Wall, 300 kW

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)
                    200                                                                                               200


                    100                          Exp (TC-WT-01)                                                       100                          Exp (TC-WT-01)
                                                 Exp (TC-ET-01)                                                                                    Exp (TC-ET-01)
                                                 FDS (TC-WT-01)                                                                                    FDS (TC-WT-01)
                                                 FDS (TC-ET-01)                                                                                    FDS (TC-ET-01)
                      0                                                                                                 0
                          0       20      40      60      80            100          120                                    0       20      40      60      80           100          120
                                               Time (min)                                                                                        Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    400                                                                                               400
                              Ceiling Jet, Corner, 400 kW                                                                       Ceiling Jet, Wall, 400 kW

                    300                                                                                               300
 Temperature (°C)




                                                                                                   Temperature (°C)




                    200                                                                                               200


                    100                          Exp (TC-WT-01)                                                       100                          Exp (TC-WT-01)
                                                 Exp (TC-ET-01)                                                                                    Exp (TC-ET-01)
                                                 FDS (TC-WT-01)                                                                                    FDS (TC-WT-01)
                                                 FDS (TC-ET-01)                                                                                    FDS (TC-ET-01)
                      0                                                                                                 0
                          0       20      40      60      80            100          120                                    0       20      40      60      80           100          120
                                               Time (min)                                                                                        Time (min)



                      Figure 7.22: NIST/NRC Corner Effects experiments, ceiling jet temperature, wall and corner tests.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Ceiling Jet, Cabinet Test 1                                                                          Ceiling Jet, Cabinet Test 2
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150                                                                                                  150

                    100                                                                                                  100
                                                                     Exp (TC-WT-01)                                                                                       Exp (TC-WT-01)
                                                                     Exp (TC-ET-01)                                                                                       Exp (TC-ET-01)
                     50                                              FDS (TC-WT-01)
                                                                                                                          50                                              FDS (TC-WT-01)
                                                                     FDS (TC-ET-01)                                                                                       FDS (TC-ET-01)
                      0                                                                                                    0
                          0            20          40           60                 80                                          0            20          40           60                 80
                                                 Time (min)                                                                                           Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Ceiling Jet, Cabinet Test 3                                                                          Ceiling Jet, Cabinet Test 4
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150                                                                                                  150

                    100                                                                                                  100
                                                                     Exp (TC-WT-01)                                                                                       Exp (TC-WT-01)
                                                                     Exp (TC-ET-01)                                                                                       Exp (TC-ET-01)
                     50                                              FDS (TC-WT-01)
                                                                                                                          50                                              FDS (TC-WT-01)
                                                                     FDS (TC-ET-01)                                                                                       FDS (TC-ET-01)
                      0                                                                                                    0
                          0            20          40           60                 80                                          0            20          40           60                 80
                                                 Time (min)                                                                                           Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                  500
                              Ceiling Jet, Cabinet Test 5                                                                          Ceiling Jet, Cabinet Test 6
                    400                                                                                                  400
 Temperature (°C)




                                                                                                      Temperature (°C)




                    300                                                                                                  300


                    200                                                                                                  200

                                                                     Exp (TC-WT-01)                                                                                       Exp (TC-WT-01)
                    100                                              Exp (TC-ET-01)                                      100                                              Exp (TC-ET-01)
                                                                     FDS (TC-WT-01)                                                                                       FDS (TC-WT-01)
                                                                     FDS (TC-ET-01)                                                                                       FDS (TC-ET-01)
                      0                                                                                                    0
                          0       10        20       30         40            50           60                                  0       10        20       30         40            50           60
                                                 Time (min)                                                                                           Time (min)



                              Figure 7.23: NIST/NRC Corner Effects experiments, ceiling jet temperature, large cabinet.




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                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                    200
                              Ceiling Jet, Cabinet Test 7                                                                            Ceiling Jet, Cabinet Test 8

                    150                                                                                                    150
 Temperature (°C)




                                                                                                        Temperature (°C)
                    100                                                                                                    100


                     50                                                Exp (TC-WT-01)                                       50                                             Exp (TC-WT-01)
                                                                       Exp (TC-ET-01)                                                                                      Exp (TC-ET-01)
                                                                       FDS (TC-WT-01)                                                                                      FDS (TC-WT-01)
                                                                       FDS (TC-ET-01)                                                                                      FDS (TC-ET-01)
                      0                                                                                                      0
                          0      10      20         30     40          50         60         70                                  0      10        20    30     40          50         60         70
                                                   Time (min)                                                                                          Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                    300
                              Ceiling Jet, Cabinet Test 9                                                                            Ceiling Jet, Cabinet Test 10
                    250                                                                                                    250

                    200                                                                                                    200
 Temperature (°C)




                                                                                                        Temperature (°C)
                    150                                                                                                    150

                    100                                                                                                    100
                                                                       Exp (TC-WT-01)                                                                                      Exp (TC-WT-01)
                                                                       Exp (TC-ET-01)                                                                                      Exp (TC-ET-01)
                     50                                                FDS (TC-WT-01)
                                                                                                                            50                                             FDS (TC-WT-01)
                                                                       FDS (TC-ET-01)                                                                                      FDS (TC-ET-01)
                      0                                                                                                      0
                          0      10      20         30     40          50         60         70                                  0      10        20    30     40          50         60         70
                                                   Time (min)                                                                                          Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                    300
                              Ceiling Jet, Cabinet Test 11                                                                           Ceiling Jet, Cabinet Test 12
                                                                                                                           250
                    400

                                                                                                                           200
 Temperature (°C)




                                                                                                        Temperature (°C)




                    300
                                                                                                                           150
                    200
                                                                                                                           100
                                                                       Exp (TC-WT-01)                                                                                      Exp (TC-WT-01)
                    100                                                Exp (TC-ET-01)                                                                                      Exp (TC-ET-01)
                                                                       FDS (TC-WT-01)
                                                                                                                            50                                             FDS (TC-WT-01)
                                                                       FDS (TC-ET-01)                                                                                      FDS (TC-ET-01)
                      0                                                                                                      0
                          0       10          20       30         40            50           60                                  0           20          40           60                80
                                                   Time (min)                                                                                          Time (min)



                     Figure 7.24: NIST/NRC Corner Effects experiments, ceiling jet temperature, medium-sized cabinet.




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7.1.10                       NIST Vent Study
These experiments were performed in a small-scale two floor enclosure, with each floor connected by one
or two ceiling vents. Each floor contained a vertical array of eight sheathed thermocouples; the uppermost
being 5 cm below the ceiling.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       150                                                                                               150
                                 Ceiling Jet Temperature, Test 1                                                                   Ceiling Jet Temperature, Test 2


                       100                                                                                               100
    Temperature (°C)




                                                                                                      Temperature (°C)
                        50                                                                                                50
                                                                           Exp (TC-01)                                                                                       Exp (TC-01)
                                                                           Exp (TC-09)                                                                                       Exp (TC-09)
                                                                           FDS (TC-01)                                                                                       FDS (TC-01)
                                                                           FDS (TC-09)                                                                                       FDS (TC-09)
                         0                                                                                                 0
                             0        20        40       60           80            100                                        0        20        40       60           80            100
                                                  Time (min)                                                                                        Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       150                                                                                               150
                                 Ceiling Jet Temperature, Test 3                                                                   Ceiling Jet Temperature, Test 4


                       100                                                                                               100
    Temperature (°C)




                                                                                                      Temperature (°C)




                        50                                                                                                50
                                                                           Exp (TC-01)                                                                                       Exp (TC-01)
                                                                           Exp (TC-09)                                                                                       Exp (TC-09)
                                                                           FDS (TC-01)                                                                                       FDS (TC-01)
                                                                           FDS (TC-09)                                                                                       FDS (TC-09)
                         0                                                                                                 0
                             0        20        40       60           80            100                                        0        20        40       60           80            100
                                                  Time (min)                                                                                        Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       150                                                                                               150
                                 Ceiling Jet Temperature, Test 5                                                                   Ceiling Jet Temperature, Test 6


                       100                                                                                               100
    Temperature (°C)




                                                                                                      Temperature (°C)




                        50                                                                                                50
                                                                           Exp (TC-01)                                                                                       Exp (TC-01)
                                                                           Exp (TC-09)                                                                                       Exp (TC-09)
                                                                           FDS (TC-01)                                                                                       FDS (TC-01)
                                                                           FDS (TC-09)                                                                                       FDS (TC-09)
                         0                                                                                                 0
                             0        20        40       60           80            100                                        0        20        40       60           80            100
                                                  Time (min)                                                                                        Time (min)



                                                Figure 7.25: NIST Vent Study, ceiling jet temperature, Tests 1-6.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                               150
                              Ceiling Jet Temperature, Test 7                                                                   Ceiling Jet Temperature, Test 8


                    100                                                                                               100
 Temperature (°C)




                                                                                                   Temperature (°C)
                     50                                                                                                50
                                                                        Exp (TC-01)                                                                                       Exp (TC-01)
                                                                        Exp (TC-09)                                                                                       Exp (TC-09)
                                                                        FDS (TC-01)                                                                                       FDS (TC-01)
                                                                        FDS (TC-09)                                                                                       FDS (TC-09)
                      0                                                                                                 0
                          0        20        40       60           80            100                                        0        20        40       60           80            100
                                               Time (min)                                                                                        Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                               150
                              Ceiling Jet Temperature, Test 9                                                                   Ceiling Jet Temperature, Test 13


                    100                                                                                               100
 Temperature (°C)




                                                                                                   Temperature (°C)
                     50                                                                                                50
                                                                        Exp (TC-01)                                                                                       Exp (TC-01)
                                                                        Exp (TC-09)                                                                                       Exp (TC-09)
                                                                        FDS (TC-01)                                                                                       FDS (TC-01)
                                                                        FDS (TC-09)                                                                                       FDS (TC-09)
                      0                                                                                                 0
                          0        20        40       60           80            100                                        0        20        40       60           80            100
                                               Time (min)                                                                                        Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                    150                                                                                               150
                              Ceiling Jet Temperature, Test 14                                                                  Ceiling Jet Temperature, Test 15


                    100                                                                                               100
 Temperature (°C)




                                                                                                   Temperature (°C)




                     50                                                                                                50
                                                                        Exp (TC-01)                                                                                       Exp (TC-01)
                                                                        Exp (TC-09)                                                                                       Exp (TC-09)
                                                                        FDS (TC-01)                                                                                       FDS (TC-01)
                                                                        FDS (TC-09)                                                                                       FDS (TC-09)
                      0                                                                                                 0
                          0        20        40       60           80            100                                        0        20        40       60           80            100
                                               Time (min)                                                                                        Time (min)



                                         Figure 7.26: NIST Vent Study, ceiling jet temperature, Tests 7-9, 13-15.




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7.1.11                       NRCC Smoke Tower
In the NRCC Smoke Tower experiments, there was a vertical array of 13 TCs and a single near-ceiling TC on
the opposite side of the fire compartment. Shown in Fig. 7.27 are the predicted and measured temperatures
of the single TC and the uppermost TC of the vertical array in the fire compartment. Shown in Fig. 7.28 are
predictions of gas temperature measurements made in the stair vestibule of floors 4, 6, 8, and 10, along with
inner compartment temperature measurements made on floors 4, 8, and 10. Note that the plot labels “Slot”
refer to the data acquisition system in the experiments only and have no meaning in the present context. It
should be clear from the plot title how the various curves ought to be interpreted.
                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                1000
                                 Fire Compartment, Test BK-R                                                                         Fire Compartment, Test CMP-R
                       800                                                                                                 800
   Temperature (°C)




                                                                                                       Temperature (°C)
                       600                                                                                                 600                                               Exp (Slot 5)
                                                                                                                                                                             Exp (Slot 19)
                                                                                                                                                                             FDS (Slot 5)
                       400                                                                                                 400                                               FDS (Slot 19)

                                                                          Exp (Slot 5)
                       200                                                Exp (Slot 19)                                    200
                                                                          FDS (Slot 5)
                                                                          FDS (Slot 19)
                         0                                                                                                   0
                             0           10          20                 30                  40                                   0           10          20                30                  40
                                                 Time (min)                                                                                          Time (min)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                1000
                                 Fire Compartment, Test CLC-I-R                                                                      Fire Compartment, Test CLC-II-R
                       800                                                                                                 800
   Temperature (°C)




                                                                                                       Temperature (°C)




                       600                                                Exp (Slot 5)                                     600                                               Exp (Slot 5)
                                                                          Exp (Slot 19)                                                                                      Exp (Slot 19)
                                                                          FDS (Slot 5)                                                                                       FDS (Slot 5)
                       400                                                FDS (Slot 19)                                    400                                               FDS (Slot 19)



                       200                                                                                                 200


                         0                                                                                                   0
                             0           10          20                 30                  40                                   0           10          20                30                  40
                                                 Time (min)                                                                                          Time (min)



                                                  Figure 7.27: NRCC Smoke Tower experiments, ceiling jet.




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                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                    100
                              Stair Vestibule 4, 6, 8, and 10, Test BK-R                                                             Temperature, Floor 4, 8, and 10, Test BK-R
                                                                                                                            80
                    150           Exp (Slot 47)
                                  Exp (Slot 67)
 Temperature (°C)




                                                                                                        Temperature (°C)
                                                                                                                                         Exp (Slot 48)
                                  Exp (Slot 87)                                                                             60           Exp (Slot 88)
                                  Exp (Slot 107)                                                                                         Exp (Slot 108)
                    100           FDS (Slot 47)                                                                                          FDS (Slot 48)
                                  FDS (Slot 67)                                                                             40           FDS (Slot 88)
                                  FDS (Slot 87)                                                                                          FDS (Slot 108)
                                  FDS (Slot 107)
                     50
                                                                                                                            20


                      0                                                                                                      0
                          0             10             20                30                  40                                  0             10             20                30                  40
                                                   Time (min)                                                                                             Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                    100
                              Stair Vestibule 4, 6, 8, and 10, Test CMP-R                                                            Temperature, Floor 4, 8, and 10, Test CMP-R
                                                                                                                            80
                    150                                                  Exp (Slot 47)
                                                                         Exp (Slot 67)
 Temperature (°C)




                                                                                                        Temperature (°C)
                                                                                                                                                                                Exp (Slot 48)
                                                                         Exp (Slot 87)                                      60                                                  Exp (Slot 88)
                                                                         Exp (Slot 107)                                                                                         Exp (Slot 108)
                    100                                                  FDS (Slot 47)                                                                                          FDS (Slot 48)
                                                                         FDS (Slot 67)                                      40                                                  FDS (Slot 88)
                                                                         FDS (Slot 87)                                                                                          FDS (Slot 108)
                                                                         FDS (Slot 107)
                     50
                                                                                                                            20


                      0                                                                                                      0
                          0             10             20                30                  40                                  0             10             20                30                  40
                                                   Time (min)                                                                                             Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                    100
                              Stair Vestibule 4, 6, 8, and 10, Test CLC-I-R                                                          Temperature, Floor 4, 8, and 10, Test CLC-I-R
                                                                                                                            80
                    150                                                  Exp (Slot 47)
                                                                         Exp (Slot 67)
 Temperature (°C)




                                                                                                        Temperature (°C)




                                                                                                                                                                                Exp (Slot 48)
                                                                         Exp (Slot 87)                                      60                                                  Exp (Slot 88)
                                                                         Exp (Slot 107)                                                                                         Exp (Slot 108)
                    100                                                  FDS (Slot 47)                                                                                          FDS (Slot 48)
                                                                         FDS (Slot 67)                                      40                                                  FDS (Slot 88)
                                                                         FDS (Slot 87)                                                                                          FDS (Slot 108)
                                                                         FDS (Slot 107)
                     50
                                                                                                                            20


                      0                                                                                                      0
                          0             10             20                30                  40                                  0             10             20                30                  40
                                                   Time (min)                                                                                             Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                    100
                              Stair Vestibule 4, 6, 8, and 10, Test CLC-II-R                                                         Temperature, Floor 4, 8, and 10, Test CLC-II-R
                                                                                                                            80
                    150                                                  Exp (Slot 47)
                                                                         Exp (Slot 67)
 Temperature (°C)




                                                                                                        Temperature (°C)




                                                                                                                                                                                Exp (Slot 48)
                                                                         Exp (Slot 87)                                      60                                                  Exp (Slot 88)
                                                                         Exp (Slot 107)                                                                                         Exp (Slot 108)
                    100                                                  FDS (Slot 47)                                                                                          FDS (Slot 48)
                                                                         FDS (Slot 67)                                      40                                                  FDS (Slot 88)
                                                                         FDS (Slot 87)                                                                                          FDS (Slot 108)
                                                                         FDS (Slot 107)
                     50
                                                                                                                            20


                      0                                                                                                      0
                          0             10             20                30                  40                                  0             10             20                30                  40
                                                   Time (min)                                                                                             Time (min)



                                                   Figure 7.28: NRCC Smoke Tower, upper floor temperatures.

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7.1.12                       PRISME DOOR Experiments
In the PRISME DOOR experiments, the uppermost TC in the vertical arrays were used to measure the
ceiling jet temperature. These TCs were approximately 10 cm below the ceiling.
                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       500                                                                                                 500
                                 PRISME DOOR Test 1, Room 1 Ceiling Jet                                                              PRISME DOOR Test 2, Room 1 Ceiling Jet
                       400                                                                                                 400
    Temperature (°C)




                                                                                                        Temperature (°C)
                       300                                      Exp (TG_L1_NW_390)                                         300                                     Exp (TG_L1_NW_390)
                                                                Exp (TG_L1_SE_390)                                                                                 Exp (TG_L1_SE_390)
                                                                FDS (TG_L1_NW_390)                                                                                 FDS (TG_L1_NW_390)
                       200                                      FDS (TG_L1_SE_390)                                         200                                     FDS (TG_L1_SE_390)



                       100                                                                                                 100


                         0                                                                                                   0
                             0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                   Time (min)                                                                                         Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       500                                                                                                 500
                                 PRISME DOOR Test 3, Room 1 Ceiling Jet                                                              PRISME DOOR Test 4, Room 1 Ceiling Jet
                       400                                                                                                 400
    Temperature (°C)




                                                                                                        Temperature (°C)


                       300                                      Exp (TG_L1_NW_390)                                         300                                     Exp (TG_L1_NW_390)
                                                                Exp (TG_L1_SE_390)                                                                                 Exp (TG_L1_SE_390)
                                                                FDS (TG_L1_NW_390)                                                                                 FDS (TG_L1_NW_390)
                       200                                      FDS (TG_L1_SE_390)                                         200                                     FDS (TG_L1_SE_390)



                       100                                                                                                 100


                         0                                                                                                   0
                             0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                   Time (min)                                                                                         Time (min)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                       700                                                                                                 700
                                 PRISME DOOR Test 5, Room 1 Ceiling Jet                                                              PRISME DOOR Test 6, Room 1 Ceiling Jet
                       600                                                                                                 600

                       500                                                                                                 500
    Temperature (°C)




                                                                                                        Temperature (°C)




                                                                Exp (TG_L1_NW_390)                                                                                 Exp (TG_L1_NW_390)
                       400                                                                                                 400
                                                                Exp (TG_L1_SE_390)                                                                                 Exp (TG_L1_SE_390)
                                                                FDS (TG_L1_NW_390)                                                                                 FDS (TG_L1_NW_390)
                       300                                      FDS (TG_L1_SE_390)                                         300                                     FDS (TG_L1_SE_390)

                       200                                                                                                 200

                       100                                                                                                 100

                         0                                                                                                   0
                             0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                   Time (min)                                                                                         Time (min)



                                                  Figure 7.29: PRISME DOOR experiments, ceiling jet, Room 1.




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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                 300
                              PRISME DOOR Test 1, Room 2 Ceiling Jet                                                              PRISME DOOR Test 2, Room 2 Ceiling Jet
                    250                                                                                                 250

                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                                                             Exp (TG_L2_NE_390)                                                                                 Exp (TG_L2_NE_390)
                                                             Exp (TG_L2_CC_390)                                                                                 Exp (TG_L2_CC_390)
                                                             Exp (TG_L2_SW_390)                                                                                 Exp (TG_L2_SW_390)
                    150                                      FDS (TG_L2_NE_390)
                                                                                                                        150                                     FDS (TG_L2_NE_390)
                                                             FDS (TG_L2_CC_390)                                                                                 FDS (TG_L2_CC_390)
                    100                                      FDS (TG_L2_SW_390)                                         100                                     FDS (TG_L2_SW_390)


                     50                                                                                                  50

                      0                                                                                                   0
                          0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                Time (min)                                                                                         Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                 300
                              PRISME DOOR Test 3, Room 2 Ceiling Jet                                                              PRISME DOOR Test 4, Room 2 Ceiling Jet
                    250                                                                                                 250

                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                                                             Exp (TG_L2_NE_390)                                                                                 Exp (TG_L2_NE_390)
                                                             Exp (TG_L2_CC_390)                                                                                 Exp (TG_L2_CC_390)
                                                             Exp (TG_L2_SW_390)                                                                                 Exp (TG_L2_SW_390)
                    150                                      FDS (TG_L2_NE_390)
                                                                                                                        150                                     FDS (TG_L2_NE_390)
                                                             FDS (TG_L2_CC_390)                                                                                 FDS (TG_L2_CC_390)
                    100                                      FDS (TG_L2_SW_390)                                         100                                     FDS (TG_L2_SW_390)


                     50                                                                                                  50

                      0                                                                                                   0
                          0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                Time (min)                                                                                         Time (min)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                 300
                              PRISME DOOR Test 5, Room 2 Ceiling Jet                                                              PRISME DOOR Test 6, Room 2 Ceiling Jet
                    250                                                                                                 250

                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                                                             Exp (TG_L2_NE_390)                                                                                 Exp (TG_L2_NE_390)
                                                             Exp (TG_L2_CC_390)                                                                                 Exp (TG_L2_CC_390)
                                                             Exp (TG_L2_SW_390)                                                                                 Exp (TG_L2_SW_390)
                    150                                      FDS (TG_L2_NE_390)
                                                                                                                        150                                     FDS (TG_L2_NE_390)
                                                             FDS (TG_L2_CC_390)                                                                                 FDS (TG_L2_CC_390)
                    100                                      FDS (TG_L2_SW_390)                                         100                                     FDS (TG_L2_SW_390)


                     50                                                                                                  50

                      0                                                                                                   0
                          0       5       10        15         20            25           30                                  0       5       10       15         20            25           30
                                                Time (min)                                                                                         Time (min)



                                               Figure 7.30: PRISME DOOR experiments, ceiling jet, Room 2.




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7.1.13   PRISME SOURCE Experiments
In the PRISME SOURCE experiments, the uppermost TC in the vertical array was used to measure the
ceiling jet temperature. The thermocouple array was located in the northeast corner of the room. This TC
was approximately 10 cm below the ceiling.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                500
                              PRISME SOURCE Test 1, Room 2 Ceiling Jet                                                           PRISME SOURCE Test 2, Room 2 Ceiling Jet
                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)
                    300                                                                                                300


                    200                                                                                                200


                    100                                                                                                100
                                                             Exp (TG_L2_NE_390)                                                                   Exp (TG_L2_NE_390)
                                                             FDS (TG_L2_NE_390)                                                                   FDS (TG_L2_NE_390)
                      0                                                                                                  0
                          0       10      20       30         40            50           60                                  0       10      20       30         40            50           60
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                500
                              PRISME SOURCE Test 3, Room 2 Ceiling Jet                                                           PRISME SOURCE Test 4, Room 2 Ceiling Jet
                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)
                    300                                                                                                300
                                                             Exp (TG_L2_NE_390)
                                                             FDS (TG_L2_NE_390)
                    200                                                                                                200


                    100                                                                                                100
                                                                                                                                                  Exp (TG_L2_NE_390)
                                                                                                                                                  FDS (TG_L2_NE_390)
                      0                                                                                                  0
                          0               5                   10                         15                                  0       10      20       30         40            50           60
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                500
                              PRISME SOURCE Test 5, Room 2 Ceiling Jet                                                           PRISME SOURCE Test 5a, Room 2 Ceiling Jet
                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)




                    300                                                                                                300
                                                             Exp (TG_L2_NE_390)                                                                                 Exp (TG_L2_NE_390)
                                                             FDS (TG_L2_NE_390)                                                                                 FDS (TG_L2_NE_390)
                    200                                                                                                200


                    100                                                                                                100


                      0                                                                                                  0
                          0       10      20       30         40            50           60                                  0       10      20       30         40            50           60
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    500                                                                                                500
                              PRISME SOURCE Test 6, Room 2 Ceiling Jet                                                           PRISME SOURCE Test 6a, Room 2 Ceiling Jet
                    400                                                                                                400
 Temperature (°C)




                                                                                                    Temperature (°C)




                    300                                                                                                300
                                                                                                                                                                Exp (TG_L2_NE_390)
                                                                                                                                                                FDS (TG_L2_NE_390)
                    200                                                                                                200


                    100                                                                                                100
                                               Exp (TG_L2_NE_390)
                                               FDS (TG_L2_NE_390)
                      0                                                                                                  0
                          0       10      20       30         40            50           60                                  0       10      20       30         40            50           60
                                               Time (min)                                                                                         Time (min)



                                          Figure 7.31: PRISME SOURCE experiments, ceiling jet, Room 2.

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7.1.14                       SP Adiabatic Surface Temperature Experiments
Three experiments were conducted in a standard compartment, 3.6 m long by 2.4 m wide by 2.4 m high, with
a 0.8 m wide by 2.0 m high door centered on the narrow wall. A single beam was suspended 20 cm below the
ceiling lengthwise along the centerline of the compartment. There were three measurement stations along
the beam at distances of 0.9 m (Station A), 1.8 m (Station B), and 2.7 m (Station C) from the far wall where
the fire was either positioned in the corner (Tests 1 and 2), or the center (Test 3). The gas temperatures
reported here were measured 10 cm away from all four sides of the beam at Station A, and 10 cm away from
the two lateral sides at Stations B and C. In the figure legends, the measurement station is denoted A, B, or
C, and the position is denoted 1, 2, 3, or 4. Position 1 is 10 cm above the beam. Position 2 is 10 cm from
the side of the beam facing away from the fire, Position 3 is 10 cm below the beam, and Position 4 is 10 cm
away from the side of the beam facing the fire.
                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                  1000
                                 Ceiling Jet, SP Test 1 Station A                                                                      Ceiling Jet, SP Test 1 Station A
                       800                                                                                                   800
   Temperature (°C)




                                                                                                         Temperature (°C)
                       600                                                                                                   600


                       400                                                                                                   400

                                                                          Exp (C41,QT1)                                                                                         Exp (C43,QT3)
                       200                                                Exp (C42,QT2)                                      200                                                Exp (C44,QT4)
                                                                          FDS (Gas A-1)                                                                                         FDS (Gas A-3)
                                                                          FDS (Gas A-2)                                                                                         FDS (Gas A-4)
                         0                                                                                                     0
                             0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                    Time (min)                                                                                            Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                  1000
                                 Ceiling Jet, SP Test 1 Station B                                                                      Ceiling Jet, SP Test 1 Station C
                       800                                                                                                   800
   Temperature (°C)




                                                                                                         Temperature (°C)




                       600                                                                                                   600


                       400                                                                                                   400

                                                                          Exp (C51,TC6)                                                                                        Exp (C53,TC10)
                       200                                                Exp (C52,TC8)                                      200                                               Exp (C54,TC12)
                                                                          FDS (Gas B-2)                                                                                        FDS (Gas C-2)
                                                                          FDS (Gas B-4)                                                                                        FDS (Gas C-4)
                         0                                                                                                     0
                             0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                    Time (min)                                                                                            Time (min)



                                                         Figure 7.32: SP AST experiments, ceiling jet, Test 1.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                  1000
                              Ceiling Jet, SP Test 2 Station A                                                                      Ceiling Jet, SP Test 2 Station A
                    800                                                                                                   800
Temperature (°C)




                                                                                                      Temperature (°C)
                    600                                                                                                   600


                    400                                                                                                   400

                                                                       Exp (C41,QT1)                                                                                         Exp (C43,QT3)
                    200                                                Exp (C42,QT2)                                      200                                                Exp (C44,QT4)
                                                                       FDS (Gas A-1)                                                                                         FDS (Gas A-3)
                                                                       FDS (Gas A-2)                                                                                         FDS (Gas A-4)
                      0                                                                                                     0
                          0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                  1000
                              Ceiling Jet, SP Test 2 Station B                                                                      Ceiling Jet, SP Test 2 Station C
                    800                                                                                                   800
Temperature (°C)




                                                                                                      Temperature (°C)
                    600                                                                                                   600


                    400                                                                                                   400

                                                                       Exp (C51,TC6)                                                                                        Exp (C53,TC10)
                    200                                                Exp (C52,TC8)                                      200                                               Exp (C54,TC12)
                                                                       FDS (Gas B-2)                                                                                        FDS (Gas C-2)
                                                                       FDS (Gas B-4)                                                                                        FDS (Gas C-4)
                      0                                                                                                     0
                          0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                  1000
                              Ceiling Jet, SP Test 3 Station A                                                                      Ceiling Jet, SP Test 3 Station A
                    800                                                                                                   800
Temperature (°C)




                                                                                                      Temperature (°C)




                    600                                                                                                   600


                    400                                                                                                   400

                                                                       Exp (C41,QT1)                                                                                         Exp (C43,QT3)
                    200                                                Exp (C42,QT2)                                      200                                                Exp (C44,QT4)
                                                                       FDS (Gas A-1)                                                                                         FDS (Gas A-3)
                                                                       FDS (Gas A-2)                                                                                         FDS (Gas A-4)
                      0                                                                                                     0
                          0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                 Time (min)                                                                                            Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                  1000
                              Ceiling Jet, SP Test 3 Station B                                                                      Ceiling Jet, SP Test 3 Station C
                    800                                                                                                   800
Temperature (°C)




                                                                                                      Temperature (°C)




                    600                                                                                                   600


                    400                                                                                                   400

                                                                       Exp (C51,TC6)                                                                                        Exp (C53,TC10)
                    200                                                Exp (C52,TC8)                                      200                                               Exp (C54,TC12)
                                                                       FDS (Gas B-2)                                                                                        FDS (Gas C-2)
                                                                       FDS (Gas B-4)                                                                                        FDS (Gas C-4)
                      0                                                                                                     0
                          0       10        20       30          40           50           60                                   0       10        20       30          40           50           60
                                                 Time (min)                                                                                            Time (min)



                                                 Figure 7.33: SP AST experiments, ceiling jet, Tests 2 and 3.

                                                                                                394
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7.1.15                       UL/NFPRF Series I Experiments
The primary purpose of the UL/NFPRF experiments was to measure sprinkler activation times for a series
of heptane spray burner fires. To determine activation times, thermocouples were affixed to each sprinkler,
and a sudden drop in temperature indicated activation. These same thermocouple temperatures (solid lines)
can be compared to ceiling jet temperature predictions (dashed lines). Referring to Fig. 3.52, the chosen
measurement locations are 56 (black lines), 68 (red lines), 86 (green lines), and 98 (blue lines), providing
comparisons as close to, and as far away from, the fire as possible.
                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       200                                                                                               200
                                 UL/NFPRF, Series I, Test 1                                                                        UL/NFPRF, Series I, Test 2

                       150                                                                                               150
    Temperature (°C)




                                                                                                      Temperature (°C)
                       100                                                                                               100


                        50                                                                                                50


                         0                                                                                                 0
                             0          2         4          6              8              10                                  0          2         4          6              8              10
                                                  Time (min)                                                                                        Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       200                                                                                               200
                                 UL/NFPRF, Series I, Test 3                                                                        UL/NFPRF, Series I, Test 4

                       150                                                                                               150
    Temperature (°C)




                                                                                                      Temperature (°C)




                       100                                                                                               100


                        50                                                                                                50


                         0                                                                                                 0
                             0          2         4          6              8              10                                  0          2         4          6              8              10
                                                  Time (min)                                                                                        Time (min)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                    FDS-6.8.0-1116-gd8b2bf4-master
                       200                                                                                               200
                                 UL/NFPRF, Series I, Test 5                                                                        UL/NFPRF, Series I, Test 6

                       150                                                                                               150
    Temperature (°C)




                                                                                                      Temperature (°C)




                       100                                                                                               100


                        50                                                                                                50


                         0                                                                                                 0
                             0          2         4          6              8              10                                  0          2         4          6              8              10
                                                  Time (min)                                                                                        Time (min)



                                            Figure 7.34: UL/NFPPRF experiments, ceiling jet, Series I, Tests 1-6.




                                                                                                395
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 7                                                                         UL/NFPRF, Series I, Test 8

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 9                                                                         UL/NFPRF, Series I, Test 10

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 11                                                                        UL/NFPRF, Series I, Test 12

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                200
                              UL/NFPRF, Series I, Test 13                                                                        UL/NFPRF, Series I, Test 14
                    250
                                                                                                                       150
                    200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150                                                                                                100

                    100
                                                                                                                        50
                     50

                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)



                                         Figure 7.35: UL/NFPPRF experiments, ceiling jet, Series I, Tests 7-14.

                                                                                              396
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 15                                                                        UL/NFPRF, Series I, Test 16

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 17                                                                        UL/NFPRF, Series I, Test 18

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)
                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 19                                                                        UL/NFPRF, Series I, Test 20

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    200                                                                                                200
                              UL/NFPRF, Series I, Test 21                                                                        UL/NFPRF, Series I, Test 22

                    150                                                                                                150
 Temperature (°C)




                                                                                                    Temperature (°C)




                    100                                                                                                100


                     50                                                                                                 50


                      0                                                                                                  0
                          0          2         4          6               8              10                                  0          2         4          6               8              10
                                               Time (min)                                                                                         Time (min)



                                         Figure 7.36: UL/NFPPRF experiments, ceiling jet, Series I, Tests 15-22.

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7.1.16                       UL/NIJ House Experiments
The following plots compare the uppermost thermocouple measurements with corresponding model predic-
tions for the ranch-style and colonial-style houses.
                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                       350                                                                                                  350
                                 Ceiling Jet Temperature, Single Story Test 1                                                         Ceiling Jet Temperature, Single Story Test 2
                       300                                                                                                  300

                       250                                                                                                  250
    Temperature (°C)




                                                                                                         Temperature (°C)
                                                                               Exp (4TC1)
                       200                                                                                                  200
                                                                               Exp (5TC1)
                                                                               FDS (4TC1)
                       150                                                     FDS (5TC1)                                   150

                       100                                                                                                  100                             Exp (4TC1)
                                                                                                                                                            Exp (5TC1)
                        50                                                                                                   50                             FDS (4TC1)
                                                                                                                                                            FDS (5TC1)
                         0                                                                                                    0
                             0        5        10       15           20          25           30                                  0        5        10       15           20          25           30
                                                    Time (min)                                                                                           Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                       350                                                                                                  350
                                 Ceiling Jet Temperature, Single Story Test 5                                                         Ceiling Jet Temperature, Two Story Test 1
                       300                                                                                                  300

                       250                                                                                                  250
    Temperature (°C)




                                                                                                         Temperature (°C)


                                                                               Exp (4TC1)
                                                                               Exp (5TC1)
                       200                                                                                                  200
                                                                               Exp (6TC1)
                                                                               FDS (4TC1)
                       150                                                     FDS (5TC1)                                   150
                                                                               FDS (6TC1)
                       100                                                                                                  100                             Exp (8TC1)
                                                                                                                                                            Exp (12TC1)
                        50                                                                                                   50                             FDS (8TC1)
                                                                                                                                                            FDS (12TC1)
                         0                                                                                                    0
                             0        5        10       15           20          25           30                                  0        5        10       15           20          25           30
                                                    Time (min)                                                                                           Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                       350                                                                                                  350
                                 Ceiling Jet Temperature, Two Story Test 4                                                            Ceiling Jet Temperature, Two Story Test 6
                       300                                                                                                  300

                       250                                                                                                  250
    Temperature (°C)




                                                                                                         Temperature (°C)




                       200                                                                                                  200

                       150                                                                                                  150

                       100                             Exp (8TC1)                                                           100                             Exp (8TC1)
                                                       Exp (12TC1)                                                                                          Exp (12TC1)
                        50                             FDS (8TC1)                                                            50                             FDS (8TC1)
                                                       FDS (12TC1)                                                                                          FDS (12TC1)
                         0                                                                                                    0
                             0        5        10       15           20          25           30                                  0        5        10       15           20          25           30
                                                    Time (min)                                                                                           Time (min)



                                                      Figure 7.37: UL/NIJ Experiments, ceiling jet temperature




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7.1.17   UL/NIST Vent Experiments
The ceiling jet temperatures were measured at two locations, 90 cm from the short ends of the 2.4 m by
1.2 m double vent.




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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                1000
                              Ceiling Jet, UL/NIST Vents Test 1, Tree 1                                                           Ceiling Jet, UL/NIST Vents Test 1, Tree 2
                    800                                                                                                 800
Temperature (°C)




                                                                                                    Temperature (°C)
                    600                                                                                                 600


                    400                                                                                                 400


                    200                                                                                                 200
                                                                       Exp (T1-2)                                                                                          Exp (T2-2)
                                                                       FDS (T1-TC2)                                                                                        FDS (T2-TC2)
                      0                                                                                                   0
                          0            20          40                60                  80                                   0            20          40                60                  80
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                                1000
                              Ceiling Jet, UL/NIST Vents Test 2, Tree 1                                                           Ceiling Jet, UL/NIST Vents Test 2, Tree 2
                   1000
                                                                                                                        800

                    800
Temperature (°C)




                                                                                                    Temperature (°C)
                                                                                                                        600
                    600
                                                                                                                        400
                    400

                                                                                                                        200
                    200                                                Exp (T1-2)                                                                                          Exp (T2-2)
                                                                       FDS (T1-TC2)                                                                                        FDS (T2-TC2)
                      0                                                                                                   0
                          0            20          40                60                  80                                   0            20          40                60                  80
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   1000                                                                                                1000
                              Ceiling Jet, UL/NIST Vents Test 3, Tree 1                                                           Ceiling Jet, UL/NIST Vents Test 3, Tree 2
                    800                                                                                                 800
Temperature (°C)




                                                                                                    Temperature (°C)




                    600                                                                                                 600


                    400                                                                                                 400


                    200                                                                                                 200
                                                                       Exp (T1-2)                                                                                          Exp (T2-2)
                                                                       FDS (T1-TC2)                                                                                        FDS (T2-TC2)
                      0                                                                                                   0
                          0            20          40                60                  80                                   0            20          40                60                  80
                                               Time (min)                                                                                          Time (min)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                   1200                                                                                                1000
                              Ceiling Jet, UL/NIST Vents Test 4, Tree 1                                                           Ceiling Jet, UL/NIST Vents Test 4, Tree 2
                   1000
                                                                                                                        800

                    800
Temperature (°C)




                                                                                                    Temperature (°C)




                                                                                                                        600
                    600
                                                                                                                        400
                    400

                                                                                                                        200
                    200                                                Exp (T1-2)                                                                                          Exp (T2-2)
                                                                       FDS (T1-TC2)                                                                                        FDS (T2-TC2)
                      0                                                                                                   0
                          0            20          40                60                  80                                   0            20          40                60                  80
                                               Time (min)                                                                                          Time (min)



                                                    Figure 7.38: UL/NIST Vents experiments, ceiling jet.

                                                                                              400
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7.1.18   Vettori Flat Ceiling Experiments
For these experiments, the measured and predicted thermocouple temperature at the location of the first
two activating sprinklers are compared. The experiments consisted of either Smooth or Obstructed ceilings;
Slow, Medium or Fast fires; and a burner in the Open, at the Wall, or in the Corner. The experiments
included three replicates of each of the smooth ceiling configurations and two replicates of each of the
obstructed ceiling configurations.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 1                                                                         Vettori Flat Ceiling, Test 2
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0          10           20         30             40             50                                  0          10           20         30             40             50
                                                    Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 3                                                                         Vettori Flat Ceiling, Test 4
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0          10           20         30             40             50                                  0               20          40               60                  80
                                                    Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 5                                                                         Vettori Flat Ceiling, Test 6
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0               20          40               60                  80                                  0               20          40               60                  80
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 7                                                                         Vettori Flat Ceiling, Test 8
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0               20          40               60                  80                                  0               20          40               60                  80
                                                   Time (s)                                                                                             Time (s)



                                               Figure 7.39: Vettori Flat Ceiling experiments, ceiling jet, Tests 1-8.

                                                                                                402
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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 9                                                                         Vettori Flat Ceiling, Test 10
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0      20        40     60     80        100        120         140                                  0      20        40      60     80        100        120         140
                                                  Time (s)                                                                                              Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 11                                                                        Vettori Flat Ceiling, Test 12
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0      20        40     60     80        100        120         140                                  0      20        40      60     80        100        120         140
                                                  Time (s)                                                                                              Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 13                                                                        Vettori Flat Ceiling, Test 14
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0      20        40     60     80        100        120         140                                  0           50           100         150               200
                                                  Time (s)                                                                                               Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 15                                                                        Vettori Flat Ceiling, Test 16
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0           50          100         150              200                                             0           10          20         30             40              50
                                                   Time (s)                                                                                              Time (s)



                                            Figure 7.40: Vettori Flat Ceiling experiments, ceiling jet, Tests 9-16.

                                                                                                403
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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 17                                                                        Vettori Flat Ceiling, Test 18
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0         10            20         30             40             50                                  0         10            20         30             40             50
                                                    Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 19                                                                        Vettori Flat Ceiling, Test 20
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                                  Exp (TC_3_02)                                                                                        Exp (TC_3_02)
                    150           FDS (TC_2_02)
                                                                                                                         150           FDS (TC_2_02)
                                  FDS (TC_3_02)                                                                                        FDS (TC_3_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0           20           40             60              80                                           0           20           40             60              80
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 21                                                                        Vettori Flat Ceiling, Test 22
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0              20           40               60                  80                                  0              20           40               60                  80
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                  300
                              Vettori Flat Ceiling, Test 23                                                                        Vettori Flat Ceiling, Test 24
                    250                                                                                                  250

                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                                  Exp (TC_1_02)                                                                                        Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                        Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                         150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                        FDS (TC_2_02)
                    100                                                                                                  100

                     50                                                                                                   50

                      0                                                                                                    0
                          0              20           40               60                  80                                  0                50             100                    150
                                                   Time (s)                                                                                             Time (s)



                                              Figure 7.41: Vettori Flat Ceiling experiments, ceiling jet, Tests 17-24.

                                                                                                404
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                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                    300
                              Vettori Flat Ceiling, Test 25                                                                          Vettori Flat Ceiling, Test 26
                    250                                                                                                    250

                    200                                                                                                    200
 Temperature (°C)




                                                                                                        Temperature (°C)
                                  Exp (TC_1_02)                                                                                          Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                          Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                           150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                          FDS (TC_2_02)
                    100                                                                                                    100

                     50                                                                                                     50

                      0                                                                                                      0
                          0                 50             100                    150                                            0      20         40      60     80        100        120         140
                                                    Time (s)                                                                                               Time (s)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                    300
                              Vettori Flat Ceiling, Test 27                                                                          Vettori Flat Ceiling, Test 28
                    250                                                                                                    250

                    200                                                                                                    200
 Temperature (°C)




                                                                                                        Temperature (°C)
                                  Exp (TC_1_02)                                                                                          Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                          Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                           150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                          FDS (TC_2_02)
                    100                                                                                                    100

                     50                                                                                                     50

                      0                                                                                                      0
                          0      20         40      60     80        100        120         140                                  0      20         40      60     80        100        120         140
                                                    Time (s)                                                                                               Time (s)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                    300
                              Vettori Flat Ceiling, Test 29                                                                          Vettori Flat Ceiling, Test 30
                    250                                                                                                    250

                    200                                                                                                    200
 Temperature (°C)




                                                                                                        Temperature (°C)




                                  Exp (TC_2_02)                                                                                          Exp (TC_2_02)
                                  Exp (TC_4_02)                                                                                          Exp (TC_4_02)
                    150           FDS (TC_2_02)
                                                                                                                           150           FDS (TC_2_02)
                                  FDS (TC_4_02)                                                                                          FDS (TC_4_02)
                    100                                                                                                    100

                     50                                                                                                     50

                      0                                                                                                      0
                          0           50          100       150             200             250                                  0           50          100       150             200             250
                                                    Time (s)                                                                                               Time (s)

                                                                FDS-6.8.0-1116-gd8b2bf4-master                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                    300
                              Vettori Flat Ceiling, Test 31                                                                          Vettori Flat Ceiling, Test 32
                    250                                                                                                    250

                    200                                                                                                    200
 Temperature (°C)




                                                                                                        Temperature (°C)




                                  Exp (TC_1_02)                                                                                          Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                          Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                           150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                          FDS (TC_2_02)
                    100                                                                                                    100

                     50                                                                                                     50

                      0                                                                                                      0
                          0            10           20            30                40                                           0            10           20            30                40
                                                    Time (s)                                                                                               Time (s)



                                             Figure 7.42: Vettori Flat Ceiling experiments, ceiling jet, Tests 25-32.

                                                                                                  405
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                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              Vettori Flat Ceiling, Test 33                                                                           Vettori Flat Ceiling, Test 34
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)
                                  Exp (TC_1_02)                                                                                           Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                           Exp (TC_4_02)
                    150           FDS (TC_1_02)
                                                                                                                            150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                           FDS (TC_4_02)
                    100                                                                                                     100

                     50                                                                                                      50

                      0                                                                                                       0
                          0           10             20             30               40                                           0                20         40                60                  80
                                                     Time (s)                                                                                              Time (s)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              Vettori Flat Ceiling, Test 35                                                                           Vettori Flat Ceiling, Test 36
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)
                                  Exp (TC_1_02)                                                                                           Exp (TC_1_02)
                                  Exp (TC_4_02)                                                                                           Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                            150           FDS (TC_1_02)
                                  FDS (TC_4_02)                                                                                           FDS (TC_2_02)
                    100                                                                                                     100

                     50                                                                                                      50

                      0                                                                                                       0
                          0                20           40                60                  80                                  0           10          20         30              40             50
                                                     Time (s)                                                                                               Time (s)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              Vettori Flat Ceiling, Test 37                                                                           Vettori Flat Ceiling, Test 38
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)




                                  Exp (TC_1_02)                                                                                           Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                           Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                            150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                           FDS (TC_2_02)
                    100                                                                                                     100

                     50                                                                                                      50

                      0                                                                                                       0
                          0           10            20         30              40             50                                  0           10          20         30              40             50
                                                      Time (s)                                                                                              Time (s)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                     300
                              Vettori Flat Ceiling, Test 39                                                                           Vettori Flat Ceiling, Test 40
                    250                                                                                                     250

                    200                                                                                                     200
 Temperature (°C)




                                                                                                         Temperature (°C)




                                  Exp (TC_3_02)                                                                                           Exp (TC_3_02)
                                  Exp (TC_4_02)                                                                                           Exp (TC_4_02)
                    150           FDS (TC_3_02)
                                                                                                                            150           FDS (TC_3_02)
                                  FDS (TC_4_02)                                                                                           FDS (TC_4_02)
                    100                                                                                                     100

                     50                                                                                                      50

                      0                                                                                                       0
                          0      20         40       60     80        100        120         140                                  0      20         40     60     80        100        120         140
                                                     Time (s)                                                                                              Time (s)



                                                Figure 7.43: Vettori Flat Ceiling experiments, ceiling jet, Tests 33-40.

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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                   300
                              Vettori Flat Ceiling, Test 41                                                                         Vettori Flat Ceiling, Test 42
                    250                                                                                                   250

                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                                  Exp (TC_1_02)                                                                                         Exp (TC_1_02)
                                  Exp (TC_2_02)                                                                                         Exp (TC_2_02)
                    150           FDS (TC_1_02)
                                                                                                                          150           FDS (TC_1_02)
                                  FDS (TC_2_02)                                                                                         FDS (TC_2_02)
                    100                                                                                                   100

                     50                                                                                                    50

                      0                                                                                                     0
                          0        20          40        60           80            100                                         0        20         40        60           80            100
                                                    Time (s)                                                                                             Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    300                                                                                                   300
                              Vettori Flat Ceiling, Test 43                                                                         Vettori Flat Ceiling, Test 44
                    250                                                                                                   250

                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                                  Exp (TC_1_02)                                                                                         Exp (TC_3_02)
                                  Exp (TC_2_02)                                                                                         Exp (TC_4_02)
                    150           FDS (TC_1_02)
                                                                                                                          150           FDS (TC_3_02)
                                  FDS (TC_2_02)                                                                                         FDS (TC_4_02)
                    100                                                                                                   100

                     50                                                                                                    50

                      0                                                                                                     0
                          0        20          40        60           80            100                                         0             50           100              150                 200
                                                    Time (s)                                                                                             Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master
                    300
                              Vettori Flat Ceiling, Test 45
                    250

                    200
 Temperature (°C)




                                  Exp (TC_3_02)
                                  Exp (TC_4_02)
                    150           FDS (TC_3_02)
                                  FDS (TC_4_02)
                    100

                     50

                      0
                          0             50            100              150                 200
                                                    Time (s)



                                             Figure 7.44: Vettori Flat Ceiling experiments, ceiling jet, Tests 41-45.




                                                                                                 407
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7.1.19    Vettori Sloped Ceiling Experiments
For these experiments, the measured and predicted thermocouple temperature at the locations of the first
two activating sprinklers are compared. The thermocouples were located 15 cm below the ceiling. Replicate
results are shown side by side, i.e. Test 2 is a replicate of Test 1; Test 4 is a replicate of Test 3, and so on.
There were 36 unique configurations (2 replicates of each) combining the following parameters:

  • Flat, 13◦ , or 24◦ Ceiling Slope

  • Smooth or Obstructed Ceiling Surface

  • Fast or Slow Growth Fire

  • Corner, Wall, or Detached Burner Location

The plots are labelled using this convention. For example, “13SFC” means that the ceiling is sloped 13◦
from horizontal, the ceiling is Smooth (no beams), the fire growth rate is Fast, and the burner is in the Corner
of the room.




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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 1, FSFD                                                                 Vettori Sloped Ceiling, Test 2, FSFD
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0            20             40               60                  80                                  0            20             40               60                  80
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 3, FSSD                                                                 Vettori Sloped Ceiling, Test 4, FSSD
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0            50            100              150                 200                                  0            50            100              150                 200
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 5, FSFW                                                                 Vettori Sloped Ceiling, Test 6, FSFW
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0       10          20      30        40            50           60                                  0       10          20      30        40            50           60
                                                   Time (s)                                                                                             Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                       FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 7, FSSW                                                                 Vettori Sloped Ceiling, Test 8, FSSW
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0              50             100                  150                                               0              50             100                  150
                                                   Time (s)                                                                                             Time (s)



                                            Figure 7.45: Vettori Sloped Ceiling experiments, ceiling jet, Tests 1-8.

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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 9, FSFC                                                                Vettori Sloped Ceiling, Test 10, FSFC
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              10          20               30                  40                                  0              10          20               30                  40
                                                  Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 11, FSSC                                                               Vettori Sloped Ceiling, Test 12, FSSC
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0         20           40         60             80            100                                  0         20           40         60             80            100
                                                   Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 13, FOFD                                                               Vettori Sloped Ceiling, Test 14, FOFD
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              20          40               60                  80                                  0              20          40               60                  80
                                                  Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 15, FOSD                                                               Vettori Sloped Ceiling, Test 16, FOSD
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              50         100              150                 200                                  0              50         100              150                 200
                                                  Time (s)                                                                                            Time (s)



                                          Figure 7.46: Vettori Sloped Ceiling experiments, ceiling jet, Tests 9-16.

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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 17, FOFW                                                               Vettori Sloped Ceiling, Test 18, FOFW
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              20          40               60                  80                                  0              20          40               60                  80
                                                  Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 19, FOSW                                                               Vettori Sloped Ceiling, Test 20, FOSW
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)
                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              50         100              150                 200                                  0              50         100              150                 200
                                                  Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 21, FOFC                                                               Vettori Sloped Ceiling, Test 22, FOFC
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0              10          20               30                  40                                  0              10          20               30                  40
                                                  Time (s)                                                                                            Time (s)

                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                 250
                              Vettori Sloped Ceiling, Test 23, FOSC                                                               Vettori Sloped Ceiling, Test 24, FOSC
                    200                                                                                                 200
 Temperature (°C)




                                                                                                     Temperature (°C)




                    150           Exp (TC_1_2)                                                                          150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                        Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                        FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                          100           FDS (TC_2_2)



                     50                                                                                                  50


                      0                                                                                                   0
                          0         20           40         60             80            100                                  0         20           40         60             80            100
                                                   Time (s)                                                                                            Time (s)



                                          Figure 7.47: Vettori Sloped Ceiling experiments, ceiling jet, Tests 17-24.

                                                                                               411
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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 25, 13SFD                                                                Vettori Sloped Ceiling, Test 26, 13SFD
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0              20            40               60                  80                                  0              20            40               60                  80
                                                    Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 27, 13SSD                                                                Vettori Sloped Ceiling, Test 28, 13SSD
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0              50           100              150                 200                                  0              50           100              150                 200
                                                    Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 29, 13SFW                                                                Vettori Sloped Ceiling, Test 30, 13SFW
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)




                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0         10             20         30             40             50                                  0         10             20         30             40             50
                                                     Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 31, 13SSW                                                                Vettori Sloped Ceiling, Test 32, 13SSW
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)




                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0                   50               100                    150                                       0                   50               100                    150
                                                    Time (s)                                                                                              Time (s)



                                          Figure 7.48: Vettori Sloped Ceiling experiments, ceiling jet, Tests 25-32.

                                                                                                 412
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                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                      250
                              Vettori Sloped Ceiling, Test 33, 13SFC                                                                   Vettori Sloped Ceiling, Test 34, 13SFC
                    200                                                                                                      200
 Temperature (°C)




                                                                                                          Temperature (°C)
                    150           Exp (TC_1_2)                                                                               150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                             Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                             FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                               100           FDS (TC_2_2)



                     50                                                                                                       50


                      0                                                                                                        0
                          0            10                20                30                  40                                  0            10                20                30                  40
                                                      Time (s)                                                                                                 Time (s)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                      250
                              Vettori Sloped Ceiling, Test 35, 13SSC                                                                   Vettori Sloped Ceiling, Test 36, 13SSC
                    200                                                                                                      200
 Temperature (°C)




                                                                                                          Temperature (°C)
                    150           Exp (TC_1_2)                                                                               150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                             Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                             FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                               100           FDS (TC_2_2)



                     50                                                                                                       50


                      0                                                                                                        0
                          0       20            40       60         80           100          120                                  0       20            40       60         80           100          120
                                                      Time (s)                                                                                                 Time (s)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                      250
                              Vettori Sloped Ceiling, Test 37, 13OFD                                                                   Vettori Sloped Ceiling, Test 38, 13OFD
                    200                                                                                                      200
 Temperature (°C)




                                                                                                          Temperature (°C)




                    150           Exp (TC_1_2)                                                                               150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                             Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                             FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                               100           FDS (TC_2_2)



                     50                                                                                                       50


                      0                                                                                                        0
                          0      10        20         30     40          50         60         70                                  0      10        20         30     40          50         60         70
                                                      Time (s)                                                                                                 Time (s)

                                                                  FDS-6.8.0-1116-gd8b2bf4-master                                                                           FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                      250
                              Vettori Sloped Ceiling, Test 39, 13OSD                                                                   Vettori Sloped Ceiling, Test 40, 13OSD
                    200                                                                                                      200
 Temperature (°C)




                                                                                                          Temperature (°C)




                    150           Exp (TC_1_2)                                                                               150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                             Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                             FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                               100           FDS (TC_2_2)



                     50                                                                                                       50


                      0                                                                                                        0
                          0           50             100        150              200                                               0           50             100        150              200
                                                       Time (s)                                                                                                 Time (s)



                                           Figure 7.49: Vettori Sloped Ceiling experiments, ceiling jet, Tests 33-40.

                                                                                                    413
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                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Vettori Sloped Ceiling, Test 41, 13OFW                                                             Vettori Sloped Ceiling, Test 42, 13OFW
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150           Exp (TC_1_2)                                                                         150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                       Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                       FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                         100           FDS (TC_2_2)



                     50                                                                                                 50


                      0                                                                                                  0
                          0            20           40               60                  80                                  0            20           40               60                  80
                                                 Time (s)                                                                                           Time (s)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Vettori Sloped Ceiling, Test 43, 13OSW                                                             Vettori Sloped Ceiling, Test 44, 13OSW
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)
                    150           Exp (TC_1_2)                                                                         150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                       Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                       FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                         100           FDS (TC_2_2)



                     50                                                                                                 50


                      0                                                                                                  0
                          0            50          100              150                 200                                  0            50          100              150                 200
                                                 Time (s)                                                                                           Time (s)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Vettori Sloped Ceiling, Test 45, 13OFC                                                             Vettori Sloped Ceiling, Test 46, 13OFC
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150           Exp (TC_1_2)                                                                         150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                       Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                       FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                         100           FDS (TC_2_2)



                     50                                                                                                 50


                      0                                                                                                  0
                          0            10           20               30                  40                                  0            10           20               30                  40
                                                 Time (s)                                                                                           Time (s)

                                                            FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                250
                              Vettori Sloped Ceiling, Test 47, 13OSC                                                             Vettori Sloped Ceiling, Test 48, 13OSC
                    200                                                                                                200
 Temperature (°C)




                                                                                                    Temperature (°C)




                    150           Exp (TC_1_2)                                                                         150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                       Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                       FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                         100           FDS (TC_2_2)



                     50                                                                                                 50


                      0                                                                                                  0
                          0       20        40      60        80           100          120                                  0       20        40      60        80           100          120
                                                 Time (s)                                                                                           Time (s)



                                         Figure 7.50: Vettori Sloped Ceiling experiments, ceiling jet, Tests 41-48.

                                                                                              414
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                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 49, 24SFD                                                                Vettori Sloped Ceiling, Test 50, 24SFD
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0      10      20        30     40          50         60         70                                  0      10      20        30     40          50         60         70
                                                   Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 51, 24SSD                                                                Vettori Sloped Ceiling, Test 52, 24SSD
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)
                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0            50            100               150                 200                                  0            50            100               150                 200
                                                   Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 53, 24SFW                                                                Vettori Sloped Ceiling, Test 54, 24SFW
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)




                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0       10          20      30         40            50           60                                  0       10          20      30         40            50           60
                                                   Time (s)                                                                                              Time (s)

                                                               FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                   250
                              Vettori Sloped Ceiling, Test 55, 24SSW                                                                Vettori Sloped Ceiling, Test 56, 24SSW
                    200                                                                                                   200
 Temperature (°C)




                                                                                                       Temperature (°C)




                    150           Exp (TC_1_2)                                                                            150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                          Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                          FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                            100           FDS (TC_2_2)



                     50                                                                                                    50


                      0                                                                                                     0
                          0              50             100                   150                                               0              50             100                   150
                                                   Time (s)                                                                                              Time (s)



                                         Figure 7.51: Vettori Sloped Ceiling experiments, ceiling jet, Tests 49-56.

                                                                                                 415
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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 57, 24SFC                                                               Vettori Sloped Ceiling, Test 58, 24SFC
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0         10            20         30            40              50                                  0         10           20         30            40              50
                                                    Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 59, 24SSC                                                               Vettori Sloped Ceiling, Test 60, 24SSC
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0                  50                   100                     150                                  0                 50                   100                     150
                                                   Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 61, 24OFD                                                               Vettori Sloped Ceiling, Test 62, 24OFD
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0           20           40             60               80                                          0           20          40             60               80
                                                   Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 63, 24OSD                                                               Vettori Sloped Ceiling, Test 64, 24OSD
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0          50           100        150             200                                               0          50          100        150             200
                                                    Time (s)                                                                                            Time (s)



                                           Figure 7.52: Vettori Sloped Ceiling experiments, ceiling jet, Tests 57-64.

                                                                                                416
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                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 65, 24OFW                                                               Vettori Sloped Ceiling, Test 66, 24OFW
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0           20           40             60               80                                          0           20          40             60               80
                                                   Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 67, 24OSW                                                               Vettori Sloped Ceiling, Test 68, 24OSW
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)
                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0          50           100        150             200                                               0          50          100        150             200
                                                    Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 69, 24OFC                                                               Vettori Sloped Ceiling, Test 70, 24OFC
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0         10            20         30            40              50                                  0         10           20         30            40              50
                                                    Time (s)                                                                                            Time (s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                      FDS-6.8.0-1116-gd8b2bf4-master
                    250                                                                                                  250
                              Vettori Sloped Ceiling, Test 71, 24OSC                                                               Vettori Sloped Ceiling, Test 72, 24OSC
                    200                                                                                                  200
 Temperature (°C)




                                                                                                      Temperature (°C)




                    150           Exp (TC_1_2)                                                                           150           Exp (TC_1_2)
                                  Exp (TC_2_2)                                                                                         Exp (TC_2_2)
                                  FDS (TC_1_2)                                                                                         FDS (TC_1_2)
                    100           FDS (TC_2_2)                                                                           100           FDS (TC_2_2)



                     50                                                                                                   50


                      0                                                                                                    0
                          0                  50                   100                     150                                  0                 50                   100                     150
                                                   Time (s)                                                                                            Time (s)



                                           Figure 7.53: Vettori Sloped Ceiling experiments, ceiling jet, Tests 65-72.

                                                                                                417
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7.1.20                       WTC Experiments
In the WTC experiments, the compartment was 7 m long, 3.6 m wide and 3.8 m high. A 1 m by 2 m pan
was positioned close to the center of the compartment. Aspirated thermocouples were positioned 3 m to the
west (TTRW1) and 2 m to the east (TTRE1) of the fire pan, 18 cm below the ceiling.
                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                  1000
                                 Ceiling Jet, WTC Test 1                                                                               Ceiling Jet, WTC Test 2
                       800                                                                                                   800
   Temperature (°C)




                                                                                                         Temperature (°C)
                       600                                                                                                   600


                       400                                                                                                   400

                                                                            Exp (TTRW1)                                                                                           Exp (TTRW1)
                       200                                                  Exp (TTRE1)                                      200                                                  Exp (TTRE1)
                                                                            FDS (TTRW1)                                                                                           FDS (TTRW1)
                                                                            FDS (TTRE1)                                                                                           FDS (TTRE1)
                         0                                                                                                     0
                             0       10        20       30         40            50           60                                   0       10        20       30         40            50           60
                                                    Time (min)                                                                                            Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                  1000
                                 Ceiling Jet, WTC Test 3                                                                               Ceiling Jet, WTC Test 4
                       800                                                                                                   800
   Temperature (°C)




                                                                                                         Temperature (°C)




                       600                                                                                                   600


                       400                                                                                                   400

                                                                            Exp (TTRW1)                                                                                           Exp (TTRW1)
                       200                                                  Exp (TTRE1)                                      200                                                  Exp (TTRE1)
                                                                            FDS (TTRW1)                                                                                           FDS (TTRW1)
                                                                            FDS (TTRE1)                                                                                           FDS (TTRE1)
                         0                                                                                                     0
                             0       10        20       30         40            50           60                                   0       10        20       30         40            50           60
                                                    Time (min)                                                                                            Time (min)

                                                                 FDS-6.8.0-1116-gd8b2bf4-master                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                      1000                                                                                                  1000
                                 Ceiling Jet, WTC Test 5                                                                               Ceiling Jet, WTC Test 6
                       800                                                                                                   800
   Temperature (°C)




                                                                                                         Temperature (°C)




                       600                                                                                                   600


                       400                                                                                                   400

                                                                            Exp (TTRW1)                                                                                           Exp (TTRW1)
                       200                                                  Exp (TTRE1)                                      200                                                  Exp (TTRE1)
                                                                            FDS (TTRW1)                                                                                           FDS (TTRW1)
                                                                            FDS (TTRE1)                                                                                           FDS (TTRE1)
                         0                                                                                                     0
                             0            20          40           60                 80                                           0            20          40           60                 80
                                                    Time (min)                                                                                            Time (min)



                                                        Figure 7.54: WTC experiments, ceiling jet, Tests 1-6.




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7.1.21                                     Summary of Ceiling Jet Temperature Predictions



                                                                                                                       ATF Corridors
                                                      Ceiling Jet Temperature
                                                                                                                       Arup Tunnel
                                           1000       Exp. Rel. Std. Dev.: 0.07
                                                                                                                       DelCo Trainers
                                                      Model Rel. Std. Dev.: 0.13                                       FAA Cargo Compartments
                                                      Model Bias Factor: 1.04                                          FM/SNL
                                                                                                                       NIST Composite Beam
                                                                                                                       NIST FSE 2008
         Predicted Temperature Rise (°C)




                                                                                                                       NIST RSE 1994
                                            100                                                                        NIST RSE 2007
                                                                                                                       NIST Smoke Alarms
                                                                                                                       NIST Vent Study
                                                                                                                       NIST/NRC
                                                                                                                       NIST/NRC Corner Effects
                                                                                                                       NRCC Smoke Tower
                                                                                                                       PRISME
                                             10                                                                        SP AST
                                                                                                                       UL/NFPRF, Series I
                                                                                                                       UL/NIJ Houses
                                                                                                                       UL/NIST Vents
                                                                                                                       Vettori Flat Ceiling
                                                                                                                       Vettori Sloped Ceiling
                                                                                                                       WTC
                                              1
                                                  1                    10              100             1000
                                                                Measured Temperature Rise (°C)




                                                                  Figure 7.55: Summary of ceiling jet temperature predictions.




                                                                                                 419
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7.2                                      Sprinkler Activation Times
There are two ways to evaluate the model’s ability to predict sprinkler activation. The first is to simply
compare the total number of predicted versus observed activations. The second is to compare the time to first
activation. Comparing the total number of activations indirectly indicates if the model accurately predicts
the cooling of the hot gases by the water spray. Comparing time to first activation indirectly indicates if the
model accurately predicts the velocity and temperature of the ceiling jet.

7.2.1                                    Time to First Sprinkler Activation
Figure 7.56 compares measured and predicted sprinkler activation times. For the UL/NFPRF experiments,
only the time to first activation is compared because the resulting water spray sometimes delays the second
activation substantially. While the model accounts for the cooling effect of the spray, the disruption of the
activation sequence is somewhat random. A better way to check the accuracy of the model is to compare the
predicted and measured total number of activation, which is discussed in the next section. For the Vettori
experiments, the sprinklers did not flow water; thus, it is possible to consider the activation times of up to
four sprinklers.



                                                    Sprinkler Activation Time
                                                    Exp. Rel. Std. Dev.: 0.06
                                                    Model Rel. Std. Dev.: 0.16
                                                    Model Bias Factor: 1.01
      Predicted Time to Activation (s)




                                                                                                                   Bittern Sprinkler Experiments
                                         100
                                                                                                                   UL/NFPRF, Commodity
                                                                                                                   UL/NFPRF, Series I
                                                                                                                   UL/NFPRF, Series II
                                                                                                                   Vettori Flat Ceiling
                                                                                                                   Vettori Sloped Ceiling




                                          10
                                               10                                    100
                                                               Measured Time to Activation (s)




                                                         Figure 7.56: Comparison of measured and predicted sprinkler actuation times.




                                                                                                 420
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7.2.2   Number of Sprinkler Activations
The figures on the following pages display the number of sprinklers actuated as a function of time. The
results are summarized in Fig. 7.63. The discussion of the uncertainty for this quantity can be found in
Sec. 4.3.2.
    Note that no sprinklers were installed for Test 11, Series I.




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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 1                                                       Actuations, UL/NFPRF, Series I, Test 2

              15                                                                                           15
 Actuations




                                                                                              Actuations
              10                                                                                           10


               5                                                                                            5
                                                                     Exp (Act1)                                                                                   Exp (Act2)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 3                                                       Actuations, UL/NFPRF, Series I, Test 4

              15                                                                                           15
 Actuations




                                                                                              Actuations
              10                                                                                           10


               5                                                                                            5
                                                                     Exp (Act3)                                                                                   Exp (Act4)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 5                                                       Actuations, UL/NFPRF, Series I, Test 6

              15                                                                                           15
 Actuations




                                                                                              Actuations




              10                                                                                           10


               5                                                                                            5
                                                                     Exp (Act5)                                                                                   Exp (Act6)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 7                                                       Actuations, UL/NFPRF, Series I, Test 8

              15                                                                                           15
 Actuations




                                                                                              Actuations




              10                                                                                           10


               5                                                                                            5
                                                                     Exp (Act7)                                                                                   Exp (Act8)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)



                       Figure 7.57: UL/NFPRF experiments, number of sprinkler activations, Series I, Tests 1-8.

                                                                                        422
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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 9                                                       Actuations, UL/NFPRF, Series I, Test 10

              15                                                                                           15
 Actuations




                                                                                              Actuations
              10                                                                                           10


               5                                                                                            5
                                                                     Exp (Act9)                                                                                 Exp (Act10)
                                                                     FDS (Acts)                                                                                 FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                                                                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                                                                                                           20
                                                                                                                    Actuations, UL/NFPRF, Series I, Test 12

                                                                                                           15




                                                                                              Actuations
                                                                                                           10


                                                                                                            5
                                                                                                                                                                Exp (Act12)
                                                                                                                                                                FDS (Acts)
                                                                                                            0
                                                                                                                0                 5                  10                         15
                                                                                                                                      Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 13                                                      Actuations, UL/NFPRF, Series I, Test 14

              15                                                                                           15
 Actuations




                                                                                              Actuations




              10                                                                                           10


               5                                                                                            5
                                                                   Exp (Act13)                                                                                  Exp (Act14)
                                                                   FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                           20
                       Actuations, UL/NFPRF, Series I, Test 15                                                      Actuations, UL/NFPRF, Series I, Test 16

              15                                                                                           15
 Actuations




                                                                                              Actuations




              10                                                                                           10


               5                                                                                            5
                                                                   Exp (Act15)                                                                                  Exp (Act16)
                                                                   FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)



                       Figure 7.58: UL/NFPRF experiments, number of sprinkler activations, Series I, Tests 9-16.

                                                                                        423
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                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                            20
                        Actuations, UL/NFPRF, Series I, Test 17                                                      Actuations, UL/NFPRF, Series I, Test 18

              15                                                                                            15
 Actuations




                                                                                               Actuations
              10                                                                                            10


               5                                                                                             5
                                                                    Exp (Act17)                                                                                  Exp (Act18)
                                                                    FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                            20
                        Actuations, UL/NFPRF, Series I, Test 19                                                      Actuations, UL/NFPRF, Series I, Test 20

              15                                                                                            15
 Actuations




                                                                                               Actuations
              10                                                                                            10


               5                                                                                             5
                                                                    Exp (Act19)                                                                                  Exp (Act20)
                                                                    FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              20                                                                                            20
                        Actuations, UL/NFPRF, Series I, Test 21                                                      Actuations, UL/NFPRF, Series I, Test 22

              15                                                                                            15
 Actuations




                                                                                               Actuations




              10                                                                                            10


               5                                                                                             5
                                                                    Exp (Act21)                                                                                  Exp (Act22)
                                                                    FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)



                       Figure 7.59: UL/NFPRF experiments, number of sprinkler activations, Series I, Tests 17-22.




                                                                                         424
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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                           50
                       Actuations, UL/NFPRF, Series II, Test 1                                                      Actuations, UL/NFPRF, Series II, Test 2
              40                                                                                           40


              30                                                                                           30
 Actuations




                                                                                              Actuations
              20                                                                                           20


              10                                                                                           10
                                                                     Exp (Act1)                                                                                   Exp (Act2)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                           50
                       Actuations, UL/NFPRF, Series II, Test 3                                                      Actuations, UL/NFPRF, Series II, Test 4
              40                                                                                           40


              30                                                                                           30
 Actuations




                                                                                              Actuations
              20                                                                                           20


              10                                                                                           10
                                                                     Exp (Act3)                                                                                   Exp (Act4)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                           50
                       Actuations, UL/NFPRF, Series II, Test 5                                                      Actuations, UL/NFPRF, Series II, Test 6
              40                                                                                           40


              30                                                                                           30
 Actuations




                                                                                              Actuations




              20                                                                                           20


              10                                                                                           10
                                                                     Exp (Act5)                                                                                   Exp (Act6)
                                                                     FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                            0
                   0                 5                  10                         15                           0                 5                  10                         15
                                         Time (min)                                                                                   Time (min)



                       Figure 7.60: UL/NFPRF experiments, number of sprinkler activations, Series II, Tests 1-6.




                                                                                        425
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                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                            50
                        Actuations, UL/NFPRF, Series II, Test 7                                                      Actuations, UL/NFPRF, Series II, Test 8
              40                                                                                            40


              30                                                                                            30
 Actuations




                                                                                               Actuations
              20                                                                                            20


              10                                                                                            10
                                                                      Exp (Act7)                                                                                   Exp (Act8)
                                                                      FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                            50
                        Actuations, UL/NFPRF, Series II, Test 9                                                      Actuations, UL/NFPRF, Series II, Test 10
              40                                                                                            40


              30                                                                                            30
 Actuations




                                                                                               Actuations
              20                                                                                            20


              10                                                                                            10
                                                                      Exp (Act9)                                                                                 Exp (Act10)
                                                                      FDS (Acts)                                                                                 FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)

                                                       FDS-6.8.0-1116-gd8b2bf4-master                                                               FDS-6.8.0-1116-gd8b2bf4-master
              50                                                                                            50
                        Actuations, UL/NFPRF, Series II, Test 11                                                     Actuations, UL/NFPRF, Series II, Test 12
              40                                                                                            40


              30                                                                                            30
 Actuations




                                                                                               Actuations




              20                                                                                            20


              10                                                                                            10
                                                                    Exp (Act11)                                                                                  Exp (Act12)
                                                                    FDS (Acts)                                                                                   FDS (Acts)
               0                                                                                             0
                   0                  5                  10                         15                           0                 5                  10                         15
                                          Time (min)                                                                                   Time (min)



                       Figure 7.61: UL/NFPRF experiments, number of sprinkler activations, Series II, Tests 7-12.




                                                                                         426
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                                                     FDS-6.8.0-1365-g9ee2457-master                                                              FDS-6.8.0-1365-g9ee2457-master
              30                                                                                          30
                       Actuations, UL/NFPRF, Commodity, Test P-1                                                   Actuations, UL/NFPRF, Commodity, Test P-2
              25                                                                                          25

              20                                                                                          20
 Actuations




                                                                                             Actuations
              15                                                                                          15

              10                                                                                          10

               5                                                    Exp (Act1)
                                                                                                           5                                                    Exp (Act2)
                                                                    FDS (Acts)                                                                                  FDS (Acts)
               0                                                                                           0
                   0                5                  10                         15                           0                5                  10                         15
                                        Time (min)                                                                                  Time (min)

                                                     FDS-6.8.0-1365-g9ee2457-master                                                              FDS-6.8.0-1365-g9ee2457-master
              30                                                                                          30
                       Actuations, UL/NFPRF, Commodity, Test P-3                                                   Actuations, UL/NFPRF, Commodity, Test P-4
              25                                                                                          25

              20                                                                                          20
 Actuations




                                                                                             Actuations
              15                                                                                          15

              10                                                                                          10

               5                                                    Exp (Act3)
                                                                                                           5                                                    Exp (Act4)
                                                                    FDS (Acts)                                                                                  FDS (Acts)
               0                                                                                           0
                   0                5                  10                         15                           0                5                  10                         15
                                        Time (min)                                                                                  Time (min)

                                                     FDS-6.8.0-1365-g9ee2457-master
              30
                       Actuations, UL/NFPRF, Commodity, Test P-5
              25

              20
 Actuations




              15

              10

               5                                                    Exp (Act5)
                                                                    FDS (Acts)
               0
                   0                5                  10                         15
                                        Time (min)



    Figure 7.62: UL/NFPRF experiments, number of sprinkler activations, Group A Commodity, Tests 1-5.




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                          100
                                    Sprinkler Actuations
                                    Exp. Rel. Std. Dev.: 0.15
                                    Model Rel. Std. Dev.: 0.30
                                    Model Bias Factor: 1.10
   Predicted Actuations




                                                                                              UL/NFPRF, Commodity
                           10                                                                 UL/NFPRF, Series I
                                                                                              UL/NFPRF, Series II




                            1
                                1                                 10                100
                                                      Measured Actuations




                            Figure 7.63: Comparison of the number of predicted and measured sprinkler activations.




                                                                            428
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7.3    Smoke Detector Activation Times
FDS can model smoke detector activation in two ways. The first method is based on the assumption that
activation occurs when the gas temperature near the detector rises above a given threshold. Essentially this
method treats the smoke detector exactly like a heat detector with a relatively low RTI value. Figure 7.64
compares the measured versus predicted smoke detector activation times using a heat detector/temperature
                                                              √
rise approach. The heat detectors were set with an RTI of 5 m · s and an activation temperature of 5 ◦ C
above ambient, based on the suggestion of Bukowski and Averill [354].



                                                     Smoke Detector Activation Time, Temp. Rise
                                                     Exp. Rel. Std. Dev.: 0.32
                                                     Model Rel. Std. Dev.: 0.32
                                           100       Model Bias Factor: 1.21
        Predicted Time to Activation (s)




                                                                                                                        NIST Smoke Alarms

                                            10




                                             1
                                                 1                           10                         100
                                                                Measured Time to Activation (s)




      Figure 7.64: Summary of smoke detector activation times (using temperature rise), NIST Smoke Alarms.

     The second method of predicting smoke detector activation is to use an empirical model of the smoke
transit time within the device to estimate when the smoke concentration will rise above a particular threshold
value set by the manufacturer. Figure 7.65 compares the measured versus predicted smoke detector activa-
tion times using the smoke detector model. Note that the test report [265] does not provide the parameters
that characterize the smoke transit time within the detector. Instead, generic values are used.




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                                                  Smoke Detector Activation Time
                                                  Exp. Rel. Std. Dev.: 0.27
                                                  Model Rel. Std. Dev.: 0.27
                                        100       Model Bias Factor: 0.62
     Predicted Time to Activation (s)




                                                                                                                     NIST Smoke Alarms

                                         10




                                          1
                                              1                           10                         100
                                                             Measured Time to Activation (s)




Figure 7.65: Summary of smoke detector activation times (using smoke detector model), NIST Smoke Alarms.




                                                                                               430
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7.4     Backlayering of Smoke in Tunnels
This section presents small and large-scale experiments focused on the phenomenon known as “backlay-
ering;” that is, where jet fans are installed near the ceiling of a tunnel to blow smoke from a fire in one
direction. Propagation of smoke upwind of the fire is called backlayering.

7.4.1   Wu Bakar Tunnel Experiments
This section contains the results of the simulations of the Wu and Bakar experiments described in Sec. 3.106.
Five simulations are conducted. In each, the heat release rate is stepped up from its lowest reported value
to its highest, each step lasting 20 s. For each of the eight heat release rates, the tunnel velocity is set
to the reported critical velocity. Temperature readings along the ceiling indicate where the smoke layer
temperature drops below 30 ◦ C, 10 ◦ C above ambient. This is taken as the extent of the back-layer. Using
an empirical correlation for the normalized back-layer length, Lb∗ , developed by Li et al. [372]
                                          18.5 ln(0.81 Q∗1/3 /V ∗ ) Q∗ ≤ 0.15
                                       
                                  ∗
                                Lb =                                                                    (7.1)
                                          18.5 ln(0.43/V ∗ )        Q∗ > 0.15
where
                            Lb                                   Q   4A               V
                    Lb∗ =                             ;       H̄ =p      ; V∗ = p
                                                                           ;   Q∗ =                                                              (7.2)
                            H̄                                       P
                                                         ρ∞ c p T∞ gH̄ 5               gH̄
the FDS-predicted critical velocity, VFDS , can be estimated from the measured, Vexp , via
                                                                    
                                                             Lb,FDS
                                         VFDS ≈ Vexp 1 +                                                                                         (7.3)
                                                             18.5 H̄
Note that H̄ is known as the hydraulic diameter which takes into consideration the tunnel’s cross-sectional
area, A, and perimeter, P. For a square cross section, the hydraulic diameter equals the tunnel height.
                                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                                          1
                                                                     Tunnel A
                                                                     Tunnel B
                                 V*




                                                                     Tunnel C
                                                                     Tunnel D
                                                                     Tunnel E
                                 Critical Velocity,




                                                                     Correlation




                                                      0.1
                                                       0.001              0.01          0.1               1                    10
                                                                             Heat Release Rate,          Q*



                 Figure 7.66: Wu and Bakar critical velocity correlation with FDS results added.

    The non-dimensionalized critical velocity predictions are plotted against the non-dimensionalized HRR
in Fig. 7.66. The solid line in the figure is the correlation developed by Wu and Bakar [347]:
                                                0.4 (Q∗ /0.2)1/3 Q∗ ≤ 0.2
                                            
                                       ∗
                                      V =                                                             (7.4)
                                                0.4               Q∗ > 0.2

                                                                                   431
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7.4.2   Memorial Tunnel Experiments
A description of the Memorial Tunnel experiments can be found in Sec. 3.47. Figure 7.67 compares pre-
dicted and measured volume flow through the tunnel as a function of the number of activated jet fans. Note
that the experimental data has been reported in Ref. [373], published in 1999. The original test report, pub-
lished in 1995 [248], contains a section (8.8) where these cold flow fan tests are discussed. The reported
volume flows in the original report are approximately 20 % higher than those reported in the follow-up
report. The reason for the discrepancy is that the cross-sectional area was reduced at the measurement
locations due to the installation of instrument packages.
                                                                                    FDS-6.8.0-1090-gdda77db-master
                                                   400



                                                   300
                              Volume Flow (m³/s)




                                                   200



                                                   100
                                                                                                    Measured
                                                                                                    FDS
                                                     0
                                                         1     3   5      7       9     11        13        15
                                                                       Number of Fans



               Figure 7.67: Volume flow in Memorial Tunnel as a function of the number of jet fans.

     The figures on the following pages summarize the results of 17 simulations of the longitudinal fan
experiments (Sequences 15, 17, and 18). For each experiment, the measured heat release rate is shown. The
model heat release rate is specified to match, but some deviations between the two are evident. Next, the
measured and predicted volume flow through the tunnel is presented. The measured and predicted values
are taken at Loop 214, just inside the north (uphill) portal. Next shown are the near-ceiling temperature
and velocity at Loop 305, approximately 10 m uphill of the fire. “Backlayering” of smoke is assumed if
the temperature at this location rises significantly above ambient. The jet fans were positioned uphill of the
fire and usually blew in the downhill direction, except for Tests 23B, 24B, and 25B, where the fans were
positioned downhill of the fire, but still blew in the downhill direction. The fan flow direction was reversed
during some of the experiments.
     The fifth figure indicates where a near-ceiling temperature of 50 ◦ C is located, as interpolated from the
measurements made 0.9 m below the ceiling. This position varies in time as the jet fans are activated. The
fire location is designated with the letter “F”. In most cases, the fans blew air downhill from the north portal
(left) towards the south portal (right). Backlayering is indicated when the location of 50 ◦ C falls to the left
of the dashed vertical line.
     Finally, the contour plots show comparisons of measured and predicted gas temperature in the vertical
centerline plane of the tunnel. The temperature contours are drawn from temperature values obtained along
13 vertical arrays of thermocouples. The fire location is designated with the letter “F”.




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                                                                                                     FDS-6.8.0-1090-gdda77db-master                                                                                                                          FDS-6.8.0-1090-gdda77db-master
                                                         30                                                                                                               400
                                                                  Test 501: Heat Release Rate                                                                                                    Test 501; Volume Flow
                                                         25
                                                                                                                                                                          200
                                Heat Release Rate (MW)




                                                                                                                                              Volume Flow (m³/s)
                                                         20
                                                                                                                                                                                         0
                                                         15
                                                                                                                                                                    -200
                                                         10

                                                                                                                                                                    -400
                                                          5                        Exp (Based On Efficiency)                                                                                         Exp (Loop 214)
                                                                                   FDS (HRR)                                                                                                         FDS (214-VF)
                                                          0                                                                                                         -600
                                                              0       5      10        15     20             25           30      35                                                         0       5       10                            15     20               25         30          35
                                                                                      Time (min)                                                                                                                                          Time (min)

                                                                                                     FDS-6.8.0-1090-gdda77db-master                                                                                                                          FDS-6.8.0-1090-gdda77db-master
                                            500                                                                                                                                     10
                                                                  Test 501; Ceiling Jet Temperature                                                                                              Test 501; Ceiling Jet Velocity
                                            400

                                                                                                                                                                                         5
                     Temperature (°C)




                                                                                                                                                                   Velocity (m/s)
                                            300


                                            200
                                                                                                                                                                                         0

                                            100
                                                                                        Exp (TINC305H)                                                                                               Exp (TINC305H)
                                                                                        FDS (305-T-H2)                                                                                               FDS (305-U-H2)
                                                          0                                                                                                                         -5
                                                              0       5      10        15     20             25           30      35                                                         0       5       10                            15     20               25         30          35
                                                                                      Time (min)                                                                                                                                          Time (min)


                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
               30                                                                                                                                                                                                                                   50
                                                                                                               50
                                                     Test 501
                                                     FDS red; Exp black
               20
  Time (min)




                                                                                          50


                                                                                                50



               10                                                             50



                                                                                                                                                                                    50

                     0                                                                                                                                                                                                                                        50




                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 501
                                                                                                                                                                                                                                                        50
                     6                               Time: 10 min                                       50
                                                                                                                                                                                                                                              0    50
                                                                                                                                                                                                                                     20     10
                                                     HRR: 13.6 MW                                                                                                                                                                   0
        Height (m)




                                                                                                                                                                                                                                 400
                                                     FDS red; Exp black
                                                                                                                                                                                                                               100




                     4
                                                                                                                                                                                                              10
                                                                                                                                                                                                               0




                                                                                                                                                                                                    50
                                                                                                                                                                                                                   42000 200




                     2
                                                                                                                                                                                                                     400
                                                                                                                                                                                                                      0




                     0
                              0                                        100                200                       300             400                                              500                    600                                         700                    800            854
                                                                                                                                 Tunnel Length (m)


Figure 7.68: Summary of Memorial Tunnel Test 501. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                               FDS-6.8.0-1090-gdda77db-master                                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                                    400
                                                           70
                                                                    Test 502: Heat Release Rate                                                                                                                  Test 502; Volume Flow
                                                           60                                                                                                                       200
                                  Heat Release Rate (MW)




                                                                                                                                                        Volume Flow (m³/s)
                                                           50
                                                                                                                                                                                                   0
                                                           40

                                                           30                                                                                                                 -200

                                                           20
                                                                                                                                                                              -400
                                                           10                        Exp (Based On Efficiency)                                                                                                       Exp (Loop 214)
                                                                                     FDS (HRR)                                                                                                                       FDS (214-VF)
                                                            0                                                                                                                 -600
                                                                0       5      10           15     20                25         30          35                                                         0             5          10                    15     20                25         30          35
                                                                                           Time (min)                                                                                                                                                Time (min)

                                                                                                               FDS-6.8.0-1090-gdda77db-master                                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                  1200                                                                                                                                                        10
                                                                    Test 502; Ceiling Jet Temperature                                                                                                            Test 502; Ceiling Jet Velocity
                                  1000

                                              800                                                                                                                                                  5
               Temperature (°C)




                                                                                                                                                                             Velocity (m/s)
                                                                                                                      Exp (TINC305H)
                                              600                                                                     FDS (305-T-H2)

                                              400                                                                                                                                                  0

                                              200                                                                                                                                                                    Exp (TINC305H)
                                                                                                                                                                                                                     FDS (305-U-H2)
                                                            0                                                                                                                                  -5
                                                                0       5      10           15     20                25         30          35                                                         0             5          10                    15     20                25         30          35
                                                                                           Time (min)                                                                                                                                                Time (min)


                                                                                                                                                                                                                                                         FDS-6.8.0-1090-gdda77db-master
                 30                                                                                       50
                                                                                     50                                                                                                                                                                           50
                                                       Test 502                                                                                                                                                                                              50


                                                       FDS red; Exp black
                 20
  Time (min)




                 10
                                                                                          50
                                                                                50
                                                                                50

                          0


                                                                                                                                                                                                                                                         FDS-6.8.0-1090-gdda77db-master
                          8
                                                       Test 502                                                                                                                                                                                                   50


                          6                            Time: 10 min                                                                                                                                                              80
                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                             20




                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                         10 50
                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                       600




                                                       HRR: 20.2 MW
                                                                                                                                                                                                                                                 20
        Height (m)




                                                                                                                                                                                                                                             0




                                                       FDS red; Exp black                      50
                                                                                                                                                                                                                                        1040
                                                                                                                                                                                                                                           0




                          4                                                                                                                                                                                               20
                                                                                                                                                                                                                            0

                                                                                                                                                                                                           100

                          2
                                                                                                                                                                                              50


                          0
                                  0                                      100                        200                   300                 400                                                  500                          600                                    700                 800            854
                                                                                                                                           Tunnel Length (m)


Figure 7.69: Summary of Memorial Tunnel Test 502. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




                                                                                                                                                 434
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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                             FDS-6.8.0-1090-gdda77db-master
                                                         20                                                                                                         400
                                                                                                                                                                                                                                                       Exp (Loop 214)
                                                                  Test 605: Heat Release Rate                                                                                               Test 605; Volume Flow                                      FDS (214-VF)
                                                                                                                                                                    200
                                                         15
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                                                                                                                                                   0
                                                         10
                                                                                                                                                                  -200

                                                          5
                                                                                                                                                                  -400
                                                                                  Exp (Based On Efficiency)
                                                                                  FDS (HRR)
                                                          0                                                                                                       -600
                                                              0       5      10         15     20         25         30          35                                                     0       5      10             15     20                      25         30          35
                                                                                       Time (min)                                                                                                                    Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                             FDS-6.8.0-1090-gdda77db-master
                                            200                                                                                                                                    6
                                                                  Test 605; Ceiling Jet Temperature                                                                                         Test 605; Ceiling Jet Velocity
                                                                                                                                                                                   4
                                            150                                                                                                                                    2
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                                                                                                                                                                   0
                                                                      Exp (TINC305H)
                                            100                       FDS (305-T-H2)                                                                                               -2

                                                                                                                                                                                   -4
                                                         50
                                                                                                                                                                                   -6
                                                                                                                                                                                                                                                      Exp (TINC305H)
                                                                                                                                                                                   -8                                                                 FDS (305-U-H2)
                                                          0
                                                              0       5      10         15     20         25         30          35                                                     0       5      10             15     20                      25         30          35
                                                                                       Time (min)                                                                                                                    Time (min)


                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
               30
                                                                                                                                                                                                                           50
                                                     Test 605
                                                     FDS red; Exp black
               20
  Time (min)




                                                                                                                                                                                                                                50
                                                                                                                                                                                                                   50




               10                                                                                                                                                                                                                    50




                     0


                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 605
                     6                               Time: 28 min
                                                     HRR: 10.1 MW                                                                                                                                                          100
        Height (m)




                                                                                                                                                                                                              0




                                                                                                                                                                                                                  400
                                                                                                                                                                                                             20




                                                     FDS red; Exp black                                                                                                                                                                   50
                     4
                                                                                                                                                                                                                                 50
                                                                                                                                                                                                               200
                                                                                                                                                                                                              100
                                                                                                                                                                                                             50




                     2

                     0
                              0                                        100               200                   300                 400                                             500                 600                                700                    800            854
                                                                                                                                Tunnel Length (m)


Figure 7.70: Summary of Memorial Tunnel Test 605. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




                                                                                                                                      435
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                                                                                                   FDS-6.8.0-1090-gdda77db-master                                                                                                               FDS-6.8.0-1090-gdda77db-master
                                                         15                                                                                                        400
                                                                  Test 606A: Heat Release Rate                                                                                             Test 606A; Volume Flow
                                                                                                                                                                   200
                                Heat Release Rate (MW)




                                                                                                                                            Volume Flow (m³/s)
                                                         10
                                                                                                                                                                                  0


                                                                                                                                                                 -200
                                                          5

                                                                                                                                                                 -400
                                                                                 Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                 FDS (HRR)                                                                                                     FDS (214-VF)
                                                          0                                                                                                      -600
                                                              0       5     10       15     20           25         30          35                                                     0       5          10               15     20                  25         30          35
                                                                                    Time (min)                                                                                                                            Time (min)

                                                                                                   FDS-6.8.0-1090-gdda77db-master                                                                                                               FDS-6.8.0-1090-gdda77db-master
                                            200                                                                                                                                   6
                                                                  Test 606A; Ceiling Jet Temperature                                                                                       Test 606A; Ceiling Jet Velocity
                                                                                                                                                                                  4
                                            150                                                                                                                                   2
                     Temperature (°C)




                                                                                                                                                                 Velocity (m/s)
                                                                                                                                                                                  0
                                            100
                                                                                                                                                                                  -2

                                                                                                                                                                                  -4
                                                         50
                                                                                                                                                                                  -6
                                                                                      Exp (TINC305H)                                                                                           Exp (TINC305H)
                                                                                      FDS (305-T-H2)                                                                              -8           FDS (305-U-H2)
                                                          0
                                                              0       5     10       15     20           25         30          35                                                     0       5          10               15     20                  25         30          35
                                                                                    Time (min)                                                                                                                            Time (min)


                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 606A
                                                     FDS red; Exp black
                                                                                                                                                                                                          50




               20
  Time (min)




                                                                                                                                                                                                     50




               10

                                                                                                                                                                                                                                           50

                     0                                                                                                                                                                                                          50




                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 606A
                     6                               Time: 4 min
                                                                                                                                                                                                                            0
                                                                                                                                                                                                                           10




                                                     HRR: 8.0 MW
        Height (m)




                                                                                                                                                                                                                                     50
                                                                                                                                                                                                               100




                                                     FDS red; Exp black
                     4
                                                                                                                                                                                                                     50




                     2

                     0
                              0                                       100               200                   300                 400                                             500                 600                                 700                     800            854
                                                                                                                               Tunnel Length (m)


Figure 7.71: Summary of Memorial Tunnel Test 606A. The measured and specified heat release rates are shown in
the upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                FDS-6.8.0-1090-gdda77db-master
                                                         30                                                                                                         400
                                                                  Test 607: Heat Release Rate                                                                                               Test 607; Volume Flow
                                                         25
                                                                                                                                                                    200
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                         20
                                                                                                                                                                                   0
                                                         15
                                                                                                                                                                  -200
                                                         10

                                                                                                                                                                  -400
                                                          5                       Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                  FDS (HRR)                                                                                                     FDS (214-VF)
                                                          0                                                                                                       -600
                                                              0       5      10       15     20           25          30         35                                                     0       5       10                15     20                     25         30          35
                                                                                     Time (min)                                                                                                                          Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                FDS-6.8.0-1090-gdda77db-master
                                            500                                                                                                                                    6
                                                                  Test 607; Ceiling Jet Temperature                                                                                         Test 607; Ceiling Jet Velocity
                                                                                                                                                                                   4
                                            400
                                                                                                                                                                                   2
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                            300                                                                                                                                    0
                                                                                                              Exp (TINC305H)
                                                                                                              FDS (305-T-H2)                                                       -2
                                            200
                                                                                                                                                                                   -4

                                            100                                                                                                                                    -6
                                                                                                                                                                                                Exp (TINC305H)
                                                                                                                                                                                   -8           FDS (305-U-H2)
                                                          0
                                                              0       5      10       15     20           25          30         35                                                     0       5       10                15     20                     25         30          35
                                                                                     Time (min)                                                                                                                          Time (min)


                                                                                                                                                                                                                          FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 607
                                                     FDS red; Exp black
               20
  Time (min)




               10
                                                                                                                                                                                                             50




                                                                                                                                                                                                                                             50
                     0


                                                                                                                                                                                                                          FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 607
                     6                               Time: 10 min
                                                                                                                                                                                                                            200
                                                     HRR: 20.1 MW
        Height (m)




                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                     0




                                                                                                                                                                                                                                        10
                                                                                                                                                                                                                  40




                                                     FDS red; Exp black
                     4
                                                                                                                                                                                                                                  100

                                                                                                                                                                                                                                  50
                     2
                                                                                                                                                                                                                             50



                     0
                              0                                        100               200                    300                400                                             500                 600                              700                         800            854
                                                                                                                                Tunnel Length (m)


Figure 7.72: Summary of Memorial Tunnel Test 607. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                FDS-6.8.0-1090-gdda77db-master
                                                         30                                                                                                         400
                                                                  Test 608: Heat Release Rate                                                                                               Test 608; Volume Flow
                                                         25
                                                                                                                                                                    200
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                         20
                                                                                                                                                                                   0
                                                         15
                                                                                                                                                                  -200
                                                         10

                                                                                                                                                                  -400
                                                          5                       Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                  FDS (HRR)                                                                                                     FDS (214-VF)
                                                          0                                                                                                       -600
                                                              0       5      10       15     20           25          30         35                                                     0       5          10                  15     20                25         30          35
                                                                                     Time (min)                                                                                                                               Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                FDS-6.8.0-1090-gdda77db-master
                                            500                                                                                                                                    6
                                                                  Test 608; Ceiling Jet Temperature                                                                                         Test 608; Ceiling Jet Velocity
                                                                                                                                                                                   4
                                            400
                                                                                                                                                                                   2
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                            300                                                                                                                                    0
                                                                                                              Exp (TINC305H)
                                                                                                              FDS (305-T-H2)                                                       -2
                                            200
                                                                                                                                                                                   -4

                                            100                                                                                                                                    -6
                                                                                                                                                                                                Exp (TINC305H)
                                                                                                                                                                                   -8           FDS (305-U-H2)
                                                          0
                                                              0       5      10       15     20           25          30         35                                                     0       5          10                  15     20                25         30          35
                                                                                     Time (min)                                                                                                                               Time (min)


                                                                                                                                                                                                                                   FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 608
                                                     FDS red; Exp black
               20
  Time (min)




               10

                                                                                                                                             50                                                                                                  50

                     0                                                                                                                                                                                             50




                                                                                                                                                                                                                                   FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 608
                     6                               Time: 2 min                                                                                                                                                                      0   50
                                                                                                                                                                                                                                   10
                                                                                                                                                                                                                          0




                                                     HRR: 3.7 MW
                                                                                                                                                                                                                     12000
        Height (m)




                                                                                                                                                                                                                              50

                                                     FDS red; Exp black
                     4                                                                                                                                                                                50
                                                                                                                                                                                                            100
                                                                                                                                                                                                                    200




                     2
                                                                                                                                                                                                                400
                                                                                                                                                                                                                100




                     0
                              0                                        100               200                    300                400                                             500                 600                                     700                  800            854
                                                                                                                                Tunnel Length (m)


Figure 7.73: Summary of Memorial Tunnel Test 608. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                      FDS-6.8.0-1090-gdda77db-master                                                                                                                 FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                      400
                                                           70
                                                                    Test 610: Heat Release Rate                                                                                               Test 610; Volume Flow
                                                           60                                                                                                         200
                                  Heat Release Rate (MW)




                                                                                                                                               Volume Flow (m³/s)
                                                           50
                                                                                                                                                                                     0
                                                           40

                                                           30                                                                                                       -200

                                                           20
                                                                                                                                                                    -400
                                                           10                       Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                    FDS (HRR)                                                                                                     FDS (214-VF)
                                                            0                                                                                                       -600
                                                                0       5      10         15     20         25         30          35                                                     0       5       10                       15     20               25         30          35
                                                                                         Time (min)                                                                                                                               Time (min)

                                                                                                      FDS-6.8.0-1090-gdda77db-master                                                                                                                 FDS-6.8.0-1090-gdda77db-master
                                  1000
                                                                                                                                                                                     8
                                                                    Test 610; Ceiling Jet Temperature                                                                                         Test 610; Ceiling Jet Velocity
                                              800                                                                                                                                    6

                                                                                                                                                                                     4
               Temperature (°C)




                                                                                                                                                                    Velocity (m/s)
                                              600
                                                                        Exp (TINC305H)                                                                                               2
                                                                        FDS (305-T-H2)
                                              400                                                                                                                                    0

                                                                                                                                                                                     -2
                                              200
                                                                                                                                                                                     -4                                                                     Exp (TINC305H)
                                                                                                                                                                                                                                                            FDS (305-U-H2)
                                                            0                                                                                                                        -6
                                                                0       5      10         15     20         25         30          35                                                     0       5       10                       15     20               25         30          35
                                                                                         Time (min)                                                                                                                               Time (min)


                                                                                                                                                                                                                                   FDS-6.8.0-1090-gdda77db-master
                 30
                                                       Test 610
                                                       FDS red; Exp black
                 20
  Time (min)




                 10

                                                                                                                                                                                                                         50 50
                          0


                                                                                                                                                                                                                                   FDS-6.8.0-1090-gdda77db-master
                          8
                                                       Test 610
                                                                                                                                                                                                                             0




                                                       Time: 24 min
                                                                                                                                                                                                                             60




                          6
                                                                                                                                                                                                                                        0




                                                       HRR: 51.6 MW
                                                                                                                                                                                                                                     00
                                                                                                                                                                                                                                   40 4
        Height (m)




                                                       FDS red; Exp black
                          4
                                                                                                                                                                                                                                             200
                                                                                                                                                                                                            50 50
                                                                                                                                                                                                                       100
                                                                                                                                                                                                                         0




                                                                                                                                                                                                                                               200
                                                                                                                                                                                                                     100
                                                                                                                                                                                                                40 200




                          2
                                                                                                                                                                                                                0000 400
                                                                                                                                                                                                              860     20




                          0
                                  0                                      100               200                   300                 400                                             500                 600                                   700                     800            854
                                                                                                                                  Tunnel Length (m)


Figure 7.74: Summary of Memorial Tunnel Test 610. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                      FDS-6.8.0-1090-gdda77db-master                                                                                                                         FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                      400
                                                           70
                                                                    Test 611: Heat Release Rate                                                                                                Test 611; Volume Flow
                                                           60                                                                                                         200
                                  Heat Release Rate (MW)




                                                                                                                                               Volume Flow (m³/s)
                                                           50
                                                                                                                                                                                     0
                                                           40

                                                           30                                                                                                       -200

                                                           20
                                                                                                                                                                    -400
                                                           10                       Exp (Based On Efficiency)                                                                                         Exp (Loop 214)
                                                                                    FDS (HRR)                                                                                                         FDS (214-VF)
                                                            0                                                                                                       -600
                                                                0       5      10       15     20           25          30         35                                                     0           5         10                   15     20                     25         30          35
                                                                                       Time (min)                                                                                                                                   Time (min)

                                                                                                      FDS-6.8.0-1090-gdda77db-master                                                                                                                         FDS-6.8.0-1090-gdda77db-master
                                  1200
                                                                                                                                                                                     8
                                                                    Test 611; Ceiling Jet Temperature                                                                                          Test 611; Ceiling Jet Velocity
                                  1000
                                                                                                                                                                                     6

                                              800                                                                                                                                    4
               Temperature (°C)




                                                                                                                                                                    Velocity (m/s)
                                                                                                                Exp (TINC305H)                                                       2
                                              600                                                               FDS (305-T-H2)
                                                                                                                                                                                     0
                                              400
                                                                                                                                                                                     -2
                                              200
                                                                                                                                                                                     -4               Exp (TINC305H)
                                                                                                                                                                                                      FDS (305-U-H2)
                                                            0                                                                                                                        -6
                                                                0       5      10       15     20           25          30         35                                                     0           5         10                   15     20                     25         30          35
                                                                                       Time (min)                                                                                                                                   Time (min)


                                                                                                                                                                                                                                       FDS-6.8.0-1090-gdda77db-master
                 30                                                                                                                                                                                                              50

                                                       Test 611
                                                       FDS red; Exp black
                 20
  Time (min)




                 10

                                                                               50                                                                                                         50
                                                                                            50
                                                                                                                                                                                                                                                             50
                          0                                                                                                                                                                                            50




                                                                                                                                                                                                                                       FDS-6.8.0-1090-gdda77db-master
                          8
                                                       Test 611
                                                                                                                                                                                                                       0




                                                                                                                                                                                                                    0
                                                                                                                                                                                                                  60




                          6                            Time: 2 min                                                                                                                                                80
                                                                                                                                                                                                                                0




                                                                                                                                                                                                                                                      50
                                                                                                                                                                                                                            40




                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                     600




                                                                                                                                                                                                                                             10
                                                       HRR: 53.5 MW
                                                                                                                                                                                                                   400
        Height (m)




                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                      20




                                                       FDS red; Exp black
                                                                                                                                                                                                                            0




                                                                                                                                                                                                                                           100
                                                                                                                                                                                                                           20




                          4                                                                                                                                                                               100

                                                                                                                                                                                                                                      50
                                                                                                                                                                                                 50


                          2

                          0
                                  0                                      100               200                    300                400                                             500                        600                                        700                 800            854
                                                                                                                                  Tunnel Length (m)


Figure 7.75: Summary of Memorial Tunnel Test 611. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                       FDS-6.8.0-1090-gdda77db-master                                                                                                                      FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                       400
                                                           70
                                                                    Test 612B: Heat Release Rate                                                                                                Test 612B; Volume Flow
                                                           60                                                                                                          200
                                  Heat Release Rate (MW)




                                                                                                                                                Volume Flow (m³/s)
                                                           50
                                                                                                                                                                                      0
                                                           40

                                                           30                                                                                                        -200

                                                           20
                                                                                                                                                                     -400
                                                           10                        Exp (Based On Efficiency)                                                                                      Exp (Loop 214)
                                                                                     FDS (HRR)                                                                                                      FDS (214-VF)
                                                            0                                                                                                        -600
                                                                0       5      10          15     20         25          30         35                                                     0        5         10                 15     20                       25         30          35
                                                                                          Time (min)                                                                                                                            Time (min)

                                                                                                       FDS-6.8.0-1090-gdda77db-master                                                                                                                      FDS-6.8.0-1090-gdda77db-master
                                  1200
                                                                                                                                                                                      8
                                                                    Test 612B; Ceiling Jet Temperature                                                                                          Test 612B; Ceiling Jet Velocity
                                  1000
                                                                                                                                                                                      6

                                              800                                                                                                                                     4
               Temperature (°C)




                                                                                                                                                                     Velocity (m/s)
                                                                                                                 Exp (TINC305H)                                                       2
                                              600                                                                FDS (305-T-H2)
                                                                                                                                                                                      0
                                              400
                                                                                                                                                                                      -2
                                              200
                                                                                                                                                                                      -4            Exp (TINC305H)
                                                                                                                                                                                                    FDS (305-U-H2)
                                                            0                                                                                                                         -6
                                                                0       5      10          15     20         25          30         35                                                     0        5         10                 15     20                       25         30          35
                                                                                          Time (min)                                                                                                                            Time (min)


                                                                                                                                                                                                                                 FDS-6.8.0-1090-gdda77db-master
                 30                                                                                                                                                                                                 50

                                                       Test 612B
                                                       FDS red; Exp black
                 20                                                                                                                                                                        50
  Time (min)




                 10
                                                                                     50
                                                                                             50                                                                                                                                                           5050
                                                                                50
                                                                                50

                          0


                                                                                                                                                                                                                                 FDS-6.8.0-1090-gdda77db-master
                          8
                                                       Test 612B
                                                       Time: 2 min
                                                                                                                                                                                                                         0




                          6
                                                                                                                                                                                                                       40




                                                                                                                                                                                                                                                     50
                                                                                                                                                                                                                     600




                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                               10
                                                       HRR: 48.6 MW
                                                                                                                                                                                                                   400
        Height (m)




                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                 20
                                                                                                                                                                                                                            0
                                                                                                                                                                                                                         20




                                                       FDS red; Exp black                                                                                                                                                                100
                          4                                                                                                                                                                             100
                                                                                                                                                                                                                                50
                                                                                                                                                                                                   50



                          2

                          0
                                  0                                     100                 200                    300                400                                             500                     600                                    700                     800            854
                                                                                                                                   Tunnel Length (m)


Figure 7.76: Summary of Memorial Tunnel Test 612B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                               FDS-6.8.0-1090-gdda77db-master                                                                                                                                     FDS-6.8.0-1090-gdda77db-master
                                                   150                                                                                                         400
                                                             Test 615B: Heat Release Rate                                                                                                   Test 615B; Volume Flow
                                                                                                                                                               200
                          Heat Release Rate (MW)




                                                                                                                                        Volume Flow (m³/s)
                                                   100
                                                                                                                                                                              0


                                                                                                                                                             -200
                                                    50

                                                                                                                                                             -400
                                                                             Exp (Based On Efficiency)                                                                                              Exp (Loop 214)
                                                                             FDS (HRR)                                                                                                              FDS (214-VF)
                                                     0                                                                                                       -600
                                                         0       5      10       15     20            25         30         35                                                     0                5            10                       15     20                     25         30          35
                                                                                Time (min)                                                                                                                                               Time (min)

                                                                                               FDS-6.8.0-1090-gdda77db-master                                                                                                                                     FDS-6.8.0-1090-gdda77db-master
                                      1200
                                                                                              Exp (TINC305H)                                                                  8
                                                             Test 615B; Ceiling Jet Temperature
                                                                                              FDS (305-T-H2)
                                                                                                                                                                                            Test 615B; Ceiling Jet Velocity
                                      1000
                                                                                                                                                                              6

                                                   800                                                                                                                        4
               Temperature (°C)




                                                                                                                                                             Velocity (m/s)
                                                                                                                                                                              2
                                                   600
                                                                                                                                                                              0
                                                   400
                                                                                                                                                                              -2
                                                   200
                                                                                                                                                                              -4                    Exp (TINC305H)
                                                                                                                                                                                                    FDS (305-U-H2)
                                                     0                                                                                                                        -6
                                                         0       5      10       15     20            25         30         35                                                     0                5            10                       15     20                     25         30          35
                                                                                Time (min)                                                                                                                                               Time (min)


                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
                 30
                                                                                                 50
                                                   Test 615B                                                                                                                                  50


                                                   FDS red; Exp black
                 20
  Time (min)




                 10
                                                                                                                                                                                       50
                                                                                          50
                                                                                                                                                                                                                                                      50
                          0                                                                                                                                                                                                       50




                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
                          8
                                                   Test 615B                                                                                                                                             400                                           0
                                                                                                                                                                                                                                                     10
                          6                        Time: 28 min                                                                                                                                                                     20
                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                               200
                                                                                                                                                                                                                            400




                                                   HRR: 150.3 MW                                                                                                                                                                                           50
        Height (m)




                                                                                                                                                                                                                     600




                                                   FDS red; Exp black
                                                                                                                                                                                                                           600




                          4
                                                                                                                                                                                                                              400




                                                                                                                                                                                                                                                            100
                                                                                                                                                                                                                 800




                                                                                                                                                                                                   200
                                                                                                                                                                                                               40




                          2
                                                                                                                                                                                                                 0




                                                                                                                                                                               100
                                                                                                                                                                   50              200
                                                                                                                            50
                                                                                                                                         100

                          0
                                      0                           100               200                    300                400                                             500                              600                                        700                       800            854
                                                                                                                           Tunnel Length (m)


Figure 7.77: Summary of Memorial Tunnel Test 615B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                   FDS-6.8.0-1090-gdda77db-master                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                                         15                                                                                                        400
                                                                  Test 617A: Heat Release Rate                                                                                             Test 617A; Volume Flow
                                                                                                                                                                   200
                                Heat Release Rate (MW)




                                                                                                                                            Volume Flow (m³/s)
                                                         10
                                                                                                                                                                                  0


                                                                                                                                                                 -200
                                                          5

                                                                                                                                                                 -400
                                                                                 Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                 FDS (HRR)                                                                                                     FDS (214-VF)
                                                          0                                                                                                      -600
                                                              0       5     10         15     20         25         30          35                                                     0       5       10              15     20                   25         30          35
                                                                                      Time (min)                                                                                                                      Time (min)

                                                                                                   FDS-6.8.0-1090-gdda77db-master                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                            200
                                                                                                                                                                                  8
                                                                  Test 617A; Ceiling Jet Temperature                                                                                       Test 617A; Ceiling Jet Velocity
                                                                                                                                                                                  6
                                            150
                                                                                                                                                                                  4
                     Temperature (°C)




                                                                                                                                                                 Velocity (m/s)
                                                                     Exp (TINC305H)                                                                                               2            Exp (TINC305H)
                                            100                      FDS (305-T-H2)                                                                                                            FDS (305-U-H2)
                                                                                                                                                                                  0

                                                         50                                                                                                                       -2

                                                                                                                                                                                  -4

                                                          0                                                                                                                       -6
                                                              0       5     10         15     20         25         30          35                                                     0       5       10              15     20                   25         30          35
                                                                                      Time (min)                                                                                                                      Time (min)


                                                                                                                                                                                                                       FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 617A
                                                     FDS red; Exp black
               20
  Time (min)




               10
                                                                                                                                                                                                                      50




                                                                                                                                                                                                                                        50



                     0


                                                                                                                                                                                                                       FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 617A
                     6                               Time: 30 min
                                                                                                                                                                                                                             0
                                                     HRR: 0.3 MW                                                                                                                                                           10
        Height (m)




                                                     FDS red; Exp black
                     4
                                                                                                                                                                                                                                       50

                                                                                                                                                                                                                                  50
                                                                                                                                                                                                                100
                                                                                                                                                                                                            50




                     2

                     0
                              0                                       100               200                   300                 400                                             500                 600                              700                     800            854
                                                                                                                               Tunnel Length (m)


Figure 7.78: Summary of Memorial Tunnel Test 617A. The measured and specified heat release rates are shown in
the upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                               FDS-6.8.0-1090-gdda77db-master
                                                         30                                                                                                         400
                                                                  Test 618A: Heat Release Rate                                                                                              Test 618A; Volume Flow
                                                         25
                                                                                                                                                                    200
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                         20
                                                                                                                                                                                   0
                                                         15
                                                                                                                                                                  -200
                                                         10

                                                                                                                                                                  -400
                                                          5                       Exp (Based On Efficiency)                                                                                        Exp (Loop 214)
                                                                                  FDS (HRR)                                                                                                        FDS (214-VF)
                                                          0                                                                                                       -600
                                                              0       5      10       15     20           25         30          35                                                     0          5          10              15     20                25         30          35
                                                                                     Time (min)                                                                                                                              Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                               FDS-6.8.0-1090-gdda77db-master
                                            600
                                                                                                   Exp (TINC305H)                                                                  8
                                                                  Test 618A; Ceiling Jet Temperature
                                                                                                   FDS (305-T-H2)
                                                                                                                                                                                            Test 618A; Ceiling Jet Velocity
                                            500
                                                                                                                                                                                   6

                                            400                                                                                                                                    4
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                                                                                                                                                                   2
                                            300
                                                                                                                                                                                   0
                                            200
                                                                                                                                                                                   -2
                                            100
                                                                                                                                                                                   -4              Exp (TINC305H)
                                                                                                                                                                                                   FDS (305-U-H2)
                                                          0                                                                                                                        -6
                                                              0       5      10       15     20           25         30          35                                                     0          5          10              15     20                25         30          35
                                                                                     Time (min)                                                                                                                              Time (min)


                                                                                                                                                                                                                              FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 618A
                                                                                                                                                                                                         50
                                                     FDS red; Exp black
               20
  Time (min)




               10
                                                                                                                                                                                              50

                                                                                                                                                                                                                              50
                     0                                                                                                                                                                                                  50




                                                                                                                                                                                                                              FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 618A
                     6                               Time: 5 min
                                                                                                                                                                                                                                     0
                                                     HRR: 11.4 MW                                                                                                                                                                  20
        Height (m)




                                                     FDS red; Exp black
                     4
                                                                                                                                                                                                                                    100 100
                                                                                                                                                                                                                   50




                     2                                                                                                                                                                                                                          50
                                                                                                                                                                                                                                         50


                     0
                              0                                        100               200                   300                 400                                             500                    600                                 700                  800            854
                                                                                                                                Tunnel Length (m)


Figure 7.79: Summary of Memorial Tunnel Test 618A. The measured and specified heat release rates are shown in
the upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                          FDS-6.8.0-1090-gdda77db-master                                                                                                       FDS-6.8.0-1090-gdda77db-master
                                              150                                                                                                         400
                                                                                                                                                                                                                                       Exp (Loop 214)
                                                        Test 621A: Heat Release Rate                                                                                               Test 621A; Volume Flow                              FDS (214-VF)
                                                                                                                                                          200
                     Heat Release Rate (MW)




                                                                                                                                   Volume Flow (m³/s)
                                              100
                                                                                                                                                                         0


                                                                                                                                                        -200
                                               50

                                                                                                                                                        -400
                                                                        Exp (Based On Efficiency)
                                                                        FDS (HRR)
                                                0                                                                                                       -600
                                                    0       5      10       15     20           25          30         35                                                     0        5      10            15     20                25         30          35
                                                                           Time (min)                                                                                                                      Time (min)

                                                                                          FDS-6.8.0-1090-gdda77db-master                                                                                                       FDS-6.8.0-1090-gdda77db-master
                                              400
                                                                                                                                                                         8                                                            Exp (TINC305H)
                                                        Test 621A; Ceiling Jet Temperature                                                                                         Test 621A; Ceiling Jet Velocity                    FDS (305-U-H2)
                                                                                                                                                                         6
                                              300
                                                                                                                                                                         4
                     Temperature (°C)




                                                                                                                                                        Velocity (m/s)
                                                                                                    Exp (TINC305H)                                                       2
                                              200                                                   FDS (305-T-H2)
                                                                                                                                                                         0

                                              100                                                                                                                        -2

                                                                                                                                                                         -4

                                                0                                                                                                                        -6
                                                    0       5      10       15     20           25          30         35                                                     0        5      10            15     20                25         30          35
                                                                           Time (min)                                                                                                                      Time (min)


                                                                                                                                                                                                            FDS-6.8.0-1090-gdda77db-master
               30
                                              Test 621A
                                              FDS red; Exp black
               20
  Time (min)




               10

                                                                                                                                                                                                   50
                                                                                                                                                                                  50
                     0


                                                                                                                                                                                                            FDS-6.8.0-1090-gdda77db-master
                     8
                                              Test 621A
                     6                        Time: 12 min
                                              HRR: 74.0 MW
        Height (m)




                                                                                                                                                                                                             40 00




                                              FDS red; Exp black
                                                                                                                                                                                                               0
                                                                                                                                                                                                               6




                     4
                                                                                                                                                                                                     050
                                                                                                                                                                                                    100




                     2
                                                                                                                                                                                                60 200
                                                                                                                                                                                                  1050
                                                                                                                                                                                                  0




                                                                                                                                                                                                                       400
                                                                                                                                                                                                    800
                                                                                                                                                                                                                     200

                     0
                                 0                          100                200                    300                400                                             500                 600                             700                 800            854
                                                                                                                      Tunnel Length (m)


Figure 7.80: Summary of Memorial Tunnel Test 621A. The measured and specified heat release rates are shown in
the upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                       FDS-6.8.0-1090-gdda77db-master                                                                                                                     FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                       400
                                                         70
                                                                  Test 622B: Heat Release Rate                                                                                                      Test 622B; Volume Flow
                                                         60                                                                                                            200
                                Heat Release Rate (MW)




                                                                                                                                                Volume Flow (m³/s)
                                                         50
                                                                                                                                                                                      0
                                                         40

                                                         30                                                                                                          -200

                                                         20
                                                                                                                                                                     -400
                                                         10                         Exp (Based On Efficiency)                                                                                             Exp (Loop 214)
                                                                                    FDS (HRR)                                                                                                             FDS (214-VF)
                                                          0                                                                                                          -600
                                                              0       5      10            15     20         25         30          35                                                     0              5        10                   15     20               25         30          35
                                                                                          Time (min)                                                                                                                                   Time (min)

                                                                                                       FDS-6.8.0-1090-gdda77db-master                                                                                                                     FDS-6.8.0-1090-gdda77db-master
                                            800
                                                                                                                                                                                      8
                                                                  Test 622B; Ceiling Jet Temperature                                                                                                Test 622B; Ceiling Jet Velocity
                                                                                                                                                                                      6
                                            600
                                                                                                                                                                                      4
                     Temperature (°C)




                                                                                                                                                                     Velocity (m/s)
                                                                                                                Exp (TINC305H)                                                        2                                                                          Exp (TINC305H)
                                            400                                                                 FDS (305-T-H2)                                                                                                                                   FDS (305-U-H2)
                                                                                                                                                                                      0

                                            200                                                                                                                                       -2

                                                                                                                                                                                      -4

                                                          0                                                                                                                           -6
                                                              0       5      10            15     20         25         30          35                                                     0              5        10                   15     20               25         30          35
                                                                                          Time (min)                                                                                                                                   Time (min)


                                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 622B
                                                                                                                                                                                                                                                50
                                                     FDS red; Exp black
                                                                                                                                                                                                                          50




               20
  Time (min)




               10                                                              50    50                                                                                                                                                         50
                                                                               50
                                                                              50


                                                                                                                                                                                                                                                           50
                     0


                                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 622B
                     6                               Time: 5 min                                                                                                                                                                          100
                                                                                                                                                                                                                                 100




                                                     HRR: 34.1 MW                                                                                                                                                                                    50
        Height (m)




                                                                                                                                                                                                                                                     50
                                                     FDS red; Exp black
                     4
                                                                                                                                                                                                                          200
                                                                                                                                                                                                                   400
                                                                                                                                                                                                                   600

                                                                                                                                                                                                                           200
                                                                                                                                                                                                                    400




                                                                                                                                                                                                     100100

                     2                                                                                                                                                                         50
                                                                                                                                                                                                              50
                                                                                                                              50

                     0
                              0                                       100                   200                   300                 400                                             500                          600                               700                    800            854
                                                                                                                                   Tunnel Length (m)


Figure 7.81: Summary of Memorial Tunnel Test 622B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                         FDS-6.8.0-1090-gdda77db-master
                                                         30                                                                                                         400
                                                                  Test 623B: Heat Release Rate                                                                                              Test 623B; Volume Flow
                                                         25
                                                                                                                                                                    200
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                         20
                                                                                                                                                                                   0
                                                         15
                                                                                                                                                                  -200
                                                         10

                                                                                                                                                                  -400
                                                          5                       Exp (Based On Efficiency)                                                                                     Exp (Loop 214)
                                                                                  FDS (HRR)                                                                                                     FDS (214-VF)
                                                          0                                                                                                       -600
                                                              0       5      10         15     20         25         30          35                                                     0       5       10           15     20                   25         30          35
                                                                                       Time (min)                                                                                                                   Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                         FDS-6.8.0-1090-gdda77db-master
                                            600
                                                                                                                                                                                   8
                                                                  Test 623B; Ceiling Jet Temperature                                                                                        Test 623B; Ceiling Jet Velocity
                                            500
                                                                                                                                                                                   6

                                            400                                                                                                                                    4
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                                                      Exp (TINC305H)                                                                                               2
                                            300                       FDS (305-T-H2)
                                                                                                                                                                                   0
                                            200
                                                                                                                                                                                   -2
                                            100
                                                                                                                                                                                   -4                                                             Exp (TINC305H)
                                                                                                                                                                                                                                                  FDS (305-U-H2)
                                                          0                                                                                                                        -6
                                                              0       5      10         15     20         25         30          35                                                     0       5       10           15     20                   25         30          35
                                                                                       Time (min)                                                                                                                   Time (min)


                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 623B
                                                     FDS red; Exp black
               20
  Time (min)




               10

                                                                                                                                                                                                                                          50
                     0                                                                                                                                                                                             50




                                                                                                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 623B
                     6                               Time: 10 min
                                                                                                                                                                                                                        200




                                                     HRR: 12.1 MW                                                                                                                                                             100
        Height (m)




                                                                                                                                                                                                                                      0
                                                                                                                                                                                                                                    10
                                                     FDS red; Exp black
                     4

                     2                                                                                                                                                                                           50 0
                                                                                                                                                                                                                   5



                     0
                              0                                        100               200                   300                 400                                             500                 600                          700                      800            854
                                                                                                                                Tunnel Length (m)


Figure 7.82: Summary of Memorial Tunnel Test 623B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
                                                                                                                                                                    400
                                                         70
                                                                  Test 624B: Heat Release Rate                                                                                               Test 624B; Volume Flow
                                                         60                                                                                                         200
                                Heat Release Rate (MW)




                                                                                                                                             Volume Flow (m³/s)
                                                         50
                                                                                                                                                                                   0
                                                         40

                                                         30                                                                                                       -200

                                                         20
                                                                                                                                                                  -400
                                                         10                       Exp (Based On Efficiency)                                                                                      Exp (Loop 214)
                                                                                  FDS (HRR)                                                                                                      FDS (214-VF)
                                                          0                                                                                                       -600
                                                              0       5      10       15     20           25          30         35                                                     0        5          10                        15     20                                        25   30         35
                                                                                     Time (min)                                                                                                                                      Time (min)

                                                                                                    FDS-6.8.0-1090-gdda77db-master                                                                                                                                        FDS-6.8.0-1090-gdda77db-master
                                            800
                                                                                                                                                                                   8
                                                                  Test 624B; Ceiling Jet Temperature                                                                                         Test 624B; Ceiling Jet Velocity
                                                                                                                                                                                   6
                                            600
                                                                                                                                                                                   4
                     Temperature (°C)




                                                                                                                                                                  Velocity (m/s)
                                                                                                              Exp (TINC305H)                                                       2
                                            400                                                               FDS (305-T-H2)
                                                                                                                                                                                   0

                                            200                                                                                                                                    -2

                                                                                                                                                                                   -4            Exp (TINC305H)
                                                                                                                                                                                                 FDS (305-U-H2)
                                                          0                                                                                                                        -6
                                                              0       5      10       15     20           25          30         35                                                     0        5          10                        15     20                                        25   30         35
                                                                                     Time (min)                                                                                                                                      Time (min)


                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
               30
                                                     Test 624B
                                                     FDS red; Exp black
               20
  Time (min)




               10
                                                                                                                                                                                                            50
                                                                                                                                                                                            50


                                                                                                                                                                                                                                 50 50
                     0


                                                                                                                                                                                                                                           FDS-6.8.0-1090-gdda77db-master
                     8
                                                     Test 624B
                                                                                                                                                                                                                                 600
                                                     Time: 3 min
                                                                                                                                                                                                                                           0




                     6
                                                                                                                                                                                                                                         40




                                                     HRR: 56.2 MW
                                                                                                                                                                                                                                           0




                                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                                                  20
                                                                                                                                                                                                                                          40
        Height (m)




                                                                                                                                                                                                                                                                         100




                                                     FDS red; Exp black
                                                                                                                                                                                                                  100




                     4
                                                                                                                                                                                                                   100




                                                                                                                                                                                                       50                                              0
                                                                                                                                                                                                                                                    20
                                                                                                                                                                                                             50
                                                                                                                                                                                                                     00 00 400
                                                                                                                                                                                                                     40 200




                     2
                                                                                                                                                                                                                                                       100




                                                                                                                                                                                                                                                           10
                                                                                                                                                                                                                                                                               50 00




                                                                                                                                                                                                                                                              0
                                                                                                                                                                                                                    860




                                                                                                                                                                                                                                               50




                                                                                                                                                                                                                                                                                 1




                                                                                                                                                                                                                                          50

                     0
                              0                                       100                200                    300                400                                             500                  600                                                        700                      800            854
                                                                                                                                Tunnel Length (m)


Figure 7.83: Summary of Memorial Tunnel Test 624B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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                                                                                          FDS-6.8.0-1090-gdda77db-master                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                              150                                                                                                         400
                                                                                                                                                                                                                                            Exp (Loop 214)
                                                        Test 625B: Heat Release Rate                                                                                              Test 625B; Volume Flow                                    FDS (214-VF)
                                                                                                                                                          200
                     Heat Release Rate (MW)




                                                                                                                                   Volume Flow (m³/s)
                                              100
                                                                                                                                                                         0


                                                                                                                                                        -200
                                               50

                                                                                                                                                        -400
                                                                        Exp (Based On Efficiency)
                                                                        FDS (HRR)
                                                0                                                                                                       -600
                                                    0       5      10         15     20         25         30          35                                                     0       5      10             15     20                     25         30          35
                                                                             Time (min)                                                                                                                    Time (min)

                                                                                          FDS-6.8.0-1090-gdda77db-master                                                                                                            FDS-6.8.0-1090-gdda77db-master
                                              600
                                                                                                                                                                         8
                                                        Test 625B; Ceiling Jet Temperature                                                                                        Test 625B; Ceiling Jet Velocity
                                              500
                                                                                                                                                                         6

                                              400                                                                                                                        4
                     Temperature (°C)




                                                                                                                                                        Velocity (m/s)
                                                            Exp (TINC305H)                                                                                               2
                                              300           FDS (305-T-H2)
                                                                                                                                                                         0
                                              200
                                                                                                                                                                         -2
                                              100
                                                                                                                                                                         -4                                       Exp (TINC305H)
                                                                                                                                                                                                                  FDS (305-U-H2)
                                                0                                                                                                                        -6
                                                    0       5      10         15     20         25         30          35                                                     0       5      10             15     20                     25         30          35
                                                                             Time (min)                                                                                                                    Time (min)


                                                                                                                                                                                                                 FDS-6.8.0-1090-gdda77db-master
               30
                                              Test 625B
                                              FDS red; Exp black
               20
  Time (min)




               10
                                                                                                                                                                                                 50




                                                                                                                                                                                                           50

                     0                                                                                                                                                                                                         50




                                                                                                                                                                                                                 FDS-6.8.0-1090-gdda77db-master
                     8
                                              Test 625B
                     6                        Time: 20 min
                                              HRR: 90.4 MW
                                                                                                                                                                                                                800
        Height (m)




                                              FDS red; Exp black
                                                                                                                                                                                                                        600
                                                                                                                                                                                                                600




                                                                                                                                                                                                                               0
                                                                                                                                                                                                                              40




                     4
                                                                                                                                                                                                       0
                                                                                                                                                                                                    80




                     2
                                                                                                                                                                                               100100
                                                                                                                                                                                                  200
                                                                                                                                                                                              50 50
                                                                                                                                                                                               200




                                                                                                                                                                                                                      400

                     0
                                 0                           100               200                   300                 400                                             500                600                               700                     800            854
                                                                                                                      Tunnel Length (m)


Figure 7.84: Summary of Memorial Tunnel Test 625B. The measured and specified heat release rates are shown in the
upper left figure. The measured and predicted volume flows through the North Portal are shown in the upper right.
Note that a positive value denotes a flow direction from south to north, against the direction of the fan flow. The
Ceiling Jet Temperature shown in the left figure of the second row is taken near the ceiling at Loops 305 and 306,
10 m and 30 m uphill of the fire. The Ceiling Jet Velocity, second row right, is taken near the ceiling at Loop 305,
10 m uphill of the fire. The third row figure indicates the location of the 50 ◦ C near-ceiling temperature as a function
of time. The last plot displays measured and predicted temperature contours along the vertical centerline plane.




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    The plots on the following pages show the results of the transverse ventilation cases. Only the extent of
the back-layering is shown.




                                                    450
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                                                                                                                                           FDS-6.8.0-1049-g2af029c-master
               30
                        Test 101CR
                        Full Transverse Ventilation
               20
  Time (min)



                        FDS red; Exp black




                                                                                                                                                50
                                                                                                            50



               10
                                                                                                                                                     50


                                                                                                                      50
                0
                    0                100              200    300      400                        500                       600                            700     800       854
                                                                   Tunnel Length (m)

                                                                                                                                           FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                 50
                        Test 102                                                                                                      50

                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                       50
                                                                                                            50
                0
                    0                100              200    300      400                        500                       600                            700     800       854
                                                                   Tunnel Length (m)

                                                                                                                                           FDS-6.8.0-1049-g2af029c-master
               30
                        Test 102R1
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                       50

                0                                                                           50

                    0                100              200    300      400                        500                       600                            700     800       854
                                                                   Tunnel Length (m)

                                                                                                                                           FDS-6.8.0-1049-g2af029c-master
               30
                        Test 102R
                                                                                                            50




                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                     50
                                                                                   50
                0
                    0                100              200    300      400                        500                       600                            700     800       854
                                                                   Tunnel Length (m)

                                                                                                                                           FDS-6.8.0-1049-g2af029c-master
               30
                                                                                                                                           50




                        Test 103
                                                                          50




                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                     50

                0                                                                                                50

                    0                100              200    300      400                        500                       600                            700     800       854
                                                                   Tunnel Length (m)


Figure 7.85: Back-layer, Full Transverse Ventilation, Sequence 1. The air is supplied by the south portal fans along
the entire length of the tunnel at road level on the west curb. Air is exhausted by the north portal fans along the entire
length of the tunnel through the east side ceiling vents.




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                                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                50
                        Test 104
                        Full Transverse Ventilation
               20
  Time (min)



                                                                        50
                        FDS red; Exp black

               10

                                                                                                          50
                0
                    0                100              200        300            400                     500              600                     700        800       854
                                                                             Tunnel Length (m)

                                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30                                                                                                              50

                        Test 105




                                                                                                                                     50
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                   50


                0                                                                                                   50

                    0                100              200        300            400                     500              600                     700        800       854
                                                                             Tunnel Length (m)

                                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30
                        Test 106
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                    50

                0                                                                                                        50

                    0                100              200        300            400                     500              600                     700        800       854
                                                                             Tunnel Length (m)

                                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30

                                                                                                                                           50
                        Test 107
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black
                                                                                              50
                                                                                         50




               10

                                                                               50
                                                                                                               50
                0
                    0                100              200        300            400                     500              600                     700        800       854
                                                                             Tunnel Length (m)

                                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30
                        Test 108
                        Full Transverse Ventilation
                                                                                                                                    50




               20
                                                                                                                                            50
  Time (min)




                        FDS red; Exp black

               10
                                                            50

                                                                                                   50
                0
                    0                100              200        300            400                     500              600                     700        800       854
                                                                             Tunnel Length (m)


Figure 7.86: Back-layer, Full Transverse Ventilation, Sequence 1. The air is supplied by the south portal fans along
the entire length of the tunnel at road level on the west curb. Air is exhausted by the north portal fans along the entire
length of the tunnel through the east side ceiling vents.




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                                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                                  50
                                                                                 50
                        Test 109
                        Full Transverse Ventilation
               20
  Time (min)



                        FDS red; Exp black




                                                                  50
               10

                                                                                             50

                0                                                                                                       50

                    0                100              200         300                         400               500                    600                         700         800       854
                                                                                           Tunnel Length (m)

                                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 110




                                                                                                                                             50
                        Full Transverse Ventilation
               20
  Time (min)




                                                                            50




                                                                                                                                                              50
                        FDS red; Exp black
                                                            50


               10


                0                                                                                                            50

                    0                100              200         300                         400               500                    600                         700         800       854
                                                                                           Tunnel Length (m)

                                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 111
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                             50

                                                                                                                                  50
                0
                    0                100              200         300                         400               500                    600                         700         800       854
                                                                                           Tunnel Length (m)

                                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30                                                                                               50 50
                                                                                                                                                        50

                        Test 112A
                        Full Transverse Ventilation                                                                                                           50
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                 50


                0                                                                                                                      50

                    0                100              200         300                         400               500                    600                         700         800       854
                                                                                           Tunnel Length (m)

                                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 113A
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black
                                                                       50             50
                                                                                                                                                              50
               10
                                                                                                                                                   50




                0
                    0                100              200         300                         400               500                    600                         700         800       854
                                                                                           Tunnel Length (m)


Figure 7.87: Back-layer, Full Transverse Ventilation, Sequence 1. The air is supplied by the south portal fans along
the entire length of the tunnel at road level on the west curb. Air is exhausted by the north portal fans along the entire
length of the tunnel through the east side ceiling vents.




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                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 115A
                        Full Transverse Ventilation
               20
  Time (min)



                        FDS red; Exp black

               10
                                                                            50




                                                                                                                   50
                                                                                                                             50
                                                            50


                0                                                                                  50

                    0                100              200         300      400               500             600                  700          800       854
                                                                        Tunnel Length (m)

                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 126B
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                 50

                0                                                                                       50

                    0                100              200         300      400               500             600                  700          800       854
                                                                        Tunnel Length (m)

                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 126BR1
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                      50      50
                0
                    0                100              200         300      400               500             600                  700          800       854
                                                                        Tunnel Length (m)

                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30

                                                                                                                            50
                        Test 128B
                        Full Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                            50

                0                                                                                            50

                    0                100              200         300      400               500             600                  700          800       854
                                                                        Tunnel Length (m)


Figure 7.88: Back-layer, Full Transverse Ventilation, Sequence 1. The air is supplied by the south portal fans along
the entire length of the tunnel at road level on the west curb. Air is exhausted by the north portal fans along the entire
length of the tunnel through the east side ceiling vents.




                                                                          454
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                                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                                                                                                                                            50
                        Test 202




                                                                        50




                                                                                               50
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)



                        FDS red; Exp black

               10


                0
                    0                100                200       300                400               500                  600                          700             800       854
                                                                                  Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                        Test 203
                        Partial Transverse Exhaust Ventilation




                                                                                                                                                 50
               20
  Time (min)




                        FDS red; Exp black

                                                                             50
               10

                                                                                                       50

                0
                    0                100                200       300                400               500                  600                          700             800       854
                                                                                  Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                        Test 205                                                     50
                                50
                        Partial Transverse Exhaust Ventilation




                                                                                                                                       50
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                  50




                                                                                                                                                         50
                                                                                                                       50
                0
                    0                100                200       300                400               500                  600                          700             800       854
                                                                                  Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                 50
                                                                                                                                       50

                                      50
                        Test 207A                                                              50


                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                                                                 50

                                                                                                                  50

                0
                    0                100                200       300                400               500                  600                          700             800       854
                                                                                  Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                                                                                                                                            50

                        Test 208A
                                                                                          50




                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                             50
                0
                    0                100                200       300                400               500                  600                          700             800       854
                                                                                  Tunnel Length (m)


Figure 7.89: Back-layer, Partial Transverse Exhaust Ventilation, Sequence 3. The air is exhausted at the ceiling using
both the north and south portal fans.




                                                                                    455
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                                                                                                                                                      FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                                50
                        Test 210
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)



                        FDS red; Exp black

               10

                                                                                                             5050
                0
                    0                100                200           300                400               500               600                               700           800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                                     50
                        Test 212
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10


                                                                                                                         50 50                            50
                0
                    0                100                200           300                400               500               600                               700           800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                                50
                        Test 214A
                        Partial Transverse Exhaust Ventilation




                                                                                                                                                50
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                 50

                0                                                                                                   50

                    0                100                200           300                400               500               600                               700           800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1049-g2af029c-master
               30
                        Test 215A
                        Partial Transverse Exhaust Ventilation
                                                                                                                                      50




               20
  Time (min)




                                                                            50
                        FDS red; Exp black
                                                                                                                                            50




               10
                                                                 50


                0                                                                                            50

                    0                100                200           300                400               500               600                               700           800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1049-g2af029c-master
               30
                        Test 216A                                                                                                50


                        Partial Transverse Exhaust Ventilation
                                                                                                                                           50




               20
  Time (min)




                        FDS red; Exp black                                                    50




               10

                                                                                                             50
                0
                    0                100                200           300                400               500               600                               700           800       854
                                                                                      Tunnel Length (m)


Figure 7.90: Back-layer, Partial Transverse Exhaust Ventilation, Sequence 3. The air is exhausted at the ceiling using
both the north and south portal fans.




                                                                                        456
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                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30
                        Test 217A
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)



                        FDS red; Exp black
                                                                                                                         50


               10                                                                                                  50




                                                                                                                                               50
                                                                                                                                          50



                                                                                                         50         50
                0
                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)

                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30                                                                              50


                        Test 218B




                                                                                                                                     50
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                              50
                0                                                                                                              50

                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)

                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30
                        Test 247B
                                                                                                                                                     50
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10




                                                                                                                                                                     50
                                                                                                    50




                0
                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)

                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                                              50

                        Test 248B
                        Partial Transverse Exhaust Ventilation                                                                                            50
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                               50

                                                                                                              50
                0
                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)

                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30
                                                                                                                                     50




                        Test 249B
                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                               50
                0                                                                                                             50

                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)

                                                                                                                                               FDS-6.8.0-1049-g2af029c-master
               30
                                                                                                                                     50




                        Test 252B
                        Partial Transverse Exhaust Ventilation
               20
                                                                                        50
  Time (min)




                        FDS red; Exp black                                   50




               10

                                                                                   50

                0
                    0                100                200       300      400                500                              600                                  700   800   854
                                                                        Tunnel Length (m)
                                                                          457
Figure 7.91: Back-layer, Partial Transverse Exhaust Ventilation, Sequence 3. The air is exhausted at the ceiling using
both the north and south portal fans.
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                                                                                                                                                             FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                                 50
                                                                               50
                        Test 223




                                                                                                                                                       50
                        Partial Transverse Exhaust 50Ventilation
               20
  Time (min)



                        FDS red; Exp black

               10

                                                                                                                50
                                                                                                                     50
                0
                    0                 100                200             300                 400               500                          600                            700        800       854
                                                                                          Tunnel Length (m)

                                                                                                                                                             FDS-6.8.0-1049-g2af029c-master
               30
                        Test 226                                   50
                                                                         50
                        Partial Transverse Exhaust Ventilation                                                                                              50
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                                                                 50
               10

                                                                                                                          50 50
                0
                    0                 100                200             300                 400               500                          600                            700        800       854
                                                                                          Tunnel Length (m)

                                                                                                                                                             FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                                                           50
                                                                                                                                                                 50

                        Test 227A                                                   50


                        Partial Transverse Exhaust Ventilation
               20




                                                                                                                               50
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                                                                                           50
                                                                                                                                                                                      50
                                                                                                                          50
                0
                    0                 100                200             300                 400               500                          600                            700        800       854
                                                                                          Tunnel Length (m)

                                                                                                                                                             FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                      50              50


                        Test 244B                                                                                                 50
                                                                                                                                                                      50

                        Partial Transverse Exhaust Ventilation
               20
  Time (min)




                        FDS red; Exp black                                                                                                                                            50




               10
                                                                                         50

                                                                                                        50


                0
                    0                 100                200             300                 400               500                          600                            700        800       854
                                                                                          Tunnel Length (m)


Figure 7.92: Back-layer, Partial Transverse Supply Ventilation, Sequences 4 and 5. For Sequence 4, the air is supplied
at the roadway along the west wall. For Sequence 5, the air is supplied at the ceiling.




                                                                                              458
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                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 229
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)



                        FDS red; Exp black




                                                                                                                                                                        50
               10
                                                                                                                                                                       50

                                                                                                   50         50
                0
                    0                100              200          300      400               500                            600                      700              800         854
                                                                         Tunnel Length (m)

                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                                50


                        Test 230
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                                                  50




                                                                                                                                                                             50
               10

                                                                                                         50        50
                0
                    0                100              200          300      400               500                            600                      700              800         854
                                                                         Tunnel Length (m)

                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 231                                                                                                            50




                                                                                                                                                                       50
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black


                                                                                                        50
               10

                                                                                                         50
                0
                    0                100              200          300      400               500                            600                      700              800         854
                                                                         Tunnel Length (m)

                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 233                                                                                                   50

                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                        50




                                                                                                                                                             50


                                                                                              50

                0
                    0                100              200          300      400               500                            600                      700              800         854
                                                                         Tunnel Length (m)

                                                                                                                                        FDS-6.8.0-1049-g2af029c-master
               30
                        Test 235                                                                                                                                              50

                        Two-Zone Partial Transverse Ventilation                                                                                             50

               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                        50                                                   50
                                                                                              50


                0
                    0                100              200          300      400               500                            600                      700              800         854
                                                                         Tunnel Length (m)


Figure 7.93: Back-layer, Two-Zone Partial Transverse Ventilation, Sequence 6. Air is supplied through the ceiling in
the northern half of the tunnel and exhausted through the ceiling in the southern half.




                                                                           459
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                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                      5     0


                        Test 236                                                                                                        50

                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)



                        FDS red; Exp black

               10
                                                                                             50

                                                                                                        50
                0
                    0                100              200          300      400                   500                       600                  700                  800   854
                                                                         Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                        Test 238A
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10




                                                                                                                                                            50
                                                                                                                                                                 50
                                                                            50
                                                                                                             50
                0
                    0                100              200          300      400                   500                       600                  700                  800   854
                                                                         Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                        Test 239
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                        50        50                                                             50
                                                                                                                                                       50
                0
                    0                100              200          300      400                   500                       600                  700                  800   854
                                                                         Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30                                                                                                                                50


                        Test 245B                                                                                                 50

                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black                                                                             50




               10
                                                                                                       50


                0
                    0                100              200          300      400                   500                       600                  700                  800   854
                                                                         Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1049-g2af029c-master
               30
                        Test 246B
                                                                                                                                       50
                        Two-Zone Partial Transverse Ventilation                                                                                   50

               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                  50




                                                                                                                  50
                0
                    0                100              200          300      400                   500                       600                  700                  800   854
                                                                         Tunnel Length (m)


Figure 7.94: Back-layer, Two-Zone Partial Transverse Ventilation, Sequence 6. Air is supplied through the ceiling in
the northern half of the tunnel and exhausted through the ceiling in the southern half.




                                                                           460
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                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30




                                                                                                                                50
                                                                                                          50
                        Test 250B
                        Two-Zone Partial Transverse Ventilation




                                                                                                                           50
               20
  Time (min)



                        FDS red; Exp black

               10




                                                                                       50
                0
                    0                100              200          300      400               500              600          700             800       854
                                                                         Tunnel Length (m)

                                                                                                                     FDS-6.8.0-1049-g2af029c-master
               30
                        Test 251B
                        Two-Zone Partial Transverse Ventilation
               20
  Time (min)




                        FDS red; Exp black




                                                                                                    50
               10




                                                                                                         50
                0
                    0                100              200          300      400               500              600          700             800       854
                                                                         Tunnel Length (m)


Figure 7.95: Back-layer, Two-Zone Partial Transverse Ventilation, Sequence 6. Air is supplied through the ceiling in
the northern half of the tunnel and exhausted through the ceiling in the southern half.




                                                                           461
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                                                                                                                                                     FDS-6.8.0-1053-g1c30aa4-master
               30




                                                                                                                                                                50
                        Test 301A                                                                                                   50


                        Partial Transverse Ventilation with Single Point Extraction                              50

               20
  Time (min)



                        FDS red; Exp black

               10

                                                                                                                     50
                0
                    0                 100               200                300           400                   500                            600                          700   800   854
                                                                                      Tunnel Length (m)

                                                                                                                                                     FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 302A
                        Partial Transverse Ventilation with Single Point Extraction




                                                                                                                                                                          50
               20                                                                                                                                               50
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                               50



                                                                                                                          50
                0
                    0                 100               200                300           400                   500                            600                          700   800   854
                                                                                      Tunnel Length (m)

                                                                                                                                                     FDS-6.8.0-1053-g1c30aa4-master
               30                                                                                                                                               50


                        Test 303A
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                    50
               10
                                                                                                          50




                0
                    0                 100               200                300           400                   500                            600                          700   800   854
                                                                                      Tunnel Length (m)

                                                                                                                                                     FDS-6.8.0-1053-g1c30aa4-master
               30


                                                                                                                                                                     50
                        Test 305A                                                                                                                     50



                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                 50




                                                                                                                               50
                0
                    0                 100               200                300           400                   500                            600                          700   800   854
                                                                                      Tunnel Length (m)

                                                                                                                                                     FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 306A                                                                                                               50
                                                                                                                                                           50




                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                                               50        50

                0
                    0                 100               200                300           400                   500                            600                          700   800   854
                                                                                      Tunnel Length (m)


Figure 7.96: Back-layer, Partial Transverse Ventilation with Single Point Extraction, Sequence 8. Air exhausted
through the ceiling, which includes an extra large port.




                                                                                        462
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                                                                                                                                                                    FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 309A
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)



                        FDS red; Exp black




                                                                                                                                                                          50
                                                                                                                                                         50
               10
                                                                                  50


                                                                                                                50
                0
                    0                 100               200                300                 400                   500                       600                             700         800       854
                                                                                            Tunnel Length (m)

                                                                                                                                                                    FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 312A
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                                         50
                                                                                                                                                              50


               10
                                                                                  50



                                                                                                                                50
                0
                    0                 100               200                300                 400                   500                       600                             700         800       854
                                                                                            Tunnel Length (m)

                                                                                                                                                                    FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 313A
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                                               50
                                                                                                                                                          50
               10
                                                                                       50

                                                                                                                      50
                0
                    0                 100               200                300                 400                   500                       600                             700         800       854
                                                                                            Tunnel Length (m)

                                                                                                                                                                    FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 338B
                                                                                                                                          50




                                                                                                                                                    50

                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                                           50
                0
                    0                 100               200                300                 400                   500                       600                             700         800       854
                                                                                            Tunnel Length (m)

                                                                                                                                                                    FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 339B
                        Partial Transverse Ventilation with Single Point Extraction
               20                                                                                                                                                    50
  Time (min)




                        FDS red; Exp black
                                                                                                       50


               10

                                                                                                                                     50

                                                                                                                                               50
                0                                                                                                                                              50

                    0                 100               200                300                 400                   500                       600                             700         800       854
                                                                                            Tunnel Length (m)


Figure 7.97: Back-layer, Partial Transverse Ventilation with Single Point Extraction, Sequence 8. Air exhausted
through the ceiling, which includes an extra large port.




                                                                                              463
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                                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 340B                                                                                                     50




                                                                                                                                                 50
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)



                        FDS red; Exp black




                                                                                                                      50
               10

                                                                                                                           50
                0
                    0                 100               200                300           400               500                        600                700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 341B                                                                                                50


                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black




                                                                                                                                                  50
               10

                                                                                                                50
                                                                                                                  50
                0
                    0                 100               200                300           400               500                        600                700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 342B
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black
                                                                                                                 50


               10

                                                                                                                50
                0
                    0                 100               200                300           400               500                        600                700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30                                                                                                                           50


                        Test 343B
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                           50
                                                                                                           50
                0
                    0                 100               200                300           400               500                        600                700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 344B                                                                                                                        50
                                                                                                                                                              50




                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                           50




                                                                                                                            50
                0
                    0                 100               200                300           400               500                        600                700             800       854
                                                                                      Tunnel Length (m)


Figure 7.98: Back-layer, Partial Transverse Ventilation with Single Point Extraction, Sequence 8. Air exhausted
through the ceiling, which includes an extra large port.




                                                                                        464
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                                                                                                                                                      FDS-6.8.0-1053-g1c30aa4-master
               30




                                                                                                                                                 50
                        Test 345B
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)



                        FDS red; Exp black

               10

                                                                                                            50
                                                                                                                       50
                0
                    0                 100               200                300           400               500                             600               700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1053-g1c30aa4-master
               30                                                                                                           50

                        Test 346B
                        Partial Transverse Ventilation with Single Point Extraction
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                           50
                0
                    0                 100               200                300           400               500                             600               700             800       854
                                                                                      Tunnel Length (m)


Figure 7.99: Back-layer, Partial Transverse Ventilation with Single Point Extraction, Sequence 8. Air exhausted
through the ceiling, which includes an extra large port.



                                                                                                                                                      FDS-6.8.0-1053-g1c30aa4-master
               30




                                                                                                                                                 50
                        Test 314
                        Point Supply Operation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                                      50




                                                                                                                                                                             50
                                                                                                                 50

                0
                    0                 100               200                300           400               500                             600               700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 316
                        Point Supply Operation
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                                           50
                                                                                                                                                        50                   50
                                                                                                                                 50    50
                0
                    0                 100               200                300           400               500                             600               700             800       854
                                                                                      Tunnel Length (m)

                                                                                                                                                      FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 321A
                        Point Supply Operation
               20
  Time (min)




                        FDS red; Exp black
                                                                                      50




               10

                                                                                                                                                                             50
                                                                                                                  50
                0
                    0                 100               200                300           400               500                             600               700             800       854
                                                                                      Tunnel Length (m)


 Figure 7.100: Back-layer, Point Supply Operation, Sequence 9. Air is supplied through a single large ceiling vent.


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                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 315A
                                                                                   50
                        Point Supply Operation
               20
  Time (min)



                        FDS red; Exp black

               10




                                                                                                                                                  50
                                                                                              50
                                                                                                             50
                0
                    0                100         200    300       400                   500                            600                       700       800     854
                                                               Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30




                                                                                                                                 50
                        Test 317A
                        Point Supply Operation
               20                                                            50
  Time (min)




                        FDS red; Exp black

               10

                                                                                                   50                                            50
                                                                                                                       50
                0
                    0                100         200    300       400                   500                            600                       700       800     854
                                                               Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 318A
                        Point Supply Operation
               20                                                                                       50
  Time (min)




                        FDS red; Exp black

               10

                                                                             50         50
                0
                    0                100         200    300       400                   500                            600                       700       800     854
                                                               Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 319A
                        Point Supply Operation
               20
  Time (min)




                        FDS red; Exp black
                                                                                                                                      50



                                                                                                                                            50




               10
                                                              50                         50




                0
                    0                100         200    300       400                   500                            600                       700       800     854
                                                               Tunnel Length (m)

                                                                                                                                  FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 320A
                        Point Supply Operation
               20
  Time (min)




                        FDS red; Exp black

               10                                                                                             50



                                                                                                                                                      50
                                                                                                                  50
                0                                                                                                           50   50

                    0                100         200    300       400                   500                            600                       700       800     854
                                                               Tunnel Length (m)


Figure 7.101: Back-layer, Point Exhaust Operation, Sequence 10. Air is exhausted through a single large ceiling vent.




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                                                                                                                                                                 FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 401A
                        Partial Transverse Ventilation with Oversize Exhaust Ports
               20




                                                                                                                                                           50
                                                                                                                                                           50
  Time (min)



                        FDS red; Exp black

               10
                                                                                     50




                                                                                                                      50
                0
                    0                100                200               300           400               500                                   600                      700            800       854
                                                                                     Tunnel Length (m)

                                                                                                                                                                 FDS-6.8.0-1053-g1c30aa4-master
               30                                                                                                                                     50

                        Test 403A




                                                                                                                                                            50
                        Partial Transverse Ventilation with Oversize Exhaust Ports
               20
  Time (min)




                        FDS red; Exp black

               10

                                                                                                                 50
                                                                                                                50
                0
                    0                100                200               300           400               500                                   600                      700            800       854
                                                                                     Tunnel Length (m)

                                                                                                                                                                 FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 407B




                                                                                                                                                           50
                                                                                                            50


                        Partial Transverse Ventilation with Oversize Exhaust Ports
               20
  Time (min)




                                                                                                                                                                 50
                        FDS red; Exp black

               10

                                                                                                                                50
                0
                    0                100                200               300           400               500                                   600                      700            800       854
                                                                                     Tunnel Length (m)

                                                                                                                                                                 FDS-6.8.0-1053-g1c30aa4-master
               30                                                                                                                              50
                                                                                                                                                           50



                        Test 408B
                        Partial Transverse Ventilation with Oversize Exhaust Ports
               20
  Time (min)




                        FDS red; Exp black
                                                                                                                           50
                                                                                                                                     50


               10

                                                                                                           50    50
                0
                    0                100                200               300           400               500                                   600                      700            800       854
                                                                                     Tunnel Length (m)

                                                                                                                                                                 FDS-6.8.0-1053-g1c30aa4-master
               30
                        Test 404A
                                                                                                                                                            50

                                                                                                                                                                  50




                                                                                                50
                        Partial Transverse Ventilation with Oversize Exhaust Ports
               20
  Time (min)




                        FDS red; Exp black

               10
                                                                                                                                          50


                0
                    0                100                200               300           400               500                                   600                      700            800       854
                                                                                     Tunnel Length (m)


Figure 7.102: Back-layer, Partial Transverse Ventilation with Oversize Exhaust Ports, Sequence 13 and 14. Air is
exhausted through ceiling vents and extra large openings.




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7.4.3   FHWA Tunnel Experiments
The figures on the following pages summarize the results of 11 simulations of reduced-scale tunnel fire
experiments conducted at the Institute für Angewandte Brandschutzforschung (IFAB), Germany. For each
experiment, the measured heat release rate (HRR) is shown. The HRR was measured using a load cell and
using oxygen consumption calorimetry. When available, the load cell data was used in the simulations. The
plots make clear which measurement was used.
    The plots to the right of each figure indicate where a near-ceiling temperature of 50 ◦ C is located, as
interpolated from the measurements made just below the ceiling. The fire location is designated with the
vertical dashed line. The ventilation flow is from left to right; thus, backlayering is indicated when the
location of the 50 ◦ C contour falls to the left of the dashed vertical line.




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                                                                       FDS-6.8.0-153-g1104284-master                                                                                      FDS-6.8.0-153-g1104284-master
                         3000                                                                                                  15
                                    Test 07: Heat Release Rate                                                                                                               50


                         2500
Heat Release Rate (kW)


                         2000                                                                                                  10




                                                                                                                  Time (min)
                                        Exp (HRR-scale)
                         1500           Exp (HRR-O2)
                                        FDS (HRR)                                                                                                                                         50
                                                                                                                                                                                                                        50




                         1000                                                                                                   5
                                                                                                                                        Test 7
                                                                                                                                        FDS red; Exp black
                          500

                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                      10                       15
                                                          Time (min)                                                                                                  Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                      FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 08: Heat Release Rate

                         1500
Heat Release Rate (kW)




                                                                                                                               10




                                                                                                                  Time (min)
                                                                                                                                                                                                     50

                                        Exp (HRR-scale)
                         1000           Exp (HRR-O2)
                                        FDS (HRR)
                                                                                                                                                                                          50                       50


                                                                                                                                5
                                                                                                                                        Test 8
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                      10                       15
                                                          Time (min)                                                                                                  Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                      FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 09: Heat Release Rate

                         1500
Heat Release Rate (kW)




                                                                                                                               10
                                                                                                                  Time (min)




                                                                                                                                                                                     50



                                        Exp (HRR-scale)
                         1000
                                                                                                                                                                 50




                                        Exp (HRR-O2)
                                        FDS (HRR)
                                                                                                                                                                                                    50        50


                                                                                                                                5
                                                                                                                                        Test 9
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                      10                       15
                                                          Time (min)                                                                                                  Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                      FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 10: Heat Release Rate

                         1500
Heat Release Rate (kW)




                                                                                                                               10
                                                                                                                  Time (min)




                                        Exp (HRR-scale)                                                                                                50



                         1000           Exp (HRR-O2)                                                                                                                  50




                                        FDS (HRR)                                                                                                 50




                                                                                                                                5                                                              50        50

                                                                                                                                        Test 10
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                      10                       15
                                                          Time (min)                                                                                                  Position (m)



                                                  Figure 7.103: Summary of FHWA Tunnel experiments 7, 8, 9 and 10.

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                                                                       FDS-6.8.0-153-g1104284-master                                                                                                    FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 11: Heat Release Rate

                         1500
Heat Release Rate (kW)


                                                                                                                               10




                                                                                                                  Time (min)
                                                                                                                                                                                                                    50



                                        Exp (HRR-scale)
                         1000           Exp (HRR-O2)
                                        FDS (HRR)                                                                                                            50




                                                                                                                                5                                                                         50
                                                                                                                                                                                                                                    50


                                                                                                                                        Test 11
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                                 10                                 15
                                                          Time (min)                                                                                                    Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                                    FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 13: Heat Release Rate                                                                                                           50
                                                                                                                                                                              50


                                                                                                                                                                                             50




                         1500
Heat Release Rate (kW)




                                                                                                                                                                                                                              50

                                                                                                                                                                                                                              50



                                                                                                                               10                                                                                                  50




                                                                                                                  Time (min)
                                                                                                                                                                                                                                        50
                                                                                                                                                                         50



                                        Exp (HRR-scale)




                                                                                                                                                             50
                         1000           Exp (HRR-O2)                                                                                                                               50


                                                                                                                                                                                                   50


                                        FDS (HRR)

                                                                                                                                5                                                                         50


                                                                                                                                        Test 13                                                                50


                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                                 10                                 15
                                                          Time (min)                                                                                                    Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                                    FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 14: Heat Release Rate

                         1500
Heat Release Rate (kW)




                                                                                                                               10                                                                              50
                                                                                                                  Time (min)




                                                                                                                                                                                                                    50



                                        Exp (HRR-scale)
                         1000           Exp (HRR-O2)
                                        FDS (HRR)

                                                                                                                                5                                                                                                  50

                                                                                                                                                                                                                                   50


                                                                                                                                        Test 14
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                                 10                                 15
                                                          Time (min)                                                                                                    Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                                    FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 15: Heat Release Rate

                         1500
                                                                                                                                                                                        50
Heat Release Rate (kW)




                                                                                                                               10                                  50
                                                                                                                  Time (min)




                                        Exp (HRR-scale)                                                                                                           50



                         1000           Exp (HRR-O2)
                                        FDS (HRR)
                                                                                                                                                                                                                         50                  50

                                                                                                                                                                                                                     50


                                                                                                                                5
                                                                                                                                        Test 15
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                        5                                                 10                                 15
                                                          Time (min)                                                                                                    Position (m)



                                               Figure 7.104: Summary of FHWA Tunnel experiments 11, 13, 14 and 15.

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                                                                       FDS-6.8.0-153-g1104284-master                                                                                              FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 19: Heat Release Rate

                         1500
Heat Release Rate (kW)


                                                                                                                               10




                                                                                                                                                             50
                                                                                                                  Time (min)
                                        Exp (HRR-scale)




                                                                                                                                                                                   50
                         1000           Exp (HRR-O2)
                                        FDS (HRR)

                                                                                                                                5                                                                  50

                                                                                                                                                                                                        50


                                                                                                                                        Test 19
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                         5                                          10                           15
                                                          Time (min)                                                                                                   Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                              FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 22: Heat Release Rate

                         1500                                                                                                                                             50
                                                                                                                                                                                             50
Heat Release Rate (kW)




                                                                                                                                                                              50


                                                                                                                               10




                                                                                                                  Time (min)
                                        Exp (HRR-scale)
                         1000           Exp (HRR-O2)
                                        FDS (HRR)
                                                                                                                                                                                                                       50


                                                                                                                                5                                                                            50



                                                                                                                                        Test 22
                          500
                                                                                                                                        FDS red; Exp black
                                                                                                                                                                                        50
                                                                                                                                                                                                                  50




                            0                                                                                                   0
                                0                   5                    10                            15                           0                         5                                          10                           15
                                                          Time (min)                                                                                                   Position (m)

                                                                       FDS-6.8.0-153-g1104284-master                                                                                              FDS-6.8.0-153-g1104284-master
                         2000                                                                                                  15
                                    Test 24: Heat Release Rate                                                                                                           50
                                                                                                                                                                              50
                                                                                                                                                                  50




                         1500
Heat Release Rate (kW)




                                                                                                                               10
                                                                                                                  Time (min)




                                        Exp (HRR-scale)
                         1000           Exp (HRR-O2)
                                        FDS (HRR)
                                                                                                                                                                                                                            50

                                                                                                                                                                                                                                 50



                                                                                                                                5
                                                                                                                                        Test 24
                          500
                                                                                                                                        FDS red; Exp black




                            0                                                                                                   0
                                0                   5                    10                            15                           0                         5                                          10                           15
                                                          Time (min)                                                                                                   Position (m)



                                                  Figure 7.105: Summary of FHWA Tunnel experiments 19, 22 and 24.




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Chapter 8

Gas Velocity

Gas velocity is often measured at compartment inlets and outlets as part of a global assessment of mass and
energy conservation. This chapter contains measurements of gas velocity and related quantities.


8.1    ATF Corridor Experiments
Comparisons of bi-directional velocity measurements with FDS predictions for the ATF Corridor experi-
ments are presented on the following pages. Velocity measurements were made at four locations, two on the
first level (Trees H and I) and two on the second level (Trees J and K). Shown are the upper-most and lower-
most probe for each vertical array. Typically there were four probes per tree, with the number 1 indicating
the upper-most probe.




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                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                               2
                                            ATF Corridors, 50 kW, Tree H                                                                                    ATF Corridors, 100 kW, Tree H
                         1.5                                                                                                             1.5

                                   1                                                                                                               1
 Velocity (m/s)




                                                                                                                 Velocity (m/s)
                                                                                   Exp (Vel_H01)                                                                                                   Exp (Vel_H01)
                                                                                   Exp (Vel_H04)                                                                                                   Exp (Vel_H04)
                         0.5                                                       FDS(H-01)
                                                                                                                                         0.5                                                       FDS(H-01)
                                                                                   FDS(H-04)                                                                                                       FDS(H-04)
                                   0                                                                                                               0

                   -0.5                                                                                                            -0.5

                                   -1                                                                                                              -1
                                        0            5          10                15                  20                                                0            5          10                15                  20
                                                            Time (min)                                                                                                      Time (min)

                                                                                                                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                                                                                                                                   2
                                                                                                                                                            ATF Corridors, 250 kW, Tree H
                                                                                                                                         1.5

                                                                                                                                                   1




                                                                                                                 Velocity (m/s)
                                                                                                                                                                                                   Exp (Vel_H01)
                                                                                                                                                                                                   Exp (Vel_H04)
                                                                                                                                         0.5                                                       FDS(H-01)
                                                                                                                                                                                                   FDS(H-04)
                                                                                                                                                   0

                                                                                                                                   -0.5

                                                                                                                                                   -1
                                                                                                                                                        0            5          10                15                  20
                                                                                                                                                                            Time (min)

                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   3                                                                                                               3
                                            ATF Corridors, 500 kW, Tree H                                                                                   ATF Corridors, Pulsed HRR, Tree H
                                   2                                                                                                               2
                  Velocity (m/s)




                                                                                                                                  Velocity (m/s)




                                   1                                                                                                               1
                                                                                   Exp (Vel_H04)                                                                                                   Exp (Vel_H04)
                                                                                   FDS(H-04)                                                                                                       FDS(H-04)
                                   0                                                                                                               0


                                   -1                                                                                                              -1


                                   -2                                                                                                              -2
                                        0            5          10                15                  20                                                0            5          10                15                  20
                                                            Time (min)                                                                                                      Time (min)



                                                           Figure 8.1: ATF Corridors, gas velocity, first level, Location H.




                                                                                                           474
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                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                                 2
                                            ATF Corridors, 50 kW, Tree I                                                                                      ATF Corridors, 100 kW, Tree I
                         1.5                                                                                                               1.5

                                   1                                                                                                                 1
 Velocity (m/s)




                                                                                                                   Velocity (m/s)
                                                                                      Exp (Vel_I01)                                                                                                   Exp (Vel_I01)
                                                                                      Exp (Vel_I04)                                                                                                   Exp (Vel_I04)
                         0.5                                                          FDS(I-01)
                                                                                                                                           0.5                                                        FDS(I-01)
                                                                                      FDS(I-04)                                                                                                       FDS(I-04)
                                   0                                                                                                                 0

                   -0.5                                                                                                              -0.5

                                   -1                                                                                                                -1
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)

                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                                 2
                                            ATF Corridors, 240 kW, Tree I                                                                                     ATF Corridors, 250 kW, Tree I
                         1.5                                                                                                               1.5

                                   1                                                                                                                 1
 Velocity (m/s)




                                                                                                                   Velocity (m/s)
                                                                                      Exp (Vel_I01)                                                                                                   Exp (Vel_I01)
                                                                                      Exp (Vel_I04)                                                                                                   Exp (Vel_I04)
                         0.5                                                          FDS(I-01)
                                                                                                                                           0.5                                                        FDS(I-01)
                                                                                      FDS(I-04)                                                                                                       FDS(I-04)
                                   0                                                                                                                 0

                   -0.5                                                                                                              -0.5

                                   -1                                                                                                                -1
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)

                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   3                                                                                                                 3
                                            ATF Corridors, 500 kW, Tree I                                                                                     ATF Corridors, Pulsed HRR, Tree I
                                   2                                                                                                                 2
                  Velocity (m/s)




                                                                                                                                    Velocity (m/s)




                                   1                                                  Exp (Vel_I01)                                                  1                                                Exp (Vel_I01)
                                                                                      Exp (Vel_I04)                                                                                                   Exp (Vel_I04)
                                                                                      FDS(I-01)                                                                                                       FDS(I-01)
                                   0                                                  FDS(I-04)                                                      0                                                FDS(I-04)



                                   -1                                                                                                                -1


                                   -2                                                                                                                -2
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)



                                                            Figure 8.2: ATF Corridors, gas velocity, first level, Location I.




                                                                                                             475
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                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                                 2
                                            ATF Corridors, 50 kW, Tree J                                                                                      ATF Corridors, 100 kW, Tree J
                         1.5                                                                                                               1.5

                                   1                                                                                                                 1
 Velocity (m/s)




                                                                                                                   Velocity (m/s)
                                                                                      Exp (Vel_J01)                                                                                                   Exp (Vel_J02)
                                                                                      Exp (Vel_J04)                                                                                                   Exp (Vel_J04)
                         0.5                                                          FDS(J-01)
                                                                                                                                           0.5                                                        FDS(J-02)
                                                                                      FDS(J-04)                                                                                                       FDS(J-04)
                                   0                                                                                                                 0

                   -0.5                                                                                                              -0.5

                                   -1                                                                                                                -1
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)

                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                                 2
                                            ATF Corridors, 240 kW, Tree J                                                                                     ATF Corridors, 250 kW, Tree J
                         1.5                                                                                                               1.5

                                   1                                                                                                                 1
 Velocity (m/s)




                                                                                                                   Velocity (m/s)
                                                                                      Exp (Vel_J01)                                                                                                   Exp (Vel_J01)
                                                                                      Exp (Vel_J04)                                                                                                   Exp (Vel_J04)
                         0.5                                                          FDS(J-01)
                                                                                                                                           0.5                                                        FDS(J-01)
                                                                                      FDS(J-04)                                                                                                       FDS(J-04)
                                   0                                                                                                                 0

                   -0.5                                                                                                              -0.5

                                   -1                                                                                                                -1
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)

                                                                           FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   3                                                                                                                 3
                                            ATF Corridors, 500 kW, Tree J                                                                                     ATF Corridors, Pulsed HRR, Tree J
                                   2                                                                                                                 2
                  Velocity (m/s)




                                                                                                                                    Velocity (m/s)




                                   1                                                  Exp (Vel_J01)                                                  1                                                Exp (Vel_J01)
                                                                                      Exp (Vel_J04)                                                                                                   Exp (Vel_J04)
                                                                                      FDS(J-01)                                                                                                       FDS(J-01)
                                   0                                                  FDS(J-04)                                                      0                                                FDS(J-04)



                                   -1                                                                                                                -1


                                   -2                                                                                                                -2
                                        0            5           10                 15                  20                                                0            5          10                15                  20
                                                             Time (min)                                                                                                       Time (min)



                                                          Figure 8.3: ATF Corridors, gas velocity, second level, Location J.




                                                                                                             476
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                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                               2
                                            ATF Corridors, 50 kW, Tree K                                                                                    ATF Corridors, 100 kW, Tree K
                         1.5                                                                                                             1.5

                                   1                                                                                                               1
 Velocity (m/s)




                                                                                                                 Velocity (m/s)
                                                                                   Exp (Vel_K01)                                                                                                   Exp (Vel_K01)
                                                                                   Exp (Vel_K04)                                                                                                   Exp (Vel_K04)
                         0.5                                                       FDS(K-01)
                                                                                                                                         0.5                                                       FDS(K-01)
                                                                                   FDS(K-04)                                                                                                       FDS(K-04)
                                   0                                                                                                               0

                   -0.5                                                                                                            -0.5

                                   -1                                                                                                              -1
                                        0            5          10                15                  20                                                0            5          10                15                  20
                                                            Time (min)                                                                                                      Time (min)

                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   2                                                                                                               2
                                            ATF Corridors, 240 kW, Tree K                                                                                   ATF Corridors, 250 kW, Tree K
                         1.5                                                                                                             1.5

                                   1                                                                                                               1
 Velocity (m/s)




                                                                                                                 Velocity (m/s)
                                                                                   Exp (Vel_K01)                                                                                                   Exp (Vel_K01)
                                                                                   Exp (Vel_K04)                                                                                                   Exp (Vel_K04)
                         0.5                                                       FDS(K-01)
                                                                                                                                         0.5                                                       FDS(K-01)
                                                                                   FDS(K-04)                                                                                                       FDS(K-04)
                                   0                                                                                                               0

                   -0.5                                                                                                            -0.5

                                   -1                                                                                                              -1
                                        0            5          10                15                  20                                                0            5          10                15                  20
                                                            Time (min)                                                                                                      Time (min)

                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                   3                                                                                                               3
                                            ATF Corridors, 500 kW, Tree K                                                                                   ATF Corridors, Pulsed HRR, Tree K
                                   2                                                                                                               2
                  Velocity (m/s)




                                                                                                                                  Velocity (m/s)




                                   1                                               Exp (Vel_K01)                                                   1                                               Exp (Vel_K01)
                                                                                   Exp (Vel_K04)                                                                                                   Exp (Vel_K04)
                                                                                   FDS(K-01)                                                                                                       FDS(K-01)
                                   0                                               FDS(K-04)                                                       0                                               FDS(K-04)



                                   -1                                                                                                              -1


                                   -2                                                                                                              -2
                                        0            5          10                15                  20                                                0            5          10                15                  20
                                                            Time (min)                                                                                                      Time (min)



                                                         Figure 8.4: ATF Corridors, gas velocity, second level, Location K.




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8.2    Backward Facing Step
A snapshot the instantaneous velocity contours of the flow over a backward facing step is shown in Fig. 8.5.
The dimensions of the tunnel are given in Fig. 3.2. Virtual measurement devices are placed throughout the
channel to collect data relating to flow characteristics such as velocity, turbulence RMS velocity, and friction
velocity. These virtual measurement devices are placed into lines, four vertical and one horizontal, with a
device in the volumetric center of each grid cell. A vertical line device is placed within the inlet region at
a location of x = −3h, and three line devices are placed in the post-step region at locations of 4h, 6h, and
10h. The post-step vertical line devices are placed accordingly to sample the recirculation, reattachment,
and recovery regions. A horizontal line device is used to sample data directly adjacent to the bottom wall of
the channel in the post-step region (0h to 20h).




                            Figure 8.5: Instantaneous contours of velocity magnitude.

     The profile of the inlet streamwise velocity component, u(z), is specified using experimental data pro-
vided by Jovic and Driver [50], while the transverse components, v(z) and w(z), are set to zero. Turbulent
eddies are injected using the Synthetic Eddy Method of Jarrin [339]. Eddies are injected at random locations
in the bottom two inlets, advected with the flow over a distance equal to the maximum eddy length scale and
recycled at the inlet. The inlet maximum eddy length scale is 0.03 m, the number of eddies is 100, and the
RMS velocity is set to 0.5 m/s for the middle inlet and 1.0 m/s for the bottom inlet to match the measured
inlet data at x/h = −3 as closely as possible.
     The boundary conditions for velocity and pressure on the top of the domain are “mirror”, that is, zero
gradient. The spanwise boundaries are periodic. The outlet boundary is “open”.
     Figure 8.6 shows the longitudinal profiles of the friction coefficient (left) and the pressure coefficient
(right). The x/h location where C f crosses zero is the reattachment length, a key validation metric for this
flow. The measured value is approximately 6. Figure 8.7 shows the inlet (x/h = −3) and downstream mean
and covariance profiles.




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               10 -3                     FDS-6.8.0-1116-gd8b2bf4-master                                             FDS-6.8.0-1116-gd8b2bf4-master
      4                                                                              0.25
      3
                                                                                       0.2
      2
                                                                                     0.15
      1
  f
 C




                                                                                 p
      0                                                                                0.1




                                                                                 C
      -1
                                                       J&D                           0.05                                         J&D
      -2                                                h/ x =5                                                                    h/ x =5
                                                        h/ x =10                         0                                         h/ x =10
      -3
                                                        h/ x =20                                                                   h/ x =20
      -4                                                                             -0.05
           0            5          10             15                  20                     0       5        10             15                  20
                                   x/h                                                                        x/h


               Figure 8.6: Longitudinal profiles of (left) friction coefficient and (right) pressure coefficient.




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                                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
       3.5                                                                                              3.5
                 x/h =-3              x/h =4               x/h =6            x/h =10                                    x/h =-3                 x/h =4              x/h =6              x/h =10
         3                                                                                                 3

       2.5                                                                                              2.5

         2                                                                                                 2
 z/h




                                                                                                  z/h
       1.5                                                                                              1.5

         1                                                                                                 1

       0.5                                                                                              0.5

         0                                                                                                 0
                 0      0.5  1                                                                             -0.1      0     0.1
                     <u>/U 0                                                                                       <w>/U 0

                                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                     FDS-6.8.0-1116-gd8b2bf4-master
       3.5                                                                                              3.5
                     x/h =-3          x/h =4               x/h =6              x/h =10                              x/h =-3              x/h =4                 x/h =6            x/h =10
         3                                                                                                 3

       2.5                                                                                              2.5

         2                                                                                                 2
 z/h




       1.5                                                                                        z/h   1.5

         1                                                                                                 1

       0.5                                                                                              0.5

         0                                                                                                 0
             0        0.02     0.04                                                                            0     0.02 0.04
                 <uu>/U 2                                                                                          <ww>/U 2
                               0                                                                                               0
                                                                                                                              FDS-6.8.0-1116-gd8b2bf4-master
                                                     3.5
                                                                x/h =-3              x/h =4                    x/h =6              x/h =10
                                                       3

                                                     2.5

                                                       2
                                               z/h




                                                     1.5

                                                       1

                                                     0.5

                                                       0
                                                           0      0.02 0.04
                                                               -<uw>/U 20


Figure 8.7: Flow profiles for various grid resolutions. Symbols: –⋆–, h/δ z=5; –□–, h/δ z=10; –♢–, h/δ z=20; ◦, J&D
experimental data.




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8.3    Bryant Doorway Experiments
On the following page there are seven plots comparing the predicted and measured centerline velocity1
profiles in a doorway of a standard ISO 9705 compartment. The measurements shown are based on PIV
(Particle Image Velocimetry). Note that some of the measurements do not extend to the top of the doorway
(1.96 m above the compartment floor) because the heat from the fire prevented adequate laser resolution of
the particles. Velocity measurements were also made using bi-directional probes [159], but these measure-
ments were shown to be up to 20 % greater in magnitude than the comparable PIV measurement.




  1 Note that the quantity that is being compared is the total velocity multiplied by the sign of its normal component.



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                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master


                         Bryant Doorway, 34 kW                                                                           Bryant Doorway, 65 kW

              1.5                                                                                             1.5
 Height (m)




                                                                                                 Height (m)
                1                                                                                               1


              0.5                                                                                             0.5
                                                                 Exp (34kW)                                                                                      Exp (65kW)
                                                                 FDS (Door_q)                                                                                    FDS (Door_q)
                0                                                                                               0
                    -2       -1      0          1         2            3               4                            -2       -1      0          1         2            3               4
                                         Velocity (m/s)                                                                                  Velocity (m/s)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master


                         Bryant Doorway, 96 kW                                                                           Bryant Doorway, 128 kW

              1.5                                                                                             1.5
 Height (m)




                                                                                                 Height (m)
                1                                                                                               1


              0.5                                                                                             0.5
                                                                 Exp (96kW)                                                                                      Exp (129kW)
                                                                 FDS (Door_q)                                                                                    FDS (Door_q)
                0                                                                                               0
                    -2       -1      0          1         2            3               4                            -2       -1      0          1         2            3               4
                                         Velocity (m/s)                                                                                  Velocity (m/s)

                                                      FDS-6.8.0-1116-gd8b2bf4-master                                                                  FDS-6.8.0-1116-gd8b2bf4-master


                         Bryant Doorway, 160 kW                                                                          Bryant Doorway, 320 kW

              1.5                                                                                             1.5
 Height (m)




                                                                                                 Height (m)




                1                                                                                               1


              0.5                                                                                             0.5
                                                                 Exp (160kW)                                                                                     Exp (320kW)
                                                                 FDS (Door_q)                                                                                    FDS (Door_q)
                0                                                                                               0
                    -2       -1      0          1         2            3               4                            -2       -1      0          1         2            3               4
                                         Velocity (m/s)                                                                                  Velocity (m/s)

                                                      FDS-6.8.0-1116-gd8b2bf4-master


                         Bryant Doorway, 511 kW

              1.5
 Height (m)




                1


              0.5
                                                                 Exp (511kW)
                                                                 FDS (Door_q)
                0
                    -2       -1      0          1         2            3               4
                                         Velocity (m/s)



                                         Figure 8.8: Bryant Doorway experiments, gas velocity profiles.

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8.4             Edinburgh Vegetation Drag
The following figures show average velocities, taken over a 60 s period and obtained 225 mm from the
leading edge of the fuel bed, as shown in Figure 3.10. In the case of the simulations, averaging starts after
20 s in order to allow quasi-steady conditions to establish. The experimental points represent an average of
two repeats, involving re-packing of the fuel bed.
                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    10                                                                                                 10
                             20 kg/m³, 0.5 m/s                                                                                  20 kg/m³, 1 m/s
                     8                                                                                                  8
      Height (cm)




                                                                                                         Height (cm)
                     6                                                                                                  6


                     4                                                                                                  4


                     2                                                                                                  2
                                                                                     Exp                                                                                              Exp
                                                                                     FDS                                                                                              FDS
                     0                                                                                                  0
                         0             0.5              1              1.5                     2                            0       0.5       1         1.5        2          2.5               3
                                                 Velocity (m/s)                                                                                   Velocity (m/s)

                                                              FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
                    10                                                                                                 10
                             20 kg/m³, 1.5 m/s                                                                                  20 kg/m³, 2 m/s
                     8                                                                                                  8
      Height (cm)




                                                                                                         Height (cm)




                     6                                                                                                  6


                     4                                                                                                  4


                     2                                                                                                  2
                                                                                     Exp                                                                                              Exp
                                                                                     FDS                                                                                              FDS
                     0                                                                                                  0
                         0       0.5         1         1.5        2          2.5               3                            0             1              2               3                      4
                                                 Velocity (m/s)                                                                                   Velocity (m/s)



                                   Figure 8.9: Edinburgh Vegetation Drag, gas velocity profiles, low bulk density.




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                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
               10                                                                                             10
                        40 kg/m³, 0.5 m/s                                                                              40 kg/m³, 1 m/s
                8                                                                                              8
 Height (cm)




                                                                                                Height (cm)
                6                                                                                              6


                4                                                                                              4


                2                                                                                              2
                                                                            Exp                                                                                              Exp
                                                                            FDS                                                                                              FDS
                0                                                                                              0
                    0           0.5            1              1.5                     2                            0       0.5       1         1.5        2          2.5               3
                                        Velocity (m/s)                                                                                   Velocity (m/s)

                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
               10                                                                                             10
                        40 kg/m³, 1.5 m/s                                                                              40 kg/m³, 2 m/s
                8                                                                                              8
 Height (cm)




                                                                                                Height (cm)
                6                                                                                              6


                4                                                                                              4


                2                                                                                              2
                                                                            Exp                                                                                              Exp
                                                                            FDS                                                                                              FDS
                0                                                                                              0
                    0             1            2               3                      4                            0          1           2           3             4                  5
                                        Velocity (m/s)                                                                                   Velocity (m/s)



                           Figure 8.10: Edinburgh Vegetation Drag, gas velocity profiles, medium bulk density.




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                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
               10                                                                                             10
                        60 kg/m³, 0.5 m/s                                                                              60 kg/m³, 1 m/s
                8                                                                                              8
 Height (cm)




                                                                                                Height (cm)
                6                                                                                              6


                4                                                                                              4


                2                                                                                              2
                                                                            Exp                                                                                              Exp
                                                                            FDS                                                                                              FDS
                0                                                                                              0
                    0           0.5            1              1.5                     2                            0       0.5       1         1.5        2          2.5               3
                                        Velocity (m/s)                                                                                   Velocity (m/s)

                                                     FDS-6.8.0-1116-gd8b2bf4-master                                                                   FDS-6.8.0-1116-gd8b2bf4-master
               10                                                                                             10
                        60 kg/m³, 1.5 m/s                                                                              60 kg/m³, 2 m/s
                8                                                                                              8
 Height (cm)




                                                                                                Height (cm)
                6                                                                                              6


                4                                                                                              4


                2                                                                                              2
                                                                            Exp                                                                                              Exp
                                                                            FDS                                                                                              FDS
                0                                                                                              0
                    0             1            2               3                      4                            0        1        2          3         4            5               6
                                        Velocity (m/s)                                                                                   Velocity (m/s)



                             Figure 8.11: Edinburgh Vegetation Drag, gas velocity profiles, high bulk density.




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8.5                                 FM/FPRF Datacenter Experiments
On the following page there are eight plots comparing the predicted and measured velocities for the high
and low fan speed flow mapping tests in the FM/FPRF datacenter mockup. For each test there are plots for
u-velocity, v-velocity, w-velocity and total velocity. Error bars are the measured and predicted RMS values.
The dotted lines represent the measurement error. Measurement error was not a simple percentage of the
measured value but rather was a propagation of fan flow error (the primary FDS input), sonic anemometer
intrinsic error, and an estimate of the error based on the accuracy of placing the anemometer (determined
from attempts to make repeat measurements after removing and replacing the probe).

                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                                                                                                                                                       1.5



                                   0.4                                                                                                                   1



                                   0.2                                                                                                                 0.5

                                                                                                            Predicted V-Velocity (m/s)
      Predicted U-Velocity (m/s)




                                      0                                                                                                                  0



                                   -0.2                                                                                                          -0.5



                                   -0.4                                                                                                                 -1



                                   -0.6                                                                                                          -1.5
                                       -0.6   -0.4      -0.2      0        0.2         0.4                                                           -1.5          -1       -0.5       0        0.5            1          1.5
                                                     Measured U-Velocity (m/s)                                                                                            Measured V-Velocity (m/s)


                                                                         FDS-6.8.0-1116-gd8b2bf4-master                                                                                        FDS-6.8.0-1116-gd8b2bf4-master
                                   0.8                                                                                                                 1.4


                                                                                                                                                       1.2
                                   0.6

                                                                                                                                                         1
                                                                                                                      Predicted Total Velocity (m/s)




                                   0.4
      Predicted W-Velocity (m/s)




                                                                                                                                                       0.8
                                   0.2
                                                                                                                                                       0.6

                                      0
                                                                                                                                                       0.4

                                   -0.2
                                                                                                                                                       0.2


                                   -0.4                                                                                                                  0
                                       -0.4   -0.2       0       0.2       0.4         0.6          0.8                                                      0   0.2      0.4     0.6      0.8        1        1.2
                                                     Measured W-Velocity (m/s)                                                                                          Measured Total Velocity (m/s)



                                                            Figure 8.12: FM/FPRF experiments, gas velocity, low fan rate.


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                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                2                                                                                                                 5

                                                                                                                                                  4
                             1.5
                                                                                                                                                  3
                                1
                                                                                                                                                  2




                                                                                                                     Predicted V-Velocity (m/s)
Predicted U-Velocity (m/s)




                             0.5
                                                                                                                                                  1

                                0                                                                                                                 0

                                                                                                                                                  -1
                             -0.5
                                                                                                                                                  -2
                               -1
                                                                                                                                                  -3
                             -1.5
                                                                                                                                                  -4

                               -2                                                                                                                 -5
                                    -2   -1           0                1                  2                                                            -5                   0                                    5
                                         Measured U-Velocity (m/s)                                                                                             Measured V-Velocity (m/s)


                                                             FDS-6.8.0-1116-gd8b2bf4-master                                                                                         FDS-6.8.0-1116-gd8b2bf4-master
                                3                                                                                                                 5

                                                                                                                                    4.5
                             2.5
                                                                                                                                                  4
                                2
                                                                                                                                    3.5
                                                                                                Predicted Total Velocity (m/s)
Predicted W-Velocity (m/s)




                             1.5
                                                                                                                                                  3

                                1                                                                                                   2.5

                                                                                                                                                  2
                             0.5
                                                                                                                                    1.5
                                0
                                                                                                                                                  1
                             -0.5
                                                                                                                                    0.5

                               -1                                                                                                                 0
                                    -1   0            1                2                  3                                                            0     1         2           3              4              5
                                         Measured W-Velocity (m/s)                                                                                           Measured Total Velocity (m/s)



                                               Figure 8.13: FM/FPRF experiments, gas velocity, high fan rate.




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8.6                                   JH/FRA Experiments
The following pages compare the predicted and measured velocities through the compartment door in the
JH/FRA scaled compartment series. For each test there are plots of the velocity with time at five heights
in the door. Each velocity was measured with bi-directional probes. The test with inert lining increased
the burner HRR after 5 minutes (see Section 3.37). The velocities in the quarter-scale compartments were
generally over predicted by FDS compared with those measured; whereas, the velocities measured in the
full-scale compartments were higher than those predicted by FDS.
                                                                        FDS-6.8.0-0-g886e009-release                                                                                                   FDS-6.8.0-0-g886e009-release
                                     1                                                                                                                               1
                                              JH FRA 1:4 Door, Test 1                                                                                                         JH FRA 1:4 Door & Window, Test 2
                           0.5                                                                                                                             0.5
                                                                                                              Exp (Higher)                                                                                                                 Exp (Higher)
                                                                                                              Exp (High)                                                                                                                   Exp (High)
                                     0                                                                        Exp (Middle)                                           0                                                                     Exp (Middle)
   Velocity (m/s)




                                                                                                                                   Velocity (m/s)
                                                                                                              Exp (Low)                                                                                                                    Exp (Low)
                                                                                                              Exp (Lower)                                                                                                                  Exp (Lower)
                     -0.5                                                                                     FDS (Higher)
                                                                                                                                                     -0.5                                                                                  FDS (Higher)
                                                                                                              FDS (High)                                                                                                                   FDS (High)
                                     -1                                                                       FDS (Middle)                                           -1                                                                    FDS (Middle)
                                                                                                              FDS (Low)                                                                                                                    FDS (Low)
                                                                                                              FDS (Lower)                                                                                                                  FDS (Lower)
                     -1.5                                                                                                                            -1.5

                                     -2                                                                                                                              -2
                                          0       2         4          6               8               10                                                                 0       2         4          6              8               10
                                                            Time (min)                                                                                                                      Time (min)




                                                      Figure 8.14: JH/FRA experiments, gas velocity, 1:4 scale inert lining configurations.


                                                                        FDS-6.8.0-0-g886e009-release                                                                                                   FDS-6.8.0-0-g886e009-release


                                     1        JH FRA 1:4 Plywood Wall, Test 3                                                                                        1        JH FRA 1:4 Plywood Wall Full, Test 3A
                                                                                                              Exp (Higher)                                                                                                                 Exp (Higher)
                                     0                                                                        Exp (High)                                             0                                                                     Exp (High)
                                                                                                              Exp (Middle)                                                                                                                 Exp (Middle)
                    Velocity (m/s)




                                                                                                                                                    Velocity (m/s)




                                                                                                              Exp (Low)                                                                                                                    Exp (Low)
                                     -1                                                                       Exp (Lower)                                            -1                                                                    Exp (Lower)
                                                                                                              FDS (Higher)                                                                                                                 FDS (Higher)
                                                                                                              FDS (High)                                                                                                                   FDS (High)
                                     -2                                                                       FDS (Middle)                                           -2                                                                    FDS (Middle)
                                                                                                              FDS (Low)                                                                                                                    FDS (Low)
                                                                                                              FDS (Lower)                                                                                                                  FDS (Lower)
                                     -3                                                                                                                              -3

                                     -4                                                                                                                              -4
                                          0       2         4          6               8               10                                                                 0       2         4          6              8               10
                                                            Time (min)                                                                                                                      Time (min)




                                              Figure 8.15: JH/FRA experiments, gas velocity, 1:4 scale combustible lining configurations.


                                                                        FDS-6.8.0-0-g886e009-release                                                                                                   FDS-6.8.0-0-g886e009-release
                                     1                                                                                                                               1


                                                                                                              Exp (Higher)                                                                                                                 Exp (Higher)
                                     0                                                                        Exp (High)                                             0                                                                     Exp (High)
                                                                                                              Exp (Middle)                                                                                                                 Exp (Middle)
                    Velocity (m/s)




                                                                                                                                                    Velocity (m/s)




                                                                                                              Exp (Low)                                                                                                                    Exp (Low)
                                                                                                              Exp (Lower)                                                                                                                  Exp (Lower)
                                     -1                                                                       FDS (Higher)
                                                                                                                                                                     -1                                                                    FDS (Higher)
                                                                                                              FDS (High)                                                                                                                   FDS (High)
                                                                                                              FDS (Middle)                                                                                                                 FDS (Middle)
                                                                                                              FDS (Low)                                                                                                                    FDS (Low)
                                     -2                                                                       FDS (Lower)
                                                                                                                                                                     -2                                                                    FDS (Lower)

                                              JH FRA 1:2 Door, Test 6                                                                                                         JH FRA 1:2 Door & Window, Test 7
                                     -3                                                                                                                              -3
                                          0       2         4          6               8               10                                                                 0       2         4          6              8               10
                                                            Time (min)                                                                                                                      Time (min)




                                                      Figure 8.16: JH/FRA experiments, gas velocity, 1:2 scale inert lining configurations.


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                                                               FDS-6.8.0-0-g886e009-release


                           2        JH FRA 1:2 Plywood, Test 8
                                                                                                     Exp (Higher)
                                                                                                     Exp (High)
                           0
                                                                                                     Exp (Middle)
          Velocity (m/s)


                                                                                                     Exp (Low)
                                                                                                     Exp (Lower)
                           -2                                                                        FDS (Higher)
                                                                                                     FDS (High)
                                                                                                     FDS (Middle)
                           -4                                                                        FDS (Low)
                                                                                                     FDS (Lower)

                           -6

                                0       2         4          6                8               10
                                                  Time (min)




                                    Figure 8.17: JH/FRA experiments, gas velocity, 1:2 scale combustible lining configurations.




                                                               FDS-6.8.0-0-g886e009-release                                                                                  FDS-6.8.0-0-g886e009-release
                           4                                                                                                                 4
                                    JH FRA 1:1 Door, Test 11                                                                                         JH FRA 1:1 Door & Window, Test 12
                           2                                                                                                                 2
                                                                                                     Exp (Higher)                                                                                                Exp (Higher)
                           0                                                                         Exp (High)                              0                                                                   Exp (High)
                                                                                                     Exp (Middle)                                                                                                Exp (Middle)
Velocity (m/s)




                                                                                                                          Velocity (m/s)



                                                                                                     Exp (Low)                                                                                                   Exp (Low)
                           -2                                                                                                               -2
                                                                                                     Exp (Lower)                                                                                                 Exp (Lower)
                                                                                                     FDS (Higher)                                                                                                FDS (Higher)
                           -4                                                                        FDS (High)                             -4                                                                   FDS (High)
                                                                                                     FDS (Middle)                                                                                                FDS (Middle)
                           -6                                                                        FDS (Low)                              -6                                                                   FDS (Low)
                                                                                                     FDS (Lower)                                                                                                 FDS (Lower)
                           -8                                                                                                               -8

                 -10                                                                                                                       -10
                                0       2         4          6                8               10                                                 0       2        4          6              8               10
                                                  Time (min)                                                                                                      Time (min)




                                            Figure 8.18: JH/FRA experiments, gas velocity, 1:1 scale inert lining configurations.




                                                               FDS-6.8.0-0-g886e009-release
                           5
                                    JH FRA 1:1 Plywood, Test 13
                                                                                                     Exp (Higher)
                           0                                                                         Exp (High)
                                                                                                     Exp (Middle)
Velocity (m/s)




                                                                                                     Exp (Low)
                                                                                                     Exp (Lower)
                                                                                                     FDS (Higher)
                           -5                                                                        FDS (High)
                                                                                                     FDS (Middle)
                                                                                                     FDS (Low)
                                                                                                     FDS (Lower)

                 -10

                                0       2         4          6                8               10
                                                  Time (min)




                                    Figure 8.19: JH/FRA experiments, gas velocity, 1:1 scale combustible lining configurations.




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8.7      McCaffrey’s Plume Correlation
The following plots show the results of simulations of McCaffrey’s five fires at three grid resolutions, nom-
inally D∗ /δ x = [3, 6, 12, 24] based on the D∗ of the 14.4 kW burner (respectively, crude, coarse, medium,
and fine resolution).
                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    4
                                                 McCaffrey Plume, 14 kW                                                    4                                  McCaffrey Plume, 22 kW

                    3
                                                                                                                           3
                                                                           Exp (Vel 14 kW)                                                                                 Exp (Vel 22 kW)
       Height (m)




                                                                                                              Height (m)
                                                                           FDS vel crude                                                                                   FDS vel crude
                    2                                                      FDS vel coarse                                                                                  FDS vel coarse
                                                                           FDS vel medium                                  2                                               FDS vel medium
                                                                           FDS vel fine                                                                                    FDS vel fine

                    1                                                                                                      1


                    0                                                                                                      0
                        0      1           2           3                         4           5                                 0       1                2           3             4                  5
                                          Velocity (m/s)                                                                                               Velocity (m/s)

                                                          FDS-6.8.0-1116-gd8b2bf4-master                                                                            FDS-6.8.0-1116-gd8b2bf4-master
                    5
                                                 McCaffrey Plume, 33 kW                                                    5                                  McCaffrey Plume, 45 kW
                    4
                                                                                                                           4
                            Exp (Vel 33 kW)                                                                                        Exp (Vel 45 kW)
                    3
       Height (m)




                                                                                                              Height (m)




                            FDS vel crude                                                                                  3       FDS vel crude
                            FDS vel coarse                                                                                         FDS vel coarse
                            FDS vel medium                                                                                         FDS vel medium
                    2       FDS vel fine                                                                                           FDS vel fine
                                                                                                                           2

                    1                                                                                                      1

                    0                                                                                                      0
                        0      1           2           3                         4           5                                 0       1                2           3             4                  5
                                          Velocity (m/s)                                                                                               Velocity (m/s)

                                                                                                                  FDS-6.8.0-1116-gd8b2bf4-master
                                                                   6
                                                                                                          McCaffrey Plume, 57 kW
                                                                   5

                                                                   4
                                                                                  Exp (Vel 57 kW)
                                                      Height (m)




                                                                                  FDS vel crude
                                                                   3              FDS vel coarse
                                                                                  FDS vel medium
                                                                                  FDS vel fine
                                                                   2

                                                                   1

                                                                   0
                                                                       0             1            2           3                    4               5
                                                                                                 Velocity (m/s)



                                              Figure 8.20: McCaffrey Plumes, centerline plume velocity.




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     Below we plot the same results but arranged in a different way. The height dimension is scaled by the
fire Froude number and each plot represents nominally the same resolution level.
                                              FDS-6.8.0-1116-gd8b2bf4-master                                                   FDS-6.8.0-1116-gd8b2bf4-master
         3                                                                               3
       2.5       McCaffrey Centerline Velocity, Crude                                  2.5       McCaffrey Centerline Velocity, Coarse

         2                                                                               2
                                         =0                                                                               =0
       1.5                                                                             1.5
                               =1/2                       =-1/3                                                =1/2                        =-1/3
         1                                                                               1




       0.5                                                                             0.5
         10 -2                        10 -1                               10 0           10 -2                        10 -1                                10 0


                                              FDS-6.8.0-1116-gd8b2bf4-master                                                   FDS-6.8.0-1116-gd8b2bf4-master
         3                                                                               3
       2.5       McCaffrey Centerline Velocity, Medium                                 2.5       McCaffrey Centerline Velocity, Fine

         2                                                                               2
                                         =0                                                                               =0
       1.5                                                                             1.5
                               =1/2                       =-1/3                                                =1/2                        =-1/3
         1                                                                               1




       0.5                                                                             0.5
         10 -2                        10 -1                               10 0           10 -2                        10 -1                                10 0



                         Figure 8.21: McCaffrey Plumes, centerline plume velocity, Froude scaling.




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